         Exhibit A
Complaint as filed with Exhibits A-D
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BY: JOAN D. GALLAGHER, ESQUIRE                  Attorneys for Plaintiffs
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(215) 963-1555                                                    24 OCT 2018 12:05 pm
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_____________________________________________________________________________
PETER HUMPHREY, YU YINGZENG         : COURT OF COMMON PLEAS
AND CHINAWHYS COMPANY LTD           : PHILADELPHIA COUNTY
Buttermere, Horley Lodge Lane,      :
Salfords, Redhill, RH1 5EA          :
United Kingdom                      :
       v.                           :
GLAXOSMITHKLINE PLC                 :
1 Franklin Plaza                    :
200 N. 16th Street                  :
Philadelphia, PA 19102              :
       and                          :
GLAXOSMITHKLINE LLC                 :
Philadelphia Navy Yard              :
5 Crescent Drive                    : OCTOBER TERM, 2018
Philadelphia, PA 19112              : NO.
_____________________________________________________________________________
                                CIVIL ACTION
            You have been sued in court. If you wish to defend against the claims set forth in the following pages, you must take action within
twenty (20) days after this Complaint & Notice are served, by entering a written appearance personally or by attorney and filing in writing with
the court your defenses or objections to the claims set forth against you. You are warned that if you fail to do so the case may proceed without
you and a judgment may be entered against you by the Court without further notice for any money claimed in the complaint or for any other
claim or relief requested by the plaintiff. You may lose money or property or other rights important to you.
            YOU SHOULD TAKE THIS PAPER TO YOUR LAWYER AT ONCE. IF YOU DO NOT HAVE A LAWYER OR CANNOT
AFFORD ONE, GO TO OR TELEPHONE THE OFFICE SET FORTH BELOW TO FIND OUT WHERE YOU CAN
GET LEGAL HELP. THIS OFFICE CAN PROVIDE YOU WITH INFORMATION ABOUT HIRING A LAWYER, THIS OFFICE MAY BE
ABLE TO PROVIDE YOU WITH INFORMATION ABOUT AGENCIES THAT MY OFFER LEGAL SERVICES TO ELIGIBLE PERSONS
AT A REDUCED FEE OR NO FEE.
                                                      PHILADELPHIA BAR ASSOCIATION
                                                      Lawyer Referral & Information Service
                                                                 One Reading Center
                                                               Philadelphia, PA 19107
                                                                   (215) 238-1701

                                                                        AVISO
            Le han demandado a usted en la corte. Si usted quiere defenderse de estas demandas expuestas en las paginas siguientes, usted tiene
veinte (20) dias deplazo al partir de la fecha de la demanda y la notificacion. Hace falta asentar una comparencia escrita o en persona o con un
abogado y entregar a la corte en forma escrita sus defensas o sus objeciones a las demandas en contra de s persona. Sea avisado que si used no se
defiende, la corte tomara medidas y puede continuar la demanda en contra suya sin previo aviso o notificacion. Ademas, la corte puede decidir a
favor del demandante y requiere que usted cumpla con todas las provisiones de esta demanda. Usted puede perder u otros derechos importantes
para usted.
            LLEVE ESTSASS DEMANDA A UN ABOGADO INMEDIATAMENTE. SI NO TIENE ABOGADO O SI NO TIENE EL
DINERO SUFICIENTE DE PAGAR TAL SERVICIO. VAYA EN PERSONA O LLAME POR TELEFONO A LA OFICINA CUYA
DIRECCION SE ENCUENTRA ESCRITA ABAJO PAPA AVAERIGUAR DONDE SE PAEDE CONSEGUIR ASISTENCIA LEGAL.
                                                ASOCIACION DE LICENCIADOS DE FILADELFIA
                                                      Servico De Referencia E Informacion Legal
                                                                 One Reading Center
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                                                                                                                                         Case ID: 181003237
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______________________________________________________________________________

 COMPLAINT FILED PURSUANT TO TITLE 42, PENNSYLVANIA CODE, SECTION
       5103 AND TITLE 28, UNITED STATES CODE, SECTION 1367(d)

       Plaintiffs Peter Humphrey, Yu Yingzeng, and ChinaWhys Company Ltd. hereby submit

the attached Complaint against Defendants GlaxoSmithKline PLC and GlaxoSmithKline LLC

pursuant to Title 42, Pennsylvania Code, Section 5103 (herein “PA Section 5103”) and Title 28,

United States Code, Section 1367(d) (herein “U.S.C. Section 1367(d)).




                                                                                         Case ID: 181003237
       PA Section 5103 provides that “[w]here a matter is filed in any United States court for a

district embracing any part of this Commonwealth and the matter is dismissed by the United

States court for lack of jurisdiction, any litigant in the matter filed may transfer the matter to a

court or magisterial district of this Commonwealth by complying with the transfer provisions set

forth in paragraph (2).” 42 Pa.C.S. § 5103(b)(1). Paragraph (2) states: “[e]xcept as otherwise

prescribed by general rules, or by order of the United States court, such transfer may be effected

by filing a certified transcript of the final judgment of the United States court and the related

pleadings in a court or magisterial district of this Commonwealth.” 42 Pa.C.S. § 5103(b)(2). To

proceed under PA Section 5103, “a litigant, upon having his case dismissed in federal court for

lack of jurisdiction, must promptly file a certified transcript of the final judgment of the federal

court and, at the same time, a certified transcript of the pleadings from the federal action. The

litigant shall not file new pleadings in state court.” Williams v. F.L. Smithe Mach. Co., Inc., 395

Pa. Super. 511, 516-17 (1990).

       On or about November 15, 2016, Plaintiffs filed the Complaint attached hereto as Exhibit

A in the United States District Court for the Eastern District of Pennsylvania. Thereafter,

Defendants moved to dismiss the Complaint. The District Court granted Defendants’ motion on

or about September 29, 2017 for lack of jurisdiction. [A certified copy of the Order dismissing

the Complaint is attached as Exhibit B.] Plaintiffs appealed that decision to the United States

Court of Appeals for the Third Circuit on or about October 16, 2017. The Third Circuit affirmed

the decision of the District Court dismissing the Complaint and issued its mandate on October

18, 2018. [A certified copy of the Judgment is attached hereto as Exhibit C] A certified

transcript of the docket as well as related pleadings from those federal proceedings are attached

hereto as Exhibit D.




                                                                                                 Case ID: 181003237
         Plaintiffs hereby file the Complaint pursuant to PA Section 5103. The Complaint is also

filed in a timely manner pursuant to U.S.C. Section 1367(d)) which provides that “[t]he period of

limitations for any claim asserted under subsection (a), and for any other claim in the same

action that is voluntarily dismissed at the same time as or after the dismissal of the claim under

subsection (a), shall be tolled while the claim is pending and for a period of 30 days after it is

dismissed unless State law provides for a longer tolling period.” 28 U.S.C. 1367(d). Because of

there was a dismissal based upon lack of jurisdiction, Plaintiff fulfills the requirements of PA

Section 5103 and submits the attached Complaint in compliance with PA Section 5103.

         WHEREFORE, Plaintiffs bring this action against Defendants to recover damages in a

sum in excess of fifty thousand dollars ($50,000), plus interest, costs, and delay damages under

Rule 238, Pennsylvania Rules of Civil Procedure.


Dated:          October 23, 2018

                                              Respectfully Submitted,
                                              GALLAGHER LAW, P.C.


                                              By: /s/ Joan D. Gallagher
                                                  JOAN D. GALLAGHER, ESQUIRE
                                                  ATTORNEY FOR PLAINTIFFS

                                              MESSA & ASSOCIATES, P.C.


                                              By: /s/ Thomas N. Sweeney
                                                  THOMAS N. SWEENEY, ESQUIRE
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                                              To be admitted Pro Hac Vice


                                                                                                Case ID: 181003237
                                        VERIFICATION




       JOAN D. GALLAGHER, ESQUIRE, certify that I am an attorney with Gallagher Law,

P.C. counsel for Plaintiffs, and under the provisions of Pa. R.C.P. 1024(c), I hereby verify that

the statements made in the foregoing pleading are true and correct to the best of my information

and belief. I understand that false statements therein are made subject to the penalties of 18 Pa.

C.S. § 4904 relating to unsworn falsification to authorities.




                                             By: /s/ Joan D. Gallagher
                                                 JOAN D. GALLAGHER, ESQUIRE
                                                 ATTORNEY FOR PLAINTIFFS




Date: October 23, 2018




                                                                                              Case ID: 181003237
                                        VERIFICATION




       THOMAS N. SWEENEY, ESQUIRE, certify that I am an attorney with Messa &

Associates, P.C. counsel for Plaintiffs, and under the provisions of Pa. R.C.P. 1024(c), I hereby

verify that the statements made in the foregoing pleading are true and correct to the best of my

information and belief. I understand that false statements therein are made subject to the

penalties of 18 Pa. C.S. § 4904 relating to unsworn falsification to authorities.




                                             By: /s/ Thomas N. Sweeney
                                                 THOMAS N. SWEENEY, ESQUIRE
                                                 ATTORNEY FOR PLAINTIFFS




Date: October 23, 2018




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            Case 2:16-cv-05924-NIQA Document 18 Filed 01/16/17 Page 1 of 1




                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA

PETER HUMPHREY, YU YINGZENG, and                    Civil Action No.: 2:16-CV-5924
CHINAWHYS COMPANY LTD,

                   Plaintiffs,

       v.

GLAXOSMITHKLINE PLC and
GLAXOSMITHKLINE LLC,

                   Defendants.



            DEFENDANTS’ MOTION TO COMPEL ARBITRATION, OR, IN THE
               ALTERNATIVE, MOTION TO DISMISS THE COMPLAINT

       Defendants     GlaxoSmithKline    plc   (“GSK     PLC”)    and   GlaxoSmithKline      LLC

(“GSK LLC”) (collectively, “GSK Defendants”), through their counsel, move to compel

arbitration of the entirety of Plaintiffs’ Complaint pursuant to a written agreement providing for

arbitration before the China International Economic and Trade Arbitration Commission

(“CIETAC”).

       In the alternative, GSK PLC, a British entity with no ties to the United States, moves to

dismiss the Complaint for lack of personal jurisdiction. GSK PLC does not maintain systematic

and continuous contacts with either the United States or the Commonwealth of Pennsylvania,

and did not perform any action directed here giving rise to the alleged claims. The Court

therefore lacks personal jurisdiction over GSK PLC.

       The GSK Defendants additionally move to dismiss the Complaint for failure to state a

claim and for failure to join an indispensable party. Plaintiffs’ Complaint pleads no facts giving

rise to alleged racketeering, conspiracy, or emotional distress claims against the GSK




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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA

PETER HUMPHREY, YU YINGZENG, and                    Civil Action No.: 2:16-CV-5924
CHINAWHYS COMPANY LTD,

                    Plaintiffs,

       v.

GLAXOSMITHKLINE PLC and
GLAXOSMITHKLINE LLC,

                    Defendants.



               DEFENDANTS’ MEMORANDUM IN SUPPORT OF THEIR
                 MOTION TO COMPEL ARBITRATION, OR, IN THE
               ALTERNATIVE, MOTION TO DISMISS THE COMPLAINT

       Defendants      GlaxoSmithKline    plc   (“GSK    PLC”)     and   GlaxoSmithKline      LLC

(“GSK LLC”) (collectively, “GSK Defendants”), through their counsel, submit the following

memorandum in support of their motion to compel arbitration, or in the alternative, motion to

dismiss the complaint for lack of personal jurisdiction, failure to state a claim upon which relief

can be granted, failure to join an indispensable party, and failure to bring a timely action under

Pennsylvania law.




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                             I.     SUMMARY OF ARGUMENT

               Plaintiffs’ complaint (“Complaint”) suffers from multiple overriding defects, any

one of which is alone fatal to their claims. Most notably, Plaintiffs commenced this action

notwithstanding the fact that their claims are governed by a binding agreement

(“Consultancy Agreement”) requiring that the parties “submit the dispute to the China

International Economic and Trade Arbitration Commission (“CIETAC”) in Beijing

for arbitration.” (See Ex. 1, Consultancy Agreement, at § 11.) The Court should enforce that

arbitration clause, and should stay all proceedings pending conclusion of the CIETAC

arbitration, at which point judgment should be entered in accordance with any arbitral award.

       Notwithstanding the mandatory referral to arbitration, Plaintiffs’ claims fail on the merits

and, as to GSK PLC, on jurisdictional grounds. Plaintiffs attempt to mount racketeering, fraud,

conspiracy and emotional distress claims against the GSK Defendants by stringing together

allegations that, on their face, do not pertain to, and were not committed by either defendant.

Plaintiffs have identified no basis to impute any alleged activities to the GSK Defendants, nor

have they identified any link between GSK PLC, (a United Kingdom (“U.K.”) entity formed

under British law) and the United States (“U.S.”) that would support exercising personal

jurisdiction over GSK PLC.

       Lastly, Plaintiffs have failed to join GlaxoSmithKline (China) Investment Co. Ltd.

(“GSK China”), the signatory to the Consultancy Agreement containing the binding arbitration

provision and an indispensable party to this lawsuit. A full and fair adjudication on the merits of

this matter cannot occur without GSK China’s participation.

       Accordingly, the Court should grant the GSK Defendants’ motion to compel arbitration

and require Plaintiffs to proceed with their claims before the CIETAC. Alternatively, the Court

should dismiss the claims against GSK PLC for lack of jurisdiction, and should otherwise

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dismiss the entirety of Plaintiffs’ Complaint for failure to state a claim upon which relief can be

granted, failure to join an indispensable party, and failure to bring a timely action under

Pennsylvania law.

                               II.      PRELIMINARY STATEMENT

        This lawsuit is at its core a dispute between Peter Humphrey (“Humphrey”),

Yu Yingzeng (“Yu”) and ChinaWhys Company Ltd. (“ChinaWhys Ltd”) (collectively,

“Plaintiffs”) against a non-party/separate GSK entity, GSK China, regarding a Consultancy

Agreement signed in China, for services to be provided in China which is governed by Chinese

law and subject to a binding arbitration provision; but the lawsuit has been improperly

commenced in a U.S. federal court by Plaintiffs against two unrelated GSK entities, GSK PLC

and GSK LLC (the GSK Defendants), which have no connection to the Consultancy Agreement

or to the dispute. Plaintiffs’ Complaint violates an enforceable and binding agreement to

arbitrate, and thus requires dismissal of this action. Further, Plaintiffs’ effort to bring a China-

based dispute in this forum creates insurmountable jurisdictional and standing hurdles and leaves

them unable to articulate plausible claims against the entities they chose to sue in this Court.

        Plaintiffs’ allegations arise out of services provided to GSK China pursuant to an

April 25, 2013 Consultancy Agreement entered into between GSK China and ChinaWhys

(Shanghai) Consulting Co. Ltd. (“ChinaWhys (Shanghai)”). (See Ex. 1, Consultancy

Agreement & App’x A.)1 Under this agreement, GSK China retained ChinaWhys for due

diligence and investigation services following a security incident at a GSK China executive’s

apartment in March 2013. GSK China engaged ChinaWhys to investigate the circumstances of


1
  As explained in greater detail in Section III(C), all references herein to ChinaWhys (“ChinaWhys”) will refer
collectively to the named plaintiff in this lawsuit, ChinaWhys Ltd, as well as ChinaWhys (Beijing), ChinaWhys
(Shanghai), ChinaWhys (Hong Kong), and all other consulting companies co-founded and co-owned by Humphrey
and Yu. See, infra, Section III(C).

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the security incident and the potential involvement of a former employee (Vivian Shi (“Shi”)).

Under Section 11 of the Consultancy Agreement, the parties agreed that any disputes that arose

would be governed by the laws of China, and would be submitted to CIETAC. (See Ex. 1,

Consultancy Agreement § 11.)

        Specifically, Section 11 of the Consultancy Agreement, entitled “Governing Law and

Dispute Resolution,” provides:

             This Agreement shall be governed in all respects by the laws of the
             People’s Republic of China. All disputes arising out of or in connection
             with this Agreement shall be settled through friendly consultation
             between both parties. In case no settlement can be reached, either
             Party may submit the dispute to the China International Economic and
             Trade Arbitration Commission (“CIETAC”) in Beijing for arbitration in
             accordance with the CIETAC rules of arbitration then in effect. The
             arbitration award shall be final and binding on the Parties.”

(Id.)

        Section 1.6 of the Consultancy Agreement further provides:

             [ChinaWhys] shall carry out the Consulting Services always in a lawful
             and ethical manner. The term ‘ethical’ used in the policy means: in
             compliance with all laws, regulations, legal and professional
             guidelines, and in a manner not likely to result in harm to GSK’s
             reputation or image.”

(Id. at § 1.6.)

        On or around July 10, 2013, ChinaWhys’ co-founders and co-managers, husband/wife

Humphrey and Yu, were detained by the Shanghai police on suspicion of violating Chinese laws

relating to the purchase of personal information and data. They were arrested on August 16, 2013

and charged with trafficking in private records of Chinese individuals. (See Ex. 2.) Plaintiffs now

attempt to blame their personal and business injuries arising from their arrest, conviction and

incarceration on GSK, alleging that it was somehow their performance of services for GSK that

caused their arrest.


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       Plaintiffs fail to disclose in their Complaint that in 2013, less than two months before he

and Yu were arrested by the Chinese authorities, Humphrey published an article explicitly

criticizing the Chinese government for newly promulgated rules and regulations restricting

access to personal information. (See Ex. 3.)2 In that article, Humphrey described recent

crackdowns in May 2012 and January 2013 by the Chinese government, and new regulations

promulgated in February 2013, which further enforced laws regarding access to and

dissemination of personal information, noting specifically that this had led to “more than 1,000

local investigators and their alleged sources . . . [being] detained.” (Id.) As evidenced by the

article, Humphrey was well aware of Chinese legal restrictions governing the use of personal

information, and the risks that he and other investigators faced if they failed to comply with these

restrictions. Simply put, Humphrey failed to heed his own warnings. The GSK Defendants had

nothing to do with Humphrey’s article or this failure to comply with Chinese law. To the

contrary, the Consultancy Agreement specifically required ChinaWhys to conduct its work under

the engagement in accordance with Chinese law. (See Ex. 1, Consultancy Agreement at § 1.6.)

Humphrey, Yu and ChinaWhys, upon their own initiative and despite knowledge of the risks,

chose to disregard this requirement.

        Plaintiffs instead attempt to spin a tale of a global racketeering enterprise and conspiracy

involving GSK PLC and GSK LLC, claiming that their mistreatment in China in 2013 was

somehow related to the marketing of pharmaceutical products in the U.S. in 1999 and to the

resolution between GSK LLC and the U.S. Health & Human Services Department




2
  P. Humphrey, The Fraud Examiner, “How Fraud Investigation Just Got Harder in China: Exploring the
Impact of China’s Clampdown on Public Records” (May 2013), available at http://www.acte.com/fraud-
examiner.aspx?id=4294978054.


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(“2012 U.S. Settlement”);3 this in order to insinuate a U.S. nexus and attempt to implicate the

U.S. Racketeer Influenced and Corrupt Organizations Act (“RICO”), stretching RICO well

beyond the breaking point of rational interpretation. The subject matter involved in the 2012

U.S. Settlement ended in 2010 (and much of it earlier than that), many years before ChinaWhys

had involvement with GSK China or entered into the Consultancy Agreement in April 2013.

Likewise, Plaintiffs’ allegations that a subsequent 2013 investigation in China and related

attention from U.S. regulators are part of a common scheme are also baseless. The China and

U.S. investigations involved conduct unrelated to the Humphrey and Yu claims and were fully

resolved     by    GSK China           and     the Chinese government                on September           19,    2014

(“2014 China Judgment”),4 and by GSK PLC and the U.S. Securities and Exchange

Commission (“U.S. SEC”) on September 30, 2016 (“2016 U.S. Settlement”).5 Plaintiffs’


3
  On July 2, 2012, GSK LLC agreed to plead guilty and to pay $3 billion to resolve criminal and civil liabilities
arising from the promotion of certain prescription drugs, failure to report certain safety data, and civil liabilities for
alleged false price reporting practices. (See Ex. 4, Press Release, U.S. Dep’t of Justice, GlaxoSmithKline to Plead
Guilty to Pay $3 Billion to resolve Fraud Allegations and Failure to Report Safety Data (July 2, 2012), Ex. 5,
Corporate Integrity Agreement, Office of Inspector General of the Dep’t of Health and Human Services and
GlaxoSmithKline LLC (July 2, 2012).) This criminal and civil liability arose from conduct that occurred in, and was
directed towards, the U.S. between 1994 and 2010. The settlement resolved claims relating to activities in the U.S.
for Paxil, Wellbutrin, Avandia, Advair and other products, as well as allegations of false price reporting under the
U.S. Federal Medicaid Rebate Program. (Id.) The 2012 U.S. Settlement does not relate to any matters in China. (Id.)
4
  On September 19, 2014, the Changsha Intermediate People’s Court in Hunan Province, China entered the 2014
China Judgment against GSK China for approximately $489.5 million in relation to conduct implicating Articles 67
and 164 of the Criminal Law of the People’s Republic of China, which prohibit offering money or property to non-
governmental Chinese personnel in order to obtain improper commercial gains. (See Ex. 6, Press Release,
GlaxoSmithKline, GSK China Investigation Outcome (Sept. 19, 2014).) Neither GSK LLC nor GSK PLC were
parties to, or the subjects of, the 2014 China Judgment. (Id.)
5
  On September 30, 2016, the U.S. SEC and GSK PLC entered into the 2016 U.S. Settlement, in a civil resolution of
the recordkeeping and internal controls provisions of the U.S. Foreign Corrupt Practices Act of 1977. (See Ex. 7,
Press Release, GlaxoSmithKline Pays $20 Million Penalty to Settle FCPA Violations (Sept. 30, 2016), Ex. 8, In the
Matter of GlaxoSmithKline plc, A.P. No. 3-17606, Order (Sept. 30, 2016).) The resolution mentions specific
violations relating to conduct by GSK PLC’s indirect subsidiary, GSK China, between 2010 and June 2013. (Id.)
GSK PLC was named as a party, not based on any conduct related to the settlement but solely because its
American Depository Receipts are registered with the U.S. SEC under Section 12(b) of the Securities Exchange Act
and trade on the New York Stock Exchange under the symbol “GSK,” and its consolidated books and records and
internal controls, which relate to the activities of all wholly-owned subsidiaries, were rendered inaccurate or
revealed to be insufficient as a result of conduct by GSK China. Neither GSK LLC nor GSK China were parties to
the 2016 U.S. Settlement. Nor was any conduct in China by GSK PLC itself at issue in the settlement. The 2016

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allegation that these unrelated events were part of a common scheme not to comply with laws at

issue with respect to the convictions of Humphrey and Yu in China or to “cover up” the activities

of GSK in China is baseless on its face.

        Finally, Plaintiffs’ decision not to name GSK China as a defendant in an action involving

the very Consultancy Agreement which they entered into with GSK China can be no accident.

Plaintiffs intentionally omitted this indispensable party in an effort to circumvent the mandatory

arbitration provision of the Consultancy Agreement and to avoid the jurisdictional obstacles that

would foreclose a lawsuit in the U.S. against the only GSK entity with which they actually

interacted.

                                 III.     FACTUAL BACKGROUND

        Plaintiffs’ Complaint alleges six causes of action: (1) violations of 18 U.S.C. § 1962(c)

(Racketeering), (2) violations of 18 U.S.C. § 1962(d) (Conspiracy), (3) fraud, (4) intentional

infliction of emotional distress, (5) negligent infliction of emotional distress and (6) civil

conspiracy. (See e.g., Compl. ¶¶ 121-137, 137-149, 150-156, 157-163, 164-170, 171-175.)

        A.       Consultancy Agreement

        Although Plaintiffs referred only in a nuanced way to the Consultancy Agreement in the

Complaint, all of their claims necessarily arise from services that ChinaWhys contracted in April

2013 to provide GSK China. (Comp. ¶¶ 49-90.) GSK China had no other dealings with

Plaintiffs. The GSK Defendants were not parties to the Consultancy Agreement. (See Ex. 1,

Consultancy Agreement.)



U.S. Settlement was based on the same conduct implicated in the 2014 China Judgment; the U.S. SEC declined to
impose any additional disgorgement beyond that already captured by the Chinese judgment. GSK LLC, including its
employees, agents and contractors, was not a participant or connected in any way to the matters that occurred in
China, and thus it was not a party to the 2016 U.S. Settlement.



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       Section 11 of the Consultancy Agreement mandates arbitration of all disputes arising out

of or in connection with the agreement as follows:

               This Agreement shall be governed in all respects by the laws of
               the Peoples Republic of China. All disputes arising out of or in
               connection to this Agreement shall be settled through friendly
               consultation between both parties. In case no settlement can be
               reached, either party may submit the dispute to the China
               International Economic and Trade Commission (“CIETAC”) in
               Beijing for arbitration in accordance with the CIETAC rules of
               arbitration then in effect. The arbitration award shall be final and
               binding on the parties.

(See Ex. 1, Consultancy Agreement § 11.)

       B.      GSK China: Party to Consultancy Agreement

       The only GSK-related party to the Consultancy Agreement was GSK China, a wholly-

owned indirect subsidiary of GSK PLC. (See Ex. 9, GSK China Decl., at ¶ 3.) GSK China,

however, is not named as a party in the Complaint. GSK China is incorporated under Chinese

law. (Id.) Notwithstanding the corporate relationship between GSK China and GSK PLC, they

maintain all the formalities of separate corporations. (Id. at ¶ 4.) GSK China maintains books and

records, payrolls, bank accounts and a board of directors independently of GSK PLC. (Id.)

Moreover, GSK China and GSK PLC are separately and adequately capitalized. (Id.) GSK

China’s principal place of business is in Shanghai, China. (Id. at ¶ 5.) It has never conducted

commercial operations in the United States or the Commonwealth of Pennsylvania. (Id. at ¶ 6.)

       On behalf of GSK China, the Consultancy Agreement was approved by Mark Reilly

(“Reilly”), then-general manager of GSK China. (See Ex. 1.) Reilly’s responsibilities and job

function related solely to GSK China’s business in China. (See Ex. 9, GSK China Decl. at ¶ 8.)

GSK China was the GSK entity which executed the Consultancy Agreement entered into

between GSK China and ChinaWhys through the ChinaWhys alter egos ChinaWhys (Shanghai)

Consulting Co. Ltd. and ChinaWhys Co. Ltd. (Id. at ¶ 7.)

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       According to the Complaint, ChinaWhys interacted with the following GSK-affiliated

employees during the negotiations, execution and performance of the Consultancy Agreement:

Mark Reilly (General Manager, GSK China), Maggie Zheng (Administrative Assistant to Mark

Reilly, GSK China), April Zhao (former Legal Director, GSK China), Jennifer Huang (former

Senior Counsel, Legal Department, GSK China R&D Company Ltd), Leslie Chang (Head of

Business Development and Office of the General Manager, GSK China), Brian Cahill (“Cahill”)

(former GSK Pte. Ltd (Singapore) Senior Vice President and General Counsel, Asia), and June

Soon (“Soon”) (Executive Secretary, GSK Pte. Ltd (Singapore)). (See e.g., Compl. ¶¶ 50, 64,

70, 79, 80, 82, 83, 84, 86, 87, 88, 89.) Cahill and his assistant Soon were both based in

Singapore, and all of the other above-referenced GSK employees were based in China. (See Ex.

9, GSK China Decl. at ¶¶ 8-11.) None of those individuals were employed by either of the GSK

Defendants.

       C.     ChinaWhys Entities: Party to Consultancy Agreement

       Although ChinaWhys Ltd is the entity named in the Complaint as a plaintiff, ChinaWhys

(Shanghai) was the specific party to the Consultancy Agreement. (See Ex. 1.) According to the

Complaint, ChinaWhys Ltd was co-founded by Humphrey and Yu. (See Compl. ¶¶ 6-7.) The

ChinaWhys website indicates that Humphrey incorporated ChinaWhys Ltd in Hong Kong in

2003. (See Ex. 10.) As ChinaWhys’ managing director, Humphrey signed the Consultancy

Agreement and Appendix A, which was incorporated by reference on behalf of ChinaWhys

(Shanghai). (See Ex. 1.)

       The Complaint does not identify ChinaWhys Ltd’s place of incorporation or principal

place of business. (See Compl. ¶¶ 6-8.) A website purporting to be that of ChinaWhys, however,

identifies Humphrey and Yu as the co-founders of a consulting company referred to only



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as “ChinaWhys,” and states that this entity is incorporated in Hong Kong. (See Exs. 10-12).6

Notably, the website also refers to the company’s motto as: “Connecting the dots . . . for

businesses in China.”

          According to its website, ChinaWhys is a “China-based professional-services consultancy

providing specialized risk mitigation solutions, consulting and investigation services to corporate

clients in sensitive matters across Greater China and Asia.” (See Ex. 10 ChinaWhys Website.)

The website also represents to the public that ChinaWhys provides “regular advice to businesses

on risk management and ha[s] conducted services in China for large, medium and small

multinationals, professional services firms, NGOs, chambers of commerce and high wealth

individuals, and further that it offers a “cost-effective practice centered on Greater China.” (Id.)

          D.      GlaxoSmithKline plc

          Although it is not a party to the Consultancy Agreement or responsible for the services

rendered by ChinaWhys, GSK PLC is named as a defendant in the Complaint. (See Ex. 13, GSK

PLC Decl. ¶ 17.) None of the GSK employees referred to in the Complaint were employed by

GSK PLC. (Id. ¶ 18.)

          GSK PLC is a public limited company organized under the laws of England and Wales,

with its principal place of business at 980 Great West Road, Brentford, Middlesex TW8 9GS,

England. (Id. at ¶ 3.) GSK PLC was created and exists solely for the purpose of holding the

stock of its subsidiaries, through several layers of wholly owned subsidiaries. (Id. at ¶ 4.) GSK

PLC is not incorporated under the laws of the Commonwealth of Pennsylvania. (Id. at ¶ 3.) GSK

PLC has never conducted commercial operations anywhere in the world, including the United

States and the Commonwealth of Pennsylvania. (Id. at ¶ 5.) GSK PLC has never designed,


6
    See generally ChinaWhys Company Website, available at chinawhys.com/index.htm.


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developed, manufactured, marketed or sold any products or services anywhere in the world,

including the United States and the Commonwealth of Pennsylvania. (Id. at ¶ 6.) GSK PLC is

not and has never been a direct shareholder of GSK LLC. (Id. at ¶ 7.) GSK PLC and GSK LLC

maintain all the formalities of separate corporations. (Id. at ¶ 8.) GSK PLC and GSK LLC do not

maintain common books and records, payrolls, bank accounts, or boards of directors. GSK LLC

and GSK PLC are separately and adequately capitalized. (Id.) Similarly, GSK PLC and GSK

China also maintain all of the formalities of separate corporations. (Id. at ¶ 9.)

       E.      GlaxoSmithKline LLC

       GSK LLC likewise was not a party to the Consultancy Agreement (including all

appendices entered into between GSK China and ChinaWhys) nor was it responsible for the

services rendered by ChinaWhys. (See Ex. 14, GlaxoSmithKline LLC Decl., at ¶ 9.) GSK LLC

is a limited liability company organized in the state of Delaware, with corporate operations in

Research Triangle Park, North Carolina and Philadelphia, Pennsylvania. (Id. at ¶ 3.) GSK LLC is

an indirect wholly-owned subsidiary of GSK PLC. (Id. at ¶ 4.) GSK LLC and GSK PLC

maintain all the formalities of separate corporations. (Id. at ¶ 5.) GSK LLC maintains books and

records, payrolls, bank accounts, and a board of directors independently of GSK PLC. GSK

LLC and GSK PLC are separately and adequately capitalized. (Id.)

       At all relevant times (at least from 2001 through present), GSK LLC is not, and has not

been, a direct or indirect shareholder of GSK China. (Id. at ¶ 6.) At least from 2013 through

present, GSK LLC has had no commercial operations in China. (Id. at ¶ 7.) None of the GSK-

affiliated individuals who were referred to in the Complaint were employed by GSK LLC or

otherwise performed services on behalf of, or directed towards, GSK LLC during the relevant

time period (April through July 2013). (Id. at ¶ 8.) At least from 2013 through the present, GSK

LLC has had no commercial operations in China. (Id. at ¶ 7.)

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       The relationships between the relevant ChinaWhys and GSK entities is summarized by

the diagram on the following page.

       F.      Arrest/Conviction of Humphrey and Yu

       Humphrey and Yu were convicted of the charges against them. (See

       Ex. 15.)    Following his arrest, in a CCTV report, Humphrey was quoted in the media as

saying, “We sometimes use illegal methods to obtain personal information. I very much regret

doing this, and I want to apologize to the Chinese government.” (See Ex. 16.)

       Humphrey was sentenced to two-and-one-half years in prison, and fined £20,000. While

Yu was sentenced to two years in prison, and fined £15,000. (Compl. ¶ 97;

       Ex. 15 CCTV Article (Aug. 27, 2013).) Humphrey and Yu were released from prison in

or around June 9, 2015, and thereafter departed China on June 17, 2015. (Compl. ¶¶ 105-06.)

                                      IV.    ARGUMENT

       A.      The Court Should Compel Arbitration Of The Present Dispute Under The
               Federal Arbitration Act And The United Nations Convention On The
               Recognition And Enforcement Of Foreign Arbitral Awards, And Should
               Stay All Proceedings Pending Completion Of Arbitration

       The arbitration of disputes in this matter is governed by the Federal Arbitration Act

(“FAA”). The FAA embodies “a strong federal policy in favor of resolving disputes through

arbitration.” Invista S.A.R.L. v. Rhodia, S.A., 625 F.3d 75, 83-84 (3d Cir. 2010). A “written

provision in a … commercial contract showing an agreement to settle disputes by arbitration

‘shall be valid, irrevocable, and enforceable, save upon such grounds as exist in law or equity for

the revocation of any contract.’” Just B. Method, LLC v. BSCPS, LP, No. 14-1516, 2014 WL

5285634, at *4 (E.D. Pa. Oct. 14, 2014) (Alejandro, J.) (quoting Century Indem. Co. v. Certain

Underwriters at Lloyd’s London, 584 F.3d 513, 522 (3d Cir. 2009) and 9 U.S.C. § 2)).




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Figure 1. Relationship of Relevant GSK and ChinaWhys Entities.
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        The FAA’s second chapter implements the United Nations New York Convention on the

Recognition and Enforcement of Foreign Arbitral Awards (“New York Convention”), which

provides for enforcement and recognition of arbitration provisions in international commercial

contracts. Under that chapter, a court will enforce such provisions “if they arise from

commercial, legal relationships, such as commercial contracts, except when those relationships

are entirely between United States citizens and otherwise are domestic in nature.”7 Century

Indem. Co., 584 F.3d at 523 (citing 9 U.S.C. § 202). Together, the FAA and the New York

Convention recognize an “emphatic federal policy in favor of arbitral dispute resolution.”

Mitsubishi Motors Corp. v. Soler Chrysler-Plymouth, Inc., 473 U.S. 614, 631 (1985); see also

Shearson/American Exp., Inc. v. McMahon, 472 U.S. 220, 226 (1987) (“The Arbitration Act thus

establishes a federal policy favoring arbitration, requiring that “we rigorously enforce

agreements to arbitrate.”) (internal citations and quotations omitted).

        When a court is requested to compel arbitration under the New York Convention, it must

consider the following four factors, adopted by the U.S. Court of Appeals for the Third Circuit in

Standard Bent Glass Corp. v. Glassrobots Oy, 333 F.3d 440 (3d Cir. 2003):

        (1)      Is there “an agreement in writing to arbitrate the subject of the dispute”?

        (2)      “Does the agreement provide for arbitration in the territory of a signatory of the
                 Convention?”

        (3)      “Does the agreement arise out of a legal relationship, whether contractual or not,
                 which is considered as commercial?”

        (4)      “Is a party to the agreement not an American citizen, or does the commercial
                 relationship have some reasonable relation with one or more foreign states.”

Standard Bent Glass, 333 F.3d at 449 & n.13; accord Century Indem. Co., 584 F.3d at 523 n.8.




7
 “The domestic FAA applies to actions brought under the New York Convention to the extent that the two are not in
conflict.” See 9 U.S.C. § 208.

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“If the answers are all in the affirmative, the court must order arbitration unless it determines the

agreement is null and void.” Standard Bent Glass, 333 F.3d at 449 & n.13.

               1.      All Four Of The Standard Bent Glass Factors Favor Arbitration.

                       i.     A Written Agreement Exists Between The Parties To Arbitrate The
                              Subject Of The Dispute.

       To obtain an order compelling arbitration under the New York Convention, a party must

show the existence of a written agreement to arbitrate the subject of the dispute. Standard Bent

Glass Corp., 333 F.3d at 449. Here, Section 11 of the Consultancy Agreement broadly states

that “[a]ll disputes arising out of or in connection with” the agreement are subject to arbitration.

(Ex. 1 Consultancy Agreement § 11.) Clauses using this same or similar formulations give rise to

“a presumption of arbitrability” under which arbitration “should not be denied unless it may be

said with positive assurance that the arbitration clause is not susceptible of an interpretation

that covers the asserted dispute.” Moses H. Cone Mem. Hosp. v. Mercury Constr. Corp., 460

U.S. 1, 24 (1983) (emphasis added); see also Hinnant v. Am. Ingenuity, LLC, 554 F. Supp. 2d

576, 587 (E.D. Pa. 2008) (holding that a clause providing for arbitration of “all disputes in

connection with this contract” created a broad presumption of arbitrability).

       Plaintiffs cannot meet that exacting standard. Any claims Plaintiffs allege must

ultimately arise out of or in connection to the engagement. According to the Complaint,

Plaintiffs were retained by GSK China following a meeting with company representatives.

(See Compl. ¶ 50.) That meeting produced the Consultancy Agreement, which provided for due

diligence and investigative services including inquiries into Shi (See Ex. 1, Consultancy

Agreement § 1.1.) Plaintiffs’ efforts to carry out their duties under the Consultancy Agreement

are the only activities that they could have performed in relation to any GSK entity. To wit,

Plaintiffs’ own allegations link their arrest to GSK. (See Compl. ¶ 91.) As such, according to


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their own allegations, any claims Plaintiffs could assert would necessarily arise out of or relate to

the Consultancy Agreement.

       Plaintiffs’ election to style their claims under RICO and state tort law does not abrogate

the arbitrability of those claims. As the U.S. Court of Appeals for the Third Circuit has

recognized: “‘If the allegations underlying the claims touch matters covered by [an arbitration

clause in a contract], then those claims must be arbitrated, whatever the legal labels attached to

them.’” Brayman Const. Corp. v. Home Ins. Co., 319 F.3d 622, 626 (3d Cir. 2003) (alteration in

original) (quoting Genesco, Inc. v. T. Kakiuchi & Co., 815 F.2d 840, 846 (2d Cir. 1987)).

In fact, the Genesco case upon which the Third Circuit relied in reaching that conclusion

expressly found that RICO claims fell within the scope of a broad arbitration provision because

“[t]he wire, mail, and transportation fraud allegations which form the predicate acts of [the]

RICO claim all derive from the parties’ transactions under the [applicable] agreements.”

Genesco, 815 F.2d at 848.       The same is true here. As set forth in the Complaint, the various

mail and wire frauds allegedly perpetrated by the GSK Defendants were purportedly made to

“induce [Plaintiffs] to carry out an investigation that served GSK’s political goals.” (See Compl.

¶ 127.) An undisclosed number of those communications were allegedly made “with Humphrey,

Yu, and other ChinaWhys employees” for the purpose of “inducing them to carry out an

[allegedly] contrived investigation” for the GSK Defendants. (See Compl. ¶ 128(c).) The present

dispute therefore “aris[es] out of or in connection with” that Consultancy Agreement and is

subject to its broad arbitration provision. (See Ex. 1, Consultancy Agreement § 11.)

       The arbitration clause is mandatory; the use of the word “may” does not render it

permissive or discretionary. As one court has explained:

            [T]his Court does not distinguish between the use of the term “may” or
            “shall” in the arbitration context. Instead, we generally recognize that


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            the language permitting either party to demand arbitration operates to
            require the parties to submit to arbitration, as it clearly demonstrates that
            the parties contemplated the use of arbitration proceedings as the forum
            for resolution of disputes.

D & H Distrib. Co. v. Nat'l Union Fire Ins., 817 A.2d 1164, 1169 (Pa. Super. Ct. 2003). This

Court too has “rejected … argument[s] that the use of the word ‘may’ automatically renders an

arbitration clause permissive.” Under the prevailing interpretation, “arbitration clauses using the

word ‘may’ have been held to compel mandatory arbitration on the grounds that such language

merely manifests the parties’ intent that arbitration be obligatory if either party

so chooses.” Brown v. City of Philadelphia, No. 10-2687, 2010 WL 4484630, at *5

(E.D. Pa. Nov. 9, 2010); see also American Italian Pasta Co. v. Austin Co., 914 F.2d 1103, 1104

(8th Cir. 1990); Sidorek v. Chesapeake Appalachia LLC, 3:13-CV-0208, 2014 WL 1218893,

at *3 (M.D. Pa. Mar. 24, 2014).

       The same rationale applies here. The provision in the Consultancy Agreement that “either

Party may submit the dispute” to arbitration evinces an intent that a demand for arbitration will

be binding once made by either party. Brown, 2010 WL 4484630, at *5; Sidorek, 2014 WL

1218893, at *3. The mandatory nature of the “friendly consultation” requirement bolsters that

conclusion. There would be little reason for the parties to agree to a mandatory conciliation

process, but immediately thereafter provide a purely optional arbitration provision that neither

party could compel the other to follow. Were that the case, the arbitration provision would be of

no effect, as it would merely suggest that the dispute could be submitted to arbitration if the

parties agreed to do so after the dispute arose—an avenue that they could pursue without an

arbitration clause. See United States v. Bankers Ins. Co., 245 F.3d 315, 321 (4th Cir. 2001)

(holding that interpreting “may” as permissive in the arbitration context “would render the

arbitration provision meaningless for all practical purposes[,] since parties could always


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voluntarily submit [ ] to arbitration.”) (alterations in original; internal quotations omitted). The

far more likely scenario is that, “by using the word ‘may,’ both parties were given the power to

enforce the arbitration clause.” In re Winstar Commc’ns, 335 B.R. 556, 563 (Bankr. D. Del.

2005); see also United Steelworkers of Am., v. Ft. Pitt Steel Casting, 598 F.2d 1273, 1279 n.18

(3d Cir. 1979) (finding that the district court did not err in holding that grievance procedures in a

collective bargaining agreement were “mandatory despite language in the collective bargaining

agreement that the parties ‘may’ invoke those procedures.”).

         The present dispute therefore falls within the scope of the Consultancy Agreement’s

mandatory arbitration provision. The first Standard Bent Glass factor should be answered in the

affirmative.

                       ii.     The Arbitration Agreement Provides For Arbitration In The
                               Territory Of A Signatory State.

         To obtain an order compelling arbitration under the New York Convention, a

party must next demonstrate that the agreement at issue provides for arbitration in a signatory

state.   Standard Bent Glass Corp., 333 F.3d at 449 n.13.           Both the U.S. and China are

signatories to the Convention. See New York Arbitration Convention, Contracting States,

available at https://www.newyorkconvention.org/countries (last visited January 16, 2017). The

Consultancy Agreement specifically provides for application of the laws of the Peoples Republic

of China and arbitration before “[CIETAC] in Beijing.” (See Ex. 1,Consultancy Agreement

§ 11.)

         The second Standard Bent Glass factor is therefore answered in the affirmative.

                       iii.    The Consultancy Agreement Sets Forth A Legal Relationship That
                               Is Considered Commercial.

         Next, the Court must consider whether the agreement at issue “arise[s] out of a legal

relationship … which is considered as commercial.” Standard Bent Glass Corp., 333 F.3d at 449

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n.13. In the arbitration context, courts have broadly construed the term “commercial” to apply to

any matter that “‘has a connection with commerce, whether or not that commerce has a nexus

with the United States.’” Belize Social Dev. Ltd. v. Gov’t of Belize, 794 F.3d 99, 104 (D.C. Cir.

2015) (quoting Restatement (Third) of U.S. Law of Int’l Comm. Arbitration § 1-1 cmt. e);

accord Island Territory of Curacao v. Solitron Devices, Inc., 356 F. Supp. 1, 13 (S.D.N.Y.

1973) (“[I]t seems clear that the full scope of ‘commerce’ and ‘foreign commerce,’ as those

terms have been broadly interpreted, is available for arbitral agreements and awards.”).

       The Consultancy Agreement is a written document setting forth a legal relationship that

addresses a commercial matter. It contains provisions under which Plaintiffs would provide

professional services to GSK China, outlines the parameters of their work, and provides the

terms and conditions under which they were to be paid. It is the quintessential service contract

between a service provider and a client. (See Ex. 1, Consultancy Agreement §§ 1.1-1.6, 3.1-3.4.)

As such, it represents a commercial arrangement between its signatories and touches on a matter

“considered as commercial” for purposes of the New York Convention. Standard Bent Glass

Corp., 333 F.3d at 449 n.13. The third Standard Bent Glass factor is therefore answered in the

affirmative.

                      iv.     A Party To The Consultancy Agreement Is Not An American
                              Citizen, Or It Has A Reasonable Relationship With A Foreign
                              State.

       Lastly, the Court must determine whether a non-American is a signatory to the agreement

at issue, or whether there is “some reasonable relation with one or more foreign states.”

Standard Bent Glass Corp., 333 F.3d at 449 n.13. Although only one of those characteristics is

needed to compel arbitration, the Consultancy Agreement features both. Id. Neither party to the

Consultancy Agreement is an American citizen. GSK China is incorporated under Chinese law,

maintains it principal place of business in Shanghai, and operates exclusively in China. (See Ex.

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9, GSK China Decl. ¶¶ 3-4.) ChinaWhys is formed under the law of Hong Kong. (See Ex. 10.)

More importantly, the meeting at which Plaintiffs were retained by GSK China occurred in

China, the investigative services provided by Plaintiffs under the Consultancy Agreement were

performed in China, and all of the material events giving rise to this action occurred in and were

focused on conduct in China. The Consultancy Agreement not only has a reasonable relationship

with a foreign state (China), but in fact its only relationship is with China. The final Standard

Bent Glass factor is therefore answered in the affirmative.

       Accordingly, because all four of the Standard Bent Glass factors are met, the Court

should issue an order compelling arbitration in accordance with the FAA and the New York

Convention.

               2.     No Grounds Exist To Refuse Arbitration Under The Consultancy
                      Agreement.

       Once a dispute falls within the scope of the New York Convention, the Court should

grant a motion to compel unless it finds that the agreement is “null and void.” Standard Bent

Glass, 333 F.3d at 449. No such grounds for such a finding exist here.

                      i.      Plaintiffs Have Not Made An Attempt To Invalidate The
                              Consultancy Agreement.

       Plaintiffs do not mention the arbitration requirement in their Complaint, much less raise a

particularized allegation as to that provision. GSK PLC and GSK LLC are entitled to invoke the

arbitration provision of the Consultancy Agreement.

       Even though GSK PLC and GSK LLC are not direct signatories to the Consultancy

Agreement, they are nonetheless entitled to invoke its arbitration provision. An arbitration

clause may be enforced by a nonsignatory if a “close relationship” exists between the entities

involved and if “the claims were intimately founded in and intertwined with the underlying

contract obligations.” E.I. DuPont de Nemours, 269 F.3d at 199. In essence, when a claim arises

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by or against one member of a corporate family by virtue of a related company’s contract, the

non-signatory may invoke any arbitration provision in that contract. Id.; see also Bannett v.

Hankin, 304 F. Supp. 2d 354, 359 (E.D. Pa. 2004) (“[N]onsignatories to an arbitration agreement

have standing to compel arbitration against a signatory and the signatory is estopped from

avoiding arbitration with a nonsignatory when the issues which the nonsignatory wants to

resolve are intertwined with the agreement that the signatory signed.”).

       Here, Plaintiffs’ claims against GSK PLC and GSK LLC allegedly arose while Plaintiffs

were carrying out their investigatory obligations under the Consultancy Agreement with

GSK China. (Compl. ¶¶ 49-70.) Those claims are “intimately founded in and intertwined with”

the Consultancy Agreement such that GSK PLC and GLK LLC assumed standing to enforce the

arbitration provision of that contract. E.I. DuPont de Nemours, 269 F.3d at 199. Plaintiffs must,

therefore, bring their claims arising from the Consultancy Agreement in an arbitration tribunal

regardless of which GSK corporate entities they attempt to pursue as defendants.

                      ii.     The Court May Require Humphrey, Yu, And ChinaWhys To
                              Arbitrate Their Claims Due To Their Affiliation With ChinaWhys
                              (Shanghai), Which Is The Signatory To The Consultancy
                              Agreement.

       The Court may compel the Plaintiffs to arbitrate even though the Consultancy Agreement

was signed only by Humphrey on behalf of ChinaWhys (Shanghai). “Because arbitration is a

creature of contract law, when asked to enforce an arbitration agreement against a non-signatory

to the contract, a district court must determine whether the non-signatory individual ‘is bound by

that agreement under traditional principles of contract and agency law.’” Just B. Method, 2014

WL 5285634, at *7 (quoting E.I. DuPont de Nemours & Co. v. Rhone Poulenc Fiber & Resin

Intermediaries., S.A.S., 269 F.3d 187, 194-95 (3d Cir. 2001)). Under those principles, a party

may be compelled to arbitrate under principles of (1) incorporation by reference, (2) assumption


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of contractual rights or obligations, (3) agency, (4) alter ego, and (5) estoppel. Allstate Settlement

Corp. v. Rapid Settlements, Ltd., 559 F.3d 164, 170 (3d Cir. 2009).

                               (1)     The Consultancy Agreement Binds Humphrey And Yu
                                       Under Principles Of Agency And Estoppel.

       Under agency principles, when a contract signatory retains another individual or entity as

an agent to carry out its contractual obligations, claims accruing as a result of the agent’s conduct

are subject to any arbitration provision contained in the contract. Pritzker v. Merrill Lynch,

Pierce, Fenner & Smith, Inc., 7 F.3d 1110, 1121 (3d Cir. 1993). The Complaint alleges that

Humphrey and Yu are co-founders of ChinaWhys (Shanghai), the signatory to the Consultancy

Agreement, and that both Humphrey and Yu were acting in their capacity as principals and

agents of ChinaWhys at all times relevant to their claims. (See Compl. ¶¶ 6, 7.) The Complaint

further alleges that Humphrey was introduced to GSK China by a former ChinaWhys client

based on the specialized consulting services ChinaWhys provides. (Id. ¶ 49.) The Complaint

confirms as well that Humphrey and Yu are “employees” of ChinaWhys, and alleges that the

GSK Defendants dictated “Humphrey and Yu’s mission” in carrying out the Consultancy

Agreement. (Id. ¶¶ 63, 128(c) (referring to “Humphrey, Yu, and other ChinaWhys employees”).)

The investigation performed by Humphrey and Yu is the same as that described in the scope

of work outlined in ChinaWhys’ project proposal. (See Ex. 1, Consultancy Agreement App’x A.)

Accordingly, Humphrey and Yu were acting as agents of ChinaWhys with regard to the facts

alleged in the Complaint, and they are bound by the arbitration clause in the Consultancy

Agreement.

       Humphrey and Yu are also bound by the arbitration clause in the Consultancy Agreement

under an equitable estoppel theory. A non-signatory to a contract may be bound by a contractual

arbitration provision “if the non-signatory exploits the agreement containing the arbitration


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clause despite never having signed the agreement.” E.I. DuPont de Nemours, 269 F.3d at 200.

This Court has recognized that, when an individual litigant “s[eeks] to reap the full benefits of

[an] Agreement” executed by an entity of which the litigant is a principal, the individual may be

compelled to arbitrate claims arising under that agreement. See Just B Method, 2014 WL

5285634, at *9. Here Humphrey and Yu sought to reap the benefits for the work that was

performed in China for the purpose of carrying out their obligations under the Consultancy

Agreement. The Court should, therefore, compel Humphrey and Yu to arbitrate in accordance

with that agreement.

                              (2)    The Consultancy Agreement Binds ChinaWhys Under
                                     Principles Of Alter Ego, Agency, And Assumption Of
                                     Contract Rights.

       Under alter ego principles, one corporate entity may be bound by an arbitration clause in

a contract signed by an affiliated company when the two entities have so comingled their

operations that they function as a single enterprise. Aluminium Bahrain B.S.C. v. Dahdaleh,

17 F. Supp. 3d 461, 471 (W.D. Pa. 2014). Similarly, under principles of assumption, one entity

may be bound by an arbitration clause if its “subsequent conduct indicates that it is assuming the

obligation to arbitrate.” Invista S.A.R.L., 625 F.3d at 85 (internal quotations omitted). Here,

Humphrey’s and Yu’s conduct in China was allegedly performed to satisfy ChinaWhys

(Shanghai)’s obligations under the Consultancy Agreement, despite the fact that the Complaint

attributes that conduct to ChinaWhys and alleges that Humphrey and Yu performed their

investigation on ChinaWhys’ behalf. (Comp. ¶¶ 49-70.) ChinaWhys was operating to fulfill

ChinaWhys (Shanghai)’s obligation to “initiate inquiries into [Shi] and her contacts.” (See Ex. 1,

Consultancy Agreement App’x A, at 4.) The actions of Humphrey and Yu are thus attributable

to ChinaWhys (Shanghai), the contract signatory, because the two ChinaWhys entities

functioned as a single enterprise using the same personnel.

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        Alternatively, the Consultancy Agreement binds ChinaWhys under an agency theory

because ChinaWhys, through its employees, was acting as the agent of ChinaWhys (Shanghai) to

fulfill contractual obligation of the latter entity. “Because a principal is bound under the terms of

a valid arbitration clause, its agents, employees, and representatives are also covered under the

terms of such agreements.” Pritzker, 7 F.3d at 1121.

        Moreover, ChinaWhys’ conduct reflects an intent to be bound regardless of any alter ego

or agency relationship. ChinaWhys directed its personnel into China for the specific purpose of

furthering the relationship between GSK China and ChinaWhys (Shanghai) created by the

Consultancy Agreement. By acting on behalf of ChinaWhys (Shanghai) to meet its contractual

duties, ChinaWhys manifested its intent to be bound by the contract from which those duties

arose. See Thomson-CSF, S.A. v. Am. Arb. Ass’n, 64 F.3d 773, 777 (2d Cir. 1995) (“In the

absence of a signature, a party may be bound by an arbitration clause if its subsequent conduct

indicates that it is assuming the obligation to arbitrate.”).

        The Court should find that ChinaWhys is bound by the arbitration provisions of the

Consultancy Agreement.

                        iii.    Arbitration Remains Proper Notwithstanding That Humphrey And
                                Yu Are No Longer In China.

        The Court may compel arbitration notwithstanding that Humphrey and Yu were allegedly

“deported from China on June 17, 2015” and are no longer physically present or resident in

China. (See Compl. ¶ 106.) A contract such as the Consultancy Agreement incorporates into its

terms the law existing at the time of its formation. See DePaul v. Kauffman, 272 A.2d 500, 506

(Pa. 1971). In this case, the chosen law governing the agreement is the law of China and the

chosen forum is CIETAC. (See Ex. 1, Consultancy Agreement at § 11.) CIETAC rules provide

that “[a] party may be represented by its authorized Chinese and/or foreign representative(s) in


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handling matters relating to the arbitration,” even if the party cannot or chooses not to attend the

proceeding in person. See CIETAC Arb. R. art. 22.8 By assenting to the arbitration provision in

the Consultancy Agreement, Plaintiffs agreed to use and rely upon CIETAC procedures,

including those allowing a representative to conduct the arbitration on the party’s behalf.

Accordingly, the fact that Humphrey and Yu are not in China should not preclude the Court from

granting a motion to compel arbitration in accordance with the Consultancy Agreement.

        B.       The Court Must Dismiss All Claims Against GSK PLC For Lack Of Personal
                 Jurisdiction

                 1.      The Court Cannot Assert General Jurisdiction Over GSK PLC

        In order for the Court to assert general personal jurisdiction over a foreign corporation,

the corporation’s affiliations with the forum state must be “so constant and pervasive” that it is

essentially “at home” there. Daimler AG v. Bauman, 134 S. Ct. 746, 751 (2014). Except for “an

exceptional case” such as a temporary relocation of a corporate headquarters, a corporation is “at

home” only in its formal place of incorporation and its principal place of business. Id. at 761.

        GSK PLC is a public limited company with its principal place of business in Middlesex,

United Kingdom. (See Ex. 13, GSK PLC Decl. ¶ 3.) GSK PLC’s sole purpose is to act as a

holding company for its global operations through a series of intermediate holding companies

responsible for its various divisions. (Id. ¶ 4.) GSK PLC has no operations, no sales, no

employees, and no other activities in the U.S. (Id. ¶ 5.) Accordingly, under Daimler, the Court

has no basis to assert general jurisdiction over GSK PLC.




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  See also Jiangsu Changlong Chemicals, Co. v. Burlington Bio-Med. & Sci. Corp., 399 F. Supp. 2d 165, 169
(E.D.N.Y. 2005) (confirming award over due process objection that company representatives were prevented from
obtaining necessary visas to attend Chinese arbitration, when counsel had appeared at arbitration on defendant’s
behalf).

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                2.     The Court Cannot Assert Specific Jurisdiction Over GSK PLC

        Specific jurisdiction focuses on “minimum contacts” between a non-resident defendant

and the forum with respect to the claims asserted against it. Dollar Sav. Bank v. First Sec. Bank

of Utah, 746 F.2d 208, 211-12 (3d Cir. 1984). First, the defendant must have “purposefully

directed [its] activities” at the forum. Burger King Corp. v. Rudzewicz, 471 U.S. 462, 472 (1985)

(quotation marks omitted). Second, the litigation must “arise out of or relate to” at least one of

those forum-related activities. Helicopteros Nacionales de Colombia v. Hall, 466 U.S. 408, 418

n.8 (1984); Grimes v. Vitalink Comms. Corp., 17 F.3d 1553, 1559 (3d Cir. 1994). Finally,

jurisdiction must otherwise “comport with ‘fair play and substantial justice.’” Burger King, 471

U.S. at 476.

        Thus, for a controversy to “arise out of” or be “related to” the forum state, a corporation's

“suit-related conduct must create a substantial connection with the forum State.” Walden v.

Fiore, 134 S. Ct. 1115, 1121 (2014) (emphasis added). Contacts unrelated to the alleged claims

will not support jurisdiction. World–Wide Volkswagen Corp. v. Woodson, 444 U.S. 286, 299

(1980) (“[F]inancial benefits accruing to the defendant from a collateral relation to the forum

State will not support jurisdiction if they do not stem from a constitutionally cognizable contact

with that State.”).

        Here, the analysis is straightforward, as the Complaint fails to allege that GSK PLC had

any contacts with the forum related to Plaintiffs’ claims. Nor, in fact, have Plaintiffs alleged

suit-related conduct in the forum with respect to any of the GSK Defendants. In the absence of

any allegations that GSK PLC acted in Pennsylvania with respect to Plaintiffs’ claims, it cannot

be subject to this Court’s personal jurisdiction, and all claims against GSK PLC should be

dismissed.



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       C.      The Court Lacks Subject Matter Jurisdiction Over Plaintiffs’ State-Law
               Claims (Counts III, IV and V)

       Aside from RICO (18 U.S.C. § 1964), Plaintiffs allege only diversity under 28 U.S.C.

§ 1332 as the basis for this Court’s subject matter jurisdiction.

       However, Plaintiffs cannot rely upon diversity jurisdiction to provide this Court with

subject-matter jurisdiction over their non-RICO claims. (Cf. Compl. ¶¶ 7, 12 (alleging American

citizenship of Yu and relying on diversity statute as a basis for jurisdiction).) Under 28 U.S.C.

§ 1332, a court may assert diversity jurisdiction over suits between “citizens of different states”

(U.S.C. § 1332(a)(1)), “citizens of a State and citizens or subjects of a foreign state” (28 U.S.C.

§ 1332(a)(2)), and “citizens of different States and in which citizens or subjects of a foreign state

are additional parties” (28 U.S.C. § 1332(a)(3)). None of these provisions applies here:

            In order to be a citizen of a State within the meaning of the diversity
            statute, a natural person must be both a citizen of the U.S. and be
            domiciled within the State. An American citizen domiciled abroad,
            while being a citizen of the U.S. is, of course, not domiciled in a
            particular state, and therefore such a person is ‘stateless’ for purposes of
            diversity jurisdiction. Thus, American citizens living abroad . . . are
            neither ‘citizens of a State,’ see 28 U.S.C. § 1332(a)(1), nor ‘citizens or
            subjects of a foreign state,’ see id. § 1332(a)(2).

Swiger v. Allegheny Energy, Inc., 540 F.3d 179, 183–84 (3d Cir. 2008).

       Yu is not domiciled in the U.S., and is not a citizen of a state within the meaning of the

diversity statute. Accordingly, the Court lacks subject-matter jurisdiction over Plaintiffs’ state-

law claims (Counts III, IV and V).

       D.      The Complaint Fails To State A Claim Upon Which Relief May Be Granted

       Rule 8(a)(2), which applies to all complaints, requires a “short and plain statement” to

“show[] that [the plaintiff] is entitled to relief.” Fed. R. Civ. P. 8(a)(2). To meet this requirement,

the complaint must be “plausible on its face.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2007). This

means a plaintiff must plead sufficient facts to permit the court “to draw the reasonable inference

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that the defendant is liable for the misconduct alleged.” Santiago v. Warminster Township, 629

F.3d 121, 128 (3d Cir. 2010) (quoting Sheridan v. NGK Metals Corp., 609 F.3d 239, 262 n.27

(3d Cir. 2010)). “[R]ecitals of the elements of a cause of action, supported by mere conclusory

statements,” are insufficient. Id (quoting Iqbal, 556 U.S. at 667).

         Additionally, claims grounded in fraud must be plead with particularity under Fed. R.

Civ. P. 9(b). Pursuant to Rule 9(b), a plaintiff averring a claim in fraud must specify “the who,

what, when and where details of the alleged fraud.” District 1199P Health and Welfare Plan v.

Janssen, L.P., 784 F. Supp. 508, 527 (D. N.J. 2011). Further:

              To determine the sufficiency of a complaint in the Third Circuit, a court
              must take three steps: First, the court must take note of the elements a
              plaintiff must plead to state a claim. Second, the court should identify
              allegations that, because they are no more than conclusions, are not
              entitled to the assumption of truth. Third, where there are well-pleaded
              factual allegations, a court should assume their veracity and then
              determine whether they plausibly give rise to an entitlement for relief.

Santiago, 629 F. 3d at 130.

         A review of each of Plaintiffs’ six causes of action reveals that none give rise to an

entitlement for relief. As such, the Court should thus dismiss the Complaint.

                  1.       Plaintiffs Sued The Wrong Entities

         Plaintiffs cannot meet either the Rule 8 or heightened Rule 9(b) pleading standards as to

any claims, for one simple reason: Plaintiffs have named the wrong entities. 9 The named GSK

Defendants in the Complaint are (1) GSK PLC, and (2) one of GSK PLC’s subsidiaries, GSK

LLC. (See Compl. ¶¶ 10, 11.) However, as set forth above in Sections III(D)-(E), neither GSK

PLC nor GSK LLC is alleged to have committed any conduct actually directed towards

Plaintiffs. Rather, every single individual alleged to have interacted with the Plaintiffs is

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  As set forth more fully in Section III, Plaintiffs’ alleged claims arise from the Consultancy Agreement, a contract
to which neither GSK PLC nor GSK LLC are signatories.


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associated with one of two entirely different GSK subsidiaries: either GSK China, GSK (China)

R&D Co. Ltd. (“GSK China (R&D)”) or GlaxoSmithKline Pte. Ltd. (“GSK Singapore”).

Specifically, as alleged in Plaintiffs’ Complaint:

       •       The “GSK officials” at the April 15, 2013 meeting at which Plaintiffs were “asked
               to conduct a background investigation of Shi” (Compl. ¶¶ 49-63) were:

               o       Reilly, the General Manager of GSK China; (Compl. ¶ 50.)

               o       Zhao, Legal Counsel to GSK China; and (Compl. ¶ 50.)

           o Cahill, an employee of GSK Singapore. (Compl. ¶ 50; see also Ex. 9, GSK China
             Decl. ¶ 10.)

       •       The employees from whom Humphrey sought additional information (Zhao and
               Reilly) were Legal Counsel and CEO of GSK China, respectively; (Compl. ¶ 64.)

       •       The location to which ChinaWhys employee Silvia Feng allegedly traveled to
               obtain information was the Shanghai office of GSK China; (Compl. ¶ 65.)

       •       The individuals to whom Humphrey sent a background investigation report
               (Zhao, Huang, and Cahill) were employees of GSK China, GSK China (R&D)
               and GSK Singapore; (Compl. ¶ 70.)

       •       The individuals who requested follow-up investigation work by Humphrey—
               which Humphrey declined to perform—were legal counsel to GSK China (R&D)
               (Huang) and Head of Business Development for GSK China (Chang); (Compl. ¶¶
               79, 82-85.)

       •       The individual who allegedly forwarded Humphrey and a ChinaWhys manager
               copies of the whistleblower emails was an employee of GSK Singapore (Soon);
               and (Compl. ¶ 80.)

       •       Subsequent alleged July 2013 contacts involved only Reilly and his personal
               assistant (Zheng). (Compl. ¶¶ 86, 89.)

       Further, none of this alleged conduct by employees of GSK China and GSK Singapore,

even if proven tortious, could be imputed to either of the GSK Defendants in this case. “As a

general rule, a parent corporation, like any stockholder, is not normally liable for the wrongful

acts or contractual obligations of a subsidiary . . . simply because the parent wholly owns the

subsidiary.” Jean Anderson Hierarchy of Agents v. Allstate Life Ins. Co., 2 F. Supp. 2d 688, 691

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(E.D. Pa. 1998). Under Pennsylvania law, there is “a strong presumption . . . against piercing the

corporate veil. Germain v. Wisniewski, No. 15-1297, 2016 WL 4158994, at *2 (W.D. Pa. Aug. 5,

2016) (quoting Lumax Indus., Inc. v. Autman, 669 A.2d 893, 895 (Pa. 1985). The “formulaic

recitation of the elements . . . for piercing the corporate veil” is insufficient to survive a motion

to dismiss. Essex Ins. Co. v. Miles, No. 10-3598, 2010 WL 5069871, at *3 (E.D. Pa. Dec. 3,

2010) (allegations that “on information and belief” corporate entity’s owners failed to observe

corporate formalities, intermingled funds, used corporate property for personal expenses, left the

entity grossly undercapitalized, and used the entity as a façade or alter ego did not meet the

Twombley pleading standard).

       Here, Plaintiffs have not even attempted to allege the elements of a veil piercing claim,

making only a bare, conclusory allegation that GSK PLC “had the right to and did exercise

control over the actions of” GSK China. (See Compl. ¶ 10.) This is insufficient. The allegation

that a company is “entirely dominated, operated, and controlled” by another is a “threadbare and

conclusory” allegation insufficient to state a claim for veil piercing. Sunlight Elec. Contracting

Co. v. Turchi, No. 08-5834, 2011 WL 4086077, at * 17-18 (E.D. Pa. Sept 13, 2011). Where the

only allegations against a parent and sister corporation are as to their corporate relationship to the

entity that committed the wrongful acts, the complaint must be dismissed as to those defendants.

Jean Anderson Hierarchy of Agents v. Allstate Life Ins. Co., 2 F. Supp. 2d at 692; see also Davis

v. Wells Fargo U.S. Bank Nat’l Ass’n, No. 14-07014, 2015 WL 3555301, at *4-5 (E.D. Pa. June

8, 2015) (dismissing complaint against corporate parent company for acts committed by its

subsidiary).

       Simply put, Plaintiffs have sued the wrong corporate entities, and the Complaint should

be dismissed in its entirety on this basis alone.



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                2.          Plaintiffs Fail To State A Claim For Violation of 18 U.S.C. § 1962(c)
                            or (d)

        Plaintiffs lack standing to bring RICO claims because they do not allege facts supporting

a causal link between the GSK Defendants’ actions and Plaintiffs’ alleged RICO losses. Second,

Plaintiffs do not plausibly allege a “pattern” of racketeering activity as required for violation of

18 U.S.C. § 1962(c). Finally, Plaintiffs do not plausibly allege that GSK PLC and GSK LLC

entered into an agreement to participate in the affairs of a RICO enterprise, as required under 18

U.S.C. § 1962(d).

                            i.    Plaintiffs Fail To Allege Violation Of § 1962 Proximately Caused
                                  Their Damages

        Plaintiffs’ RICO claims must be dismissed because Plaintiffs do not plausibly allege that

a violation of § 1962 proximately caused their damages. Under 18 U.S.C. § 1964(c), a private

plaintiff may only bring a civil suit if he or she is “injured in his business or property by reason

of a violation of section 1962.” 18 U.S.C. § 1964(c). The U.S. Supreme Court has read this

requirement strictly: plaintiffs may only recover damages actually and proximately caused by a

defendant’s RICO violation. Holmes v. Secs. Investor Prot. Corp., 503 U.S. 258, 268-69 (1992).

RICO proximate cause is defined by directness: where injury “rests on the independent actions

of third and even fourth parties,” there is no proximate cause. Hemi Grp., LLC v. City of New

York, N.Y., 599 U.S. 1, 15 (2010). Foreseeability—in contrast to many states’ common law

formulation of proximate cause—is irrelevant. Id. It does not matter whether injuries caused by

the independent actions of a third party are foreseeable, intended or even desired. Id. Rather, the

RICO proximate cause requirement “ensures that there are no independent variables that could

account for a plaintiff’s injuries.” District 1099P, 784 F. Supp. 2d at 525 (dismissing RICO

claims because, among other reasons, defendants’ fraudulent statements were not the sole cause

of Plaintiffs’ injuries).

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       Here, it was not the alleged actions by GSK LLC, GSK PLC or even GSK China or GSK

Singapore that directly caused Plaintiffs’ injuries. Rather, Plaintiffs allege their injuries were

directly caused by third parties: the Chinese criminal justice system—the Chinese police (Compl.

¶¶ 91-92), prosecutors (Compl. ¶¶ 92-97), and Chinese detention center employees and prison

officials (Compl. ¶¶ 99-103). In fact, assuming that Plaintiffs’ allegations are true, the actions of

the Chinese criminal justice system are arguably fourth party acts, as Plaintiffs allege their

“prosecution was procured at the behest of Shi, seeking revenge against them. . . .” (Compl.

¶ 97). Indeed, Plaintiffs do not contest that they committed the violations of law, dating back

over many years, that were the cause of their punishment in China.

       Plaintiffs make no factual allegations that any activity by GSK LLC had a causal impact

on Plaintiffs, either direct or indirect. Plaintiffs’ allegations that GSK PLC’s putative refusal to

disclose information to British diplomats prolonged Humphrey’s and Yu’s incarceration is

unavailing, as Plaintiffs do not (and cannot) plausibly allege that GSK PLC’s alleged statements

or refusal to provide information were the sole reason that the British government was

unsuccessful in securing their early release. (Compl. ¶ 115.)

       As alleged, Plaintiffs’ injuries simply cannot be considered the “direct” result of action

by the GSK Defendants: assuming that Plaintiffs’ allegations are true, Plaintiffs’ conduct in the

investigation incurred the wrath of Shi; Shi purportedly procured Plaintiffs’ arrest and

prosecution by the Chinese criminal justice system; and inhumane treatment by Chinese

authorities injured Plaintiffs.    (Compl. ¶¶ 91-104.)       Because it was independent actors

responding to Plaintiffs’ own violations of Chinese law who directly caused Plaintiffs’ alleged

harm, even accepting their allegations at face value, Plaintiffs cannot claim that their injuries

were proximately caused by Defendants.



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                       ii.    Plaintiffs Fail To Allege A Pattern Of RICO Activity

       “A plaintiff bringing a substantive RICO claim under § 1962(c) must allege ‘(1) conduct

(2) of an enterprise (3) through a pattern (4) of racketeering activity.’” Hlista v. Safeguard

Properties, LLC, 649 F. App’x 217, 221 (3d Cir. 2016) (quoting In re Ins. Brokerage Antitrust

Litig., 618 F.3d 300, 362 (3d Cir. 2010)). The requirements of § 1962(c) “must be established as

to each individual defendant.” Craig Outdoor Advertising, Inc. v. Viacom Outdoor, Inc., 528

F.3d 1001 (8th Cir. 2008).

       As the U.S. Supreme Court explained in H.J. Inc. v. Northwestern Bell Tel. Co., a series

of racketeering activities only constitutes a RICO “pattern” where the activities are (1) related to

each other and (2) amount to or otherwise constitute a threat of continuing racketeering activity.

492 U.S. 229, 240 (1989). Activities are related when they “have the same or similar purposes,

results, participants, victims, or methods of commission, or otherwise are interrelated by

distinguishing characteristics and are not isolated events.” Id. Plaintiffs’ claims regarding the

alleged “Drug Bribery and Promotion Enterprise” fail to meet that standard by any definition.

       Plaintiffs allege three distinct subsets of conduct within the purported enterprise: (1) the

2012 U.S. Settlement (Compl. ¶¶ 15-22); (2) GSK China’s “Corruption in China” (Compl. ¶¶ 71-

78, 116-120); and (3) GSK China’s engagement of Plaintiffs to “conduct a background

investigation of [Vivian] Shi” (Compl. ¶¶ 49-70, 79-90). Contrary to the H.J., Inc. requirement

that the elements of a pattern be “related,” Plaintiffs’ own allegations demonstrate that the

purported elements of the alleged RICO enterprise are in fact, entirely unrelated, and do not

involve the same or even similar results, participants, victims, or methods of commission.

Indeed, timing alone demonstrates the disjointed nature of Plaintiffs’ allegations: there are no

allegations involving GSK LLC after the 2012 U.S. Settlement, while GSK China employees are

not alleged to have made contact with Plaintiffs prior to mid-2013. (Compl. ¶¶ 15, 50.)

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        In an attempt to tie these disparate acts together, Plaintiffs argue, without alleging any

facts, that each “portion of the enterprise” is connected to the others because all have the

“common purpose to maximize and protect GSK profits.” (Compl. ¶ 123.) This bald assertion is

insufficient to tie together Plaintiff’s unrelated and disparate allegations.

        In Bonavitacola Elec. Contractor, Inc. v. Boro Developers, Inc., plaintiffs alleged

conduct over the course of a decade through which the defendant electrical contractor bid for and

won several public works projects, in each instance by fraudulently promising to comply with

prevailing wage laws and subsequently submitting false certified payroll reports. 87 F. App’x

227, 232 (3d Cir. 2003). Plaintiffs alleged this series of events met the relatedness requirement

by virtue of their “similar purpose of procuring electrical construction contracts.” Id. The Third

Circuit disagreed and affirmed dismissal of these claims, holding that an alleged similar purpose

“is not an allegation of common plan.” Id. Plaintiffs’ efforts to shoehorn conduct by GSK LLC

and GSK PLC into the complaint under the guise of a common purpose of “maximizing profits”

similarly fails.

        Nor does Plaintiffs’ allegation that they were hired as part of an effort to “cover-up” the

alleged enterprise render this series of communications “related” to the activity alleged against

GSK LLC. See The Knit With v. Knitting Fever, Inc., 625 F. App’x 27, 38 (3d Cir. 2015) (while

a scheme to cover up activity may have “some connection” to that activity, this connection alone

is “not sufficient to make two conspiracies part of the same pattern of racketeering”). Indeed,

hiring Plaintiffs to conduct a background report into a former employee could not plausibly be

part of an effort to “cover-up” any GSK LLC activities, which had already been disclosed to the

public as part of its settlement almost a full year before GSK China and GSK Singapore

employees allegedly first contacted Plaintiffs. (See Exs. 4-5.)



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       Nor can the “portion” of the alleged racketeering activity purportedly directed towards

Plaintiffs stand as a “pattern” on its own. “Predicate acts extending over a few weeks or months

and threatening no future criminal conduct do not satisfy” the continuity requirement of H.J. Inc.

492 U.S. at 242. All alleged interaction between Plaintiffs and employees of GSK China and

GSK Singapore took place during the course of three months. When the alleged pattern of

activity takes place over such a short timeframe, and when it is not related to an open-ended

pattern of racketeering activity, a claim under 18 U.S.C. § 1962(c) fails. See Jordan v. Berman,

792 F. Supp. 380, 385-86 (E.D. Pa. 1992) partially overruled on other grounds, 20 F.3d 1250

(3d Cir. 1994) (citing examples of Third Circuit cases holding that “twelve months or less is not

a ‘substantial’ period for RICO continuity purposes.”); Walther v. Patel, No. 10-706, 2011 WL

382752 at n.105 (E.D. Pa. Feb 4, 2011) (same).

                       iii.    Plaintiffs’ 1962(d) Claim Fails Because Plaintiffs Have Not
                               Alleged an Agreement

       To plead a cause of action for RICO conspiracy (§ 1962(d)), the complaint “must set

forth factual allegations that indicate (1) the period of the conspiracy, (2) its intended purpose,

(3) the specific actions taken by the conspirators in furtherance of the conspiracy, (4) agreement

to commit predicate acts, and (5) knowledge that the acts agreed upon formed part of a pattern of

racketeering activity.” Ferguson v. Moeller, No. 2:16-CV-41, 2016 WL 1106609, at *8 (W.D.

Pa. March 22, 2016) (citing Glessner v. Kenny, 952 F.2d 702, 714 (3d Cir. 1991)). Plaintiffs

must allege facts showing that “each defendant objectively manifested an agreement to

participate, directly or indirectly, in the affairs of a RICO enterprise.” Id. Plaintiffs’ conclusory

allegations do not meet this requirement.

       Plaintiffs allege that “[t]he corporate defendants conspired with, inter alia, Mark Reilly

and others to promote the red herring investigation of Vivian Shi . . .” (Compl. ¶ 140, 141.)


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However, Plaintiffs offer no allegations whatsoever to support this statement. They make no

claim that any employee of GSK LLC or GSK PLC knew that GSK China and GSK Singapore

employees had the objective of “promoting [a] red herring investigation,” let alone that GSK

LLC and GSK PLC agreed to further this alleged endeavor for the purpose of “suppress[ing]

evidence of GSK’s fraud and bribery in China.” See Id. Mere conclusory statements such as

these, with “no specific averments regarding . . . agreement to join an alleged conspiracy as to

each defendant,” are insufficient to state a cognizable § 1962(d) claim. Ferguson, 2016 WL

1106609, at *9.10

                 3.       Plaintiffs’ Claim For Fraud Fails Because Neither GSK Defendant Made
                          Any Allegedly Misleading Statements To Plaintiffs

        Plaintiffs’ claim for fraud also fails because the wrong defendants once again were

named. Plaintiffs allege that misstatements made to them regarding Shi and the status of a GSK

China internal investigation “caused Plaintiffs to agree to conduct the initial investigation,

and it was this investigation that led to their arrest, imprisonment, and resulting damages.

(Compl. ¶¶ 151, 154, 156.) However, as explained above, there is no allegation that there were

any attendees from either GSK PLC or GSK LLC at the April 15, 2013 meeting when the alleged

misrepresentations were made. Id. at ¶ 50. As there are no such allegations, Plaintiffs’ fraud

claims must be dismissed. Davis, 2015 WL 3555301 at *1, 4-5 (dismissing claim for fraud

against parent corporation because plaintiff “fails to show how [defendant] was involved in the

alleged conduct in any way, other than being the parent company of the company that” is alleged

to have caused the injury).


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   Further, a number of courts in this circuit have held that a corporation cannot engage in a RICO conspiracy with
its own subsidiaries and employees. See, e.g. Dist. 1199P Health & Welfare Plan v. Janssen, L.P., No. 07-
2860(GEB), 2008 WL 5413105, at *13 (D.N.J. Dec. 23, 2008) (parent and subsidiary incapable of conspiring, and
“an alleged intro-corporate conspiracy comprised solely of a corporation acting in concert with its officers and
employees should not be considered as involving separate actors conspiring under the law”); Castle v. Crouse, No.
03-5252, 2004 WL 257389, at *6 (E.D. Pa. Feb.11, 2004) (“a corporate entity cannot conspire with its employees.”).

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               4.      Plaintiffs’ Claim For Conspiracy Fails Because Plaintiffs Allege No
                       Malice By Either GSK Defendant

       Plaintiffs’ claim for civil conspiracy fails for two reasons. First, as with all other claims,

there are no factual allegations that either GSK PLC or GSK LLC made any agreement among

themselves. Second, Plaintiffs fail to allege any facts from which this Court could plausibly infer

the essential element of malice.

       To state a claim for conspiracy under Pennsylvania law, plaintiffs must show:

(1) a combination of two or more persons acting with a common purpose to do an unlawful act or

to do a lawful act, by unlawful means or for an unlawful purpose; (2) an overt act done in

pursuance of the common purpose; and (3) actual legal damage. Morilus v. Countrywide Home

Loans, Inc., 651 F. Supp. 2d 292, 312 (E.D. Pa. 2008). Additionally, there must be a claim of

malice or an intent to injure. Morilus, 651 F. Supp. 2d at 313. “Bald assertions that certain

actions were malicious are insufficient; it must be alleged that the sole purpose of the conspiracy

was to injure Plaintiffs.” Id. (internal quotation and citation omitted) (emphasis in original).

       Plaintiffs’ claim for civil conspiracy fails because Plaintiffs allege no facts that could

allow the court to infer that GSK PLC or GSK LLC harbored any intent to harm Plaintiffs in

2013. Moreover, even if the alleged actions of GSK China or GSK Singapore employees could

be imputed to the GSK Defendants (which they cannot), Plaintiffs still fail to allege the essential

element of malice against them. Rather, Plaintiffs allege that the GSK Defendants were

motivated by their own self-interest: “[the GSK Defendants’] objective in retaining Plaintiffs was

to create a dossier on the whistleblower . . . to frame her as a vindictive former employee with a

grudge in order to cover-up their conspiracy and obstruct an ongoing investigation into it.”

(See Compl. ¶ 2.) “[The GSK] Defendants’ true motive was to use Plaintiffs to discredit the

whistleblower and cover up their illegal scheme.” (Id. at ¶ 1.) (emphasis added). In fact,


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Plaintiffs allege facts suggesting GSK China employee Reilly warned Plaintiffs about the fall-out

of their report: that Reilly allegedly warned Humphrey that Shi had read the report and would be

“coming after” him; and that Reilly informed Humphrey that Reilly planned to leave the country.

(Id. at ¶¶ 8, 89.) Because the purported conspirators are alleged to have been “guided by personal

interests separate from any alleged desire to cause harm to” the plaintiffs, the claim for civil

conspiracy must be dismissed. Morilus, 651 F. Supp. 2d at 313.

               5.     Plaintiffs’ Claim For Intentional Infliction Of Emotional Distress Fails To
                      Allege Severe Emotional Distress

       First, as previously noted, Plaintiffs’ claims must fail as the GSK Defendants are not

alleged to have been involved in any activity directed at or involving Plaintiffs. Second, even if

the alleged GSK China employees’ action(s) could be imputed to GSK PLC or GSK LLC (which

they cannot), Plaintiffs’ “threadbare legal conclusions” that they suffered “severe emotional

distress” do not plausibly state a claim for relief. (Compl. ¶ 162.); see Robinson v. Family

Dollar, Inc., No. 14-03189, 2015 WL 3400836, at *6 (E.D. Pa. May 27, 2015) (allegation that

defendants “caused plaintiff to suffer severe emotional distress” are insufficient to state a

plausible claim of intentional infliction of emotional distress). Moreover, claims for “both

intentional and negligent infliction of emotional distress require a manifestation of physical

impairment resulting from the distress.” Adams v. U.S. Airways Grp., Inc., 978 F. Supp. 2d 485,

497 (E.D. Pa. 2013). Plaintiffs make no such allegation, and this claim therefore must be

dismissed.

               6.     Plaintiffs’ Claim For Negligent Infliction Of Emotional Distress Fails
                      Because Plaintiffs’ Cannot Allege Proximate Cause

       Plaintiffs’ claim for negligent infliction of emotional distress also fails. First, neither

GSK PLC nor GSK LLC is alleged to be involved in or knowledgeable about efforts to engage

Plaintiffs to conduct an investigation of Shi. Moreover, it was the intentional actions of the

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Chinese government in arresting, prosecuting, and imprisoning defendants that caused Plaintiffs

harm, not the actions of any GSK employees, and the claim must therefore be dismissed for lack

of proximate cause.

       The U.S. District Court for the Middle District of Pennsylvania addressed a similar

situation in Deitrick v. Costa, No. 4:06-CV-01556, 2015 WL 1606641, at *9 (M.D. Pa. Apr. 9,

2015). In Deitrick, the complaint alleged plaintiffs’ injuries resulted from a physical altercation

at a police station during which police officers were “detaining and/or assaulting the [p]laintiff.”

Id. Although the Deitrick plaintiff sought to causally connect this incident to the defendant, the

court dismissed this claim: “even if some as yet unknown act of negligence by defendant . . . is

casually related to the police station incident, the intentional conduct of third persons is a

superseding cause of the requisite physical impact. Accordingly, the negligent infliction of

emotional distress claim should be dismissed.” Id. at *9. In this case, Plaintiffs allege they

suffered harm at the hands of Chinese authorities while in prison. (See Compl. ¶¶ 91-107.) Any

causal link to any GSK entity is therefore broken, and Plaintiffs’ claim must be dismissed.

       E.      The Complaint Must Be Dismissed For Failure To Join An Indispensable
               Party

       Plaintiffs seek to evade the arbitration clause in the Consultancy Agreement by

strategically substituting the non-signatory GSK Defendants for the party actually involved in the

allegations contained in Plaintiffs’ complaint: GSK China. Every allegation in the Complaint

revolves around services performed by ChinaWhys for GSK China. GSK China, which has been

strategically left unnamed, is a necessary and indispensable party to this proceeding.

       Federal Rule of Civil Procedure 12(b)(7) permits dismissal of an action for failure to join

a party under Rule 19. Federal Rule of Civil Procedure 19 in turn determines whether a non-

joined party is necessary, indispensable, and must be joined. The Court must, therefore, as a


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preliminary matter determine whether joinder is compulsory under Rule 19(a). Dickson v.

Murphy, 202 Fed. Appx. 578, 580 (3d Cir. Pa. 2006). If joinder is required but would divest the

court of jurisdiction, the Court must then determine whether the non-joined party is

indispensable under Rule 19(b). Id.

       If the non-joined party is indispensable, the action must be dismissed.

               1.      GSK China Is A Necessary Party Under Rule 19(a), And Joinder Is Not
                       Feasible

       Under Rule 19(a), a non-joined party will be deemed necessary and joinder compulsory

under two disjunctive circumstances. First, if “in that party’s absence, the Court cannot afford

complete relief among existing parties” (Fed. R. Civ. P. 19(a)(1)(A)), or second, if disposition of

the action would impair the non-joined party’s ability to protect its interest or “leave an existing

party subject to a substantial risk of incurring double, multiple or otherwise inconsistent

obligations because of the interest.” Fed. R. Civ. P. 19(a)(1)(B).

       Here, all conduct upon which Plaintiffs predicate their causes of action was allegedly

performed by GSK China, not the GSK Defendants. Plaintiffs cannot and do not cite to a single

direct contact or encounter with the GSK Defendants. Instead, the Complaint is rife with

allegations rooted in the Consultancy Agreement. (See Compl. at ¶ 50 (alleging that initial

meeting with Plaintiffs took place at GSK China office with GSK China officials); ¶ 65 (alleging

that follow-up meeting and collection of investigative material was again attended at and

collected from GSK China); ¶ 70 (alleging that Plaintiffs’ Investigation Report was provided to

GSK China officials); ¶¶ 71, 72, 113, 116 (alleging bribery and misconduct by GSK China);

¶¶ 79, 82, 83 (alleging that GSK China counsel requested further investigative work from

Plaintiffs); ¶ 84 (alleging that GSK China head of business development also requested

investigative work from Plaintiffs).)


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       As such, neither Plaintiffs nor the GSK Defendants can be afforded complete relief

absent GSK China’s joinder, as any prospective liability would lie with GSK China, not the GSK

Defendants. See Carl Schroeter GmbH v. Crawford & Co., 2009 U.S. Dist. LEXIS 43488 (E.D.

Pa. May 19, 2009) (“Plaintiffs’ desire to hold [parent] Crawford liable for the acts and omissions

of [subsidiary] Crawford Venezuela renders Crawford Venezuela a necessary party to this

action”). As a Chinese company which is not alleged to have engaged in any activities in

Pennsylvania, (see Ex. 9), GSK China is not subject to the personal jurisdiction of the court, and

so, joinder is not feasible. Because joinder is not feasible, the Court must proceed to determine

whether GSK China is an indispensable party under Rule 19(b), in which case dismissal is the

appropriate remedy. Carl Schroeter GmbH v. Crawford & Co., 2009 U.S. Dist. LEXIS 43488 at

*8 (E.D. Pa. May 19, 2009) (dismissal is appropriate where “joinder is not feasible because, for

instance, the court lacks personal jurisdiction over the absent party.”).

               2.      GSK China Is An Indispensable Party Under Rule 19(b), Requiring
                       Dismissal Of This Action

       The analysis under Rule 19(b) turns upon whether a Court, “in equity and good

conscience,” should allow the litigation to proceed without the non-joined parties. Fed. R. Civ.

P. 19(b). Factors to be weighed in making this determination include: “[F]irst, to what extent a

judgment rendered in the person’s absence might be prejudicial to the person or those already

parties; second, the extent to which, by protective provisions in the judgment, by the shaping of

relief, or other measures, the prejudice can be lessened or avoided; third, whether a judgment

rendered in the person's absence will be adequate; fourth, whether the plaintiff will have an

adequate remedy if the action is dismissed for nonjoinder.” Fed. R. Civ. P. 19(b)(1)-(4).

       Applying these tests to the present case compels the conclusion that GSK China is

indispensable. A judgment rendered in GSK China’s absence would prejudice not only Plaintiffs


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and the GSK Defendants, as discussed supra, but GSK China itself, as such a judgment would

be, in effect, entirely “hollow” as to it. Jurimex Kommerz Transit G.m.b.H. v. Case Corp., 201

F.R.D. 337, 340-341 (D. Del. 2001), aff’d 2003 U.S. App. LEXIS 7690 (3d Cir. Apr. 23, 2003)

(“A judgment in defendant's favor would not be ‘adequate’ because Plaintiffs could subsequently

sue the [absent] Subsidiaries in a different forum based on essentially the same facts, while a

judgment in Plaintiffs' favor may be ‘hollow’ because the proper defendant was never joined”).

       In Jurimex, the plaintiff, an Austrian corporation, sought to avail itself of U.S. courts by

asserting contract and tort claims against a U.S. parent for conduct allegedly committed by the

parent’s foreign subsidiaries. Finding that “most of [p]laintiffs’ interactions and negotiations

regarding the Transaction were with the Subsidiaries and not with [d]efendant,” the court

deemed the absent subsidiaries indispensable. Id. at 340.

       This Court reached the same conclusion in Carl Schroeter GmbH v. Crawford & Co.

when presented with similarly misplaced claims strategically asserted, like those brought by

Plaintiffs here, against a domestic parent in lieu of its foreign subsidiary. No. 09-946, 2009 U.S.

Dist. LEXIS 43488, 11-12 (E.D. Pa. May 19, 2009) (noting that “when a defendant is sued solely

in connection with its subsidiary's conduct, the subsidiary is a necessary and indispensable party”

and accordingly dismissing complaint where “foreign plaintiffs [sued] American corporate

defendant, seeking to hold that defendant liable for its [absent] foreign subsidiary’s conduct.”).

       Significantly, Plaintiffs have an adequate remedy and forum should the Court dismiss this

litigation for non-joinder and, more specifically, one to which they have agreed. The

Consultancy Agreement provides for the arbitration of “all disputes arising out of or in

connection” with the Agreement. (See Ex. 1, Consultancy Agreement § 11.) Arbitration would




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allow all relevant parties to rightfully adjudicate their respective claims, and dismissal is thus

warranted here.

       Thus, this Court should dismiss this action for non-joinder of GSK China, a necessary

and indispensable party.

       F.      Causes Of Action III (Fraud), IV (Intentional Infliction Of Emotional
               Distress) And V (Negligent Inflict of Emotional Distress) Are Barred By
               Pennsylvania’s Statute Of Limitations.

       In the Commonwealth of Pennsylvania, “[t]he limitations period for any claim begins to

run ‘from the time the cause of action accrue[s].’” Beasley v. Young, Ricchiti, Caldwell & Heller,

LLC, No. 2873 EDA 2012, 2013 WL 11250696, at *5 (Pa. Sup. Ct. Nov. 4, 2013) (citing 42 Pa.

C.S.A. §§ 5502(a)). Specifically, “a cause of action accrues when the plaintiff could have first

maintained the action to a successful conclusion. . . . [T]he statute of limitations begins to run as

soon as the right to institute and maintain a suit arises. . . . Once a cause of action has accrued

and the prescribed statutory period has run, an injured party is barred from bringing his cause of

action.” Fine v. Checcio, 870 A.2d 850, 857 (Pa. 2005).

       Pursuant to 42 Pa. C.S.A. §§ 5524(7), claims concerning fraud, intentional infliction of

emotional distress and negligent infliction of emotional distress are governed by a two-year

statute of limitations. The Complaint alleges that the GSK Defendants made false representations

and intentionally misled Plaintiffs between April and July 2013 (See Compl. ¶¶ 49, 56, 64-65,

67, 70, 79-81, 84, 86, 91, 150-170.) Therefore, because the Complaint was served on the GSK

Defendants in November 2016, which was more than three years from the latest date at which

the alleged causes of action began to accrue, counts III, IV and V are time-barred. As the

statutory framework in Pennsylvania clearly addresses, Plaintiffs are not entitled to toll their

claims merely because of Humphrey’s and Yu’s incarceration. See 42 Pa. C.S.A. § 5533(a)

(providing that “imprisonment does not extend the time limited by this subchapter for the

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commencement of a matter.”); see also Johnson v. Romig, No. 11-02052, 2013 WL 6916428, at

*2 (Pa. Dec. 19, 2013). Accordingly, Counts III, IV and V in the Complaint should be dismissed

with prejudice.

           G.       Plaintiffs Lack Standing To Assert Their Purported RICO Claims

           Section 1964(c) identifies four factors that must be satisfied to establish standing for a

civil RICO claim: (1) the plaintiff must be a “person” (2) who sustains injury (3) to its “business

or property” (4) “by reason of” the defendant’s violation of § 1962. Thus, a RICO “plaintiff only

has standing if, and can only recover to the extent that, he has been injured in his business or

property by the conduct constituting the violation.” Sedima, S.P.R.L. v. Imrex Co., 473 U.S. 479,

496 (1985). Critically, RICO does not encompass foreign injuries to business or property. In a

very recent opinion, RJR Nabisco v. European Community, et al, 136 S. Ct. 2090 (2016), the

Court held that “a private RICO plaintiff… must allege and prove a domestic injury to its

business or property.” Id. at 2106 (emphasis in original). Thus, RICO “does not allow recovery

for foreign injuries.” Id. at 2111. As these are the only injuries alleged by Plaintiffs, their RICO

claims must be dismissed.

           The only injuries to business or property claimed by Plaintiffs in connection with their

RICO claims are that “Plaintiffs’ business was destroyed and their prospective business ventures

eviscerated” (Compl. ¶132) and that they have allegedly been “put out of business.”

(Compl. ¶145.)11 Plaintiffs allege that their business, ChinaWhys, had numerous clients in the

U.S., but they fail to mention that it only had offices in China. (See Exs. 10-13.)12 Although


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    Plaintiffs’ allegations of personal injuries suffered while imprisoned are not cognizable under RICO. See, e.g.,
Magnum v. Archdiocese of Philadelphia, 253 F. App'x 224, 227 (3d Cir. 2007) (“[P]hysical or emotional harm to a
person is not property under civil RICO. Similarly, losses which flow from personal injuries are not property under
RICO.”); Genty v. Resolution Trust Corp., 937 F.2d 899, 918–19 (3d Cir. 1991) (“RICO plaintiffs may recover
damages for harm to business and property only, not physical and emotional injuries[.]”).
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     See discussion supra at Section III(C).

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Plaintiffs attempt to manufacture a U.S. connection by alleging that Humphrey had

communications with employees of GSK China while he was travelling in the U.S., they make

no claim that Humphrey’s travel had anything to do with the GSK engagement—because it did

not—and the communications themselves exclusively concerned ChinaWhys’ activities in China.

(Compl. ¶ 83 (alleged call between Humphrey and GSK China (R&D) counsel concerning

Chinese Public Security Bureau research); Compl. ¶ 84 (alleged request from GSK China head

of business development concerning research into various Chinese government entities)). In

short, Plaintiffs make no allegation that ChinaWhys performed any work outside of China

relating to its engagement by GSK China, and none of the communications through which

Plaintiffs maintain they were deceived were made by employees of GSK LLC, the only U.S.

entity involved on either side of this litigation.

        Given these facts, any injury suffered by ChinaWhys is indisputably foreign. Although

the Court in RJR Nabisco did not address the definition of a “foreign injury,” it explained the

question before it as “whether the court has authority to recognize a cause of action for injury

suffered overseas” (id. at 2109) (emphasis added), and concluded that “damages claims [which]

rest entirely on injury suffered abroad … must be dismissed.” (id. at 2111) (emphasis added).

Here, ChinaWhys is a Chinese company that is alleged to have been damaged when its

principals, who lived and worked in China, were imprisoned in China after they performed work

in China at the request of GSK China, another China company. Plaintiffs claim that ChinaWhys

had U.S. clients is irrelevant—those clients had no involvement whatsoever in the events alleged

in the Complaint, nor are their locations relevant to determining where ChinaWhys was

injured—only ChinaWhys’ location is relevant to answering this question.




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       The handful of cases to consider the definition of a “foreign injury” since RJR Nabisco

support this conclusion. In Bascunan v. Els, 2016 WL 5475998 (S.D.N.Y. Sept 28, 2016), the

Court concluded that losses suffered by a Chilean plaintiff were foreign losses, despite the fact

that a number of the underlying allegations, such as physical misappropriation of bearer shares

from a bank safety deposit box, had occurred in New York. The Bascunan court also concluded

that injuries suffered by a corporate plaintiff are not “domestic” when the plaintiff is

incorporated in a foreign country and does not have a U.S. principal place of business. Id. at *6

(“[If] the Corporate Plaintiffs suffered economic injury, they too, suffered their injuries abroad

because each was incorporated in the British Virgin Islands or Chile, and the Amended

Complaint has not alleged that their principal place of business is in the U.S.”)) Notably, either

approach to determining the location of injury that was considered by the Bascunan court—(i)

location of the injury or (ii) location of the conduct leading to the injury—would lead in the

present case to the conclusion that any injury suffered by ChinaWhys is foreign, for ChinaWhys

was located in China and only alleges injury arising from conduct occurring in China.

       In Union Commercial Services Ltd v. FCA International, 2016 WL 6650399 (E.D. Mich.

Nov. 10, 2016), the court applied a “substantial effects” test, derived from antitrust law, to

determine whether an injury was domestic under RJR Nabisco. Although the plaintiff alleged

that it had a business office and bank accounts in Florida, and that funds relating to the alleged

RICO violations had been transferred through them, the court concluded that “defendants’

alleged conduct was directed at, and any effects were felt by, plaintiff’s business or

property interests outside of the U.S.” Id. at *5. Thus, despite plaintiffs’ allegations of U.S.

connections—allegations with an actual connection to the underlying claims, unlike the

ChinaWhys allegations here—the court dismissed the complaint for failure to allege a domestic



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injury, based upon the foreign nexus of the underlying injury. Similarly, in Exeed Industries v.

Younis, 2016 WL 6599949 (N.D. Ill. Nov. 8, 2016), the court dismissed RICO claims alleging

that U.S. suppliers of a United Arab Emirates company were duped into paying fraudulent

invoices whose proceeds were used by the defendants to finance U.S. land purchases. The court

concluded that “the few cases to address the issue of domestic injury post-RJR Nabisco have

interpreted it to mean that an injury arises where it was initially suffered by the plaintiff,” (id. at

*3) and that “the fact that a large number of Plaintiff’s suppliers have offices in the U.S. does not

speak to where the injury was felt by the Plaintiffs themselves—that question can only be

answered by looking to the Plaintiffs’ business operations in the UAE.” Id.

       Here, ChinaWhys is a Chinese company, and its only allegations of conduct allegedly

directed against it involve actions by GSK China in China. Any injuries that ChinaWhys has

suffered are foreign, and Plaintiffs’ RICO claims must therefore be dismissed.

                                      V.      CONCLUSION

       For the reasons set forth above, the GSK Defendants respectfully request that the Court

compel arbitration pursuant to the Consultancy Agreement, and stay all proceedings pending

conclusion of such arbitration. In the alternative, for the reasons set forth herein, the GSK

Defendants request that the Court dismiss the entirety of Plaintiffs complaint.




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                                           Respectfully submitted,
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                                           GlaxoSmithKline plc.




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                    IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF PENNSYLVANIA

PETER HUMPHREY, YU YINGZENG, and                  Civil Action No.: 2:16-CV-5924
CHINAWHYS COMPANY LTD,

                  Plaintiffs,

       v.

GLAXOSMITHKLINE PLC and
GLAXOSMITHKLINE LLC,

                  Defendants.



                                          ORDER

       AND NOW, this ____ day of ______________________, 2017, upon consideration of

Defendants GlaxoSmithKline PLC and GlaxoSmithKline LLC’s Motion to Compel Arbitration

or, in the Alternative, Motion to Dismiss the Complaint, it is hereby ORDERED that the motion

is GRANTED. The above-referenced matter is referred to arbitration before the China

International Economic and Trade Arbitration Commission. All further proceedings in this

matter are STAYED pending disposition of arbitration.



                                           ________________________________________
                                           HON. NITZA I. QUIÑONES-ALEJANDRO
                                           United States District Judge




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                               CERTIFICATE OF SERVICE

       I certify that on January 16, 2017 , I caused a copy of the foregoing Motion to Compel

Arbitration or, in the Alterative, Motion to Dismiss the Complaint, along with the accompanying

Memorandum of Law and exhibits thereto, to be served on the following individuals via the

means specified below:

       Via the Court’s CM/ECF System:

       Joan D. Gallagher
       GALLAGHER & TURCHI
       1600 Market Street, Suite 1320
       Philadelphia, PA 19103
       joanie@gallagher-law.com

       John T. Zach
       Philip Bowman
       BOIES, SCHILLER & FLEXNER LLP
       575 Lexington Avenue
       7TH Floor
       New York, NY 10022



                                                   By:    /s/ Jayne A. Risk
                                                         Jayne A. Risk




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 To: ChinaWhys (Shanghai) Consulting Co Ltd (in Chinese             (      )       )

 Address: 35-107 CITIC Square, 1168 Nanjing West Road, Shanghai 200041, China

 Date: April 25, 2013


 Dear Mr. Peter Humphrey,


 CONSULTANCY AGREEMENT (this “Agreement”)

 We set out below the terms on which you have agreed to provide certain consultancy
 services to us with respect to the proposed investigation and inquiry activities to be
 detailed in the proposal for Project Scorpion (“the Project”).

 1.     SERVICES

 1.1    We hereby engage you to provide the following services (“the Consultancy
        Services”) to us and you agree to provide the Consultancy Services to us using
        due care and skill. The scope of Consultancy Services is detailed in the Project
        Proposal as attached in Appendix A hereto.

 1.2    You will provide the Consultancy Services to us at such times and at such
        locations as we shall agree from time to time. You shall ensure that when
        carrying out the Services at a GSK site, you conform with all GSK’s policies and
        procedures with regard to working conditions, safety, security and similar
        matters and agree at all times during the performance of the Services to comply
        with such reasonable requirements as may be notified to you from time to time.

 1.3    You will only contact third parties in pursuance of the Consultancy Services after
        our express written consent that you may do so to enable us to put in place a
        Confidentiality Agreement with that third party if we require it. Where approval
        has been given to contact any third party, you will agree in advance with us
        what information you may disclose about the Project and our business to that
        third party. We may specify that you are not permitted to disclose that you are
        working for GlaxoSmithKline when you make any authorised contact with third
        parties and you agree to respect any such requirement absolutely.

 1.4    You will at our request produce and submit to us a final presentation and written
        report of all recommendations and findings arising out of the Consultancy
        Services immediately prior to the termination of this Agreement.


                                                                                       - 1/13       Exhibit

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 1.5   You represent that you are under no obligation which is inconsistent with this
       Agreement and that you will not enter into any agreement with a third party, the
       terms of which may be inconsistent with this Agreement.

 1.6   You shall carry out the Consulting Services always in a lawful and ethical
       manner. The term ‘ethical’ used in this policy means: in compliance with all laws,
       regulations, legal and professional guidelines, and in a manner not likely to
       result in harm to GSK’s reputation or image.


 2.    COMMENCEMENT DATE

       This Agreement will commence on the signature by the authorized
       representative of each party and will continue, subject to the provisions of
       Clause 8, until the Consulting Services is completed.


 3.    FEES AND EXPENSES

 3.1   For Services actually rendered hereunder, we agree to pay you a fixed sum of
       [RMB 220,000] (exclusive any applicable business Tax or VAT) (“Service
       Fees”). Fifty per cent (50%) of the Service Fees will be payable within thirty (30)
       days of the date of your invoice, which you will submit to us during the last week
       of each calendar month. The payment term for subsequent invoice is 60 days.
       You will provide a detailed summary of the Consultancy Services provided and
       of the hours worked for the work period invoiced.

 3.2   We will pay your reasonable round-trip travelling and living expenses from your
       home to the consulting site while travelling at our request subject to the
       provision of proper receipts. Claims for travelling and living expenses shall be
       submitted by you at the end of each trip taken during which this Agreement
       remains in effect, and we will pay such expenses after receipt and approval
       thereof. Where any travel will require you to travel to another country than your
       normal country of residence, express written consent from us will be required
       before incurring such expenditure. These out-of-pockets shall not exceed the
       equivalent of 15% of Service Fees.

 3.3   The payments referred to in Clauses 3.1 and 3.2 are full and complete
       compensation for all obligations assumed under this Agreement and for all
       inventions, improvements, patent rights or other Intellectual Property Rights (as
       defined in Clause 5 below) assigned under this Agreement.


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 3.4    You will be responsible for all costs in respect of the fees paid under this
        Agreement including, without limitation, the payment for and provision of all
        benefits and national insurance contributions and the payment of all
        employment and income related taxes. You agree to indemnify us in respect of
        any claims by the relevant authorities against us in respect of employment or
        income tax or national insurance or any other costs relating to the provision of
        the Services hereunder.

 4.     CONFIDENTIALITY


 4.1.   You agree to treat as secret and confidential and will not at any time nor for any
        reason disclose or permit to be disclosed to any person (except in accordance
        with Clause 1.3 above) or otherwise make use of or permit to be made use of,
        any information relating to the Products(s) / Project(s) whether disclosed by us
        or generated by you or to any technology, technical processes, business affairs,
        patents or finances or any such information relating to us or to any Affiliate,
        supplier, customer or client of ours (“Information”) where knowledge or details of
        the Information was received, acquired or developed by you during the period of
        this Agreement.

 4.2    Upon termination of your appointment under this Agreement for whatever
        reason, you shall forthwith deliver up to us all Information which may be in your
        possession, custody or control and which are our or our Affiliates’ property or
        which otherwise relate in any way to the business or affairs of us or our Affiliates
        and no copies of the same or any part thereof will be retained by you. Such
        return will not affect your obligations under Clause 4.1.

 4.3    The above obligations of confidentiality and non-use shall not apply to
        information and data which you can show were already known to you,
        information and data which are or become part of the public domain through no
        fault of your own and information and data which are given to you by a third
        party who has a right to do so.

 4.4    The provisions of this Clause 4 will survive termination of this Agreement.

 4.5    Further, the Confidentiality Agreement already signed between us shall be
        deemed to form part of this Agreement.




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 5.    INTELLECTUAL PROPERTY RIGHTS

 5.1   You shall disclose promptly to us any inventions, improvements, derivative
       works or alternatives made or conceived by you, either alone or jointly with
       others, in the course of or as a result of the work done hereunder, or as a
       consequence of confidential information supplied for the purposes hereof,
       directly or indirectly, by us or our affiliates or agents (which, for the avoidance of
       doubt, shall include their directors, officers or employees). You hereby assign to
       us or to any Affiliates of ours, to the extent permitted by law, all Intellectual
       Property Rights in any work generated by you on or after the commencement of
       this Agreement and pursuant to this Agreement and you agree to provide all
       necessary assistance as we may consider necessary in order to assign such
       Intellectual Property Rights to us or any Affiliate of ours, including, but not
       limited to, the execution of such documents as may be required to file
       applications for and obtain Intellectual Property Rights in any country in our or
       our Affiliates’ name.

 5.2   The term “Intellectual Property Rights” means all patents, trademarks, service
       marks, designs (whether or not registered) and applications therefor, present
       and future copyright, database rights, trade secrets, domain names, rights in
       know-how and other rights of confidence and all other rights of a similar nature
       or having equivalent or similar effect to any of these which may subsist
       anywhere in the world.

 5.3   You hereby grant (and shall procure the grant of) to us or to any of our Affiliates
       at our option a non-exclusive, royalty-free, world-wide, perpetual, irrevocable,
       assignable licence (with the right to licence freely) of all Intellectual Property
       Rights created prior to the commencement of this Agreement which are
       necessary for the receipt and use of each deliverable arising out of the
       Consultancy Services.

 6.    NOTICES

 6.1   Any notices, payments or statements to be made under this Agreement shall be
       made to you at the address to which this Agreement is directed and to Mr. Peter
       Humphrey at the ChinaWhys address stated above, or at such other address
       later designated in writing by the other party for such purposes.




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 6.2   Any notice required by this Agreement to be given by either of us to the other
       will be in writing and will be served by sending it by registered mail, recorded
       delivery courier or delivered by hand and any receipt issued by the postal
       authorities or by the courier or on hand delivery will be inclusive evidence of the
       fact and the date of posting of any such notice.

 7.    INDEPENDENT CONTRACTOR RELATIONSHIP


       You agree that you will be serving under this Agreement as an independent
       contractor and that the relationship of employer and employee shall not exist
       between you and ourselves at any time as a result of the arrangements
       contemplated by this Agreement.

 8.    TERMINATION AND SURVIVAL TERMS


 8.1   We may by giving notice in writing to you terminate this Agreement in the event
       that you:

       8.1.1 act in breach of any of the terms of this Agreement which in the case of
              a breach capable of remedy, has not been remedied by you within ten
              (10) days of receipt by you of a notice from us specifying the breach and
              requiring its remedy;

       8.1.2 are judged in our sole discretion, to be incompetent or negligent in the
              provision of the Consultancy Services.


 8.2   The Agreement may be cancelled at any time by us for any reason
       whatsoever, by giving You notice in writing.

 8.3   Upon termination, You will be compensated for the Consulting Services
       actually performed and reimbursed for expenses actually and reasonably
       or non-cancellable in accordance with the terms hereof.

 8.4   Clauses 4, 5, 6, 9, 10, 11 and 12 of this Agreement shall survive the expiration
       or termination of this Agreement.

 9.    DATA PROTECTION

       You consent to us holding and processing, both manually and electronically, any
       data it collects regarding you for the purpose of administering and managing its
       business and for compliance with applicable procedures, laws and regulations.


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 10.   SYSTEMS

       You shall ensure that any deliverables provided to us under this Agreement
       shall:

       10.1      be provided in a mutually agreed electronic format;

       10.2      be free from defects, disabling codes, computer viruses, worms, logic
                 bombs, Trojan horses and other information technology contaminants
                 or unauthorised computer code and have been tested to be so; and

       10.3      comply and function substantially in accordance with their related
                 user documentation.

 11.   GOVERNING LAW AND DISPUTE RESOLUTION


       This Agreement shall be governed in all respects by the laws of the People’s
       Republic of China. All disputes arising out of or in connection with this
       Agreement shall be settled through friendly consultation between both parties.
       In case no settlement can be reached, either Party may submit the dispute to
       the China International Economic and Trade Arbitration Commission (“CIETAC”)
       in Beijing for arbitration in accordance with the CIETAC rules of arbitration then
       in effect. The arbitration award shall be final and binding on the Parties.

 12.   SEVERANCE

       Each clause of this Agreement is a distinct and severable clause and if any
       clause is deemed illegal, void or unenforceable, the validity, legality, or
       enforceability of any other clause or portion of this Agreement shall not be
       affected thereby.

 13.   CONFLICT OF INTEREST


       While providing Services under this Agreement you agree that you shall not be
       engaged in or concerned with either directly or indirectly any other business or
       profession which either competes with ours or might otherwise cause a conflict
       of interest without our prior written consent. If in any doubt as to whether a
       conflict of interest might exist you should immediately discuss the matter with
       [Mr. Mark Reilly] before accepting such position.



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 14.    WAIVER

        The failure of a party in any instance to insist on the strict performance of the
        terms of this Agreement shall not be construed to be a waiver or relinquishment
        of any of the terms of this Agreement either at the time of the party’s failure to
        insist upon strict performance or at any subsequent time.

 15.    ENTIRE AGREEMENT


 15.1   This Agreement constitutes the whole and only agreement between the parties
        relating to the Services and any previous agreement will be deemed to have
        terminated. Each party acknowledges that in entering into this Agreement it is
        not relying upon any pre-contractual statement which is not attached to this
        Agreement. Except in the case of fraud, no party shall have any right of action
        against any other party to this Agreement arising out of or in connection with
        any pre-contractual statement except to the extent that it is repeated in this
        Agreement.

 15.2   For the purposes of this clause, “pre-contractual statement” means any draft,
        agreement, undertaking, representation, warranty, promise, assurance or
        arrangement of any nature whatsoever, whether or not in writing, relating to the
        subject matter of this Agreement made or given by any person at any time prior
        to the date of this Agreement.

 16.    FORCE MAJEURE


 16.1   Neither party shall be liable for any delay or failure in performing any of its
        obligations under this Agreement if the delay or failure results from events or
        circumstances beyond its reasonable control (including without limitation any
        acts or restraints of governments or public authorities, war, revolution, riot or
        civil commotion, acts of God or fire but excluding strikes and lockouts) (“Force
        Majeure”) provided that the party so affected shall send to the other party a
        written notice within three (3) days of becoming aware of such Force Majeure
        giving full particulars thereof including the date of first occurrence, the
        circumstances giving rise to it and an indication of the duration of such
        circumstances.




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 16.2   If the period of delay or failure extends for sixty (60) days or more from the date
        of notification of the Force Majeure event to the other party, either party shall
        have the right to terminate the Agreement forthwith by written notice.

 17.    LIABILITY


 17.1   You shall not be liable for any loss, damage or delay suffered by us insofar as
        such loss, damage or delay is directly attributable to instruction given or actions
        undertaken by us or on our behalf.

 17.2   You shall indemnify us, our Affiliates and any servant or agent of ours against:

        17.2.1    any loss or damage caused to any property of ours, our Affiliates or
                  our servants or agents or any physical injury (including injury resulting
                  in death) sustained by any servant or agent of ours by reason of any
                  negligent or wilful act or omission of you at any time during the
                  performance of the Consultancy Services; or

        17.2.2    any claim demand or liability made against or incurred by us, our
                  Affiliates or our servants or agents in respect of:

                  (i)   any loss of or damage to any property of yours or injury
                        (including injury resulting in death) sustained by you in the
                        provision of the Consultancy Services unless such loss, damage
                        or injury is caused by the negligent act or omission of us, our
                        Affiliates or any of our servants or agents;


                  (ii) any loss, damage or injury (including injury resulting in death)
                        sustained by any third party in the provision of the Consultancy
                        Services in consequence of any negligence or wilful act or
                        omission of you; or

                  (iii) the receipt or use of any Intellectual Property Rights assigned or
                        licensed to us or any of our Affiliates under Clause 5 which
                        infringes the Intellectual Property Rights of a third party.

 If the foregoing terms and conditions are acceptable to you, we would be grateful if you
 could sign and return the enclosed duplicate copy of this Agreement.




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 18.    ANTI-BRIBERY AND CORRUPTION


 18.1 You acknowledge that you have received and read the ‘Prevention of Corruption
       – Third Party Guidelines’ (either in hard copy in Appendix or
       at              http://www.gsk.com/policies/Prevention-of-Corruption-Third-Party-
       Guidelines.pdf) and agree to perform your obligations under the Agreement in
       accordance with the principles set out therein.


 18.2 You shall comply fully at all time with all applicable laws and regulations,
       including but not limited to applicable anti-corruption laws, of the territory in which
       you conduct business with GSK.


 18.3 You agree that you have not, and covenant that you will not, in connection with
       the performance of this Agreement, directly or indirectly, make, promise,
       authorise, ratify or offer to make, or take any act in furtherance of any payment or
       transfer of anything of value for the purpose of influencing, inducing or rewarding
       any act, omission or decision to secure an improper advantage; or improperly
       assisting you or GSK in obtaining or retaining business, or in any way with the
       purpose or effect of public or commercial bribery.


 18.4 You shall not contact, or otherwise meet knowingly meet with any Government
       Official for the purpose of discussing activities arising out of or in connection with
       this Agreement, without the prior written approval of GSK and, when requested
       by GSK, only in the presence of a GSK designated representative.


 18.5 For the purpose of this Agreement “Government Official" means: (a) any officer or
       employee of a government or any department, agency or instrument of a
       government; (b) any person acting in an official capacity for or on behalf of a
       government or any department, agency, or instrument of a government; (c) any
       officer or employee of a company or business owned in whole or part by a
       government; (d) any officer or employee of a public international organisation
       such as the World Bank or United Nations; (e) any officer or employee of a
       political party or any person acting in an official capacity on behalf of a political
       party; and/or (f) any candidate for political office; who, when such Government
       Official is acting in an official capacity, or in an official decision making role, has
       responsibility for performing regulatory inspections, government authorisations or
       licenses, or otherwise has the capacity to take decisions with the potential to
       affect GSK business.


 18.6 You represent that except as disclosed to GSK in writing prior to the
       commencement of this Agreement, you have not been convicted of or pleaded
       guilty to a criminal offence, including one involving fraud or corruption, that you
       are not now, to the best of your knowledge, the subject of any government
       investigation for such offenses, and that you are not now listed by any
       government agency as debarred, suspended, proposed for suspension or
       debarment, or otherwise ineligible for government programs.




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 18.7 You represent and warrant that except as disclosed to GSK in writing prior to the
        commencement of this Agreement: (1) you do not have any interest which directly
        or indirectly conflicts with your proper and ethical performance of this Agreement;
        and (2) you shall maintain arm’s length relations with all third parties with which
        you deal for or on behalf of GSK in performance of this Agreement.


 18.8 GSK shall have the right during the terms of this Agreement to conduct an
        investigation and audit of your activities under this Agreement to monitor
        compliance with the terms of this Agreement. You shall cooperate fully with such
        investigation or audit, the scope, method, nature and duration of which shall be at
        the sole reasonable discretion of GSK.


 18.9 You shall ensure that all transactions under the Agreement are properly and
        accurately recorded in all material respects on your books and records and each
        document upon which entries such books and records are based is complete and
        accurate in all material respects. You must maintain a system of internal
        accounting controls reasonably designed to ensure that you maintain no off-the-
        books accounts.


 18.10 You agree that in the event that GSK believes that there has been a possible
         violation of the terms of this Agreement, GSK may make full disclosure of such
         belief and related information at any time and for any reason to any competent
         government bodies and its agencies, and to whomsoever GSK determines in
         good faith has a legitimate need to know.


 18.11 GSK shall be entitled to terminate this Agreement with immediately on written
         notice to you, if you fail to perform your obligations in accordance with this
         Clause 18. You shall have no claim against GSK for compensation for any loss
         of whatever nature by virtue of the termination of this Agreement in accordance
         with this Clause 18. To the extent (and only to the extent) that the laws of the
         territory provide for any such compensation to be paid to you upon the
         termination of this Agreement, you hereby expressly agree (to the extent
         possible under the laws of the territory) to waive or to repay to GSK any such
         compensation or indemnity.


 19.     Adverse Event Reporting


 19.1    GSK is required by law to report adverse events associated with GSK products
         to the relevant authorities. If in the course of providing the Services you
         receives a report of an adverse event related to a GSK product, you will attempt
         to obtain the reporter’s name and contact details and the name and formulation
         of the product involved. You will either report the information to a member of
         GSK staff or to GSK using the contact details set out below within 24 hours. You
         will inform the reporter that a representative from GSK may contact them to
         request additional information. If the reporter is a patient or consumer, you will
         suggest that they should consult their doctor.



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         For reports of adverse events associated with medicinal products:

         Tel: 400-183-3383 or 800-820-3383

 19.2   If GSK identifies any reports of adverse events associated with GSK products in
        materials provided by you for the Consultancy Services, GSK will report such
        adverse events to the relevant authorities in accordance with its standard
        procedures. In this case, you agree to co-operate with, and provide further
        information to, GSK safety staff, within 24 hours, as requested.



 Yours faithfully

 For and on behalf of

 [GLAXOSMITHKLINE (CHINA) INVESTMENT CO., LIMITED]




 I agree to the above terms

 For ChinaWhys (Shanghai) Consulting Co Ltd


           (   )



 Signed:                                            Date: 26 April 2013

 Name: Mr. Peter Humphrey




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                    Prevention of Corruption – Third Party Guidelines




 The GSK Anti-Bribery and Corruption Policy (POL-GSK-007) requires compliance with the
 highest ethical standards and all anti-corruption laws applicable in the countries in which
 GSK (whether through a third party or otherwise) conducts business. POL-GSK-007
 requires all GSK employees and any third party acting for or on behalf of GSK to ensure
 that all dealings with third parties, both in the private and government sectors, are carried
 out in compliance with all relevant laws and regulations and with the standards of integrity
 required for all GSK business. GSK values integrity and transparency and has zero
 tolerance for corrupt activities of any kind, whether committed by GSK employees,
 officers, or third-parties acting for or on behalf of the GSK.

 Corrupt Payments – GSK employees and any third party acting for or on behalf of GSK,
 shall not, directly or indirectly, promise, authorise, ratify or offer to make or make any
 “payments” of “anything of value” (as defined in the glossary section) to any individual (or
 at the request of any individual) including a “government official” (as defined in the
 glossary section) for the improper purpose of influencing or inducing or as a reward for
 any act, omission or decision to secure an improper advantage or to improperly assist the
 company in obtaining or retaining business.

 Government Officials – Although GSK´s policy prohibits payments by GSK or third parties
 acting for or on its behalf to any individual, private or public, as a “quid pro quo” for
 business, due to the existence of specific anticorruption laws in the countries where we
 operate, this policy is particularly applicable to “payments” of “anything of value” (as
 defined in the glossary section), or at the request of, “government officials” (as defined in
 the glossary section).

 Facilitating Payments – For the avoidance of doubt, facilitating payments (otherwise
 known as “greasing payments” and defined as payments to an individual to secure or
 expedite the performance of a routine government action by government officials) are no
 exception to the general rule and therefore prohibited.

                                          GLOSSARY

 The terms defined herein should be construed broadly to give effect to the letter and spirit
 of the ABAC Policy. GSK is committed to the highest ethical standards of business



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 dealings and any acts that create the appearance of promising, offering, giving or
 authorising payments prohibited by this policy will not be tolerated.

 Anything of Value: this term includes cash or cash equivalents, gifts, services,
 employment offers, loans, travel expenses, entertainment, political contributions,
 charitable donations, subsidies, per diem payments, sponsorships, honoraria or provision
 of any other asset, even if nominal in value.

 Payments: this term refers to and includes any direct or indirect offers to pay, promises to
 pay, authorisations of or payments of anything of value.

 Government Official shall mean:


    Any officer or employee of a government or any department, agency or instrument of
    a government;


    Any person acting in an official capacity for or on behalf of a government or any
    department, agency, or instrument of a government;


    Any officer or employee of a company or business owned in whole or part by a
    government;


    Any officer or employee of a public international organisation such as the World Bank
    or United Nations;


    Any officer or employee of a political party or any person acting in an official capacity
    on behalf of a political party; and/or


    Any candidate for political office




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     The Fraud Examiner
     HOW FRAUD INVESTIGATION JUST GOT HARDER IN CHINA

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     Exploring the impact of China’s clampdown on public records



     May 2013

     By Peter Humphrey, CFE



     Over the past 15 years, I have witnessed the gradual emergence of an investigation industry in China. It began from crude anti-counterfeit outfits and family
     investigation agencies and gradually extended to the more sophisticated areas of due diligence, fraud investigation and forensics, as well as compliance and FCPA
     investigations. In the same period, we saw increasing availability of what in most countries we call “public records," including company registration files, annual
     returns and some limited, but useful, personal data.



     The availability of such records combined with a CFE's skill set of forensic accountants enabled anti-fraud professionals to do their job in a country where foreign
     investors feel at risk due to a high white-collar crime rate, a lack of transparency and strong cultural barriers in business operations.



     The promising environment that evolved for the fight against fraud and bribery in company operations in China has suffered a major setback due to a sudden
     government action to suppress certain data contained in such records. Why has this U-turn happened, and what is its impact on anti-fraud work?



     In January 2013, forensic and investigation firms -- and local law firms -- found that they or their search agents could no longer freely access records filed with the
     Administration of Industry and Commerce (AIC) bureaus around the country. The AIC registers, incorporates, inspects and regulates all companies in China, and
     collects their annual returns. These records, until recently accessible in full, contain useful data and documents relating to the birth, evolution and status of a
     company, names and personal details of shareholders, annual financial data and annual audit reports.



     It is by examining these records in conjunction with a forensic accounting review that a CFE here can close the circle on a fraud -- for example, by proving that Mr.
     X, an employee of Company Z, has set up his own firm (and, by the way, with no physical existence) and inserted this phantom into the sales chain as part of a
     large-scale distribution fraud against his employer.



     Or, it can enable a would-be investor considering buying shares in a Chinese company listed on Nasdaq to determine that the company has inflated its sales data
     and that its principals have actually been involved in a string of stock-listing frauds.



     During 2011 and 2012, short-seller Muddy Waters not only shorted Chinese stocks (such as Sino Forest) that it had identified (possibly correctly) as fraudulent, it
     also published its findings on each firm in a manner viewed by authorities in Beijing as rabidly anti-Chinese, thus putting the Chinese Foreign Ministry on the back
     foot and unnecessarily provoking a government reaction. Soon after that, Bloomberg ran exposés on the business web and assets of a (now disgraced) Chinese
     Politburo member Mr. Bo Xi Lai and his wife, and then gave the family of China’s new President-to-be Mr. Xi Jinping similar treatment. In a third such article, the
     New York Times threw oil on the fire in October with a detailed piece on the wealth of Premier Wen Jiabao’s family.


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     For a moment it appeared that these publishing adventures –- using some of the investigative techniques of the forensic investigators, such as analysing AIC
     records –- were making China’s ruling elite wobble. In retaliatory crackdowns, one in May 2012 and one in January 2013, more than 1,000 local investigators and
     their alleged sources each time were detained, according to Chinese media. Then in February this year, the government issued strict new rules to restrict access to
                                                                                                                                                                 Log In
     what it called “personal
                        MENUinformation."



     Critics describe this clampdown as an attempt to protect corrupt government officials from exposure. But as an anti-fraud worker in China serving purely corporate
     clients on corporate matters or in litigation support I find this a very dark day for due diligence and forensics work. I find this a step backwards that will make due
     diligence and catching fraudsters harder. We will have to be even more creative from now on.



     As the recent disaster of a $580 million fraud at a Chinese company acquired by Caterpillar shows, due diligence in China is a vital part of M&A for any sensible
     acquirer. If Caterpillar had done the kind of due diligence combining accounting with background investigation, retrieval of AIC records and discreet supporting
     inquiries, it might have spotted the fraud before doing the deal last year. But today, even if it wanted to take that approach, it would find it much harder to do as a
     result of the clampdown on public records.



     Harbin Electric, a Chinese firm publicly-listed in the U.S. via reverse merger, i.e. a “backdoor listing," claimed in SEC filings that one of its largest clients in 2009 was
     a car seat maker to whom it sold motors, earning 10 percent of its revenue for the year, and that the A/R due from this client was $10 million by that year’s end. A
     discreet interview with a sales engineer working for the customer, however, revealed that the customer had bought just $58,300 of goods between 2006 and
     2007 and bought nothing else from Harbin Electric after that. This publicized case was an example of a widespread method of deception whereby Chinese firms
     exploited regulatory gaps and differences between Chinese company names and their English translations to file records and numbers in the U.S. that hugely differ
     from those they filed in China. For the U.S. audience such firms were faking revenue data in order to ramp up their share price in the U.S. market. Middlemen who
     took these companies abroad fabricated financial statements and got accounting firms to window-dress them, and supplied fake bank statements, fund transfer
     notes, bank drafts, delivery notes, etc. The brokers eager for these deals to be completed deliberately limited the due diligence scope as they would benefit from
     these listings going through regardless of any future losses to investors. In another example of this, we saw a rigged financial due diligence report done by
     “qualified accountants” engaged by a PE broker on a Chinese juice maker that was being groomed for listing in the U.S. It showed revenue packaged to come
     (ostensibly) from seven large customers, each contributing an uncannily similar 13 to 15 percent of the total, and A/R from three of them in identical figures. They
     had concocted the totals that they wanted to report, and simply divided it by seven.



     At the same time that this skullduggery was going on in these cases, a financial institution which was trying to decide whether to invest in these firms engaged us
     to perform independent behind-the-scenes due diligence which included retrieval of records and returns filed by these companies locally in China, a review by
     forensic investigators, and a comparison with SEC filings. This way, they spotted the rat and avoided making potentially loss-making share investments. Following
     this year’s clampdown on the release of financial data from AIC files, this is no longer possible.



     With financial returns and personal identification data less available to help connect the dots, fraud investigation and due diligence in China must rely more on
     human source inquiries, both with related parties and with insiders (such as managers, sales agents, production staff, suppliers and so on) to ascertain that real
     business exists; and a forensic internal review, if circumstances allow it, in order to identify not only signs of irregularities but to drill down into their origins. The
     costs of this work will be well justified if they can prevent or detect large losses.



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     of the Association of Certified Fraud Examiners (ACFE). He is fluent in Chinese and has dealt with China and other Communist countries for 38 years. He can be
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         JUSTICE NEWS

                                                                    Department of Justice

                                                                     Office of Public Affairs


      FOR IMMEDIATE RELEASE                                                                                                        Monday, July 2, 2012


                 GlaxoSmi thKline to Plead Guilty and Pay $3 Billion to Resolve Fraud
                            Allegations and Failure to Report Safety Data

                                            La r gest Health Car e Fr aud Settlement in U.S. Histor y

      Global health care giant GlaxoSmithKline LLC (GSK) agreed to plead guilty and to pay $3 billion to resolve its criminal
      and civil liability arising from the company’s unlawful promotion of certain prescription drugs, its failure to report certain
      safety data, and its civil liability for alleged false price reporting practices, the Justice Department announced today.
      The resolution is the largest health care fraud settlement in U.S. history and the largest payment ever by a drug
      company.



      GSK agreed to plead guilty to a three-count criminal information, including two counts of introducing misbranded drugs,
      Paxil and Wellbutrin, into interstate commerce and one count of failing to report safety data about the drug Avandia to
      the Food and Drug Administration (FDA). Under the terms of the plea agreement, GSK will pay a total of $1 billion,
      including a criminal fine of $956,814,400 and forfeiture in the amount of $43,185,600. The criminal plea agreement also
      includes certain non-monetary compliance commitments and certifications by GSK’s U.S. president and board of
      directors. GSK’s guilty plea and sentence is not final until accepted by the U.S. District Court.



      GSK will also pay $2 billion to resolve its civil liabilities with the federal government under the False Claims Act, as
      well as the states. The civil settlement resolves claims relating to Paxil, Wellbutrin and Avandia, as well as additional
      drugs, and also resolves pricing fraud allegations.



      “Today’s multi-billion dollar settlement is unprecedented in both size and scope. It underscores the Administration’s
      firm commitment to protecting the American people and holding accountable those who commit health care fraud,”
      said James M. Cole, Deputy Attorney General. “At every level, we are determined to stop practices that jeopardize
      patients’ health, harm taxpayers, and violate the public trust – and this historic action is a clear warning to any
      company that chooses to break the law.”



      “Today’s historic settlement is a major milestone in our efforts to stamp out health care fraud,” said Bill Corr, Deputy
      Secretary of the Department of Health and Human Services (HHS). “For a long time, our health care system had been
      a target for cheaters who thought they could make an easy profit at the expense of public safety, taxpayers, and the
      millions of Americans who depend on programs like Medicare and Medicaid. But thanks to strong enforcement actions
      like those we have announced today, that equation is rapidly changing.”

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      This resolution marks the culmination of an extensive investigation by special agents from HHS-OIG, FDA and FBI,
      along with law enforcement partners across the federal government. Moving forward, GSK will be subject to stringent
      requirements under its corporate integrity agreement with HHS-OIG; this agreement is designed to increase
      accountability and transparency and prevent future fraud and abuse. Effective law enforcement partnerships and fraud
      prevention are hallmarks of the Health Care Fraud Prevention and Enforcement Action Team (HEAT) initiative, which
      fosters government collaboration to fight fraud.



      Criminal Plea Agreement



      Under the provisions of the Food, Drug and Cosmetic Act, a company in its application to the FDA must specify each
      intended use of a drug. After the FDA approves the product as safe and effective for a specified use, a company’s
      promotional activities must be limited to the intended uses that FDA approved. In fact, promotion by the manufacturer
      for other uses – known as “off-label uses” – renders the product “misbranded.”



      Paxil: In the criminal information, the government alleges that, from April 1998 to August 2003, GSK unlawfully
      promoted Paxil for treating depression in patients under age 18, even though the FDA has never approved it for
      pediatric use. The United States alleges that, among other things, GSK participated in preparing, publishing and
      distributing a misleading medical journal article that misreported that a clinical trial of Paxil demonstrated efficacy in
      the treatment of depression in patients under age 18, when the study failed to demonstrate efficacy. At the same time,
      the United States alleges, GSK did not make available data from two other studies in which Paxil also failed to
      demonstrate efficacy in treating depression in patients under 18. The United States further alleges that GSK
      sponsored dinner programs, lunch programs, spa programs and similar activities to promote the use of Paxil in
      children and adolescents. GSK paid a speaker to talk to an audience of doctors and paid for the meal or spa treatment
      for the doctors who attended. Since 2004, Paxil, like other antidepressants, included on its label a “black box warning”
      stating that antidepressants may increase the risk of suicidal thinking and behavior in short-term studies in patients
      under age 18. GSK agreed to plead guilty to misbranding Paxil in that its labeling was false and misleading regarding
      the use of Paxil for patients under 18.



      Wellbutrin: The United States also alleges that, from January 1999 to December 2003, GSK promoted Wellbutrin,
      approved at that time only for Major Depressive Disorder, for weight loss, the treatment of sexual dysfunction,
      substance addictions and Attention Deficit Hyperactivity Disorder, among other off-label uses. The United States
      contends that GSK paid millions of dollars to doctors to speak at and attend meetings, sometimes at lavish resorts, at
      which the off-label uses of Wellbutrin were routinely promoted and also used sales representatives, sham advisory
      boards, and supposedly independent Continuing Medical Education (CME) programs to promote Wllbutrin for these
      unapproved uses. GSK has agreed to plead guilty to misbranding Wellbutrin in that its labeling did not bear adequate
      directions for these off-label uses. For the Paxil and Wellbutrin misbranding offenses, GSK has agreed to pay a
      criminal fine and forfeiture of $757,387,200.



      Avandia: The United States alleges that, between 2001 and 2007, GSK failed to include certain safety data about
      Avandia, a diabetes drug, in reports to the FDA that are meant to allow the FDA to determine if a drug continues to be
      safe for its approved indications and to spot drug safety trends. The missing information included data regarding
      certain post-marketing studies, as well as data regarding two studies undertaken in response to European regulators’
      concerns about the cardiovascular safety of Avandia. Since 2007, the FDA has added two black box warnings to the
      Avandia label to alert physicians about the potential increased risk of (1) congestive heart failure, and (2) myocardial
      infarction (heart attack). GSK has agreed to plead guilty to failing to report data to the FDA and has agreed to pay a
      criminal fine in the amount of $242,612,800 for its unlawful conduct concerning Avandia.
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      “This case demonstrates our continuing commitment to ensuring that the messages provided by drug manufacturers to
      physicians and patients are true and accurate and that decisions as to what drugs are prescribed to sick patients are
      based on best medical judgments, not false and misleading claims or improper financial inducements,” said Carmen
      Ortiz, U.S. Attorney for the District of Massachusetts.



      “Patients rely on their physicians to prescribe the drugs they need,” said John Walsh, U.S. Attorney for Colorado. “The
      pharmaceutical industries’ drive for profits can distort the information provided to physicians concerning drugs. This
      case will help to ensure that your physician will make prescribing decisions based on good science and not on
      misinformation, money or favors provided by the pharmaceutical industry.”



      Civil Settlement Agreement



      As part of this global resolution, GSK has agreed to resolve its civil liability for the following alleged conduct: (1)
      promoting the drugs Paxil, Wellbutrin, Advair, Lamictal and Zofran for off-label, non-covered uses and paying
      kickbacks to physicians to prescribe those drugs as well as the drugs Imitrex, Lotronex, Flovent and Valtrex; (2)
      making false and misleading statements concerning the safety of Avandia; and (3) reporting false best prices and
      underpaying rebates owed under the Medicaid Drug Rebate Program.



      Off-Label Promotion and Kickbacks: The civil settlement resolves claims set forth in a complaint filed by the United
      States alleging that, in addition to promoting the drugs Paxil and Wellbutrin for unapproved, non-covered uses, GSK
      also promoted its asthma drug, Advair, for first-line therapy for mild asthma patients even though it was not
      approvedor medically appropriate under these circumstances. GSK also promoted Advair for chronic obstructive
      pulmonary disease with misleading claims as to the relevant treatment guidelines. The civil settlement also resolves
      allegations that GSK promoted Lamictal, an anti-epileptic medication, for off-label, non-covered psychiatric uses,
      neuropathic pain and pain management. It further resolves allegations that GSK promoted certain forms of Zofran,
      approved only for post-operative nausea, for the treatment of morning sickness in pregnant women. It also includes
      allegations that GSK paid kickbacks to health care professionals to induce them to promote and prescribe these drugs
      as well as the drugs Imitrex, Lotronex, Flovent and Valtrex. The United States alleges that this conduct caused false
      claims to be submitted to federal health care programs.



      GSK has agreed to pay $1.043 billion relating to false claims arising from this alleged conduct. The federal share of
      this settlement is $832 million and the state share is $210 million.



      This off-label civil settlement resolves four lawsuits pending in federal court in the District of Massachusetts under the
      qui tam, or whistleblower, provisions of the False Claims Act, which allow private citizens to bring civil actions on
      behalf of the United States and share in any recovery.



      Avandia: In its civil settlement agreement, the United States alleges that GSK promoted Avandia to physicians and
      other health care providers with false and misleading representations about Avandia’s safety profile, causing false
      claims to be submitted to federal health care programs. Specifically, the United States alleges that GSK stated that
      Avandia had a positive cholesterol profile despite having no well-controlled studies to support that message. The
      United States also alleges that the company sponsored programs suggesting cardiovascular benefits from Avandia
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      therapy despite warnings on the FDA-approved label regarding cardiovascular risks. GSK has agreed to pay $657
      million relating to false claims arising from misrepresentations about Avandia. The federal share of this settlement is
      $508 million and the state share is $149 million.



      Price Reporting: GSK is also resolving allegations that, between 1994 and 2003, GSK and its corporate predecessors
      reported false drug prices, which resulted in GSK’s underpaying rebates owed under theMedicaid Drug Rebate
      Program. By law, GSK was required to report the lowest, or “best” price that it charged its customers and to pay
      quarterly rebates to the states based on those reported prices. When drugs are sold to purchasers in contingent
      arrangements known as “bundles,” the discounts offered for the bundled drugs must be reallocated across all products
      in the bundle proportionate to the dollar value of the units sold. The United States alleges that GSK had bundled sales
      arrangements that included steep discounts known as “nominal” pricing and yet failed to take such contingent
      arrangements into account when calculating and reporting its best prices to the Department of Health and Human
      Services. Had it done so, the effective prices on certain drugs would have been different, and, in some instances,
      triggered a new, lower best price than what GSK reported. As a result, GSK underpaid rebates due to Medicaid and
      overcharged certain Public Health Service entities for its drugs, the United States contends. GSK has agreed to pay
      $300 million to resolve these allegations, including $160,972,069 to the federal government, $118,792,931 to
      thestates, and $20,235,000 to certain Public Health Service entities who paid inflated prices for the drugs at issue.



      Except to the extent that GSK has agreed to plead guilty to the three-count criminal information, the claims settled by
      these agreements are allegations only, and there has been no determination of liability.



      “This landmark settlement demonstrates the Department’s commitment to protecting the American public against
      illegal conduct and fraud by pharmaceutical companies,” said Stuart F. Delery, Acting Assistant Attorney General for
      the Justice Department’s Civil Division. “Doctors need truthful, fair, balanced information when deciding whether the
      benefits of a drug outweigh its safety risks. By the same token, the FDA needs all necessary safety-related
      information to identify safety trends and to determine whether a drug is safe and effective. Unlawful promotion of
      drugs for unapproved uses and failing to report adverse drug experiences to the FDA can tip the balance of those
      important decisions, and the Justice Department will not tolerate attempts by those who seek to corrupt our health
      care system in this way.”



      Non-monetary Provisions and Corporate Integrity Agreement



      In addition to the criminal and civil resolutions, GSK has executed a five-year Corporate Integrity Agreement (CIA) with
      the Department of Health and Human Services, Office of Inspector General (HHS-OIG). The plea agreement and CIA
      include novel provisions that require that GSK implement and/or maintain major changes to the way it does business,
      including changing the way its sales force is compensated to remove compensation based on sales goals for
      territories, one of the driving forces behind much of the conduct at issue in this matter. Under the CIA, GSK is required
      to change its executive compensation program to permit the company to recoup annual bonuses and long-term
      incentives from covered executives if they, or their subordinates, engage in significant misconduct. GSK may recoup
      monies from executives who are current employees and those who have left the company. Among other things, the
      CIA also requires GSK to implement and maintain transparency in its research practices and publication policies and
      to follow specified policies in its contracts with various health care payors.



      “Our five-year integrity agreement with GlaxoSmithKline requires individual accountability of its board and
      executives,” said Daniel R. Levinson, Inspector General of the U.S. Department of Health and Human Services. “For
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      example, company executives may have to forfeit annual bonuses if they or their subordinates engage in significant
      misconduct, and sales agents are now being paid based on quality of service rather than sales targets.”



      “The FDA Office of Criminal Investigations will aggressively pursue pharmaceutical companies that choose to put
      profits before the public’s health,” said Deborah M. Autor, Esq., Deputy Commissioner for Global Regulatory
      Operations and Policy, U.S. Food and Drug Administration. “We will continue to work with the Justice Department and
      our law enforcement counterparts to target companies that disregard the protections of the drug approval process by
      promoting drugs for uses when they have not been proven to be safe and effective for those uses, and that fail to
      report required drug safety information to the FDA.”



      “The record settlement obtained by the multi-agency investigative team shows not only the importance of working with
      our partners, but also the importance of the public providing their knowledge of suspect schemes to the government,”
      said Kevin Perkins, Acting Executive Assistant Director of the FBI’s Criminal, Cyber, Response and Services Branch.
      “Together, we will continue to bring to justice those engaged in illegal schemes that threaten the safety of prescription
      drugs and other critical elements of our nation’s healthcare system.”



      “ Federal employees deserve health care providers and suppliers, including drug manufacturers, that meet the highest
      standards of ethical and professional behavior,” said Patrick E. McFarland, Inspector General of the U.S. Office of
      Personnel Management. “Today’s settlement reminds the pharmaceutical industry that they must observe those
      standards and reflects the commitment of Federal law enforcement organizations to pursue improper and illegal
      conduct that places health care consumers at risk.”



      “Today’s announcement illustrates the efforts of VA OIG and its law enforcement partners in ensuring the integrity of
      the medical care provided our nation’s veterans by the Department of Veterans Affairs,” said George J. Opfer,
      Inspector General of the Department of Veterans Affairs. “The monetary recoveries realized by VA in this settlement
      will directly benefit VA healthcare programs that provide for veterans’ continued care.”



      “This settlement sends a clear message that taking advantage of federal health care programs has substantial
      consequences for those who try,” said Rafael A. Medina, Special Agent in Charge of the Northeast Area Office of
      Inspector General for the U.S. Postal Service. “The U.S. Postal Service pays more than one billion dollars a year in
      workers' compensation benefits and our office is committed to pursuing those individuals or entities whose fraudulent
      acts continue to unfairly add to that cost.”



      A Multilateral Effort



      The criminal case is being prosecuted by the U.S. Attorney’s Office for the District of Massachusetts and the Civil
      Division’s Consumer Protection Branch. The civil settlement was reached by the U.S. Attorney’s Office for the District
      of Massachusetts, the U.S. Attorney’s Office for the District of Colorado and the Civil Division’s Commercial Litigation
      Branch. Assistance was provided by the HHS Office of Counsel to the Inspector General, Office of the General
      Counsel-CMS Division and FDA’s Office of Chief Counsel as well as the National Association of Medicaid Fraud
      Control Units.



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      This matter was investigated by agents from the HHS-OIG; the FDA’s Office of Criminal Investigations; the Defense
      Criminal Investigative Service of the Department of Defense; the Office of the Inspector General for the Office of
      Personnel Management; the Department of Veterans Affairs; the Department of Labor; TRICARE Program Integrity;
      the Office of Inspector General for the U.S. Postal Service and the FBI.



      This resolution is part of the government’s emphasis on combating health care fraud and another step for the Health
      Care Fraud Prevention and Enforcement Action Team (HEAT) initiative, which was announced in May 2009 by
      Attorney General Eric Holder and Kathleen Sebelius, Secretary of HHS. The partnership between the two departments
      has focused efforts to reduce and prevent Medicare and Medicaid financial fraud through enhanced cooperation. Over
      the last three years, the department has recovered a total of more than $10.2 billion in settlements, judgments, fines,
      restitution, and forfeiture in health care fraud matters pursued under the False Claims Act and the Food, Drug and
      Cosmetic Act.



      Court documents related to today’s settlement can be viewed online at www.justice.gov/opa/gsk-docs.html .

      Related Materials:

      Remarks by the Deputy Attorney General James M. Cole at the GSK Press Conference
      Remarks by Acting Assistant Attorney General for the Civil Division Stuart F. Delery at the GSK Press Conference


      12-842

      Civil Division

      Topic:
      Consumer Protection

                                                                                                                                   Updated May 22, 2015




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https://www.justice.gov/opa/pr/glaxosmithkline-plead-guilty-and-pay-3-billion-resolve-fraud-allegations-and-failure-report                                         6/6
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                         CORPORATE INTEGRITY AGREEMENT
                                     BETWEEN THE
                             OFFICE OF INSPECTOR GENERAL
                                         OF THE
                       DEPARTMENT OF HEALTH AND HUMAN SERVICES
                                          AND
                               GLAXOSMITHKLINE LLC


I.      PREAMBLE

       GlaxoSmithKline LLC (GSK) hereby enters into this Corporate Integrity
Agreement (CIA) with the Office of Inspector General (OIG) of the United States
Department of Health and Human Services (HHS) to promote compliance with the
statutes, regulations, and written directives of Medicare, Medicaid, and all other Federal
health care programs (as defined in 42 U.S.C. § 1320a-7b(f)) (Federal health care
program requirements) and with the statutes, regulations, and written directives of the
Food and Drug Administration (FDA requirements).

       Contemporaneously with this CIA, GSK is entering into Settlement Agreements
with the United States. GSK will also enter into settlement agreements with various
States (State Settlement Agreements) and GSK’s agreement to this CIA is a condition
precedent to those agreements. Effective October 26, 2010, GSK entered into a
Settlement Agreement with the United States to resolve allegations regarding certain
drugs manufactured at SB Pharmco’s Cidra, Puerto Rico facility.

       Prior to the Effective Date of this CIA (as defined below), GSK and GSK
Affiliates (as defined below in Section II.C.10) established a worldwide voluntary
compliance program designed to address the companies’ operations globally. In the
United States, the compliance program is designed to address, among other things,
compliance with Federal health care program and FDA requirements (Compliance
Program).

       GSK shall continue its Compliance Program throughout the term of this CIA and
shall do so in accordance with the terms set forth below. GSK may modify its
Compliance Program as appropriate, but, at a minimum, GSK shall ensure that during the
term of this CIA, it shall comply with the obligations set forth herein.


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II.     TERM AND SCOPE OF THE CIA

       A. Unless otherwise specified, the period of the compliance obligations assumed
by GSK and its Affiliates under this CIA shall be five reporting periods, as defined
below. The “Effective Date” shall be the date on which the final signatory of this CIA
executes this CIA. The first Reporting Period shall be from the Effective Date through
December 31, 2013. The second and subsequent Reporting Periods shall be from January
1 through December 31 of each of the subsequent four calendar years.

       B. Sections VII, X, and XI shall expire no later than 120 days after OIG=s receipt
of: (1) GSK’s final Annual Report; or (2) any additional materials submitted by GSK
pursuant to OIG=s request, whichever is later.

        C. The scope of this CIA shall be governed by the following definitions:

                1. “Covered Persons” includes:

                         a. all owners of GlaxoSmithKline PLC who are natural persons
                         (other than shareholders who: (1) have an ownership interest of less
                         than 5% and (2) acquired the ownership interest through public
                         trading or in connection with the operation of employee long term
                         incentive plans) and all directors of GlaxoSmithKline PLC;

                         b. all employees of GSK or any GSK Affiliate who are engaged in
                         or supervise personnel who are engaged in any of the Covered
                         Functions (as defined below in Section II.C.7); and

                         c. contractors, subcontractors, agents and other persons (including,
                         but not limited to, third party vendors who provide services relating
                         to the Covered Functions) who perform any of the Covered
                         Functions on behalf of GSK or any GSK Affiliate and who in that
                         capacity either: (i) interact directly with health care professionals
                         (HCPs), healthcare institutions (HCIs), or consumers; or (ii) perform
                         activities, provide services, or create materials relating to the
                         Covered Functions and those activities, services, or materials are not
                         reviewed or supervised by a Covered Person prior to execution or
                         dissemination.


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                 Notwithstanding the above, the term Covered Persons does not include part-
                 time or per diem employees, contractors, subcontractors, agents, and other
                 persons who are not reasonably expected to work more than 160 hours per
                 year, except that any such individuals shall become “Covered Persons” at
                 the point when they work more than 160 hours during the calendar year.

                 2. “Relevant Covered Persons” includes all Covered Persons who engage
                    in Covered Functions or who supervise Covered Persons who engage in
                    Covered Functions.

                 3. “Government Reimbursed Products” refers to all GSK prescription1
                    pharmaceutical products that are marketed or sold by GSK (including by
                    its Pharma, Stiefel, Vaccines, and Oncology division) in the United
                    States (or pursuant to contracts with the United States) that are
                    reimbursed by Federal health care programs.

                 4. The term “Promotional Functions” includes: (a) the selling, detailing,
                    marketing, advertising, promoting, or branding of Government
                    Reimbursed Products; and (b) the preparation or external dissemination
                    of promotional materials or information about, or the provision of
                    promotional services relating to, Government Reimbursed Products,
                    including those functions relating to any applicable review committees,
                    including GSK’s Copy Approval Team (CAT).

                 5. The term “Product Related Functions” includes: (a) the preparation or
                    external dissemination of non-promotional materials that are governed
                    by Federal healthcare program and/or FDA requirements and distributed
                    to HCPs and HCIs about Government Reimbursed Products, including
                    those functions relating to GSK’s CAT or other applicable review
                    committee(s) and activities by GSK’s North America Medical Affairs
                    department (Medical Affairs); (b) contracting with HCPs and HCIs in
                    the United States to conduct post-marketing clinical trials, investigator
                    sponsored studies (ISSs), and other post-marketing studies relating to
                    Government Reimbursed Products; (c) authorship, publication, and


1 GSK represents that its Consumer Healthcare business unit shall not market, detail, or otherwise promote
prescription pharmaceutical products for the duration of the CIA. Should the Consumer Healthcare business unit
begin to do so, it shall become subject to the terms of the CIA.

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                     disclosure of articles or study results relating to post-marketing clinical
                     trials and other post-marketing studies for Government Reimbursed
                     Products (including studies of investigational and other uses and
                     indications outside the currently approved uses and conditions of use);
                     and (d) activities related to the submission of information about
                     Government Reimbursed Products to compendia (such as DrugDex or
                     other compendia of information about Government Reimbursed
                     Products as defined below in Section III.B.3.t.)

                6. The term “Payer Related Functions” refers to activities of GSK’s Policy,
                   Payers and Vaccines (PPV) Unit and includes Promotional Functions
                   and Product Related Functions as they relate to interactions between
                   GSK and entities that provide a drug health benefit program for
                   Government Reimbursed Products, including but not limited to
                   government payers (e.g., Medicaid and Medicare) or individuals or
                   entities under contract with or acting on behalf of government payers
                   and commercial health plans (collectively referred to as “Payers”).
                   Payer Related Functions also includes interactions with Payers related to
                   formulary placement, supplemental rebate agreements, and other types
                   of rebate agreements.

                7. The term “Covered Functions” refers to “Promotional Functions,”
                   “Product Related Functions,” and “Payer Related Functions”
                   collectively.

                8. The term “Third Party Educational Activity” shall mean any scientific,
                   educational, or professional program, meeting, or event for HCPs
                   conducted by a third party and supported by GSK, including but not
                   limited to, continuing medical education (CME), disease awareness, or
                   sponsorship of symposia at medical conferences.

                9. The term “Third Party Personnel” shall mean employees of entities with
                   whom GSK currently has, or in the future does, enter into agreements to
                   promote or co-promote a Government Reimbursed Product or to engage
                   in joint promotional activities relating to such a product. GSK
                   represents that: (1) the Third Party Personnel are employed by
                   independent entities other than GSK; (2) GSK does not control Third
                   Party Personnel; and (3) it would be commercially impracticable to

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                     compel the compliance of Third Party Personnel with the requirements
                     set forth in this CIA. GSK agrees to promote compliance by Third Party
                     Personnel with Federal health care program requirements and FDA
                     requirements by complying with the provisions set forth below in
                     Sections III.B.2, V.A.8, and V.B.4 related to Third Party Personnel.
                     Provided that GSK complies with the requirements of Sections III.B.2,
                     V.A.8, and V.B.4, GSK shall not be required to fulfill the remaining
                     CIA obligations that would otherwise apply to Third Party Personnel
                     who meet the definition of Covered Persons.

                10. The term “GSK Affiliate” shall mean GlaxoSmithKline PLC and any
                    other entity (other than GlaxoSmithKline LLC) that is majority owned
                    or controlled, directly or indirectly, by GlaxoSmithKline PLC and
                    whose employees or contractors perform Covered Functions.

       D. Appendix D to the CIA sets forth the obligations to which GSK and its
Affiliates agree relating to manufacturing operations in connection with the settlement
regarding the Cidra facility reference above in the Preamble. To the extent that certain
general provisions and obligations are not specifically addressed in Appendix D, the
terms of this CIA shall apply to CGMP Activities, Manufacturing Covered Persons, and
to GSK and its Affiliates as specified herein.

III.    CORPORATE INTEGRITY OBLIGATIONS

       GSK shall establish and maintain a Compliance Program that includes the
following elements:

       A. Compliance Responsibilities of Certain GSK Employees and the Board of
Directors.

               1. Compliance Officer. Prior to the Effective Date, GSK appointed an
individual to serve as Vice President and Compliance Officer for its North America
Pharma division (Compliance Officer). GSK shall maintain a Compliance Officer for the
term of the CIA. During the term of this CIA, the Compliance Officer shall be authorized
to oversee compliance with Federal health care program and FDA requirements and with
the requirements of this CIA. The Compliance Officer is, and shall continue to be,
responsible for developing and implementing policies, procedures, and practices designed
to ensure compliance with the requirements set forth in this CIA and with Federal health

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care program and FDA requirements. The Compliance Officer shall be a member of
senior management of GSK, and shall report directly to the Senior Vice President for
Governance, Ethics, and Assurance of GlaxoSmithKline PLC who, in turn, reports to the
Chief Executive Officer of GlaxoSmithKline PLC. The Compliance Officer shall make
periodic (at least quarterly) reports regarding compliance matters directly to the Board of
GlaxoSmithKline PLC or any authorized committee thereof (hereinafter, “the Board”),
and shall be authorized to report on such matters to the Board at any time. The
Compliance Officer shall not be or be subordinate to the General Counsel or Chief
Financial Officer. The Compliance Officer shall be responsible for monitoring the day-
to-day compliance activities engaged in by GSK as well as for any reporting obligations
created under this CIA. Any noncompliance job responsibilities of the Compliance
Officer shall be limited and must not interfere with the Compliance Officer’s ability to
perform the duties outlined in this CIA.

       GSK shall report to OIG, in writing, any change in the identity of the Compliance
Officer, or any actions or changes that would affect the Compliance Officer’s ability to
perform the duties necessary to meet the obligations in this CIA, within five days after
such a change.

                2. Compliance Committee. Prior to the Effective Date, GSK formed
compliance committee known as the NA Pharma Risk Management & Compliance Board
(hereafter “Compliance Committee”) which, in conjunction with the Compliance Officer,
assists in the implementation and enhancement of the Compliance Program. GSK shall
continue the Compliance Committee during the term of this CIA. The Compliance
Committee shall, at a minimum, include the Compliance Officer and other members of
senior management necessary to meet the requirements of this CIA (e.g., senior
executives of relevant departments, such as such as legal, Medical Affairs, regulatory
affairs, sales, marketing, human resources, research and development, global
manufacturing quality control, and operations.) In addition, GSK’s Audit function
provides regular reports to the Compliance Committee. The Compliance Officer and the
President of GSK shall co-chair the Compliance Committee. The Compliance Committee
shall support the Compliance Officer in fulfilling his/her responsibilities (e.g., shall assist
in the analysis of the GSK’s risk areas and shall oversee monitoring of internal and
external compliance-related audits and investigations). The Compliance Committee shall
meet at least quarterly.

     GSK shall report to OIG, in writing, any changes in the composition of the
Compliance Committee, or any actions or changes that would affect the Compliance

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Committee’s ability to perform the duties necessary to meet the obligations in this CIA,
within 15 days after such a change.

              3. Board of Directors Compliance Obligations. The Board shall be
responsible for the review and oversight of matters related to compliance with Federal
health care program requirements, FDA requirements, and the obligations of this CIA.
The Board shall, at a minimum, be responsible for the following:

                      a.     The Board shall meet at least quarterly to review and oversee
GSK’s Compliance Program, including but not limited to the performance of the
Compliance Officer and other compliance personnel. The Board shall evaluate the
effectiveness of the Compliance Program, including, at a minimum, by receiving updates
about the activities of the Compliance Officer and other compliance personnel and
updates about adoption and implementation of policies, procedures, and practices
designed to ensure compliance with the requirements set forth in this CIA and with
applicable Federal health care program and FDA requirements.

                     b.     For each Reporting Period of the CIA, the Board shall adopt a
resolution, signed by each individual member of the Board, summarizing its review and
oversight of GSK’s compliance with Federal health care program requirements, FDA
requirements, and the obligations of this CIA.

        At minimum, the resolution shall include the following language:

       “The Board of Directors has made a reasonable inquiry into the operations of
GSK’s Compliance Program as applicable to the CIA (including its Appendices) for the
time period [insert time period], including the performance of the Compliance Officer
and the compliance personnel who are Covered Persons under this CIA. The Board has
concluded that, to the best of its knowledge, GSK has implemented an effective
Compliance Program to meet Federal health care program requirements, FDA
requirements, and the obligations of the CIA.”

        If the Board is unable to provide such a conclusion in the resolution, the Board
shall include in the resolution a written explanation of the reasons why it is unable to
provide the conclusion and the steps it is taking to implement an effective Compliance
Program at GSK.



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       GSK shall report to OIG, in writing, any changes in the composition of the Board,
or any actions or changes that would affect the Board's ability to perform the duties
necessary to meet the obligations in this CIA, within 15 days after such a change.

               4. Deputy Compliance Officers. Prior to the Effective Date, GSK
appointed Deputy Compliance Officers (DCOs) for each U.S. Pharma commercial
business unit and for NA Pharma Medical Affairs, and GSK shall maintain the DCOs for
the term of the CIA. Each DCO shall be a member of senior management of his/her
respective business unit(s) and shall report directly to the Compliance Officer. The DCOs
shall be responsible for working together with the Compliance Officer to oversee the
development and implementation of policies, procedures, and practices designed to
ensure business unit compliance with the requirements set forth in this CIA and with
Federal health care program and FDA requirements. Any noncompliance job
responsibilities of the DCOs shall be limited and shall not interfere with each DCO’s
ability to perform the duties outline in this CIA.

               5. Integrity Champions. Prior to the Effective Date, GSK implemented a
program through which indentified individuals serve as Integrity Champions within each
U.S. Pharma commercial business unit. Each individual selected to be an Integrity
Champion shall be at least a manager within his/her respective business unit, and the
responsibilities undertaken as an Integrity Champion shall be in addition to the
individuals’ existing management responsibilities. Integrity Champions shall be
responsible for facilitating local implementation of, and adherence to, GSK policies and
procedures, Federal health care program and FDA requirements, and the requirements of
this CIA. Integrity Champions shall meet with their respective DCO on a regular basis.
The performance of Integrity Champions, as such, will be a factor in their annual
performance reviews.

                       6. Management Accountability and Certifications: In addition to the
responsibilities set forth in this CIA for all Covered Persons, certain GSK officers or
employees (Certifying Employees) are specifically expected to monitor and oversee
activities within their areas of authority and shall annually certify that the applicable
business unit is compliant with applicable Federal health care program and FDA
requirements and with the obligations of this CIA. These Certifying Employees shall
include, at a minimum, the following: President, GSK; the heads of the U.S. Pharma
commercial business units; Chairman, Research and Development; Vice President,
Strategic, Planning and Operations; Senior Vice President, NA Medical Affairs;
President, Pharmaceuticals Research and Development; President, Vaccines; and Vice

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President, Stiefel North America Dermatology, and, to the extent that a business unit
performs Covered Functions and is not covered by the certification of one of the above-
listed individuals, such other executives, vice-presidents, and directors of business units
as would be necessary to ensure that there is a Certifying Employee from each such
business unit.

          For each Reporting Period, each Certifying Employee shall sign a certification that
states:

       “I have been trained on and understand the compliance requirements and
responsibilities as they relate to [department or functional area], an area under my
supervision. My job responsibilities include ensuring compliance with regard to the
_____ [insert name of the department or functional area] with all applicable Federal
health care program requirements, FDA requirements, obligations of the Corporate
Integrity Agreement, and GSK policies, and I have taken steps to promote such
compliance. To the best of my knowledge, except as otherwise described herein, the
______ [insert name of department or functional area] of GSK is in compliance with all
applicable Federal health care program requirements, FDA requirements, and the
obligations of the CIA. I understand that this certification is being provided to and relied
upon by the United States.”

                If any Certifying Employee is unable to provide such a conclusion in the
certification, the Certifying Employee shall provide a written explanation of the reasons
why he or she is unable to provide the certification outlined above and the steps being
taken to address the issue(s) identified in the certification.

          B. Written Standards.

               1. Code of Conduct. Prior to the Effective Date, GSK developed and
implemented a written Code of Conduct. Within 120 days after the Effective Date, GSK
shall distribute the written Code of Conduct to all Covered Persons. GSK shall make
adherence to the Code of Conduct an element in evaluating the performance of all
employees who are Covered Persons. The Code of Conduct includes, or within 120 days
after the Effective Date shall be revised to address the following:

                         a. GSK’s commitment to full compliance with all Federal health
                         care program requirements and FDA requirements, including its


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                         commitment to comply with all requirements relating to the Covered
                         Functions;

                         b. GSK’s requirement that all of its Covered Persons shall be
                         expected to comply with all applicable Federal health care program
                         requirements, FDA Requirements, and with GSK’s own Policies and
                         Procedures;

                         c. GSK’s requirement that all Covered Persons shall be expected to
                         report to the Compliance Officer, or other appropriate individual
                         designated by GSK, suspected violations of any Federal health care
                         program requirements, FDA requirements, or of GSK’s own Policies
                         and Procedures;

                         d. the personal obligations of each Covered Person to comply with
                         Federal health care program requirements, FDA requirements, and
                         GSK’s Policies and Procedures; and

                         e. the right of all individuals to use the Disclosure Program
                         described in Section III.F, and GSK’s commitment to nonretaliation
                         and to maintain, as appropriate, confidentiality and anonymity with
                         respect to such disclosures.

        To the extent not already accomplished, within 120 days after the Effective Date,
each Covered Person shall certify, in writing or electronically, that he or she has received,
read, understood, and shall abide by the Code of Conduct. New Covered Persons shall
receive the Code of Conduct and shall complete the required certification within 30 days
after becoming a Covered Person or within 120 days after the Effective Date, whichever
is later.

       GSK shall periodically review the Code of Conduct to determine if revisions are
appropriate and shall make any necessary revisions based on such review. Any revised
Code of Conduct shall be distributed within 30 days after any revisions are finalized.
Each Covered Person shall certify, in writing or electronically, that he or she has
received, read, understood, and shall abide by the revised Code of Conduct within 30
days after the distribution of the revised Code of Conduct.



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              2. Third Party Personnel. Within 120 days after the Effective Date and
annually thereafter by the anniversary of the Effective Date, GSK shall send a letter to
each entity employing Third Party Personnel. The letter shall describe GSK’s obligations
under the CIA and its commitment to full compliance with all Federal health care
program requirements and FDA requirements. The letter shall include a description of
GSK’s Compliance Program. GSK shall attach a copy of its Code of Conduct to the letter
and shall request the entity employing Third Party Personnel to either: (a) make a copy of
GSK’s Code of Conduct and a description of GSK’s Compliance Program available to its
employees who meet the definition of Third Party Personnel as set forth in Section II.C.9;
or (b) represent to GSK that it has and enforces a substantially comparable set of code of
conduct and Compliance Program for its employees who meet the definition of Third
Party Personnel as set forth in Section II.C.9.

              3. Policies and Procedures. To the extent not already accomplished, GSK
shall implement written policies and procedures regarding the operation of the
Compliance Program and GSK’s compliance with Federal health care program and FDA
requirements (Policies and Procedures). At a minimum, the Policies and Procedures must
address the following:

                         a. the subjects relating to the Code of Conduct identified in Section
                            III.B.1;

                         b. appropriate ways to conduct Promotional Functions in
                            compliance with all applicable Federal healthcare program
                            requirements, including, but not limited to the Federal anti-
                            kickback statute (codified at 42 U.S.C. § 1320a-7b(b)), and the
                            False Claims Act (codified at 31 U.S.C. §§ 3729-3733) and in
                            compliance with all applicable FDA requirements;

                         c. appropriate ways to conduct Product Related Functions in
                            compliance with all applicable Federal healthcare program
                            requirements, including, but not limited to the Federal anti-
                            kickback statute (codified at 42 U.S.C. § 1320a-7b(b)), and the
                            False Claims Act (codified at 31 U.S.C. §§ 3729-3733) and in
                            compliance with all applicable FDA requirements;

                         d. appropriate ways to conduct Payer Related Functions in
                            compliance with all applicable Federal health care program

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                                requirements, including but not limited to the Federal anti-
                                kickback statute (codified at 42 U.S.C. § 1320a-7b(b)); the False
                                Claims Act (codified at 31 U.S.C. §§ 3729-3733); applicable
                                FDA requirements; and applicable state laws. During the term of
                                the CIA, the Policies and Procedures shall be consistent with
                                GSK’s US Commercial Practices Policy regarding
                                “Administration of Contracts with Payers.”

                         e. the materials and information that may be distributed by GSK
                            sales personnel about Government Reimbursed Products and the
                            manner in which GSK sales personnel respond to requests for
                            information about non-FDA approved (or “off-label”) uses of
                            Government Reimbursed Products. These Policies and
                            Procedures shall require that sales personnel may not engage in
                            off-label promotion (directly or indirectly) and must refer all
                            requests for information about off-label uses of Government
                            Reimbursed Products to Medical Affairs;

                         f. the materials and information that may be distributed by GSK
                            personnel from the PPV Unit and the manner in which PPV
                            personnel respond to requests for information about off-label uses
                            of Government Reimbursed Products. These Policies and
                            Procedures shall require that all requests for information about
                            off-label uses of Government Reimbursed Products be referred to
                            Medical Affairs (i.e., Medical Information Scientists (MISs),
                            Medical Science Liaisons (MSLs), and/or Health Outcome
                            Liaisons (HOLs));

                         g. the materials and information (including product information and
                            product dossiers about Government Reimbursed Products) that
                            may be distributed by Medical Affairs and the mechanisms
                            through, and manner in which, Medical Affairs receives and
                            responds to requests for information from an HCP or another
                            individual or entity about off-label uses of GSK’s Government
                            Reimbursed Products; the form and content of information
                            disseminated by GSK in response to such requests; and the
                            internal review and approval process for the information
                            disseminated. These Policies and Procedures shall require that

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                                GSK sales personnel obtain a signature from the medical
                                professional who verbally requested the written information
                                confirming what information was requested and the request was
                                unsolicited.

                                The Policies and Procedures shall include a requirement that
                                Medical Affairs develop a database (“Inquiries Database”) to
                                track all requests for information about Government Reimbursed
                                Products to Medical Affairs. The Inquiries Database shall
                                include the following items of information for each unique
                                inquiry (Inquiry) received for information about GSK’s products:
                                (1) date of Inquiry; (2) form of Inquiry (e.g., fax, phone, etc.); (3)
                                name of the requesting HCP, HCI, or other individual or entity;
                                (4) nature and topic of request (including exact language of the
                                Inquiry if made in writing); (5) an evaluation of whether the
                                Inquiry relates to information about an off-label use for the
                                product; (6) nature/form of the response from GSK (including a
                                record of the materials provided to the HCP or HCI in response to
                                the request); and (7) the name of the GSK representative who
                                called on or interacted with the HCP, customer, or HCI, if
                                known;

                         h. the materials and information that may be distributed or made
                            available by GSK through social media and/or through direct-to-
                            consumer advertising. These policies and procedures shall be
                            designed to ensure that GSK’s activities in this area and the
                            information distributed or made available complies with all
                            applicable Federal health care program and FDA requirements,
                            and have been reviewed and approved by GSK before they are
                            disseminated;

                         i. the manner and circumstances under which medical personnel
                            from Medical Affairs interact with or participate in meetings or
                            events with HCPs or HCIs (either alone or with sales
                            representatives or account executives) and the role of the medical
                            personnel at such meetings or events, as well as how they handle
                            responses to unsolicited requests about off-label indications of
                            Government Reimbursed Products;

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                         j. the development, implementation, and review of target plans for
                            sales personnel and other GSK personnel who promote and sell
                            Government Reimbursed Products (Target Plans). For each
                            Government Reimbursed Product, the Policies and Procedures
                            shall require that GSK review Target Plans for the product and
                            the bases upon, and circumstances under which HCPs and HCIs
                            belonging to specified medical specialties or types of clinical
                            practice are included in, or excluded from, the Target Plans. The
                            Policies and Procedures shall also require that GSK modify the
                            Target Plans as necessary to ensure that GSK is promoting
                            Government Reimbursed Products in a manner that complies
                            with all applicable Federal health care program and FDA
                            requirements. The Target Plan reviews shall occur at least
                            annually and shall also occur each time when the FDA approves
                            a new or additional indication for a Government Reimbursed
                            Product;

                         k. the development, implementation, and review of policies and
                            procedures (including excluded specialties lists) for the
                            distribution of samples of, or coupons or vouchers for,
                            Government Reimbursed Products (collectively “Sample
                            Distribution Policies and Procedures”). This shall include a
                            review of the bases upon, and circumstances under, which HCPs
                            and HCIs belonging to specified medical specialties or types of
                            clinical practice may receive samples, coupons, or vouchers from
                            GSK. GSK shall modify the Sample Distribution Policies and
                            Procedures as necessary to ensure that GSK is promoting
                            Government Reimbursed Products in a manner that complies
                            with all applicable Federal health care program and FDA
                            requirements;

                         l. consultant or other fee-for-service arrangements entered into with
                            HCPs or HCIs relating to Covered Functions (including, but not
                            limited to speaker programs, speaker training programs,
                            presentations, consultant task force meetings, advisory boards,
                            and ad hoc advisory activities, and any other financial
                            engagement or arrangement with an HCP or HCI) and all events

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                                and expenses relating to such engagements or arrangements.
                                These Policies and Procedures shall be designed to ensure that
                                the arrangements and related events are used for legitimate and
                                lawful purposes in accordance with applicable Federal health care
                                program and FDA requirements and shall include requirements
                                about the content and circumstances of such arrangements and
                                events. The Policies and Procedures shall require that
                                compensation be based on fair market value, include caps on the
                                total amount of payment that may be provided annually, and that
                                HCPs who sit on formulary boards or develop clinical guidelines
                                are required to disclose their relationship with GSK;

                         m. programs to educate sales personnel, including but not limited to
                            presentations by HCPs at sales meetings and experience-based
                            learning activities, if any. These Policies and Procedures shall be
                            designed to ensure that the programs are used for legitimate and
                            lawful purposes in accordance with applicable Federal health care
                            program and FDA requirements. The Policies shall include
                            requirements about the content and circumstances of such
                            arrangements and events;

                         n. sponsorship or funding of grants to healthcare-related
                            organizations and donations to community partners in the United
                            States (including support of any educational programs they
                            conduct for non-HCP audiences). These Policies and Procedures
                            shall be designed to ensure that GSK’s funding and/or
                            sponsorship complies with all applicable Federal health care
                            program and FDA requirements. In addition, the Policies and
                            Procedures continue to limit the situations in which GSK shall
                            make grants and donations and shall state that GSK does not
                            provide funding in order to influence the use of GSK products or
                            services;

                         o. funding of, or participation in, any Third Party Educational
                            Activity as defined in Section II.C.8 above. These Policies and
                            Procedures shall be designed to ensure that any GSK funding
                            and/or sponsorship of such programs satisfies all applicable
                            Federal health care program and FDA requirements. Prior to the

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                                Effective Date of the CIA, GSK implemented policies restricting
                                funding for Third Party Educational Activity to a limited number
                                of specific types of entities (i.e., academic medical centers and
                                their affiliated teaching and patient care institutions and
                                professional medical associations that represent HCPs
                                responsible for the delivery of patient care). These Policies and
                                Procedures prohibit funding for independent medical education
                                by commercial providers. During the term of the CIA, the
                                Policies and Procedures shall continue to require that GSK
                                provide funding for Third Party Educational Activity in
                                accordance with its Policies and Procedures and practices
                                outlined in this Section III.B.3.o and below in Section III.M.4.

                                The Policies and Procedures shall also require that: (1) GSK
                                disclose its financial support of the Third Party Educational
                                Activity and, to the extent feasible consistent with subsection
                                III.B.3.o.4 below, any financial relationships with faculty,
                                speakers, or organizers at such Activity; (2) as a condition of
                                funding, the third party shall agree to disclose GSK’s financial
                                support of the Third Party Educational Activity and to require
                                faculty, speakers, or organizers at such Activity to disclose any
                                financial relationship with GSK; (3) the Third Party Educational
                                Activity have an educational focus; (4) the content, organization,
                                and operation of the Third Party Educational Activity (including
                                the faculty, educational methods, materials, and venue) be
                                independent of GSK’s control; (5) GSK support only Third Party
                                Educational Activity that is non-promotional in tone/nature; and
                                (6) GSK’s support of a Third Party Educational Activity shall be
                                contingent on the provider’s commitment to provide information
                                at the Third Party Educational Activity that is fair, balanced,
                                accurate and not misleading;

                         p. review of promotional materials and information intended to be
                            disseminated outside GSK by appropriate qualified personnel
                            (such as regulatory, medical, and/or legal personnel) in a manner
                            designed to ensure that legal, regulatory, and medical concerns
                            are properly addressed during GSK’s review and approval
                            process and are elevated when appropriate. The Policies and

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                                Procedures shall be designed to ensure that such materials and
                                information comply with all applicable Federal health care
                                program and FDA requirements. The Policies and Procedures
                                shall require that: (1) applicable review committees (including
                                the overall Copy Approval Team (CAT) and the CAT for each
                                product) review all promotional materials prior to the distribution
                                or use of such materials; (2) GSK’s copy review and approval
                                process ensure that FDA communications relevant to the product
                                are considered and appropriately reflected in promotional
                                materials and in a copy approval repository maintained by each
                                CAT; and that (3) deviations from the standard review committee
                                practices and protocols (including timetables for the submission
                                of materials for review) shall be documented and referred for
                                appropriate follow-up;

                         q. sponsorship, funding of, and disclosures relating to Product
                            Related Functions. These Policies and Procedures shall be
                            designed to ensure that GSK’s funding, sponsorship, and
                            disclosure complies with all applicable Federal health care
                            program and FDA requirements;

                         r. compensation (including through salaries, bonuses, or other
                            means) for Covered Persons. These Policies and Procedures
                            shall: (1) be designed to ensure that financial incentives do not
                            inappropriately motivate such individuals to engage in improper
                            promotion, sales, and marketing of GSK’s Government
                            Reimbursed Products; and (2) include mechanisms, where
                            appropriate, to exclude from incentive compensation sales that
                            may indicate off-label promotion of Government Reimbursed
                            Products.

                                GSK represents that, prior to the Effective Date, it implemented a
                                program in the United States to eliminate incentive compensative
                                based on territory/individual level sales goals for prescriber-
                                facing sales personnel (e.g., sales representatives) and their direct
                                managers (Patient First Program). The Patient First Program is
                                described in more detail below in Section III.H. GSK shall


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                                continue its Patient First Program, or a substantially equivalent
                                program, during the term of the CIA.

                         s. GSK’s right to recoup or cause the forfeiture of annual
                            performance pay of GSK employees and Covered Executives if
                            certain triggering events relating to misconduct by the employees
                            or executives occur;

                         t. the submission of information about any Government
                            Reimbursed Product to any compendia such as Drugdex or other
                            published source of information used in connection with the
                            determination of coverage by a Federal health care program for
                            the product (hereafter “Compendia”). This includes any initial
                            submission of information to any Compendia and the submission
                            of any additional, updated, supplemental, or changed information
                            (e.g., any changes based on GSK’s discovery of erroneous or
                            scientifically unsound information or data associated with the
                            information in the Compendia.) The Policies and Procedures
                            shall include a requirement that GSK conduct an annual review
                            of all arrangements, processing fees, or other payments or
                            financial support (if any) provided by GSK to any Compendia.
                            GSK U.S. compliance personnel or other appropriately trained
                            GSK personnel who are independent from the functional unit
                            being reviewed shall be involved in this review;

                         u. sponsorship by GSK of human subject research of Government
                            Reimbursed Products (i.e., post-marketing clinical trials and post-
                            marketing studies (collectively, “GSK-Sponsored Research”)),
                            and support by GSK of investigator-sponsored studies of
                            Government Reimbursed Products (ISSs) (collectively, GSK-
                            Sponsored Research and ISSs shall be referred to as “Research”),
                            including the decision to provide financial or other support for
                            Research; the manner in which Research support is provided; the
                            publication of information about the Research, including the
                            publication of information about the Research results and trial
                            outcomes, and uses made of publications relating to Research;



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                                Policies/Procedures regarding Sponsorship or Support of Studies
                                Involving Government Reimbursed Products: GSK represents
                                that it requires Research to be approved by its medical and/or
                                research organizations. Under GSK’s current policies and
                                procedures, sales, marketing, or other commercial personnel may
                                not participate in the design, conduct, or publication of GSK-
                                Sponsored Research, with limited exceptions relating to non-
                                interventional health outcomes studies (for which a relevant GSK
                                medical group has oversight). GSK also represents that its
                                human subject research and any resulting publications are
                                intended to foster increased understanding of scientific, clinical
                                or medical issues. To the extent not already accomplished, GSK
                                shall require as a condition of its funding that all researchers
                                disclose in any publication of Research, GSK’s support and any
                                financial interest the researcher may have in GSK.

                                Posting of Study Results and Protocols/Registry of Studies: GSK
                                represents that, prior to the Effective Date, it developed a Clinical
                                Study Register on which it posts, within a specified number of
                                months from study completion and with rare exception, summary
                                results from all GSK-Sponsored interventional Research studies
                                of Government Reimbursed Products; and from GSK-Sponsored
                                observational studies designed to inform the safety, efficacy or
                                effectiveness, including cost-effectiveness, of Government
                                Reimbursed Products; and from GSK-Sponsored meta-analyses
                                and pooled analyses designed to inform appropriate, effective or
                                safe use of Government Reimbursed Products. In addition, GSK
                                posts summaries of its protocols for the studies and analyses
                                described in the preceding sentence (including amendments that
                                change the content of the summary) in its Register. GSK shall
                                continue these practices throughout the term of the CIA.

                                In addition, GSK represents that it has established policies,
                                systems, and practices to publish results from and information
                                about discontinued studies on its Clinical Register, including the
                                fact that the study terminated early. GSK shall continue these
                                practices throughout the term of the CIA.


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                                GSK represents that it registers summary results from all
                                applicable GSK-sponsored clinical trials of GSK products and
                                reports results of such clinical trials on the National Institutes of
                                Health (NIH) sponsored website (www.clinicaltrials.gov) in
                                compliance with all Federal requirements. GSK shall continue to
                                comply with Federal requirements or other applicable
                                requirements relating to the registration and results reporting of
                                clinical studies throughout the term of this CIA. In addition, if
                                there is a change in Federal requirements or other applicable
                                requirements relating to registration and results reporting of
                                clinical study information, GSK shall fully comply with such
                                requirements.

                                Publication of Study Results: GSK represents that it generally
                                seeks publication of the results of all GSK-Sponsored
                                interventional Research in peer-reviewed, searchable journals and
                                imposes specified timeframes for the drafting and submission of
                                manuscripts following completion of a study. For purposes of
                                these publication requirements, GSK’s publication policy
                                includes certain GSK-Sponsored observational Research studies
                                and certain GSK-Sponsored meta-analyses and pooled analyses.

                                In addition, GSK represents that it has established policies and
                                “operating practices” governing scientific engagement, which
                                included detailed directions regarding publications. Among other
                                things, the operating practices require the implementation of data
                                dissemination plans that establish prospective publication
                                strategies for GSK-Sponsored Research and address requirements
                                for appropriateness, accuracy, and balance in publications of
                                GSK-Sponsored Research. In all publications about GSK-
                                Sponsored Research, GSK shall acknowledge its role as the
                                funding source.

                                In addition, GSK represents that it has established policies,
                                systems, and practices designed to ensure that adverse event data
                                is properly reported to the FDA. In addition, GSK requires
                                investigators to report study-related information and data,


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                                including data about adverse events before receiving final
                                payment from GSK.

                                The standards, policies, and practices described above shall
                                hereafter be referred to collectively as the “Research and
                                Publication Practices.” GSK shall maintain its Research and
                                Publication Practices (or standards and practices substantially
                                equivalent to those set forth above) for studies initiated or
                                completed after the Effective Date for the term of the CIA. To
                                the extent that GSK intends to materially change these Research
                                and Publication Practices, it shall notify the OIG about the
                                change 30 days in advance of the effective date of the change;

                         v. authorship of journal articles or other publications about GSK-
                            Sponsored Research or about therapeutic areas or disease states
                            that may be treated with Government Reimbursed Products,
                            including, but not limited to, the disclosure of any and all
                            financial relationships between the author and GSK, the
                            identification of all authors or contributors (including
                            professional writers) associated with a given publication, and that
                             research results be made available to each author or contributor.

                                Authorship Requirements: GSK represents that it requires all
                                authors of journal articles about GSK-Sponsored Research to
                                adhere to International Committee of Medical Journal Editors
                                (ICMJE) requirements regarding authorship except when a
                                particular journal requires an alternative procedure. In addition,
                                GSK requires all authors of articles on GSK-Sponsored Research
                                to disclose any GSK financial support for the study and any
                                financial relationship with GSK (including any financial interest
                                the author may have in GSK or a GSK product). In addition,
                                GSK represents that individuals may be considered an “author”
                                on a GSK publication of GSK-Sponsored Research only if the
                                individual has made substantial contributions to the study and has
                                given final approval to the version of the publication ultimately
                                published.



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                                GSK shall require that its employees and medical writing
                                contractors complete certain certification as to any GSK
                                publication of GSK-Sponsored Research on which the individual
                                is listed as an author or contributor. The standards, policies and
                                practices described above shall be referred to collectively as
                                “Authorship-Related Practices”; and

                         w. disciplinary policies and procedures for violations of GSK’s
                            Policies and Procedures, including policies relating to Federal
                            health care program and FDA requirements.

       To the extent not already accomplished, within 150 days after the Effective Date,
the Policies and Procedures shall be made available to all Covered Persons. Appropriate
and knowledgeable staff shall be available to explain the Policies and Procedures.

       At least annually (and more frequently, if appropriate), GSK shall assess and
update, as necessary, the Policies and Procedures. Within 30 days after the effective date
of any revisions, any such revised Policies and Procedures shall be made available to all
Covered Persons.

        C. Training and Education.

               1. General Training. To the extent not already accomplished, within 120
days after the Effective Date, GSK shall provide at least one hour of General Training to
each Covered Person. This training, at a minimum, shall explain GSK’s:

                         a. CIA requirements; and

                         b. GSK’s Compliance Program (including the Code of Conduct and
                         the Policies and Procedures as they pertain to general compliance
                         issues).

New Covered Persons shall receive the General Training described above within 30 days
after becoming a Covered Person or within 120 days after the Effective Date, whichever
is later. After receiving the initial General Training described above, each Covered
Person shall receive at least one hour of General Training in each subsequent Reporting
Period.


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            2. Specific Training. GSK shall provide annual training to each Relevant
Covered Person relating to his or her specific job responsibilities. This training shall be
known as Specific Training.

               By December 31, 2012, each Relevant Covered Person engaged in
Promotional Functions, Product Related Functions, or Payer Related Functions shall
receive at least three hours of Specific Training in addition to the General Training
required above.

             For Relevant Covered Persons engaged in Promotional Functions or
Product Related Functions, this Specific Training shall include a discussion of:

                         a. all applicable Federal health care program requirements relating
                            to Promotional Functions and to Product Related Functions;

                         b. all applicable FDA requirements relating to Promotional
                            Functions and to Product Related Functions;

                         c. all GSK Policies and Procedures and other requirements
                            applicable to Promotional Functions and Product Related
                            Functions;

                         d. the personal obligation of each individual involved in
                            Promotional Functions and Product Related Functions to comply
                            with all applicable Federal health care program and FDA
                            requirements and all other applicable legal requirements;

                         e. the legal sanctions for violations of the applicable Federal health
                            care program and FDA requirements; and

                         f. examples of proper and improper practices related to Promotional
                            Functions and Product Related Functions.

              For Relevant Covered Persons engaged in Payer Related Functions, this
Specific Training shall include a discussion of topics a-f above, as well as:

                         g. all applicable Federal health care program requirements and FDA
                            requirements relating to Payer Related Functions;

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                         h. GSK’s systems and processes applicable to Payer Related
                            Functions;

                         i. all GSK Policies and Procedures and other requirements
                            applicable to Promotional Functions and Product Related
                            Functions;

                         j. the personal obligation of each individual involved in Payer
                            Related Functions to ensure that all information provided or
                            reported to Payers is complete, accurate and not misleading;

                         k. the legal sanctions for violations of the applicable Federal health
                            care program and FDA requirements; and

                         l. examples of proper and improper practices relating to Payer
                            Related Functions.

       New Relevant Covered Persons shall receive their Specific Training within 30
days after the beginning of their employment or becoming Relevant Covered Persons, or
by December 31, 2012, whichever is later. A GSK employee who has completed the
Specific Training shall oversee a new Relevant Covered Person’s work, to the extent that
the work relates to any of the Covered Functions, until such time as the new Relevant
Covered Person completes his or her Specific Training.

            After receiving the initial Specific Training described in this Section, each
Relevant Covered Person shall receive at least three hours of Specific Training in each
subsequent Reporting Period.

               3. Compliance Training for Management. By December 31, 2012, GSK
shall provide to managers of employees performing Covered Functions and supervisors of
sales personnel (collectively “Management”) at least three hours of specialized
compliance-related training applicable to the functional area of the manager
(Management Compliance Training). This training shall address the responsibility of
Management to promote compliance and to identify and mitigate compliance-related risks
in their functional areas.



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             New members of Management shall receive the Management Compliance
Training within 30 days after becoming a member of Management or by December 31,
2012, whichever is later.

               After receiving the initial Management Compliance Training described in
this Section, each Relevant Covered Person shall receive at least three hours of
Specialized Compliance Training in each subsequent Reporting Period.

              4. Board Member Training. Within 150 days after the Effective Date, GSK
shall provide at least two hours of training to each member of the Board of Directors, in
addition to the General Training. This training shall address the responsibilities of board
members and corporate governance.

               New members of the Board of Directors shall receive the Board Member
Training described above within 30 days after becoming a board member or within 120
days after the Effective Date, whichever is later.

                5. Certification. Each Covered Person who is required to complete training
shall certify, in writing or in electronic form, if applicable, that he or she has received
such training. The certification shall specify the type of training received and the date
received. The Compliance Officer (or designee) shall retain these certifications, along
with all course materials. These shall be made available to OIG, upon request.

             6. Qualifications of Trainer. Persons responsible for providing the training
described above shall be knowledgeable about the subject area of the training, including
about applicable Federal health care program and FDA requirements.

              7. Update of Training. GSK shall review its training annually, and, where
appropriate, shall update the training to reflect changes in Federal health care program
requirements, FDA requirements, any issues discovered during internal audits or the IRO
Reviews, the TRACER program (defined below in Section III.D), and any other relevant
information.

              8. Computer-based Training. GSK may provide the training required
under this CIA through appropriate computer-based training approaches. If GSK chooses
to provide computer-based training, it shall make available appropriately qualified and
knowledgeable staff or trainers to answer questions or provide additional information to
the individuals receiving such training. All applicable requirements to provide a number

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of “hours” of training as set forth in this Section III.C may be met with respect to
computer-based training by providing the required number of “normative” hours as that
term is used in the computer-based training industry.

        D. Risk Assessment and Mitigation Process.

       GSK represents that prior to the Effective Date, GSK began to implement a
standardized process to allow GSK compliance, legal, and business unit leaders to assess
and identify risks associated with Government Reimbursed Products that have field force
support in the United States (GSK Products). This program is referred to as the Targeted
Risk-based Analysis Compliance Evaluations and Review (TRACER) program and is
described in more detail in Appendix C. TRACER involves an annual evaluation and
mitigation of risks associated with the marketing of the GSK Products. GSK shall
maintain a TRACER process for the duration of the CIA.

        E. Review Procedures.

                1. General Description.

                         a. Engagement of Independent Review Organization. Within 120
                         days after the Effective Date, GSK shall engage an entity (or
                         entities), such as an accounting, auditing, or consulting firm
                         (hereinafter “Independent Review Organization” or “IRO”), to
                         perform reviews to assist GSK in assessing and evaluating its
                         Covered Functions. More specifically, the IRO(s) shall conduct
                         reviews that assess GSK’s systems, processes, policies, procedures,
                         and practices relating to the Covered Functions (including Research
                         and Publication Practices and Authorship-Related Practices) and the
                         TRACER program (collectively “IRO Reviews”).

                         The applicable requirements relating to the IRO are outlined in
                         Appendix A to this CIA, which is incorporated by reference.
                         Each IRO engaged by GSK shall have expertise in applicable
                         Federal health care program and FDA requirements as may be
                         appropriate to the Review for which the IRO is retained including
                         expertise in the pharmaceutical industry with regard to risk
                         identification and mitigation in relation to pharmaceutical product
                         marketing and promotion. Each IRO shall assess, along with GSK,

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                         whether it can perform the engagement in a professionally
                         independent and objective fashion, as appropriate to the nature of the
                         review, taking into account any other business relationships or other
                         engagements that may exist.

                         b. Frequency and Brief Description of Reviews. As set forth more
                         fully in Appendices B and C, the IRO Reviews shall consist of three
                         components: (1) Systems Reviews and Transactions Reviews
                         relating to the Covered Functions; (2) Additional Items reviews; and
                         (3) Systems Reviews and Transaction Reviews relating to the
                         TRACER program. The Systems Reviews shall assess GSK’s
                         systems, processes, policies, and procedures relating to the Covered
                         Functions and the TRACER program.

                         The IRO Reviews shall cover each of the six calendar years of the
                         CIA. The first IRO Reporting Period shall cover the time from the
                         Effective Date through December 31, 2012. The second through
                         sixth IRO Reporting Periods shall cover, respectively, 2013 and each
                         subsequent calendar year through 2017 (hereafter the “IRO
                         Reporting Periods.”) If there are no material changes in GSK’s
                         relevant systems, processes, policies, and procedures, the Systems
                         Review shall be performed for the periods covering the second and
                         fifth IRO Reporting Periods. If GSK materially changes its relevant
                         systems, processes, policies, and procedures, the IRO shall perform
                         Systems Reviews for the IRO Reporting Periods in which such
                         changes were made in addition to conducting the Systems Reviews
                         for the second and fifth IRO Reporting Periods, as set forth more
                         fully in Appendices B and C.

                         The IRO shall perform a limited Transactions Review for the first
                         IRO Reporting Period as set forth more fully in Appendix B. For
                         each of the remaining IRO Reporting Periods, the IRO shall perform
                         full Transaction Reviews as set forth in Appendices B and C. The
                         IRO(s) shall perform all components of each annual Transaction
                         Review.

                         In addition, the Transactions Reviews for the second through sixth
                         IRO Reporting Periods shall also include a review of up to three

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                         additional areas or practices of GSK identified by the OIG in its
                         discretion (hereafter “Additional Items”). For purposes of
                         identifying the Additional Items to be included in the Transactions
                         Review for a particular IRO Reporting Period, the OIG will consult
                         with GSK and may consider internal audit work conducted by GSK,
                         the Government Reimbursed Product portfolio, the nature and scope
                         of GSK’s promotional practices and arrangements with HCPs and
                         HCIs, and other information known to it.

                         As set forth more fully in Appendix B, GSK may propose to the OIG
                         that its internal audit(s) be partially substituted for one or more of the
                         Additional Items that would otherwise be reviewed by the IRO as
                         part of the Transactions Review. The OIG retains sole discretion
                         over whether, and in what manner, to allow GSK’s internal audit
                         work to be substituted for a portion of the Additional Items review
                         conducted by the IRO.

                         The OIG shall notify GSK of the nature and scope of the IRO review
                         for each of the Additional Items not later than 150 days prior to the
                         end of each applicable IRO Reporting Period. Prior to undertaking
                         the review of the Additional Items, the IRO and/or GSK shall submit
                         an audit work plan to the OIG for approval and the IRO shall
                         conduct the review of the Additional Items based on a work plan
                         approved by the OIG.

                         c. Retention of Records. The IRO and GSK shall retain and make
                         available to OIG, upon request, all work papers, supporting
                         documentation, correspondence, and draft reports (those exchanged
                         between the IRO and GSK) related to the IRO Reviews.

            2. IRO Review Reports. The IRO shall prepare a report based upon each
IRO Review performed (IRO Review Report). Information to be included in each IRO
Review Report is described in Appendices B and C.

              3. Validation Review. In the event OIG has reason to believe that: (a) any
of GSK’s IRO Reviews fails to conform to the requirements of this CIA; or (b) the IRO’s
findings or Review results are inaccurate, OIG may, at its sole discretion, conduct its own
review to determine whether the applicable IRO Review complied with the requirements

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of the CIA and/or the findings or Review results are inaccurate (Validation Review).
GSK shall pay for the reasonable cost of any such review performed by OIG or any of its
designated agents. Any Validation Review of Reports submitted as part of GSK’s final
Annual Report shall be initiated no later than one year after GSK’s final submission (as
described in Section II.B) is received by OIG.

              Prior to initiating a Validation Review, OIG shall notify GSK of its intent to
do so and provide a written explanation of why OIG believes such a review is necessary.
To resolve any concerns raised by OIG, GSK may request a meeting with OIG to: (a)
discuss the results of any IRO Review submissions or findings; (b) present any additional
information to clarify the results of the IRO Review or to correct the inaccuracy of the
IRO Review; and/or (c) propose alternatives to the proposed Validation Review. GSK
agrees to provide any additional information as may be requested by OIG under this
Section III.E.3 in an expedited manner. OIG will attempt in good faith to resolve any
IRO Review issues with GSK prior to conducting a Validation Review. However, the
final determination as to whether or not to proceed with a Validation Review shall be
made at the sole discretion of OIG.

               4. Independence and Objectivity Certification. The IRO shall include in its
report(s) to GSK a certification that the IRO has: (a) evaluated its professional
independence and objectivity with respect to the reviews conducted under this Section
III.E; and (b) concluded that it is, in fact, independent and objective in accordance with
the requirements specified in Appendix A.

        F. Disclosure Program.

       Prior to the GSK Effective Date, GSK and its Affiliates established a Disclosure
Program that includes a mechanism (the toll free “Integrity Helpline”) to enable
individuals to disclose, to the Compliance Officer or some other person who is not in the
disclosing individual’s chain of command, any identified issues or questions associated
with GSK’s or a GSK Affiliate’s policies, conduct, practices, or procedures with respect
to a Federal health care program or an FDA requirement (including as they relate to
CGMP Activities) believed by the individual to be a potential violation of criminal, civil,
or administrative law. The Integrity Helpline may be used by employees of third party
suppliers that contract with GSK. GSK and its Affiliates publicize, and shall continue to
appropriately publicize, the existence of the Disclosure Program and the Integrity
Helpline (e.g., via periodic e-mails to employees, by posting the information in prominent
common areas, or through references in the Code of Conduct and during training.)

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       The Disclosure Program shall emphasize a nonretribution, non-retaliation policy
and shall include a reporting mechanism for anonymous communications for which
appropriate confidentiality shall be maintained. Upon receipt of a disclosure, the
Compliance Officer (or designee) shall gather all relevant information from the disclosing
individual. The Compliance Officer (or designee) shall make a preliminary, good faith
inquiry into the allegations set forth in every disclosure to ensure that it obtains all
necessary information to determine whether a further review should be conducted. For
any disclosure that is sufficiently specific so that it reasonably: (1) permits a
determination of the appropriateness of the alleged improper practice; and (2) provides an
opportunity for taking corrective action, GSK and/or any applicable Affiliate shall
conduct an internal review of the allegations set forth in the disclosure and ensure that
proper follow-up is conducted.

       GSK shall maintain, a disclosure log, which includes a record and summary of
each disclosure received (whether anonymous or not), the status of the respective internal
reviews, and any corrective action taken in response to the internal reviews. This
disclosure log shall be made available to OIG upon request.

        G. Ineligible Persons.

                1. Definitions. For purposes of this CIA:

                         a. an “Ineligible Person” shall include an individual or entity who:

                                i. is currently excluded, debarred, suspended, or otherwise
                                ineligible to participate in the Federal health care programs or
                                in Federal procurement or nonprocurement programs; or

                                ii. has been convicted of a criminal offense that falls within
                                the scope of 42 U.S.C. § 1320a-7(a), but has not yet been
                                excluded, debarred, suspended, or otherwise declared
                                ineligible.

                         b. “Exclusion Lists” include:

                                i. the HHS/OIG List of Excluded Individuals/Entities
                                (available through the Internet at http://www.oig.hhs.gov);
                                and

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                                ii. the General Services Administration’s List of Parties
                                Excluded from Federal Programs (available through the
                                Internet at http://www.epls.gov).

             2. Screening Requirements. GSK shall ensure that all prospective and
current Covered Persons and Manufacturing Covered Persons are not Ineligible Persons,
by implementing the following screening requirements.

                         a. as part of the hiring or contracting process, GSK shall require all
                         prospective and current Covered Persons and Manufacturing
                         Covered Persons to disclose whether they are Ineligible Persons and
                         shall screen potential Covered Persons and Manufacturing Covered
                         Persons against the Exclusion Lists prior to engaging their services.

                         b. GSK shall screen all Covered Persons and Manufacturing
                         Covered Persons against the Exclusion Lists within 120 days after
                         the Effective Date and on an annual basis thereafter.

                         c. GSK shall maintain a policy requiring all Covered Persons and
                         Manufacturing Covered Persons to disclose immediately any
                         debarment, exclusion, suspension, or other event that makes that
                         person an Ineligible Person.

               Nothing in this Section III.G affects GSK’s responsibility to refrain from
(and liability for) billing Federal health care programs for items or services furnished,
ordered, or prescribed by excluded persons. GSK understands that items or services
furnished by excluded persons are not payable by Federal health care programs and that
GSK may be liable for overpayments and/or criminal, civil, and administrative sanctions
for employing or contracting with an excluded person regardless of whether GSK meets
the requirements of Section III.G.

              3. Removal Requirement. If GSK has actual notice that a Covered Person
or Manufacturing Covered Person has become an Ineligible Person, GSK shall remove
such Covered Person or Manufacturing Covered Person from responsibility for, or
involvement with, GSK’s business operations related to the Federal health care programs
and shall remove such Covered Person or Manufacturing Covered Person from any
position for which the Covered Person’s or Manufacturing Covered Person’s

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compensation or the items or services furnished, ordered, or prescribed by the Covered
Person or Manufacturing Covered Person are paid in whole or part, directly or indirectly,
by Federal health care programs or otherwise with Federal funds at least until such time
as the Covered Person or Manufacturing Covered Person is reinstated into participation in
the Federal health care programs.

               4. Pending Charges and Proposed Exclusions. If GSK has actual notice
that a Covered Person or Manufacturing Covered Person is charged with a criminal
offense that falls within the scope of 42 U.S.C. §§ 1320a-7(a), 1320a-7(b)(1)-(3), or is
proposed for exclusion during the Covered Person’s or Manufacturing Covered Person’s
employment or contract term, GSK shall take all appropriate actions to ensure that the
responsibilities of that Covered Person or Manufacturing Covered Person have not and
shall not adversely affect the quality of care rendered to any beneficiary, patient, or
resident, or the accuracy of any claims submitted to any Federal health care program.

        H. Employee and Executive Incentive Compensation and Recoupment Policies
        and Practices.

       Pursuant to its existing Patient First program, GSK agrees that it will not provide
financial reward (through compensation, including incentive compensation or otherwise)
or discipline (through tangible employment action) its prescribing-customer-facing field
sales professionals (pharmaceutical sales representatives) or their direct managers based
upon the volume of sales of GSK products within a given employee’s own territory or
the manager’s district. The Patient First program includes evaluations for sales
representatives based on business acumen, customer engagement, and scientific
knowledge about GSK’s products. GSK shall continue its Patient First Program, or a
substantially equivalent program, during the term of this CIA. GSK commits to
maintaining for at least the duration of the CIA, absent agreement otherwise with the
OIG, the restrictions on such tangible employment decisions set forth in its Use of
Territory/Individual Sales Data policy.

       In addition, GSK shall establish and maintain throughout the term of this CIA a
financial recoupment program that puts at risk of forfeiture and recoupment an amount
equivalent to up to 3 years of annual performance pay (i.e., annual bonus, plus long term
incentives) for an executive who is discovered to have been involved in any significant
misconduct (Executive Financial Recoupment Program). This financial recoupment
program shall apply to both covered executives who are either current GSK employees or
who are former GSK employees at the time of a Recoupment Determination. The

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specific terms and conditions of the Executive Financial Recoupment Program are set
forth in Appendix E. GSK commits to maintaining an Executive Financial Recoupment
Program consistent with the terms of Appendix E for at least the duration of the CIA
absent agreement otherwise by the OIG.

        I. Notification of Government Investigation or Legal Proceedings.

        Within 30 days after discovery, GSK shall notify OIG, in writing, of any ongoing
investigation or legal proceeding known to GSK conducted or brought by a U.S.-based
governmental entity or its agents involving an allegation that GSK or a GSK Affiliate has
committed a crime or has engaged in fraudulent activities. This notification shall include
a description of the allegation, the identity of the investigating or prosecuting agency, and
the status of such investigation or legal proceeding. GSK shall also provide written
notice to OIG within 30 days after the resolution of the matter, and shall provide OIG
with a description of the findings and/or results of the investigation or proceedings, if any.

        J. Reportable Events.

            1. Definition of Reportable Event. For purposes of this CIA, a “Reportable
Event” means anything that involves:

                         a. a matter that a reasonable person would consider a probable
                         violation of criminal, civil, or administrative laws applicable to any
                         Federal health care program for which penalties or exclusion may be
                         authorized;

                         b. a matter that a reasonable person would consider a probable
                         violation of criminal, civil, or administrative laws applicable to any
                         FDA requirements relating to the promotion of Government
                         Reimbursed Products (including an FDA Warning Letter issued to
                         GSK);

                         c. the employment of or contracting with a Covered Person who is
                         an Ineligible Person as defined by Section III.G.1.a; or

                         d. the filing of a bankruptcy petition by GSK.



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A Reportable Event may be the result of an isolated event or a series of occurrences. A
Reportable Event that meets the one of the definitions set forth above may arise from
within the operations of GSK or any GSK Affiliate.

              2. Reporting of Reportable Events. If GSK determines (after a reasonable
opportunity to conduct an appropriate review or investigation of the allegations) through
any means that there is a Reportable Event, GSK shall notify OIG, in writing, within 30
days after making the determination that the Reportable Event exists.

             3. Reportable Events under Sections III.J.1.a-c. For Reportable Events
under Sections III.J.1.a-c, the report to OIG shall include:

                         a. a complete description of the Reportable Event, including the
                         relevant facts, persons involved, and legal and Federal health care
                         program or FDA authorities implicated;

                         b. a description of GSK’s actions taken to correct the Reportable
                         Event; and

                         c. any further that steps GSK plans to take to address the Reportable
                         Event and prevent it from recurring.

GSK shall not be required to report any Reportable Event which is the subject of an
ongoing investigation or legal proceeding by a governmental entity or its agents
previously disclosed under Section III.I above.

               4. Reportable Events under Section III.J.1.d. For Reportable Events under
Section III.J.1.d, the report to the OIG shall include documentation of the bankruptcy
filing and a description of any Federal health care program and/or FDA authorities
implicated.

       K. Notification of Communications with FDA. Within 30 days after the date of
any written report, correspondence, or communication between GSK and the FDA that
materially discusses GSK’s or a Covered Person’s actual or potential unlawful or
improper promotion of GSK’s products (including any improper dissemination of
information about off-label indications), GSK shall provide a copy of the report,
correspondence, or communication to the OIG. GSK shall also provide written notice to
the OIG within 30 days after the resolution of any such disclosed off-label matter, and

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shall provide the OIG with a description of the findings and/or results of the matter, if
any.

        L. Field Force Monitoring and Review Efforts.

       To the extent not already accomplished, within 120 days after the Effective Date,
GSK shall establish a comprehensive Field Force Monitoring Program (FFMP) to
evaluate and monitor its sales personnel’s interactions with HCPs and HCIs. The FFMP
shall be a formalized process designed to directly and indirectly observe the
appropriateness of sales personnel’s interactions with HCPs and HCIs and to identify
potential off-label promotional activities or other improper conduct. As described in
more detail below, the FFMP shall include: (1) a Speaker Monitoring Program; (2) direct
field observations (Observations) of sales personnel; and (3) the monitoring and review of
other records relating to sales personnel’s interactions with HCPs and HCIs (Records
Reviews).

        1.     Speaker Program Activities. With regard to speaker programs, GSK shall
maintain processes to require all speakers to complete training and enter written
agreements that describe the scope of work to be performed, the speaker fees to be paid,
and compliance obligations for the speakers (including requirements that the speaker may
only use GSK approved materials and may not directly or indirectly promote the product
for off-label uses.) GSK shall maintain a centralized electronic system through which all
speaker programs are administered. This system shall establish controls regarding
eligibility and qualifications of speakers and venues for the programs and require that
speakers are paid according to a centrally managed, pre-set rate structure determined
based on a fair-market value analysis conducted by GSK. GSK shall maintain a
comprehensive list of speaker program attendees through its centralized system. In
addition, GSK shall track and review the aggregate amount (including speaker fees,
travel, and other expenses) paid to each speaker in connection with speaker programs
conducted during each Reporting Period. GSK shall require certified evaluations by sales
personnel regarding whether a speaker program complied with GSK requirements, and in
the event of non-compliance, GSK shall require the identification of the policy violation
and ensure appropriate follow up activity to address the violation.

      To the extent not already accomplished, GSK shall institute a Speaker Monitoring
Program under which GSK compliance or other appropriately trained GSK personnel
who are independent from the functional area being monitored (hereinafter “GSK
Monitoring Personnel”) shall attend speaker programs during each Reporting Period and

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conduct live audits of the programs (Speaker Program Audits). For the first Reporting
Period, GSK shall conduct live audits of 150 speaker programs and for the subsequent
Reporting Periods, GSK shall conduct live audits of 75 speaker programs. The programs
subject to Speaker Program Audits shall be selected both on a risk-based targeting
approach and on a sampling approach. For each program reviewed, personnel conducting
the Speaker Program Audits shall review slide materials and other materials used as part
of the speaker program, speaker statements made during the program, and GSK
representative activities during the program to assess whether the programs were
conducted in a manner consistent with GSK’s Policies and Procedures. GSK shall
maintain the controls around speaker programs as described above, and shall conduct its
Speaker Program Audits as described above throughout the term of the CIA.

       2.     Observations. As a component of the FFMP, GSK Monitoring Personnel
shall conduct observations of field personnel (e.g., sales personnel, MSLs, HOLs, and
account managers and directors from the PPV group) to assess whether the messages
delivered and materials distributed to HCPs, HCIs, and others are consistent with
applicable legal requirements and with GSK’s Policies and Procedures. These
observations shall be full day ride-alongs with the field personnel (Observations), and
each Observation shall consist of directly observing all meetings between field personnel
and HCPs during the workday. The Observations shall be scheduled throughout the year,
selected by GSK Monitoring Personnel both on a risk-based targeting approach and on a
sampling approach, include each therapeutic area and actively promoted product, and be
conducted across the United States. At the completion of each Observation, GSK
Monitoring Personnel shall prepare a report which includes:

                1)   the identity of the field personnel;
                2)   the identity of the GSK Monitoring Personnel;
                3)   the date and duration of the Observation;
                4)   the product(s) promoted during the Observation;
                5)   an overall assessment of compliance with GSK policy; and
                6)   the identification of any potential off-label promotional activity or other
                     improper conduct by the field personnel.

      GSK Monitoring Personnel shall conduct at least 50 Observations during the first
Reporting Period, and shall conduct at least 25 Observations during the subsequent
Reporting Periods.



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       3.      Records Reviews. As a component of the FFMP, GSK shall also review
various types of records to assess sales personnel interactions with HCPs and HCIs in
order to identify potential or actual compliance violations. For each Reporting Period,
GSK shall develop and implement a plan for conducting Records Reviews associated
with at least three Government Reimbursed Products and a sampling of the personnel
supporting those products in regions across the country (as agreed with the OIG for each
Reporting Period.) The OIG shall have the discretion to identify the three Government
Reimbursed Products to be reviewed for each Reporting Period. The OIG will select the
products based on information about GSK’s products provided by GSK, upon request by
the OIG no later than 60 days prior to the beginning of the Reporting Period, and other
information known to the OIG. If the OIG does not identify the Government Reimbursed
Products to be reviewed within the first 30 days of the Reporting Period, GSK shall select
the three products to be reviewed.

       These Records Reviews shall include the monitoring and review of: (1) records
and systems relating to sales personnel interactions with HCPs and HCIs (including
records from the electronic call reporting system used by sales personnel (which includes
call notes), sales communications from managers, sample distribution records, and
expense reports); (2) requests for medical information about, or inquiries relating to,
Government Reimbursed Products; (3) message recall studies or other similar records
(such as Verbatims) purporting to reflect the details of sales personnel interactions with
HCPs and HCIs; (4) sales personnel e-mails and other electronic records; and (5)
recorded results of the Observations of sales representatives and applicable notes or
information from the sales personnel managers.

        4.     Reporting and Follow-up. Personnel conducting the Speaker Program
Audits, Observations, and Records Reviews shall have access to all relevant records and
information necessary to assess potential or actual compliance violations. Results from
the FFMP audits, including the identification of potential violations of policies and/or
legal requirements, shall be compiled and reported to the Compliance Officer (or
compliance personnel designee) for review and follow-up as appropriate. In the event
that a potential violation of GSK’s Policies and Procedures or of legal or compliance
requirements, including but not limited to potential off-label promotion, is identified
during any aspect of the FFMP, GSK shall investigate the incident consistent with
established policies and procedures for the handling of investigations and shall take all
necessary and appropriate responsive action (including disciplinary action) and corrective
action, including the disclosure of Reportable Events pursuant to Section III.J above, if
applicable. Any compliance issues identified during a Speaker Program Audit,

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Observation and/or Records Review and any corrective action shall be recorded in the
files of the Compliance Officer (or compliance personnel designee).

       GSK shall include a summary of the FFMP and the results of the FFMP as part of
each Annual Report. As part of each Annual Report, GSK also shall provide the OIG
with copies of the Observation report for any instances in which it was determined that
improper promotion occurred and a description of the action(s) that GSK took as a result
of such determinations. GSK shall make the Observation reports for all other
Observations available to the OIG upon request.

        M. Monitoring of Non-Promotional Activities.

        To the extent not already accomplished, within 120 days after the Effective Date
GSK shall develop and implement a monitoring program for the following types of
activities: (1) consultant arrangement activities; (2) research-related activities; (3)
publication activities; and (4) medical education grants. This program shall be referred to
as the Non-Promotional Monitoring Program.

        1. Consultant Arrangement Activities. To the extent that GSK engages U.S.-based
HCPs or HCIs for services that relate to Promotional Functions or to Product Related
Functions other than for speaker programs, research-related activities, or publication
activities (e.g., as a member of an advisory board or to attend consultant meetings), such
HCPs or HCIs shall be referred to herein as Consultants. GSK shall require all
Consultants to enter written agreements describing the scope of work to be performed, the
fees to be paid, and compliance obligations for the Consultants. Consultants shall be paid
according to a centrally managed, pre-set rate structure that is determined based on a fair-
market value analysis conducted by GSK.

        To the extent not already accomplished, within 120 days after the Effective Date,
GSK shall establish a process to develop annual budgeting plans that identify the business
needs for, and the estimated numbers of, various Consultant engagements and activities to
occur during the following year. The annual Consultant budgeting plans shall also
identify the budgeted amounts to be spent on Consultant-related activities. GSK’s
Monitoring Personnel shall be involved in the review and approval of such budgeting
plans, including any subsequent modification of an approved plan. The purpose of this
review shall be to ensure that Consultant arrangements and related events are used for
legitimate purposes in accordance with applicable GSK Policies and Procedures.


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        To the extent not already accomplished, within 120 days after the Effective Date,
GSK shall establish a process to ensure that a needs assessment has been completed to
justify the retention of a Consultant prior to the retention of the Consultant. The needs
assessment shall identify the business need for the retention of the Consultant and provide
specific details about the consulting arrangement (e.g., information about the numbers
and qualifications of the HCPs or HCIs to be engaged, the agenda for the proposed
meeting, and a description of the proposed work to be done and type of work product to
be generated.) Any deviations from the Consultant budgeting plans shall be documented
in the needs assessment form and shall be subject to review and approval by GSK
Monitoring Personnel.

       To the extent not already accomplished, within 120 days after the Effective Date,
GSK shall amend its policies and procedures in a manner designed to ensure that each
Consultant performed the work for which the Consultant was engaged and that, as
applicable, GSK received the work product generated by the Consultant.

        Within 120 days after the Effective Date, GSK shall establish a Consultant
Monitoring Program through which it shall conduct audits for each Reporting Period
(Consultant Program Audits) of at least 50 Consultant arrangements with HCPs for the
first Reporting Period and 25 Consultant arrangements for subsequent Reporting Periods.
 The Consultant Monitoring Program shall review Consultant arrangements both on a
risk-based targeting approach and on a sampling approach. GSK Monitoring Personnel
conducting the Consultant Program Audits shall review needs assessment documents,
consultant contracts, and materials relating to the program or work of the Consultant
(including work product resulting from any program or event), in order to assess whether
the programs and arrangements were conducted in a manner consistent with GSK’s
Policies and Procedures. Results from the Consultant Program Audits, including the
identification of potential violations of policies, shall be compiled and reported to the
Compliance Officer (or compliance personnel designee) for review and follow-up as
appropriate.

       2. Research-Related Activities. To the extent that GSK engages or supports U.S.-
based HCPs or HCIs to conduct Research (as defined above in Section III.B.3.u), such
HCPs and HCIs shall be referred to collectively as “Researchers”. GSK shall require all
Researchers to enter written agreements describing the scope of the clinical research or
other work to be performed, the fees to be paid or support to be given, and compliance
obligations for the Researchers. Researchers retained to conduct Research shall be paid


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according to a centrally managed, pre-set rate structure that is determined based on a fair-
market value analysis conducted by GSK.

        To the extent not already accomplished, within 120 days after the Effective Date,
GSK shall establish an annual budgeting plan for Researchers that identifies the business
or scientific need or scientific opportunity for, and the estimated numbers of, the various
Researcher engagements and activities to occur during the year. The annual Researcher
budgeting plan shall also identify the budgeted amounts to be spent on Researcher-related
activities during the year. GSK Monitoring Personnel shall be involved in the review and
approval of such budgeting plans, including any subsequent modification of an approved
plan. The purpose of this review shall be to ensure that Research arrangements and
related events are used for legitimate purposes in accordance with GSK Policies and
Procedures.

        To the extent not already accomplished, within 120 days after the Effective Date,
GSK shall establish a process to ensure that a needs assessment has been completed to
justify the retention of the Researcher prior to the retention of the Researcher. The needs
assessment shall identify the business or scientific need for the information to be provided
by the Researcher and provide specific details about the research arrangement (including,
for example, information about the numbers and qualifications of the HCPs or HCIs to be
engaged, a description of the proposed research to be done (including the research
protocol) and type of work product to be generated). Any deviations from the Researcher
budgeting plans shall be documented in the needs assessment form (or elsewhere, as
appropriate) and shall be subject to review and approval by GSK Monitoring Personnel.

      To the extent not already accomplished, within 120 days after the Effective Date,
GSK shall amend its policies and procedures in a manner designed to ensure that each
Researcher performed the work for which the Researcher was engaged.

       Within 120 days after the Effective Date, GSK shall establish a Researcher
Monitoring Program through which it shall conduct audits for each Reporting Period
(Researcher Program Audits). GSK shall review 20 Researcher arrangements with HCPs
or HCIs for the first Reporting Period and 10 Researcher Arrangements for subsequent
Reporting Periods. The Researcher Monitoring Program shall review Researcher
arrangements both on a risk-based targeting approach and on a sampling approach. GSK
Monitoring Personnel conducting the Researcher Program Audits shall review needs
assessment documents, proposal and/or protocol documents, approval documents,
contracts, and payments in order to assess whether the programs and arrangements were

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supported by GSK and performed by the Researchers in a manner consistent with GSK’s
Policies and Procedures. Results from the Researcher Program Audits, including
identification of potential violations of policies, shall be compiled and reported to the
Compliance Officer (or compliance personnel designee) for review and follow-up as
appropriate.

        3. Publication Activities. GSK represents that it generally does not engage HCPs
or HCIs exclusively to produce articles or other publications relating to GSK-Sponsored
Research, and that generally HCPs or HCIs who perform this work do so as part of an
engagement for Research Related Activities. To the extent that, in connection with
Research Related Activities, U.S.-based HCPs or HCIs produce articles or other
publications relating to GSK-Sponsored Research (collectively “Publication Activities”)
such HCPs or HCIs shall be referred to as Authors. GSK shall require all Authors to
enter written agreements describing the terms of the arrangement between GSK and the
Author and compliance obligations of the Authors. Authors shall be paid according to the
centrally managed, pre-set rate structure that is established for Research Related
Activities but will not be paid separately for authorship or other publication-specific
activity (provided that GSK may reimburse travel expenses incurred to make public
presentations of data from GSK-Sponsored Research Studies). If, in a departure from
usual practice, GSK engages an HCP or HCI for a stand-alone project involving the
production of an article or other publication relating to GSK-Sponsored Research (e.g., a
review article summarizing research in a field that includes GSK-Sponsored Research),
GSK will require a written agreement with the same compliance obligations as it requires
of Author generally and will pay for the work according to the centrally managed, pre-set
rate structure as applied to Consultants generally.

       To the extent not already accomplished, within 120 days after the Effective Date,
GSK shall establish a process to develop annual plans that identify the business needs for
and the estimated numbers of various Publication Activities (Publications Plans). The
annual Publications Plan shall also identify the budgeted amounts to be spent on
Publication Activities. GSK’s U.S. compliance personnel shall be involved in the review
and approval of such annual Publications Plans, including any modification of an
approved plan. The purpose of this review shall be to ensure that Publication Activities
and related events are used for legitimate purposes in accordance with GSK Policies and
Procedures.

     To the extent not already accomplished, within 120 days after the Effective Date,
GSK shall establish a needs assessment process for Publication Activities. This process

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shall ensure that a needs assessment has been completed prior to the retention of an
Author for a Publication Activity. The needs assessment shall provide specific details
about Publication Activities to be performed (including a description of the proposed
work to be done, type of work product to be generated, and the purpose for the work.)
Any deviations from the Publications Plan shall be documented in the needs assessment
form (or elsewhere, as appropriate) and shall be subject to review and approval by GSK
Monitoring Personnel.

        Within 120 days after the Effective Date, GSK shall establish a Publication
Monitoring Program through which it shall conduct audits for each Reporting Period of at
least 50 Publication Activities for the first Reporting Period and 25 Publication Activities
for subsequent Reporting Periods. The Publication Monitoring Program shall select
publications for review both on a risk-based targeting approach and on a sampling
approach. GSK Monitoring Personnel conducting the Publication Monitoring Program
shall review needs assessment documents, proposal documents, approval documents,
contracts, payments and materials relating to the Publication Activities (including work
product resulting from the Activities), in order to assess whether the activities were
conducted in a manner consistent with GSK’s Policies and Procedures. Results from the
Publication Monitoring Programs, including the identification of potential violations of
policies, shall be compiled and reported to the Compliance Officer (or compliance
personnel designee) for review and follow-up as appropriate.

               4.      Medical Education Grant Activities. GSK represents that it provides
grants for medical education of HCPs on a limited basis and that it provides such grants
only to educational providers (including academic medical centers, hospital or delivery
systems, or professional medical associations that represent HCPs who deliver patient
care) that satisfy pre-set criteria established by GSK. Potentially eligible educational
providers are selected annually and invited to submit grant proposals for a future fiscal
year. GSK represents that it does not provide funding to any commercial providers of
medical education.

      GSK’s Medical Affairs organization reviews the grant proposals from the potential
providers and makes recommendations for approval based on objective criteria,
compliance policies and procedures, and budget availability. GSK represents that its
commercial organization (including the sales and marketing departments) has no
involvement in, or influence over, the review and approval of medical education grants.
GSK shall continue the medical education grant process described above (or an
equivalent process) throughout the term of the CIA, and shall notify the OIG in writing at

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least 60 days prior to the implementation of any new system subsequent to the Effective
Date.

        To the extent not already accomplished, within 120 days after the Effective Date,
GSK shall establish a Grants Monitoring Program through which it shall conduct audits
for each Reporting Period of at least 10 medical education grants for the first Reporting
Period and 5 medical education grants for subsequent Reporting Periods. The Grants
Monitoring Program shall select grants for review both on a risk-based targeting approach
and on a sampling approach. GSK Monitoring Personnel conducting the Grants
Monitoring Program shall review proposal documents (including grant requests),
approval documents, contracts, payments and materials relating to the grant office’s
review of the requests, and documents and materials relating to the grants and any events
or activities funded through the grants in order to assess whether the activities were
conducted in a manner consistent with GSK’s Policies and Procedures. Results from the
Grant Monitoring Programs, including the identification of potential violations of
policies, shall be compiled and reported to the Compliance Officer (or compliance
personnel designee) for review and follow-up as appropriate.

               5. Follow Up Reviews and Reporting. In the event that a potential violation
of GSK’s Policies and Procedures or of legal or compliance requirements, including but
not limited to potential improper promotion, are identified during any aspect of the Non-
Promotional Monitoring Program, GSK shall investigate the incident consistent with
established Policies and Procedures for the handling of investigations and shall take all
necessary and appropriate responsive action (including disciplinary action) and corrective
action, including the disclosure of Reportable Events pursuant to Section III.J above, if
applicable. Any compliance issues identified during any Non-Promotional Monitoring
Program referenced above, and any corrective action, shall be recorded in the files of the
U.S. Compliance Department.

        GSK shall include a summary of the Non-Promotional Monitoring Program and
the results of the Non-Promotional Monitoring Program as part of each Annual Report.
As part of each Annual Report, GSK also shall provide the OIG with descriptions of any
instances identified through the Non-Promotional Monitoring Program in which it was
determined that improper promotion of Government Reimbursed Products occurred or the
activities violated GSK’s requirements or Policies and Procedures, and a description of
the action(s) that GSK took as a result of such determinations. GSK shall make the
documents relating to the Non-Promotional Monitoring Program available to the OIG
upon request.

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       N. Notices to Health Care Providers, Entities, Payers. Within 90 days after the
Effective Date, GSK shall send, by first class mail, postage prepaid with delivery
confirmation, a notice containing the language set forth below to all HCPs and HCIs that
GSK currently details. This notice shall be dated and shall be signed by GSK’s President.
The body of the letter shall state the following:

                As you may be aware, GSK recently entered into a global civil, criminal,
                and administrative settlement with the United States and individual states in
                connection with the promotion and use of some of its products. This letter
                provides you with additional information about the settlement, explains
                GSK’s commitments going forward, and provides you with access to
                information about those commitments.

                In general terms, the Government alleged that GSK unlawfully promoted
                Wellbutrin, Paxil, Advair, Lamictal, and Zofran for uses not approved by
                the Food & Drug Administration (FDA) and that GSK engaged in other
                improper conduct relating to several of its other drugs including Avandia.
                To resolve these matters, GSK pled guilty to three misdemeanor criminal
                violations of the Federal Food, Drug & Cosmetic Act and agreed to pay a
                criminal fine of $1 billion. In addition, the Government alleged that GSK
                violated the False Claims Act and GSK entered into three civil settlements
                to resolve these allegations pursuant to which GSK agreed to pay $ 2 billion
                to the Federal Government and State Medicaid programs. More
                information about this settlement may be found at the following: [GSK
                shall include a link to the USAO, OCL, and GSK websites in the letter.]

                As part of the federal settlement, GSK also entered into a five-year
                corporate integrity agreement (CIA) with the Office of Inspector General of
                the U.S. Department of Health and Human Services. The CIA is available
                at http://oig.hhs.gov/fraud/cia/index.html. Under this agreement, GSK
                agreed to undertake certain obligations designed to promote compliance
                with Federal health care program and FDA requirements. We also agreed
                to notify healthcare providers about the settlement and inform them that
                they can report any questionable practices by GSK’s representatives to
                GSK’s Compliance Department or the FDA.

                GSK is fully committed to meeting the terms of the CIA and to sales and
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                marketing practices that promote compliance. We have fundamentally
                changed our procedures for compliance, marketing and selling in the United
                States. For example, we now compensate our medical sales representatives
                based on the quality of service they deliver to customers, not on sales
                targets.

                Please call GSK at XXXX or visit us at [insert name of web link] if you
                have questions about the settlement referenced above or to report any
                instances in which you believe that a GSK representative inappropriately
                promoted a product or engaged in other questionable conduct.
                Alternatively, you may report any improper conduct associated with
                prescription drug marketing committed by a GSK representative to the
                FDA’s Office of Prescription Drug Promotion at 301-796-1200. You should
                direct medical questions or concerns about the products to XXXXX.

Within 90 days after the Effective Date, GSK shall send to all Payers with whom GSK
currently has contracts or enters into contracts for formulary access or rebates (including
all state Medicaid programs), by first class mail, postage prepaid with delivery
confirmation, a notice containing the language set forth. This notice shall be dated and
shall be signed by GSK’s President. The body of the letter shall state the following:

                As you may be aware, GSK recently entered into a global civil, criminal,
                and administrative settlement with the United States and individual states in
                connection with the promotion and of some of its products. This letter
                provides you with additional information about the settlement, explains
                GSK’s commitments going forward, and provides you with access to
                information about those commitments.

                In general terms, the Government alleged that GSK unlawfully promoted
                Wellbutrin, Paxil, Advair, Lamictal, and Zofran for uses not approved by
                the Food & Drug Administration (FDA) and that GSK engaged in other
                improper conduct relating to several of its other drugs including Avandia.
                To resolve these matters, GSK pled guilty to three misdemeanor criminal
                violations of the Federal Food, Drug & Cosmetic Act (FDCA) and agreed
                to pay a criminal fine of $ 1 billion. In addition, the Government alleged
                that GSK violated the False Claims Act and GSK entered into three civil
                settlements to resolve these allegations pursuant to which GSK agreed to
                pay $ 2 billion to the Federal Government and State Medicaid programs.
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                More information about this settlement may be found at the following:
                [GSK shall include a link to the USAO, OCL, and GSK websites in the
                letter.]

                As part of the federal settlement, GSK also entered into a five-year
                corporate integrity agreement (CIA) with the Office of Inspector General of
                the U.S. Department of Health and Human Services. The CIA is available
                at http://oig.hhs.gov/fraud/cia/index.html. Under this agreement, GSK
                agreed to undertake certain obligations designed to promote compliance
                with Federal health care program and FDA requirements. We also agreed
                to notify payers about the settlement and inform them that they can report
                any questionable practices by GSK’s representatives to GSK’s Compliance
                Department or the FDA.

                GSK is fully committed to meeting the terms of the CIA and to sales and
                marketing practices that promote compliance. We have fundamentally
                changed our procedures for compliance, marketing and selling in the United
                States. For example, we now compensate our medical sales representatives
                based on the quality of service they deliver to customers, not on sales
                targets.

                In addition, GSK is committed to promoting its products in a manner
                consistent with the FDA approved label for the product. GSK will pay
                rebates under applicable agreements (Rebates) involving a prior
                authorization or formulary requirement (a “Restriction”) in relation to the
                drugs at issue in this settlement, and will not reduce or alter its Rebates due
                to such a Restriction, provided that the Restriction: (1) does not limit any
                patient from receiving such drugs, including at the point of sale, for uses
                that are consistent with the FDA-approved label for each product; (2) is
                applied consistently across the therapeutic class; (3) is consistent with
                GSK’s policies, procedures and financial guidelines; and, (4) does not
                require the use of another manufacturer’s drug for a use that is not
                consistent with the FDA approved label for the other product. This
                paragraph shall not be interpreted to require GSK to contract or not to
                contract with any Payer. GSK shall administer its agreements with Payers
                in a manner consistent with the requirements of this paragraph, including
                agreeing to amend or modify applicable agreements to be consistent with
                this provision.

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                Please call GSK at XXXX or visit us at [insert name of web link] if you
                have questions about the settlement referenced above or to report any
                instances in which you believe that a GSK representative inappropriately
                promoted a product or engaged in other questionable conduct.
                Alternatively, you may report any improper conduct associated with
                prescription drug marketing committed by a GSK representative to the
                FDA’s Office of Prescription Drug Promotion at 301-796-1200. You should
                direct medical questions or concerns about the products to XXXXX.

        The Compliance Officer (or a designee) shall maintain a log of all calls and
messages received in response to the notices. The log shall include a record and summary
of each call and message received (whether anonymous or not), the status of the call or
message, and any corrective action taken in response to the call or message. The log of
all calls and messages received in response to the notices shall be made available to OIG
upon request. As part of the Implementation Report and each Annual Report, GSK shall
provide to the OIG a summary of the calls and messages received.

        O. Reporting of Physician Payments.

        Prior to the Effective Date, GSK began a voluntary Physician Payment
Transparency Program through which GSK posted on its corporate website quarterly
reports of payments to physicians for speaking and consulting fees. GSK shall continue
to post such reports until the Annual Reporting requirements of Section III.O.1 take
effect.

                1.       Reporting of Payment Information.

       Quarterly Reporting: On or before March 1, 2013, GSK shall post in a prominent
position on its website an easily accessible and readily searchable listing of all U.S.-based
physicians and Related Entities who or which received Payments (as defined in Section
III.O.2) directly or indirectly from GSK during the fourth quarter of 2012 and the
aggregate value of such Payments. Thereafter, 60 days after the end of each calendar
quarter, GSK shall post on its website a report of the cumulative value of the Payments
provided to each physician and Related Entity during the preceding calendar quarter.

      Annual Reporting: On or before March 1, 2013, and 60 days after the end of each
subsequent calendar year, GSK shall post on its website a report of the cumulative value
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of the Payments provided to all U.S.-based physicians and Related Entities directly or
indirectly from GSK during the prior applicable calendar year. Each quarterly and annual
report shall be easily accessible and readily searchable.

        Each listing made pursuant to this Section III.O shall include a complete list of all
individual physicians or Related Entities to whom or which GSK made Payments in the
preceding quarter or year (as applicable). Each listing shall be arranged alphabetically
according to the physicians’ last name or name of Related Entity. The Payment amounts
in the lists shall be reported in the actual amount paid for all physicians or Related Entity
on the listing. For each physician, the applicable listing shall include the following
information: i) physician’s full name; ii) name of any Related Entities (if applicable); iii)
city and state that the physician has provided to GSK for contact purposes; and (iv) the
aggregate value of the payment(s) in the preceding quarter or year (as applicable). If
payments for multiple physicians have been made to one Related Entity, the aggregate
value of all payments to the Related Entity will be the reported amount.

                2.       Definitions and Miscellaneous Provisions.

                       (i)   GSK shall continue to make each annual listing and the most
recent quarterly listing of Payments available on its website during the term of the CIA.
GSK shall retain and make available to OIG, upon request, all supporting documentation,
correspondence, and records related to all applicable Payments and to the annual and/or
quarterly listings of Payments. Nothing in this Section III.O affects the responsibility of
GSK to comply with (or liability for noncompliance with) all applicable Federal health
care program requirements and state laws as they relate to all applicable Payments made
to physicians or Related Entity.

                      (ii)   For purposes of Section III.O.1, “Payments” is defined to
include all “payments or other transfers of value” as that term is defined in §1128G(e)(10)
under Section 6002 of the Affordable Care Act and any regulations promulgated
thereunder. The term Payments includes, by way of example, the types of payments or
transfers of value enumerated in §1128G(a)(1)(A)(vi) of the Affordable Care Act. The
term includes all payments or transfers of value made to Related Entities on behalf of, at
the request of, for the benefit or use of, or under the name of a physician for whom GSK
would otherwise report a Payment if made directly to the physician. The term Payments
also includes any payments or transfers of value made, directly by GSK or by a vendor
retained by GSK to a physician or Related Entity in connection with, or under the
auspices of, a co-promotion arrangement.

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                      (iii) For purposes of its annual and quarterly website postings as
described above, and only with regard to payments made pursuant to product research or
development agreements and clinical investigations as set forth in § 1128G(c)(E) of the
Affordable Care Act, GSK may delay the inclusion of such payments on its website
listings consistent with § 1128G(c)(E) of the Act and any subsequent regulations
promulgated thereunder.

                      (iv) The term “Payments” does not include transfers of value or
other items that are not included in or are excluded from the definition of “payment” as
set forth in § 1128G(e)(10) under Section 6002 of the Affordable Care Act and any
regulations promulgated thereunder.

                      (v)    For purposes of this Section III.O, the term “Related Entity”
is defined to be any entity by or in which any physician receiving Payments is employed,
has tenure, or has an ownership interest.

        P. Other Transparency/Disclosure Initiatives.

              GSK represents that it posts on its company website the following
information with respect to both grants and charitable contributions in the United States:
GSK shall continue to post (and provide updates to) the above-described information
about grants and charitable contributions throughout the term of this CIA. GSK shall
notify the OIG in writing at least 60 days prior to any change in the substance of its
policies regarding the funding of grants and charitable contributions or posting of the
above-referenced information relating to such funding.

        GSK shall require all Consultants to comply fully with all applicable disclosure
obligations relating to their relationship with GSK that may be externally imposed on the
Consultants based on their affiliation with formulary or P&T committees or committees
associated with the development of treatment protocols or standards. GSK shall maintain
this requirement throughout the term of this CIA. GSK represents that within 120 days
after the Effective Date, GSK shall, if necessary, amend its policies relating to
Consultants to explicitly state that GSK requires all Consultants to fully comply with all
applicable disclosure obligations relating to their relationship with GSK that may be
externally imposed on the Consultants based on their affiliation with formulary, P&T
committees, or committees associated with the development of treatment protocols or
standards or that are required by any HCI, medical committee, or other medical or
scientific organization with which the Consultants are affiliated. In addition, for any

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amendment to its contracts with Consultants and in any new contracts with Consultants
entered into after 150 days following the Effective Date, GSK shall include an explicit
requirement that the Consultants fully comply with all applicable disclosure requirements,
as referenced above in this paragraph. GSK shall continue these disclosure requirements
throughout the term of this CIA.

             To the extent not already accomplished, within 120 days after the Effective
Date, GSK shall post or make available information on its company website about FDA
postmarketing commitments (PMCs). The GSK website or links included therein shall
provide access to general information about the PMC process, descriptions of ongoing
GSK studies, and information about the nature and status of the post-marketing
commitments. GSK shall continue to post or make available the above-described
information about PMCs on its website or links included therein throughout the term of
this CIA.

IV.     CHANGES TO BUSINESS UNITS OR LOCATIONS

       A. Change or Closure of Unit or Location. In the event that, after the Effective
Date, GSK changes locations or closes a business unit or location related to or engaged in
any of the Covered Functions or in CGMP Activities, GSK shall notify OIG of this fact as
soon as possible, but no later than within 30 days after the date of change or closure of the
location.

        B. Purchase or Establishment of New Unit or Location. In the event that, after the
Effective Date, GSK purchases or establishes a new business unit or location related to or
engaged in any of the Covered Functions or in cGMP Activities, GSK shall notify OIG no
later than five days after the date that the purchase or establishment of the new business
unit or location is publicly disclosed by GSK. This notification shall include the address
of the new business unit or location, phone number, fax number, the location’s Federal
health care program provider number and/or supplier number(s) (if applicable); and the
name and address of each Federal health care program contractor to which GSK currently
submits claims (if applicable). Each new business unit or location and all Covered
Persons or Manufacturing Covered Persons at each new business unit or location shall be
subject to the applicable requirements of this CIA.

       C. Sale of Unit or Location. In the event that, after the Effective Date, GSK
proposes to sell any or all of its business units or locations that are subject to this CIA
(including the terms of Appendix D), GSK shall notify OIG of the proposed sale at no

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later than five days after the sale is publicly disclosed by GSK. This notification shall
include a description of the business unit or location to be sold, a brief description of the
terms of the sale, and the name and contact information of the prospective purchaser.
This CIA shall be binding on the purchaser of such business unit or location, unless
otherwise determined and agreed to in writing by the OIG.

V.      IMPLEMENTATION AND ANNUAL REPORTS

       A. Implementation Report. Within 150 days after the Effective Date, GSK shall
submit a written report to OIG summarizing the status of its implementation of the
requirements of this CIA (Implementation Report). The Implementation Report shall, at a
minimum, include:

              1. the name, address, phone number, and position description of the
Compliance Officer required by Section III.A.1, and a summary of other noncompliance
job responsibilities the Compliance Officer may have;

              2. the names and positions of the members of the Compliance Committee
required by Section III.A.2;

              3. the names of the members of the Board of Directors referenced in
Section III.A.3;

                4. the names of the DCOs required by Section III.A.4;

                5. the names and positions of the Certifying Employees required by Section
III.A.6;
                6. a copy of GSK’s Code of Conduct required by Section III.B.1;

               7. the number of individuals required to complete the Code of Conduct
certification required by Section III.B.1, the percentage of individuals who have
completed such certification, and an explanation of any exceptions (the documentation
supporting this information shall be available to OIG, upon request);

               8. (a) a copy of the letter (including all attachments) required by Section
II.C.9 and III.B.2 sent to each party employing Third Party Personnel; (b) a list of all
existing co-promotion and other applicable agreements between GSK and the party


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employing Third Party Personnel; and (c) a description of each entity’s response to
GSK’s letter;

             9. a summary of all Policies and Procedures required by Section III.B.3 (a
copy of such Policies and Procedures shall be made available to OIG upon request);

                 10. the following information regarding each type of training required by
Section III.C:

                          a. a description of such training, including a summary of the topics
                          covered, the length of sessions, and a schedule of training sessions;
                          and

                          b. the number of individuals required to participate in General
                          Training and Board Member Training, percentage of individuals
                          actually trained, and an explanation of any exceptions.

A copy of all training materials and the documentation supporting this information shall
be available to OIG, upon request.2

              11. the following information regarding the IRO(s): (a) identity, address,
and phone number; (b) a copy of the engagement letter; and (c) information to
demonstrate that the IRO has the qualifications outlined in Appendix A; (d) a summary
and description of any and all current and prior engagements and agreements between
GSK and the IRO; and (e) a certification from the IRO regarding its professional
independence and objectivity with respect to GSK;

                 12. a description of the Disclosure Program required by Section III.F;

              13. a description of the process by which GSK fulfills the requirements of
Section III.G regarding Ineligible Persons;

              14. a certification by the Compliance Officer that the notices required by
Section III.N was mailed to each HCP, HCI, and Payer, the number of HCPs, HCIs and

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 In Addition to the Implementation Report, GSK shall submit to OIG by January 30, 2013 a letter containing the
information specified in Section V.A.10 as it pertains to Specific Training and Management Training as required by
Section III.C.

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Payers to whom or which the notice was mailed, a sample copy of the notices required by
Section III.N, and a summary of the calls or messages received in response to the notices;

              15. a certification from the Compliance Officer that, if required under
Section III.O and to the best of his/her knowledge, information regarding Payments has
been posted on GSK’s website as required by Section III.O;

              16. a list of all of GSK’s locations (including locations and mailing
addresses); the corresponding name under which each location is doing business; the
corresponding phone numbers and fax numbers; each location’s Federal health care
program provider number and/or supplier number(s) (if applicable); and the name and
address of any each Federal health care program contractor to which GSK currently
submits claims (if applicable);

             17. a description of GSK’s corporate structure, including identification of
any parent and sister companies, subsidiaries, and their respective lines of business; and

                18. the certifications required by Section V.D.

        B. Annual Reports. GSK shall submit to OIG annually a report with respect to the
status of, and findings regarding, GSK’s compliance activities for each of the five
Reporting Periods (Annual Report).

Each Annual Report shall include, at a minimum:

              1. any change in the identity, position description, or other noncompliance
job responsibilities of the Compliance Officer and any change in the membership of the
Compliance Committee, the Board of Directors, the DCOs or the group of Certifying
Employees described in Sections III.A.2-4 and 6;

                2. a copy of the resolution by the Board required by Section III.A.3;

             3. the number of individuals required to review GSK’s Code of Conduct
and complete the certifications required by Section III.B.1, the percentage of individuals
who have completed such certifications, and an explanation of any exceptions (the
documentation supporting this information shall be available to OIG, upon request);



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               4. (a) a copy of the letter (including all attachments) required by Section
II.C.9 and III.B.2 sent to each party employing Third Party Personnel; (b) a list of all
existing co-promotion and other applicable agreements between GSK and the party
employing Third Party Personnel; and (c) a description of each entity’s response to
GSK’s letter;

               5. a summary of any significant changes or amendments to the Policies and
Procedures required by Section III.B, including any changes to the Research and
Publication Practices and Authorship-Related Practices, and the reasons for such changes
(e.g., change in applicable requirements);

                 6. the following information regarding each type of training required by
Section III.C:

                         a. a description of the initial and annual training, including a
                         summary of the topics covered, the length of sessions, and a
                         schedule of training sessions; and

                         b. the number of individuals required to complete each type of
                         training specified in Section III.C, percentage of individuals who
                         completed the training, and an explanation of any exceptions.

A copy of all training materials and the documentation supporting this information shall
be available to OIG, upon request.

              7. a summary of any significant changes to the TRACER program required
by Section III.D;

            8. a complete copy of all reports prepared pursuant to Section III.E, and
Appendices B-C along with a copy of the IRO’s engagement letters;

               9. GSK’s response to the reports prepared pursuant to the reviews outlined
in Section III.E and Appendices B-C, along with corrective action plan(s) related to any
issues raised by the reports;

              10. a summary and description of any and all current and prior
engagements and agreements between GSK and the IRO (if different from what was
submitted as part of the Implementation Report);
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              11. certifications from the IRO regarding its professional independence and
objectivity with respect to GSK;

                12. a summary of the disclosures in the disclosure log required by Section
III.F that relate to Federal health care programs, FDA requirements (including CGMP
Activities), or Government Reimbursed Products;

              13. any changes to the process by which GSK fulfills the requirements of
Section III.G regarding Ineligible Persons;

              14. a summary of any changes to GSK’s employee and executive incentive
compensation and recoupment programs required by Section III.H and Appendix E and
the information regarding Triggering Events and Recoupment Determinations required to
be reported pursuant to Section E of Appendix E;

               15. a summary describing any ongoing investigation or legal proceeding
required to have been reported pursuant to Section III.I. The summary shall include a
description of the allegation, the identity of the investigating or prosecuting agency, and
the status of such investigation or legal proceeding;

                16. a summary of Reportable Events (as defined in Section III.J) identified
during the Reporting Period and the status of any corrective and preventative action
relating to all such Reportable Events;

              17. a summary describing any written communication with the FDA
required to have been reported pursuant to Section III.K. This summary shall include a
description of the matter and the status of the matter;

               18. a summary of the FFMP and the results of the FFMP required by
Section III.L, including copies of the Observation report for any instances in which it was
determined that improper promotion occurred and a description of the action(s) that GSK
took as a result of such determinations;

              19. a summary of the Non-Promotional Monitoring Program and the results
of the program described in Section III.M, including detailed description of any identified
instances in which it was determined that the activities violated GSK’s policies or that
improper promotion of Government Reimbursed Products occurred and a description of

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the action(s) GSK took as a result of such determinations;

             20. a summary of the calls and messages received in response to the notices
required by Section III.N and the disposition of those calls and messages;

            21. a certification from the Compliance Officer that information regarding
Payments has been posted on GSK’s website as required by Section III.O;

              22. a description of all changes to the most recently provided list of GSK’s
locations (including addresses) as required by Section V.A.16; the corresponding name
under which each location is doing business; and the corresponding phone numbers and
fax numbers;

               23. a description of any additional, updated, supplemental or changed
information submitted to any Compendia in accordance with Section III.B.3.t; and a
description of all arrangements, processing fees, and other payments or financial support
(if any) with or made to any Compendia evaluated during the annual review described in
Section III.B.3.t; and

                24. the certifications required by Section V.D.

       The first Annual Report shall be received by OIG no later than 60 days after the
end of the first Reporting Period. Subsequent Annual Reports shall be received by OIG
no later than the anniversary date of the due date of the first Annual Report.

       C. IRO Initial Report. By March 1, 2013, GSK shall submit to OIG a report with
respect to the status of, and findings regarding, the IRO Reviews for the first IRO
Reporting Period (IRO Initial Report).

        The IRO Initial Report shall include at a minimum:

            1. a complete copy of all reports prepared pursuant to Section III.E, and
Appendix B along with a copy of the IRO’s engagement letters;

               2. GSK’s response to the reports prepared pursuant to the reviews outlined
in Section III.E and Appendix B, along with corrective action plan(s) related to any issues
raised by the reports;


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             3. a summary and description of any and all current and prior engagements
and agreements between GSK and the IRO (if different from what was submitted as part
of the Implementation Report);

              4. certifications from the IRO regarding its professional independence and
objectivity with respect to GSK;

        D. Certifications.

               1. Certifying Employees: In each Annual Report, GSK shall include the
certifications of Certifying Employees as required by Section III.A.6;

            2. Compliance Officer: In the Implementation Report, and each Annual
Report, GSK shall include the following individual certification by the Compliance
Officer:

             a. to the best of his or her knowledge, except as otherwise described in the
report, GSK is in compliance with the requirements of this CIA;

               b. he or she has reviewed the report and has made reasonable inquiry
regarding its content and believes that the information in the report is accurate and
truthful;

               c. to the best of his or her knowledge, GSK has complied with its
obligations under the Settlement Agreement: (1) not to resubmit to any Federal health
care program Payers any previously denied claims related to the Covered Conduct
addressed in the Settlement Agreement, and not to appeal any such denials of claims; (2)
not to charge to or otherwise seek payment from federal or state Payers for unallowable
costs (as defined in the Settlement Agreement); and (3) to identify and adjust any past
charges or claims for unallowable costs;

              d. GSK’s: (1) Policies and Procedures as referenced in Section III.B.3
above; (2) templates for standardized contracts and other similar documents; and (3) the
training materials used for purposes of Section III.C all have been reviewed by competent
legal counsel and have been found to be in compliance with all applicable Federal health
care program and FDA requirements. In addition, GSK’s promotional materials
containing claims or information about Government Reimbursed Products and other
materials and information intended to be disseminated outside GSK have been reviewed

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by competent regulatory, medical, or, as appropriate, legal counsel in accordance with
applicable Policies and Procedures to ensure that legal, medical, and regulatory concerns
have been addressed by GSK and brought to the attention of the appropriate individuals
when required, and that the materials and information when finally approved are in
compliance with all applicable Federal health care program and FDA requirements. If the
applicable legal requirements have not changed, after the initial review of the documents
listed above, only material changes to the documents must be reviewed by competent
legal counsel. The certification shall include a description of the document(s) reviewed
and approximately when the review was completed. The documentation supporting this
certification shall be available to OIG, upon request;

               e. GSK’s Target Plans for Government Reimbursed Products were
reviewed at least once during the Reporting Period (consistent with Section III.B.3.j) and,
for each product the Target Plans were found to be consistent with GSK’s policy
objectives as referenced above in Section III.B.3.j; and

            f. GSK has maintained an employee and executive incentive compensation
and recoupment program in accordance with the terms set forth above in Section III.H
and Appendix E.

              3. Certification for the IRO Initial Report: In the IRO Initial Report, GSK
shall include an individual certification by the Compliance Officer that he or she has
reviewed the report and has made reasonable inquiry regarding its content and believes
the information in the report is accurate and truthful.

        E. Designation of Information. GSK shall clearly identify any portions of its
submissions that it believes are trade secrets, or information that is commercial or
financial and privileged or confidential, and therefore potentially exempt from disclosure
under the Freedom of Information Act (FOIA), 5 U.S.C. § 552. GSK shall refrain from
identifying any information as exempt from disclosure if that information does not meet
the criteria for exemption from disclosure under FOIA.




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VI.     NOTIFICATIONS AND SUBMISSION OF REPORTS

       Unless otherwise stated in writing after the Effective Date, all notifications and
reports required under this CIA shall be submitted to the following entities:

                OIG:            Administrative and Civil Remedies Branch
                                Office of Counsel to the Inspector General
                                Office of Inspector General
                                U.S. Department of Health and Human Services
                                Cohen Building, Room 5527
                                330 Independence Avenue, S.W.
                                Washington, DC 20201
                                Telephone: 202.619.2078
                                Facsimile: 202.205.0604

                GSK:            Michael L. Shaw
                                Vice President & Compliance Officer
                                 North America Pharmaceuticals
                                GlaxoSmithKline
                                Three Franklin Plaza
                                200 N. 16th Street
                                Philadelphia, PA 19102
                                Telephone: 215.751.7337
                                Facsimile: 215.751.7547

Unless otherwise specified, all notifications and reports required by this CIA may be
made by certified mail, overnight mail, hand delivery, or other means, provided that there
is proof that such notification was received. For purposes of this requirement, internal
facsimile confirmation sheets do not constitute proof of receipt. Upon request by OIG,
GSK may be required to provide OIG with an electronic copy of each notification or
report required by this CIA in searchable portable document format (pdf), either instead
of or in addition to, a paper copy.

VII.    OIG INSPECTION, AUDIT, AND REVIEW RIGHTS

       In addition to any other rights OIG may have by statute, regulation, or contract,
OIG or its duly authorized representative(s) may examine or request copies of GSK’s or
an applicable GSK Affiliate’s books, records, and other documents and supporting
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materials and/or conduct on-site reviews of any of GSK’s locations for the purpose of
verifying and evaluating: (a) GSK’s or an applicable GSK Affiliate’s compliance with
the terms of this CIA (including Appendix D); and (b) GSK’s or an applicable GSK
Affiliate’s compliance with the requirements of the Federal health care programs in which
it participates and with all applicable FDA requirements (including CGMP Activities).
The documentation described above shall be made available by GSK or the applicable
GSK Affiliate to OIG or its duly authorized representative(s) at all reasonable times for
inspection, audit, or reproduction. Furthermore, for purposes of this provision, OIG or its
duly authorized representative(s) may interview any of GSK’s or the applicable GSK
Affiliate’s employees, contractors, or agents who consent to be interviewed at the
individual’s place of business during normal business hours or at such other place and
time as may be mutually agreed upon between the individual and OIG. GSK or the
applicable GSK Affiliate shall assist OIG or its duly authorized representative(s) in
contacting and arranging interviews with such individuals upon OIG’s request. GSK’s or
the applicable GSK Affiliate’s employees may elect to be interviewed with or without a
representative of GSK or the applicable GSK Affiliate present.

VIII. DOCUMENT AND RECORD RETENTION

       GSK and its Affiliates shall maintain for inspection all documents and records
relating to reimbursement from the Federal health care programs and to compliance with
this CIA (including Appendix D) until the end of 2018 (or longer if otherwise required by
law) from the Effective Date.

IX.     DISCLOSURES

       Consistent with HHS’s FOIA procedures, set forth in 45 C.F.R. Part 5, OIG shall
make a reasonable effort to notify GSK prior to any release by OIG of information
submitted by GSK pursuant to its obligations under this CIA and identified upon
submission by GSK as trade secrets, or information that is commercial or financial and
privileged or confidential, under the FOIA rules. With respect to such releases, GSK
shall have the rights set forth at 45 C.F.R. § 5.65(d).

X.      BREACH AND DEFAULT PROVISIONS

        GSK is expected to fully and timely comply with all of the CIA obligations.



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       A. Stipulated Penalties for Failure to Comply with Certain Obligations. As a
contractual remedy, GSK and OIG hereby agree that failure to comply with certain
obligations as set forth in this CIA may lead to the imposition of the following monetary
penalties (hereinafter referred to as “Stipulated Penalties”) in accordance with the
following provisions.

               1. A Stipulated Penalty of $2,500 (which shall begin to accrue on the day
after the date the obligation became due) for each day GSK fails to establish and
implement any of the following obligations as described in Section III:

                         a. a Compliance Officer;

                         b. a Compliance Committee;

                         c. the Board compliance obligations, including the resolution from
                         the Board;

                         d. the management accountability and certification obligations;

                         e. a written Code of Conduct;

                         f. written Policies and Procedures;

                         g. the training of Covered Persons, Relevant Covered Persons,
                         Management, and Board Members;

                         h. a TRACER program;

                         i. a Disclosure Program;

                         j. Ineligible Persons screening and removal requirements;

                         k. an employee and executive incentive compensation and
                         recoupment program as required by Section III.H and Appendix E;

                         l. notification of Government investigations or legal proceedings as
                         required by Section III.I;


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                         m. reporting of Reportable Events as required in Section III.J;

                         n. notification of written communications with FDA as required by
                         Section III.K;

                         o. a program for FFMP as required by Section III.L;

                         p. a program for Non-Promotional Monitoring Program as required
                         by Section III.M;

                         q. notifications to HCPs, HCIs, and Payers as required by Section
                         III.N; and

                         r. posting of any Payments as required by Section III.O.

               2. A Stipulated Penalty of $2,500 (which shall begin to accrue on the day
after the date the obligation became due) for each day GSK fails to engage and use an
IRO as required in Section III.E and Appendices A-C.

               3. A Stipulated Penalty of $2,500 (which shall begin to accrue on the day
after the date the obligation became due) for each day GSK fails to submit the
Implementation Report or any Annual Report to OIG in accordance with the requirements
of Section V of the CIA or of Appendix D by the deadlines for submission.

               4. A Stipulated Penalty of $2,500 (which shall begin to accrue on the day
after the date the obligation became due) for each day GSK fails to submit any IRO
Review report (including the IRO Initial Report) in accordance with the requirements of
Sections III.E and III.V and Appendices A-C.

               5. A Stipulated Penalty of $2,500 (which shall begin to accrue on the day
after the date the obligation became due) for each day GSK fails to establish and
implement any of the following obligations as described in Section III of Appendix D:

                         a. a GMS Compliance Officer;

                         b. a GMS Compliance Committee;

                         c. the Board compliance obligations, including the resolution from
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                         the Board;

                         d. a written Code of Conduct;

                         e. written Policies and Procedures;

                         f. the training of Manufacturing Covered Persons;

                         g. cGMP Requirements;

                         h. reporting of Manufacturing Reportable Events; or

                         i. reporting of a recall under Section III.F of Appendix D.

                6. A Stipulated Penalty of $1,500 for each day GSK or a GSK Affiliate
fails to grant access as required in Section VII. (This Stipulated Penalty shall begin to
accrue on the date GSK or a GSK Affiliate fails to grant access.)

              7. A Stipulated Penalty of $5,000 for each false certification submitted by
or on behalf of GSK as part of its Implementation Report, the IRO Initial Report, or any
Annual Report, additional documentation to a report (as requested by the OIG), or
otherwise required by this CIA.

             8. A Stipulated Penalty of $10,000 for each day that GSK fails to timely
submit any report required under Section III.D.3.a or III.D.3.b of Appendix D.

              9. A Stipulated Penalty of $10,000 for each lot of each Covered Product for
each day that GSK fails to initiate a recall for specified lots under Section III.D of
Appendix D after receipt of a Final Determination.

              10. A Stipulated Penalty of $10,000 for each lot of each Covered Product
for each day that GSK fails to complete a recall within a deadline established in the Final
Determination for specified lots under Section III.D of Appendix D.

              11. A Stipulated Penalty of $1,000 for each day GSK or a GSK Affiliate
fails to comply fully and adequately with any obligation of this CIA. OIG shall provide
notice to GSK or a GSK Affiliate stating the specific grounds for its determination that
GSK or a GSK Affiliate has failed to comply fully and adequately with the CIA
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obligation(s) at issue and steps GSK or a GSK Affiliate shall take to comply with the
CIA. (This Stipulated Penalty shall begin to accrue 10 days after GSK or a GSK Affiliate
receives this notice from OIG of the failure to comply.) A Stipulated Penalty as described
in this Subsection shall not be demanded for any violation for which OIG has sought a
Stipulated Penalty under Subsections 1- 10 of this Section.

       B. Timely Written Requests for Extensions. GSK may, in advance of the due
date, submit a timely written request for an extension of time to perform any act or file
any notification or report required by this CIA. Notwithstanding any other provision in
this Section, if OIG grants the timely written request with respect to an act, notification,
or report, Stipulated Penalties for failure to perform the act or file the notification or
report shall not begin to accrue until one day after GSK fails to meet the revised deadline
set by OIG. Notwithstanding any other provision in this Section, if OIG denies such a
timely written request, Stipulated Penalties for failure to perform the act or file the
notification or report shall not begin to accrue until three business days after GSK
receives OIG’s written denial of such request or the original due date, whichever is later.
A “timely written request” is defined as a request in writing received by OIG at least five
business days prior to the date by which any act is due to be performed or any notification
or report is due to be filed.

        C. Payment of Stipulated Penalties.

               1. Demand Letter. Upon a finding that GSK has failed to comply with any
of the obligations described in Section X.A and after determining that Stipulated Penalties
are appropriate, OIG shall notify GSK of: (a) GSK’s failure to comply; and (b) OIG’s
exercise of its contractual right to demand payment of the Stipulated Penalties (this
notification is referred to as the “Demand Letter”).

               2. Response to Demand Letter. Within 10 days after the receipt of the
Demand Letter, GSK shall either: (a) cure the breach to OIG’s satisfaction and pay the
applicable Stipulated Penalties or (b) request a hearing before an HHS administrative law
judge (ALJ) to dispute OIG’s determination of noncompliance, pursuant to the agreed
upon provisions set forth below in Section X.E. In the event GSK elects to request an
ALJ hearing, the Stipulated Penalties shall continue to accrue until GSK cures, to OIG’s
satisfaction, the alleged breach in dispute. Failure to respond to the Demand Letter in one
of these two manners within the allowed time period shall be considered a material breach
of this CIA and shall be grounds for exclusion under Section X.D.


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              3. Form of Payment. Payment of the Stipulated Penalties shall be made by
electronic funds transfer to an account specified by OIG in the Demand Letter.

              4. Independence from Material Breach Determination. Except as set forth
in Section X.D.1.d, these provisions for payment of Stipulated Penalties shall not affect or
otherwise set a standard for OIG’s decision that GSK has materially breached this CIA,
which decision shall be made at OIG’s discretion and shall be governed by the provisions
in Section X.D, below.

        D. Exclusion for Material Breach of this CIA.

                1. Definition of Material Breach. A material breach of this CIA means:

                         a. a repeated or flagrant violation of the obligations under this CIA,
                         including, but not limited to, the obligations addressed in Section
                         X.A;

                         b. a failure by GSK to report a Reportable Event and take corrective
                         action as required in Section III.J of the CIA or Section III.E of
                         Appendix D;

                         c. a failure to engage and use an IRO in accordance with Section
                         III.E and Appendices A-C;

                         d. a failure to respond to a Demand Letter concerning the payment
                         of Stipulated Penalties in accordance with Section X.C;

                         e. a failure of the Board to issue a resolution in accordance with
                         Section III.A.3 of the CIA or Section III.A.3 of Appendix D.

                         f. a failure by GSK to timely initiate a recall of Covered Products
                         sold in the United States pursuant to a Final Determination made
                         under Section III.D of Appendix D after receipt of a Final
                         Determination; or

                         g. a failure by GSK to timely complete a recall of Covered Products
                         sold in the United States as required in the Final Determination after
                         receipt of the Final Determination under Appendix D.

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               2. Notice of Material Breach and Intent to Exclude. The parties agree that
a material breach of this CIA by GSK constitutes an independent basis for GSK’s
exclusion from participation in the Federal health care programs. Upon a determination
by OIG that GSK has materially breached this CIA and that exclusion is the appropriate
remedy, OIG shall notify GSK of: (a) GSK’s material breach; and (b) OIG’s intent to
exercise its contractual right to impose exclusion (this notification is hereinafter referred
to as the “Notice of Material Breach and Intent to Exclude”).

              3. Opportunity to Cure. GSK shall have 30 days from the date of receipt of
the Notice of Material Breach and Intent to Exclude to demonstrate to OIG’s satisfaction
that:

                         a. GSK is in compliance with the obligations of the CIA cited by
                         OIG as being the basis for the material breach;

                         b. the alleged material breach has been cured; or

                         c. the alleged material breach cannot be cured within the 30 day
                         period, but that: (i) GSK has begun to take action to cure the material
                         breach; (ii) GSK is pursuing such action with due diligence; and (iii)
                         GSK has provided to OIG a reasonable timetable for curing the
                         material breach.

               4. Exclusion Letter. If, at the conclusion of the 30 day period, GSK fails to
satisfy the requirements of Section X.D.3, OIG may exclude GSK from participation in
the Federal health care programs. OIG shall notify GSK in writing of its determination to
exclude GSK (this letter shall be referred to hereinafter as the “Exclusion Letter”).
Subject to the Dispute Resolution provisions in Section X.E, below, the exclusion shall go
into effect 30 days after the date of GSK’s receipt of the Exclusion Letter. The exclusion
shall have national effect and shall also apply to all other Federal procurement and
nonprocurement programs. Reinstatement to program participation is not automatic.
After the end of the period of exclusion, GSK may apply for reinstatement by submitting
a written request for reinstatement in accordance with the provisions at 42 C.F.R.
§§ 1001.3001-.3004.




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        E. Dispute Resolution

               1. Review Rights. Upon OIG’s delivery to GSK of its Demand Letter or of
its Exclusion Letter, and as an agreed-upon contractual remedy for the resolution of
disputes arising under this CIA, GSK shall be afforded certain review rights comparable
to the ones that are provided in 42 U.S.C. § 1320a-7(f) and 42 C.F.R. Part 1005 as if they
applied to the Stipulated Penalties or exclusion sought pursuant to this CIA. Specifically,
OIG’s determination to demand payment of Stipulated Penalties or to seek exclusion shall
be subject to review by an HHS ALJ and, in the event of an appeal, the HHS
Departmental Appeals Board (DAB), in a manner consistent with the provisions in 42
C.F.R. § 1005.2-1005.21. Notwithstanding the language in 42 C.F.R. § 1005.2(c), the
request for a hearing involving Stipulated Penalties shall be made within 10 days after
receipt of the Demand Letter and the request for a hearing involving exclusion shall be
made within 25 days after receipt of the Exclusion Letter.

              2. Stipulated Penalties Review. Notwithstanding any provision of Title 42
of the United States Code or Title 42 of the Code of Federal Regulations, the only issues
in a proceeding for Stipulated Penalties under this CIA shall be: (a) whether GSK was in
full and timely compliance with the obligations of this CIA for which OIG demands
payment; and (b) the period of noncompliance. GSK shall have the burden of proving its
full and timely compliance and the steps taken to cure the noncompliance, if any. OIG
shall not have the right to appeal to the DAB an adverse ALJ decision related to
Stipulated Penalties. If the ALJ agrees with OIG with regard to a finding of a breach of
this CIA and orders GSK to pay Stipulated Penalties, such Stipulated Penalties shall
become due and payable 20 days after the ALJ issues such a decision unless GSK
requests review of the ALJ decision by the DAB. If the ALJ decision is properly
appealed to the DAB and the DAB upholds the determination of OIG, the Stipulated
Penalties shall become due and payable 20 days after the DAB issues its decision.

              3. Exclusion Review. Notwithstanding any provision of Title 42 of the
United States Code or Title 42 of the Code of Federal Regulations, the only issues in a
proceeding for exclusion based on a material breach of this CIA shall be:

                         a. whether GSK was in material breach of this CIA;

                         b. whether such breach was continuing on the date of the Exclusion
                         Letter; and


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                         c. whether the alleged material breach could not have been cured
                         within the 30-day period, but that: (i) GSK had begun to take action
                         to cure the material breach within that period; (ii) GSK has pursued
                         and is pursuing such action with due diligence; and (iii) GSK
                         provided to OIG within that period a reasonable timetable for curing
                         the material breach and GSK has followed the timetable.

               For purposes of the exclusion herein, exclusion shall take effect only after
an ALJ decision favorable to OIG, or, if the ALJ rules for GSK, only after a DAB
decision in favor of OIG. GSK’s election of its contractual right to appeal to the DAB
shall not abrogate OIG’s authority to exclude GSK upon the issuance of an ALJ’s
decision in favor of OIG. If the ALJ sustains the determination of OIG and determines
that exclusion is authorized, such exclusion shall take effect 20 days after the ALJ issues
such a decision, notwithstanding that GSK may request review of the ALJ decision by the
DAB. If the DAB finds in favor of OIG after an ALJ decision adverse to OIG, the
exclusion shall take effect 20 days after the DAB decision. GSK shall waive its right to
any notice of such an exclusion if a decision upholding the exclusion is rendered by the
ALJ or DAB. If the DAB finds in favor of GSK, GSK shall be reinstated effective on the
date of the original exclusion.

              4. Finality of Decision. The review by an ALJ or DAB provided for above
shall not be considered to be an appeal right arising under any statutes or regulations.
Consequently, the parties to this CIA agree that the DAB’s decision (or the ALJ’s
decision if not appealed) shall be considered final for all purposes under this CIA.

XI.     EFFECTIVE AND BINDING AGREEMENT

        GSK and OIG agree as follows:

        A. This CIA shall be binding on the successors, assigns, and transferees of GSK;

       B. This CIA shall become final and binding on the date the final signature is
obtained on the CIA;

      C. This CIA constitutes the complete agreement between the parties and may not
be amended except by written consent of the parties to this CIA;



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       D. The undersigned GSK signatories represent and warrant that they are
authorized to execute this CIA. The undersigned OIG signatory represents that he is
signing this CIA in his official capacity and that he is authorized to execute this CIA.

       E. This CIA may be executed in counterparts, each of which constitutes an
original and all of which constitute one and the same CIA. Facsimiles of signatures shall
constitute acceptable, binding signatures for purposes of this CIA.




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                           ON BEHALF OF THE OFFICE OF INSPECTOR GENERAL

                       OF THE DEPARTMENT OF HEALTH AND HUMAN SERVICES




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                        Appendix A to CIA for GlaxoSmithKline LLC

                                Independent Review Organization

      This Appendix contains the requirements relating to the Independent Review
Organization (IRO) required by Section III.E of the CIA.

A.      IRO Engagement.

        GSK shall engage an IRO (or IRO(s)) that possesses the qualifications set forth in
Paragraph B, below, to perform the responsibilities in Paragraph C, below. The IRO
shall conduct the review in a professionally independent and objective fashion, as set
forth in Paragraph D. Within 30 days after OIG receives the information identified in
Section V.A.11 of the CIA or any additional information submitted by GSK in response
to a request by OIG, whichever is later, OIG will notify GSK if the IRO is unacceptable.
Absent notification from OIG that the IRO is unacceptable, GSK may continue to engage
the IRO.

       If GSK engages a new IRO during the term of the CIA, this IRO shall also meet
the requirements of this Appendix. If a new IRO is engaged, GSK shall submit the
information identified in Section V.A.11 of the CIA to OIG within 30 days of
engagement of the IRO. Within 30 days after OIG receives this information or any
additional information submitted by GSK at the request of OIG, whichever is later, OIG
will notify GSK if the IRO is unacceptable. Absent notification from OIG that the IRO is
unacceptable, GSK may continue to engage the IRO.

B.      IRO Qualifications.

The IRO shall:

        1. assign individuals to conduct the IRO Reviews who have expertise in the
pharmaceutical industry and have expertise in applicable Federal health care program and
FDA requirements that relate to the Covered IRO Functions, including expertise relating
to: i) marketing and promotional activities associated with pharmaceutical products; ii)
research regarding such products; and iii) publication, authorship, and disclosure
activities associated with such research). The assigned individuals shall also be
experienced in risk identification and mitigation in relation to pharmaceutical product
marketing and promotion. The assigned individuals also shall be knowledgeable about
the general requirements of the Federal health care programs under which GSK products
are reimbursed;



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      2. assign individuals to design and select the samples for the IRO Transactions
Reviews who are knowledgeable about appropriate statistical sampling techniques; and

       3. have sufficient staff and resources to conduct the reviews required by the CIA
on a timely basis.

C.      IRO Responsibilities.

The IRO shall:

       1. perform each component of each IRO Review in accordance with the specific
requirements of the CIA;

      2. follow all applicable Federal health care program and FDA requirements in
making assessments in each IRO Review;

      3. if in doubt of the application of a particular Federal health care program or
FDA requirement, request clarification from the appropriate authority (e.g., CMS or
FDA);

        4. respond to all OIG inquiries in a prompt, objective, and factual manner; and

       5. prepare timely, clear, well-written reports that include all the information
required by Appendices B and C to the CIA.

D.      Independence and Objectivity.

       The IRO must perform the IRO Reviews in a professionally independent and
objective fashion, as defined in the most recent Government Auditing Standards issued
by the United States Government Accountability Office.

E.      IRO Removal/Termination.

        1. GSK Termination of IRO. If GSK terminates its IRO or if the IRO withdraws
from the engagement during the term of the CIA, GSK must submit a notice explaining
its reasons for termination or the reason for withdrawal to OIG no later than 30 days after
termination or withdrawal. GSK must engage a new IRO in accordance with Paragraph
A of this Appendix and within 60 days of the termination or withdrawal of the IRO.

       2. OIG Removal of IRO. In the event OIG has reason to believe that the IRO does
not possess the qualifications described in Paragraph B, is not independent and/or
objective as set forth in Paragraph D, or has failed to carry out its responsibilities as
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described in Paragraph C, OIG may, at its sole discretion, require GSK to engage a new
IRO in accordance with Paragraph A of this Appendix. GSK must engage a new IRO
within 60 days of termination of the IRO.

        Prior to requiring GSK to engage a new IRO, OIG shall notify GSK of its intent to
do so and provide a written explanation of why OIG believes such a step is necessary. To
resolve any concerns raised by OIG, GSK may present additional information regarding
the IRO’s qualifications, independence or performance of its responsibilities. OIG will
attempt in good faith to resolve any differences regarding the IRO with GSK prior to
requiring GSK to terminate the IRO. However, the final determination as to whether or
not to require GSK to engage a new IRO shall be made at the sole discretion of OIG.




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                        Appendix B to CIA for GlaxoSmithKline LLC

                          Independent Review Organization Reviews


I.      Covered Functions Review, General Description

       As specified more fully below, GlaxoSmithKline (GSK) shall retain an
Independent Review Organization (IRO) (or IROs) to perform reviews (IRO Reviews) to
assist GSK in assessing and evaluating its systems, processes, policies, procedures, and
practices related to certain of GSK's Covered Functions (collectively, “IRO Covered
Functions”). The IRO Review shall consist of two components - a systems review
(Systems Review) and a transactions review (Transactions Review) as described more
fully below. GSK may engage, at its discretion, a single IRO to perform both
components of the IRO Review provided that the entity has the necessary expertise and
capabilities to perform both.

       If there are no material changes in GSK’s systems, processes, policies, and
procedures relating to the Covered IRO Functions, the IRO shall perform the Systems
Review for the second and fifth IRO Reporting Periods. If GSK materially changes its
systems, processes, policies, and procedures relating to the Covered IRO Functions, the
IRO shall perform a Systems Review for the IRO Reporting Period(s) in which such
changes were made in addition to conducting the Review for the second and fifth IRO
Reporting Periods. The additional Systems Review(s) shall consist of: 1) an identification
of the material changes; 2) an assessment of whether other systems, processes, policies,
and procedures previously reported did not materially change; and 3) a review of the
systems, processes, policies, and procedures that materially changed. The IRO shall
conduct the Transactions Review for each IRO Reporting Period of the CIA.

II.     IRO Systems Review

A.      Description of Reviewed Policies and Procedures

       The Covered IRO Functions Systems Review shall be a review of GSK’s systems,
processes, policies, and procedures (including the controls on those systems, processes,
policies, and procedures) relating to certain of the Covered Functions. Where practical,
GSK personnel may compile documentation, schedule and organize interviews, and
undertake other efforts to assist the IRO in performing the Systems Review. The IRO is
not required to undertake a de novo review of the information gathered or activities
undertaken by GSK in accordance with the preceding sentence.

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Specifically, the IRO shall review GSK’s systems, processes, policies, and procedures
associated with the following (hereafter “Reviewed Policies and Procedures”):

                1)     GSK’s systems, processes, policies, and procedures applicable to the
                manner in which GSK field personnel (including sales personnel, marketing
                personnel, MSLs, HOLs, and personnel from the PPV group) and personnel
                from the Medical Affairs department (including MISs) handle requests or
                inquiries relating to information about the uses of Government Reimbursed
                Products (including non-FDA-approved (i.e., off-label) uses of Government
                Reimbursed Products) and the dissemination of materials relating to the
                uses of these products. This review shall include:

                         a)     the manner in which GSK sales personnel and PPV personnel
                                handle requests for information about off-label uses of
                                Government Reimbursed Products (i.e., by referring all such
                                requests to Medical Affairs personnel at GSK);

                         b)     the manner in which Medical Affairs personnel, including
                                those at GSK’s headquarters, handle and respond to requests
                                for information about off-label uses of Government
                                Reimbursed Products (including tracking the requests and
                                using pre-approved materials for purposes of responding to
                                the request);

                         c)     the form and content of information and materials related to
                                Government Reimbursed Products disseminated to
                                physicians, pharmacists, or other health care professionals
                                (collectively “HCPs”), and health care institutions (HCIs),
                                Payers, and formulary decision-makers by GSK;

                         d)     GSK's systems, processes, policies, and procedures (including
                                the Inquiries Database) to track requests to Medical Affairs
                                for information about off-label uses of products and responses
                                to those requests;

                         e)     the manner in which GSK collects and supports information
                                reported in any systems used to track and respond to requests
                                to Medical Affairs for Government Reimbursed Product
                                information, including its Inquiries Database;

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                         f)     the processes and procedures by which Medical Affairs, the
                                Compliance Officer, or other appropriate individuals within
                                GSK identify situations in which it appears that off-label or
                                other improper promotion may have occurred; and

                         g)     GSK's processes and procedures for investigating,
                                documenting, resolving, and taking appropriate disciplinary
                                action for potential situations involving improper promotion;

                2)     GSK’s systems, processes, policies, and procedures applicable to the
                manner and circumstances under which its Medical Affairs personnel
                (including MSLs, HOLs, or analogous personnel) participate in meetings or
                events with HCPs or HCIs (either alone or with sales representatives)
                regarding Government Reimbursed Products and the role of the Medical
                Affairs personnel at such meetings or events;

                3)     GSK’s systems, processes, policies, and procedures relating to
                GSK's internal review of promotional materials related to Government
                Reimbursed Products disseminated to HCPs, HCIs and Payers and
                individuals or entities (e.g.¸ PBMs) acting on behalf of HCPs, HCIs or
                government payers;

                4)      GSK's systems, policies, processes and procedures (the “Patient First
                Program”) relating to incentive compensation for Relevant Covered
                Persons who are prescriber-facing sales personnel and their direct
                managers, with regard to whether the systems, policies, processes, and
                procedures are designed to ensure that financial incentives do not
                inappropriately motivate such individuals to engage in the improper
                promotion, sales, and marketing of Government Reimbursed Products.
                This shall include a review of the bases upon which compensation is
                determined and the extent to which compensation is based on product
                performance. To the extent that GSK establishes different methods of
                compensation for different Government Reimbursed Products, the IRO
                shall review each type of compensation arrangement separately;

                5)    GSK’s systems, policies, processes and procedures relating to the
                Executive Financial Recoupment Program described in Section III.H of the
                CIA and in Appendix E;


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                6)    GSK’s systems, processes, policies, and procedures relating to the
                development and review of Target Plans (as defined in Section III.B.3.j of
                the CIA) for Government Reimbursed Products. This shall include a
                review of the bases upon which HCPs and HCIs belonging to specified
                medical specialties are included in, or excluded from, the Target Plans
                based on expected utilization of Government Reimbursed Products for
                FDA-approved uses or non-FDA-approved uses;

                7)      GSK’s systems, processes, policies, and procedures relating to
                Sample Distribution Policies and Procedures (as defined in Section
                III.B.3.k of the CIA). This shall include a review of the bases upon, and
                circumstances under, which HCPs and HCIs belonging to specified medical
                specialties or types of clinical practice may receive samples from GSK
                (including, separately, from GSK sales representatives and other GSK
                personnel or components). It shall also include a review of whether
                samples of Government Reimbursed Products are distributed by GSK
                through sales representatives or are distributed from a central location and
                the rationale for the manner of distribution;

                8)     GSK’s systems (including any centralized electronic systems),
                processes, policies, and procedures relating to speaker programs, speaker
                training programs, and all events and expenses relating to such
                engagements or arrangements;

                9)     GSK’s systems, processes, policies, and procedures relating to
                engagement of “Consultants” (as defined in Section III.M.1 of the CIA) and
                all events and expenses associated with such activities;

                10) GSK’s systems, processes, policies, and procedures relating to
                GSK’s funding, directly or indirectly, of Third Party Educational Activities
                for HCPs (as defined in Section II.C.8 of the CIA) and all events and
                expenses relating to such activities;

                11) GSK’s systems, processes, policies, and procedures relating to the
                submission of information about any Government Reimbursed Product to
                any compendia such as Drugdex or other published source of information
                used in connection with the determination of coverage by a Federal health
                care program for the product (“Compendia”). This includes any initial
                submission of information to any Compendia and the submission of any


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                additional, updated, supplemental, or changed information, (e.g., any
                changes based on GSK's discovery of erroneous or scientifically unsound
                information or data associated with the information in the Compendia).
                The review shall also assess GSK's processes relating to its annual review
                of all arrangements, processing fees, or other payments or financial support
                (if any) provided to any Compendia;

                12) GSK's systems, processes, policies, and procedures
                relating to Research and Publication Practices (as defined in Section
                III.B.3.u of the CIA), including the decision to provide financial or other
                support for such Research; the manner in which Research support is
                provided; the publication of information about the Research, including the
                publication of information about the Research results and trial outcomes,
                and uses made of publications relating to such research;

                13) GSK's systems, processes, policies and procedures
                relating to authorship of any journal articles or other publications about
                GSK-Sponsored Research or about therapeutic areas or disease states that
                may be treated with Government Reimbursed Products, including, but not
                limited to, the disclosure of any and all financial relationships between the
                author and GSK, the identification of all authors or contributors (including
                professional writers, if any) associated with a given publication, and the
                scope and breadth of research results made available to each author or
                contributor;

                14) GSK’s systems, policies, processes, and procedures applicable to the
                manner and circumstances under which GSK personnel (including sales
                personnel (if any), personnel from the PPV Unit, MSLs, HOLs, or
                analogous personnel) participate in meetings with Payers (as defined in
                Section II.C.6 of the CIA) regarding Government Reimbursed Products and
                the role of the GSK personnel at such meetings; and

                15) the form and content of information and materials disseminated by
                GSK to Payers and GSK’s systems, policies, processes, and procedures
                relating to GSK's internal review and approval of information and materials
                related to Government Reimbursed Products disseminated to Payers by
                GSK.

B.      IRO Systems Review Report


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       The IRO shall prepare a report based upon each Systems Review. For each of the
Reviewed Policies and Procedures identified in Section II.A above, the report shall
include the following items:

                1)    a description of the documentation (including policies) reviewed and
                any personnel interviewed;

                2)     a detailed description of GSK’s systems, policies, processes, and
                procedures relating to the items identified in Sections II.A.1-15 above,
                including a general description of GSK’s control and accountability
                systems (e.g., documentation and approval requirements, and tracking
                mechanisms) and written policies regarding the Reviewed Policies and
                Procedures;

                3)     a description of the manner in which the control and accountability
                systems and the written policies relating to the items identified in Sections
                II.A.1-15 above are made known or disseminated within GSK;

                4)     a detailed description of any system(s) used to track and respond to
                requests for information about Government Reimbursed Products
                (including the Inquiries Database);

                5)    findings and supporting rationale regarding any weaknesses in
                GSK’s systems, processes, policies, and procedures relating to the
                Reviewed Policies and Procedures, if any; and

                6)     recommendations to improve any of the systems, policies, processes,
                or procedures relating to the Reviewed Policies and Procedures, if any.

III.    IRO Transactions Review

As described more fully below in Sections III.A-F, the Transactions Review for the
second through sixth IRO Reporting Periods shall include: (1) a review of a sample of
Inquiries reflected in the Inquiries Database; (2) a review of GSK’s Target Plans and
GSK’s Target Plan review process; (3) a review of Sampling Events as defined below in
Section III.C; (4) a review of records relating to a sample of the Payments that are
reported by GSK pursuant to Section III.O of the CIA; (5) a review of Research and
Publication Practices and Authorship-Related Practices; and (6) a review of up to three
additional items identified by the OIG in accordance with Section III.E.1.b of the CIA


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(hereafter “Additional Items”). The IRO shall report on all aspects of its reviews in the
Transactions Review Reports.

For purposes of the Transactions Review for the first IRO Reporting Period, the
Transactions Review shall include a review of Items 1-3 outlined in the preceding
paragraph. The Transaction Review Report for the first IRO Reporting Period shall
report on Items 1-3 in accordance with Section III.G below.

A.      Review of Inquiries and Inquiries Database

        1)      Description of Inquiries Database

                As set forth in Section III.B.3.g of the CIA, GSK shall establish a database
                to track information relating to requests for information received by GSK
                about its Government Reimbursed Products (hereafter “Inquiries”).
                Specifically, GSK shall document and record all Inquiries received from
                HCPs or HCIs regarding Government Reimbursed Products in a database(s)
                (the “Inquiries Database”). GSK shall record in the Inquiries Database the
                following information for each Inquiry received: 1) date of Inquiry; 2)
                form of Inquiry (e.g., fax, phone, medical information request form); 3)
                name of requesting HCP or HCI or other individual or entity; 4) nature and
                topic of request (including exact language of the Inquiry if made in
                writing); 5) an evaluation of whether the Inquiry relates to information
                about an off-label indication for the product; 6) nature/form of the response
                from GSK (including a record of any materials provided in response to the
                request); and 7) the name of the GSK representative who called upon or
                interacted with the HCP or HCI.

        2)      Internal Review of Inquiries Database

                On a semi-annual basis, the Compliance Officer or designee shall review
                the Inquiries Database and related information, as appropriate, and shall
                generate a report summarizing the items of information outlined in Section
                III.A.1 above for each Inquiry received during the preceding two quarters
                (“Inquiry Report”). The Compliance Officer or designee shall review the
                Inquiry Reports to assess whether the information contained in the report
                suggests that improper off-label promotion may have occurred in
                connection with any Inquiry(ies). If the Compliance Officer or designee, in
                consultation with other appropriate GSK personnel, suspects that improper
                off-label promotion may have occurred in connection with any Inquiry, the

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                Compliance Officer or designee shall undertake a follow-up review of the
                Inquiry (Off-Label Review), make specific findings based on his/her Off-
                Label Review, and take all appropriate responsive action (including
                disciplinary action of the Covered Person and reporting of the conduct,
                including disclosing Reportable Events pursuant to Section III.J of the CIA,
                if applicable).

        3)      IRO Review of Inquiries Reflected in Inquiries Database

                The IRO shall select and review a random sample of 50 Inquiries from
                among the Inquiries reflected in the Inquiries Database for each Reporting
                Period. Forty of the Inquiries reviewed by the IRO shall be Inquiries for
                which GSK conducted an Off-Label Review, and the other ten shall be
                Inquiries for which GSK did not conduct an Off-Label Review. For each
                Inquiry reviewed, the IRO shall determine:

                a) Whether each item of information listed above in Section III.A.1 is
                   reflected in the Inquiries Database for each reviewed Inquiry; and

                b) For each Inquiry for which the Compliance Officer conducted an Off-
                   Label Review, the basis for suspecting that improper off-label
                   promotion may have occurred; the steps undertaken as part of the Off-
                   Label Review; the findings of the Compliance Officer as a result of the
                   Off-Label Review; and any follow-up actions taken by GSK based on
                   the Off-Label Review findings.

B.      IRO Review of GSK’s Target Plans and Target Plan Review Process

        The IRO shall conduct a review and assessment of GSK’s review of its Target
Plans for Government Reimbursed Products as set forth in Section III.B.3.j of the CIA.
GSK shall provide the IRO with: i) a list of Government Reimbursed Products promoted
by GSK during the IRO Reporting Period; ii) information about the FDA-approved uses
for each such product; and iii) the Target Plans for each such product. GSK shall also
provide the IRO with information about the reviews of Target Plans that GSK conducted
during the relevant IRO Reporting Period and any modifications to the Target Plans made
as a result of GSK’s reviews.

       For each Target Plan, the IRO shall select a sample of 50 of the HCPs and HCIs
included on the Target Plan. For each Target Plan, the IRO shall compare the sampled
HCPs and HCIs against the criteria (e.g., medical specialty or practice area) used by GSK

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in conducting its review and/or modifying the Target Plan. The IRO shall seek to
determine whether GSK followed its criteria and Policies and Procedures in reviewing
and modifying the Target Plan.

       The IRO shall note any instances in which it appears that the sampled HCPs or
HCIs on a particular Target Plan are inconsistent with GSK’s criteria relating to the
Target Plan and/or GSK’s Policies and Procedures. The IRO shall also note any
instances in which it appears that GSK failed to follow its criteria or Policies and
Procedures.

C.      IRO Review of the Distribution of Samples of GSK Government Reimbursed
        Products

         The IRO shall conduct a review and assessment of the distribution of samples of
Government Reimbursed Products to HCPs and HCIs. GSK shall provide the IRO with:
i) a list of Government Reimbursed Products for which GSK distributed samples during
the IRO Reporting Period; ii) information about the FDA-approved uses for each such
product; and iii) information about GSK’s Sample Distribution Policies and Procedures,
including GSK’s exclusion lists showing which types of samples may not be distributed
by sales personnel or other GSK personnel to HCPs and HCIs of particular medical
specialties or types of clinical practices. GSK shall also provide the IRO with
information about the reviews of Sample Distribution Policies and Procedures that GSK
conducted during the IRO Reporting Period as set forth in Section III.B.3.k of the CIA
and any modifications to the Sample Distribution Policies and Procedures or exclusion
lists made as a result of GSK’s reviews.

       For each Government Reimbursed Product for which GSK distributed samples
during the IRO Reporting Period, the IRO shall randomly select a sample of 50 separate
instances in which GSK provided samples of the product to HCPs or HCIs. Each such
instance shall be known as a “Sampling Event.”

        For each Sampling Event, the IRO shall review all documents and information
relating to the distribution of the sample to the HCP or HCI. The reviewed materials
shall include materials about the following: 1) the quantity, dosage, and form of the GSK
product provided to the HCP or HCI; 2) the identity and type of medical specialty or
clinical practice of the HCP or HCI; 3) which individual GSK sales personnel or other
GSK personnel provided the sample to the HCP or HCI; and 4) the manner and
mechanism through which the sample was requested (e.g., sample request form, letter, or
call to GSK).


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        For each Sampling Event, the IRO shall evaluate whether the sample was provided
to an HCP or HCI whose medical specialty or clinical practice is consistent with the uses
of the Government Reimbursed Product approved by the FDA and whether the sample
was distributed by an GSK representative in a manner consistent with GSK’s sample
distribution policy for the product(s) provided during the Sampling Event. To the extent
that a sample was provided to an HCP or HCI by a GSK representative other than a sales
personnel, the IRO shall contact the HCP or HCI by letter. The letter shall request that
the HCP or HCI: 1) verify that he/she/it received the quantity and type of samples
identified by the IRO as the Sampling Event; 2) verify that he/she/it requested the
samples provided during the Sampling Event; 3) explain or confirm its type of medical
specialty or clinical practice; and 4) identify the basis for requesting the sample (e.g.,
conversations with a GSK sales representative, conversation with a GSK representative at
headquarters, independent research, or knowledge of the HCP or HCI).

        For each Sampling Event, the IRO shall compare the medical specialty and type of
clinical practice of the HCPs and HCIs that received the sample with uses of the
Government Reimbursed Product approved by the FDA. The IRO shall note any
instances in which it appears that the medical specialty or clinical practice of the HCPs or
HCIs that received a sample during a Sampling Event were not consistent with the uses
of the Government Reimbursed Product approved by the FDA. For each such situation,
the IRO shall note the process followed by GSK in determining that it was appropriate to
provide a sample to such HCP or HCI and the basis for such determination. The IRO
shall also note any instances in which it appears that GSK failed to follow its Sample
Distribution Policies and Procedures for the Government Reimbursed Product(s)
provided during the Sampling Event.

D.      IRO Review of Physician Payment Listings

        1.      Information Contained in Physician Payment Listings

        For purposes of the IRO review as set forth in this Section III.D, each annual
listing of physicians and Related Entities who received Payments (as defined in Section
III.O of the CIA) from GSK shall be referred to as the “Physician Payment Listing” or
“Listing.” For each physician and Related Entity, each Physician Payment Listing shall
include the following information: i) physician’s full name; ii) name of Related Entity (if
applicable); iii) city and state of the physician’s practice or the Related Entity; and (iv)
the aggregate value of the Payment(s) in the preceding year(s).

     For purposes of this IRO review, the term “Control Documents” shall include all
documents or electronic records associated with each Payment reflected in the Physician

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Payments Listing for a sampled physician and/or Related Entity. For example, the term
“Control Documents” includes, but is not limited to, documents relating to the nature,
purpose, and amount of all Payments reflected in the Listing; contracts relating to the
Payment(s) reflected in the Listing; documents relating to the occurrence of Payment(s)
reflected in the Listing; documents reflecting any work product generated in connection
with the Payment(s); documents submitted by field personnel or headquarters personnel
to request approval for the Payment(s); and business rationale or justification forms
relating to the Payment(s).

        2.      Selection of Sample for Review

       For each IRO Reporting Period, the OIG shall have the discretion to identify up to
50 physicians or Related Entities from the applicable Physician Payment Listing that will
be subject to the IRO review described below. If the OIG elects to exercise this
discretion, it shall notify the IRO at least 90 days prior to the end of the IRO Reporting
Period, of the physicians and/or Related Entities subject to the IRO review. If the OIG
elects not to exercise its discretion as described above, the IRO shall randomly select 50
physicians and/or Related Entities to be included in the review. For each selected
physician and/or Related Entity, the IRO shall review the entry in the Physician Payment
Listing and the Control Documents relating to Payments reflected in the Listing identified
by the IRO as necessary and sufficient to validate the Payment information in the Listing.

        3.     IRO Review of Control Documents for Selected Physicians and/or Related
        Entities

        For each physician and/or Related Entity selected as part of the sample, the IRO
shall review the Control Documents identified by the IRO as necessary and sufficient to
validate each Payment reflected in the Listing to evaluate the following:

                         a)     Whether Control Documents are available relating to each
                                Payment reflected in the Listing for the sampled physician
                                and/or Related Entity;

                         b)     Whether the Control Documents were completed and
                                archived in accordance with the requirements set forth in
                                GSK’s policies;

                         c)     Whether the aggregate value of the Payment(s) as reflected in
                                the Listing for the sampled Physician is consistent with the


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                                      value of the Payments(s) reflected in the Control Documents;
                                      and

                         d)       Whether the Control Documents reflect that GSK’s policies
                                  were followed in connection with Payment(s) reflected in the
                                  Listing (e.g., all required written approvals for the activity
                                  were obtained in accordance with GSK’s policies).

        4.      Identification of Material Errors and Additional Review

                A Material Error is defined as any of the following:

                         a)           A situation in which all required Control Documents relating
                                      to Payments reflected in the Listing for the sampled physician
                                      and/or Related Entity do not exist and:

                                 i.      no corrective action was initiated prior to the selection of
                                         the sampled physicians and/or Related Entities; or

                                ii.      the IRO cannot confirm that GSK otherwise followed its
                                         policies and procedures relating to the entry in the Listing
                                         for the sampled physician or Related Entity, including its
                                         policies and procedures relating to any Payment(s)
                                         reflected in the Listing; or

                         b)           Information or data is omitted from key fields in the Control
                                      Documents that prevents the IRO from assessing compliance
                                      with GSK’s policies and procedures, and the IRO cannot
                                      obtain this information or data from reviewing other Control
                                      Documents.

        If a Control Document does not exist, but GSK has initiated corrective action prior
to the selection of the sampled physicians and/or Related Entities, or if a Control
Document does not exist but the IRO can determine that GSK otherwise followed its
policies and procedures with regard to each entry in the Listing for a sampled physician
or Related Entity, the IRO shall consider such a situation to be an exception (rather than a
Material Error) and the IRO shall report the situation as such. Similarly, the IRO shall
note as exceptions any Control Documents for which non-material information or data is
omitted.


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      If the IRO identifies any Material Errors, the IRO shall conduct such Additional
Review of the underlying Payment associated with the erroneous Control Documents as
may be necessary to determine the root cause of the Material Errors. For example, the
IRO may need to review additional documentation and/or conduct interviews with
appropriate personnel to identify the root cause of the Material Error(s) discovered.

E.     IRO Review of Research and Publications Practices and Authorship-Related
Activities

       The IRO shall conduct a review and assessment of GSK’s Research and
Publications Practices and Authorship-Related Activities as described in Sections III.B.3.
u-v of the CIA.

Review of Research Activities: GSK shall provide the IRO with a list of all Research
activities (as defined in Section III.B.3.u of the CIA) that were “active” (as classified in
GSK’s tracking system) during the IRO Reporting Period, and the IRO shall select a
sample of 40 such activities, which sample shall include a review of each type of
Research (i.e., GSK-Sponsored post-marketing clinical trials, other GSK-Sponsored post-
marketing studies, and post-marketing investigator-sponsored studies (ISSs).) The IRO
shall review samples of each type of Research in proportion to the relative number of
each type of Research that occurred during the reporting period. GSK shall provide the
IRO with documents relating to the Research activities sufficient for the IRO to conduct
the reviews outlined below.

For each sampled Research activity, the IRO will review whether: (i) the activity was
approved consistent with GSK’s standards, policies, procedures and processes regarding
sponsorship or support of Research, including obtaining required approval for the
Research by GSK’s medical and/or research organizations and ensuring that the Research
was conducted for the purpose of fostering increased understanding of scientific, clinical
or medical issues; (ii) there is an executed written agreement with the Researcher that
meets the requirements of GSK’s standards, policies and procedures and, among other
things, requires the Researcher to disclose in any publication of Research, GSK’s support
and any financial interest the researcher may have in GSK; and (iii) GSK’s sales,
marketing, or other commercial personnel did not participate in the design, conduct, or
publication of the Research activity except as permitted under the limited exceptions in
GSK’s policies and procedures.

Review of Publication Activities:



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GSK shall provide the IRO with a list of publication activities (as defined in Section
III.M.3 of the CIA) that resulted in publication of data from GSK-Sponsored post-
marketing clinical trials or post-marketing studies of Government Reimbursed Products
that appeared during the IRO Reporting Period. The list will be broken down into two
categories: (i) GSK-Sponsored post-marketing clinical trials, and (ii) other GSK-
Sponsored post-marketing studies (e.g., observational studies, health outcomes studies,
epidemiology studies, and meta-analyses and pooled analyses.) The IRO shall select a
sample from each category for review, in proportion to the relative numbers in each
category (collectively, “Reviewed Publication Activities”). The IRO shall review a total
of 60 Reviewed Publication Activities. GSK shall provide the IRO with copies of the
publications and documents and information relating to each of the Reviewed Publication
Activities sufficient for the IRO to conduct the reviews outlined below.

The IRO will assess each of the Reviewed Publication Activities to test whether the
Reviewed Publication Activity was conducted in a manner consistent with GSK’s
standards, policies, procedures and processes, including those that require: i) posting of
summary results from all GSK-Sponsored post-marketing interventional research studies
of Government Reimbursed Products on GSK’s Clinical Study Register within a
specified periods of time; ii) posting of summaries of study protocols for such research
studies in the GSK Clinical Study Register; iii) registration of summary results from
applicable GSK-Sponsored clinical trials on the NIH sponsored website in compliance
with all Federal requirements; iv) publication (or attempted publication) of the results of
GSK-Sponsored post-marketing interventional Research studies in peer-reviewed
journals within specified periods of times; and v) compliance with GSK’s operating
practices regarding publications relating to GSK-Sponsored post-marketing
interventional research studies of Government Reimbursed Products (including standards
relating to appropriateness, accuracy, balance, and acknowledgement of GSK’s role as
the funding source for the Research).

Review of Authorship-Related Activities:

For each of the Reviewed Publication Activities, the IRO shall also assess the activity to
test whether the activity was conducted in a manner consistent with GSK’s standards,
policies, procedures and processes relating to authorship, including those that require: i)
authors of journal articles about GSK-Sponsored Research to adhere to ICMJE
authorship requirements (except in instances in which a particular journal requires an
alternative procedure); ii) authors of articles on GSK-Sponsored Research to disclose any
GSK financial support for the study and any financial relationship with GSK; iii) authors
of a GSK publication of GSK-Sponsored Research to make substantial contributions to
the study and give final approval to the version of the publication ultimately published;

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and iv) certifications from employees and medical writing contractors as to any GSK
publication of GSK-Sponsored Research on which the individual is listed as an author or
contributor.

F.      IRO Review of Additional Items

       As set forth in Section III.E.1.b of the CIA, for the second through sixth IRO
Reporting Periods, the OIG at its discretion may identify up to three additional items for
the IRO to review (hereafter “Additional Items”). No later than 150 days prior to the end
of the applicable IRO Reporting Period, the OIG shall notify GSK of the nature and
scope of the IRO review to be conducted for each of the Additional Items. Prior to
undertaking the review of the Additional Items, the IRO and/or GSK shall submit an
audit work plan to the OIG for approval and the IRO shall conduct the review of the
Additional Items based on a work plan approved by the OIG. The IRO shall include
information about its review of each Additional Item in the Transactions Review Report
(including a description of the review conducted for each Additional Item; the IRO’s
findings based on its review for each Additional Item; and the IRO’s recommendations
for any changes in GSK’s systems, processes, policies, and procedures based on its
review of each Additional Item).

       GSK may propose to the OIG that its internal audit(s) be substituted, subject to the
Verification Review requirements set forth below, for one or more of the Additional
Items that would otherwise be reviewed by the IRO for the applicable IRO Reporting
Period. The OIG retains sole discretion over whether, and in what manner, to allow
GSK’s internal audit work to be substituted for a portion of the Additional Items review
conducted by the IRO.

       In making its decision, the OIG agrees to consider, among other factors, the nature
and scope of GSK’s planned internal audit work, the results of the Transactions
Review(s) during prior IRO Reporting Period(s), and GSK’s demonstrated audit
capabilities to perform the proposed audit work internally. If the OIG denies GSK’s
request to permit its internal audit work to be substituted for a portion of the IRO’s
review of Additional Items in a given IRO Reporting Period, GSK shall engage the IRO
to perform the Review as outlined in this Section III.

       If the OIG agrees to permit certain of GSK’s internal audit work for a given IRO
Reporting Period to be substituted for a portion of Additional Items review, such internal
work would be subject to verification by the IRO (Verification Review). In such an
instance, the OIG would provide additional details about the scope of the Verification
Review to be conducted by the IRO. However, for purposes of any Verification Review,

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the IRO shall review at least 20% of the sampling units reviewed by GSK in its internal
audits.

G.      Transactions Review Report

      For each IRO Reporting Period, the IRO shall prepare a report based on its
Transactions Review. The report shall include the following:

        1)      General Elements to Be Included in Report

                         a)     Review Objectives: A clear statement of the objectives
                                intended to be achieved by each part of the review;

                         b)     Review Protocol: A detailed narrative description of the
                                procedures performed and a description of the sampling unit
                                and universe utilized in performing the procedures for each
                                sample reviewed; and

                         c)     Sources of Data: A full description of documentation and
                                other information, if applicable, relied upon by the IRO in
                                performing the Transactions Review.

        2)      Results to be Included in Report

                Consistent with the scope of items reviewed by the IRO for the applicable
                IRO Reporting Period, the following results shall be included in each
                Transaction Review Report:

                (Relating to the Review of Inquiries)

                a)       in connection with the review of Inquiries, a description of each type
                         of sample unit reviewed, including the number of each type of
                         sample units reviewed (e.g., the number of Inquiries) and an
                         identification of the types of documents and information reviewed
                         for the Inquiries;

                b)       for each Inquiry sample unit, the IRO shall summarize the
                         information about the Inquiry contained in the Inquiries Database;



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                c)       for each Inquiry sample unit, findings and supporting rationale as to
                         whether: (i) each item of information listed in Section III.A.1 is
                         reflected in the Inquiries Database; and (ii) for each Inquiry for
                         which an Off-Label Review was conducted, the basis for suspecting
                         that improper off-label promotion may have occurred; the steps
                         undertaken as part of the Off-Label Review; the findings of the
                         Compliance Officer as a result of the Off-Label Review; and any
                         follow-up actions taken by GSK as a result of the Compliance
                         Officer’s findings;

                d)       the findings and supporting rationale regarding any weaknesses in
                         GSK’s systems, processes, policies, procedures, and practices
                         relating to the Inquiries, and the Inquiries Database, if any;
                e)       recommendations for improvement in GSK’s systems, processes,
                         policies, procedures, and practices relating to the Inquiries and the
                         Inquiries Database, if any;

                (Relating to the Target Plan Reviews)

                f)       a list of the Government Reimbursed Products promoted by GSK
                         during the IRO Reporting Period and a summary of the FDA-
                         approved uses for such products;

                g)       for each Government Reimbursed Product which was promoted
                         during the IRO Reporting Period: i) a description of the criteria used
                         by GSK in developing or reviewing the Target Plans and for
                         including or excluding specified types of HCPs or HCIs from the
                         Target Plans; ii) a description of the review conducted by GSK of
                         the Target Plans and an indication of whether GSK reviewed the
                         Target Plans as required by Section III.B.3.j of the CIA; iii) a
                         description of all instances for each Target Plan in which it appears
                         that the HCPs and HCIs included on the Target Plan are inconsistent
                         with GSK’s criteria relating to the Target Plan and/or GSK’s
                         Policies and Procedures; and iv) a description of all instances in
                         which it appears that GSK failed to follow its criteria or Policies and
                         Procedures relating to Target Plans or the review of the Target Plans;

                h)       the findings and supporting rationale regarding any weaknesses in
                         GSK’s systems, processes, policies, procedures, and practices


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                         relating to GSK’s Target Plans or the review of the Target Plans, if
                         any;

                i)       recommendations, if any, for changes in GSK’s systems, processes,
                         policies, procedures, and practices that would correct or address any
                         weaknesses or deficiencies uncovered during the Transactions
                         Review with respect to Target Plans or the review of the Target
                         Plans;

                (Relating to the Sampling Event Reviews)

                j)       for each Government Reimbursed Product distributed during the
                         IRO Reporting Period: i) a description of Sample Distribution
                         Policies and Procedures (including whether sales representatives
                         may provide samples for the product and, if so, to HCPs or HCIs of
                         which medical specialty or type of clinical practice a sales
                         representative may provide samples); ii) a detailed description of any
                         instances in which it appears that the medical specialty or clinical
                         practice of the HCPs or HCIs that received a sample during a
                         Sampling Event was not consistent with the uses of the product
                         approved by the FDA. This description shall include a description of
                         the process followed by GSK in determining that it was appropriate
                         to provide a sample to such HCP or HCI and the basis for such
                         determination; and iii) a detailed description of any instances in
                         which it appears that GSK failed to follow its Sample Distribution
                         Policies and Procedures for the Government Reimbursed Product(s)
                         provided during the Sampling Event;

                k)       the findings and supporting rationale regarding any weaknesses in
                         GSK’s systems, processes, policies, procedures, and practices
                         relating to GSK’s distribution of samples of Government
                         Reimbursed Products, if any;

                l)       recommendations, if any, for changes in GSK’s systems, processes,
                         policies, procedures, and practices that would correct or address any
                         weaknesses or deficiencies uncovered during the Transactions
                         Review with respect to the distribution of samples;

                (Relating to the Physician Payment Listing Reviews)


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                m)       a description of the entries in the Physician Payment Listing for each
                         physician or Related Entity sampled and a description of Control
                         Documents reviewed in connection with each selected physician or
                         Related Entity;

                n)       for each sampled physician or Related Entity, findings and
                         supporting rationale as to whether: (i) all required Control
                         Documents exist; (ii) each Control Document was completed in
                         accordance with all of the requirements set forth in the applicable
                         GSK policy; (iii) the aggregate value of the Payment(s) as reflected
                         in the Listing for the sampled physician or entity is consistent with
                         the value of the Payment(s) reflected in the Control Documents; (iv)
                         each Control Document reflects that GSK’s policies were followed
                         in connection with the underlying activity reflected in the document
                         (e.g., all required approvals were obtained); and (v) disciplinary
                         action was undertaken in those instances in which GSK policies
                         were not followed;

                o)       for each sampled physician or Related Entity unit reviewed, an
                         identification and description of all exceptions discovered. The
                         report shall also describe those instances in which corrective action
                         was initiated prior to the selection of the sampled physicians or
                         Related Entities, including a description of the circumstances
                         requiring corrective action and the nature of the corrective action;

                p)       if any Material Errors are discovered in any sample unit reviewed, a
                         description of the error, the Additional Review procedures
                         performed and a statement of findings as to the root cause(s) of the
                         Material Error;

                (Relating to the Review of Research and Publication Practices and
                Authorship-Related Activities)

                q)       a description of each sampled Research activity reviewed, including
                         an identification of the types of documents and information reviewed
                         in connection with each sampled Research activity;

                r)       an assessment of whether, for each sampled Research activity: (i)
                         the activity was approved consistent with GSK’s standards, policies,
                         procedures and processes regarding sponsorship or support of
                         Research; (ii) there is an executed written agreement with the
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                         Researcher that meets the requirements of GSK’s standards, policies
                         and procedures; and (iii) GSK’s sales, marketing, or other
                         commercial personnel did not participate in the design, conduct, or
                         publication of the Research Activity except as permitted under
                         GSK’s policies and procedures. If a sampled Research activity
                         failed to meet GSK standards, policies, procedures and processes, an
                         explanation of the deficiency;

                s)       a description of each Reviewed Publication Activity assessed by the
                         IRO, including an identification of the types of documents and
                         information reviewed in connection with each Reviewed Publication
                         Activity;

                t)       an assessment of whether for each Reviewed Publication Activity; i)
                         authors of journal articles about GSK-Sponsored Research adhered
                         to ICMJE requirements; ii) authors of articles about GSK-Sponsored
                         Research disclosed any GSK financial support for the study and any
                         financial relationship with GSK; iii) authors of a GSK publication
                         about GSK-Sponsored Research made substantial contributions to
                         the study and gave final approval to the version of the publication
                         ultimately published; and iv) GSK obtained certifications from
                         employees, medical writing contractors, and outside authors as to
                         any GSK publication of GSK-Sponsored Research on which the
                         individual is listed as an author or contributor;

                u)       an assessment of whether for each Reviewed Publication Activity; i)
                         authors of journal articles about GSK-Sponsored Research adhered
                         to ICMJE requirements; ii) authors of articles on GSK-Sponsored
                         Research disclosed any GSK financial support for the study and any
                         financial relationship with GSK; iii) authors of a GSK publication of
                         GSK-Sponsored Research made substantial contributions to the
                         study and gave final approval to the version of the publication
                         ultimately published; and iv) GSK obtained certifications from
                         employees, medical writing contractors, and outside authors as to
                         any GSK publication of GSK-Sponsored Research on which the
                         individual is listed as an author or contributor;

                v)       if any Reviewed Publication Activity failed to meet GSK standards,
                         policies, procedures and processes, an explanation of the deficiency;


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                w)       the IRO’s findings and supporting rationale regarding any
                         weaknesses or deficiencies in GSK’s systems, processes, policies,
                         procedures, and practices relating to GSK’s Research and
                         Publications Practices and Authorship-Related Activities, if any;

                x)       recommendations, if any, for changes in GSK’s systems, processes,
                         policies, and procedures that would correct or address any
                         weaknesses or deficiencies uncovered during the Transactions
                         Review with respect to Research and Publications Practices and
                         Authorship-Related Activities;

                (Relating to the Review of Additional Items)

                y)       for each Additional Item reviewed, a description of the review
                         conducted;

                z)       for each Additional Item reviewed, the IRO’s findings based on its
                         review;

                aa)      for each Additional Item reviewed, the findings and supporting
                         rationale regarding any weaknesses in GSK’s systems, processes,
                         policies, procedures, and practices relating to the Additional Item, if
                         any;

                bb)      for each Additional Item reviewed, recommendations, if any, for
                         changes in GSK’s systems, processes, policies, and procedures that
                         would correct or address any weaknesses or deficiencies uncovered
                         during the review.




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                     IRO Reviews of GSK’s Targeted Risk Analysis and
                    Compliance Evaluation Review (TRACER) Program

I.      General Description of TRACER program

       GSK uses the Targeted Risk Analysis and Compliance Evaluation Review process
(TRACER) as a tool to evaluate and mitigate promotional risks (hereinafter, “risks”)
associated with all prescription Government Reimbursed Products that have field force
support in the United States (GSK Products).

                1. Risk Identification and Evaluation

       As part of TRACER, risk information will be solicited from four key sources:
(i) Copy Approval Teams; (ii) U.S. Pharma’s Monitoring Control Center of Excellence
(CCoE); (iii) Deputy Compliance Officers (DCOs); and (iv) Legal department personnel.

        Based on inputs from these sources, a relative risk ranking report will be produced
for all GSK Products (Risk Evaluation Report). The Risk Evaluation Report will be
presented to the leadership team of each U.S. Pharma commercial business unit
(Leadership Team) and the U.S. Pharma Commercial Leadership Team (CLT) along with
recommendations regarding which products may require enhanced risk mitigation plans.

       The Risk Evaluation Report will also be used by the CCoE to inform the risk-
based selection of products as required by the Field Force Monitoring Program described
in CIA Section III.L.

                2. Risk Mitigation Plans

       Risk Mitigation Plans (RMPs) will be completed annually for all GSK Products.
All RMPs will outline standard risk mitigation activities that will be performed and
tracked for each GSK Product, regardless of the product’s relative risk ranking (Standard
RMPs). Standard risk mitigation activities will consist of the monitoring activities to be
conducted for each GSK Product in the upcoming year, such as monitoring of speaker
programs, speaker training, advisory boards, sampling, verbatim reviews, medical
information requests and ride-alongs with sales personnel.

        Based on the Risk Evaluation Report, products may be selected for Enhanced
RMPs by either (or both) the Leadership Teams and the CLT. These RMPs will include
enhanced risk mitigation activities, in addition to the standard activities (Enhanced
RMPs). Enhanced RMPs will consist of activities tailored to the risks identified during
the risk ranking process. For example, such activities may include increased compliance

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messaging from Leadership Teams, modifications to or limitations of promotional
programs, or enhanced training requirements.

       All RMPs (whether Standard or Enhanced) will be developed by brand teams, in
consultation with their respective DCOs and the CCoE, on an annual basis. Each RMP
will specify the: (i) risk monitoring activities; (ii) metrics by which monitoring activities
and results will be evaluated and/or measured; (iii) risk mitigation action items, if
necessary; (iv) metrics by which risk mitigation activities and results will be evaluated
and/or measured; (v) responsible individual(s); and (vi) expected date(s) of monitoring
and/or action item completion. The RMPs will be reviewed and approved by the
respective business unit Leadership Teams.

                3.       Risk Mitigation Plan Tracking

RMP activities (including risk monitoring activities, risk mitigation activities, and risk
mitigation action items) will be tracked by the CCoE and reported using a Monitoring
Dashboard which will identify risk monitoring and mitigation activities and track their
progress on at least a quarterly basis. The status of the RMPs will be tracked and
reported to Leadership Teams and compliance personnel on at least a quarterly basis.

II.     TRACER Reviews, General Description

       A.      As specified more fully below, GSK shall retain an IRO to assist GSK in
assessing and evaluating its systems, processes, policies, procedures, and practices
relating to the TRACER program (TRACER Review). The TRACER Review shall
consist of two components - a systems review (TRACER Systems Review) and a
transactions review (TRACER Transactions Review) as described more fully below.
GSK may engage, at its discretion, a single IRO to perform both components of the
TRACER Review provided that the entity has the necessary expertise and capabilities to
perform both.

        B.     If there are no material changes in GSK’s systems, processes, policies, and
procedures relating to TRACER, the IRO shall perform the TRACER Systems review for
the second and fifth IRO Reporting Periods. If GSK materially changes its systems,
processes, policies, and procedures relating to TRACER, the IRO shall perform a
TRACER Systems Review for the IRO Reporting Period(s) in which such changes were
made in addition to conducting the Systems Review for the second and fifth IRO
Reporting Periods. The additional TRACER Systems Review(s) shall consist of: (1) an
identification of the material changes; (2) an assessment of whether other systems,
processes, policies, and procedures previously reported did not materially change; and (3)
a review of the systems, processes, policies, and procedures that materially changed. The
IRO shall conduct the TRACER Transactions Review for second through sixth IRO
Reporting Periods of the CIA.
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III.    TRACER Systems Review

        A.      The TRACER Systems review shall consist of the following:

                1. A review of the processes by which GSK develops and evaluates Risk
                   Evaluation Reports and develops Standard and Enhanced RMPs,
                   including the sources of information (e.g., the individual personnel,
                   departments or functional areas, and/or any systems involved) used to
                   compile the Reports and RMPs; the types of underlying data and
                   information that are considered or evaluated during the development of
                   the Risk Evaluation Reports and the RMPs; and the timing for
                   development of Risk Evaluation Reports and the RMPs (including
                   modifications to the Reports or RMPs in the event of significant new
                   developments);

                2. An assessment of whether, in developing the Risk Evaluation Reports
                   and the RMPs: i) additional or different sources of information; ii)
                   additional or different types of data or information; and iii) additional or
                   different timing cycles should be utilized;

                3. A review of the experience and background of the brand directors
                   responsible for development of the RMPs and an assessment of the
                   completeness and appropriateness of the training, policies, procedures,
                   standard operating procedures, and guidance such individuals receive
                   regarding the development of the RMPs;

                4. An assessment of whether the standard risk mitigation activities
                   (monitoring activities) included in RMPs are designed to: (i) adequately
                   monitor all relevant identified risks; (ii) identify any actual problems
                   that have occurred in connection with the identified potential risk;
                   and/or (iii) ensure that the activity associated with an identified risk
                   does not occur in the future;

                5. An assessment of whether standard risk mitigation activities
                   (monitoring activities) that may be included in RMPs should be: (i)
                   enhanced, revised, or refined; (ii) changed to include additional or
                   different mitigation/monitoring options to be considered based upon
                   specific identified risks; (iii) tracked and reviewed more frequently than
                   prescribed by current policies to ensure that the options address all
                   relevant risks for the specific products reviewed;

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                6. An assessment of whether enhanced risk mitigation activities and risk
                   mitigation action items (and options for such activities) included in
                   Enhanced RMPs are designed to: (i) adequately address all relevant
                   identified risks; (ii) identify any actual problems that have occurred in
                   connection with the identified potential risk; and/or (iii) ensure that the
                   activity associated with an identified risk does not occur in the future;

                7. An assessment of whether enhanced risk mitigation activities that may
                   be included in RMPs should be: (i) enhanced, revised, or refined; (ii)
                   changed to include additional or different mitigation/monitoring options
                   to be considered based upon specific identified risks; (iii) tracked and
                   reviewed more frequently than prescribed by current policies to ensure
                   that the options address all relevant risks for the specific products
                   reviewed; and

                8. A review of the systems, policies, procedures, and processes (including
                   the Monitoring Dashboard and any narrative supplements) by which
                   GSK tracks and manages RMP activities and an assessment of whether
                   the systems, policies, procedures and processes ensure that the RMPs
                   are appropriately implemented (including by identifying individuals
                   responsible for the follow-up or action items).

        B.      The IRO shall prepare a report based upon each Systems Review performed
(System Review Report). The Systems Review Report will include the IRO’s findings,
recommendations, observations, and comments on items 1-8 above and, to the extent not
otherwise addressed, an assessment of the following: (i) whether the Risk Evaluation
Reports and RMPs identify and prioritize relevant risks; (ii) whether the risk monitoring
activities, risk mitigation activities and any risk mitigation action items identified in
RMPs address identified risks; (iii) whether sufficient controls exist to ensure that all risk
mitigation steps (including monitoring activities and risk mitigation activities) are
completed in accordance with the RMPs; iv) whether the options for risk monitoring
activities and risk mitigation activities identified in the RMPs address and potentially
mitigate identified risks; and (iv) whether sufficient controls exist to ensure that all
agreed-upon risk monitoring activities and risk mitigation activities are completed in
accordance with the RMPs.

IV.     TRACER Transactions Review

      A.     At least thirty (30) days prior to the end of the second through sixth IRO
Reporting Periods, GSK shall submit to OIG a list of all GSK Products for which RMPs
were developed. GSK shall notify the OIG about which products had Standard RMPs
and which products had Enhanced RMPs. Prior to the end of the applicable IRO
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Reporting Period, OIG shall select 3 GSK Products (each a “Selected Product” and
together the “Selected Products”) to be reviewed in connection with the TRACER
Transactions Review.

       B.      For each IRO Reporting Period and for each Selected Product, the IRO
shall conduct a review of: i) the applicable Risk Evaluation Report entry and RMP; ii)
documents and materials related to the development of the RMP; and iii) documents and
materials relating to the implementation of the RMP (including the Monitoring
Dashboard and any supplements to the Scorecard). The IRO shall also interview the
brand team director responsible for the development of the RMP and the individual(s)
responsible for the implementation of the risk monitoring and risk mitigation activities
specified in the RMP.

The objective of the IRO shall be to: (i) understand the processes followed by GSK in
developing the RMP for each Selected Product, including the underlying bases for GSK’s
decision to develop either a Standard RMP or an Enhanced RMP for the Selected
Product; (ii) determine whether, based on the information contained in the Risk
Evaluation Report, an appropriate RMP (including as to the included risk monitoring
activities, risk mitigation activities, and risk mitigation action items) was developed for
the Selected Product; and (iii) assess GSK’s implementation and tracking of the
implementation of the RMP for the Selected Product.

       C.     The IRO will prepare a report based on each TRACER Transactions
Review performed (Transactions Review Report). The Transactions Review Report shall
include the following:

                1. an identification of the 3 Selected Products and a description of the
                   documents and information reviewed in connection with each Selected
                   Product, including a description of whether the RMP for each Selected
                   Product was a Standard RMP or an Enhanced RMP,

                2. for each Selected Product, a description of: i) the process followed in
                   developing the RMP; and ii) the types of identified risks associated with
                   the Selected Product;

                3. for each Selected Product, an assessment of whether it was appropriate
                   for GSK to develop, as applicable, an Enhanced or a Standard, RMP for
                   the product;

                4. for each Selected Product, an assessment of whether, based on the
                   information contained in the Risk Evaluation Report, an appropriate
                   RMP was developed for the Selected Product;
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                5. for each Selected Product, a description of the expertise and
                   backgrounds of the brand directors who were responsible for the
                   development of the RMP;

                6. for each Selected Product, a description of the following items set forth
                   in the RMP: (i) risk monitoring activities; (ii) metrics by which the risk
                   monitoring activities and results will be evaluated and/or measured; (iii)
                   risk mitigation activities, including any risk mitigation action items; (iv)
                   metrics by which the risk mitigation activities and results will be
                   evaluated and/or measured; (v) responsible individual(s); (vi) expected
                   date(s) of completion for each risk monitoring activity and risk
                   mitigation activity; and (vii) if the RMP did not specify each of the
                   items set forth above, a description of any deficiencies;

                7. for each Selected Product, a description of whether risk monitoring
                   activities specified in the RMP were implemented and tracked in
                   accordance with the RMP and GSK’s policies and procedures, and a
                   description of any deficiencies;

                8. for each Selected Product, a description of whether risk mitigation
                   activities (including any action items) specified in the RMP were
                   implemented and tracked in accordance with the RMP and GSK’s
                   policies and procedures, and a description of any deficiencies;

                9. for each Selected Product a description of: (i) any recommendations
                   made by the IRO regarding the RMP or any risk monitoring activities
                   and risk mitigation activities included in the RMP; (ii) whether, and in
                   what manner, GSK implemented the recommendations from the IRO;
                   and (iii) if GSK did not implement the IRO recommendations, a
                   description of the rationale for GSK’s decision not to implement the
                   recommendations; and

                10. the IRO’s findings and supporting rationale regarding any weaknesses
                   or deficiencies in GSK’s systems, processes, policies, procedures, and
                   practices relating to the TRACER program, if any; and
                   recommendations, if any, for changes in GSK’s systems, processes,
                   policies, procedures, and practices that would correct or address any
                   weaknesses or deficiencies uncovered during the Transactions Review
                   with respect to the TRACER program.



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                                Appendix D to CIA for GlaxoSmithKline LLC

                          Global Manufacturing and Supply-Related Provisions

I.        PREAMBLE

               Prior to the Effective Date of the CIA (as defined below), GSK and its
Affiliates established a voluntary compliance program applicable to the Global
Manufacturing and Supply business unit (GMS Compliance Program). GMS has
responsibility for the compliance function at the manufacturing facility located in
Zebulon, North Carolina (Zebulon) and at manufacturing facilities worldwide. GMS
employees at Zebulon are responsible for the release and post-release management of all
Covered Products (defined below in Section II.C.3) distributed in the United States that
are either manufactured at the Zebulon site or manufactured at other manufacturing
facilities operated by GMS and located outside of the United States.

              The GMS Compliance Program includes a GMS Compliance Officer and a
GMS Compliance Committee. The GMS Compliance Program also includes a Code of
Conduct (as described in Section III.B.1 of the CIA), written policies and procedures,
educational and training initiatives, a Disclosure Program that allows for the confidential
disclosure and investigation of potential compliance violations and disciplinary
procedures, screening measures for Ineligible Persons, and internal auditing procedures.
GSK shall continue the GMS Compliance Program throughout the term of this Appendix
and shall do so in accordance with the terms set forth below. GSK may modify its GMS
Compliance Program as appropriate, but, at a minimum, GSK shall ensure that during the
term of this Appendix, it shall comply with the obligations set forth in this Appendix.

II.       TERM AND SCOPE OF THIS APPENDIX

       A.    Unless otherwise specified, the period of the compliance obligations
assumed by GSK and its Affiliates under this Appendix D shall be five reporting periods,
as defined below. The “Effective Date” shall be the date on which the final signatory of
the CIA executes the CIA. The first Reporting Period shall be from the Effective Date
through December 31, 2013. The second and subsequent Reporting Periods shall be from
January 1 through December 31 of each of the subsequent four calendar years.

      B.     Sections III.D of this Appendix to the CIA and sections VII, X, and XI of
the CIA shall expire no later than 120 days after OIG’s receipt of: (1) GSK’s final Annual
Report with respect to this Appendix; or (2) any additional materials submitted by GSK
pursuant to OIG’s request, whichever is later.

          C.        The scope of this Appendix shall be governed by the following definitions:

                     1.         “Manufacturing Covered Persons” includes:
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                                a.   President, Global Manufacturing and Supply;
                                b.   All members of the GMS Executive Team;
                                c.   Senior Vice President of GMS Quality;
                                d.   All members of the Quality Executive Team (QET);
                                e.   All “above-site” employees with a direct reporting line into a
                                     QET member, and whose responsibilities include managing
                                     GMS employees that directly support cGMP Activities at the
                                     Covered Manufacturing Facility(ies);
                                f.   The Site Quality Director at the Covered Manufacturing
                                     Facility(ies);
                                g.   All GSK employees at the Covered Manufacturing
                                     Facility(ies) who are engaged in cGMP Activities;
                                h.   Senior Vice President of GMS Pharma Operations;
                                i.   All above-site employees with a direct reporting line to the
                                     Senior Vice President of Pharma Operations whose
                                     responsibilities include managing manufacturing operations at
                                     the Covered Manufacturing Facility(ies);
                                j.   With respect to GMS manufacturing facilities (other than a
                                     Covered Manufacturing Facility) located in the United States
                                     that manufacture and/or release drug products for distribution
                                     in the United States, the Site Director, the Site Quality
                                     Director, and any employee who is directly responsible for
                                     authorizing the release for distribution of drug products at
                                     such GMS manufacturing facilities;
                                k.   With respect to GSK vaccines manufacturing facilities (other
                                     than a Covered Manufacturing Facility) located in the United
                                     States that manufacture and/or release vaccines for
                                     distribution in the United States, the Site Director, the Site
                                     Quality Director and any employee who is directly
                                     responsible for authorizing the release for distribution of
                                     vaccines at such vaccines manufacturing facilities;
                                l.   Any GSK employee at a distribution center located in the
                                     United States that is operated by or on behalf of GSK who is
                                     directly responsible for authorizing the release for distribution
                                     of drug products or vaccines from such distribution center;
                                     and
                                m.   Any contractor, subcontractor, agent or other person whose
                                     normal place of work is a Covered Manufacturing
                                     Facility(ies) and whose day-to-day responsibilities directly
                                     relate to cGMP Activities.



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              Notwithstanding the above, this term does not include employees,
contractors, subcontractors, agents, and other persons who are not reasonably expected to
work more than 160 hours per calendar year, except that any such individuals shall
become “Manufacturing Covered Persons” at the point when they work more than 160
hours during the calendar year.

              2.     “cGMP Activities” means activities directly related to ensuring
compliance with current Good Manufacturing Practice (cGMP) requirements contained
in the Federal Food, Drug, and Cosmetic Act and applicable regulations (collectively
“cGMP Requirements”), to submitting cGMP-related reports and information to the
FDA, and/or responding to FDA inspectional observations or other correspondence,
including correspondence regarding cGMP Requirements.

               3.     “Covered Products” means prescription drug products sold by GSK
that are reimbursed by a Federal health care program and that are manufactured at a GSK
facility and released by a Covered Manufacturing Facility (as defined below in Section
II.C.4) or any other GSK facility for distribution into the United States. Vaccines are not
Covered Products.

              4.     “Covered Manufacturing Facility” means the GSK facility in
Zebulon, North Carolina, and subject to Section IV.A, any other GSK facility that after
the Effective Date of this CIA and Appendix, manufactures, or is responsible for the
release of Covered Products in the United States.

III.      CORPORATE INTEGRITY OBLIGATIONS

              To the extent not accomplished prior to the Effective Date, GSK shall
establish and maintain a GMS Compliance Program that includes the following elements:

          A.        Compliance Officer and GMS Compliance Committee

               1.     Compliance Officer. Prior to the Effective Date, GSK appointed an
individual to serve as a Compliance Officer for its GMS business unit (GMS Compliance
Officer) and GSK shall maintain a GMS Compliance Officer for the term of this
Appendix. The GMS Compliance Officer shall be responsible for overseeing the
development and implementation of policies, procedures, and practices designed to
ensure compliance with the requirements set forth in this Appendix relating to cGMP
Activities, with applicable Federal health care program requirements and applicable FDA
requirements. The GMS Compliance Officer shall be a member of senior management of
GMS, and shall report directly to the Senior Vice President for Governance, Ethics and
Assurance of GlaxoSmithKline PLC, who, in turn reports to the Chief Executive Officer
of GlaxoSmithKline PLC. The GMS Compliance Officer shall make periodic (at least
quarterly) reports regarding GMS compliance matters related to this Appendix to the
Board of Directors (or an authorized committee thereof) of GlaxoSmithKline PLC
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(hereinafter, “the Board”), and shall be authorized to report on such matters to the Board
at any time. The GMS Compliance Officer shall not be or be subordinate to the General
Counsel or Chief Financial Officer. The GMS Compliance Officer shall be responsible
for oversight of the day-to-day compliance activities engaged in by GMS as well as for
any reporting obligations created under this CIA. Any noncompliance job
responsibilities of the GMS Compliance Officer shall be limited and must not interfere
with the GMS Compliance Officer’s ability to perform the duties outlined in this CIA.

               GSK shall report to OIG, in writing, any changes in the identity of the GMS
Compliance Officer, or any actions or changes that would affect the GMS Compliance
Officer’s ability to perform the duties necessary to meet the obligations in this Appendix,
within 5 days after such a change.

               2.      GMS Compliance Committee. Prior to the Effective Date, GMS
established a GMS Compliance Committee. The GMS Compliance Committee includes
the GMS Compliance Officer and other members of GMS senior management necessary
to meet the requirements of this Appendix. The GMS Compliance Officer shall co-chair
the GMS Compliance Committee with the GMS President. The GMS Compliance
Committee shall support the GMS Compliance Officer in fulfilling his/her
responsibilities (e.g., shall assist in the analysis of the GMS’s cGMP risk areas and shall
oversee monitoring of internal and external audits and investigations related to cGMP
Requirements). The GMS Compliance Committee shall meet at least quarterly.

             GSK shall report to OIG, in writing, any changes in the composition of the
GMS Compliance Committee, or any actions or changes that would affect the GMS
Compliance Committee’s ability to perform the duties necessary to meet the obligations
in this Appendix, within 15 days after such a change.

              3.      Board of Directors Compliance Obligations. The Board shall be
responsible for the oversight of matters related to compliance with cGMP Activities,
applicable Federal health care program requirements, applicable FDA requirements, and
the obligations of this Appendix.

          The Board shall, at a minimum, be responsible for the following:

                                a.   meeting at least quarterly to review and oversee GMS’s
                                     Compliance Program, including but not limited to the
                                     performance of the GMS Compliance Officer and other GMS
                                     compliance personnel;

                                b.   for each Reporting Period of this Appendix, adopting a
                                     resolution, signed by each member of the Board summarizing
                                     its review and oversight of GMS’s compliance with cGMP
                                     Activities, applicable Federal health care program
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                                      requirements, applicable FDA requirements, and the
                                      obligations of this Appendix.

          At minimum, the resolution shall include the following language:

                                “The Board of Directors has made a reasonable inquiry into the
                                operations of the GMS Compliance Program for the time period
                                [insert time period], including the performance of the GMS
                                Compliance Officer. The Board has concluded that, to the best of its
                                knowledge, GSK has implemented an effective Compliance
                                Program, including a program that is effective to meet applicable
                                Federal health care program requirements, applicable FDA
                                requirements, and the obligations of this Appendix D to the CIA.”

              If the Board is unable to provide such a conclusion in the resolution, the
Board shall include in the resolution a written explanation of the reasons why it is unable
to provide the conclusion and the steps it is taking to implement an effective GMS
Compliance Program.

              GSK shall report to the OIG, in writing, any changes in the composition of
the Board, or any actions or changes that would affect the Board’s ability to perform the
duties necessary to meet the obligations in this Appendix, within 15 days after such
change.

          B.        Written Standards

             Code of Conduct. Prior to the Effective Date, GSK developed and adopted
a written Code of Conduct (as described in Section III.B.1 of the CIA).

              To the extent not already accomplished, within 120 days after the Effective
Date, GSK shall distribute the Code of Conduct to each Manufacturing Covered Person
who is a GSK employee and each Manufacturing Covered Person shall certify, in writing
or electronically, that he or she has received, read, understood, and shall abide by the
Code of Conduct. New Manufacturing Covered Persons shall receive the Code of
Conduct and shall complete the required certification within 30 days after becoming a
Manufacturing Covered Person or within 120 days after the Effective Date, whichever is
later.

              As provided in Section III.B of the CIA, GSK shall periodically review the
Code of Conduct to determine if revisions are appropriate and shall make any necessary
revisions based on such review. Any revised Code of Conduct shall be distributed to
Manufacturing Covered Persons within 30 days to after any revisions are finalized. Each
Manufacturing Covered Person shall certify, in writing or electronically, that he or she

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has received, read, understood, and shall abide by the revised Code of Conduct within 30
days after the distribution of the revised Code of Conduct.

              1.     Policies and Procedures. Prior to the execution of the CIA, GSK
implemented written Policies and Procedures regarding the operation of its GMS
Compliance Program. Within 120 days after the Effective Date, GMS shall implement
written procedures regarding any additional Compliance Program requirements outlined
in this Appendix D. To the extent not already accomplished, within 120 days after the
Effective Date, GMS shall ensure that the Policies and Procedures address or shall
continue to address:

                                a.   the subjects relating to the Code of Conduct identified in
                                     Section III.B.1 of the CIA; and

                                b.   disciplinary policies and procedures for violations of the
                                     Company’s Policies and Procedures, including policies
                                     relating to cGMP Activities and FDA requirements relating to
                                     cGMP Activities.

              To the extent not already accomplished, within 120 days after the Effective
Date, the Policies and Procedures shall be made available to all Manufacturing Covered
Persons. Appropriate and knowledgeable staff shall be available to explain the Policies
and Procedures.

              At least annually (and more frequently, if appropriate), GSK shall assess
and update the Policies and Procedures, as necessary. Within 30 days after the effective
date of any revisions, any such revised Policies and Procedures shall be made available to
all Manufacturing Covered Persons.

          C.        Training and Education

               GSK represents that it provides training on a regular basis concerning a
variety of topics directly related to cGMP Activities. The training required by this
Appendix need not be separate and distinct from the regular training provided by GSK to
Manufacturing Covered Persons. At GSK’s option, the training required by this
Appendix may be integrated into the regular training provided by GSK.

              1.      General Training. Within 120 days after the Effective Date, GMS
shall provide at least one hour of General Training to each Manufacturing Covered
Person. This training, at a minimum, shall explain:

                                a.   The requirements of this Appendix D to the CIA; and


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                                b.   GMS’s Compliance Program, including the Company’s Code
                                     of Conduct.

              New Manufacturing Covered Persons shall receive the General Training
described above within 30 days after becoming a Manufacturing Covered Person or
within 120 days after the Effective Date, whichever is later. After receiving the initial
General Training described above, each Manufacturing Covered Person shall receive at
least one hour of General Training during each subsequent Reporting Period.

       Board Member Training. The training required by Section III.C.4 of the CIA shall
include training on the obligations set forth in this Appendix.

                2.     Certification. Each individual who is required to receive training
shall certify, in writing, or in electronic form, if applicable, that he or she has received the
required training and the date upon which the training was completed. The GMS
Compliance Officer (or designee) shall retain the certifications, along with all course
materials.

            3.    Qualifications of Trainer. Persons providing the training shall be
knowledgeable about the subject area, including about FDA requirements relating to
cGMP Activities.

              4.    Update of Training. GMS shall review the content of each training
program required by this Appendix annually and update the content of each training
program, where appropriate, to reflect any material changes to cGMP requirements,
changes to applicable Federal health care program requirements, FDA requirements, and
any issues observed during internal audits.

               5.     Computer-based Training. GMS may provide the training required
under this Appendix through appropriate computer-based training approaches. If GMS
chooses to provide computer-based training, it shall make available appropriately
qualified and knowledgeable staff or trainers to answer questions or provide additional
information to the individuals receiving such training. All applicable requirements to
provide a number of “hours” of training as set forth in this Section III.C. may be met with
respect to computer-based training by providing the required number of “normative”
hours as that term is used in the computer-based training industry.

                     D.         cGMP Requirements

              1.     In addition to existing FDA authorities and remedies, GSK agrees to
certain obligations under this Appendix relating to cGMP Requirements for GSK drug
products and vaccines. These provisions are in addition to other remedies available to the
FDA.

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               2.    If the Director of Compliance at FDA’s Center for Drug Evaluation
and Research (CDER), or in the case of a vaccine, the Director of Compliance at FDA’s
Center for Biologics Evaluation and Research (CBER) determines that a GSK facility (or
facilities) manufacturing, processing, packing, or holding a GSK drug product or vaccine
is not compliant with cGMP Requirements, FDA may so notify the OIG and recommend
that OIG direct GSK to undertake a Specified Action as set forth below in section III.D.3
of this Appendix.

               3.    If, after reviewing FDA’s notification and recommendation, OIG
agrees that GSK should be directed to undertake a Specified Action as set forth in section
III.D.3 of this Appendix, OIG shall notify GSK in writing of its determination and direct
GSK to undertake one or more of the following actions (Specified Actions):

                                a.   Submit a report or information addressing the assertion of
                                     non-compliance to FDA and OIG within 10 days after the
                                     date of written notification from the OIG in accordance with
                                     the Notification provision in section III.D.4 below;

                                b.   In the event that OIG and/or FDA request additional or
                                     follow-up information, GSK shall submit revised, modified,
                                     or expanded report(s) or plan(s) to FDA and OIG in
                                     accordance with time frames established by the OIG and
                                     FDA; and/or

                                c.   Initiate a recall of the GSK drug product or vaccine in
                                     accordance with the instructions and time frames specified by
                                     OIG and FDA.

              4.     All notifications and reports required under this Section III.D shall
be submitted to the following:

                                     OIG

                                     Administrative and Civil Remedies Branch
                                     Office of Counsel to the Inspector General
                                     Office of Inspector General
                                     U.S. Department of Health and Human Services
                                     Cohen Building, Room 5527
                                     330 Independence Avenue, S.W.
                                     Washington, DC 20201




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                                     FDA

                                     Division of Manufacturing and Product Quality
                                     HFD-320
                                     Center for Drug Evaluation and Research
                                     10903 New Hampshire Avenue
                                     White Oak Bldg. 51
                                     Silver Spring, MD 20993

                                     GSK

                                     Guy Wingate
                                     Vice President - GMS Compliance Officer
                                     GlaxoSmithKline
                                     GSK House (Mailstop BNG-15)
                                     980 Great West Road
                                     Brentford
                                     Middlesex
                                     TW8 9GS
                                     United Kingdom

                                     Paul Noll
                                     Vice President - Associate General Counsel
                                        Legal Operations - Global Manufacturing and Supply
                                     GlaxoSmithKline
                                     Five Moore Drive
                                     Ruvane Building - Mailstop E.3334
                                     Research Triangle Park, NC 27709

             5.      Within 10 days after receiving notification from the OIG of a
Specified Action to be taken, GSK shall notify OIG and FDA in writing either:

                                a.   that GSK is undertaking or has undertaken the Specified
                                     Action, in which event GSK also shall describe the Specified
                                     Action taken or to be taken and the schedule for completing
                                     the action; or

                                b.   that GSK does not agree with the OIG’s determination that it
                                     failed to comply with cGMP Requirements and/or that the
                                     Specified Action is appropriate.



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              6.      If GSK notifies OIG and FDA that it does not agree with the
determination that it failed to comply with cGMP Requirements or that the Specified
Action is appropriate:

                                a.   GSK shall explain in writing the basis for its disagreement; in
                                     so doing, GSK also may propose specific alternative actions
                                     and specific time frames to be substituted for the Specified
                                     Action required under this Section III.D.

                                b.   FDA shall review GSK’s notification and thereafter, in
                                     writing, make a recommendation to OIG that OIG affirm,
                                     modify, or withdraw its proposed Specified Action.

              7.    Based on the advice of the FDA, OIG shall decide whether the
determination that GSK failed to comply with cGMP Requirements and/or the proposed
Specified Action shall be affirmed, modified, or withdrawn and shall provide written
notice (Final Determination) to GSK of the Specified Action to be taken or of the
withdrawal of the Specified Action. GSK shall, upon receipt of the notification of Final
Determination, immediately implement the Final Determination.

              8.     GSK’s failure to implement that Specified Action shall be the basis
for Stipulated Penalties and or Material Breach Penalties under Section X of the CIA.

          E.        Manufacturing Reportable Events

             1.    Definition of Manufacturing Reportable Event. For purposes of this
Appendix, a “Manufacturing Reportable Event” means conduct related to a Covered
Manufacturing Facility or Covered Product that involves:

                                a.   a matter that a reasonable person would consider a probable
                                     violation of criminal, civil, or administrative laws applicable
                                     to cGMP Activities; or

                                b.   the employment of or contracting with a Covered Person who
                                     is an Ineligible Person as defined by Section III.G.1.a of the
                                     CIA;

               A Manufacturing Reportable Event may be the result of an isolated event or
a series of occurrences. A Manufacturing Reportable Event does not include the
following:

                                a.   Field Alert Reports submitted to FDA and related
                                     correspondence;

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                                b.   Observations contained in FDA 483 Reports, GSK’s
                                     responses to those observations and any related
                                     correspondence;

                                c.   Drug Quality Reporting System (DQRS) reports submitted to
                                     FDA and any related correspondence;

                                d.   Reports submitted to FDA relating to suspected or known
                                     counterfeit products and any related correspondence; and

                                e.   GSK Annual Product Reports for marketed products
                                     submitted to FDA and any related correspondence.

               2.    Reporting of Manufacturing Reportable Events. If GSK determines
(after a reasonable opportunity to conduct an appropriate review or investigation) through
any means that there is a Manufacturing Reportable Event, GSK shall, notify OIG in
writing, within 30 days after making the determination that the Reportable Event exists.

            3.    Manufacturing Reportable Events under Section III.E.1.a-b. For
Manufacturing Reportable Events under Sections III.E.1.a-c, the report to OIG shall
include:

                                a.   a complete description of the Manufacturing Reportable
                                     Event, including the relevant facts and persons involved and
                                     the legal authorities implicated;

                                b.   a description of GSK’s actions taken to correct the
                                     Manufacturing Reportable Event; and

                                c.   any further steps GSK plans to take to address the
                                     Manufacturing Reportable Event and prevent it from
                                     recurring.

          F.        Reporting of Certain Events

If GSK voluntarily initiates a recall of a Covered Product manufactured at and/or released
by either a Covered Manufacturing Facility or other GSK manufacturing facility located
in the United States and that has been distributed in the United States, GSK shall notify
OIG in writing within 5 days after initiating the recall.

IV.       CHANGES TO BUSINESS UNITS OR LOCATIONS

               Change of Status of a Covered Manufacturing Facility. In the event that,
after the Effective Date, a new GSK facility located in the United States other than, or in
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addition to, the Zebulon, North Carolina facility, manufacturers and/or releases for
distribution in the United States Covered Products sold by GSK that are reimbursed by
Federal health care programs, such facility may become a Covered Manufacturing
Facility subject to the terms described below. As of the date that such new facility
commences manufacture and/or release of a Covered Product, the Site Director, the Site
Quality Director and all employees who are directly responsible for the release of
Covered Products for distribution in the United States shall become Manufacturing
Covered Persons. GSK shall have thirty (30) days to determine whether such new
facility will continue to release Covered Products for distribution in the United States
independently of the Zebulon, North Carolina facility. If, within the thirty (30) day
period, GSK decides that such new facility will continue to release Covered Products
independently of the Zebulon, North Carolina facility, then such facility shall become a
Covered Manufacturing Facility and employees listed in Section II.C.1 of this Appendix
shall be Manufacturing Covered Persons. If, within the thirty (30) day period, GSK
determines that Covered Products manufactured at the new facility will be released under
the supervision of the Zebulon, North Carolina facility, then such new facility shall not
become a Covered Manufacturing Facility. In such event, the Site Director, the Site
Quality Director and all employees at the facility who are directly responsible for
authorizing the release of Covered Products for distribution in the United States shall be
Manufacturing Covered Persons. GSK shall notify the OIG about the new Covered
Manufacturing Facility in accordance with the timeframes specified in Section IV of the
CIA.


V.        IMPLEMENTATION AND ANNUAL REPORTS

       A.   Appendix Implementation Report. Within 150 days after the Effective
Date, GSK shall submit a written report to OIG summarizing the status of its
implementation of the requirements of this Appendix (Appendix D Implementation
Report). The Appendix D Implementation Report shall, at a minimum, include:

            1.     the name, address, phone number, and position description of the
GMS Compliance Officer required by Section III.A of this Appendix, and a summary of
other noncompliance job responsibilities the GMS Compliance Officer may have;

            2.     the names and positions of the members of the GMS Compliance
Committee required by Section III.A.2 of this Appendix;

              3.      the names of the members of the Board of Directors referenced in
Section III.A.3 of this Appendix;

               4.     the number of individuals required to complete the Code of Conduct
certification required by Section III.B.1 of this Appendix, the percentage of individuals

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who have completed such certification, and an explanation of any exceptions (the
documentation supporting this information shall be available to OIG upon request);

             5.     a summary of all Policies and Procedures required by Section III.B
of this Appendix (copies of the Policies and Procedures shall be made available to OIG
upon request);

              6.      the following information regarding each type of training required
by Section III.C of this Appendix:

                                a.    a description of such training, including a summary of the
                                      topics covered, the length of sessions, and a schedule of
                                      training sessions; and

                                b.    the number of individuals required to be trained, percentage
                                      of individuals actually trained, and an explanation of any
                                      exceptions.

             A copy of all training materials and the documentation supporting this
information shall be made available to OIG upon request.

            7.     A description of GSK’s corporate structure as it relates to GMS and
cGMP Activities; and

                     8.         the certifications required by Section V.C of this Appendix.

       B.     Appendix Annual Reports. GSK shall submit to OIG annually a report with
respect to the status of, and findings regarding, GMS’s compliance activities for each of
the five Reporting Periods (Appendix Annual Report).

Each Appendix Annual Report shall include, at a minimum:

              1.    Any change in the identity, position description, or other
noncompliance job responsibilities of the GMS Compliance Officer, any changes in the
membership of the GMS Compliance Committee, and any changes in the membership of
the Board as described in Section III.A of this Appendix;

                     2.         The Board resolution required by Section III.A.3 of this Appendix;

             3.      The number of individuals required to complete the Code of
Conduct certification required by Section III.B.1 of this Appendix, the percentage of
individuals who have completed such certification, and an explanation of any exceptions
(the documentation supporting this information shall be made available to OIG upon
request);

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              4.    A summary of any significant changes or amendments to the
Policies and Procedures required by Section III.B of this Appendix and the reasons for
such changes.

              5.      The following information regarding each type of training required
by Section III.C of this Appendix:

                                a.    a description of the initial and annual training, including a
                                      summary of the topics covered, the length of sessions, and a
                                      schedule of training sessions; and

                                b.    the number of individuals required to complete the initial and
                                      annual training, the percentage of individuals who actually
                                      completed the initial and annual training, and an explanation
                                      of any exceptions.

A copy of all training materials and the documentation to support this information shall
be made available to OIG upon request.

              6.      A copy of any recall notices issued during the Reporting Period by
GSK for Covered Products sold in the United States, a description of GSK’s corrective
action(s) taken related to the recall, and any further steps GSK plans to take related to the
recall.

               7.     A summary of Manufacturing Reportable Events (as defined in
Section III.E) identified during the Reporting Period and the status of any corrective
action relating to each such Reportable Events;

             8.      A description of any changes to GSK’s corporate structure as
reported pursuant to Section V.A.7 of this Appendix D and an identification of any
Covered Manufacturing Facility, if any, in lieu of or in addition to the Zebulon facility;

                     9.         The certifications required by Section V.C.

        The first Appendix Annual Report shall be received by OIG no later than 60 days
after the end of the first Reporting Period. Subsequent Appendix Annual Reports shall be
received by OIG no later than the anniversary date of the due date of the first Appendix
Annual Report.

     C.    Certifications. The Appendix Implementation Report and each Appendix
Annual Report shall include a certification by the GMS Compliance Officer that:

               1.    to the best of his or her knowledge, except as otherwise described in
the report, GMS is in compliance in all material respects with cGMP Requirements and
all of the requirements of this CIA; and
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               2.    he or she has reviewed the report and has made reasonable inquiry
regarding its content and believes that the information in the report is accurate and
truthful.

        D.     Designation of Information. GSK shall clearly identify any portions of its
submissions that it believes are trade secrets, or information that is commercial or
financial and privileged or confidential, and therefore potentially exempt from disclosure
under the Freedom of Information Act (FOIA), 5 U.S.C. § 552. GSK shall refrain from
identifying any information as exempt from disclosure if that information does not meet
the criteria for exemption from disclosure under FOIA.

VI.       NOTIFICATIONS AND SUBMISSION OF REPORTS

       Unless otherwise stated in writing after the Effective Date, all notifications and
reports required under this Appendix D shall be submitted to the following entities:

                                OIG:
                                Administrative and Civil Remedies Branch
                                Office of Counsel to the Inspector General
                                Office of Inspector General
                                U.S. Department of Health and Human Services
                                Cohen Building, Room 5527
                                330 Independence Avenue, S.W.
                                Washington, DC 20201
                                Telephone: 202.619.2078
                                Facsimile: 202.205.0604

                                GSK:
                                Guy Wingate
                                Vice President - GMS Compliance Officer
                                GlaxoSmithKline
                                GSK House (Mailstop BNG-15)
                                980 Great West Road
                                Brentford
                                Middlesex
                                TW8 9GS
                                United Kingdom
                                Telephone: +44-1833-693330
                                Facsimile: +44-2080-476905




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                                Paul Noll
                                Vice President - Associate General Counsel
                                Legal Operations - Global Manufacturing and Supply
                                GlaxoSmithKline
                                Five Moore Drive
                                Ruvane Building - Mailstop E.3334
                                Research Triangle Park, NC 27709
                                Telephone: (919) 483-2444
                                Facsimile: (919) 483-2881

        Unless otherwise specified, all notifications and reports required by this Appendix
may be made by certified mail, overnight mail, hand delivery, or other means, provided
that there is proof that such notification was received. For purposes of this requirement,
internal facsimile confirmation sheets do not constitute proof of receipt. Upon request by
OIG, GSK may be required to provide OIG with an electronic copy of each notification
or report required by this Appendix to the CIA in searchable portable document format
(pdf), in addition to a paper copy.




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                        Appendix E to CIA for GlaxoSmithKline LLC
                           Executive Financial Recoupment Program

Executive Financial Recoupment Program. Through its Existing Commitments and
the New Commitments to be implemented, GSK shall establish and maintain throughout
the term of the CIA a financial recoupment program that puts at risk of forfeiture and
recoupment an amount equivalent to up to 3 years of annual performance pay (i.e., annual
bonus, plus long term incentives) for an executive who is discovered to have been
involved in any significant misconduct (Executive Financial Recoupment Program). This
financial recoupment program shall apply to Covered Executives, as defined below in
Paragraph B, who are either current GSK employees or who are former GSK employees
at the time of a Recoupment Determination.

       (A) Existing Commitments. The annual cash bonus for each GSK employee
based in the United States and the United Kingdom is at risk of forfeiture in the event of
employee misconduct that is discovered by GSK before the bonus is paid. In the event of
misconduct by any GSK employee worldwide, GSK also has reserved the right and full
discretion to void and forfeit any unvested share options and any unvested restricted
share grants under the GSK Share Option Plan, Share Value Plan and Performance Share
Plan (collectively, the “LTI Plans”). If GSK discovers any employee misconduct that
would implicate the forfeitures described in this paragraph, it shall evaluate the situation
and make a determination about whether any forfeiture, and the terms of such forfeiture,
shall be implemented.

       (B) New Commitments. In addition to the compensation forfeiture provisions
already in place with respect to annual bonuses and the LTI Plans, within 120 days after
the Effective Date of the CIA, GSK shall modify and supplement its annual bonus plan
and LTI Plan requirements (and any employment agreements, as appropriate) by
imposing the following eligibility and repayment conditions on future bonuses and LTI
Plan grants, as well as establishing the mandatory deferred annual bonus, tolling remedy,
and additional remedies discussed below (collectively, “New Commitments”) to all
members of GSK’s Corporate Executive Team (CET) and to any Vice Presidents and
Senior Vice Presidents in Grades 0, 1, and 2 who are based in the United States
(collectively “Covered Executives”). The New Commitments shall apply prospectively
to Covered Executives beginning with the 2013 bonus plan year and LTI Plan grants.

              (i)    Executive Bonus Eligibility and Repayment Conditions. GSK
shall implement an eligibility and repayment condition on annual bonuses designed to
survive both the payment of the bonus and the separation of a Covered Executive’s
employment. This will allow GSK, as a consequence of a Triggering Event as defined
below in Paragraph C, to pursue repayment from the Covered Executive of all or any
portion of the bonus monies paid to the Covered Executive. To the extent permitted by
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controlling law, these bonus eligibility and repayment conditions will survive the
payment of the Covered Executive’s bonus and the separation of the Covered Executive’s
employment for a period of 3 years from the payment of the bonus for the plan year.

Consistent with a Recoupment Determination, as defined below in Paragraph D, GSK
shall endeavor to collect repayment of any bonus from the Covered Executive through
reasonable and appropriate means according to the terms of its bonus plan (or executive
contract, as the case may be), and to the extent permitted by controlling law of the
relevant jurisdiction. If necessary to collect the repayment, GSK shall file suit against the
Covered Executive unless good cause exists not to do so. For purposes of the Executive
Financial Recoupment Program, good cause shall include, but not be limited to, a
financial inability on the part of the Covered Executive to repay any recoupment amount
or GSK’s inability to bring such a suit under the controlling law of the relevant
jurisdiction.

             (ii)   LTI Plans. Prior to the Effective Date, GSK implemented a
recoupment process for Covered Executives’ unvested LTI share grants as discussed in
Paragraph A (Existing Commitments) above. With respect to current GSK Covered
Executives, GSK shall maintain these Existing Commitments and follow the Recoupment
process and procedures established by the Recoupment Committee for the duration of the
CIA. GSK shall also implement an eligibility and repayment condition on share grants
made under LTI Plans designed to survive the separation of a Covered Executive’s
employment.

To the extent necessary, GSK shall implement an eligibility and repayment condition on
grants made under the LTI Plans in order to clarify that, as a consequence of a Triggering
Event, GSK may pursue repayment by a Covered Executive who is a former employee of
all or any portion of the last 3 years’ worth of share option and restricted share grants that
became vested and were paid during the Covered Executive’s last years of employment
and following termination of employment.

To the extent permitted by controlling law, these eligibility and repayment conditions
shall survive vesting and payment for a period of 3 years from the Covered Executive’s
employment termination date. In addition, GSK shall amend the vesting schedule in the
LTI Plans so that Covered Executives who are “good leavers” (e.g., terminating
employment due to retirement, death or disability) will no longer vest in, nor receive a
distribution of, any unvested share options or restricted shares immediately following
termination of employment; rather, these LTI Plan grants will only vest and be
distributable after the first anniversary of the Covered Executive’s termination of
employment. Consistent with a Recoupment Determination, GSK shall endeavor to
collect repayment of these LTI Plan awards from the Covered Executive through
reasonable and appropriate means and to the extent permitted by controlling law of the
jurisdiction in which the Covered Executive works. If necessary to collect the
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repayment, GSK shall file suit against the Covered Executive unless good cause exists
not to do so.

               (iii) Mandatory Deferred Annual Bonus. GSK shall establish a
deferred compensation plan that requires the deferral of ten (10%) percent of a Covered
Executive’s annual bonus (twenty-five (25%) percent, in the case of CET members) for a
3-year period that survives separation of the Covered Executive’s employment. Bonuses
deferred under the plan shall be matched on a dollar-for-dollar basis by GSK. Consistent
with a Recoupment Determination, all deferred bonuses, matching contributions and any
related gains thereon are subject to forfeiture and voidance as a consequence of a
Triggering Event.

               (iv) Tolling Remedy. To the extent permitting by controlling law, for the
3 years during which the bonus eligibility and repayment conditions exist, if GSK
reasonably anticipates that a Triggering Event has occurred pursuant to Paragraph C, and
GSK has recoupment rights remaining under Paragraphs B(i) and B(ii), GSK shall have
the right to notify the Covered Executive that those rights shall be tolled and thereby
extended for an additional 3 years or until the Recoupment Committee determines that a
Triggering Event has not occurred, whichever is earlier, to the extent permitted by
controlling law of the relevant jurisdiction.

              (v)    Additional Remedies. If, after expiration of the time period
specified in Paragraphs B(i)-(iii) above, the Recoupment Committee determines that a
Triggering Event occurred, GSK shall make a determination as to whether to pursue
available remedies (e.g., filing suit against the Covered Executive) existing under statute
or common law to the extent available.

       (C) Definition of Triggering Events. The eligibility and repayment conditions
described above shall be triggered upon a Recoupment Determination that finds:

(i) significant misconduct (e.g., violation of a significant GSK policy, or regulation, or
law) by the Covered Executive that, if discovered prior to payment, would have made the
Covered Executive ineligible for an annual bonus, bonus deferral or LTI Plan grant in
that plan year or subsequent plan years; or

(ii) significant misconduct by subordinate employees in the business unit over which the
Covered Executive had responsibility that does not constitute an isolated occurrence and
which the Covered Executive knew or should have known was occurring that, if
discovered prior to payment, would have made the Covered Executive and/or employees
in question ineligible for an annual bonus, bonus deferral or LTI Plan grant in that plan
year or subsequent plan years.


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       (D) Administration of Recoupment Program. GSK shall engage in a
standardized, formal process to determine, in its sole discretion, whether a Triggering
Event has occurred, and, if so, the extent of bonus monies, LTI Plan grants and deferred
compensation that will be subject to repayment or forfeiture by the Covered Executive,
and the most appropriate method for securing recoupment of relevant monies previously
paid to a Covered Executive. The findings and conclusions resulting from this process
shall be referred to as the “Recoupment Determination”.

                (i)     Initiation. GSK shall initiate the Recoupment Determination
                process upon: (1) discovery of potential significant misconduct that may
                rise to the level of a Triggering Event, or (2) written notification by a
                United States federal government agency to the Senior Vice President for
                Governance, Ethics, and Assurance of GlaxoSmithKline PLC of a situation
                that may rise to the level of a Triggering Event and either occurred in the
                United States or gives rise to liability relating to Federal healthcare
                programs. This written notification shall either identify the Covered
                Executive(s) potentially at issue or provide information (e.g., a description
                of the alleged misconduct and the applicable time period) to allow GSK to
                identify the Covered Executive.

                (ii)   Recoupment Committee. The Recoupment Determination shall be
                made by a committee of senior executives headed by the Senior Vice
                President for Governance, Ethics, and Assurance of GlaxoSmithKline PLC
                (Recoupment Committee). With respect to members of the CET, a
                Recoupment Determination shall be subject to ratification by the Board of
                Directors (or appropriate committee thereof) of GlaxoSmithKline PLC.

                (iii) Timeline for Recoupment Determination Process. GSK shall
                initiate the Recoupment Determination process within 30 days after
                discovery by GSK or notification, pursuant to Paragraph D(i), of a potential
                Triggering Event. Absent extraordinary reasons, GSK shall reach a
                Recoupment Determination within 90 days after initiation of the
                determination process.

In connection with making its Recoupment Determination, the Recoupment Committee
or appropriate Delegate pursuant to implementing policies and procedures shall: i)
undertake an appropriate and substantive review or investigation of the facts and
circumstances associated with the Triggering Event or any written notifications about
potential Triggering Events received pursuant to Paragraph D(i) above; ii) make written
findings regarding the facts and circumstances associated with the Triggering Event and
any written notifications about potential Triggering Events received pursuant to
Paragraph D(i) above; and iii) set forth in writing its determinations (and the rationale for
such determinations) about: 1) whether a Triggering Event occurred; 2) the extent of
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bonus monies, LTI Plan grants or deferred compensation that will be subject to forfeiture
and/or repayment by the Covered Executive; 3) the means that will be followed to
implement the forfeiture and/or secure the recoupment of performance pay from the
Covered Executive; and 4) the timetables under which GSK will implement the forfeiture
and/or attempt to recoup the performance pay. For purposes of this paragraph, a
“Delegate” shall refer to the GSK personnel to whom the Recoupment Committee has
delegated one or more of its required tasks in furtherance of the Executive Financial
Recoupment Program.

        (E) Reporting. The Recoupment Committee shall provide annual reports to
the Board of Directors (or an appropriate committee thereof) of GlaxoSmithKline PLC
about: i) the number and circumstances of any Triggering Events that occurred during the
preceding year and any written notifications about potential Triggering Events received
pursuant to Paragraph D(i) above; ii) a description of any Recoupment Determinations
made during the preceding year (including any decision to require or not require
forfeiture/recoupment from any Covered Executives, the amount and type of any
forfeiture/recoupment, the means for collecting any recoupment and the rationale for such
decisions); and iii) a description of the status of any forfeitures and/or recoupments
required under prior Recoupment Determinations that were not fully completed in prior
years.

The Recoupment Committee shall also provide annual reports to the OIG about: i) the
number and circumstances of any Triggering Events that occurred during the preceding
year and any written notifications about potential Triggering Events received pursuant to
Paragraph D(i) above; ii) a summary description of any Recoupment Determinations
made during the preceding year (including any decision to require or not require
forfeiture/recoupment from any Covered Executives, the amount and type of any
forfeiture/recoupment, the method for collecting any recoupment, and the rationale for
such decisions); and iii) a description of the status of any forfeitures and/or recoupments
required under prior Recoupment Determinations that were not fully completed in prior
years.

GSK commits to maintaining all of the forfeiture and recoupment commitments set forth
in Paragraphs A-E above for at least the duration of the CIA, absent agreement otherwise
with the OIG.




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  GSK China Investigation Outcome
  19 September 2014
  GlaxoSmithKline plc (GSK) today announced that the Changsha Intermediate People’s
  Court in Hunan Province, China ruled that GSK China Investment Co. Ltd (GSKCI) has,
  according to Chinese law, offered money or property to non­government personnel in
  order to obtain improper commercial gains, and been found guilty of bribing non­
  government personnel. The verdict follows investigations initiated by China’s Ministry of
  Public Security in June 2013.

  As a result of the Court’s verdict, GSKCI will pay a fine of £297 million (3 billion RMB at a
  currency exchage rate of 10.0980) to the Chinese government. This will be funded
  through existing cash resources. Associated costs and charges related to restructuring
  will be included in GSK’s third quarter update.

  The illegal activities of GSKCI are a clear breach of GSK’s governance and compliance
  procedures; and are wholly contrary to the values and standards expected from GSK
  employees. GSK has published a statement of apology to the Chinese government and its
  people on its website (www.gsk-china.com).

  GSK has co­operated fully with the authorities and has taken steps to comprehensively
  rectify the issues identified at the operations of GSKCI. This includes fundamentally
  changing the incentive program for its salesforces (decoupling sales targets from
  compensation); significantly reducing and changing engagement activities with healthcare
  professionals; and expanding processes for review and monitoring of invoicing and
  payments.

  GSK Chief Executive Officer, Sir Andrew Witty said: "Reaching a conclusion in the
  investigation of our Chinese business is important, but this has been a deeply
  disappointing matter for GSK. We have and will continue to learn from this. GSK has been
  in China for close to a hundred years and we remain fully committed to the country and its
  people. We will continue to expand access to innovative medicines and vaccines to
  improve their health and well­being. We will also continue to invest directly in the country
  to support the government's health care reform agenda and long­term plans for economic
  growth."                                                                              Exhibit


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  more, feel better and live longer. For further information please visit www.gsk.com.




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     GSK employees




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  GlaxoSmithKline plc. Registered in England and Wales No. 3888792.
  Registered office: 980 Great West Road, Brentford, Middlesex, TW8 9GS, United Kingdom.




                                                                                                         Case ID: 181003237
http://www.gsk.com/en-gb/media/press-releases/2014/gsk-china-investigation-outcome/                                  2/3
12/7/2016             Case 2:16-cv-05924-NIQA GSK China Investigation
                                              Document        18-10   Outcome | GSK
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http://www.gsk.com/en-gb/media/press-releases/2014/gsk-china-investigation-outcome/                                  3/3
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ADMINISTRATIVE PROCEEDING
File No. 3-17606

GlaxoSmithKline Pays $20 Million Penalty to Settle FCPA Violations

September 30, 2016 – The Securities and Exchange Commission today announced that
GlaxoSmithKline plc (“GSK”) has agreed to pay $20 million to settle charges that it violated the
Foreign Corrupt Practices Act (FCPA) when its China-based subsidiaries engaged in pay-to-
prescribe schemes to increase sales.

An SEC investigation found that the schemes spanned a period of years and involved the transfer
of money, gifts, and other things of value to health care professionals, which led to millions of
dollars in increased sales of GSK pharmaceutical products to China’s state health institutions.
The participants included certain complicit sales and marketing managers within GSK’s China-
based subsidiaries. GSK failed to devise and maintain a sufficient system of internal accounting
controls and lacked an effective anti-corruption compliance program to detect and prevent these
schemes. As a result, the improper payments were not accurately reflected in GSK’s books and
records.

The SEC’s order finds that GSK violated the FCPA’s internal controls and books-and-records
provisions. GSK consented to the order without admitting or denying the findings, and agreed to
pay a $20 million civil penalty. GSK also agreed to provide status reports to the SEC for the
next two years on its remediation and implementation of anti-corruption compliance measures.

See also:     Order

                                             # # #




                                                                                                    Exhibit

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                           UNITED STATES OF AMERICA
                                    Before the
                      SECURITIES AND EXCHANGE COMMISSION

SECURITIES EXCHANGE ACT OF 1934
Release No. 79005 / September 30, 2016

ACCOUNTING AND AUDITING ENFORCEMENT
Release No. 3810 / September 30, 2016

ADMINISTRATIVE PROCEEDING
File No. 3-17606
                                                     ORDER INSTITUTING CEASE-AND-DESIST
In the Matter of                                     PROCEEDINGS, PURSUANT TO SECTION
                                                     21C OF THE SECURITIES EXCHANGE ACT
       GlaxoSmithKline plc,                          OF 1934, MAKING FINDINGS, AND
                                                     IMPOSING REMEDIAL SANCTIONS AND A
Respondent.                                          CEASE-AND-DESIST ORDER




                                                I.

       The Securities and Exchange Commission (“Commission”) deems it appropriate that cease-
and-desist proceedings be, and hereby are, instituted pursuant to Section 21C of the Securities
Exchange Act of 1934 (“Exchange Act”), against GlaxoSmithKline plc (“Respondent”).

                                               II.

        In anticipation of the institution of these proceedings, Respondent has submitted an Offer
of Settlement (the “Offer”) which the Commission has determined to accept. Solely for the
purpose of these proceedings and any other proceedings brought by or on behalf of the
Commission, or to which the Commission is a party, and without admitting or denying the findings
herein, except as to the Commission’s jurisdiction over it and the subject matter of these
proceedings, which are admitted, Respondent consents to the entry of this Order Instituting Cease-
and-Desist Proceedings, Pursuant to 21C of the Securities Exchange Act of 1934, Making
Findings, and Imposing Remedial Sanctions and a Cease-and-Desist Order (“Order”), as set forth
below.




                                                                                                     Exhibit

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                                                 III.

       On the basis of this Order and Respondent’s Offer, the Commission finds1 that

                                             Summary

       A.     These proceedings arise out of GSK’s violations of the internal controls and
recordkeeping provisions of the Foreign Corrupt Practices Act of 1977 (the “FCPA”) [15 U.S.C. §
78dd].

        B.      Between at least 2010 and June 2013, employees and agents of GSK’s China-based
subsidiary and a China-based joint-venture engaged in various transactions and schemes to provide
things of value to foreign officials, including healthcare professionals (“HCPs”), in order to
improperly influence them and increase sales of GSK products in China.

        C.       This misconduct was facilitated in part by the use of collusive third parties that
ostensibly provided legitimate travel and other services. The funds used for the improper
inducements were frequently obtained under the guise of, and falsely recorded in GSK’s books and
records as, legitimate travel and entertainment expense, marketing expense, speaker payments,
medical associations payments, and promotion expense. Throughout this period GSK failed to
devise and maintain a sufficient system of internal accounting controls and lacked an effective anti-
corruption compliance program.

        D.       The deficiencies in GSK’s internal accounting controls and compliance program
also led to instances of similar improper conduct in connection with sales in other countries in
which GSK operates.


                                          Respondent

       E.      GlaxoSmithKline plc is a corporation organized in the United Kingdom. Its
headquarters are located in Middlesex, United Kingdom. GSK’s common stock is registered with
the Commission under Section 12(b) of the Securities Exchange Act and trades on the New York
Stock Exchange under the symbol ‘GSK’.

        F.      GSK is a global provider of pharmaceutical and consumer health care products and
its products are sold in at least 150 countries.




1
       The findings herein are made pursuant to Respondent's Offer of Settlement and are not
       binding on any other person or entity in this or any other proceeding.

                                                  2


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                                   Other Relevant Entities

      G.      GlaxoSmithKline (China) Investment Co Ltd (“GSKCI”) is operated from
Shanghai, China. GSKCI operations include the sale and marketing of pharmaceutical products.
GSKCI is a wholly-owned indirect subsidiary of GSK.

        H.      Sino-American Tianjin Smith Kline & French Laboratories Ltd (“TSKF”) is a
public-private joint venture with Tianjin Zhong Xin Pharmaceutical Group Corporation Ltd and
Tianjin Pharmaceutical Group Co Ltd. GSK indirectly owns 55 percent of TSKF.

                                                 Facts

        I.      From at least 2010 to June 2013, employees and agents of GSKCI and TSKF
engaged in transactions and schemes to corruptly transfer things of value to foreign officials in
China to increase sales of pharmaceutical products. The payments were made to increase sales
through increased prescriptions by individual HCPs and purchases by hospital administrative staff
responsible for product selection or purchase. The conduct occurred across all geographic areas
within the sales and marketing functions and impacted all product lines.

         J.     The corrupt payments took varied forms, including gifts, improper travel and
entertainment with no or little educational purpose, shopping excursions, family and home visits,
and cash. The costs associated with these payments were recorded in GSK’s books and records
as legitimate expenses, such as medical association sponsorships, employee expenses, conferences,
speaker fees, and marketing costs.

        K.      These improper practices were pervasive among GSKCI’s and TSKF’s sales and
marketing representatives and were condoned by regional and district managers. For example, a
2013 work plan submitted by a sales representative to a regional sales manager described the intent
to pay, among other things, an HCP RMB 20/box of prescribed product every month, and deliver
appropriate gifts on each holiday in exchange for a guarantee of more than 40 boxes of prescribed
product every month.

        L.      Among the ways employees were able to fund payments to HCPs was the use of
collusive third party vendors, such as those used to perform planning and travel services for events
involving HCPs. Between 2010 and June 2013, GSKCI spent nearly RMB 1.4 billion (USD $225
million) on planning and travel services. Test sampling showed that approximately 44 percent of
the sampled invoices were inflated and approximately 12 percent were for events that did not
occur.

        M.      Controls weaknesses also permitted ostensibly legitimate speaker fees to be used to
improperly influence HCPs. While GSK’s policies as of 2010 placed limits on the amount of fees
paid to speakers per hour and by 2012 cumulatively per year, there was no effective system in
place to ensure the actual identity of a speaker. Of approximately RMB 106 million (USD $17
million) spent by GSKI in speaker fees, approximately RMB 14 million (USD $2.2 million) was
paid to persons whose qualification as an HCP could not be verified.

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         N.       Marketing programs were another mechanism used to improperly influence HCPs.
For example, in 2010, GSKCI engaged a local vendor to facilitate a national marketing program
called the Cold Chain Project. The project was intended to provide healthcare clinics with tools to
facilitate the storage and administration of vaccines that required refrigeration. However, the
project was instead used to provide HCPs with gifts such as laptops, tablets, and other electronic
devices. Over the life of the project, GSKCI paid out RMB 14.6 million (approximately USD $2.3
million). The project was created and administered by senior marketing and sales managers of
GSKCI. The clinics selected were based upon the potential to market additional pharmaceutical
products.

        O.     During this period, local internal audit and compliance reviews identified controls
deficiencies and evidence of some mechanisms that were used to fund the improper payments, but
they were treated as isolated instances rather than signs of a larger problem. For example, in 2013 a
Sales Rep Office Audit was conducted by internal audit with respect to the Guangzhou office.
Among the problems identified were:

                      Issues of falsified POS slips and fake bank statements
                      Issues of fake invoices claimed from hotels and restaurants for sales
                       meeting activities. These invoices came from a local preferred meeting
                       agency used by the Guangzhou office.
                      Compliance and New Employee training not timely completed
                      Sales employees’ salaries were significantly driven by commissions that
                       could lead to an incentive to improperly inflate sales. The audit sampled 20
                       percent of the sales team for the office and found that for 41 percent their
                       sales commission bonuses were greater than 50 percent of their income.

        P.       As early as 2010, internal audit identified problems related to sales and promotions
staff practices in China. Among other findings it noted:

                       [d]uring 2010, several new policies governing commercial
                       activities such as grants and donations and sponsorships
                       were introduced. The significant changes, combined with
                       the high staff turnover, contribute to an environment where
                       many commercial and medical staff do not understand how
                       to apply policies or the rationale behind them. This was
                       evidenced by approval of non-compliant activities, a lack of
                       clarity on which policy to apply for activities such as grants,
                       and weaknesses in documentation to support the legitimate
                       intent of activities such as advisory boards and sponsorships
                       of HCPs to attend meetings.

       Q.     As a result of the conduct described above, Respondent violated Sections
13(b)(2)(A) and 13(b)(2)(B) of the Securities Exchange Act of 1934 [15 U.S.C. §§ 78m(b)(2)(A)
and 78m(b)(2)(B)].
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                            GSK’s Remedial Efforts

R. In determining to accept the Offer, the Commission considered remedial acts
   promptly undertaken by Respondent and cooperation afforded the Commission staff.

       1. During the course of the investigation, Respondent provided prompt and
          regular briefings regarding its own internal investigation in China, and with
          respect to other countries. Respondent timely conveyed the facts it learned in
          the course of its own investigation, promptly responded to document requests
          by the Commission staff, and provided translations of documents as needed.

       2. Respondent also provided detailed and timely information regarding its
          remedial efforts, enhancements to its compliance program and implementation
          of key initiatives.

       3. Respondent made global changes to its business. This included the
          elimination of most payments to doctors, including fees to HCPs to speak
          about the Company’s prescription medicines, and altering the compensation
          structure for its sales force to eliminate incentive pay based on the number of
          prescriptions generated. Respondent enhanced its global risk assessment
          process, strengthened its monitoring and risk assessment tools, and increased
          its global compliance organization. Respondent also enhanced its third-party
          oversight program, including increasing the number and scope of third-party
          audits, and increased training and education of employees on anti-bribery
          issues.

                                  Undertakings

S.     Respondent has undertaken to:

       1. Report to the Commission staff periodically, at no less than nine-month intervals
          during a two-year term, the status of its remediation and implementation of
          compliance measures. During this two-year period, should Respondent discover
          credible evidence, not already reported to the Commission staff, that
          questionable or corrupt payments or questionable or corrupt transfers of value
          may have been offered, promised, paid, or authorized by Respondent, or any
          entity or person acting on behalf of Respondent, or that related false books and
          records have been maintained, Respondent shall promptly report such conduct to
          the Commission staff. During this two-year period, Respondent shall: (a)
          conduct an initial review and submit an initial report, and (b) conduct and
          prepare at least two follow-up reviews and reports, as described below:

                      i. Respondent shall submit to the Commission staff a written
                         report within 180 calendar days of the entry of this Order setting
                         forth a complete description of its Foreign Corrupt Practices Act
                         (“FCPA”) and anti-corruption related remediation efforts to
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                        date, its proposals reasonably designed to improve the policies
                        and procedures of Respondent for ensuring compliance with the
                        FCPA and other applicable anticorruption laws, and the
                        parameters of the subsequent reviews (the “Initial Report”). The
                        Initial Report shall be transmitted to Charles Cain, Deputy Unit
                        Chief, FCPA Unit, Division of Enforcement, United States
                        Securities and Exchange Commission, 100 F St NE,
                        Washington, DC 20549. Respondent may extend the time
                        period for issuance of the Initial Report with prior written
                        approval of the Commission staff.

                    ii. Respondent shall undertake at least two follow-up reviews,
                        incorporating any comments provided by the Commission staff
                        on the previous report, to further monitor and assess whether the
                        policies and procedures of Respondent are reasonably designed
                        to detect and prevent violations of the FCPA and other
                        applicable anti-corruption laws (the “Follow-up Reports”).

                   iii. The first Follow-up Report shall be completed by no later than
                        270 days after the Initial Report. The second Follow-up Report
                        shall be completed by no later than 450 days after the
                        completion of the Initial Report. Respondent may extend the
                        time period for issuance of the Follow-up Reports with prior
                        written approval of the Commission staff.

                   iv. The periodic reviews and reports submitted by Respondent will
                       likely include proprietary, financial, confidential, and
                       competitive business information. Public disclosure of the
                       reports could discourage cooperation, impede pending or
                       potential government investigations and thus undermine the
                       objectives of the reporting requirement. For these reasons,
                       among others, the reports and the contents thereof are intended
                       to remain and shall remain non-public, except (a) pursuant to
                       court order, (b) as agreed by the parties in writing, (c) to the
                       extent that the Commission staff determines in its sole discretion
                       that disclosure would be in furtherance of the Commission’s
                       discharge of its duties and responsibilities, or (d) is otherwise
                       required by law.

     2. Certify, in writing, compliance with the undertaking(s) set forth above. The
        certification shall identify the undertaking(s), provide written evidence of
        compliance in the form of a narrative, and be supported by exhibits sufficient to
        demonstrate compliance. The Commission staff may make reasonable requests
        for further evidence of compliance, and Respondent agrees to provide such
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                     evidence. The certification and supporting materials shall be submitted to
                     Charles Cain, Deputy Unit Chief, FCPA Unit, with a copy to the Office of the
                     Chief Counsel of the Enforcement Division, no later than sixty (60) days from
                     the date of the completion of the undertakings.

                                                IV.

        In view of the foregoing, the Commission deems it appropriate to impose the sanctions
agreed to in Respondent’s Offer. Accordingly, pursuant to Section 21C of the Exchange Act, it is
hereby ORDERED that:

        A.      Respondent cease and desist from committing or causing any violations and any
future violations of Sections 13(b)(2)(A) and 13(b)(2)(B) of the Securities Exchange Act of 1934
[15 U.S.C. §§ 78m(b)(2)(A) and 78m(b)(2)(B)].

        B.      Respondent shall, within 10 days of the entry of this Order, pay a civil money
penalty in the amount of $20,000,000 to the Securities and Exchange Commission for transfer to
the general fund of the United States Treasury, subject to Exchange Act Section 21F(g)(3). If
timely payment is not made, additional interest shall accrue pursuant to 31 U.S.C. §3717. Payment
must be made in one of the following ways:

               (1)      Respondent may transmit payment electronically to the Commission, which
                        will provide detailed ACH transfer/Fedwire instructions upon request;

               (2)      Respondent may make direct payment from a bank account via Pay.gov
                        through the SEC website at http://www.sec.gov/about/offices/ofm.htm; or

               (3)      Respondent may pay by certified check, bank cashier’s check, or United
                        States postal money order, made payable to the Securities and Exchange
                        Commission and hand-delivered or mailed to:

               Enterprise Services Center
               Accounts Receivable Branch
               HQ Bldg., Room 181, AMZ-341
               6500 South MacArthur Boulevard
               Oklahoma City, OK 73169

Payments by check or money order must be accompanied by a cover letter identifying GSK as a
Respondent in these proceedings, and the file number of these proceedings; a copy of the cover
letter and check or money order must be sent to Charles Cain, Division of Enforcement, Securities
and Exchange Commission, 100 F St., NE, Mailstop 5631, Washington, DC 20549.

        C.      Amounts ordered to be paid as civil money penalties pursuant to this Order shall be
treated as penalties paid to the government for all purposes, including all tax purposes. To
preserve the deterrent effect of the civil penalty, Respondent agrees that in any Related Investor

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Action, it shall not argue that it is entitled to, nor shall it benefit by, offset or reduction of any
award of compensatory damages by the amount of any part of Respondent’s payment of a civil
penalty in this action ("Penalty Offset"). If the court in any Related Investor Action grants such a
Penalty Offset, Respondent agrees that it shall, within 30 days after entry of a final order granting
the Penalty Offset, notify the Commission's counsel in this action and pay the amount of the
Penalty Offset to the Securities and Exchange Commission. Such a payment shall not be deemed
an additional civil penalty and shall not be deemed to change the amount of the civil penalty
imposed in this proceeding. For purposes of this paragraph, a "Related Investor Action" means a
private damages action brought against Respondent by or on behalf of one or more investors based
on substantially the same facts as alleged in the Order instituted by the Commission in this
proceeding.

       D.       Respondent shall comply with the undertakings enumerated in Section III above.


       By the Commission.



                                                       Brent J. Fields
                                                       Secretary




                                                  8


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                                                                            Exhibit


                                                                            10
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12/7/2016                            - ChinaWhys -An International
                       Case 2:16-cv-05924-NIQA         Document    Business Risk Advisory
                                                                         18-15      FiledFirm with Eyes in China
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                   Peter is the founder of ChinaWhys, a risk management consultancy that provides
                   creative approaches to critical business problems in China. ChinaWhys offers discreet
                   risk mitigation solutions, consulting and commercial investigation services to corporate
                   clients in important and sensitive matters across the Greater China region and beyond.

                   Peter has spent 37 years involved with China and Eastern European countries. After two
                   decades as a foreign correspondent with Reuters in Asia, Eastern Europe and the
                   Balkans, he has spent the past 14 years as a risk management specialist and corporate
                   detective focused on white­collar crime prevention, fraud investigation and crisis
                   mitigation for multinationals in Asia.

                   Before founding ChinaWhys, Peter had served as China country manager for US risk
                   consultancy Kroll and head of China investigations at PwC as well as undertaking a
                   number of humanitarian assignments.

                   Peter has a thorough knowledge of the China operating environment and is an authority
                   on fraud and supply chain risks. He resolves critical problems for Fortune 500 companies
                   and works closely with leading international law firms. His successes include neutralizing
                   a counterfeit­and­fraud syndicate that hijacked the business of a global consumer goods
                   manufacturer, eliminating fraud from the buying operation of a leading megastore chain,
                   uncovering fraudulent JV deals for a global appliances manufacturer, and orchestrating
                   the recovery of a kidnapped child in China.

                   He holds an Honours degree in Oriental Studies from Durham University England and
                   was a fellow of Harvard University 1994­1996. He is fluent in spoken Mandarin and reads
                   and writes Chinese and other foreign languages. He is Founding President of the
                   Shanghai Chapter of the Association of Certified Fraud Examiners (ACFE) and a
                   member of the American Society for Industrial Security (ASIS). He is also active in
                   community service and charity work for underprivileged communities, and served as
                   President of the Rotary Club of Beijing in 2010­2011.


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                                                                                                                                  Exhibit


                                                                                                                                  11
                                                                                                                          Case ID: 181003237
http://chinawhys.com/peter.htm                                                                                                          1/1
12/7/2016                           - ChinaWhys -An International
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                                                                        18-16      FiledFirm with Eyes in China
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                  Yingzeng, ("Ying") is a founder and director of ChinaWhys, a risk management and
                  supply chain services consultancy that provides creative approaches to critical business
                  problems in China. ChinaWhys offers discreet risk mitigation solutions, internal process
                  audits, due diligence and commercial investigation services to corporate clients in
                  matters of great importance and sensitivity across the Greater China region and beyond.

                  Ying has been in business for more than 25 years during which time she has served as a
                  financial controller in the US and Hong Kong, and as a high­level advisory consultant in
                  China. She has performed extensive financial planning work, advised multinational
                  corporations setting up manufacturing operations in China and conducted financial
                  feasibility studies for foreign venture capital investments. Her industry experience covers
                  computer, telecom components, integrated circuits, PCB, optical system, special
                  materials, chemicals, medical products, food processing, beverages, auto components,
                  wholesale, retail and professional services. As a corporate strategy consultant, Ying has
                  also advised clients on competitive strategy and China market development.

                  Ying has hands­on experience in all aspects of operational process and is experienced in
                  operational/financial audit to identify management control weakness, FCPA­style bribery
                  concerns and fraud risks. She has worked on numerous pre­transactional due diligence
                  projects and on complex fraud investigations at multinational operations in China. Her
                  successes have included solving a supply chain fraud by establishing activity links to
                  capture criminal evidence for a U.S. food manufacturer, and pinpointing weak HR policies
                  as a threat to effective control for a European retailer. She also led a large-scale
                  investigation into bribery and kickbacks at one of the world's top PC manufacturers, in
                  which her evidence led to top­level dismissals and a thorough reorganisation.

                  Ying is a Certified Fraud Examiner (CFE) and holds an MBA from the John Anderson
                  Graduate School of Management of the University of California Los Angeles (UCLA) as
                  well as a Bachelor of Science from the School of Business of San Jose State University.
                  She has served as Chairperson of the Transportation and Logistics Forum of the
                  American Chamber of Commerce in China.

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                                                                                                                               Exhibit


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http://chinawhys.com/yingzeng.htm                                                                                                        1/1
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  Conviction of private investigators in China further complicates anti-corruption
  compliance efforts
   Blog Government Enforcement Exposed


  Barnes & Thornburg LLP

  China, USA August 19 2014

  The recent convictions of Peter Humphrey and his wife and business partner Yu Yingzeng demonstrate the risks
  corporate investigation firms face in China when they obtain or pass on information on Chinese citizens. But perhaps
  even more alarming for U.S. companies is the effect of such prosecutions on their efforts to comply with the Foreign
  Corrupt Practices Act and other anti-corruption laws, as these types of convictions stand to have a chilling effect on
  both companies’ due diligence efforts and their internal investigations into allegations of bribery and fraud in China.

  Mr. Humphrey, a British citizen, and Ms. Yu, a Chinese citizen, were convicted of trafficking in personal information
  of Chinese citizens between 2009 and 2013 through their company ChinaWhys. ChinaWhys, which still operates an
  up-to-date website, markets itself as “an international business risk advisory firm with eyes in China.” It offers
  services from “due diligence and the discreet gathering of timely business intelligence, to the vetting of partners and
  the screening of employees.” It specifically references corruption investigations on its website. Mr. Humphrey,
  himself a Certified Fraud Examiner, has written extensively on the issues facing companies in China, including under
  the anti-corruption laws, and the ways forensic firms can assist companies to comply with their legal obligations.
  ChinaWhys is one of many firms in China that seeks to assist companies in conducting background checks and other
  due diligence, which can be more difficult in China than in other jurisdictions.

  Chinese officials claimed that Mr. Humphrey and Ms. Yu had, through ChinaWhys, illegally obtained the “personal
  household registrations” of Chinese citizens, or “hukous,” as well as other personal information, for a price of $130 to
  $163 for each item, which they packaged into reports they sold at great profit. While it was not discussed at trial,
  ChinaWhys boasted many large multinational corporations as clients and may have been assisting those clients in
  Foreign Corrupt Practices Act compliance or investigations work. Mr. Humphrey was sentenced to two and one half
  years in prison (including one year served while awaiting trial) and a fine of £20,000, while Ms. Yu was sentenced to
  two years in prison and a £15,000 fine.

  The convictions reflect the challenges companies can face in conducting and maintaining appropriate due diligence in
  China under the FCPA or other anti-corruption laws. Those laws require companies to investigate potential third-
  party consultants, agents and business partners to ensure, among other things, that they are not (and do not have
  improper relationships with) government officials. Companies are also encouraged to investigate allegations of anti-
  corruption violations swiftly and completely, and to self-report them to the authorities. The public prosecution of
                                                                                                                             Exhibit

                                                                                                                 Case ID: 181003237
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http://www.lexology.com/library/detail.aspx?g=dbb77b00-ce7f-4606-8b65-f0148297d6b6                               1/16/2017
Conviction of private investigators in China further complicates anti-corruption complian... Page 2 of 2
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  individuals and companies in China for violating laws related to the collection of personal information is a deterrent to
  this type of diligence and reporting, because companies are now not only going to be hesitant to reach out to
  companies like ChinaWhys to assist in conducting due diligence, but they may also find that there are fewer
  companies out there in China that are willing to assist them. By enforcing laws against the collection and disclosure of
  personal information (allegedly often at the behest of Chinese individuals or companies that stand to lose from such a
  disclosure), China is imposing yet another roadblock for companies seeking to do business there. In this way,
  preventing access to background information may actually make it easier for individuals and entities get away with
  fraud, despite claims by Chinese authorities that the enforcement of privacy laws is meant to combat and root out
  corruption.


  Barnes & Thornburg LLP - Kathleen L. Matsoukas




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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA

PETER HUMPHREY, YU YINGZENG, and                    Civil Action No.: 2:16-CV-5924
CHINAWHYS COMPANY LTD,

                   Plaintiffs,

       v.

GLAXOSMITHKLINE PLC and
GLAXOSMITHKLINE LLC,

                   Defendants.



            DEFENDANTS’ MOTION TO COMPEL ARBITRATION, OR, IN THE
               ALTERNATIVE, MOTION TO DISMISS THE COMPLAINT

       Defendants     GlaxoSmithKline    plc   (“GSK     PLC”)    and   GlaxoSmithKline      LLC

(“GSK LLC”) (collectively, “GSK Defendants”), through their counsel, move to compel

arbitration of the entirety of Plaintiffs’ Complaint pursuant to a written agreement providing for

arbitration before the China International Economic and Trade Arbitration Commission

(“CIETAC”).

       In the alternative, GSK PLC, a British entity with no ties to the United States, moves to

dismiss the Complaint for lack of personal jurisdiction. GSK PLC does not maintain systematic

and continuous contacts with either the United States or the Commonwealth of Pennsylvania,

and did not perform any action directed here giving rise to the alleged claims. The Court

therefore lacks personal jurisdiction over GSK PLC.

       The GSK Defendants additionally move to dismiss the Complaint for failure to state a

claim and for failure to join an indispensable party. Plaintiffs’ Complaint pleads no facts giving

rise to alleged racketeering, conspiracy, or emotional distress claims against the GSK




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Defendants, and Plaintiffs have failed to commence several of those claims within the applicable

limitations period. Plaintiffs additionally failed to join GlaxoSmithKline (China) Investment Co.

Ltd. (“GSK China”), which is a necessary party to this dispute. GSK China is a signatory to the

contract containing the provision for mandatory arbitration before the CIETAC, and Plaintiffs

alleged claims arise from that contract.

       The grounds for this motion are set forth more fully in the attached Memorandum of

Law, which is incorporated herein by reference.



                                                   Respectfully submitted,
Dated: January 16, 2017
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                                                   GlaxoSmithKline plc.




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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA

PETER HUMPHREY, YU YINGZENG, and                    Civil Action No.: 2:16-CV-5924
CHINAWHYS COMPANY LTD,

                    Plaintiffs,

       v.

GLAXOSMITHKLINE PLC and
GLAXOSMITHKLINE LLC,

                    Defendants.



               DEFENDANTS’ MEMORANDUM IN SUPPORT OF THEIR
                 MOTION TO COMPEL ARBITRATION, OR, IN THE
               ALTERNATIVE, MOTION TO DISMISS THE COMPLAINT

       Defendants      GlaxoSmithKline    plc   (“GSK    PLC”)     and   GlaxoSmithKline      LLC

(“GSK LLC”) (collectively, “GSK Defendants”), through their counsel, submit the following

memorandum in support of their motion to compel arbitration, or in the alternative, motion to

dismiss the complaint for lack of personal jurisdiction, failure to state a claim upon which relief

can be granted, failure to join an indispensable party, and failure to bring a timely action under

Pennsylvania law.




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                             I.     SUMMARY OF ARGUMENT

               Plaintiffs’ complaint (“Complaint”) suffers from multiple overriding defects, any

one of which is alone fatal to their claims. Most notably, Plaintiffs commenced this action

notwithstanding the fact that their claims are governed by a binding agreement

(“Consultancy Agreement”) requiring that the parties “submit the dispute to the China

International Economic and Trade Arbitration Commission (“CIETAC”) in Beijing

for arbitration.” (See Ex. 1, Consultancy Agreement, at § 11.) The Court should enforce that

arbitration clause, and should stay all proceedings pending conclusion of the CIETAC

arbitration, at which point judgment should be entered in accordance with any arbitral award.

       Notwithstanding the mandatory referral to arbitration, Plaintiffs’ claims fail on the merits

and, as to GSK PLC, on jurisdictional grounds. Plaintiffs attempt to mount racketeering, fraud,

conspiracy and emotional distress claims against the GSK Defendants by stringing together

allegations that, on their face, do not pertain to, and were not committed by either defendant.

Plaintiffs have identified no basis to impute any alleged activities to the GSK Defendants, nor

have they identified any link between GSK PLC, (a United Kingdom (“U.K.”) entity formed

under British law) and the United States (“U.S.”) that would support exercising personal

jurisdiction over GSK PLC.

       Lastly, Plaintiffs have failed to join GlaxoSmithKline (China) Investment Co. Ltd.

(“GSK China”), the signatory to the Consultancy Agreement containing the binding arbitration

provision and an indispensable party to this lawsuit. A full and fair adjudication on the merits of

this matter cannot occur without GSK China’s participation.

       Accordingly, the Court should grant the GSK Defendants’ motion to compel arbitration

and require Plaintiffs to proceed with their claims before the CIETAC. Alternatively, the Court

should dismiss the claims against GSK PLC for lack of jurisdiction, and should otherwise

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dismiss the entirety of Plaintiffs’ Complaint for failure to state a claim upon which relief can be

granted, failure to join an indispensable party, and failure to bring a timely action under

Pennsylvania law.

                               II.      PRELIMINARY STATEMENT

        This lawsuit is at its core a dispute between Peter Humphrey (“Humphrey”),

Yu Yingzeng (“Yu”) and ChinaWhys Company Ltd. (“ChinaWhys Ltd”) (collectively,

“Plaintiffs”) against a non-party/separate GSK entity, GSK China, regarding a Consultancy

Agreement signed in China, for services to be provided in China which is governed by Chinese

law and subject to a binding arbitration provision; but the lawsuit has been improperly

commenced in a U.S. federal court by Plaintiffs against two unrelated GSK entities, GSK PLC

and GSK LLC (the GSK Defendants), which have no connection to the Consultancy Agreement

or to the dispute. Plaintiffs’ Complaint violates an enforceable and binding agreement to

arbitrate, and thus requires dismissal of this action. Further, Plaintiffs’ effort to bring a China-

based dispute in this forum creates insurmountable jurisdictional and standing hurdles and leaves

them unable to articulate plausible claims against the entities they chose to sue in this Court.

        Plaintiffs’ allegations arise out of services provided to GSK China pursuant to an

April 25, 2013 Consultancy Agreement entered into between GSK China and ChinaWhys

(Shanghai) Consulting Co. Ltd. (“ChinaWhys (Shanghai)”). (See Ex. 1, Consultancy

Agreement & App’x A.)1 Under this agreement, GSK China retained ChinaWhys for due

diligence and investigation services following a security incident at a GSK China executive’s

apartment in March 2013. GSK China engaged ChinaWhys to investigate the circumstances of


1
  As explained in greater detail in Section III(C), all references herein to ChinaWhys (“ChinaWhys”) will refer
collectively to the named plaintiff in this lawsuit, ChinaWhys Ltd, as well as ChinaWhys (Beijing), ChinaWhys
(Shanghai), ChinaWhys (Hong Kong), and all other consulting companies co-founded and co-owned by Humphrey
and Yu. See, infra, Section III(C).

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the security incident and the potential involvement of a former employee (Vivian Shi (“Shi”)).

Under Section 11 of the Consultancy Agreement, the parties agreed that any disputes that arose

would be governed by the laws of China, and would be submitted to CIETAC. (See Ex. 1,

Consultancy Agreement § 11.)

        Specifically, Section 11 of the Consultancy Agreement, entitled “Governing Law and

Dispute Resolution,” provides:

             This Agreement shall be governed in all respects by the laws of the
             People’s Republic of China. All disputes arising out of or in connection
             with this Agreement shall be settled through friendly consultation
             between both parties. In case no settlement can be reached, either
             Party may submit the dispute to the China International Economic and
             Trade Arbitration Commission (“CIETAC”) in Beijing for arbitration in
             accordance with the CIETAC rules of arbitration then in effect. The
             arbitration award shall be final and binding on the Parties.”

(Id.)

        Section 1.6 of the Consultancy Agreement further provides:

             [ChinaWhys] shall carry out the Consulting Services always in a lawful
             and ethical manner. The term ‘ethical’ used in the policy means: in
             compliance with all laws, regulations, legal and professional
             guidelines, and in a manner not likely to result in harm to GSK’s
             reputation or image.”

(Id. at § 1.6.)

        On or around July 10, 2013, ChinaWhys’ co-founders and co-managers, husband/wife

Humphrey and Yu, were detained by the Shanghai police on suspicion of violating Chinese laws

relating to the purchase of personal information and data. They were arrested on August 16, 2013

and charged with trafficking in private records of Chinese individuals. (See Ex. 2.) Plaintiffs now

attempt to blame their personal and business injuries arising from their arrest, conviction and

incarceration on GSK, alleging that it was somehow their performance of services for GSK that

caused their arrest.


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       Plaintiffs fail to disclose in their Complaint that in 2013, less than two months before he

and Yu were arrested by the Chinese authorities, Humphrey published an article explicitly

criticizing the Chinese government for newly promulgated rules and regulations restricting

access to personal information. (See Ex. 3.)2 In that article, Humphrey described recent

crackdowns in May 2012 and January 2013 by the Chinese government, and new regulations

promulgated in February 2013, which further enforced laws regarding access to and

dissemination of personal information, noting specifically that this had led to “more than 1,000

local investigators and their alleged sources . . . [being] detained.” (Id.) As evidenced by the

article, Humphrey was well aware of Chinese legal restrictions governing the use of personal

information, and the risks that he and other investigators faced if they failed to comply with these

restrictions. Simply put, Humphrey failed to heed his own warnings. The GSK Defendants had

nothing to do with Humphrey’s article or this failure to comply with Chinese law. To the

contrary, the Consultancy Agreement specifically required ChinaWhys to conduct its work under

the engagement in accordance with Chinese law. (See Ex. 1, Consultancy Agreement at § 1.6.)

Humphrey, Yu and ChinaWhys, upon their own initiative and despite knowledge of the risks,

chose to disregard this requirement.

        Plaintiffs instead attempt to spin a tale of a global racketeering enterprise and conspiracy

involving GSK PLC and GSK LLC, claiming that their mistreatment in China in 2013 was

somehow related to the marketing of pharmaceutical products in the U.S. in 1999 and to the

resolution between GSK LLC and the U.S. Health & Human Services Department




2
  P. Humphrey, The Fraud Examiner, “How Fraud Investigation Just Got Harder in China: Exploring the
Impact of China’s Clampdown on Public Records” (May 2013), available at http://www.acte.com/fraud-
examiner.aspx?id=4294978054.


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(“2012 U.S. Settlement”);3 this in order to insinuate a U.S. nexus and attempt to implicate the

U.S. Racketeer Influenced and Corrupt Organizations Act (“RICO”), stretching RICO well

beyond the breaking point of rational interpretation. The subject matter involved in the 2012

U.S. Settlement ended in 2010 (and much of it earlier than that), many years before ChinaWhys

had involvement with GSK China or entered into the Consultancy Agreement in April 2013.

Likewise, Plaintiffs’ allegations that a subsequent 2013 investigation in China and related

attention from U.S. regulators are part of a common scheme are also baseless. The China and

U.S. investigations involved conduct unrelated to the Humphrey and Yu claims and were fully

resolved     by    GSK China           and     the Chinese government                on September           19,    2014

(“2014 China Judgment”),4 and by GSK PLC and the U.S. Securities and Exchange

Commission (“U.S. SEC”) on September 30, 2016 (“2016 U.S. Settlement”).5 Plaintiffs’


3
  On July 2, 2012, GSK LLC agreed to plead guilty and to pay $3 billion to resolve criminal and civil liabilities
arising from the promotion of certain prescription drugs, failure to report certain safety data, and civil liabilities for
alleged false price reporting practices. (See Ex. 4, Press Release, U.S. Dep’t of Justice, GlaxoSmithKline to Plead
Guilty to Pay $3 Billion to resolve Fraud Allegations and Failure to Report Safety Data (July 2, 2012), Ex. 5,
Corporate Integrity Agreement, Office of Inspector General of the Dep’t of Health and Human Services and
GlaxoSmithKline LLC (July 2, 2012).) This criminal and civil liability arose from conduct that occurred in, and was
directed towards, the U.S. between 1994 and 2010. The settlement resolved claims relating to activities in the U.S.
for Paxil, Wellbutrin, Avandia, Advair and other products, as well as allegations of false price reporting under the
U.S. Federal Medicaid Rebate Program. (Id.) The 2012 U.S. Settlement does not relate to any matters in China. (Id.)
4
  On September 19, 2014, the Changsha Intermediate People’s Court in Hunan Province, China entered the 2014
China Judgment against GSK China for approximately $489.5 million in relation to conduct implicating Articles 67
and 164 of the Criminal Law of the People’s Republic of China, which prohibit offering money or property to non-
governmental Chinese personnel in order to obtain improper commercial gains. (See Ex. 6, Press Release,
GlaxoSmithKline, GSK China Investigation Outcome (Sept. 19, 2014).) Neither GSK LLC nor GSK PLC were
parties to, or the subjects of, the 2014 China Judgment. (Id.)
5
  On September 30, 2016, the U.S. SEC and GSK PLC entered into the 2016 U.S. Settlement, in a civil resolution of
the recordkeeping and internal controls provisions of the U.S. Foreign Corrupt Practices Act of 1977. (See Ex. 7,
Press Release, GlaxoSmithKline Pays $20 Million Penalty to Settle FCPA Violations (Sept. 30, 2016), Ex. 8, In the
Matter of GlaxoSmithKline plc, A.P. No. 3-17606, Order (Sept. 30, 2016).) The resolution mentions specific
violations relating to conduct by GSK PLC’s indirect subsidiary, GSK China, between 2010 and June 2013. (Id.)
GSK PLC was named as a party, not based on any conduct related to the settlement but solely because its
American Depository Receipts are registered with the U.S. SEC under Section 12(b) of the Securities Exchange Act
and trade on the New York Stock Exchange under the symbol “GSK,” and its consolidated books and records and
internal controls, which relate to the activities of all wholly-owned subsidiaries, were rendered inaccurate or
revealed to be insufficient as a result of conduct by GSK China. Neither GSK LLC nor GSK China were parties to
the 2016 U.S. Settlement. Nor was any conduct in China by GSK PLC itself at issue in the settlement. The 2016

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allegation that these unrelated events were part of a common scheme not to comply with laws at

issue with respect to the convictions of Humphrey and Yu in China or to “cover up” the activities

of GSK in China is baseless on its face.

        Finally, Plaintiffs’ decision not to name GSK China as a defendant in an action involving

the very Consultancy Agreement which they entered into with GSK China can be no accident.

Plaintiffs intentionally omitted this indispensable party in an effort to circumvent the mandatory

arbitration provision of the Consultancy Agreement and to avoid the jurisdictional obstacles that

would foreclose a lawsuit in the U.S. against the only GSK entity with which they actually

interacted.

                                 III.     FACTUAL BACKGROUND

        Plaintiffs’ Complaint alleges six causes of action: (1) violations of 18 U.S.C. § 1962(c)

(Racketeering), (2) violations of 18 U.S.C. § 1962(d) (Conspiracy), (3) fraud, (4) intentional

infliction of emotional distress, (5) negligent infliction of emotional distress and (6) civil

conspiracy. (See e.g., Compl. ¶¶ 121-137, 137-149, 150-156, 157-163, 164-170, 171-175.)

        A.       Consultancy Agreement

        Although Plaintiffs referred only in a nuanced way to the Consultancy Agreement in the

Complaint, all of their claims necessarily arise from services that ChinaWhys contracted in April

2013 to provide GSK China. (Comp. ¶¶ 49-90.) GSK China had no other dealings with

Plaintiffs. The GSK Defendants were not parties to the Consultancy Agreement. (See Ex. 1,

Consultancy Agreement.)



U.S. Settlement was based on the same conduct implicated in the 2014 China Judgment; the U.S. SEC declined to
impose any additional disgorgement beyond that already captured by the Chinese judgment. GSK LLC, including its
employees, agents and contractors, was not a participant or connected in any way to the matters that occurred in
China, and thus it was not a party to the 2016 U.S. Settlement.



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       Section 11 of the Consultancy Agreement mandates arbitration of all disputes arising out

of or in connection with the agreement as follows:

               This Agreement shall be governed in all respects by the laws of
               the Peoples Republic of China. All disputes arising out of or in
               connection to this Agreement shall be settled through friendly
               consultation between both parties. In case no settlement can be
               reached, either party may submit the dispute to the China
               International Economic and Trade Commission (“CIETAC”) in
               Beijing for arbitration in accordance with the CIETAC rules of
               arbitration then in effect. The arbitration award shall be final and
               binding on the parties.

(See Ex. 1, Consultancy Agreement § 11.)

       B.      GSK China: Party to Consultancy Agreement

       The only GSK-related party to the Consultancy Agreement was GSK China, a wholly-

owned indirect subsidiary of GSK PLC. (See Ex. 9, GSK China Decl., at ¶ 3.) GSK China,

however, is not named as a party in the Complaint. GSK China is incorporated under Chinese

law. (Id.) Notwithstanding the corporate relationship between GSK China and GSK PLC, they

maintain all the formalities of separate corporations. (Id. at ¶ 4.) GSK China maintains books and

records, payrolls, bank accounts and a board of directors independently of GSK PLC. (Id.)

Moreover, GSK China and GSK PLC are separately and adequately capitalized. (Id.) GSK

China’s principal place of business is in Shanghai, China. (Id. at ¶ 5.) It has never conducted

commercial operations in the United States or the Commonwealth of Pennsylvania. (Id. at ¶ 6.)

       On behalf of GSK China, the Consultancy Agreement was approved by Mark Reilly

(“Reilly”), then-general manager of GSK China. (See Ex. 1.) Reilly’s responsibilities and job

function related solely to GSK China’s business in China. (See Ex. 9, GSK China Decl. at ¶ 8.)

GSK China was the GSK entity which executed the Consultancy Agreement entered into

between GSK China and ChinaWhys through the ChinaWhys alter egos ChinaWhys (Shanghai)

Consulting Co. Ltd. and ChinaWhys Co. Ltd. (Id. at ¶ 7.)

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       According to the Complaint, ChinaWhys interacted with the following GSK-affiliated

employees during the negotiations, execution and performance of the Consultancy Agreement:

Mark Reilly (General Manager, GSK China), Maggie Zheng (Administrative Assistant to Mark

Reilly, GSK China), April Zhao (former Legal Director, GSK China), Jennifer Huang (former

Senior Counsel, Legal Department, GSK China R&D Company Ltd), Leslie Chang (Head of

Business Development and Office of the General Manager, GSK China), Brian Cahill (“Cahill”)

(former GSK Pte. Ltd (Singapore) Senior Vice President and General Counsel, Asia), and June

Soon (“Soon”) (Executive Secretary, GSK Pte. Ltd (Singapore)). (See e.g., Compl. ¶¶ 50, 64,

70, 79, 80, 82, 83, 84, 86, 87, 88, 89.) Cahill and his assistant Soon were both based in

Singapore, and all of the other above-referenced GSK employees were based in China. (See Ex.

9, GSK China Decl. at ¶¶ 8-11.) None of those individuals were employed by either of the GSK

Defendants.

       C.     ChinaWhys Entities: Party to Consultancy Agreement

       Although ChinaWhys Ltd is the entity named in the Complaint as a plaintiff, ChinaWhys

(Shanghai) was the specific party to the Consultancy Agreement. (See Ex. 1.) According to the

Complaint, ChinaWhys Ltd was co-founded by Humphrey and Yu. (See Compl. ¶¶ 6-7.) The

ChinaWhys website indicates that Humphrey incorporated ChinaWhys Ltd in Hong Kong in

2003. (See Ex. 10.) As ChinaWhys’ managing director, Humphrey signed the Consultancy

Agreement and Appendix A, which was incorporated by reference on behalf of ChinaWhys

(Shanghai). (See Ex. 1.)

       The Complaint does not identify ChinaWhys Ltd’s place of incorporation or principal

place of business. (See Compl. ¶¶ 6-8.) A website purporting to be that of ChinaWhys, however,

identifies Humphrey and Yu as the co-founders of a consulting company referred to only



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as “ChinaWhys,” and states that this entity is incorporated in Hong Kong. (See Exs. 10-12).6

Notably, the website also refers to the company’s motto as: “Connecting the dots . . . for

businesses in China.”

          According to its website, ChinaWhys is a “China-based professional-services consultancy

providing specialized risk mitigation solutions, consulting and investigation services to corporate

clients in sensitive matters across Greater China and Asia.” (See Ex. 10 ChinaWhys Website.)

The website also represents to the public that ChinaWhys provides “regular advice to businesses

on risk management and ha[s] conducted services in China for large, medium and small

multinationals, professional services firms, NGOs, chambers of commerce and high wealth

individuals, and further that it offers a “cost-effective practice centered on Greater China.” (Id.)

          D.      GlaxoSmithKline plc

          Although it is not a party to the Consultancy Agreement or responsible for the services

rendered by ChinaWhys, GSK PLC is named as a defendant in the Complaint. (See Ex. 13, GSK

PLC Decl. ¶ 17.) None of the GSK employees referred to in the Complaint were employed by

GSK PLC. (Id. ¶ 18.)

          GSK PLC is a public limited company organized under the laws of England and Wales,

with its principal place of business at 980 Great West Road, Brentford, Middlesex TW8 9GS,

England. (Id. at ¶ 3.) GSK PLC was created and exists solely for the purpose of holding the

stock of its subsidiaries, through several layers of wholly owned subsidiaries. (Id. at ¶ 4.) GSK

PLC is not incorporated under the laws of the Commonwealth of Pennsylvania. (Id. at ¶ 3.) GSK

PLC has never conducted commercial operations anywhere in the world, including the United

States and the Commonwealth of Pennsylvania. (Id. at ¶ 5.) GSK PLC has never designed,


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    See generally ChinaWhys Company Website, available at chinawhys.com/index.htm.


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developed, manufactured, marketed or sold any products or services anywhere in the world,

including the United States and the Commonwealth of Pennsylvania. (Id. at ¶ 6.) GSK PLC is

not and has never been a direct shareholder of GSK LLC. (Id. at ¶ 7.) GSK PLC and GSK LLC

maintain all the formalities of separate corporations. (Id. at ¶ 8.) GSK PLC and GSK LLC do not

maintain common books and records, payrolls, bank accounts, or boards of directors. GSK LLC

and GSK PLC are separately and adequately capitalized. (Id.) Similarly, GSK PLC and GSK

China also maintain all of the formalities of separate corporations. (Id. at ¶ 9.)

       E.      GlaxoSmithKline LLC

       GSK LLC likewise was not a party to the Consultancy Agreement (including all

appendices entered into between GSK China and ChinaWhys) nor was it responsible for the

services rendered by ChinaWhys. (See Ex. 14, GlaxoSmithKline LLC Decl., at ¶ 9.) GSK LLC

is a limited liability company organized in the state of Delaware, with corporate operations in

Research Triangle Park, North Carolina and Philadelphia, Pennsylvania. (Id. at ¶ 3.) GSK LLC is

an indirect wholly-owned subsidiary of GSK PLC. (Id. at ¶ 4.) GSK LLC and GSK PLC

maintain all the formalities of separate corporations. (Id. at ¶ 5.) GSK LLC maintains books and

records, payrolls, bank accounts, and a board of directors independently of GSK PLC. GSK

LLC and GSK PLC are separately and adequately capitalized. (Id.)

       At all relevant times (at least from 2001 through present), GSK LLC is not, and has not

been, a direct or indirect shareholder of GSK China. (Id. at ¶ 6.) At least from 2013 through

present, GSK LLC has had no commercial operations in China. (Id. at ¶ 7.) None of the GSK-

affiliated individuals who were referred to in the Complaint were employed by GSK LLC or

otherwise performed services on behalf of, or directed towards, GSK LLC during the relevant

time period (April through July 2013). (Id. at ¶ 8.) At least from 2013 through the present, GSK

LLC has had no commercial operations in China. (Id. at ¶ 7.)

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       The relationships between the relevant ChinaWhys and GSK entities is summarized by

the diagram on the following page.

       F.      Arrest/Conviction of Humphrey and Yu

       Humphrey and Yu were convicted of the charges against them. (See

       Ex. 15.)    Following his arrest, in a CCTV report, Humphrey was quoted in the media as

saying, “We sometimes use illegal methods to obtain personal information. I very much regret

doing this, and I want to apologize to the Chinese government.” (See Ex. 16.)

       Humphrey was sentenced to two-and-one-half years in prison, and fined £20,000. While

Yu was sentenced to two years in prison, and fined £15,000. (Compl. ¶ 97;

       Ex. 15 CCTV Article (Aug. 27, 2013).) Humphrey and Yu were released from prison in

or around June 9, 2015, and thereafter departed China on June 17, 2015. (Compl. ¶¶ 105-06.)

                                      IV.    ARGUMENT

       A.      The Court Should Compel Arbitration Of The Present Dispute Under The
               Federal Arbitration Act And The United Nations Convention On The
               Recognition And Enforcement Of Foreign Arbitral Awards, And Should
               Stay All Proceedings Pending Completion Of Arbitration

       The arbitration of disputes in this matter is governed by the Federal Arbitration Act

(“FAA”). The FAA embodies “a strong federal policy in favor of resolving disputes through

arbitration.” Invista S.A.R.L. v. Rhodia, S.A., 625 F.3d 75, 83-84 (3d Cir. 2010). A “written

provision in a … commercial contract showing an agreement to settle disputes by arbitration

‘shall be valid, irrevocable, and enforceable, save upon such grounds as exist in law or equity for

the revocation of any contract.’” Just B. Method, LLC v. BSCPS, LP, No. 14-1516, 2014 WL

5285634, at *4 (E.D. Pa. Oct. 14, 2014) (Alejandro, J.) (quoting Century Indem. Co. v. Certain

Underwriters at Lloyd’s London, 584 F.3d 513, 522 (3d Cir. 2009) and 9 U.S.C. § 2)).




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Figure 1. Relationship of Relevant GSK and ChinaWhys Entities.
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        The FAA’s second chapter implements the United Nations New York Convention on the

Recognition and Enforcement of Foreign Arbitral Awards (“New York Convention”), which

provides for enforcement and recognition of arbitration provisions in international commercial

contracts. Under that chapter, a court will enforce such provisions “if they arise from

commercial, legal relationships, such as commercial contracts, except when those relationships

are entirely between United States citizens and otherwise are domestic in nature.”7 Century

Indem. Co., 584 F.3d at 523 (citing 9 U.S.C. § 202). Together, the FAA and the New York

Convention recognize an “emphatic federal policy in favor of arbitral dispute resolution.”

Mitsubishi Motors Corp. v. Soler Chrysler-Plymouth, Inc., 473 U.S. 614, 631 (1985); see also

Shearson/American Exp., Inc. v. McMahon, 472 U.S. 220, 226 (1987) (“The Arbitration Act thus

establishes a federal policy favoring arbitration, requiring that “we rigorously enforce

agreements to arbitrate.”) (internal citations and quotations omitted).

        When a court is requested to compel arbitration under the New York Convention, it must

consider the following four factors, adopted by the U.S. Court of Appeals for the Third Circuit in

Standard Bent Glass Corp. v. Glassrobots Oy, 333 F.3d 440 (3d Cir. 2003):

        (1)      Is there “an agreement in writing to arbitrate the subject of the dispute”?

        (2)      “Does the agreement provide for arbitration in the territory of a signatory of the
                 Convention?”

        (3)      “Does the agreement arise out of a legal relationship, whether contractual or not,
                 which is considered as commercial?”

        (4)      “Is a party to the agreement not an American citizen, or does the commercial
                 relationship have some reasonable relation with one or more foreign states.”

Standard Bent Glass, 333 F.3d at 449 & n.13; accord Century Indem. Co., 584 F.3d at 523 n.8.




7
 “The domestic FAA applies to actions brought under the New York Convention to the extent that the two are not in
conflict.” See 9 U.S.C. § 208.

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“If the answers are all in the affirmative, the court must order arbitration unless it determines the

agreement is null and void.” Standard Bent Glass, 333 F.3d at 449 & n.13.

               1.      All Four Of The Standard Bent Glass Factors Favor Arbitration.

                       i.     A Written Agreement Exists Between The Parties To Arbitrate The
                              Subject Of The Dispute.

       To obtain an order compelling arbitration under the New York Convention, a party must

show the existence of a written agreement to arbitrate the subject of the dispute. Standard Bent

Glass Corp., 333 F.3d at 449. Here, Section 11 of the Consultancy Agreement broadly states

that “[a]ll disputes arising out of or in connection with” the agreement are subject to arbitration.

(Ex. 1 Consultancy Agreement § 11.) Clauses using this same or similar formulations give rise to

“a presumption of arbitrability” under which arbitration “should not be denied unless it may be

said with positive assurance that the arbitration clause is not susceptible of an interpretation

that covers the asserted dispute.” Moses H. Cone Mem. Hosp. v. Mercury Constr. Corp., 460

U.S. 1, 24 (1983) (emphasis added); see also Hinnant v. Am. Ingenuity, LLC, 554 F. Supp. 2d

576, 587 (E.D. Pa. 2008) (holding that a clause providing for arbitration of “all disputes in

connection with this contract” created a broad presumption of arbitrability).

       Plaintiffs cannot meet that exacting standard. Any claims Plaintiffs allege must

ultimately arise out of or in connection to the engagement. According to the Complaint,

Plaintiffs were retained by GSK China following a meeting with company representatives.

(See Compl. ¶ 50.) That meeting produced the Consultancy Agreement, which provided for due

diligence and investigative services including inquiries into Shi (See Ex. 1, Consultancy

Agreement § 1.1.) Plaintiffs’ efforts to carry out their duties under the Consultancy Agreement

are the only activities that they could have performed in relation to any GSK entity. To wit,

Plaintiffs’ own allegations link their arrest to GSK. (See Compl. ¶ 91.) As such, according to


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their own allegations, any claims Plaintiffs could assert would necessarily arise out of or relate to

the Consultancy Agreement.

       Plaintiffs’ election to style their claims under RICO and state tort law does not abrogate

the arbitrability of those claims. As the U.S. Court of Appeals for the Third Circuit has

recognized: “‘If the allegations underlying the claims touch matters covered by [an arbitration

clause in a contract], then those claims must be arbitrated, whatever the legal labels attached to

them.’” Brayman Const. Corp. v. Home Ins. Co., 319 F.3d 622, 626 (3d Cir. 2003) (alteration in

original) (quoting Genesco, Inc. v. T. Kakiuchi & Co., 815 F.2d 840, 846 (2d Cir. 1987)).

In fact, the Genesco case upon which the Third Circuit relied in reaching that conclusion

expressly found that RICO claims fell within the scope of a broad arbitration provision because

“[t]he wire, mail, and transportation fraud allegations which form the predicate acts of [the]

RICO claim all derive from the parties’ transactions under the [applicable] agreements.”

Genesco, 815 F.2d at 848.       The same is true here. As set forth in the Complaint, the various

mail and wire frauds allegedly perpetrated by the GSK Defendants were purportedly made to

“induce [Plaintiffs] to carry out an investigation that served GSK’s political goals.” (See Compl.

¶ 127.) An undisclosed number of those communications were allegedly made “with Humphrey,

Yu, and other ChinaWhys employees” for the purpose of “inducing them to carry out an

[allegedly] contrived investigation” for the GSK Defendants. (See Compl. ¶ 128(c).) The present

dispute therefore “aris[es] out of or in connection with” that Consultancy Agreement and is

subject to its broad arbitration provision. (See Ex. 1, Consultancy Agreement § 11.)

       The arbitration clause is mandatory; the use of the word “may” does not render it

permissive or discretionary. As one court has explained:

            [T]his Court does not distinguish between the use of the term “may” or
            “shall” in the arbitration context. Instead, we generally recognize that


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            the language permitting either party to demand arbitration operates to
            require the parties to submit to arbitration, as it clearly demonstrates that
            the parties contemplated the use of arbitration proceedings as the forum
            for resolution of disputes.

D & H Distrib. Co. v. Nat'l Union Fire Ins., 817 A.2d 1164, 1169 (Pa. Super. Ct. 2003). This

Court too has “rejected … argument[s] that the use of the word ‘may’ automatically renders an

arbitration clause permissive.” Under the prevailing interpretation, “arbitration clauses using the

word ‘may’ have been held to compel mandatory arbitration on the grounds that such language

merely manifests the parties’ intent that arbitration be obligatory if either party

so chooses.” Brown v. City of Philadelphia, No. 10-2687, 2010 WL 4484630, at *5

(E.D. Pa. Nov. 9, 2010); see also American Italian Pasta Co. v. Austin Co., 914 F.2d 1103, 1104

(8th Cir. 1990); Sidorek v. Chesapeake Appalachia LLC, 3:13-CV-0208, 2014 WL 1218893,

at *3 (M.D. Pa. Mar. 24, 2014).

       The same rationale applies here. The provision in the Consultancy Agreement that “either

Party may submit the dispute” to arbitration evinces an intent that a demand for arbitration will

be binding once made by either party. Brown, 2010 WL 4484630, at *5; Sidorek, 2014 WL

1218893, at *3. The mandatory nature of the “friendly consultation” requirement bolsters that

conclusion. There would be little reason for the parties to agree to a mandatory conciliation

process, but immediately thereafter provide a purely optional arbitration provision that neither

party could compel the other to follow. Were that the case, the arbitration provision would be of

no effect, as it would merely suggest that the dispute could be submitted to arbitration if the

parties agreed to do so after the dispute arose—an avenue that they could pursue without an

arbitration clause. See United States v. Bankers Ins. Co., 245 F.3d 315, 321 (4th Cir. 2001)

(holding that interpreting “may” as permissive in the arbitration context “would render the

arbitration provision meaningless for all practical purposes[,] since parties could always


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voluntarily submit [ ] to arbitration.”) (alterations in original; internal quotations omitted). The

far more likely scenario is that, “by using the word ‘may,’ both parties were given the power to

enforce the arbitration clause.” In re Winstar Commc’ns, 335 B.R. 556, 563 (Bankr. D. Del.

2005); see also United Steelworkers of Am., v. Ft. Pitt Steel Casting, 598 F.2d 1273, 1279 n.18

(3d Cir. 1979) (finding that the district court did not err in holding that grievance procedures in a

collective bargaining agreement were “mandatory despite language in the collective bargaining

agreement that the parties ‘may’ invoke those procedures.”).

         The present dispute therefore falls within the scope of the Consultancy Agreement’s

mandatory arbitration provision. The first Standard Bent Glass factor should be answered in the

affirmative.

                       ii.     The Arbitration Agreement Provides For Arbitration In The
                               Territory Of A Signatory State.

         To obtain an order compelling arbitration under the New York Convention, a

party must next demonstrate that the agreement at issue provides for arbitration in a signatory

state.   Standard Bent Glass Corp., 333 F.3d at 449 n.13.           Both the U.S. and China are

signatories to the Convention. See New York Arbitration Convention, Contracting States,

available at https://www.newyorkconvention.org/countries (last visited January 16, 2017). The

Consultancy Agreement specifically provides for application of the laws of the Peoples Republic

of China and arbitration before “[CIETAC] in Beijing.” (See Ex. 1,Consultancy Agreement

§ 11.)

         The second Standard Bent Glass factor is therefore answered in the affirmative.

                       iii.    The Consultancy Agreement Sets Forth A Legal Relationship That
                               Is Considered Commercial.

         Next, the Court must consider whether the agreement at issue “arise[s] out of a legal

relationship … which is considered as commercial.” Standard Bent Glass Corp., 333 F.3d at 449

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n.13. In the arbitration context, courts have broadly construed the term “commercial” to apply to

any matter that “‘has a connection with commerce, whether or not that commerce has a nexus

with the United States.’” Belize Social Dev. Ltd. v. Gov’t of Belize, 794 F.3d 99, 104 (D.C. Cir.

2015) (quoting Restatement (Third) of U.S. Law of Int’l Comm. Arbitration § 1-1 cmt. e);

accord Island Territory of Curacao v. Solitron Devices, Inc., 356 F. Supp. 1, 13 (S.D.N.Y.

1973) (“[I]t seems clear that the full scope of ‘commerce’ and ‘foreign commerce,’ as those

terms have been broadly interpreted, is available for arbitral agreements and awards.”).

       The Consultancy Agreement is a written document setting forth a legal relationship that

addresses a commercial matter. It contains provisions under which Plaintiffs would provide

professional services to GSK China, outlines the parameters of their work, and provides the

terms and conditions under which they were to be paid. It is the quintessential service contract

between a service provider and a client. (See Ex. 1, Consultancy Agreement §§ 1.1-1.6, 3.1-3.4.)

As such, it represents a commercial arrangement between its signatories and touches on a matter

“considered as commercial” for purposes of the New York Convention. Standard Bent Glass

Corp., 333 F.3d at 449 n.13. The third Standard Bent Glass factor is therefore answered in the

affirmative.

                      iv.     A Party To The Consultancy Agreement Is Not An American
                              Citizen, Or It Has A Reasonable Relationship With A Foreign
                              State.

       Lastly, the Court must determine whether a non-American is a signatory to the agreement

at issue, or whether there is “some reasonable relation with one or more foreign states.”

Standard Bent Glass Corp., 333 F.3d at 449 n.13. Although only one of those characteristics is

needed to compel arbitration, the Consultancy Agreement features both. Id. Neither party to the

Consultancy Agreement is an American citizen. GSK China is incorporated under Chinese law,

maintains it principal place of business in Shanghai, and operates exclusively in China. (See Ex.

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9, GSK China Decl. ¶¶ 3-4.) ChinaWhys is formed under the law of Hong Kong. (See Ex. 10.)

More importantly, the meeting at which Plaintiffs were retained by GSK China occurred in

China, the investigative services provided by Plaintiffs under the Consultancy Agreement were

performed in China, and all of the material events giving rise to this action occurred in and were

focused on conduct in China. The Consultancy Agreement not only has a reasonable relationship

with a foreign state (China), but in fact its only relationship is with China. The final Standard

Bent Glass factor is therefore answered in the affirmative.

       Accordingly, because all four of the Standard Bent Glass factors are met, the Court

should issue an order compelling arbitration in accordance with the FAA and the New York

Convention.

               2.     No Grounds Exist To Refuse Arbitration Under The Consultancy
                      Agreement.

       Once a dispute falls within the scope of the New York Convention, the Court should

grant a motion to compel unless it finds that the agreement is “null and void.” Standard Bent

Glass, 333 F.3d at 449. No such grounds for such a finding exist here.

                      i.      Plaintiffs Have Not Made An Attempt To Invalidate The
                              Consultancy Agreement.

       Plaintiffs do not mention the arbitration requirement in their Complaint, much less raise a

particularized allegation as to that provision. GSK PLC and GSK LLC are entitled to invoke the

arbitration provision of the Consultancy Agreement.

       Even though GSK PLC and GSK LLC are not direct signatories to the Consultancy

Agreement, they are nonetheless entitled to invoke its arbitration provision. An arbitration

clause may be enforced by a nonsignatory if a “close relationship” exists between the entities

involved and if “the claims were intimately founded in and intertwined with the underlying

contract obligations.” E.I. DuPont de Nemours, 269 F.3d at 199. In essence, when a claim arises

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by or against one member of a corporate family by virtue of a related company’s contract, the

non-signatory may invoke any arbitration provision in that contract. Id.; see also Bannett v.

Hankin, 304 F. Supp. 2d 354, 359 (E.D. Pa. 2004) (“[N]onsignatories to an arbitration agreement

have standing to compel arbitration against a signatory and the signatory is estopped from

avoiding arbitration with a nonsignatory when the issues which the nonsignatory wants to

resolve are intertwined with the agreement that the signatory signed.”).

       Here, Plaintiffs’ claims against GSK PLC and GSK LLC allegedly arose while Plaintiffs

were carrying out their investigatory obligations under the Consultancy Agreement with

GSK China. (Compl. ¶¶ 49-70.) Those claims are “intimately founded in and intertwined with”

the Consultancy Agreement such that GSK PLC and GLK LLC assumed standing to enforce the

arbitration provision of that contract. E.I. DuPont de Nemours, 269 F.3d at 199. Plaintiffs must,

therefore, bring their claims arising from the Consultancy Agreement in an arbitration tribunal

regardless of which GSK corporate entities they attempt to pursue as defendants.

                      ii.     The Court May Require Humphrey, Yu, And ChinaWhys To
                              Arbitrate Their Claims Due To Their Affiliation With ChinaWhys
                              (Shanghai), Which Is The Signatory To The Consultancy
                              Agreement.

       The Court may compel the Plaintiffs to arbitrate even though the Consultancy Agreement

was signed only by Humphrey on behalf of ChinaWhys (Shanghai). “Because arbitration is a

creature of contract law, when asked to enforce an arbitration agreement against a non-signatory

to the contract, a district court must determine whether the non-signatory individual ‘is bound by

that agreement under traditional principles of contract and agency law.’” Just B. Method, 2014

WL 5285634, at *7 (quoting E.I. DuPont de Nemours & Co. v. Rhone Poulenc Fiber & Resin

Intermediaries., S.A.S., 269 F.3d 187, 194-95 (3d Cir. 2001)). Under those principles, a party

may be compelled to arbitrate under principles of (1) incorporation by reference, (2) assumption


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of contractual rights or obligations, (3) agency, (4) alter ego, and (5) estoppel. Allstate Settlement

Corp. v. Rapid Settlements, Ltd., 559 F.3d 164, 170 (3d Cir. 2009).

                               (1)     The Consultancy Agreement Binds Humphrey And Yu
                                       Under Principles Of Agency And Estoppel.

       Under agency principles, when a contract signatory retains another individual or entity as

an agent to carry out its contractual obligations, claims accruing as a result of the agent’s conduct

are subject to any arbitration provision contained in the contract. Pritzker v. Merrill Lynch,

Pierce, Fenner & Smith, Inc., 7 F.3d 1110, 1121 (3d Cir. 1993). The Complaint alleges that

Humphrey and Yu are co-founders of ChinaWhys (Shanghai), the signatory to the Consultancy

Agreement, and that both Humphrey and Yu were acting in their capacity as principals and

agents of ChinaWhys at all times relevant to their claims. (See Compl. ¶¶ 6, 7.) The Complaint

further alleges that Humphrey was introduced to GSK China by a former ChinaWhys client

based on the specialized consulting services ChinaWhys provides. (Id. ¶ 49.) The Complaint

confirms as well that Humphrey and Yu are “employees” of ChinaWhys, and alleges that the

GSK Defendants dictated “Humphrey and Yu’s mission” in carrying out the Consultancy

Agreement. (Id. ¶¶ 63, 128(c) (referring to “Humphrey, Yu, and other ChinaWhys employees”).)

The investigation performed by Humphrey and Yu is the same as that described in the scope

of work outlined in ChinaWhys’ project proposal. (See Ex. 1, Consultancy Agreement App’x A.)

Accordingly, Humphrey and Yu were acting as agents of ChinaWhys with regard to the facts

alleged in the Complaint, and they are bound by the arbitration clause in the Consultancy

Agreement.

       Humphrey and Yu are also bound by the arbitration clause in the Consultancy Agreement

under an equitable estoppel theory. A non-signatory to a contract may be bound by a contractual

arbitration provision “if the non-signatory exploits the agreement containing the arbitration


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clause despite never having signed the agreement.” E.I. DuPont de Nemours, 269 F.3d at 200.

This Court has recognized that, when an individual litigant “s[eeks] to reap the full benefits of

[an] Agreement” executed by an entity of which the litigant is a principal, the individual may be

compelled to arbitrate claims arising under that agreement. See Just B Method, 2014 WL

5285634, at *9. Here Humphrey and Yu sought to reap the benefits for the work that was

performed in China for the purpose of carrying out their obligations under the Consultancy

Agreement. The Court should, therefore, compel Humphrey and Yu to arbitrate in accordance

with that agreement.

                              (2)    The Consultancy Agreement Binds ChinaWhys Under
                                     Principles Of Alter Ego, Agency, And Assumption Of
                                     Contract Rights.

       Under alter ego principles, one corporate entity may be bound by an arbitration clause in

a contract signed by an affiliated company when the two entities have so comingled their

operations that they function as a single enterprise. Aluminium Bahrain B.S.C. v. Dahdaleh,

17 F. Supp. 3d 461, 471 (W.D. Pa. 2014). Similarly, under principles of assumption, one entity

may be bound by an arbitration clause if its “subsequent conduct indicates that it is assuming the

obligation to arbitrate.” Invista S.A.R.L., 625 F.3d at 85 (internal quotations omitted). Here,

Humphrey’s and Yu’s conduct in China was allegedly performed to satisfy ChinaWhys

(Shanghai)’s obligations under the Consultancy Agreement, despite the fact that the Complaint

attributes that conduct to ChinaWhys and alleges that Humphrey and Yu performed their

investigation on ChinaWhys’ behalf. (Comp. ¶¶ 49-70.) ChinaWhys was operating to fulfill

ChinaWhys (Shanghai)’s obligation to “initiate inquiries into [Shi] and her contacts.” (See Ex. 1,

Consultancy Agreement App’x A, at 4.) The actions of Humphrey and Yu are thus attributable

to ChinaWhys (Shanghai), the contract signatory, because the two ChinaWhys entities

functioned as a single enterprise using the same personnel.

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        Alternatively, the Consultancy Agreement binds ChinaWhys under an agency theory

because ChinaWhys, through its employees, was acting as the agent of ChinaWhys (Shanghai) to

fulfill contractual obligation of the latter entity. “Because a principal is bound under the terms of

a valid arbitration clause, its agents, employees, and representatives are also covered under the

terms of such agreements.” Pritzker, 7 F.3d at 1121.

        Moreover, ChinaWhys’ conduct reflects an intent to be bound regardless of any alter ego

or agency relationship. ChinaWhys directed its personnel into China for the specific purpose of

furthering the relationship between GSK China and ChinaWhys (Shanghai) created by the

Consultancy Agreement. By acting on behalf of ChinaWhys (Shanghai) to meet its contractual

duties, ChinaWhys manifested its intent to be bound by the contract from which those duties

arose. See Thomson-CSF, S.A. v. Am. Arb. Ass’n, 64 F.3d 773, 777 (2d Cir. 1995) (“In the

absence of a signature, a party may be bound by an arbitration clause if its subsequent conduct

indicates that it is assuming the obligation to arbitrate.”).

        The Court should find that ChinaWhys is bound by the arbitration provisions of the

Consultancy Agreement.

                        iii.    Arbitration Remains Proper Notwithstanding That Humphrey And
                                Yu Are No Longer In China.

        The Court may compel arbitration notwithstanding that Humphrey and Yu were allegedly

“deported from China on June 17, 2015” and are no longer physically present or resident in

China. (See Compl. ¶ 106.) A contract such as the Consultancy Agreement incorporates into its

terms the law existing at the time of its formation. See DePaul v. Kauffman, 272 A.2d 500, 506

(Pa. 1971). In this case, the chosen law governing the agreement is the law of China and the

chosen forum is CIETAC. (See Ex. 1, Consultancy Agreement at § 11.) CIETAC rules provide

that “[a] party may be represented by its authorized Chinese and/or foreign representative(s) in


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handling matters relating to the arbitration,” even if the party cannot or chooses not to attend the

proceeding in person. See CIETAC Arb. R. art. 22.8 By assenting to the arbitration provision in

the Consultancy Agreement, Plaintiffs agreed to use and rely upon CIETAC procedures,

including those allowing a representative to conduct the arbitration on the party’s behalf.

Accordingly, the fact that Humphrey and Yu are not in China should not preclude the Court from

granting a motion to compel arbitration in accordance with the Consultancy Agreement.

        B.       The Court Must Dismiss All Claims Against GSK PLC For Lack Of Personal
                 Jurisdiction

                 1.      The Court Cannot Assert General Jurisdiction Over GSK PLC

        In order for the Court to assert general personal jurisdiction over a foreign corporation,

the corporation’s affiliations with the forum state must be “so constant and pervasive” that it is

essentially “at home” there. Daimler AG v. Bauman, 134 S. Ct. 746, 751 (2014). Except for “an

exceptional case” such as a temporary relocation of a corporate headquarters, a corporation is “at

home” only in its formal place of incorporation and its principal place of business. Id. at 761.

        GSK PLC is a public limited company with its principal place of business in Middlesex,

United Kingdom. (See Ex. 13, GSK PLC Decl. ¶ 3.) GSK PLC’s sole purpose is to act as a

holding company for its global operations through a series of intermediate holding companies

responsible for its various divisions. (Id. ¶ 4.) GSK PLC has no operations, no sales, no

employees, and no other activities in the U.S. (Id. ¶ 5.) Accordingly, under Daimler, the Court

has no basis to assert general jurisdiction over GSK PLC.




8
  See also Jiangsu Changlong Chemicals, Co. v. Burlington Bio-Med. & Sci. Corp., 399 F. Supp. 2d 165, 169
(E.D.N.Y. 2005) (confirming award over due process objection that company representatives were prevented from
obtaining necessary visas to attend Chinese arbitration, when counsel had appeared at arbitration on defendant’s
behalf).

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                2.     The Court Cannot Assert Specific Jurisdiction Over GSK PLC

        Specific jurisdiction focuses on “minimum contacts” between a non-resident defendant

and the forum with respect to the claims asserted against it. Dollar Sav. Bank v. First Sec. Bank

of Utah, 746 F.2d 208, 211-12 (3d Cir. 1984). First, the defendant must have “purposefully

directed [its] activities” at the forum. Burger King Corp. v. Rudzewicz, 471 U.S. 462, 472 (1985)

(quotation marks omitted). Second, the litigation must “arise out of or relate to” at least one of

those forum-related activities. Helicopteros Nacionales de Colombia v. Hall, 466 U.S. 408, 418

n.8 (1984); Grimes v. Vitalink Comms. Corp., 17 F.3d 1553, 1559 (3d Cir. 1994). Finally,

jurisdiction must otherwise “comport with ‘fair play and substantial justice.’” Burger King, 471

U.S. at 476.

        Thus, for a controversy to “arise out of” or be “related to” the forum state, a corporation's

“suit-related conduct must create a substantial connection with the forum State.” Walden v.

Fiore, 134 S. Ct. 1115, 1121 (2014) (emphasis added). Contacts unrelated to the alleged claims

will not support jurisdiction. World–Wide Volkswagen Corp. v. Woodson, 444 U.S. 286, 299

(1980) (“[F]inancial benefits accruing to the defendant from a collateral relation to the forum

State will not support jurisdiction if they do not stem from a constitutionally cognizable contact

with that State.”).

        Here, the analysis is straightforward, as the Complaint fails to allege that GSK PLC had

any contacts with the forum related to Plaintiffs’ claims. Nor, in fact, have Plaintiffs alleged

suit-related conduct in the forum with respect to any of the GSK Defendants. In the absence of

any allegations that GSK PLC acted in Pennsylvania with respect to Plaintiffs’ claims, it cannot

be subject to this Court’s personal jurisdiction, and all claims against GSK PLC should be

dismissed.



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       C.      The Court Lacks Subject Matter Jurisdiction Over Plaintiffs’ State-Law
               Claims (Counts III, IV and V)

       Aside from RICO (18 U.S.C. § 1964), Plaintiffs allege only diversity under 28 U.S.C.

§ 1332 as the basis for this Court’s subject matter jurisdiction.

       However, Plaintiffs cannot rely upon diversity jurisdiction to provide this Court with

subject-matter jurisdiction over their non-RICO claims. (Cf. Compl. ¶¶ 7, 12 (alleging American

citizenship of Yu and relying on diversity statute as a basis for jurisdiction).) Under 28 U.S.C.

§ 1332, a court may assert diversity jurisdiction over suits between “citizens of different states”

(U.S.C. § 1332(a)(1)), “citizens of a State and citizens or subjects of a foreign state” (28 U.S.C.

§ 1332(a)(2)), and “citizens of different States and in which citizens or subjects of a foreign state

are additional parties” (28 U.S.C. § 1332(a)(3)). None of these provisions applies here:

            In order to be a citizen of a State within the meaning of the diversity
            statute, a natural person must be both a citizen of the U.S. and be
            domiciled within the State. An American citizen domiciled abroad,
            while being a citizen of the U.S. is, of course, not domiciled in a
            particular state, and therefore such a person is ‘stateless’ for purposes of
            diversity jurisdiction. Thus, American citizens living abroad . . . are
            neither ‘citizens of a State,’ see 28 U.S.C. § 1332(a)(1), nor ‘citizens or
            subjects of a foreign state,’ see id. § 1332(a)(2).

Swiger v. Allegheny Energy, Inc., 540 F.3d 179, 183–84 (3d Cir. 2008).

       Yu is not domiciled in the U.S., and is not a citizen of a state within the meaning of the

diversity statute. Accordingly, the Court lacks subject-matter jurisdiction over Plaintiffs’ state-

law claims (Counts III, IV and V).

       D.      The Complaint Fails To State A Claim Upon Which Relief May Be Granted

       Rule 8(a)(2), which applies to all complaints, requires a “short and plain statement” to

“show[] that [the plaintiff] is entitled to relief.” Fed. R. Civ. P. 8(a)(2). To meet this requirement,

the complaint must be “plausible on its face.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2007). This

means a plaintiff must plead sufficient facts to permit the court “to draw the reasonable inference

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that the defendant is liable for the misconduct alleged.” Santiago v. Warminster Township, 629

F.3d 121, 128 (3d Cir. 2010) (quoting Sheridan v. NGK Metals Corp., 609 F.3d 239, 262 n.27

(3d Cir. 2010)). “[R]ecitals of the elements of a cause of action, supported by mere conclusory

statements,” are insufficient. Id (quoting Iqbal, 556 U.S. at 667).

         Additionally, claims grounded in fraud must be plead with particularity under Fed. R.

Civ. P. 9(b). Pursuant to Rule 9(b), a plaintiff averring a claim in fraud must specify “the who,

what, when and where details of the alleged fraud.” District 1199P Health and Welfare Plan v.

Janssen, L.P., 784 F. Supp. 508, 527 (D. N.J. 2011). Further:

              To determine the sufficiency of a complaint in the Third Circuit, a court
              must take three steps: First, the court must take note of the elements a
              plaintiff must plead to state a claim. Second, the court should identify
              allegations that, because they are no more than conclusions, are not
              entitled to the assumption of truth. Third, where there are well-pleaded
              factual allegations, a court should assume their veracity and then
              determine whether they plausibly give rise to an entitlement for relief.

Santiago, 629 F. 3d at 130.

         A review of each of Plaintiffs’ six causes of action reveals that none give rise to an

entitlement for relief. As such, the Court should thus dismiss the Complaint.

                  1.       Plaintiffs Sued The Wrong Entities

         Plaintiffs cannot meet either the Rule 8 or heightened Rule 9(b) pleading standards as to

any claims, for one simple reason: Plaintiffs have named the wrong entities. 9 The named GSK

Defendants in the Complaint are (1) GSK PLC, and (2) one of GSK PLC’s subsidiaries, GSK

LLC. (See Compl. ¶¶ 10, 11.) However, as set forth above in Sections III(D)-(E), neither GSK

PLC nor GSK LLC is alleged to have committed any conduct actually directed towards

Plaintiffs. Rather, every single individual alleged to have interacted with the Plaintiffs is

9
  As set forth more fully in Section III, Plaintiffs’ alleged claims arise from the Consultancy Agreement, a contract
to which neither GSK PLC nor GSK LLC are signatories.


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associated with one of two entirely different GSK subsidiaries: either GSK China, GSK (China)

R&D Co. Ltd. (“GSK China (R&D)”) or GlaxoSmithKline Pte. Ltd. (“GSK Singapore”).

Specifically, as alleged in Plaintiffs’ Complaint:

       •       The “GSK officials” at the April 15, 2013 meeting at which Plaintiffs were “asked
               to conduct a background investigation of Shi” (Compl. ¶¶ 49-63) were:

               o       Reilly, the General Manager of GSK China; (Compl. ¶ 50.)

               o       Zhao, Legal Counsel to GSK China; and (Compl. ¶ 50.)

           o Cahill, an employee of GSK Singapore. (Compl. ¶ 50; see also Ex. 9, GSK China
             Decl. ¶ 10.)

       •       The employees from whom Humphrey sought additional information (Zhao and
               Reilly) were Legal Counsel and CEO of GSK China, respectively; (Compl. ¶ 64.)

       •       The location to which ChinaWhys employee Silvia Feng allegedly traveled to
               obtain information was the Shanghai office of GSK China; (Compl. ¶ 65.)

       •       The individuals to whom Humphrey sent a background investigation report
               (Zhao, Huang, and Cahill) were employees of GSK China, GSK China (R&D)
               and GSK Singapore; (Compl. ¶ 70.)

       •       The individuals who requested follow-up investigation work by Humphrey—
               which Humphrey declined to perform—were legal counsel to GSK China (R&D)
               (Huang) and Head of Business Development for GSK China (Chang); (Compl. ¶¶
               79, 82-85.)

       •       The individual who allegedly forwarded Humphrey and a ChinaWhys manager
               copies of the whistleblower emails was an employee of GSK Singapore (Soon);
               and (Compl. ¶ 80.)

       •       Subsequent alleged July 2013 contacts involved only Reilly and his personal
               assistant (Zheng). (Compl. ¶¶ 86, 89.)

       Further, none of this alleged conduct by employees of GSK China and GSK Singapore,

even if proven tortious, could be imputed to either of the GSK Defendants in this case. “As a

general rule, a parent corporation, like any stockholder, is not normally liable for the wrongful

acts or contractual obligations of a subsidiary . . . simply because the parent wholly owns the

subsidiary.” Jean Anderson Hierarchy of Agents v. Allstate Life Ins. Co., 2 F. Supp. 2d 688, 691

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(E.D. Pa. 1998). Under Pennsylvania law, there is “a strong presumption . . . against piercing the

corporate veil. Germain v. Wisniewski, No. 15-1297, 2016 WL 4158994, at *2 (W.D. Pa. Aug. 5,

2016) (quoting Lumax Indus., Inc. v. Autman, 669 A.2d 893, 895 (Pa. 1985). The “formulaic

recitation of the elements . . . for piercing the corporate veil” is insufficient to survive a motion

to dismiss. Essex Ins. Co. v. Miles, No. 10-3598, 2010 WL 5069871, at *3 (E.D. Pa. Dec. 3,

2010) (allegations that “on information and belief” corporate entity’s owners failed to observe

corporate formalities, intermingled funds, used corporate property for personal expenses, left the

entity grossly undercapitalized, and used the entity as a façade or alter ego did not meet the

Twombley pleading standard).

       Here, Plaintiffs have not even attempted to allege the elements of a veil piercing claim,

making only a bare, conclusory allegation that GSK PLC “had the right to and did exercise

control over the actions of” GSK China. (See Compl. ¶ 10.) This is insufficient. The allegation

that a company is “entirely dominated, operated, and controlled” by another is a “threadbare and

conclusory” allegation insufficient to state a claim for veil piercing. Sunlight Elec. Contracting

Co. v. Turchi, No. 08-5834, 2011 WL 4086077, at * 17-18 (E.D. Pa. Sept 13, 2011). Where the

only allegations against a parent and sister corporation are as to their corporate relationship to the

entity that committed the wrongful acts, the complaint must be dismissed as to those defendants.

Jean Anderson Hierarchy of Agents v. Allstate Life Ins. Co., 2 F. Supp. 2d at 692; see also Davis

v. Wells Fargo U.S. Bank Nat’l Ass’n, No. 14-07014, 2015 WL 3555301, at *4-5 (E.D. Pa. June

8, 2015) (dismissing complaint against corporate parent company for acts committed by its

subsidiary).

       Simply put, Plaintiffs have sued the wrong corporate entities, and the Complaint should

be dismissed in its entirety on this basis alone.



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                2.          Plaintiffs Fail To State A Claim For Violation of 18 U.S.C. § 1962(c)
                            or (d)

        Plaintiffs lack standing to bring RICO claims because they do not allege facts supporting

a causal link between the GSK Defendants’ actions and Plaintiffs’ alleged RICO losses. Second,

Plaintiffs do not plausibly allege a “pattern” of racketeering activity as required for violation of

18 U.S.C. § 1962(c). Finally, Plaintiffs do not plausibly allege that GSK PLC and GSK LLC

entered into an agreement to participate in the affairs of a RICO enterprise, as required under 18

U.S.C. § 1962(d).

                            i.    Plaintiffs Fail To Allege Violation Of § 1962 Proximately Caused
                                  Their Damages

        Plaintiffs’ RICO claims must be dismissed because Plaintiffs do not plausibly allege that

a violation of § 1962 proximately caused their damages. Under 18 U.S.C. § 1964(c), a private

plaintiff may only bring a civil suit if he or she is “injured in his business or property by reason

of a violation of section 1962.” 18 U.S.C. § 1964(c). The U.S. Supreme Court has read this

requirement strictly: plaintiffs may only recover damages actually and proximately caused by a

defendant’s RICO violation. Holmes v. Secs. Investor Prot. Corp., 503 U.S. 258, 268-69 (1992).

RICO proximate cause is defined by directness: where injury “rests on the independent actions

of third and even fourth parties,” there is no proximate cause. Hemi Grp., LLC v. City of New

York, N.Y., 599 U.S. 1, 15 (2010). Foreseeability—in contrast to many states’ common law

formulation of proximate cause—is irrelevant. Id. It does not matter whether injuries caused by

the independent actions of a third party are foreseeable, intended or even desired. Id. Rather, the

RICO proximate cause requirement “ensures that there are no independent variables that could

account for a plaintiff’s injuries.” District 1099P, 784 F. Supp. 2d at 525 (dismissing RICO

claims because, among other reasons, defendants’ fraudulent statements were not the sole cause

of Plaintiffs’ injuries).

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       Here, it was not the alleged actions by GSK LLC, GSK PLC or even GSK China or GSK

Singapore that directly caused Plaintiffs’ injuries. Rather, Plaintiffs allege their injuries were

directly caused by third parties: the Chinese criminal justice system—the Chinese police (Compl.

¶¶ 91-92), prosecutors (Compl. ¶¶ 92-97), and Chinese detention center employees and prison

officials (Compl. ¶¶ 99-103). In fact, assuming that Plaintiffs’ allegations are true, the actions of

the Chinese criminal justice system are arguably fourth party acts, as Plaintiffs allege their

“prosecution was procured at the behest of Shi, seeking revenge against them. . . .” (Compl.

¶ 97). Indeed, Plaintiffs do not contest that they committed the violations of law, dating back

over many years, that were the cause of their punishment in China.

       Plaintiffs make no factual allegations that any activity by GSK LLC had a causal impact

on Plaintiffs, either direct or indirect. Plaintiffs’ allegations that GSK PLC’s putative refusal to

disclose information to British diplomats prolonged Humphrey’s and Yu’s incarceration is

unavailing, as Plaintiffs do not (and cannot) plausibly allege that GSK PLC’s alleged statements

or refusal to provide information were the sole reason that the British government was

unsuccessful in securing their early release. (Compl. ¶ 115.)

       As alleged, Plaintiffs’ injuries simply cannot be considered the “direct” result of action

by the GSK Defendants: assuming that Plaintiffs’ allegations are true, Plaintiffs’ conduct in the

investigation incurred the wrath of Shi; Shi purportedly procured Plaintiffs’ arrest and

prosecution by the Chinese criminal justice system; and inhumane treatment by Chinese

authorities injured Plaintiffs.    (Compl. ¶¶ 91-104.)       Because it was independent actors

responding to Plaintiffs’ own violations of Chinese law who directly caused Plaintiffs’ alleged

harm, even accepting their allegations at face value, Plaintiffs cannot claim that their injuries

were proximately caused by Defendants.



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                       ii.    Plaintiffs Fail To Allege A Pattern Of RICO Activity

       “A plaintiff bringing a substantive RICO claim under § 1962(c) must allege ‘(1) conduct

(2) of an enterprise (3) through a pattern (4) of racketeering activity.’” Hlista v. Safeguard

Properties, LLC, 649 F. App’x 217, 221 (3d Cir. 2016) (quoting In re Ins. Brokerage Antitrust

Litig., 618 F.3d 300, 362 (3d Cir. 2010)). The requirements of § 1962(c) “must be established as

to each individual defendant.” Craig Outdoor Advertising, Inc. v. Viacom Outdoor, Inc., 528

F.3d 1001 (8th Cir. 2008).

       As the U.S. Supreme Court explained in H.J. Inc. v. Northwestern Bell Tel. Co., a series

of racketeering activities only constitutes a RICO “pattern” where the activities are (1) related to

each other and (2) amount to or otherwise constitute a threat of continuing racketeering activity.

492 U.S. 229, 240 (1989). Activities are related when they “have the same or similar purposes,

results, participants, victims, or methods of commission, or otherwise are interrelated by

distinguishing characteristics and are not isolated events.” Id. Plaintiffs’ claims regarding the

alleged “Drug Bribery and Promotion Enterprise” fail to meet that standard by any definition.

       Plaintiffs allege three distinct subsets of conduct within the purported enterprise: (1) the

2012 U.S. Settlement (Compl. ¶¶ 15-22); (2) GSK China’s “Corruption in China” (Compl. ¶¶ 71-

78, 116-120); and (3) GSK China’s engagement of Plaintiffs to “conduct a background

investigation of [Vivian] Shi” (Compl. ¶¶ 49-70, 79-90). Contrary to the H.J., Inc. requirement

that the elements of a pattern be “related,” Plaintiffs’ own allegations demonstrate that the

purported elements of the alleged RICO enterprise are in fact, entirely unrelated, and do not

involve the same or even similar results, participants, victims, or methods of commission.

Indeed, timing alone demonstrates the disjointed nature of Plaintiffs’ allegations: there are no

allegations involving GSK LLC after the 2012 U.S. Settlement, while GSK China employees are

not alleged to have made contact with Plaintiffs prior to mid-2013. (Compl. ¶¶ 15, 50.)

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        In an attempt to tie these disparate acts together, Plaintiffs argue, without alleging any

facts, that each “portion of the enterprise” is connected to the others because all have the

“common purpose to maximize and protect GSK profits.” (Compl. ¶ 123.) This bald assertion is

insufficient to tie together Plaintiff’s unrelated and disparate allegations.

        In Bonavitacola Elec. Contractor, Inc. v. Boro Developers, Inc., plaintiffs alleged

conduct over the course of a decade through which the defendant electrical contractor bid for and

won several public works projects, in each instance by fraudulently promising to comply with

prevailing wage laws and subsequently submitting false certified payroll reports. 87 F. App’x

227, 232 (3d Cir. 2003). Plaintiffs alleged this series of events met the relatedness requirement

by virtue of their “similar purpose of procuring electrical construction contracts.” Id. The Third

Circuit disagreed and affirmed dismissal of these claims, holding that an alleged similar purpose

“is not an allegation of common plan.” Id. Plaintiffs’ efforts to shoehorn conduct by GSK LLC

and GSK PLC into the complaint under the guise of a common purpose of “maximizing profits”

similarly fails.

        Nor does Plaintiffs’ allegation that they were hired as part of an effort to “cover-up” the

alleged enterprise render this series of communications “related” to the activity alleged against

GSK LLC. See The Knit With v. Knitting Fever, Inc., 625 F. App’x 27, 38 (3d Cir. 2015) (while

a scheme to cover up activity may have “some connection” to that activity, this connection alone

is “not sufficient to make two conspiracies part of the same pattern of racketeering”). Indeed,

hiring Plaintiffs to conduct a background report into a former employee could not plausibly be

part of an effort to “cover-up” any GSK LLC activities, which had already been disclosed to the

public as part of its settlement almost a full year before GSK China and GSK Singapore

employees allegedly first contacted Plaintiffs. (See Exs. 4-5.)



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       Nor can the “portion” of the alleged racketeering activity purportedly directed towards

Plaintiffs stand as a “pattern” on its own. “Predicate acts extending over a few weeks or months

and threatening no future criminal conduct do not satisfy” the continuity requirement of H.J. Inc.

492 U.S. at 242. All alleged interaction between Plaintiffs and employees of GSK China and

GSK Singapore took place during the course of three months. When the alleged pattern of

activity takes place over such a short timeframe, and when it is not related to an open-ended

pattern of racketeering activity, a claim under 18 U.S.C. § 1962(c) fails. See Jordan v. Berman,

792 F. Supp. 380, 385-86 (E.D. Pa. 1992) partially overruled on other grounds, 20 F.3d 1250

(3d Cir. 1994) (citing examples of Third Circuit cases holding that “twelve months or less is not

a ‘substantial’ period for RICO continuity purposes.”); Walther v. Patel, No. 10-706, 2011 WL

382752 at n.105 (E.D. Pa. Feb 4, 2011) (same).

                       iii.    Plaintiffs’ 1962(d) Claim Fails Because Plaintiffs Have Not
                               Alleged an Agreement

       To plead a cause of action for RICO conspiracy (§ 1962(d)), the complaint “must set

forth factual allegations that indicate (1) the period of the conspiracy, (2) its intended purpose,

(3) the specific actions taken by the conspirators in furtherance of the conspiracy, (4) agreement

to commit predicate acts, and (5) knowledge that the acts agreed upon formed part of a pattern of

racketeering activity.” Ferguson v. Moeller, No. 2:16-CV-41, 2016 WL 1106609, at *8 (W.D.

Pa. March 22, 2016) (citing Glessner v. Kenny, 952 F.2d 702, 714 (3d Cir. 1991)). Plaintiffs

must allege facts showing that “each defendant objectively manifested an agreement to

participate, directly or indirectly, in the affairs of a RICO enterprise.” Id. Plaintiffs’ conclusory

allegations do not meet this requirement.

       Plaintiffs allege that “[t]he corporate defendants conspired with, inter alia, Mark Reilly

and others to promote the red herring investigation of Vivian Shi . . .” (Compl. ¶ 140, 141.)


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However, Plaintiffs offer no allegations whatsoever to support this statement. They make no

claim that any employee of GSK LLC or GSK PLC knew that GSK China and GSK Singapore

employees had the objective of “promoting [a] red herring investigation,” let alone that GSK

LLC and GSK PLC agreed to further this alleged endeavor for the purpose of “suppress[ing]

evidence of GSK’s fraud and bribery in China.” See Id. Mere conclusory statements such as

these, with “no specific averments regarding . . . agreement to join an alleged conspiracy as to

each defendant,” are insufficient to state a cognizable § 1962(d) claim. Ferguson, 2016 WL

1106609, at *9.10

                 3.       Plaintiffs’ Claim For Fraud Fails Because Neither GSK Defendant Made
                          Any Allegedly Misleading Statements To Plaintiffs

        Plaintiffs’ claim for fraud also fails because the wrong defendants once again were

named. Plaintiffs allege that misstatements made to them regarding Shi and the status of a GSK

China internal investigation “caused Plaintiffs to agree to conduct the initial investigation,

and it was this investigation that led to their arrest, imprisonment, and resulting damages.

(Compl. ¶¶ 151, 154, 156.) However, as explained above, there is no allegation that there were

any attendees from either GSK PLC or GSK LLC at the April 15, 2013 meeting when the alleged

misrepresentations were made. Id. at ¶ 50. As there are no such allegations, Plaintiffs’ fraud

claims must be dismissed. Davis, 2015 WL 3555301 at *1, 4-5 (dismissing claim for fraud

against parent corporation because plaintiff “fails to show how [defendant] was involved in the

alleged conduct in any way, other than being the parent company of the company that” is alleged

to have caused the injury).


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   Further, a number of courts in this circuit have held that a corporation cannot engage in a RICO conspiracy with
its own subsidiaries and employees. See, e.g. Dist. 1199P Health & Welfare Plan v. Janssen, L.P., No. 07-
2860(GEB), 2008 WL 5413105, at *13 (D.N.J. Dec. 23, 2008) (parent and subsidiary incapable of conspiring, and
“an alleged intro-corporate conspiracy comprised solely of a corporation acting in concert with its officers and
employees should not be considered as involving separate actors conspiring under the law”); Castle v. Crouse, No.
03-5252, 2004 WL 257389, at *6 (E.D. Pa. Feb.11, 2004) (“a corporate entity cannot conspire with its employees.”).

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               4.      Plaintiffs’ Claim For Conspiracy Fails Because Plaintiffs Allege No
                       Malice By Either GSK Defendant

       Plaintiffs’ claim for civil conspiracy fails for two reasons. First, as with all other claims,

there are no factual allegations that either GSK PLC or GSK LLC made any agreement among

themselves. Second, Plaintiffs fail to allege any facts from which this Court could plausibly infer

the essential element of malice.

       To state a claim for conspiracy under Pennsylvania law, plaintiffs must show:

(1) a combination of two or more persons acting with a common purpose to do an unlawful act or

to do a lawful act, by unlawful means or for an unlawful purpose; (2) an overt act done in

pursuance of the common purpose; and (3) actual legal damage. Morilus v. Countrywide Home

Loans, Inc., 651 F. Supp. 2d 292, 312 (E.D. Pa. 2008). Additionally, there must be a claim of

malice or an intent to injure. Morilus, 651 F. Supp. 2d at 313. “Bald assertions that certain

actions were malicious are insufficient; it must be alleged that the sole purpose of the conspiracy

was to injure Plaintiffs.” Id. (internal quotation and citation omitted) (emphasis in original).

       Plaintiffs’ claim for civil conspiracy fails because Plaintiffs allege no facts that could

allow the court to infer that GSK PLC or GSK LLC harbored any intent to harm Plaintiffs in

2013. Moreover, even if the alleged actions of GSK China or GSK Singapore employees could

be imputed to the GSK Defendants (which they cannot), Plaintiffs still fail to allege the essential

element of malice against them. Rather, Plaintiffs allege that the GSK Defendants were

motivated by their own self-interest: “[the GSK Defendants’] objective in retaining Plaintiffs was

to create a dossier on the whistleblower . . . to frame her as a vindictive former employee with a

grudge in order to cover-up their conspiracy and obstruct an ongoing investigation into it.”

(See Compl. ¶ 2.) “[The GSK] Defendants’ true motive was to use Plaintiffs to discredit the

whistleblower and cover up their illegal scheme.” (Id. at ¶ 1.) (emphasis added). In fact,


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Plaintiffs allege facts suggesting GSK China employee Reilly warned Plaintiffs about the fall-out

of their report: that Reilly allegedly warned Humphrey that Shi had read the report and would be

“coming after” him; and that Reilly informed Humphrey that Reilly planned to leave the country.

(Id. at ¶¶ 8, 89.) Because the purported conspirators are alleged to have been “guided by personal

interests separate from any alleged desire to cause harm to” the plaintiffs, the claim for civil

conspiracy must be dismissed. Morilus, 651 F. Supp. 2d at 313.

               5.     Plaintiffs’ Claim For Intentional Infliction Of Emotional Distress Fails To
                      Allege Severe Emotional Distress

       First, as previously noted, Plaintiffs’ claims must fail as the GSK Defendants are not

alleged to have been involved in any activity directed at or involving Plaintiffs. Second, even if

the alleged GSK China employees’ action(s) could be imputed to GSK PLC or GSK LLC (which

they cannot), Plaintiffs’ “threadbare legal conclusions” that they suffered “severe emotional

distress” do not plausibly state a claim for relief. (Compl. ¶ 162.); see Robinson v. Family

Dollar, Inc., No. 14-03189, 2015 WL 3400836, at *6 (E.D. Pa. May 27, 2015) (allegation that

defendants “caused plaintiff to suffer severe emotional distress” are insufficient to state a

plausible claim of intentional infliction of emotional distress). Moreover, claims for “both

intentional and negligent infliction of emotional distress require a manifestation of physical

impairment resulting from the distress.” Adams v. U.S. Airways Grp., Inc., 978 F. Supp. 2d 485,

497 (E.D. Pa. 2013). Plaintiffs make no such allegation, and this claim therefore must be

dismissed.

               6.     Plaintiffs’ Claim For Negligent Infliction Of Emotional Distress Fails
                      Because Plaintiffs’ Cannot Allege Proximate Cause

       Plaintiffs’ claim for negligent infliction of emotional distress also fails. First, neither

GSK PLC nor GSK LLC is alleged to be involved in or knowledgeable about efforts to engage

Plaintiffs to conduct an investigation of Shi. Moreover, it was the intentional actions of the

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Chinese government in arresting, prosecuting, and imprisoning defendants that caused Plaintiffs

harm, not the actions of any GSK employees, and the claim must therefore be dismissed for lack

of proximate cause.

       The U.S. District Court for the Middle District of Pennsylvania addressed a similar

situation in Deitrick v. Costa, No. 4:06-CV-01556, 2015 WL 1606641, at *9 (M.D. Pa. Apr. 9,

2015). In Deitrick, the complaint alleged plaintiffs’ injuries resulted from a physical altercation

at a police station during which police officers were “detaining and/or assaulting the [p]laintiff.”

Id. Although the Deitrick plaintiff sought to causally connect this incident to the defendant, the

court dismissed this claim: “even if some as yet unknown act of negligence by defendant . . . is

casually related to the police station incident, the intentional conduct of third persons is a

superseding cause of the requisite physical impact. Accordingly, the negligent infliction of

emotional distress claim should be dismissed.” Id. at *9. In this case, Plaintiffs allege they

suffered harm at the hands of Chinese authorities while in prison. (See Compl. ¶¶ 91-107.) Any

causal link to any GSK entity is therefore broken, and Plaintiffs’ claim must be dismissed.

       E.      The Complaint Must Be Dismissed For Failure To Join An Indispensable
               Party

       Plaintiffs seek to evade the arbitration clause in the Consultancy Agreement by

strategically substituting the non-signatory GSK Defendants for the party actually involved in the

allegations contained in Plaintiffs’ complaint: GSK China. Every allegation in the Complaint

revolves around services performed by ChinaWhys for GSK China. GSK China, which has been

strategically left unnamed, is a necessary and indispensable party to this proceeding.

       Federal Rule of Civil Procedure 12(b)(7) permits dismissal of an action for failure to join

a party under Rule 19. Federal Rule of Civil Procedure 19 in turn determines whether a non-

joined party is necessary, indispensable, and must be joined. The Court must, therefore, as a


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preliminary matter determine whether joinder is compulsory under Rule 19(a). Dickson v.

Murphy, 202 Fed. Appx. 578, 580 (3d Cir. Pa. 2006). If joinder is required but would divest the

court of jurisdiction, the Court must then determine whether the non-joined party is

indispensable under Rule 19(b). Id.

       If the non-joined party is indispensable, the action must be dismissed.

               1.      GSK China Is A Necessary Party Under Rule 19(a), And Joinder Is Not
                       Feasible

       Under Rule 19(a), a non-joined party will be deemed necessary and joinder compulsory

under two disjunctive circumstances. First, if “in that party’s absence, the Court cannot afford

complete relief among existing parties” (Fed. R. Civ. P. 19(a)(1)(A)), or second, if disposition of

the action would impair the non-joined party’s ability to protect its interest or “leave an existing

party subject to a substantial risk of incurring double, multiple or otherwise inconsistent

obligations because of the interest.” Fed. R. Civ. P. 19(a)(1)(B).

       Here, all conduct upon which Plaintiffs predicate their causes of action was allegedly

performed by GSK China, not the GSK Defendants. Plaintiffs cannot and do not cite to a single

direct contact or encounter with the GSK Defendants. Instead, the Complaint is rife with

allegations rooted in the Consultancy Agreement. (See Compl. at ¶ 50 (alleging that initial

meeting with Plaintiffs took place at GSK China office with GSK China officials); ¶ 65 (alleging

that follow-up meeting and collection of investigative material was again attended at and

collected from GSK China); ¶ 70 (alleging that Plaintiffs’ Investigation Report was provided to

GSK China officials); ¶¶ 71, 72, 113, 116 (alleging bribery and misconduct by GSK China);

¶¶ 79, 82, 83 (alleging that GSK China counsel requested further investigative work from

Plaintiffs); ¶ 84 (alleging that GSK China head of business development also requested

investigative work from Plaintiffs).)


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       As such, neither Plaintiffs nor the GSK Defendants can be afforded complete relief

absent GSK China’s joinder, as any prospective liability would lie with GSK China, not the GSK

Defendants. See Carl Schroeter GmbH v. Crawford & Co., 2009 U.S. Dist. LEXIS 43488 (E.D.

Pa. May 19, 2009) (“Plaintiffs’ desire to hold [parent] Crawford liable for the acts and omissions

of [subsidiary] Crawford Venezuela renders Crawford Venezuela a necessary party to this

action”). As a Chinese company which is not alleged to have engaged in any activities in

Pennsylvania, (see Ex. 9), GSK China is not subject to the personal jurisdiction of the court, and

so, joinder is not feasible. Because joinder is not feasible, the Court must proceed to determine

whether GSK China is an indispensable party under Rule 19(b), in which case dismissal is the

appropriate remedy. Carl Schroeter GmbH v. Crawford & Co., 2009 U.S. Dist. LEXIS 43488 at

*8 (E.D. Pa. May 19, 2009) (dismissal is appropriate where “joinder is not feasible because, for

instance, the court lacks personal jurisdiction over the absent party.”).

               2.      GSK China Is An Indispensable Party Under Rule 19(b), Requiring
                       Dismissal Of This Action

       The analysis under Rule 19(b) turns upon whether a Court, “in equity and good

conscience,” should allow the litigation to proceed without the non-joined parties. Fed. R. Civ.

P. 19(b). Factors to be weighed in making this determination include: “[F]irst, to what extent a

judgment rendered in the person’s absence might be prejudicial to the person or those already

parties; second, the extent to which, by protective provisions in the judgment, by the shaping of

relief, or other measures, the prejudice can be lessened or avoided; third, whether a judgment

rendered in the person's absence will be adequate; fourth, whether the plaintiff will have an

adequate remedy if the action is dismissed for nonjoinder.” Fed. R. Civ. P. 19(b)(1)-(4).

       Applying these tests to the present case compels the conclusion that GSK China is

indispensable. A judgment rendered in GSK China’s absence would prejudice not only Plaintiffs


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and the GSK Defendants, as discussed supra, but GSK China itself, as such a judgment would

be, in effect, entirely “hollow” as to it. Jurimex Kommerz Transit G.m.b.H. v. Case Corp., 201

F.R.D. 337, 340-341 (D. Del. 2001), aff’d 2003 U.S. App. LEXIS 7690 (3d Cir. Apr. 23, 2003)

(“A judgment in defendant's favor would not be ‘adequate’ because Plaintiffs could subsequently

sue the [absent] Subsidiaries in a different forum based on essentially the same facts, while a

judgment in Plaintiffs' favor may be ‘hollow’ because the proper defendant was never joined”).

       In Jurimex, the plaintiff, an Austrian corporation, sought to avail itself of U.S. courts by

asserting contract and tort claims against a U.S. parent for conduct allegedly committed by the

parent’s foreign subsidiaries. Finding that “most of [p]laintiffs’ interactions and negotiations

regarding the Transaction were with the Subsidiaries and not with [d]efendant,” the court

deemed the absent subsidiaries indispensable. Id. at 340.

       This Court reached the same conclusion in Carl Schroeter GmbH v. Crawford & Co.

when presented with similarly misplaced claims strategically asserted, like those brought by

Plaintiffs here, against a domestic parent in lieu of its foreign subsidiary. No. 09-946, 2009 U.S.

Dist. LEXIS 43488, 11-12 (E.D. Pa. May 19, 2009) (noting that “when a defendant is sued solely

in connection with its subsidiary's conduct, the subsidiary is a necessary and indispensable party”

and accordingly dismissing complaint where “foreign plaintiffs [sued] American corporate

defendant, seeking to hold that defendant liable for its [absent] foreign subsidiary’s conduct.”).

       Significantly, Plaintiffs have an adequate remedy and forum should the Court dismiss this

litigation for non-joinder and, more specifically, one to which they have agreed. The

Consultancy Agreement provides for the arbitration of “all disputes arising out of or in

connection” with the Agreement. (See Ex. 1, Consultancy Agreement § 11.) Arbitration would




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allow all relevant parties to rightfully adjudicate their respective claims, and dismissal is thus

warranted here.

       Thus, this Court should dismiss this action for non-joinder of GSK China, a necessary

and indispensable party.

       F.      Causes Of Action III (Fraud), IV (Intentional Infliction Of Emotional
               Distress) And V (Negligent Inflict of Emotional Distress) Are Barred By
               Pennsylvania’s Statute Of Limitations.

       In the Commonwealth of Pennsylvania, “[t]he limitations period for any claim begins to

run ‘from the time the cause of action accrue[s].’” Beasley v. Young, Ricchiti, Caldwell & Heller,

LLC, No. 2873 EDA 2012, 2013 WL 11250696, at *5 (Pa. Sup. Ct. Nov. 4, 2013) (citing 42 Pa.

C.S.A. §§ 5502(a)). Specifically, “a cause of action accrues when the plaintiff could have first

maintained the action to a successful conclusion. . . . [T]he statute of limitations begins to run as

soon as the right to institute and maintain a suit arises. . . . Once a cause of action has accrued

and the prescribed statutory period has run, an injured party is barred from bringing his cause of

action.” Fine v. Checcio, 870 A.2d 850, 857 (Pa. 2005).

       Pursuant to 42 Pa. C.S.A. §§ 5524(7), claims concerning fraud, intentional infliction of

emotional distress and negligent infliction of emotional distress are governed by a two-year

statute of limitations. The Complaint alleges that the GSK Defendants made false representations

and intentionally misled Plaintiffs between April and July 2013 (See Compl. ¶¶ 49, 56, 64-65,

67, 70, 79-81, 84, 86, 91, 150-170.) Therefore, because the Complaint was served on the GSK

Defendants in November 2016, which was more than three years from the latest date at which

the alleged causes of action began to accrue, counts III, IV and V are time-barred. As the

statutory framework in Pennsylvania clearly addresses, Plaintiffs are not entitled to toll their

claims merely because of Humphrey’s and Yu’s incarceration. See 42 Pa. C.S.A. § 5533(a)

(providing that “imprisonment does not extend the time limited by this subchapter for the

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commencement of a matter.”); see also Johnson v. Romig, No. 11-02052, 2013 WL 6916428, at

*2 (Pa. Dec. 19, 2013). Accordingly, Counts III, IV and V in the Complaint should be dismissed

with prejudice.

           G.       Plaintiffs Lack Standing To Assert Their Purported RICO Claims

           Section 1964(c) identifies four factors that must be satisfied to establish standing for a

civil RICO claim: (1) the plaintiff must be a “person” (2) who sustains injury (3) to its “business

or property” (4) “by reason of” the defendant’s violation of § 1962. Thus, a RICO “plaintiff only

has standing if, and can only recover to the extent that, he has been injured in his business or

property by the conduct constituting the violation.” Sedima, S.P.R.L. v. Imrex Co., 473 U.S. 479,

496 (1985). Critically, RICO does not encompass foreign injuries to business or property. In a

very recent opinion, RJR Nabisco v. European Community, et al, 136 S. Ct. 2090 (2016), the

Court held that “a private RICO plaintiff… must allege and prove a domestic injury to its

business or property.” Id. at 2106 (emphasis in original). Thus, RICO “does not allow recovery

for foreign injuries.” Id. at 2111. As these are the only injuries alleged by Plaintiffs, their RICO

claims must be dismissed.

           The only injuries to business or property claimed by Plaintiffs in connection with their

RICO claims are that “Plaintiffs’ business was destroyed and their prospective business ventures

eviscerated” (Compl. ¶132) and that they have allegedly been “put out of business.”

(Compl. ¶145.)11 Plaintiffs allege that their business, ChinaWhys, had numerous clients in the

U.S., but they fail to mention that it only had offices in China. (See Exs. 10-13.)12 Although


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    Plaintiffs’ allegations of personal injuries suffered while imprisoned are not cognizable under RICO. See, e.g.,
Magnum v. Archdiocese of Philadelphia, 253 F. App'x 224, 227 (3d Cir. 2007) (“[P]hysical or emotional harm to a
person is not property under civil RICO. Similarly, losses which flow from personal injuries are not property under
RICO.”); Genty v. Resolution Trust Corp., 937 F.2d 899, 918–19 (3d Cir. 1991) (“RICO plaintiffs may recover
damages for harm to business and property only, not physical and emotional injuries[.]”).
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     See discussion supra at Section III(C).

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Plaintiffs attempt to manufacture a U.S. connection by alleging that Humphrey had

communications with employees of GSK China while he was travelling in the U.S., they make

no claim that Humphrey’s travel had anything to do with the GSK engagement—because it did

not—and the communications themselves exclusively concerned ChinaWhys’ activities in China.

(Compl. ¶ 83 (alleged call between Humphrey and GSK China (R&D) counsel concerning

Chinese Public Security Bureau research); Compl. ¶ 84 (alleged request from GSK China head

of business development concerning research into various Chinese government entities)). In

short, Plaintiffs make no allegation that ChinaWhys performed any work outside of China

relating to its engagement by GSK China, and none of the communications through which

Plaintiffs maintain they were deceived were made by employees of GSK LLC, the only U.S.

entity involved on either side of this litigation.

        Given these facts, any injury suffered by ChinaWhys is indisputably foreign. Although

the Court in RJR Nabisco did not address the definition of a “foreign injury,” it explained the

question before it as “whether the court has authority to recognize a cause of action for injury

suffered overseas” (id. at 2109) (emphasis added), and concluded that “damages claims [which]

rest entirely on injury suffered abroad … must be dismissed.” (id. at 2111) (emphasis added).

Here, ChinaWhys is a Chinese company that is alleged to have been damaged when its

principals, who lived and worked in China, were imprisoned in China after they performed work

in China at the request of GSK China, another China company. Plaintiffs claim that ChinaWhys

had U.S. clients is irrelevant—those clients had no involvement whatsoever in the events alleged

in the Complaint, nor are their locations relevant to determining where ChinaWhys was

injured—only ChinaWhys’ location is relevant to answering this question.




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       The handful of cases to consider the definition of a “foreign injury” since RJR Nabisco

support this conclusion. In Bascunan v. Els, 2016 WL 5475998 (S.D.N.Y. Sept 28, 2016), the

Court concluded that losses suffered by a Chilean plaintiff were foreign losses, despite the fact

that a number of the underlying allegations, such as physical misappropriation of bearer shares

from a bank safety deposit box, had occurred in New York. The Bascunan court also concluded

that injuries suffered by a corporate plaintiff are not “domestic” when the plaintiff is

incorporated in a foreign country and does not have a U.S. principal place of business. Id. at *6

(“[If] the Corporate Plaintiffs suffered economic injury, they too, suffered their injuries abroad

because each was incorporated in the British Virgin Islands or Chile, and the Amended

Complaint has not alleged that their principal place of business is in the U.S.”)) Notably, either

approach to determining the location of injury that was considered by the Bascunan court—(i)

location of the injury or (ii) location of the conduct leading to the injury—would lead in the

present case to the conclusion that any injury suffered by ChinaWhys is foreign, for ChinaWhys

was located in China and only alleges injury arising from conduct occurring in China.

       In Union Commercial Services Ltd v. FCA International, 2016 WL 6650399 (E.D. Mich.

Nov. 10, 2016), the court applied a “substantial effects” test, derived from antitrust law, to

determine whether an injury was domestic under RJR Nabisco. Although the plaintiff alleged

that it had a business office and bank accounts in Florida, and that funds relating to the alleged

RICO violations had been transferred through them, the court concluded that “defendants’

alleged conduct was directed at, and any effects were felt by, plaintiff’s business or

property interests outside of the U.S.” Id. at *5. Thus, despite plaintiffs’ allegations of U.S.

connections—allegations with an actual connection to the underlying claims, unlike the

ChinaWhys allegations here—the court dismissed the complaint for failure to allege a domestic



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injury, based upon the foreign nexus of the underlying injury. Similarly, in Exeed Industries v.

Younis, 2016 WL 6599949 (N.D. Ill. Nov. 8, 2016), the court dismissed RICO claims alleging

that U.S. suppliers of a United Arab Emirates company were duped into paying fraudulent

invoices whose proceeds were used by the defendants to finance U.S. land purchases. The court

concluded that “the few cases to address the issue of domestic injury post-RJR Nabisco have

interpreted it to mean that an injury arises where it was initially suffered by the plaintiff,” (id. at

*3) and that “the fact that a large number of Plaintiff’s suppliers have offices in the U.S. does not

speak to where the injury was felt by the Plaintiffs themselves—that question can only be

answered by looking to the Plaintiffs’ business operations in the UAE.” Id.

       Here, ChinaWhys is a Chinese company, and its only allegations of conduct allegedly

directed against it involve actions by GSK China in China. Any injuries that ChinaWhys has

suffered are foreign, and Plaintiffs’ RICO claims must therefore be dismissed.

                                      V.      CONCLUSION

       For the reasons set forth above, the GSK Defendants respectfully request that the Court

compel arbitration pursuant to the Consultancy Agreement, and stay all proceedings pending

conclusion of such arbitration. In the alternative, for the reasons set forth herein, the GSK

Defendants request that the Court dismiss the entirety of Plaintiffs complaint.




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                                           Respectfully submitted,
Dated: January 16, 2017
                                            /s/ Jayne A. Risk
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                                           GlaxoSmithKline plc.




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                    IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF PENNSYLVANIA

PETER HUMPHREY, YU YINGZENG, and                  Civil Action No.: 2:16-CV-5924
CHINAWHYS COMPANY LTD,

                  Plaintiffs,

       v.

GLAXOSMITHKLINE PLC and
GLAXOSMITHKLINE LLC,

                  Defendants.



                                          ORDER

       AND NOW, this ____ day of ______________________, 2017, upon consideration of

Defendants GlaxoSmithKline PLC and GlaxoSmithKline LLC’s Motion to Compel Arbitration

or, in the Alternative, Motion to Dismiss the Complaint, it is hereby ORDERED that the motion

is GRANTED. The above-referenced matter is referred to arbitration before the China

International Economic and Trade Arbitration Commission. All further proceedings in this

matter are STAYED pending disposition of arbitration.



                                           ________________________________________
                                           HON. NITZA I. QUIÑONES-ALEJANDRO
                                           United States District Judge




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                               CERTIFICATE OF SERVICE

       I certify that on January 16, 2017 , I caused a copy of the foregoing Motion to Compel

Arbitration or, in the Alterative, Motion to Dismiss the Complaint, along with the accompanying

Memorandum of Law and exhibits thereto, to be served on the following individuals via the

means specified below:

       Via the Court’s CM/ECF System:

       Joan D. Gallagher
       GALLAGHER & TURCHI
       1600 Market Street, Suite 1320
       Philadelphia, PA 19103
       joanie@gallagher-law.com

       John T. Zach
       Philip Bowman
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       New York, NY 10022



                                                   By:    /s/ Jayne A. Risk
                                                         Jayne A. Risk




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 To: ChinaWhys (Shanghai) Consulting Co Ltd (in Chinese             (      )       )

 Address: 35-107 CITIC Square, 1168 Nanjing West Road, Shanghai 200041, China

 Date: April 25, 2013


 Dear Mr. Peter Humphrey,


 CONSULTANCY AGREEMENT (this “Agreement”)

 We set out below the terms on which you have agreed to provide certain consultancy
 services to us with respect to the proposed investigation and inquiry activities to be
 detailed in the proposal for Project Scorpion (“the Project”).

 1.     SERVICES

 1.1    We hereby engage you to provide the following services (“the Consultancy
        Services”) to us and you agree to provide the Consultancy Services to us using
        due care and skill. The scope of Consultancy Services is detailed in the Project
        Proposal as attached in Appendix A hereto.

 1.2    You will provide the Consultancy Services to us at such times and at such
        locations as we shall agree from time to time. You shall ensure that when
        carrying out the Services at a GSK site, you conform with all GSK’s policies and
        procedures with regard to working conditions, safety, security and similar
        matters and agree at all times during the performance of the Services to comply
        with such reasonable requirements as may be notified to you from time to time.

 1.3    You will only contact third parties in pursuance of the Consultancy Services after
        our express written consent that you may do so to enable us to put in place a
        Confidentiality Agreement with that third party if we require it. Where approval
        has been given to contact any third party, you will agree in advance with us
        what information you may disclose about the Project and our business to that
        third party. We may specify that you are not permitted to disclose that you are
        working for GlaxoSmithKline when you make any authorised contact with third
        parties and you agree to respect any such requirement absolutely.

 1.4    You will at our request produce and submit to us a final presentation and written
        report of all recommendations and findings arising out of the Consultancy
        Services immediately prior to the termination of this Agreement.


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 1.5   You represent that you are under no obligation which is inconsistent with this
       Agreement and that you will not enter into any agreement with a third party, the
       terms of which may be inconsistent with this Agreement.

 1.6   You shall carry out the Consulting Services always in a lawful and ethical
       manner. The term ‘ethical’ used in this policy means: in compliance with all laws,
       regulations, legal and professional guidelines, and in a manner not likely to
       result in harm to GSK’s reputation or image.


 2.    COMMENCEMENT DATE

       This Agreement will commence on the signature by the authorized
       representative of each party and will continue, subject to the provisions of
       Clause 8, until the Consulting Services is completed.


 3.    FEES AND EXPENSES

 3.1   For Services actually rendered hereunder, we agree to pay you a fixed sum of
       [RMB 220,000] (exclusive any applicable business Tax or VAT) (“Service
       Fees”). Fifty per cent (50%) of the Service Fees will be payable within thirty (30)
       days of the date of your invoice, which you will submit to us during the last week
       of each calendar month. The payment term for subsequent invoice is 60 days.
       You will provide a detailed summary of the Consultancy Services provided and
       of the hours worked for the work period invoiced.

 3.2   We will pay your reasonable round-trip travelling and living expenses from your
       home to the consulting site while travelling at our request subject to the
       provision of proper receipts. Claims for travelling and living expenses shall be
       submitted by you at the end of each trip taken during which this Agreement
       remains in effect, and we will pay such expenses after receipt and approval
       thereof. Where any travel will require you to travel to another country than your
       normal country of residence, express written consent from us will be required
       before incurring such expenditure. These out-of-pockets shall not exceed the
       equivalent of 15% of Service Fees.

 3.3   The payments referred to in Clauses 3.1 and 3.2 are full and complete
       compensation for all obligations assumed under this Agreement and for all
       inventions, improvements, patent rights or other Intellectual Property Rights (as
       defined in Clause 5 below) assigned under this Agreement.


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 3.4    You will be responsible for all costs in respect of the fees paid under this
        Agreement including, without limitation, the payment for and provision of all
        benefits and national insurance contributions and the payment of all
        employment and income related taxes. You agree to indemnify us in respect of
        any claims by the relevant authorities against us in respect of employment or
        income tax or national insurance or any other costs relating to the provision of
        the Services hereunder.

 4.     CONFIDENTIALITY


 4.1.   You agree to treat as secret and confidential and will not at any time nor for any
        reason disclose or permit to be disclosed to any person (except in accordance
        with Clause 1.3 above) or otherwise make use of or permit to be made use of,
        any information relating to the Products(s) / Project(s) whether disclosed by us
        or generated by you or to any technology, technical processes, business affairs,
        patents or finances or any such information relating to us or to any Affiliate,
        supplier, customer or client of ours (“Information”) where knowledge or details of
        the Information was received, acquired or developed by you during the period of
        this Agreement.

 4.2    Upon termination of your appointment under this Agreement for whatever
        reason, you shall forthwith deliver up to us all Information which may be in your
        possession, custody or control and which are our or our Affiliates’ property or
        which otherwise relate in any way to the business or affairs of us or our Affiliates
        and no copies of the same or any part thereof will be retained by you. Such
        return will not affect your obligations under Clause 4.1.

 4.3    The above obligations of confidentiality and non-use shall not apply to
        information and data which you can show were already known to you,
        information and data which are or become part of the public domain through no
        fault of your own and information and data which are given to you by a third
        party who has a right to do so.

 4.4    The provisions of this Clause 4 will survive termination of this Agreement.

 4.5    Further, the Confidentiality Agreement already signed between us shall be
        deemed to form part of this Agreement.




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 5.    INTELLECTUAL PROPERTY RIGHTS

 5.1   You shall disclose promptly to us any inventions, improvements, derivative
       works or alternatives made or conceived by you, either alone or jointly with
       others, in the course of or as a result of the work done hereunder, or as a
       consequence of confidential information supplied for the purposes hereof,
       directly or indirectly, by us or our affiliates or agents (which, for the avoidance of
       doubt, shall include their directors, officers or employees). You hereby assign to
       us or to any Affiliates of ours, to the extent permitted by law, all Intellectual
       Property Rights in any work generated by you on or after the commencement of
       this Agreement and pursuant to this Agreement and you agree to provide all
       necessary assistance as we may consider necessary in order to assign such
       Intellectual Property Rights to us or any Affiliate of ours, including, but not
       limited to, the execution of such documents as may be required to file
       applications for and obtain Intellectual Property Rights in any country in our or
       our Affiliates’ name.

 5.2   The term “Intellectual Property Rights” means all patents, trademarks, service
       marks, designs (whether or not registered) and applications therefor, present
       and future copyright, database rights, trade secrets, domain names, rights in
       know-how and other rights of confidence and all other rights of a similar nature
       or having equivalent or similar effect to any of these which may subsist
       anywhere in the world.

 5.3   You hereby grant (and shall procure the grant of) to us or to any of our Affiliates
       at our option a non-exclusive, royalty-free, world-wide, perpetual, irrevocable,
       assignable licence (with the right to licence freely) of all Intellectual Property
       Rights created prior to the commencement of this Agreement which are
       necessary for the receipt and use of each deliverable arising out of the
       Consultancy Services.

 6.    NOTICES

 6.1   Any notices, payments or statements to be made under this Agreement shall be
       made to you at the address to which this Agreement is directed and to Mr. Peter
       Humphrey at the ChinaWhys address stated above, or at such other address
       later designated in writing by the other party for such purposes.




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 6.2   Any notice required by this Agreement to be given by either of us to the other
       will be in writing and will be served by sending it by registered mail, recorded
       delivery courier or delivered by hand and any receipt issued by the postal
       authorities or by the courier or on hand delivery will be inclusive evidence of the
       fact and the date of posting of any such notice.

 7.    INDEPENDENT CONTRACTOR RELATIONSHIP


       You agree that you will be serving under this Agreement as an independent
       contractor and that the relationship of employer and employee shall not exist
       between you and ourselves at any time as a result of the arrangements
       contemplated by this Agreement.

 8.    TERMINATION AND SURVIVAL TERMS


 8.1   We may by giving notice in writing to you terminate this Agreement in the event
       that you:

       8.1.1 act in breach of any of the terms of this Agreement which in the case of
              a breach capable of remedy, has not been remedied by you within ten
              (10) days of receipt by you of a notice from us specifying the breach and
              requiring its remedy;

       8.1.2 are judged in our sole discretion, to be incompetent or negligent in the
              provision of the Consultancy Services.


 8.2   The Agreement may be cancelled at any time by us for any reason
       whatsoever, by giving You notice in writing.

 8.3   Upon termination, You will be compensated for the Consulting Services
       actually performed and reimbursed for expenses actually and reasonably
       or non-cancellable in accordance with the terms hereof.

 8.4   Clauses 4, 5, 6, 9, 10, 11 and 12 of this Agreement shall survive the expiration
       or termination of this Agreement.

 9.    DATA PROTECTION

       You consent to us holding and processing, both manually and electronically, any
       data it collects regarding you for the purpose of administering and managing its
       business and for compliance with applicable procedures, laws and regulations.


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 10.   SYSTEMS

       You shall ensure that any deliverables provided to us under this Agreement
       shall:

       10.1      be provided in a mutually agreed electronic format;

       10.2      be free from defects, disabling codes, computer viruses, worms, logic
                 bombs, Trojan horses and other information technology contaminants
                 or unauthorised computer code and have been tested to be so; and

       10.3      comply and function substantially in accordance with their related
                 user documentation.

 11.   GOVERNING LAW AND DISPUTE RESOLUTION


       This Agreement shall be governed in all respects by the laws of the People’s
       Republic of China. All disputes arising out of or in connection with this
       Agreement shall be settled through friendly consultation between both parties.
       In case no settlement can be reached, either Party may submit the dispute to
       the China International Economic and Trade Arbitration Commission (“CIETAC”)
       in Beijing for arbitration in accordance with the CIETAC rules of arbitration then
       in effect. The arbitration award shall be final and binding on the Parties.

 12.   SEVERANCE

       Each clause of this Agreement is a distinct and severable clause and if any
       clause is deemed illegal, void or unenforceable, the validity, legality, or
       enforceability of any other clause or portion of this Agreement shall not be
       affected thereby.

 13.   CONFLICT OF INTEREST


       While providing Services under this Agreement you agree that you shall not be
       engaged in or concerned with either directly or indirectly any other business or
       profession which either competes with ours or might otherwise cause a conflict
       of interest without our prior written consent. If in any doubt as to whether a
       conflict of interest might exist you should immediately discuss the matter with
       [Mr. Mark Reilly] before accepting such position.



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 14.    WAIVER

        The failure of a party in any instance to insist on the strict performance of the
        terms of this Agreement shall not be construed to be a waiver or relinquishment
        of any of the terms of this Agreement either at the time of the party’s failure to
        insist upon strict performance or at any subsequent time.

 15.    ENTIRE AGREEMENT


 15.1   This Agreement constitutes the whole and only agreement between the parties
        relating to the Services and any previous agreement will be deemed to have
        terminated. Each party acknowledges that in entering into this Agreement it is
        not relying upon any pre-contractual statement which is not attached to this
        Agreement. Except in the case of fraud, no party shall have any right of action
        against any other party to this Agreement arising out of or in connection with
        any pre-contractual statement except to the extent that it is repeated in this
        Agreement.

 15.2   For the purposes of this clause, “pre-contractual statement” means any draft,
        agreement, undertaking, representation, warranty, promise, assurance or
        arrangement of any nature whatsoever, whether or not in writing, relating to the
        subject matter of this Agreement made or given by any person at any time prior
        to the date of this Agreement.

 16.    FORCE MAJEURE


 16.1   Neither party shall be liable for any delay or failure in performing any of its
        obligations under this Agreement if the delay or failure results from events or
        circumstances beyond its reasonable control (including without limitation any
        acts or restraints of governments or public authorities, war, revolution, riot or
        civil commotion, acts of God or fire but excluding strikes and lockouts) (“Force
        Majeure”) provided that the party so affected shall send to the other party a
        written notice within three (3) days of becoming aware of such Force Majeure
        giving full particulars thereof including the date of first occurrence, the
        circumstances giving rise to it and an indication of the duration of such
        circumstances.




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 16.2   If the period of delay or failure extends for sixty (60) days or more from the date
        of notification of the Force Majeure event to the other party, either party shall
        have the right to terminate the Agreement forthwith by written notice.

 17.    LIABILITY


 17.1   You shall not be liable for any loss, damage or delay suffered by us insofar as
        such loss, damage or delay is directly attributable to instruction given or actions
        undertaken by us or on our behalf.

 17.2   You shall indemnify us, our Affiliates and any servant or agent of ours against:

        17.2.1    any loss or damage caused to any property of ours, our Affiliates or
                  our servants or agents or any physical injury (including injury resulting
                  in death) sustained by any servant or agent of ours by reason of any
                  negligent or wilful act or omission of you at any time during the
                  performance of the Consultancy Services; or

        17.2.2    any claim demand or liability made against or incurred by us, our
                  Affiliates or our servants or agents in respect of:

                  (i)   any loss of or damage to any property of yours or injury
                        (including injury resulting in death) sustained by you in the
                        provision of the Consultancy Services unless such loss, damage
                        or injury is caused by the negligent act or omission of us, our
                        Affiliates or any of our servants or agents;


                  (ii) any loss, damage or injury (including injury resulting in death)
                        sustained by any third party in the provision of the Consultancy
                        Services in consequence of any negligence or wilful act or
                        omission of you; or

                  (iii) the receipt or use of any Intellectual Property Rights assigned or
                        licensed to us or any of our Affiliates under Clause 5 which
                        infringes the Intellectual Property Rights of a third party.

 If the foregoing terms and conditions are acceptable to you, we would be grateful if you
 could sign and return the enclosed duplicate copy of this Agreement.




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 18.    ANTI-BRIBERY AND CORRUPTION


 18.1 You acknowledge that you have received and read the ‘Prevention of Corruption
       – Third Party Guidelines’ (either in hard copy in Appendix or
       at              http://www.gsk.com/policies/Prevention-of-Corruption-Third-Party-
       Guidelines.pdf) and agree to perform your obligations under the Agreement in
       accordance with the principles set out therein.


 18.2 You shall comply fully at all time with all applicable laws and regulations,
       including but not limited to applicable anti-corruption laws, of the territory in which
       you conduct business with GSK.


 18.3 You agree that you have not, and covenant that you will not, in connection with
       the performance of this Agreement, directly or indirectly, make, promise,
       authorise, ratify or offer to make, or take any act in furtherance of any payment or
       transfer of anything of value for the purpose of influencing, inducing or rewarding
       any act, omission or decision to secure an improper advantage; or improperly
       assisting you or GSK in obtaining or retaining business, or in any way with the
       purpose or effect of public or commercial bribery.


 18.4 You shall not contact, or otherwise meet knowingly meet with any Government
       Official for the purpose of discussing activities arising out of or in connection with
       this Agreement, without the prior written approval of GSK and, when requested
       by GSK, only in the presence of a GSK designated representative.


 18.5 For the purpose of this Agreement “Government Official" means: (a) any officer or
       employee of a government or any department, agency or instrument of a
       government; (b) any person acting in an official capacity for or on behalf of a
       government or any department, agency, or instrument of a government; (c) any
       officer or employee of a company or business owned in whole or part by a
       government; (d) any officer or employee of a public international organisation
       such as the World Bank or United Nations; (e) any officer or employee of a
       political party or any person acting in an official capacity on behalf of a political
       party; and/or (f) any candidate for political office; who, when such Government
       Official is acting in an official capacity, or in an official decision making role, has
       responsibility for performing regulatory inspections, government authorisations or
       licenses, or otherwise has the capacity to take decisions with the potential to
       affect GSK business.


 18.6 You represent that except as disclosed to GSK in writing prior to the
       commencement of this Agreement, you have not been convicted of or pleaded
       guilty to a criminal offence, including one involving fraud or corruption, that you
       are not now, to the best of your knowledge, the subject of any government
       investigation for such offenses, and that you are not now listed by any
       government agency as debarred, suspended, proposed for suspension or
       debarment, or otherwise ineligible for government programs.




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 18.7 You represent and warrant that except as disclosed to GSK in writing prior to the
        commencement of this Agreement: (1) you do not have any interest which directly
        or indirectly conflicts with your proper and ethical performance of this Agreement;
        and (2) you shall maintain arm’s length relations with all third parties with which
        you deal for or on behalf of GSK in performance of this Agreement.


 18.8 GSK shall have the right during the terms of this Agreement to conduct an
        investigation and audit of your activities under this Agreement to monitor
        compliance with the terms of this Agreement. You shall cooperate fully with such
        investigation or audit, the scope, method, nature and duration of which shall be at
        the sole reasonable discretion of GSK.


 18.9 You shall ensure that all transactions under the Agreement are properly and
        accurately recorded in all material respects on your books and records and each
        document upon which entries such books and records are based is complete and
        accurate in all material respects. You must maintain a system of internal
        accounting controls reasonably designed to ensure that you maintain no off-the-
        books accounts.


 18.10 You agree that in the event that GSK believes that there has been a possible
         violation of the terms of this Agreement, GSK may make full disclosure of such
         belief and related information at any time and for any reason to any competent
         government bodies and its agencies, and to whomsoever GSK determines in
         good faith has a legitimate need to know.


 18.11 GSK shall be entitled to terminate this Agreement with immediately on written
         notice to you, if you fail to perform your obligations in accordance with this
         Clause 18. You shall have no claim against GSK for compensation for any loss
         of whatever nature by virtue of the termination of this Agreement in accordance
         with this Clause 18. To the extent (and only to the extent) that the laws of the
         territory provide for any such compensation to be paid to you upon the
         termination of this Agreement, you hereby expressly agree (to the extent
         possible under the laws of the territory) to waive or to repay to GSK any such
         compensation or indemnity.


 19.     Adverse Event Reporting


 19.1    GSK is required by law to report adverse events associated with GSK products
         to the relevant authorities. If in the course of providing the Services you
         receives a report of an adverse event related to a GSK product, you will attempt
         to obtain the reporter’s name and contact details and the name and formulation
         of the product involved. You will either report the information to a member of
         GSK staff or to GSK using the contact details set out below within 24 hours. You
         will inform the reporter that a representative from GSK may contact them to
         request additional information. If the reporter is a patient or consumer, you will
         suggest that they should consult their doctor.



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         For reports of adverse events associated with medicinal products:

         Tel: 400-183-3383 or 800-820-3383

 19.2   If GSK identifies any reports of adverse events associated with GSK products in
        materials provided by you for the Consultancy Services, GSK will report such
        adverse events to the relevant authorities in accordance with its standard
        procedures. In this case, you agree to co-operate with, and provide further
        information to, GSK safety staff, within 24 hours, as requested.



 Yours faithfully

 For and on behalf of

 [GLAXOSMITHKLINE (CHINA) INVESTMENT CO., LIMITED]




 I agree to the above terms

 For ChinaWhys (Shanghai) Consulting Co Ltd


           (   )



 Signed:                                            Date: 26 April 2013

 Name: Mr. Peter Humphrey




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                    Prevention of Corruption – Third Party Guidelines




 The GSK Anti-Bribery and Corruption Policy (POL-GSK-007) requires compliance with the
 highest ethical standards and all anti-corruption laws applicable in the countries in which
 GSK (whether through a third party or otherwise) conducts business. POL-GSK-007
 requires all GSK employees and any third party acting for or on behalf of GSK to ensure
 that all dealings with third parties, both in the private and government sectors, are carried
 out in compliance with all relevant laws and regulations and with the standards of integrity
 required for all GSK business. GSK values integrity and transparency and has zero
 tolerance for corrupt activities of any kind, whether committed by GSK employees,
 officers, or third-parties acting for or on behalf of the GSK.

 Corrupt Payments – GSK employees and any third party acting for or on behalf of GSK,
 shall not, directly or indirectly, promise, authorise, ratify or offer to make or make any
 “payments” of “anything of value” (as defined in the glossary section) to any individual (or
 at the request of any individual) including a “government official” (as defined in the
 glossary section) for the improper purpose of influencing or inducing or as a reward for
 any act, omission or decision to secure an improper advantage or to improperly assist the
 company in obtaining or retaining business.

 Government Officials – Although GSK´s policy prohibits payments by GSK or third parties
 acting for or on its behalf to any individual, private or public, as a “quid pro quo” for
 business, due to the existence of specific anticorruption laws in the countries where we
 operate, this policy is particularly applicable to “payments” of “anything of value” (as
 defined in the glossary section), or at the request of, “government officials” (as defined in
 the glossary section).

 Facilitating Payments – For the avoidance of doubt, facilitating payments (otherwise
 known as “greasing payments” and defined as payments to an individual to secure or
 expedite the performance of a routine government action by government officials) are no
 exception to the general rule and therefore prohibited.

                                          GLOSSARY

 The terms defined herein should be construed broadly to give effect to the letter and spirit
 of the ABAC Policy. GSK is committed to the highest ethical standards of business



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 dealings and any acts that create the appearance of promising, offering, giving or
 authorising payments prohibited by this policy will not be tolerated.

 Anything of Value: this term includes cash or cash equivalents, gifts, services,
 employment offers, loans, travel expenses, entertainment, political contributions,
 charitable donations, subsidies, per diem payments, sponsorships, honoraria or provision
 of any other asset, even if nominal in value.

 Payments: this term refers to and includes any direct or indirect offers to pay, promises to
 pay, authorisations of or payments of anything of value.

 Government Official shall mean:


    Any officer or employee of a government or any department, agency or instrument of
    a government;


    Any person acting in an official capacity for or on behalf of a government or any
    department, agency, or instrument of a government;


    Any officer or employee of a company or business owned in whole or part by a
    government;


    Any officer or employee of a public international organisation such as the World Bank
    or United Nations;


    Any officer or employee of a political party or any person acting in an official capacity
    on behalf of a political party; and/or


    Any candidate for political office




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     The Fraud Examiner
     HOW FRAUD INVESTIGATION JUST GOT HARDER IN CHINA

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     Exploring the impact of China’s clampdown on public records



     May 2013

     By Peter Humphrey, CFE



     Over the past 15 years, I have witnessed the gradual emergence of an investigation industry in China. It began from crude anti-counterfeit outfits and family
     investigation agencies and gradually extended to the more sophisticated areas of due diligence, fraud investigation and forensics, as well as compliance and FCPA
     investigations. In the same period, we saw increasing availability of what in most countries we call “public records," including company registration files, annual
     returns and some limited, but useful, personal data.



     The availability of such records combined with a CFE's skill set of forensic accountants enabled anti-fraud professionals to do their job in a country where foreign
     investors feel at risk due to a high white-collar crime rate, a lack of transparency and strong cultural barriers in business operations.



     The promising environment that evolved for the fight against fraud and bribery in company operations in China has suffered a major setback due to a sudden
     government action to suppress certain data contained in such records. Why has this U-turn happened, and what is its impact on anti-fraud work?



     In January 2013, forensic and investigation firms -- and local law firms -- found that they or their search agents could no longer freely access records filed with the
     Administration of Industry and Commerce (AIC) bureaus around the country. The AIC registers, incorporates, inspects and regulates all companies in China, and
     collects their annual returns. These records, until recently accessible in full, contain useful data and documents relating to the birth, evolution and status of a
     company, names and personal details of shareholders, annual financial data and annual audit reports.



     It is by examining these records in conjunction with a forensic accounting review that a CFE here can close the circle on a fraud -- for example, by proving that Mr.
     X, an employee of Company Z, has set up his own firm (and, by the way, with no physical existence) and inserted this phantom into the sales chain as part of a
     large-scale distribution fraud against his employer.



     Or, it can enable a would-be investor considering buying shares in a Chinese company listed on Nasdaq to determine that the company has inflated its sales data
     and that its principals have actually been involved in a string of stock-listing frauds.



     During 2011 and 2012, short-seller Muddy Waters not only shorted Chinese stocks (such as Sino Forest) that it had identified (possibly correctly) as fraudulent, it
     also published its findings on each firm in a manner viewed by authorities in Beijing as rabidly anti-Chinese, thus putting the Chinese Foreign Ministry on the back
     foot and unnecessarily provoking a government reaction. Soon after that, Bloomberg ran exposés on the business web and assets of a (now disgraced) Chinese
     Politburo member Mr. Bo Xi Lai and his wife, and then gave the family of China’s new President-to-be Mr. Xi Jinping similar treatment. In a third such article, the
     New York Times threw oil on the fire in October with a detailed piece on the wealth of Premier Wen Jiabao’s family.


                                                                                                                                                                      Exhibit


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     For a moment it appeared that these publishing adventures –- using some of the investigative techniques of the forensic investigators, such as analysing AIC
     records –- were making China’s ruling elite wobble. In retaliatory crackdowns, one in May 2012 and one in January 2013, more than 1,000 local investigators and
     their alleged sources each time were detained, according to Chinese media. Then in February this year, the government issued strict new rules to restrict access to
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     what it called “personal
                        MENUinformation."



     Critics describe this clampdown as an attempt to protect corrupt government officials from exposure. But as an anti-fraud worker in China serving purely corporate
     clients on corporate matters or in litigation support I find this a very dark day for due diligence and forensics work. I find this a step backwards that will make due
     diligence and catching fraudsters harder. We will have to be even more creative from now on.



     As the recent disaster of a $580 million fraud at a Chinese company acquired by Caterpillar shows, due diligence in China is a vital part of M&A for any sensible
     acquirer. If Caterpillar had done the kind of due diligence combining accounting with background investigation, retrieval of AIC records and discreet supporting
     inquiries, it might have spotted the fraud before doing the deal last year. But today, even if it wanted to take that approach, it would find it much harder to do as a
     result of the clampdown on public records.



     Harbin Electric, a Chinese firm publicly-listed in the U.S. via reverse merger, i.e. a “backdoor listing," claimed in SEC filings that one of its largest clients in 2009 was
     a car seat maker to whom it sold motors, earning 10 percent of its revenue for the year, and that the A/R due from this client was $10 million by that year’s end. A
     discreet interview with a sales engineer working for the customer, however, revealed that the customer had bought just $58,300 of goods between 2006 and
     2007 and bought nothing else from Harbin Electric after that. This publicized case was an example of a widespread method of deception whereby Chinese firms
     exploited regulatory gaps and differences between Chinese company names and their English translations to file records and numbers in the U.S. that hugely differ
     from those they filed in China. For the U.S. audience such firms were faking revenue data in order to ramp up their share price in the U.S. market. Middlemen who
     took these companies abroad fabricated financial statements and got accounting firms to window-dress them, and supplied fake bank statements, fund transfer
     notes, bank drafts, delivery notes, etc. The brokers eager for these deals to be completed deliberately limited the due diligence scope as they would benefit from
     these listings going through regardless of any future losses to investors. In another example of this, we saw a rigged financial due diligence report done by
     “qualified accountants” engaged by a PE broker on a Chinese juice maker that was being groomed for listing in the U.S. It showed revenue packaged to come
     (ostensibly) from seven large customers, each contributing an uncannily similar 13 to 15 percent of the total, and A/R from three of them in identical figures. They
     had concocted the totals that they wanted to report, and simply divided it by seven.



     At the same time that this skullduggery was going on in these cases, a financial institution which was trying to decide whether to invest in these firms engaged us
     to perform independent behind-the-scenes due diligence which included retrieval of records and returns filed by these companies locally in China, a review by
     forensic investigators, and a comparison with SEC filings. This way, they spotted the rat and avoided making potentially loss-making share investments. Following
     this year’s clampdown on the release of financial data from AIC files, this is no longer possible.



     With financial returns and personal identification data less available to help connect the dots, fraud investigation and due diligence in China must rely more on
     human source inquiries, both with related parties and with insiders (such as managers, sales agents, production staff, suppliers and so on) to ascertain that real
     business exists; and a forensic internal review, if circumstances allow it, in order to identify not only signs of irregularities but to drill down into their origins. The
     costs of this work will be well justified if they can prevent or detect large losses.



     Peter Humphrey is the founder and Managing Director of ChinaWhys, a forensics firm specialising in China matters. He is Founding President of the China chapters
     of the Association of Certified Fraud Examiners (ACFE). He is fluent in Chinese and has dealt with China and other Communist countries for 38 years. He can be
     contacted at peter.humphrey@chinawhys.com




     Contact the ACFE
     For more information, contact Sarah Hofmann, Public Information Officer, at (512) 478-9000 ext. 324 or SHofmann@ACFE.com.




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      FOR IMMEDIATE RELEASE                                                                                                        Monday, July 2, 2012


                 GlaxoSmi thKline to Plead Guilty and Pay $3 Billion to Resolve Fraud
                            Allegations and Failure to Report Safety Data

                                            La r gest Health Car e Fr aud Settlement in U.S. Histor y

      Global health care giant GlaxoSmithKline LLC (GSK) agreed to plead guilty and to pay $3 billion to resolve its criminal
      and civil liability arising from the company’s unlawful promotion of certain prescription drugs, its failure to report certain
      safety data, and its civil liability for alleged false price reporting practices, the Justice Department announced today.
      The resolution is the largest health care fraud settlement in U.S. history and the largest payment ever by a drug
      company.



      GSK agreed to plead guilty to a three-count criminal information, including two counts of introducing misbranded drugs,
      Paxil and Wellbutrin, into interstate commerce and one count of failing to report safety data about the drug Avandia to
      the Food and Drug Administration (FDA). Under the terms of the plea agreement, GSK will pay a total of $1 billion,
      including a criminal fine of $956,814,400 and forfeiture in the amount of $43,185,600. The criminal plea agreement also
      includes certain non-monetary compliance commitments and certifications by GSK’s U.S. president and board of
      directors. GSK’s guilty plea and sentence is not final until accepted by the U.S. District Court.



      GSK will also pay $2 billion to resolve its civil liabilities with the federal government under the False Claims Act, as
      well as the states. The civil settlement resolves claims relating to Paxil, Wellbutrin and Avandia, as well as additional
      drugs, and also resolves pricing fraud allegations.



      “Today’s multi-billion dollar settlement is unprecedented in both size and scope. It underscores the Administration’s
      firm commitment to protecting the American people and holding accountable those who commit health care fraud,”
      said James M. Cole, Deputy Attorney General. “At every level, we are determined to stop practices that jeopardize
      patients’ health, harm taxpayers, and violate the public trust – and this historic action is a clear warning to any
      company that chooses to break the law.”



      “Today’s historic settlement is a major milestone in our efforts to stamp out health care fraud,” said Bill Corr, Deputy
      Secretary of the Department of Health and Human Services (HHS). “For a long time, our health care system had been
      a target for cheaters who thought they could make an easy profit at the expense of public safety, taxpayers, and the
      millions of Americans who depend on programs like Medicare and Medicaid. But thanks to strong enforcement actions
      like those we have announced today, that equation is rapidly changing.”

                                                                                                                                                       Exhibit


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      This resolution marks the culmination of an extensive investigation by special agents from HHS-OIG, FDA and FBI,
      along with law enforcement partners across the federal government. Moving forward, GSK will be subject to stringent
      requirements under its corporate integrity agreement with HHS-OIG; this agreement is designed to increase
      accountability and transparency and prevent future fraud and abuse. Effective law enforcement partnerships and fraud
      prevention are hallmarks of the Health Care Fraud Prevention and Enforcement Action Team (HEAT) initiative, which
      fosters government collaboration to fight fraud.



      Criminal Plea Agreement



      Under the provisions of the Food, Drug and Cosmetic Act, a company in its application to the FDA must specify each
      intended use of a drug. After the FDA approves the product as safe and effective for a specified use, a company’s
      promotional activities must be limited to the intended uses that FDA approved. In fact, promotion by the manufacturer
      for other uses – known as “off-label uses” – renders the product “misbranded.”



      Paxil: In the criminal information, the government alleges that, from April 1998 to August 2003, GSK unlawfully
      promoted Paxil for treating depression in patients under age 18, even though the FDA has never approved it for
      pediatric use. The United States alleges that, among other things, GSK participated in preparing, publishing and
      distributing a misleading medical journal article that misreported that a clinical trial of Paxil demonstrated efficacy in
      the treatment of depression in patients under age 18, when the study failed to demonstrate efficacy. At the same time,
      the United States alleges, GSK did not make available data from two other studies in which Paxil also failed to
      demonstrate efficacy in treating depression in patients under 18. The United States further alleges that GSK
      sponsored dinner programs, lunch programs, spa programs and similar activities to promote the use of Paxil in
      children and adolescents. GSK paid a speaker to talk to an audience of doctors and paid for the meal or spa treatment
      for the doctors who attended. Since 2004, Paxil, like other antidepressants, included on its label a “black box warning”
      stating that antidepressants may increase the risk of suicidal thinking and behavior in short-term studies in patients
      under age 18. GSK agreed to plead guilty to misbranding Paxil in that its labeling was false and misleading regarding
      the use of Paxil for patients under 18.



      Wellbutrin: The United States also alleges that, from January 1999 to December 2003, GSK promoted Wellbutrin,
      approved at that time only for Major Depressive Disorder, for weight loss, the treatment of sexual dysfunction,
      substance addictions and Attention Deficit Hyperactivity Disorder, among other off-label uses. The United States
      contends that GSK paid millions of dollars to doctors to speak at and attend meetings, sometimes at lavish resorts, at
      which the off-label uses of Wellbutrin were routinely promoted and also used sales representatives, sham advisory
      boards, and supposedly independent Continuing Medical Education (CME) programs to promote Wllbutrin for these
      unapproved uses. GSK has agreed to plead guilty to misbranding Wellbutrin in that its labeling did not bear adequate
      directions for these off-label uses. For the Paxil and Wellbutrin misbranding offenses, GSK has agreed to pay a
      criminal fine and forfeiture of $757,387,200.



      Avandia: The United States alleges that, between 2001 and 2007, GSK failed to include certain safety data about
      Avandia, a diabetes drug, in reports to the FDA that are meant to allow the FDA to determine if a drug continues to be
      safe for its approved indications and to spot drug safety trends. The missing information included data regarding
      certain post-marketing studies, as well as data regarding two studies undertaken in response to European regulators’
      concerns about the cardiovascular safety of Avandia. Since 2007, the FDA has added two black box warnings to the
      Avandia label to alert physicians about the potential increased risk of (1) congestive heart failure, and (2) myocardial
      infarction (heart attack). GSK has agreed to plead guilty to failing to report data to the FDA and has agreed to pay a
      criminal fine in the amount of $242,612,800 for its unlawful conduct concerning Avandia.
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      “This case demonstrates our continuing commitment to ensuring that the messages provided by drug manufacturers to
      physicians and patients are true and accurate and that decisions as to what drugs are prescribed to sick patients are
      based on best medical judgments, not false and misleading claims or improper financial inducements,” said Carmen
      Ortiz, U.S. Attorney for the District of Massachusetts.



      “Patients rely on their physicians to prescribe the drugs they need,” said John Walsh, U.S. Attorney for Colorado. “The
      pharmaceutical industries’ drive for profits can distort the information provided to physicians concerning drugs. This
      case will help to ensure that your physician will make prescribing decisions based on good science and not on
      misinformation, money or favors provided by the pharmaceutical industry.”



      Civil Settlement Agreement



      As part of this global resolution, GSK has agreed to resolve its civil liability for the following alleged conduct: (1)
      promoting the drugs Paxil, Wellbutrin, Advair, Lamictal and Zofran for off-label, non-covered uses and paying
      kickbacks to physicians to prescribe those drugs as well as the drugs Imitrex, Lotronex, Flovent and Valtrex; (2)
      making false and misleading statements concerning the safety of Avandia; and (3) reporting false best prices and
      underpaying rebates owed under the Medicaid Drug Rebate Program.



      Off-Label Promotion and Kickbacks: The civil settlement resolves claims set forth in a complaint filed by the United
      States alleging that, in addition to promoting the drugs Paxil and Wellbutrin for unapproved, non-covered uses, GSK
      also promoted its asthma drug, Advair, for first-line therapy for mild asthma patients even though it was not
      approvedor medically appropriate under these circumstances. GSK also promoted Advair for chronic obstructive
      pulmonary disease with misleading claims as to the relevant treatment guidelines. The civil settlement also resolves
      allegations that GSK promoted Lamictal, an anti-epileptic medication, for off-label, non-covered psychiatric uses,
      neuropathic pain and pain management. It further resolves allegations that GSK promoted certain forms of Zofran,
      approved only for post-operative nausea, for the treatment of morning sickness in pregnant women. It also includes
      allegations that GSK paid kickbacks to health care professionals to induce them to promote and prescribe these drugs
      as well as the drugs Imitrex, Lotronex, Flovent and Valtrex. The United States alleges that this conduct caused false
      claims to be submitted to federal health care programs.



      GSK has agreed to pay $1.043 billion relating to false claims arising from this alleged conduct. The federal share of
      this settlement is $832 million and the state share is $210 million.



      This off-label civil settlement resolves four lawsuits pending in federal court in the District of Massachusetts under the
      qui tam, or whistleblower, provisions of the False Claims Act, which allow private citizens to bring civil actions on
      behalf of the United States and share in any recovery.



      Avandia: In its civil settlement agreement, the United States alleges that GSK promoted Avandia to physicians and
      other health care providers with false and misleading representations about Avandia’s safety profile, causing false
      claims to be submitted to federal health care programs. Specifically, the United States alleges that GSK stated that
      Avandia had a positive cholesterol profile despite having no well-controlled studies to support that message. The
      United States also alleges that the company sponsored programs suggesting cardiovascular benefits from Avandia
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      therapy despite warnings on the FDA-approved label regarding cardiovascular risks. GSK has agreed to pay $657
      million relating to false claims arising from misrepresentations about Avandia. The federal share of this settlement is
      $508 million and the state share is $149 million.



      Price Reporting: GSK is also resolving allegations that, between 1994 and 2003, GSK and its corporate predecessors
      reported false drug prices, which resulted in GSK’s underpaying rebates owed under theMedicaid Drug Rebate
      Program. By law, GSK was required to report the lowest, or “best” price that it charged its customers and to pay
      quarterly rebates to the states based on those reported prices. When drugs are sold to purchasers in contingent
      arrangements known as “bundles,” the discounts offered for the bundled drugs must be reallocated across all products
      in the bundle proportionate to the dollar value of the units sold. The United States alleges that GSK had bundled sales
      arrangements that included steep discounts known as “nominal” pricing and yet failed to take such contingent
      arrangements into account when calculating and reporting its best prices to the Department of Health and Human
      Services. Had it done so, the effective prices on certain drugs would have been different, and, in some instances,
      triggered a new, lower best price than what GSK reported. As a result, GSK underpaid rebates due to Medicaid and
      overcharged certain Public Health Service entities for its drugs, the United States contends. GSK has agreed to pay
      $300 million to resolve these allegations, including $160,972,069 to the federal government, $118,792,931 to
      thestates, and $20,235,000 to certain Public Health Service entities who paid inflated prices for the drugs at issue.



      Except to the extent that GSK has agreed to plead guilty to the three-count criminal information, the claims settled by
      these agreements are allegations only, and there has been no determination of liability.



      “This landmark settlement demonstrates the Department’s commitment to protecting the American public against
      illegal conduct and fraud by pharmaceutical companies,” said Stuart F. Delery, Acting Assistant Attorney General for
      the Justice Department’s Civil Division. “Doctors need truthful, fair, balanced information when deciding whether the
      benefits of a drug outweigh its safety risks. By the same token, the FDA needs all necessary safety-related
      information to identify safety trends and to determine whether a drug is safe and effective. Unlawful promotion of
      drugs for unapproved uses and failing to report adverse drug experiences to the FDA can tip the balance of those
      important decisions, and the Justice Department will not tolerate attempts by those who seek to corrupt our health
      care system in this way.”



      Non-monetary Provisions and Corporate Integrity Agreement



      In addition to the criminal and civil resolutions, GSK has executed a five-year Corporate Integrity Agreement (CIA) with
      the Department of Health and Human Services, Office of Inspector General (HHS-OIG). The plea agreement and CIA
      include novel provisions that require that GSK implement and/or maintain major changes to the way it does business,
      including changing the way its sales force is compensated to remove compensation based on sales goals for
      territories, one of the driving forces behind much of the conduct at issue in this matter. Under the CIA, GSK is required
      to change its executive compensation program to permit the company to recoup annual bonuses and long-term
      incentives from covered executives if they, or their subordinates, engage in significant misconduct. GSK may recoup
      monies from executives who are current employees and those who have left the company. Among other things, the
      CIA also requires GSK to implement and maintain transparency in its research practices and publication policies and
      to follow specified policies in its contracts with various health care payors.



      “Our five-year integrity agreement with GlaxoSmithKline requires individual accountability of its board and
      executives,” said Daniel R. Levinson, Inspector General of the U.S. Department of Health and Human Services. “For
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      example, company executives may have to forfeit annual bonuses if they or their subordinates engage in significant
      misconduct, and sales agents are now being paid based on quality of service rather than sales targets.”



      “The FDA Office of Criminal Investigations will aggressively pursue pharmaceutical companies that choose to put
      profits before the public’s health,” said Deborah M. Autor, Esq., Deputy Commissioner for Global Regulatory
      Operations and Policy, U.S. Food and Drug Administration. “We will continue to work with the Justice Department and
      our law enforcement counterparts to target companies that disregard the protections of the drug approval process by
      promoting drugs for uses when they have not been proven to be safe and effective for those uses, and that fail to
      report required drug safety information to the FDA.”



      “The record settlement obtained by the multi-agency investigative team shows not only the importance of working with
      our partners, but also the importance of the public providing their knowledge of suspect schemes to the government,”
      said Kevin Perkins, Acting Executive Assistant Director of the FBI’s Criminal, Cyber, Response and Services Branch.
      “Together, we will continue to bring to justice those engaged in illegal schemes that threaten the safety of prescription
      drugs and other critical elements of our nation’s healthcare system.”



      “ Federal employees deserve health care providers and suppliers, including drug manufacturers, that meet the highest
      standards of ethical and professional behavior,” said Patrick E. McFarland, Inspector General of the U.S. Office of
      Personnel Management. “Today’s settlement reminds the pharmaceutical industry that they must observe those
      standards and reflects the commitment of Federal law enforcement organizations to pursue improper and illegal
      conduct that places health care consumers at risk.”



      “Today’s announcement illustrates the efforts of VA OIG and its law enforcement partners in ensuring the integrity of
      the medical care provided our nation’s veterans by the Department of Veterans Affairs,” said George J. Opfer,
      Inspector General of the Department of Veterans Affairs. “The monetary recoveries realized by VA in this settlement
      will directly benefit VA healthcare programs that provide for veterans’ continued care.”



      “This settlement sends a clear message that taking advantage of federal health care programs has substantial
      consequences for those who try,” said Rafael A. Medina, Special Agent in Charge of the Northeast Area Office of
      Inspector General for the U.S. Postal Service. “The U.S. Postal Service pays more than one billion dollars a year in
      workers' compensation benefits and our office is committed to pursuing those individuals or entities whose fraudulent
      acts continue to unfairly add to that cost.”



      A Multilateral Effort



      The criminal case is being prosecuted by the U.S. Attorney’s Office for the District of Massachusetts and the Civil
      Division’s Consumer Protection Branch. The civil settlement was reached by the U.S. Attorney’s Office for the District
      of Massachusetts, the U.S. Attorney’s Office for the District of Colorado and the Civil Division’s Commercial Litigation
      Branch. Assistance was provided by the HHS Office of Counsel to the Inspector General, Office of the General
      Counsel-CMS Division and FDA’s Office of Chief Counsel as well as the National Association of Medicaid Fraud
      Control Units.



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      This matter was investigated by agents from the HHS-OIG; the FDA’s Office of Criminal Investigations; the Defense
      Criminal Investigative Service of the Department of Defense; the Office of the Inspector General for the Office of
      Personnel Management; the Department of Veterans Affairs; the Department of Labor; TRICARE Program Integrity;
      the Office of Inspector General for the U.S. Postal Service and the FBI.



      This resolution is part of the government’s emphasis on combating health care fraud and another step for the Health
      Care Fraud Prevention and Enforcement Action Team (HEAT) initiative, which was announced in May 2009 by
      Attorney General Eric Holder and Kathleen Sebelius, Secretary of HHS. The partnership between the two departments
      has focused efforts to reduce and prevent Medicare and Medicaid financial fraud through enhanced cooperation. Over
      the last three years, the department has recovered a total of more than $10.2 billion in settlements, judgments, fines,
      restitution, and forfeiture in health care fraud matters pursued under the False Claims Act and the Food, Drug and
      Cosmetic Act.



      Court documents related to today’s settlement can be viewed online at www.justice.gov/opa/gsk-docs.html .

      Related Materials:

      Remarks by the Deputy Attorney General James M. Cole at the GSK Press Conference
      Remarks by Acting Assistant Attorney General for the Civil Division Stuart F. Delery at the GSK Press Conference


      12-842

      Civil Division

      Topic:
      Consumer Protection

                                                                                                                                   Updated May 22, 2015




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                         CORPORATE INTEGRITY AGREEMENT
                                     BETWEEN THE
                             OFFICE OF INSPECTOR GENERAL
                                         OF THE
                       DEPARTMENT OF HEALTH AND HUMAN SERVICES
                                          AND
                               GLAXOSMITHKLINE LLC


I.      PREAMBLE

       GlaxoSmithKline LLC (GSK) hereby enters into this Corporate Integrity
Agreement (CIA) with the Office of Inspector General (OIG) of the United States
Department of Health and Human Services (HHS) to promote compliance with the
statutes, regulations, and written directives of Medicare, Medicaid, and all other Federal
health care programs (as defined in 42 U.S.C. § 1320a-7b(f)) (Federal health care
program requirements) and with the statutes, regulations, and written directives of the
Food and Drug Administration (FDA requirements).

       Contemporaneously with this CIA, GSK is entering into Settlement Agreements
with the United States. GSK will also enter into settlement agreements with various
States (State Settlement Agreements) and GSK’s agreement to this CIA is a condition
precedent to those agreements. Effective October 26, 2010, GSK entered into a
Settlement Agreement with the United States to resolve allegations regarding certain
drugs manufactured at SB Pharmco’s Cidra, Puerto Rico facility.

       Prior to the Effective Date of this CIA (as defined below), GSK and GSK
Affiliates (as defined below in Section II.C.10) established a worldwide voluntary
compliance program designed to address the companies’ operations globally. In the
United States, the compliance program is designed to address, among other things,
compliance with Federal health care program and FDA requirements (Compliance
Program).

       GSK shall continue its Compliance Program throughout the term of this CIA and
shall do so in accordance with the terms set forth below. GSK may modify its
Compliance Program as appropriate, but, at a minimum, GSK shall ensure that during the
term of this CIA, it shall comply with the obligations set forth herein.


GlaxoSmithKline LLC
Corporate Integrity Agreement


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II.     TERM AND SCOPE OF THE CIA

       A. Unless otherwise specified, the period of the compliance obligations assumed
by GSK and its Affiliates under this CIA shall be five reporting periods, as defined
below. The “Effective Date” shall be the date on which the final signatory of this CIA
executes this CIA. The first Reporting Period shall be from the Effective Date through
December 31, 2013. The second and subsequent Reporting Periods shall be from January
1 through December 31 of each of the subsequent four calendar years.

       B. Sections VII, X, and XI shall expire no later than 120 days after OIG=s receipt
of: (1) GSK’s final Annual Report; or (2) any additional materials submitted by GSK
pursuant to OIG=s request, whichever is later.

        C. The scope of this CIA shall be governed by the following definitions:

                1. “Covered Persons” includes:

                         a. all owners of GlaxoSmithKline PLC who are natural persons
                         (other than shareholders who: (1) have an ownership interest of less
                         than 5% and (2) acquired the ownership interest through public
                         trading or in connection with the operation of employee long term
                         incentive plans) and all directors of GlaxoSmithKline PLC;

                         b. all employees of GSK or any GSK Affiliate who are engaged in
                         or supervise personnel who are engaged in any of the Covered
                         Functions (as defined below in Section II.C.7); and

                         c. contractors, subcontractors, agents and other persons (including,
                         but not limited to, third party vendors who provide services relating
                         to the Covered Functions) who perform any of the Covered
                         Functions on behalf of GSK or any GSK Affiliate and who in that
                         capacity either: (i) interact directly with health care professionals
                         (HCPs), healthcare institutions (HCIs), or consumers; or (ii) perform
                         activities, provide services, or create materials relating to the
                         Covered Functions and those activities, services, or materials are not
                         reviewed or supervised by a Covered Person prior to execution or
                         dissemination.


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Corporate Integrity Agreement


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                 Notwithstanding the above, the term Covered Persons does not include part-
                 time or per diem employees, contractors, subcontractors, agents, and other
                 persons who are not reasonably expected to work more than 160 hours per
                 year, except that any such individuals shall become “Covered Persons” at
                 the point when they work more than 160 hours during the calendar year.

                 2. “Relevant Covered Persons” includes all Covered Persons who engage
                    in Covered Functions or who supervise Covered Persons who engage in
                    Covered Functions.

                 3. “Government Reimbursed Products” refers to all GSK prescription1
                    pharmaceutical products that are marketed or sold by GSK (including by
                    its Pharma, Stiefel, Vaccines, and Oncology division) in the United
                    States (or pursuant to contracts with the United States) that are
                    reimbursed by Federal health care programs.

                 4. The term “Promotional Functions” includes: (a) the selling, detailing,
                    marketing, advertising, promoting, or branding of Government
                    Reimbursed Products; and (b) the preparation or external dissemination
                    of promotional materials or information about, or the provision of
                    promotional services relating to, Government Reimbursed Products,
                    including those functions relating to any applicable review committees,
                    including GSK’s Copy Approval Team (CAT).

                 5. The term “Product Related Functions” includes: (a) the preparation or
                    external dissemination of non-promotional materials that are governed
                    by Federal healthcare program and/or FDA requirements and distributed
                    to HCPs and HCIs about Government Reimbursed Products, including
                    those functions relating to GSK’s CAT or other applicable review
                    committee(s) and activities by GSK’s North America Medical Affairs
                    department (Medical Affairs); (b) contracting with HCPs and HCIs in
                    the United States to conduct post-marketing clinical trials, investigator
                    sponsored studies (ISSs), and other post-marketing studies relating to
                    Government Reimbursed Products; (c) authorship, publication, and


1 GSK represents that its Consumer Healthcare business unit shall not market, detail, or otherwise promote
prescription pharmaceutical products for the duration of the CIA. Should the Consumer Healthcare business unit
begin to do so, it shall become subject to the terms of the CIA.

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                     disclosure of articles or study results relating to post-marketing clinical
                     trials and other post-marketing studies for Government Reimbursed
                     Products (including studies of investigational and other uses and
                     indications outside the currently approved uses and conditions of use);
                     and (d) activities related to the submission of information about
                     Government Reimbursed Products to compendia (such as DrugDex or
                     other compendia of information about Government Reimbursed
                     Products as defined below in Section III.B.3.t.)

                6. The term “Payer Related Functions” refers to activities of GSK’s Policy,
                   Payers and Vaccines (PPV) Unit and includes Promotional Functions
                   and Product Related Functions as they relate to interactions between
                   GSK and entities that provide a drug health benefit program for
                   Government Reimbursed Products, including but not limited to
                   government payers (e.g., Medicaid and Medicare) or individuals or
                   entities under contract with or acting on behalf of government payers
                   and commercial health plans (collectively referred to as “Payers”).
                   Payer Related Functions also includes interactions with Payers related to
                   formulary placement, supplemental rebate agreements, and other types
                   of rebate agreements.

                7. The term “Covered Functions” refers to “Promotional Functions,”
                   “Product Related Functions,” and “Payer Related Functions”
                   collectively.

                8. The term “Third Party Educational Activity” shall mean any scientific,
                   educational, or professional program, meeting, or event for HCPs
                   conducted by a third party and supported by GSK, including but not
                   limited to, continuing medical education (CME), disease awareness, or
                   sponsorship of symposia at medical conferences.

                9. The term “Third Party Personnel” shall mean employees of entities with
                   whom GSK currently has, or in the future does, enter into agreements to
                   promote or co-promote a Government Reimbursed Product or to engage
                   in joint promotional activities relating to such a product. GSK
                   represents that: (1) the Third Party Personnel are employed by
                   independent entities other than GSK; (2) GSK does not control Third
                   Party Personnel; and (3) it would be commercially impracticable to

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                     compel the compliance of Third Party Personnel with the requirements
                     set forth in this CIA. GSK agrees to promote compliance by Third Party
                     Personnel with Federal health care program requirements and FDA
                     requirements by complying with the provisions set forth below in
                     Sections III.B.2, V.A.8, and V.B.4 related to Third Party Personnel.
                     Provided that GSK complies with the requirements of Sections III.B.2,
                     V.A.8, and V.B.4, GSK shall not be required to fulfill the remaining
                     CIA obligations that would otherwise apply to Third Party Personnel
                     who meet the definition of Covered Persons.

                10. The term “GSK Affiliate” shall mean GlaxoSmithKline PLC and any
                    other entity (other than GlaxoSmithKline LLC) that is majority owned
                    or controlled, directly or indirectly, by GlaxoSmithKline PLC and
                    whose employees or contractors perform Covered Functions.

       D. Appendix D to the CIA sets forth the obligations to which GSK and its
Affiliates agree relating to manufacturing operations in connection with the settlement
regarding the Cidra facility reference above in the Preamble. To the extent that certain
general provisions and obligations are not specifically addressed in Appendix D, the
terms of this CIA shall apply to CGMP Activities, Manufacturing Covered Persons, and
to GSK and its Affiliates as specified herein.

III.    CORPORATE INTEGRITY OBLIGATIONS

       GSK shall establish and maintain a Compliance Program that includes the
following elements:

       A. Compliance Responsibilities of Certain GSK Employees and the Board of
Directors.

               1. Compliance Officer. Prior to the Effective Date, GSK appointed an
individual to serve as Vice President and Compliance Officer for its North America
Pharma division (Compliance Officer). GSK shall maintain a Compliance Officer for the
term of the CIA. During the term of this CIA, the Compliance Officer shall be authorized
to oversee compliance with Federal health care program and FDA requirements and with
the requirements of this CIA. The Compliance Officer is, and shall continue to be,
responsible for developing and implementing policies, procedures, and practices designed
to ensure compliance with the requirements set forth in this CIA and with Federal health

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care program and FDA requirements. The Compliance Officer shall be a member of
senior management of GSK, and shall report directly to the Senior Vice President for
Governance, Ethics, and Assurance of GlaxoSmithKline PLC who, in turn, reports to the
Chief Executive Officer of GlaxoSmithKline PLC. The Compliance Officer shall make
periodic (at least quarterly) reports regarding compliance matters directly to the Board of
GlaxoSmithKline PLC or any authorized committee thereof (hereinafter, “the Board”),
and shall be authorized to report on such matters to the Board at any time. The
Compliance Officer shall not be or be subordinate to the General Counsel or Chief
Financial Officer. The Compliance Officer shall be responsible for monitoring the day-
to-day compliance activities engaged in by GSK as well as for any reporting obligations
created under this CIA. Any noncompliance job responsibilities of the Compliance
Officer shall be limited and must not interfere with the Compliance Officer’s ability to
perform the duties outlined in this CIA.

       GSK shall report to OIG, in writing, any change in the identity of the Compliance
Officer, or any actions or changes that would affect the Compliance Officer’s ability to
perform the duties necessary to meet the obligations in this CIA, within five days after
such a change.

                2. Compliance Committee. Prior to the Effective Date, GSK formed
compliance committee known as the NA Pharma Risk Management & Compliance Board
(hereafter “Compliance Committee”) which, in conjunction with the Compliance Officer,
assists in the implementation and enhancement of the Compliance Program. GSK shall
continue the Compliance Committee during the term of this CIA. The Compliance
Committee shall, at a minimum, include the Compliance Officer and other members of
senior management necessary to meet the requirements of this CIA (e.g., senior
executives of relevant departments, such as such as legal, Medical Affairs, regulatory
affairs, sales, marketing, human resources, research and development, global
manufacturing quality control, and operations.) In addition, GSK’s Audit function
provides regular reports to the Compliance Committee. The Compliance Officer and the
President of GSK shall co-chair the Compliance Committee. The Compliance Committee
shall support the Compliance Officer in fulfilling his/her responsibilities (e.g., shall assist
in the analysis of the GSK’s risk areas and shall oversee monitoring of internal and
external compliance-related audits and investigations). The Compliance Committee shall
meet at least quarterly.

     GSK shall report to OIG, in writing, any changes in the composition of the
Compliance Committee, or any actions or changes that would affect the Compliance

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Committee’s ability to perform the duties necessary to meet the obligations in this CIA,
within 15 days after such a change.

              3. Board of Directors Compliance Obligations. The Board shall be
responsible for the review and oversight of matters related to compliance with Federal
health care program requirements, FDA requirements, and the obligations of this CIA.
The Board shall, at a minimum, be responsible for the following:

                      a.     The Board shall meet at least quarterly to review and oversee
GSK’s Compliance Program, including but not limited to the performance of the
Compliance Officer and other compliance personnel. The Board shall evaluate the
effectiveness of the Compliance Program, including, at a minimum, by receiving updates
about the activities of the Compliance Officer and other compliance personnel and
updates about adoption and implementation of policies, procedures, and practices
designed to ensure compliance with the requirements set forth in this CIA and with
applicable Federal health care program and FDA requirements.

                     b.     For each Reporting Period of the CIA, the Board shall adopt a
resolution, signed by each individual member of the Board, summarizing its review and
oversight of GSK’s compliance with Federal health care program requirements, FDA
requirements, and the obligations of this CIA.

        At minimum, the resolution shall include the following language:

       “The Board of Directors has made a reasonable inquiry into the operations of
GSK’s Compliance Program as applicable to the CIA (including its Appendices) for the
time period [insert time period], including the performance of the Compliance Officer
and the compliance personnel who are Covered Persons under this CIA. The Board has
concluded that, to the best of its knowledge, GSK has implemented an effective
Compliance Program to meet Federal health care program requirements, FDA
requirements, and the obligations of the CIA.”

        If the Board is unable to provide such a conclusion in the resolution, the Board
shall include in the resolution a written explanation of the reasons why it is unable to
provide the conclusion and the steps it is taking to implement an effective Compliance
Program at GSK.



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       GSK shall report to OIG, in writing, any changes in the composition of the Board,
or any actions or changes that would affect the Board's ability to perform the duties
necessary to meet the obligations in this CIA, within 15 days after such a change.

               4. Deputy Compliance Officers. Prior to the Effective Date, GSK
appointed Deputy Compliance Officers (DCOs) for each U.S. Pharma commercial
business unit and for NA Pharma Medical Affairs, and GSK shall maintain the DCOs for
the term of the CIA. Each DCO shall be a member of senior management of his/her
respective business unit(s) and shall report directly to the Compliance Officer. The DCOs
shall be responsible for working together with the Compliance Officer to oversee the
development and implementation of policies, procedures, and practices designed to
ensure business unit compliance with the requirements set forth in this CIA and with
Federal health care program and FDA requirements. Any noncompliance job
responsibilities of the DCOs shall be limited and shall not interfere with each DCO’s
ability to perform the duties outline in this CIA.

               5. Integrity Champions. Prior to the Effective Date, GSK implemented a
program through which indentified individuals serve as Integrity Champions within each
U.S. Pharma commercial business unit. Each individual selected to be an Integrity
Champion shall be at least a manager within his/her respective business unit, and the
responsibilities undertaken as an Integrity Champion shall be in addition to the
individuals’ existing management responsibilities. Integrity Champions shall be
responsible for facilitating local implementation of, and adherence to, GSK policies and
procedures, Federal health care program and FDA requirements, and the requirements of
this CIA. Integrity Champions shall meet with their respective DCO on a regular basis.
The performance of Integrity Champions, as such, will be a factor in their annual
performance reviews.

                       6. Management Accountability and Certifications: In addition to the
responsibilities set forth in this CIA for all Covered Persons, certain GSK officers or
employees (Certifying Employees) are specifically expected to monitor and oversee
activities within their areas of authority and shall annually certify that the applicable
business unit is compliant with applicable Federal health care program and FDA
requirements and with the obligations of this CIA. These Certifying Employees shall
include, at a minimum, the following: President, GSK; the heads of the U.S. Pharma
commercial business units; Chairman, Research and Development; Vice President,
Strategic, Planning and Operations; Senior Vice President, NA Medical Affairs;
President, Pharmaceuticals Research and Development; President, Vaccines; and Vice

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President, Stiefel North America Dermatology, and, to the extent that a business unit
performs Covered Functions and is not covered by the certification of one of the above-
listed individuals, such other executives, vice-presidents, and directors of business units
as would be necessary to ensure that there is a Certifying Employee from each such
business unit.

          For each Reporting Period, each Certifying Employee shall sign a certification that
states:

       “I have been trained on and understand the compliance requirements and
responsibilities as they relate to [department or functional area], an area under my
supervision. My job responsibilities include ensuring compliance with regard to the
_____ [insert name of the department or functional area] with all applicable Federal
health care program requirements, FDA requirements, obligations of the Corporate
Integrity Agreement, and GSK policies, and I have taken steps to promote such
compliance. To the best of my knowledge, except as otherwise described herein, the
______ [insert name of department or functional area] of GSK is in compliance with all
applicable Federal health care program requirements, FDA requirements, and the
obligations of the CIA. I understand that this certification is being provided to and relied
upon by the United States.”

                If any Certifying Employee is unable to provide such a conclusion in the
certification, the Certifying Employee shall provide a written explanation of the reasons
why he or she is unable to provide the certification outlined above and the steps being
taken to address the issue(s) identified in the certification.

          B. Written Standards.

               1. Code of Conduct. Prior to the Effective Date, GSK developed and
implemented a written Code of Conduct. Within 120 days after the Effective Date, GSK
shall distribute the written Code of Conduct to all Covered Persons. GSK shall make
adherence to the Code of Conduct an element in evaluating the performance of all
employees who are Covered Persons. The Code of Conduct includes, or within 120 days
after the Effective Date shall be revised to address the following:

                         a. GSK’s commitment to full compliance with all Federal health
                         care program requirements and FDA requirements, including its


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                         commitment to comply with all requirements relating to the Covered
                         Functions;

                         b. GSK’s requirement that all of its Covered Persons shall be
                         expected to comply with all applicable Federal health care program
                         requirements, FDA Requirements, and with GSK’s own Policies and
                         Procedures;

                         c. GSK’s requirement that all Covered Persons shall be expected to
                         report to the Compliance Officer, or other appropriate individual
                         designated by GSK, suspected violations of any Federal health care
                         program requirements, FDA requirements, or of GSK’s own Policies
                         and Procedures;

                         d. the personal obligations of each Covered Person to comply with
                         Federal health care program requirements, FDA requirements, and
                         GSK’s Policies and Procedures; and

                         e. the right of all individuals to use the Disclosure Program
                         described in Section III.F, and GSK’s commitment to nonretaliation
                         and to maintain, as appropriate, confidentiality and anonymity with
                         respect to such disclosures.

        To the extent not already accomplished, within 120 days after the Effective Date,
each Covered Person shall certify, in writing or electronically, that he or she has received,
read, understood, and shall abide by the Code of Conduct. New Covered Persons shall
receive the Code of Conduct and shall complete the required certification within 30 days
after becoming a Covered Person or within 120 days after the Effective Date, whichever
is later.

       GSK shall periodically review the Code of Conduct to determine if revisions are
appropriate and shall make any necessary revisions based on such review. Any revised
Code of Conduct shall be distributed within 30 days after any revisions are finalized.
Each Covered Person shall certify, in writing or electronically, that he or she has
received, read, understood, and shall abide by the revised Code of Conduct within 30
days after the distribution of the revised Code of Conduct.



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              2. Third Party Personnel. Within 120 days after the Effective Date and
annually thereafter by the anniversary of the Effective Date, GSK shall send a letter to
each entity employing Third Party Personnel. The letter shall describe GSK’s obligations
under the CIA and its commitment to full compliance with all Federal health care
program requirements and FDA requirements. The letter shall include a description of
GSK’s Compliance Program. GSK shall attach a copy of its Code of Conduct to the letter
and shall request the entity employing Third Party Personnel to either: (a) make a copy of
GSK’s Code of Conduct and a description of GSK’s Compliance Program available to its
employees who meet the definition of Third Party Personnel as set forth in Section II.C.9;
or (b) represent to GSK that it has and enforces a substantially comparable set of code of
conduct and Compliance Program for its employees who meet the definition of Third
Party Personnel as set forth in Section II.C.9.

              3. Policies and Procedures. To the extent not already accomplished, GSK
shall implement written policies and procedures regarding the operation of the
Compliance Program and GSK’s compliance with Federal health care program and FDA
requirements (Policies and Procedures). At a minimum, the Policies and Procedures must
address the following:

                         a. the subjects relating to the Code of Conduct identified in Section
                            III.B.1;

                         b. appropriate ways to conduct Promotional Functions in
                            compliance with all applicable Federal healthcare program
                            requirements, including, but not limited to the Federal anti-
                            kickback statute (codified at 42 U.S.C. § 1320a-7b(b)), and the
                            False Claims Act (codified at 31 U.S.C. §§ 3729-3733) and in
                            compliance with all applicable FDA requirements;

                         c. appropriate ways to conduct Product Related Functions in
                            compliance with all applicable Federal healthcare program
                            requirements, including, but not limited to the Federal anti-
                            kickback statute (codified at 42 U.S.C. § 1320a-7b(b)), and the
                            False Claims Act (codified at 31 U.S.C. §§ 3729-3733) and in
                            compliance with all applicable FDA requirements;

                         d. appropriate ways to conduct Payer Related Functions in
                            compliance with all applicable Federal health care program

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                                requirements, including but not limited to the Federal anti-
                                kickback statute (codified at 42 U.S.C. § 1320a-7b(b)); the False
                                Claims Act (codified at 31 U.S.C. §§ 3729-3733); applicable
                                FDA requirements; and applicable state laws. During the term of
                                the CIA, the Policies and Procedures shall be consistent with
                                GSK’s US Commercial Practices Policy regarding
                                “Administration of Contracts with Payers.”

                         e. the materials and information that may be distributed by GSK
                            sales personnel about Government Reimbursed Products and the
                            manner in which GSK sales personnel respond to requests for
                            information about non-FDA approved (or “off-label”) uses of
                            Government Reimbursed Products. These Policies and
                            Procedures shall require that sales personnel may not engage in
                            off-label promotion (directly or indirectly) and must refer all
                            requests for information about off-label uses of Government
                            Reimbursed Products to Medical Affairs;

                         f. the materials and information that may be distributed by GSK
                            personnel from the PPV Unit and the manner in which PPV
                            personnel respond to requests for information about off-label uses
                            of Government Reimbursed Products. These Policies and
                            Procedures shall require that all requests for information about
                            off-label uses of Government Reimbursed Products be referred to
                            Medical Affairs (i.e., Medical Information Scientists (MISs),
                            Medical Science Liaisons (MSLs), and/or Health Outcome
                            Liaisons (HOLs));

                         g. the materials and information (including product information and
                            product dossiers about Government Reimbursed Products) that
                            may be distributed by Medical Affairs and the mechanisms
                            through, and manner in which, Medical Affairs receives and
                            responds to requests for information from an HCP or another
                            individual or entity about off-label uses of GSK’s Government
                            Reimbursed Products; the form and content of information
                            disseminated by GSK in response to such requests; and the
                            internal review and approval process for the information
                            disseminated. These Policies and Procedures shall require that

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                                GSK sales personnel obtain a signature from the medical
                                professional who verbally requested the written information
                                confirming what information was requested and the request was
                                unsolicited.

                                The Policies and Procedures shall include a requirement that
                                Medical Affairs develop a database (“Inquiries Database”) to
                                track all requests for information about Government Reimbursed
                                Products to Medical Affairs. The Inquiries Database shall
                                include the following items of information for each unique
                                inquiry (Inquiry) received for information about GSK’s products:
                                (1) date of Inquiry; (2) form of Inquiry (e.g., fax, phone, etc.); (3)
                                name of the requesting HCP, HCI, or other individual or entity;
                                (4) nature and topic of request (including exact language of the
                                Inquiry if made in writing); (5) an evaluation of whether the
                                Inquiry relates to information about an off-label use for the
                                product; (6) nature/form of the response from GSK (including a
                                record of the materials provided to the HCP or HCI in response to
                                the request); and (7) the name of the GSK representative who
                                called on or interacted with the HCP, customer, or HCI, if
                                known;

                         h. the materials and information that may be distributed or made
                            available by GSK through social media and/or through direct-to-
                            consumer advertising. These policies and procedures shall be
                            designed to ensure that GSK’s activities in this area and the
                            information distributed or made available complies with all
                            applicable Federal health care program and FDA requirements,
                            and have been reviewed and approved by GSK before they are
                            disseminated;

                         i. the manner and circumstances under which medical personnel
                            from Medical Affairs interact with or participate in meetings or
                            events with HCPs or HCIs (either alone or with sales
                            representatives or account executives) and the role of the medical
                            personnel at such meetings or events, as well as how they handle
                            responses to unsolicited requests about off-label indications of
                            Government Reimbursed Products;

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                         j. the development, implementation, and review of target plans for
                            sales personnel and other GSK personnel who promote and sell
                            Government Reimbursed Products (Target Plans). For each
                            Government Reimbursed Product, the Policies and Procedures
                            shall require that GSK review Target Plans for the product and
                            the bases upon, and circumstances under which HCPs and HCIs
                            belonging to specified medical specialties or types of clinical
                            practice are included in, or excluded from, the Target Plans. The
                            Policies and Procedures shall also require that GSK modify the
                            Target Plans as necessary to ensure that GSK is promoting
                            Government Reimbursed Products in a manner that complies
                            with all applicable Federal health care program and FDA
                            requirements. The Target Plan reviews shall occur at least
                            annually and shall also occur each time when the FDA approves
                            a new or additional indication for a Government Reimbursed
                            Product;

                         k. the development, implementation, and review of policies and
                            procedures (including excluded specialties lists) for the
                            distribution of samples of, or coupons or vouchers for,
                            Government Reimbursed Products (collectively “Sample
                            Distribution Policies and Procedures”). This shall include a
                            review of the bases upon, and circumstances under, which HCPs
                            and HCIs belonging to specified medical specialties or types of
                            clinical practice may receive samples, coupons, or vouchers from
                            GSK. GSK shall modify the Sample Distribution Policies and
                            Procedures as necessary to ensure that GSK is promoting
                            Government Reimbursed Products in a manner that complies
                            with all applicable Federal health care program and FDA
                            requirements;

                         l. consultant or other fee-for-service arrangements entered into with
                            HCPs or HCIs relating to Covered Functions (including, but not
                            limited to speaker programs, speaker training programs,
                            presentations, consultant task force meetings, advisory boards,
                            and ad hoc advisory activities, and any other financial
                            engagement or arrangement with an HCP or HCI) and all events

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                                and expenses relating to such engagements or arrangements.
                                These Policies and Procedures shall be designed to ensure that
                                the arrangements and related events are used for legitimate and
                                lawful purposes in accordance with applicable Federal health care
                                program and FDA requirements and shall include requirements
                                about the content and circumstances of such arrangements and
                                events. The Policies and Procedures shall require that
                                compensation be based on fair market value, include caps on the
                                total amount of payment that may be provided annually, and that
                                HCPs who sit on formulary boards or develop clinical guidelines
                                are required to disclose their relationship with GSK;

                         m. programs to educate sales personnel, including but not limited to
                            presentations by HCPs at sales meetings and experience-based
                            learning activities, if any. These Policies and Procedures shall be
                            designed to ensure that the programs are used for legitimate and
                            lawful purposes in accordance with applicable Federal health care
                            program and FDA requirements. The Policies shall include
                            requirements about the content and circumstances of such
                            arrangements and events;

                         n. sponsorship or funding of grants to healthcare-related
                            organizations and donations to community partners in the United
                            States (including support of any educational programs they
                            conduct for non-HCP audiences). These Policies and Procedures
                            shall be designed to ensure that GSK’s funding and/or
                            sponsorship complies with all applicable Federal health care
                            program and FDA requirements. In addition, the Policies and
                            Procedures continue to limit the situations in which GSK shall
                            make grants and donations and shall state that GSK does not
                            provide funding in order to influence the use of GSK products or
                            services;

                         o. funding of, or participation in, any Third Party Educational
                            Activity as defined in Section II.C.8 above. These Policies and
                            Procedures shall be designed to ensure that any GSK funding
                            and/or sponsorship of such programs satisfies all applicable
                            Federal health care program and FDA requirements. Prior to the

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                                Effective Date of the CIA, GSK implemented policies restricting
                                funding for Third Party Educational Activity to a limited number
                                of specific types of entities (i.e., academic medical centers and
                                their affiliated teaching and patient care institutions and
                                professional medical associations that represent HCPs
                                responsible for the delivery of patient care). These Policies and
                                Procedures prohibit funding for independent medical education
                                by commercial providers. During the term of the CIA, the
                                Policies and Procedures shall continue to require that GSK
                                provide funding for Third Party Educational Activity in
                                accordance with its Policies and Procedures and practices
                                outlined in this Section III.B.3.o and below in Section III.M.4.

                                The Policies and Procedures shall also require that: (1) GSK
                                disclose its financial support of the Third Party Educational
                                Activity and, to the extent feasible consistent with subsection
                                III.B.3.o.4 below, any financial relationships with faculty,
                                speakers, or organizers at such Activity; (2) as a condition of
                                funding, the third party shall agree to disclose GSK’s financial
                                support of the Third Party Educational Activity and to require
                                faculty, speakers, or organizers at such Activity to disclose any
                                financial relationship with GSK; (3) the Third Party Educational
                                Activity have an educational focus; (4) the content, organization,
                                and operation of the Third Party Educational Activity (including
                                the faculty, educational methods, materials, and venue) be
                                independent of GSK’s control; (5) GSK support only Third Party
                                Educational Activity that is non-promotional in tone/nature; and
                                (6) GSK’s support of a Third Party Educational Activity shall be
                                contingent on the provider’s commitment to provide information
                                at the Third Party Educational Activity that is fair, balanced,
                                accurate and not misleading;

                         p. review of promotional materials and information intended to be
                            disseminated outside GSK by appropriate qualified personnel
                            (such as regulatory, medical, and/or legal personnel) in a manner
                            designed to ensure that legal, regulatory, and medical concerns
                            are properly addressed during GSK’s review and approval
                            process and are elevated when appropriate. The Policies and

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                                Procedures shall be designed to ensure that such materials and
                                information comply with all applicable Federal health care
                                program and FDA requirements. The Policies and Procedures
                                shall require that: (1) applicable review committees (including
                                the overall Copy Approval Team (CAT) and the CAT for each
                                product) review all promotional materials prior to the distribution
                                or use of such materials; (2) GSK’s copy review and approval
                                process ensure that FDA communications relevant to the product
                                are considered and appropriately reflected in promotional
                                materials and in a copy approval repository maintained by each
                                CAT; and that (3) deviations from the standard review committee
                                practices and protocols (including timetables for the submission
                                of materials for review) shall be documented and referred for
                                appropriate follow-up;

                         q. sponsorship, funding of, and disclosures relating to Product
                            Related Functions. These Policies and Procedures shall be
                            designed to ensure that GSK’s funding, sponsorship, and
                            disclosure complies with all applicable Federal health care
                            program and FDA requirements;

                         r. compensation (including through salaries, bonuses, or other
                            means) for Covered Persons. These Policies and Procedures
                            shall: (1) be designed to ensure that financial incentives do not
                            inappropriately motivate such individuals to engage in improper
                            promotion, sales, and marketing of GSK’s Government
                            Reimbursed Products; and (2) include mechanisms, where
                            appropriate, to exclude from incentive compensation sales that
                            may indicate off-label promotion of Government Reimbursed
                            Products.

                                GSK represents that, prior to the Effective Date, it implemented a
                                program in the United States to eliminate incentive compensative
                                based on territory/individual level sales goals for prescriber-
                                facing sales personnel (e.g., sales representatives) and their direct
                                managers (Patient First Program). The Patient First Program is
                                described in more detail below in Section III.H. GSK shall


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                                continue its Patient First Program, or a substantially equivalent
                                program, during the term of the CIA.

                         s. GSK’s right to recoup or cause the forfeiture of annual
                            performance pay of GSK employees and Covered Executives if
                            certain triggering events relating to misconduct by the employees
                            or executives occur;

                         t. the submission of information about any Government
                            Reimbursed Product to any compendia such as Drugdex or other
                            published source of information used in connection with the
                            determination of coverage by a Federal health care program for
                            the product (hereafter “Compendia”). This includes any initial
                            submission of information to any Compendia and the submission
                            of any additional, updated, supplemental, or changed information
                            (e.g., any changes based on GSK’s discovery of erroneous or
                            scientifically unsound information or data associated with the
                            information in the Compendia.) The Policies and Procedures
                            shall include a requirement that GSK conduct an annual review
                            of all arrangements, processing fees, or other payments or
                            financial support (if any) provided by GSK to any Compendia.
                            GSK U.S. compliance personnel or other appropriately trained
                            GSK personnel who are independent from the functional unit
                            being reviewed shall be involved in this review;

                         u. sponsorship by GSK of human subject research of Government
                            Reimbursed Products (i.e., post-marketing clinical trials and post-
                            marketing studies (collectively, “GSK-Sponsored Research”)),
                            and support by GSK of investigator-sponsored studies of
                            Government Reimbursed Products (ISSs) (collectively, GSK-
                            Sponsored Research and ISSs shall be referred to as “Research”),
                            including the decision to provide financial or other support for
                            Research; the manner in which Research support is provided; the
                            publication of information about the Research, including the
                            publication of information about the Research results and trial
                            outcomes, and uses made of publications relating to Research;



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                                Policies/Procedures regarding Sponsorship or Support of Studies
                                Involving Government Reimbursed Products: GSK represents
                                that it requires Research to be approved by its medical and/or
                                research organizations. Under GSK’s current policies and
                                procedures, sales, marketing, or other commercial personnel may
                                not participate in the design, conduct, or publication of GSK-
                                Sponsored Research, with limited exceptions relating to non-
                                interventional health outcomes studies (for which a relevant GSK
                                medical group has oversight). GSK also represents that its
                                human subject research and any resulting publications are
                                intended to foster increased understanding of scientific, clinical
                                or medical issues. To the extent not already accomplished, GSK
                                shall require as a condition of its funding that all researchers
                                disclose in any publication of Research, GSK’s support and any
                                financial interest the researcher may have in GSK.

                                Posting of Study Results and Protocols/Registry of Studies: GSK
                                represents that, prior to the Effective Date, it developed a Clinical
                                Study Register on which it posts, within a specified number of
                                months from study completion and with rare exception, summary
                                results from all GSK-Sponsored interventional Research studies
                                of Government Reimbursed Products; and from GSK-Sponsored
                                observational studies designed to inform the safety, efficacy or
                                effectiveness, including cost-effectiveness, of Government
                                Reimbursed Products; and from GSK-Sponsored meta-analyses
                                and pooled analyses designed to inform appropriate, effective or
                                safe use of Government Reimbursed Products. In addition, GSK
                                posts summaries of its protocols for the studies and analyses
                                described in the preceding sentence (including amendments that
                                change the content of the summary) in its Register. GSK shall
                                continue these practices throughout the term of the CIA.

                                In addition, GSK represents that it has established policies,
                                systems, and practices to publish results from and information
                                about discontinued studies on its Clinical Register, including the
                                fact that the study terminated early. GSK shall continue these
                                practices throughout the term of the CIA.


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                                GSK represents that it registers summary results from all
                                applicable GSK-sponsored clinical trials of GSK products and
                                reports results of such clinical trials on the National Institutes of
                                Health (NIH) sponsored website (www.clinicaltrials.gov) in
                                compliance with all Federal requirements. GSK shall continue to
                                comply with Federal requirements or other applicable
                                requirements relating to the registration and results reporting of
                                clinical studies throughout the term of this CIA. In addition, if
                                there is a change in Federal requirements or other applicable
                                requirements relating to registration and results reporting of
                                clinical study information, GSK shall fully comply with such
                                requirements.

                                Publication of Study Results: GSK represents that it generally
                                seeks publication of the results of all GSK-Sponsored
                                interventional Research in peer-reviewed, searchable journals and
                                imposes specified timeframes for the drafting and submission of
                                manuscripts following completion of a study. For purposes of
                                these publication requirements, GSK’s publication policy
                                includes certain GSK-Sponsored observational Research studies
                                and certain GSK-Sponsored meta-analyses and pooled analyses.

                                In addition, GSK represents that it has established policies and
                                “operating practices” governing scientific engagement, which
                                included detailed directions regarding publications. Among other
                                things, the operating practices require the implementation of data
                                dissemination plans that establish prospective publication
                                strategies for GSK-Sponsored Research and address requirements
                                for appropriateness, accuracy, and balance in publications of
                                GSK-Sponsored Research. In all publications about GSK-
                                Sponsored Research, GSK shall acknowledge its role as the
                                funding source.

                                In addition, GSK represents that it has established policies,
                                systems, and practices designed to ensure that adverse event data
                                is properly reported to the FDA. In addition, GSK requires
                                investigators to report study-related information and data,


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                                including data about adverse events before receiving final
                                payment from GSK.

                                The standards, policies, and practices described above shall
                                hereafter be referred to collectively as the “Research and
                                Publication Practices.” GSK shall maintain its Research and
                                Publication Practices (or standards and practices substantially
                                equivalent to those set forth above) for studies initiated or
                                completed after the Effective Date for the term of the CIA. To
                                the extent that GSK intends to materially change these Research
                                and Publication Practices, it shall notify the OIG about the
                                change 30 days in advance of the effective date of the change;

                         v. authorship of journal articles or other publications about GSK-
                            Sponsored Research or about therapeutic areas or disease states
                            that may be treated with Government Reimbursed Products,
                            including, but not limited to, the disclosure of any and all
                            financial relationships between the author and GSK, the
                            identification of all authors or contributors (including
                            professional writers) associated with a given publication, and that
                             research results be made available to each author or contributor.

                                Authorship Requirements: GSK represents that it requires all
                                authors of journal articles about GSK-Sponsored Research to
                                adhere to International Committee of Medical Journal Editors
                                (ICMJE) requirements regarding authorship except when a
                                particular journal requires an alternative procedure. In addition,
                                GSK requires all authors of articles on GSK-Sponsored Research
                                to disclose any GSK financial support for the study and any
                                financial relationship with GSK (including any financial interest
                                the author may have in GSK or a GSK product). In addition,
                                GSK represents that individuals may be considered an “author”
                                on a GSK publication of GSK-Sponsored Research only if the
                                individual has made substantial contributions to the study and has
                                given final approval to the version of the publication ultimately
                                published.



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                                GSK shall require that its employees and medical writing
                                contractors complete certain certification as to any GSK
                                publication of GSK-Sponsored Research on which the individual
                                is listed as an author or contributor. The standards, policies and
                                practices described above shall be referred to collectively as
                                “Authorship-Related Practices”; and

                         w. disciplinary policies and procedures for violations of GSK’s
                            Policies and Procedures, including policies relating to Federal
                            health care program and FDA requirements.

       To the extent not already accomplished, within 150 days after the Effective Date,
the Policies and Procedures shall be made available to all Covered Persons. Appropriate
and knowledgeable staff shall be available to explain the Policies and Procedures.

       At least annually (and more frequently, if appropriate), GSK shall assess and
update, as necessary, the Policies and Procedures. Within 30 days after the effective date
of any revisions, any such revised Policies and Procedures shall be made available to all
Covered Persons.

        C. Training and Education.

               1. General Training. To the extent not already accomplished, within 120
days after the Effective Date, GSK shall provide at least one hour of General Training to
each Covered Person. This training, at a minimum, shall explain GSK’s:

                         a. CIA requirements; and

                         b. GSK’s Compliance Program (including the Code of Conduct and
                         the Policies and Procedures as they pertain to general compliance
                         issues).

New Covered Persons shall receive the General Training described above within 30 days
after becoming a Covered Person or within 120 days after the Effective Date, whichever
is later. After receiving the initial General Training described above, each Covered
Person shall receive at least one hour of General Training in each subsequent Reporting
Period.


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            2. Specific Training. GSK shall provide annual training to each Relevant
Covered Person relating to his or her specific job responsibilities. This training shall be
known as Specific Training.

               By December 31, 2012, each Relevant Covered Person engaged in
Promotional Functions, Product Related Functions, or Payer Related Functions shall
receive at least three hours of Specific Training in addition to the General Training
required above.

             For Relevant Covered Persons engaged in Promotional Functions or
Product Related Functions, this Specific Training shall include a discussion of:

                         a. all applicable Federal health care program requirements relating
                            to Promotional Functions and to Product Related Functions;

                         b. all applicable FDA requirements relating to Promotional
                            Functions and to Product Related Functions;

                         c. all GSK Policies and Procedures and other requirements
                            applicable to Promotional Functions and Product Related
                            Functions;

                         d. the personal obligation of each individual involved in
                            Promotional Functions and Product Related Functions to comply
                            with all applicable Federal health care program and FDA
                            requirements and all other applicable legal requirements;

                         e. the legal sanctions for violations of the applicable Federal health
                            care program and FDA requirements; and

                         f. examples of proper and improper practices related to Promotional
                            Functions and Product Related Functions.

              For Relevant Covered Persons engaged in Payer Related Functions, this
Specific Training shall include a discussion of topics a-f above, as well as:

                         g. all applicable Federal health care program requirements and FDA
                            requirements relating to Payer Related Functions;

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                         h. GSK’s systems and processes applicable to Payer Related
                            Functions;

                         i. all GSK Policies and Procedures and other requirements
                            applicable to Promotional Functions and Product Related
                            Functions;

                         j. the personal obligation of each individual involved in Payer
                            Related Functions to ensure that all information provided or
                            reported to Payers is complete, accurate and not misleading;

                         k. the legal sanctions for violations of the applicable Federal health
                            care program and FDA requirements; and

                         l. examples of proper and improper practices relating to Payer
                            Related Functions.

       New Relevant Covered Persons shall receive their Specific Training within 30
days after the beginning of their employment or becoming Relevant Covered Persons, or
by December 31, 2012, whichever is later. A GSK employee who has completed the
Specific Training shall oversee a new Relevant Covered Person’s work, to the extent that
the work relates to any of the Covered Functions, until such time as the new Relevant
Covered Person completes his or her Specific Training.

            After receiving the initial Specific Training described in this Section, each
Relevant Covered Person shall receive at least three hours of Specific Training in each
subsequent Reporting Period.

               3. Compliance Training for Management. By December 31, 2012, GSK
shall provide to managers of employees performing Covered Functions and supervisors of
sales personnel (collectively “Management”) at least three hours of specialized
compliance-related training applicable to the functional area of the manager
(Management Compliance Training). This training shall address the responsibility of
Management to promote compliance and to identify and mitigate compliance-related risks
in their functional areas.



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             New members of Management shall receive the Management Compliance
Training within 30 days after becoming a member of Management or by December 31,
2012, whichever is later.

               After receiving the initial Management Compliance Training described in
this Section, each Relevant Covered Person shall receive at least three hours of
Specialized Compliance Training in each subsequent Reporting Period.

              4. Board Member Training. Within 150 days after the Effective Date, GSK
shall provide at least two hours of training to each member of the Board of Directors, in
addition to the General Training. This training shall address the responsibilities of board
members and corporate governance.

               New members of the Board of Directors shall receive the Board Member
Training described above within 30 days after becoming a board member or within 120
days after the Effective Date, whichever is later.

                5. Certification. Each Covered Person who is required to complete training
shall certify, in writing or in electronic form, if applicable, that he or she has received
such training. The certification shall specify the type of training received and the date
received. The Compliance Officer (or designee) shall retain these certifications, along
with all course materials. These shall be made available to OIG, upon request.

             6. Qualifications of Trainer. Persons responsible for providing the training
described above shall be knowledgeable about the subject area of the training, including
about applicable Federal health care program and FDA requirements.

              7. Update of Training. GSK shall review its training annually, and, where
appropriate, shall update the training to reflect changes in Federal health care program
requirements, FDA requirements, any issues discovered during internal audits or the IRO
Reviews, the TRACER program (defined below in Section III.D), and any other relevant
information.

              8. Computer-based Training. GSK may provide the training required
under this CIA through appropriate computer-based training approaches. If GSK chooses
to provide computer-based training, it shall make available appropriately qualified and
knowledgeable staff or trainers to answer questions or provide additional information to
the individuals receiving such training. All applicable requirements to provide a number

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of “hours” of training as set forth in this Section III.C may be met with respect to
computer-based training by providing the required number of “normative” hours as that
term is used in the computer-based training industry.

        D. Risk Assessment and Mitigation Process.

       GSK represents that prior to the Effective Date, GSK began to implement a
standardized process to allow GSK compliance, legal, and business unit leaders to assess
and identify risks associated with Government Reimbursed Products that have field force
support in the United States (GSK Products). This program is referred to as the Targeted
Risk-based Analysis Compliance Evaluations and Review (TRACER) program and is
described in more detail in Appendix C. TRACER involves an annual evaluation and
mitigation of risks associated with the marketing of the GSK Products. GSK shall
maintain a TRACER process for the duration of the CIA.

        E. Review Procedures.

                1. General Description.

                         a. Engagement of Independent Review Organization. Within 120
                         days after the Effective Date, GSK shall engage an entity (or
                         entities), such as an accounting, auditing, or consulting firm
                         (hereinafter “Independent Review Organization” or “IRO”), to
                         perform reviews to assist GSK in assessing and evaluating its
                         Covered Functions. More specifically, the IRO(s) shall conduct
                         reviews that assess GSK’s systems, processes, policies, procedures,
                         and practices relating to the Covered Functions (including Research
                         and Publication Practices and Authorship-Related Practices) and the
                         TRACER program (collectively “IRO Reviews”).

                         The applicable requirements relating to the IRO are outlined in
                         Appendix A to this CIA, which is incorporated by reference.
                         Each IRO engaged by GSK shall have expertise in applicable
                         Federal health care program and FDA requirements as may be
                         appropriate to the Review for which the IRO is retained including
                         expertise in the pharmaceutical industry with regard to risk
                         identification and mitigation in relation to pharmaceutical product
                         marketing and promotion. Each IRO shall assess, along with GSK,

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                         whether it can perform the engagement in a professionally
                         independent and objective fashion, as appropriate to the nature of the
                         review, taking into account any other business relationships or other
                         engagements that may exist.

                         b. Frequency and Brief Description of Reviews. As set forth more
                         fully in Appendices B and C, the IRO Reviews shall consist of three
                         components: (1) Systems Reviews and Transactions Reviews
                         relating to the Covered Functions; (2) Additional Items reviews; and
                         (3) Systems Reviews and Transaction Reviews relating to the
                         TRACER program. The Systems Reviews shall assess GSK’s
                         systems, processes, policies, and procedures relating to the Covered
                         Functions and the TRACER program.

                         The IRO Reviews shall cover each of the six calendar years of the
                         CIA. The first IRO Reporting Period shall cover the time from the
                         Effective Date through December 31, 2012. The second through
                         sixth IRO Reporting Periods shall cover, respectively, 2013 and each
                         subsequent calendar year through 2017 (hereafter the “IRO
                         Reporting Periods.”) If there are no material changes in GSK’s
                         relevant systems, processes, policies, and procedures, the Systems
                         Review shall be performed for the periods covering the second and
                         fifth IRO Reporting Periods. If GSK materially changes its relevant
                         systems, processes, policies, and procedures, the IRO shall perform
                         Systems Reviews for the IRO Reporting Periods in which such
                         changes were made in addition to conducting the Systems Reviews
                         for the second and fifth IRO Reporting Periods, as set forth more
                         fully in Appendices B and C.

                         The IRO shall perform a limited Transactions Review for the first
                         IRO Reporting Period as set forth more fully in Appendix B. For
                         each of the remaining IRO Reporting Periods, the IRO shall perform
                         full Transaction Reviews as set forth in Appendices B and C. The
                         IRO(s) shall perform all components of each annual Transaction
                         Review.

                         In addition, the Transactions Reviews for the second through sixth
                         IRO Reporting Periods shall also include a review of up to three

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                         additional areas or practices of GSK identified by the OIG in its
                         discretion (hereafter “Additional Items”). For purposes of
                         identifying the Additional Items to be included in the Transactions
                         Review for a particular IRO Reporting Period, the OIG will consult
                         with GSK and may consider internal audit work conducted by GSK,
                         the Government Reimbursed Product portfolio, the nature and scope
                         of GSK’s promotional practices and arrangements with HCPs and
                         HCIs, and other information known to it.

                         As set forth more fully in Appendix B, GSK may propose to the OIG
                         that its internal audit(s) be partially substituted for one or more of the
                         Additional Items that would otherwise be reviewed by the IRO as
                         part of the Transactions Review. The OIG retains sole discretion
                         over whether, and in what manner, to allow GSK’s internal audit
                         work to be substituted for a portion of the Additional Items review
                         conducted by the IRO.

                         The OIG shall notify GSK of the nature and scope of the IRO review
                         for each of the Additional Items not later than 150 days prior to the
                         end of each applicable IRO Reporting Period. Prior to undertaking
                         the review of the Additional Items, the IRO and/or GSK shall submit
                         an audit work plan to the OIG for approval and the IRO shall
                         conduct the review of the Additional Items based on a work plan
                         approved by the OIG.

                         c. Retention of Records. The IRO and GSK shall retain and make
                         available to OIG, upon request, all work papers, supporting
                         documentation, correspondence, and draft reports (those exchanged
                         between the IRO and GSK) related to the IRO Reviews.

            2. IRO Review Reports. The IRO shall prepare a report based upon each
IRO Review performed (IRO Review Report). Information to be included in each IRO
Review Report is described in Appendices B and C.

              3. Validation Review. In the event OIG has reason to believe that: (a) any
of GSK’s IRO Reviews fails to conform to the requirements of this CIA; or (b) the IRO’s
findings or Review results are inaccurate, OIG may, at its sole discretion, conduct its own
review to determine whether the applicable IRO Review complied with the requirements

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of the CIA and/or the findings or Review results are inaccurate (Validation Review).
GSK shall pay for the reasonable cost of any such review performed by OIG or any of its
designated agents. Any Validation Review of Reports submitted as part of GSK’s final
Annual Report shall be initiated no later than one year after GSK’s final submission (as
described in Section II.B) is received by OIG.

              Prior to initiating a Validation Review, OIG shall notify GSK of its intent to
do so and provide a written explanation of why OIG believes such a review is necessary.
To resolve any concerns raised by OIG, GSK may request a meeting with OIG to: (a)
discuss the results of any IRO Review submissions or findings; (b) present any additional
information to clarify the results of the IRO Review or to correct the inaccuracy of the
IRO Review; and/or (c) propose alternatives to the proposed Validation Review. GSK
agrees to provide any additional information as may be requested by OIG under this
Section III.E.3 in an expedited manner. OIG will attempt in good faith to resolve any
IRO Review issues with GSK prior to conducting a Validation Review. However, the
final determination as to whether or not to proceed with a Validation Review shall be
made at the sole discretion of OIG.

               4. Independence and Objectivity Certification. The IRO shall include in its
report(s) to GSK a certification that the IRO has: (a) evaluated its professional
independence and objectivity with respect to the reviews conducted under this Section
III.E; and (b) concluded that it is, in fact, independent and objective in accordance with
the requirements specified in Appendix A.

        F. Disclosure Program.

       Prior to the GSK Effective Date, GSK and its Affiliates established a Disclosure
Program that includes a mechanism (the toll free “Integrity Helpline”) to enable
individuals to disclose, to the Compliance Officer or some other person who is not in the
disclosing individual’s chain of command, any identified issues or questions associated
with GSK’s or a GSK Affiliate’s policies, conduct, practices, or procedures with respect
to a Federal health care program or an FDA requirement (including as they relate to
CGMP Activities) believed by the individual to be a potential violation of criminal, civil,
or administrative law. The Integrity Helpline may be used by employees of third party
suppliers that contract with GSK. GSK and its Affiliates publicize, and shall continue to
appropriately publicize, the existence of the Disclosure Program and the Integrity
Helpline (e.g., via periodic e-mails to employees, by posting the information in prominent
common areas, or through references in the Code of Conduct and during training.)

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       The Disclosure Program shall emphasize a nonretribution, non-retaliation policy
and shall include a reporting mechanism for anonymous communications for which
appropriate confidentiality shall be maintained. Upon receipt of a disclosure, the
Compliance Officer (or designee) shall gather all relevant information from the disclosing
individual. The Compliance Officer (or designee) shall make a preliminary, good faith
inquiry into the allegations set forth in every disclosure to ensure that it obtains all
necessary information to determine whether a further review should be conducted. For
any disclosure that is sufficiently specific so that it reasonably: (1) permits a
determination of the appropriateness of the alleged improper practice; and (2) provides an
opportunity for taking corrective action, GSK and/or any applicable Affiliate shall
conduct an internal review of the allegations set forth in the disclosure and ensure that
proper follow-up is conducted.

       GSK shall maintain, a disclosure log, which includes a record and summary of
each disclosure received (whether anonymous or not), the status of the respective internal
reviews, and any corrective action taken in response to the internal reviews. This
disclosure log shall be made available to OIG upon request.

        G. Ineligible Persons.

                1. Definitions. For purposes of this CIA:

                         a. an “Ineligible Person” shall include an individual or entity who:

                                i. is currently excluded, debarred, suspended, or otherwise
                                ineligible to participate in the Federal health care programs or
                                in Federal procurement or nonprocurement programs; or

                                ii. has been convicted of a criminal offense that falls within
                                the scope of 42 U.S.C. § 1320a-7(a), but has not yet been
                                excluded, debarred, suspended, or otherwise declared
                                ineligible.

                         b. “Exclusion Lists” include:

                                i. the HHS/OIG List of Excluded Individuals/Entities
                                (available through the Internet at http://www.oig.hhs.gov);
                                and

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                                ii. the General Services Administration’s List of Parties
                                Excluded from Federal Programs (available through the
                                Internet at http://www.epls.gov).

             2. Screening Requirements. GSK shall ensure that all prospective and
current Covered Persons and Manufacturing Covered Persons are not Ineligible Persons,
by implementing the following screening requirements.

                         a. as part of the hiring or contracting process, GSK shall require all
                         prospective and current Covered Persons and Manufacturing
                         Covered Persons to disclose whether they are Ineligible Persons and
                         shall screen potential Covered Persons and Manufacturing Covered
                         Persons against the Exclusion Lists prior to engaging their services.

                         b. GSK shall screen all Covered Persons and Manufacturing
                         Covered Persons against the Exclusion Lists within 120 days after
                         the Effective Date and on an annual basis thereafter.

                         c. GSK shall maintain a policy requiring all Covered Persons and
                         Manufacturing Covered Persons to disclose immediately any
                         debarment, exclusion, suspension, or other event that makes that
                         person an Ineligible Person.

               Nothing in this Section III.G affects GSK’s responsibility to refrain from
(and liability for) billing Federal health care programs for items or services furnished,
ordered, or prescribed by excluded persons. GSK understands that items or services
furnished by excluded persons are not payable by Federal health care programs and that
GSK may be liable for overpayments and/or criminal, civil, and administrative sanctions
for employing or contracting with an excluded person regardless of whether GSK meets
the requirements of Section III.G.

              3. Removal Requirement. If GSK has actual notice that a Covered Person
or Manufacturing Covered Person has become an Ineligible Person, GSK shall remove
such Covered Person or Manufacturing Covered Person from responsibility for, or
involvement with, GSK’s business operations related to the Federal health care programs
and shall remove such Covered Person or Manufacturing Covered Person from any
position for which the Covered Person’s or Manufacturing Covered Person’s

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compensation or the items or services furnished, ordered, or prescribed by the Covered
Person or Manufacturing Covered Person are paid in whole or part, directly or indirectly,
by Federal health care programs or otherwise with Federal funds at least until such time
as the Covered Person or Manufacturing Covered Person is reinstated into participation in
the Federal health care programs.

               4. Pending Charges and Proposed Exclusions. If GSK has actual notice
that a Covered Person or Manufacturing Covered Person is charged with a criminal
offense that falls within the scope of 42 U.S.C. §§ 1320a-7(a), 1320a-7(b)(1)-(3), or is
proposed for exclusion during the Covered Person’s or Manufacturing Covered Person’s
employment or contract term, GSK shall take all appropriate actions to ensure that the
responsibilities of that Covered Person or Manufacturing Covered Person have not and
shall not adversely affect the quality of care rendered to any beneficiary, patient, or
resident, or the accuracy of any claims submitted to any Federal health care program.

        H. Employee and Executive Incentive Compensation and Recoupment Policies
        and Practices.

       Pursuant to its existing Patient First program, GSK agrees that it will not provide
financial reward (through compensation, including incentive compensation or otherwise)
or discipline (through tangible employment action) its prescribing-customer-facing field
sales professionals (pharmaceutical sales representatives) or their direct managers based
upon the volume of sales of GSK products within a given employee’s own territory or
the manager’s district. The Patient First program includes evaluations for sales
representatives based on business acumen, customer engagement, and scientific
knowledge about GSK’s products. GSK shall continue its Patient First Program, or a
substantially equivalent program, during the term of this CIA. GSK commits to
maintaining for at least the duration of the CIA, absent agreement otherwise with the
OIG, the restrictions on such tangible employment decisions set forth in its Use of
Territory/Individual Sales Data policy.

       In addition, GSK shall establish and maintain throughout the term of this CIA a
financial recoupment program that puts at risk of forfeiture and recoupment an amount
equivalent to up to 3 years of annual performance pay (i.e., annual bonus, plus long term
incentives) for an executive who is discovered to have been involved in any significant
misconduct (Executive Financial Recoupment Program). This financial recoupment
program shall apply to both covered executives who are either current GSK employees or
who are former GSK employees at the time of a Recoupment Determination. The

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specific terms and conditions of the Executive Financial Recoupment Program are set
forth in Appendix E. GSK commits to maintaining an Executive Financial Recoupment
Program consistent with the terms of Appendix E for at least the duration of the CIA
absent agreement otherwise by the OIG.

        I. Notification of Government Investigation or Legal Proceedings.

        Within 30 days after discovery, GSK shall notify OIG, in writing, of any ongoing
investigation or legal proceeding known to GSK conducted or brought by a U.S.-based
governmental entity or its agents involving an allegation that GSK or a GSK Affiliate has
committed a crime or has engaged in fraudulent activities. This notification shall include
a description of the allegation, the identity of the investigating or prosecuting agency, and
the status of such investigation or legal proceeding. GSK shall also provide written
notice to OIG within 30 days after the resolution of the matter, and shall provide OIG
with a description of the findings and/or results of the investigation or proceedings, if any.

        J. Reportable Events.

            1. Definition of Reportable Event. For purposes of this CIA, a “Reportable
Event” means anything that involves:

                         a. a matter that a reasonable person would consider a probable
                         violation of criminal, civil, or administrative laws applicable to any
                         Federal health care program for which penalties or exclusion may be
                         authorized;

                         b. a matter that a reasonable person would consider a probable
                         violation of criminal, civil, or administrative laws applicable to any
                         FDA requirements relating to the promotion of Government
                         Reimbursed Products (including an FDA Warning Letter issued to
                         GSK);

                         c. the employment of or contracting with a Covered Person who is
                         an Ineligible Person as defined by Section III.G.1.a; or

                         d. the filing of a bankruptcy petition by GSK.



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A Reportable Event may be the result of an isolated event or a series of occurrences. A
Reportable Event that meets the one of the definitions set forth above may arise from
within the operations of GSK or any GSK Affiliate.

              2. Reporting of Reportable Events. If GSK determines (after a reasonable
opportunity to conduct an appropriate review or investigation of the allegations) through
any means that there is a Reportable Event, GSK shall notify OIG, in writing, within 30
days after making the determination that the Reportable Event exists.

             3. Reportable Events under Sections III.J.1.a-c. For Reportable Events
under Sections III.J.1.a-c, the report to OIG shall include:

                         a. a complete description of the Reportable Event, including the
                         relevant facts, persons involved, and legal and Federal health care
                         program or FDA authorities implicated;

                         b. a description of GSK’s actions taken to correct the Reportable
                         Event; and

                         c. any further that steps GSK plans to take to address the Reportable
                         Event and prevent it from recurring.

GSK shall not be required to report any Reportable Event which is the subject of an
ongoing investigation or legal proceeding by a governmental entity or its agents
previously disclosed under Section III.I above.

               4. Reportable Events under Section III.J.1.d. For Reportable Events under
Section III.J.1.d, the report to the OIG shall include documentation of the bankruptcy
filing and a description of any Federal health care program and/or FDA authorities
implicated.

       K. Notification of Communications with FDA. Within 30 days after the date of
any written report, correspondence, or communication between GSK and the FDA that
materially discusses GSK’s or a Covered Person’s actual or potential unlawful or
improper promotion of GSK’s products (including any improper dissemination of
information about off-label indications), GSK shall provide a copy of the report,
correspondence, or communication to the OIG. GSK shall also provide written notice to
the OIG within 30 days after the resolution of any such disclosed off-label matter, and

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shall provide the OIG with a description of the findings and/or results of the matter, if
any.

        L. Field Force Monitoring and Review Efforts.

       To the extent not already accomplished, within 120 days after the Effective Date,
GSK shall establish a comprehensive Field Force Monitoring Program (FFMP) to
evaluate and monitor its sales personnel’s interactions with HCPs and HCIs. The FFMP
shall be a formalized process designed to directly and indirectly observe the
appropriateness of sales personnel’s interactions with HCPs and HCIs and to identify
potential off-label promotional activities or other improper conduct. As described in
more detail below, the FFMP shall include: (1) a Speaker Monitoring Program; (2) direct
field observations (Observations) of sales personnel; and (3) the monitoring and review of
other records relating to sales personnel’s interactions with HCPs and HCIs (Records
Reviews).

        1.     Speaker Program Activities. With regard to speaker programs, GSK shall
maintain processes to require all speakers to complete training and enter written
agreements that describe the scope of work to be performed, the speaker fees to be paid,
and compliance obligations for the speakers (including requirements that the speaker may
only use GSK approved materials and may not directly or indirectly promote the product
for off-label uses.) GSK shall maintain a centralized electronic system through which all
speaker programs are administered. This system shall establish controls regarding
eligibility and qualifications of speakers and venues for the programs and require that
speakers are paid according to a centrally managed, pre-set rate structure determined
based on a fair-market value analysis conducted by GSK. GSK shall maintain a
comprehensive list of speaker program attendees through its centralized system. In
addition, GSK shall track and review the aggregate amount (including speaker fees,
travel, and other expenses) paid to each speaker in connection with speaker programs
conducted during each Reporting Period. GSK shall require certified evaluations by sales
personnel regarding whether a speaker program complied with GSK requirements, and in
the event of non-compliance, GSK shall require the identification of the policy violation
and ensure appropriate follow up activity to address the violation.

      To the extent not already accomplished, GSK shall institute a Speaker Monitoring
Program under which GSK compliance or other appropriately trained GSK personnel
who are independent from the functional area being monitored (hereinafter “GSK
Monitoring Personnel”) shall attend speaker programs during each Reporting Period and

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conduct live audits of the programs (Speaker Program Audits). For the first Reporting
Period, GSK shall conduct live audits of 150 speaker programs and for the subsequent
Reporting Periods, GSK shall conduct live audits of 75 speaker programs. The programs
subject to Speaker Program Audits shall be selected both on a risk-based targeting
approach and on a sampling approach. For each program reviewed, personnel conducting
the Speaker Program Audits shall review slide materials and other materials used as part
of the speaker program, speaker statements made during the program, and GSK
representative activities during the program to assess whether the programs were
conducted in a manner consistent with GSK’s Policies and Procedures. GSK shall
maintain the controls around speaker programs as described above, and shall conduct its
Speaker Program Audits as described above throughout the term of the CIA.

       2.     Observations. As a component of the FFMP, GSK Monitoring Personnel
shall conduct observations of field personnel (e.g., sales personnel, MSLs, HOLs, and
account managers and directors from the PPV group) to assess whether the messages
delivered and materials distributed to HCPs, HCIs, and others are consistent with
applicable legal requirements and with GSK’s Policies and Procedures. These
observations shall be full day ride-alongs with the field personnel (Observations), and
each Observation shall consist of directly observing all meetings between field personnel
and HCPs during the workday. The Observations shall be scheduled throughout the year,
selected by GSK Monitoring Personnel both on a risk-based targeting approach and on a
sampling approach, include each therapeutic area and actively promoted product, and be
conducted across the United States. At the completion of each Observation, GSK
Monitoring Personnel shall prepare a report which includes:

                1)   the identity of the field personnel;
                2)   the identity of the GSK Monitoring Personnel;
                3)   the date and duration of the Observation;
                4)   the product(s) promoted during the Observation;
                5)   an overall assessment of compliance with GSK policy; and
                6)   the identification of any potential off-label promotional activity or other
                     improper conduct by the field personnel.

      GSK Monitoring Personnel shall conduct at least 50 Observations during the first
Reporting Period, and shall conduct at least 25 Observations during the subsequent
Reporting Periods.



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       3.      Records Reviews. As a component of the FFMP, GSK shall also review
various types of records to assess sales personnel interactions with HCPs and HCIs in
order to identify potential or actual compliance violations. For each Reporting Period,
GSK shall develop and implement a plan for conducting Records Reviews associated
with at least three Government Reimbursed Products and a sampling of the personnel
supporting those products in regions across the country (as agreed with the OIG for each
Reporting Period.) The OIG shall have the discretion to identify the three Government
Reimbursed Products to be reviewed for each Reporting Period. The OIG will select the
products based on information about GSK’s products provided by GSK, upon request by
the OIG no later than 60 days prior to the beginning of the Reporting Period, and other
information known to the OIG. If the OIG does not identify the Government Reimbursed
Products to be reviewed within the first 30 days of the Reporting Period, GSK shall select
the three products to be reviewed.

       These Records Reviews shall include the monitoring and review of: (1) records
and systems relating to sales personnel interactions with HCPs and HCIs (including
records from the electronic call reporting system used by sales personnel (which includes
call notes), sales communications from managers, sample distribution records, and
expense reports); (2) requests for medical information about, or inquiries relating to,
Government Reimbursed Products; (3) message recall studies or other similar records
(such as Verbatims) purporting to reflect the details of sales personnel interactions with
HCPs and HCIs; (4) sales personnel e-mails and other electronic records; and (5)
recorded results of the Observations of sales representatives and applicable notes or
information from the sales personnel managers.

        4.     Reporting and Follow-up. Personnel conducting the Speaker Program
Audits, Observations, and Records Reviews shall have access to all relevant records and
information necessary to assess potential or actual compliance violations. Results from
the FFMP audits, including the identification of potential violations of policies and/or
legal requirements, shall be compiled and reported to the Compliance Officer (or
compliance personnel designee) for review and follow-up as appropriate. In the event
that a potential violation of GSK’s Policies and Procedures or of legal or compliance
requirements, including but not limited to potential off-label promotion, is identified
during any aspect of the FFMP, GSK shall investigate the incident consistent with
established policies and procedures for the handling of investigations and shall take all
necessary and appropriate responsive action (including disciplinary action) and corrective
action, including the disclosure of Reportable Events pursuant to Section III.J above, if
applicable. Any compliance issues identified during a Speaker Program Audit,

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Observation and/or Records Review and any corrective action shall be recorded in the
files of the Compliance Officer (or compliance personnel designee).

       GSK shall include a summary of the FFMP and the results of the FFMP as part of
each Annual Report. As part of each Annual Report, GSK also shall provide the OIG
with copies of the Observation report for any instances in which it was determined that
improper promotion occurred and a description of the action(s) that GSK took as a result
of such determinations. GSK shall make the Observation reports for all other
Observations available to the OIG upon request.

        M. Monitoring of Non-Promotional Activities.

        To the extent not already accomplished, within 120 days after the Effective Date
GSK shall develop and implement a monitoring program for the following types of
activities: (1) consultant arrangement activities; (2) research-related activities; (3)
publication activities; and (4) medical education grants. This program shall be referred to
as the Non-Promotional Monitoring Program.

        1. Consultant Arrangement Activities. To the extent that GSK engages U.S.-based
HCPs or HCIs for services that relate to Promotional Functions or to Product Related
Functions other than for speaker programs, research-related activities, or publication
activities (e.g., as a member of an advisory board or to attend consultant meetings), such
HCPs or HCIs shall be referred to herein as Consultants. GSK shall require all
Consultants to enter written agreements describing the scope of work to be performed, the
fees to be paid, and compliance obligations for the Consultants. Consultants shall be paid
according to a centrally managed, pre-set rate structure that is determined based on a fair-
market value analysis conducted by GSK.

        To the extent not already accomplished, within 120 days after the Effective Date,
GSK shall establish a process to develop annual budgeting plans that identify the business
needs for, and the estimated numbers of, various Consultant engagements and activities to
occur during the following year. The annual Consultant budgeting plans shall also
identify the budgeted amounts to be spent on Consultant-related activities. GSK’s
Monitoring Personnel shall be involved in the review and approval of such budgeting
plans, including any subsequent modification of an approved plan. The purpose of this
review shall be to ensure that Consultant arrangements and related events are used for
legitimate purposes in accordance with applicable GSK Policies and Procedures.


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        To the extent not already accomplished, within 120 days after the Effective Date,
GSK shall establish a process to ensure that a needs assessment has been completed to
justify the retention of a Consultant prior to the retention of the Consultant. The needs
assessment shall identify the business need for the retention of the Consultant and provide
specific details about the consulting arrangement (e.g., information about the numbers
and qualifications of the HCPs or HCIs to be engaged, the agenda for the proposed
meeting, and a description of the proposed work to be done and type of work product to
be generated.) Any deviations from the Consultant budgeting plans shall be documented
in the needs assessment form and shall be subject to review and approval by GSK
Monitoring Personnel.

       To the extent not already accomplished, within 120 days after the Effective Date,
GSK shall amend its policies and procedures in a manner designed to ensure that each
Consultant performed the work for which the Consultant was engaged and that, as
applicable, GSK received the work product generated by the Consultant.

        Within 120 days after the Effective Date, GSK shall establish a Consultant
Monitoring Program through which it shall conduct audits for each Reporting Period
(Consultant Program Audits) of at least 50 Consultant arrangements with HCPs for the
first Reporting Period and 25 Consultant arrangements for subsequent Reporting Periods.
 The Consultant Monitoring Program shall review Consultant arrangements both on a
risk-based targeting approach and on a sampling approach. GSK Monitoring Personnel
conducting the Consultant Program Audits shall review needs assessment documents,
consultant contracts, and materials relating to the program or work of the Consultant
(including work product resulting from any program or event), in order to assess whether
the programs and arrangements were conducted in a manner consistent with GSK’s
Policies and Procedures. Results from the Consultant Program Audits, including the
identification of potential violations of policies, shall be compiled and reported to the
Compliance Officer (or compliance personnel designee) for review and follow-up as
appropriate.

       2. Research-Related Activities. To the extent that GSK engages or supports U.S.-
based HCPs or HCIs to conduct Research (as defined above in Section III.B.3.u), such
HCPs and HCIs shall be referred to collectively as “Researchers”. GSK shall require all
Researchers to enter written agreements describing the scope of the clinical research or
other work to be performed, the fees to be paid or support to be given, and compliance
obligations for the Researchers. Researchers retained to conduct Research shall be paid


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according to a centrally managed, pre-set rate structure that is determined based on a fair-
market value analysis conducted by GSK.

        To the extent not already accomplished, within 120 days after the Effective Date,
GSK shall establish an annual budgeting plan for Researchers that identifies the business
or scientific need or scientific opportunity for, and the estimated numbers of, the various
Researcher engagements and activities to occur during the year. The annual Researcher
budgeting plan shall also identify the budgeted amounts to be spent on Researcher-related
activities during the year. GSK Monitoring Personnel shall be involved in the review and
approval of such budgeting plans, including any subsequent modification of an approved
plan. The purpose of this review shall be to ensure that Research arrangements and
related events are used for legitimate purposes in accordance with GSK Policies and
Procedures.

        To the extent not already accomplished, within 120 days after the Effective Date,
GSK shall establish a process to ensure that a needs assessment has been completed to
justify the retention of the Researcher prior to the retention of the Researcher. The needs
assessment shall identify the business or scientific need for the information to be provided
by the Researcher and provide specific details about the research arrangement (including,
for example, information about the numbers and qualifications of the HCPs or HCIs to be
engaged, a description of the proposed research to be done (including the research
protocol) and type of work product to be generated). Any deviations from the Researcher
budgeting plans shall be documented in the needs assessment form (or elsewhere, as
appropriate) and shall be subject to review and approval by GSK Monitoring Personnel.

      To the extent not already accomplished, within 120 days after the Effective Date,
GSK shall amend its policies and procedures in a manner designed to ensure that each
Researcher performed the work for which the Researcher was engaged.

       Within 120 days after the Effective Date, GSK shall establish a Researcher
Monitoring Program through which it shall conduct audits for each Reporting Period
(Researcher Program Audits). GSK shall review 20 Researcher arrangements with HCPs
or HCIs for the first Reporting Period and 10 Researcher Arrangements for subsequent
Reporting Periods. The Researcher Monitoring Program shall review Researcher
arrangements both on a risk-based targeting approach and on a sampling approach. GSK
Monitoring Personnel conducting the Researcher Program Audits shall review needs
assessment documents, proposal and/or protocol documents, approval documents,
contracts, and payments in order to assess whether the programs and arrangements were

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supported by GSK and performed by the Researchers in a manner consistent with GSK’s
Policies and Procedures. Results from the Researcher Program Audits, including
identification of potential violations of policies, shall be compiled and reported to the
Compliance Officer (or compliance personnel designee) for review and follow-up as
appropriate.

        3. Publication Activities. GSK represents that it generally does not engage HCPs
or HCIs exclusively to produce articles or other publications relating to GSK-Sponsored
Research, and that generally HCPs or HCIs who perform this work do so as part of an
engagement for Research Related Activities. To the extent that, in connection with
Research Related Activities, U.S.-based HCPs or HCIs produce articles or other
publications relating to GSK-Sponsored Research (collectively “Publication Activities”)
such HCPs or HCIs shall be referred to as Authors. GSK shall require all Authors to
enter written agreements describing the terms of the arrangement between GSK and the
Author and compliance obligations of the Authors. Authors shall be paid according to the
centrally managed, pre-set rate structure that is established for Research Related
Activities but will not be paid separately for authorship or other publication-specific
activity (provided that GSK may reimburse travel expenses incurred to make public
presentations of data from GSK-Sponsored Research Studies). If, in a departure from
usual practice, GSK engages an HCP or HCI for a stand-alone project involving the
production of an article or other publication relating to GSK-Sponsored Research (e.g., a
review article summarizing research in a field that includes GSK-Sponsored Research),
GSK will require a written agreement with the same compliance obligations as it requires
of Author generally and will pay for the work according to the centrally managed, pre-set
rate structure as applied to Consultants generally.

       To the extent not already accomplished, within 120 days after the Effective Date,
GSK shall establish a process to develop annual plans that identify the business needs for
and the estimated numbers of various Publication Activities (Publications Plans). The
annual Publications Plan shall also identify the budgeted amounts to be spent on
Publication Activities. GSK’s U.S. compliance personnel shall be involved in the review
and approval of such annual Publications Plans, including any modification of an
approved plan. The purpose of this review shall be to ensure that Publication Activities
and related events are used for legitimate purposes in accordance with GSK Policies and
Procedures.

     To the extent not already accomplished, within 120 days after the Effective Date,
GSK shall establish a needs assessment process for Publication Activities. This process

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shall ensure that a needs assessment has been completed prior to the retention of an
Author for a Publication Activity. The needs assessment shall provide specific details
about Publication Activities to be performed (including a description of the proposed
work to be done, type of work product to be generated, and the purpose for the work.)
Any deviations from the Publications Plan shall be documented in the needs assessment
form (or elsewhere, as appropriate) and shall be subject to review and approval by GSK
Monitoring Personnel.

        Within 120 days after the Effective Date, GSK shall establish a Publication
Monitoring Program through which it shall conduct audits for each Reporting Period of at
least 50 Publication Activities for the first Reporting Period and 25 Publication Activities
for subsequent Reporting Periods. The Publication Monitoring Program shall select
publications for review both on a risk-based targeting approach and on a sampling
approach. GSK Monitoring Personnel conducting the Publication Monitoring Program
shall review needs assessment documents, proposal documents, approval documents,
contracts, payments and materials relating to the Publication Activities (including work
product resulting from the Activities), in order to assess whether the activities were
conducted in a manner consistent with GSK’s Policies and Procedures. Results from the
Publication Monitoring Programs, including the identification of potential violations of
policies, shall be compiled and reported to the Compliance Officer (or compliance
personnel designee) for review and follow-up as appropriate.

               4.      Medical Education Grant Activities. GSK represents that it provides
grants for medical education of HCPs on a limited basis and that it provides such grants
only to educational providers (including academic medical centers, hospital or delivery
systems, or professional medical associations that represent HCPs who deliver patient
care) that satisfy pre-set criteria established by GSK. Potentially eligible educational
providers are selected annually and invited to submit grant proposals for a future fiscal
year. GSK represents that it does not provide funding to any commercial providers of
medical education.

      GSK’s Medical Affairs organization reviews the grant proposals from the potential
providers and makes recommendations for approval based on objective criteria,
compliance policies and procedures, and budget availability. GSK represents that its
commercial organization (including the sales and marketing departments) has no
involvement in, or influence over, the review and approval of medical education grants.
GSK shall continue the medical education grant process described above (or an
equivalent process) throughout the term of the CIA, and shall notify the OIG in writing at

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least 60 days prior to the implementation of any new system subsequent to the Effective
Date.

        To the extent not already accomplished, within 120 days after the Effective Date,
GSK shall establish a Grants Monitoring Program through which it shall conduct audits
for each Reporting Period of at least 10 medical education grants for the first Reporting
Period and 5 medical education grants for subsequent Reporting Periods. The Grants
Monitoring Program shall select grants for review both on a risk-based targeting approach
and on a sampling approach. GSK Monitoring Personnel conducting the Grants
Monitoring Program shall review proposal documents (including grant requests),
approval documents, contracts, payments and materials relating to the grant office’s
review of the requests, and documents and materials relating to the grants and any events
or activities funded through the grants in order to assess whether the activities were
conducted in a manner consistent with GSK’s Policies and Procedures. Results from the
Grant Monitoring Programs, including the identification of potential violations of
policies, shall be compiled and reported to the Compliance Officer (or compliance
personnel designee) for review and follow-up as appropriate.

               5. Follow Up Reviews and Reporting. In the event that a potential violation
of GSK’s Policies and Procedures or of legal or compliance requirements, including but
not limited to potential improper promotion, are identified during any aspect of the Non-
Promotional Monitoring Program, GSK shall investigate the incident consistent with
established Policies and Procedures for the handling of investigations and shall take all
necessary and appropriate responsive action (including disciplinary action) and corrective
action, including the disclosure of Reportable Events pursuant to Section III.J above, if
applicable. Any compliance issues identified during any Non-Promotional Monitoring
Program referenced above, and any corrective action, shall be recorded in the files of the
U.S. Compliance Department.

        GSK shall include a summary of the Non-Promotional Monitoring Program and
the results of the Non-Promotional Monitoring Program as part of each Annual Report.
As part of each Annual Report, GSK also shall provide the OIG with descriptions of any
instances identified through the Non-Promotional Monitoring Program in which it was
determined that improper promotion of Government Reimbursed Products occurred or the
activities violated GSK’s requirements or Policies and Procedures, and a description of
the action(s) that GSK took as a result of such determinations. GSK shall make the
documents relating to the Non-Promotional Monitoring Program available to the OIG
upon request.

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       N. Notices to Health Care Providers, Entities, Payers. Within 90 days after the
Effective Date, GSK shall send, by first class mail, postage prepaid with delivery
confirmation, a notice containing the language set forth below to all HCPs and HCIs that
GSK currently details. This notice shall be dated and shall be signed by GSK’s President.
The body of the letter shall state the following:

                As you may be aware, GSK recently entered into a global civil, criminal,
                and administrative settlement with the United States and individual states in
                connection with the promotion and use of some of its products. This letter
                provides you with additional information about the settlement, explains
                GSK’s commitments going forward, and provides you with access to
                information about those commitments.

                In general terms, the Government alleged that GSK unlawfully promoted
                Wellbutrin, Paxil, Advair, Lamictal, and Zofran for uses not approved by
                the Food & Drug Administration (FDA) and that GSK engaged in other
                improper conduct relating to several of its other drugs including Avandia.
                To resolve these matters, GSK pled guilty to three misdemeanor criminal
                violations of the Federal Food, Drug & Cosmetic Act and agreed to pay a
                criminal fine of $1 billion. In addition, the Government alleged that GSK
                violated the False Claims Act and GSK entered into three civil settlements
                to resolve these allegations pursuant to which GSK agreed to pay $ 2 billion
                to the Federal Government and State Medicaid programs. More
                information about this settlement may be found at the following: [GSK
                shall include a link to the USAO, OCL, and GSK websites in the letter.]

                As part of the federal settlement, GSK also entered into a five-year
                corporate integrity agreement (CIA) with the Office of Inspector General of
                the U.S. Department of Health and Human Services. The CIA is available
                at http://oig.hhs.gov/fraud/cia/index.html. Under this agreement, GSK
                agreed to undertake certain obligations designed to promote compliance
                with Federal health care program and FDA requirements. We also agreed
                to notify healthcare providers about the settlement and inform them that
                they can report any questionable practices by GSK’s representatives to
                GSK’s Compliance Department or the FDA.

                GSK is fully committed to meeting the terms of the CIA and to sales and
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                marketing practices that promote compliance. We have fundamentally
                changed our procedures for compliance, marketing and selling in the United
                States. For example, we now compensate our medical sales representatives
                based on the quality of service they deliver to customers, not on sales
                targets.

                Please call GSK at XXXX or visit us at [insert name of web link] if you
                have questions about the settlement referenced above or to report any
                instances in which you believe that a GSK representative inappropriately
                promoted a product or engaged in other questionable conduct.
                Alternatively, you may report any improper conduct associated with
                prescription drug marketing committed by a GSK representative to the
                FDA’s Office of Prescription Drug Promotion at 301-796-1200. You should
                direct medical questions or concerns about the products to XXXXX.

Within 90 days after the Effective Date, GSK shall send to all Payers with whom GSK
currently has contracts or enters into contracts for formulary access or rebates (including
all state Medicaid programs), by first class mail, postage prepaid with delivery
confirmation, a notice containing the language set forth. This notice shall be dated and
shall be signed by GSK’s President. The body of the letter shall state the following:

                As you may be aware, GSK recently entered into a global civil, criminal,
                and administrative settlement with the United States and individual states in
                connection with the promotion and of some of its products. This letter
                provides you with additional information about the settlement, explains
                GSK’s commitments going forward, and provides you with access to
                information about those commitments.

                In general terms, the Government alleged that GSK unlawfully promoted
                Wellbutrin, Paxil, Advair, Lamictal, and Zofran for uses not approved by
                the Food & Drug Administration (FDA) and that GSK engaged in other
                improper conduct relating to several of its other drugs including Avandia.
                To resolve these matters, GSK pled guilty to three misdemeanor criminal
                violations of the Federal Food, Drug & Cosmetic Act (FDCA) and agreed
                to pay a criminal fine of $ 1 billion. In addition, the Government alleged
                that GSK violated the False Claims Act and GSK entered into three civil
                settlements to resolve these allegations pursuant to which GSK agreed to
                pay $ 2 billion to the Federal Government and State Medicaid programs.
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                More information about this settlement may be found at the following:
                [GSK shall include a link to the USAO, OCL, and GSK websites in the
                letter.]

                As part of the federal settlement, GSK also entered into a five-year
                corporate integrity agreement (CIA) with the Office of Inspector General of
                the U.S. Department of Health and Human Services. The CIA is available
                at http://oig.hhs.gov/fraud/cia/index.html. Under this agreement, GSK
                agreed to undertake certain obligations designed to promote compliance
                with Federal health care program and FDA requirements. We also agreed
                to notify payers about the settlement and inform them that they can report
                any questionable practices by GSK’s representatives to GSK’s Compliance
                Department or the FDA.

                GSK is fully committed to meeting the terms of the CIA and to sales and
                marketing practices that promote compliance. We have fundamentally
                changed our procedures for compliance, marketing and selling in the United
                States. For example, we now compensate our medical sales representatives
                based on the quality of service they deliver to customers, not on sales
                targets.

                In addition, GSK is committed to promoting its products in a manner
                consistent with the FDA approved label for the product. GSK will pay
                rebates under applicable agreements (Rebates) involving a prior
                authorization or formulary requirement (a “Restriction”) in relation to the
                drugs at issue in this settlement, and will not reduce or alter its Rebates due
                to such a Restriction, provided that the Restriction: (1) does not limit any
                patient from receiving such drugs, including at the point of sale, for uses
                that are consistent with the FDA-approved label for each product; (2) is
                applied consistently across the therapeutic class; (3) is consistent with
                GSK’s policies, procedures and financial guidelines; and, (4) does not
                require the use of another manufacturer’s drug for a use that is not
                consistent with the FDA approved label for the other product. This
                paragraph shall not be interpreted to require GSK to contract or not to
                contract with any Payer. GSK shall administer its agreements with Payers
                in a manner consistent with the requirements of this paragraph, including
                agreeing to amend or modify applicable agreements to be consistent with
                this provision.

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                Please call GSK at XXXX or visit us at [insert name of web link] if you
                have questions about the settlement referenced above or to report any
                instances in which you believe that a GSK representative inappropriately
                promoted a product or engaged in other questionable conduct.
                Alternatively, you may report any improper conduct associated with
                prescription drug marketing committed by a GSK representative to the
                FDA’s Office of Prescription Drug Promotion at 301-796-1200. You should
                direct medical questions or concerns about the products to XXXXX.

        The Compliance Officer (or a designee) shall maintain a log of all calls and
messages received in response to the notices. The log shall include a record and summary
of each call and message received (whether anonymous or not), the status of the call or
message, and any corrective action taken in response to the call or message. The log of
all calls and messages received in response to the notices shall be made available to OIG
upon request. As part of the Implementation Report and each Annual Report, GSK shall
provide to the OIG a summary of the calls and messages received.

        O. Reporting of Physician Payments.

        Prior to the Effective Date, GSK began a voluntary Physician Payment
Transparency Program through which GSK posted on its corporate website quarterly
reports of payments to physicians for speaking and consulting fees. GSK shall continue
to post such reports until the Annual Reporting requirements of Section III.O.1 take
effect.

                1.       Reporting of Payment Information.

       Quarterly Reporting: On or before March 1, 2013, GSK shall post in a prominent
position on its website an easily accessible and readily searchable listing of all U.S.-based
physicians and Related Entities who or which received Payments (as defined in Section
III.O.2) directly or indirectly from GSK during the fourth quarter of 2012 and the
aggregate value of such Payments. Thereafter, 60 days after the end of each calendar
quarter, GSK shall post on its website a report of the cumulative value of the Payments
provided to each physician and Related Entity during the preceding calendar quarter.

      Annual Reporting: On or before March 1, 2013, and 60 days after the end of each
subsequent calendar year, GSK shall post on its website a report of the cumulative value
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of the Payments provided to all U.S.-based physicians and Related Entities directly or
indirectly from GSK during the prior applicable calendar year. Each quarterly and annual
report shall be easily accessible and readily searchable.

        Each listing made pursuant to this Section III.O shall include a complete list of all
individual physicians or Related Entities to whom or which GSK made Payments in the
preceding quarter or year (as applicable). Each listing shall be arranged alphabetically
according to the physicians’ last name or name of Related Entity. The Payment amounts
in the lists shall be reported in the actual amount paid for all physicians or Related Entity
on the listing. For each physician, the applicable listing shall include the following
information: i) physician’s full name; ii) name of any Related Entities (if applicable); iii)
city and state that the physician has provided to GSK for contact purposes; and (iv) the
aggregate value of the payment(s) in the preceding quarter or year (as applicable). If
payments for multiple physicians have been made to one Related Entity, the aggregate
value of all payments to the Related Entity will be the reported amount.

                2.       Definitions and Miscellaneous Provisions.

                       (i)   GSK shall continue to make each annual listing and the most
recent quarterly listing of Payments available on its website during the term of the CIA.
GSK shall retain and make available to OIG, upon request, all supporting documentation,
correspondence, and records related to all applicable Payments and to the annual and/or
quarterly listings of Payments. Nothing in this Section III.O affects the responsibility of
GSK to comply with (or liability for noncompliance with) all applicable Federal health
care program requirements and state laws as they relate to all applicable Payments made
to physicians or Related Entity.

                      (ii)   For purposes of Section III.O.1, “Payments” is defined to
include all “payments or other transfers of value” as that term is defined in §1128G(e)(10)
under Section 6002 of the Affordable Care Act and any regulations promulgated
thereunder. The term Payments includes, by way of example, the types of payments or
transfers of value enumerated in §1128G(a)(1)(A)(vi) of the Affordable Care Act. The
term includes all payments or transfers of value made to Related Entities on behalf of, at
the request of, for the benefit or use of, or under the name of a physician for whom GSK
would otherwise report a Payment if made directly to the physician. The term Payments
also includes any payments or transfers of value made, directly by GSK or by a vendor
retained by GSK to a physician or Related Entity in connection with, or under the
auspices of, a co-promotion arrangement.

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                      (iii) For purposes of its annual and quarterly website postings as
described above, and only with regard to payments made pursuant to product research or
development agreements and clinical investigations as set forth in § 1128G(c)(E) of the
Affordable Care Act, GSK may delay the inclusion of such payments on its website
listings consistent with § 1128G(c)(E) of the Act and any subsequent regulations
promulgated thereunder.

                      (iv) The term “Payments” does not include transfers of value or
other items that are not included in or are excluded from the definition of “payment” as
set forth in § 1128G(e)(10) under Section 6002 of the Affordable Care Act and any
regulations promulgated thereunder.

                      (v)    For purposes of this Section III.O, the term “Related Entity”
is defined to be any entity by or in which any physician receiving Payments is employed,
has tenure, or has an ownership interest.

        P. Other Transparency/Disclosure Initiatives.

              GSK represents that it posts on its company website the following
information with respect to both grants and charitable contributions in the United States:
GSK shall continue to post (and provide updates to) the above-described information
about grants and charitable contributions throughout the term of this CIA. GSK shall
notify the OIG in writing at least 60 days prior to any change in the substance of its
policies regarding the funding of grants and charitable contributions or posting of the
above-referenced information relating to such funding.

        GSK shall require all Consultants to comply fully with all applicable disclosure
obligations relating to their relationship with GSK that may be externally imposed on the
Consultants based on their affiliation with formulary or P&T committees or committees
associated with the development of treatment protocols or standards. GSK shall maintain
this requirement throughout the term of this CIA. GSK represents that within 120 days
after the Effective Date, GSK shall, if necessary, amend its policies relating to
Consultants to explicitly state that GSK requires all Consultants to fully comply with all
applicable disclosure obligations relating to their relationship with GSK that may be
externally imposed on the Consultants based on their affiliation with formulary, P&T
committees, or committees associated with the development of treatment protocols or
standards or that are required by any HCI, medical committee, or other medical or
scientific organization with which the Consultants are affiliated. In addition, for any

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amendment to its contracts with Consultants and in any new contracts with Consultants
entered into after 150 days following the Effective Date, GSK shall include an explicit
requirement that the Consultants fully comply with all applicable disclosure requirements,
as referenced above in this paragraph. GSK shall continue these disclosure requirements
throughout the term of this CIA.

             To the extent not already accomplished, within 120 days after the Effective
Date, GSK shall post or make available information on its company website about FDA
postmarketing commitments (PMCs). The GSK website or links included therein shall
provide access to general information about the PMC process, descriptions of ongoing
GSK studies, and information about the nature and status of the post-marketing
commitments. GSK shall continue to post or make available the above-described
information about PMCs on its website or links included therein throughout the term of
this CIA.

IV.     CHANGES TO BUSINESS UNITS OR LOCATIONS

       A. Change or Closure of Unit or Location. In the event that, after the Effective
Date, GSK changes locations or closes a business unit or location related to or engaged in
any of the Covered Functions or in CGMP Activities, GSK shall notify OIG of this fact as
soon as possible, but no later than within 30 days after the date of change or closure of the
location.

        B. Purchase or Establishment of New Unit or Location. In the event that, after the
Effective Date, GSK purchases or establishes a new business unit or location related to or
engaged in any of the Covered Functions or in cGMP Activities, GSK shall notify OIG no
later than five days after the date that the purchase or establishment of the new business
unit or location is publicly disclosed by GSK. This notification shall include the address
of the new business unit or location, phone number, fax number, the location’s Federal
health care program provider number and/or supplier number(s) (if applicable); and the
name and address of each Federal health care program contractor to which GSK currently
submits claims (if applicable). Each new business unit or location and all Covered
Persons or Manufacturing Covered Persons at each new business unit or location shall be
subject to the applicable requirements of this CIA.

       C. Sale of Unit or Location. In the event that, after the Effective Date, GSK
proposes to sell any or all of its business units or locations that are subject to this CIA
(including the terms of Appendix D), GSK shall notify OIG of the proposed sale at no

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later than five days after the sale is publicly disclosed by GSK. This notification shall
include a description of the business unit or location to be sold, a brief description of the
terms of the sale, and the name and contact information of the prospective purchaser.
This CIA shall be binding on the purchaser of such business unit or location, unless
otherwise determined and agreed to in writing by the OIG.

V.      IMPLEMENTATION AND ANNUAL REPORTS

       A. Implementation Report. Within 150 days after the Effective Date, GSK shall
submit a written report to OIG summarizing the status of its implementation of the
requirements of this CIA (Implementation Report). The Implementation Report shall, at a
minimum, include:

              1. the name, address, phone number, and position description of the
Compliance Officer required by Section III.A.1, and a summary of other noncompliance
job responsibilities the Compliance Officer may have;

              2. the names and positions of the members of the Compliance Committee
required by Section III.A.2;

              3. the names of the members of the Board of Directors referenced in
Section III.A.3;

                4. the names of the DCOs required by Section III.A.4;

                5. the names and positions of the Certifying Employees required by Section
III.A.6;
                6. a copy of GSK’s Code of Conduct required by Section III.B.1;

               7. the number of individuals required to complete the Code of Conduct
certification required by Section III.B.1, the percentage of individuals who have
completed such certification, and an explanation of any exceptions (the documentation
supporting this information shall be available to OIG, upon request);

               8. (a) a copy of the letter (including all attachments) required by Section
II.C.9 and III.B.2 sent to each party employing Third Party Personnel; (b) a list of all
existing co-promotion and other applicable agreements between GSK and the party


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employing Third Party Personnel; and (c) a description of each entity’s response to
GSK’s letter;

             9. a summary of all Policies and Procedures required by Section III.B.3 (a
copy of such Policies and Procedures shall be made available to OIG upon request);

                 10. the following information regarding each type of training required by
Section III.C:

                          a. a description of such training, including a summary of the topics
                          covered, the length of sessions, and a schedule of training sessions;
                          and

                          b. the number of individuals required to participate in General
                          Training and Board Member Training, percentage of individuals
                          actually trained, and an explanation of any exceptions.

A copy of all training materials and the documentation supporting this information shall
be available to OIG, upon request.2

              11. the following information regarding the IRO(s): (a) identity, address,
and phone number; (b) a copy of the engagement letter; and (c) information to
demonstrate that the IRO has the qualifications outlined in Appendix A; (d) a summary
and description of any and all current and prior engagements and agreements between
GSK and the IRO; and (e) a certification from the IRO regarding its professional
independence and objectivity with respect to GSK;

                 12. a description of the Disclosure Program required by Section III.F;

              13. a description of the process by which GSK fulfills the requirements of
Section III.G regarding Ineligible Persons;

              14. a certification by the Compliance Officer that the notices required by
Section III.N was mailed to each HCP, HCI, and Payer, the number of HCPs, HCIs and

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 In Addition to the Implementation Report, GSK shall submit to OIG by January 30, 2013 a letter containing the
information specified in Section V.A.10 as it pertains to Specific Training and Management Training as required by
Section III.C.

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Payers to whom or which the notice was mailed, a sample copy of the notices required by
Section III.N, and a summary of the calls or messages received in response to the notices;

              15. a certification from the Compliance Officer that, if required under
Section III.O and to the best of his/her knowledge, information regarding Payments has
been posted on GSK’s website as required by Section III.O;

              16. a list of all of GSK’s locations (including locations and mailing
addresses); the corresponding name under which each location is doing business; the
corresponding phone numbers and fax numbers; each location’s Federal health care
program provider number and/or supplier number(s) (if applicable); and the name and
address of any each Federal health care program contractor to which GSK currently
submits claims (if applicable);

             17. a description of GSK’s corporate structure, including identification of
any parent and sister companies, subsidiaries, and their respective lines of business; and

                18. the certifications required by Section V.D.

        B. Annual Reports. GSK shall submit to OIG annually a report with respect to the
status of, and findings regarding, GSK’s compliance activities for each of the five
Reporting Periods (Annual Report).

Each Annual Report shall include, at a minimum:

              1. any change in the identity, position description, or other noncompliance
job responsibilities of the Compliance Officer and any change in the membership of the
Compliance Committee, the Board of Directors, the DCOs or the group of Certifying
Employees described in Sections III.A.2-4 and 6;

                2. a copy of the resolution by the Board required by Section III.A.3;

             3. the number of individuals required to review GSK’s Code of Conduct
and complete the certifications required by Section III.B.1, the percentage of individuals
who have completed such certifications, and an explanation of any exceptions (the
documentation supporting this information shall be available to OIG, upon request);



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               4. (a) a copy of the letter (including all attachments) required by Section
II.C.9 and III.B.2 sent to each party employing Third Party Personnel; (b) a list of all
existing co-promotion and other applicable agreements between GSK and the party
employing Third Party Personnel; and (c) a description of each entity’s response to
GSK’s letter;

               5. a summary of any significant changes or amendments to the Policies and
Procedures required by Section III.B, including any changes to the Research and
Publication Practices and Authorship-Related Practices, and the reasons for such changes
(e.g., change in applicable requirements);

                 6. the following information regarding each type of training required by
Section III.C:

                         a. a description of the initial and annual training, including a
                         summary of the topics covered, the length of sessions, and a
                         schedule of training sessions; and

                         b. the number of individuals required to complete each type of
                         training specified in Section III.C, percentage of individuals who
                         completed the training, and an explanation of any exceptions.

A copy of all training materials and the documentation supporting this information shall
be available to OIG, upon request.

              7. a summary of any significant changes to the TRACER program required
by Section III.D;

            8. a complete copy of all reports prepared pursuant to Section III.E, and
Appendices B-C along with a copy of the IRO’s engagement letters;

               9. GSK’s response to the reports prepared pursuant to the reviews outlined
in Section III.E and Appendices B-C, along with corrective action plan(s) related to any
issues raised by the reports;

              10. a summary and description of any and all current and prior
engagements and agreements between GSK and the IRO (if different from what was
submitted as part of the Implementation Report);
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              11. certifications from the IRO regarding its professional independence and
objectivity with respect to GSK;

                12. a summary of the disclosures in the disclosure log required by Section
III.F that relate to Federal health care programs, FDA requirements (including CGMP
Activities), or Government Reimbursed Products;

              13. any changes to the process by which GSK fulfills the requirements of
Section III.G regarding Ineligible Persons;

              14. a summary of any changes to GSK’s employee and executive incentive
compensation and recoupment programs required by Section III.H and Appendix E and
the information regarding Triggering Events and Recoupment Determinations required to
be reported pursuant to Section E of Appendix E;

               15. a summary describing any ongoing investigation or legal proceeding
required to have been reported pursuant to Section III.I. The summary shall include a
description of the allegation, the identity of the investigating or prosecuting agency, and
the status of such investigation or legal proceeding;

                16. a summary of Reportable Events (as defined in Section III.J) identified
during the Reporting Period and the status of any corrective and preventative action
relating to all such Reportable Events;

              17. a summary describing any written communication with the FDA
required to have been reported pursuant to Section III.K. This summary shall include a
description of the matter and the status of the matter;

               18. a summary of the FFMP and the results of the FFMP required by
Section III.L, including copies of the Observation report for any instances in which it was
determined that improper promotion occurred and a description of the action(s) that GSK
took as a result of such determinations;

              19. a summary of the Non-Promotional Monitoring Program and the results
of the program described in Section III.M, including detailed description of any identified
instances in which it was determined that the activities violated GSK’s policies or that
improper promotion of Government Reimbursed Products occurred and a description of

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the action(s) GSK took as a result of such determinations;

             20. a summary of the calls and messages received in response to the notices
required by Section III.N and the disposition of those calls and messages;

            21. a certification from the Compliance Officer that information regarding
Payments has been posted on GSK’s website as required by Section III.O;

              22. a description of all changes to the most recently provided list of GSK’s
locations (including addresses) as required by Section V.A.16; the corresponding name
under which each location is doing business; and the corresponding phone numbers and
fax numbers;

               23. a description of any additional, updated, supplemental or changed
information submitted to any Compendia in accordance with Section III.B.3.t; and a
description of all arrangements, processing fees, and other payments or financial support
(if any) with or made to any Compendia evaluated during the annual review described in
Section III.B.3.t; and

                24. the certifications required by Section V.D.

       The first Annual Report shall be received by OIG no later than 60 days after the
end of the first Reporting Period. Subsequent Annual Reports shall be received by OIG
no later than the anniversary date of the due date of the first Annual Report.

       C. IRO Initial Report. By March 1, 2013, GSK shall submit to OIG a report with
respect to the status of, and findings regarding, the IRO Reviews for the first IRO
Reporting Period (IRO Initial Report).

        The IRO Initial Report shall include at a minimum:

            1. a complete copy of all reports prepared pursuant to Section III.E, and
Appendix B along with a copy of the IRO’s engagement letters;

               2. GSK’s response to the reports prepared pursuant to the reviews outlined
in Section III.E and Appendix B, along with corrective action plan(s) related to any issues
raised by the reports;


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             3. a summary and description of any and all current and prior engagements
and agreements between GSK and the IRO (if different from what was submitted as part
of the Implementation Report);

              4. certifications from the IRO regarding its professional independence and
objectivity with respect to GSK;

        D. Certifications.

               1. Certifying Employees: In each Annual Report, GSK shall include the
certifications of Certifying Employees as required by Section III.A.6;

            2. Compliance Officer: In the Implementation Report, and each Annual
Report, GSK shall include the following individual certification by the Compliance
Officer:

             a. to the best of his or her knowledge, except as otherwise described in the
report, GSK is in compliance with the requirements of this CIA;

               b. he or she has reviewed the report and has made reasonable inquiry
regarding its content and believes that the information in the report is accurate and
truthful;

               c. to the best of his or her knowledge, GSK has complied with its
obligations under the Settlement Agreement: (1) not to resubmit to any Federal health
care program Payers any previously denied claims related to the Covered Conduct
addressed in the Settlement Agreement, and not to appeal any such denials of claims; (2)
not to charge to or otherwise seek payment from federal or state Payers for unallowable
costs (as defined in the Settlement Agreement); and (3) to identify and adjust any past
charges or claims for unallowable costs;

              d. GSK’s: (1) Policies and Procedures as referenced in Section III.B.3
above; (2) templates for standardized contracts and other similar documents; and (3) the
training materials used for purposes of Section III.C all have been reviewed by competent
legal counsel and have been found to be in compliance with all applicable Federal health
care program and FDA requirements. In addition, GSK’s promotional materials
containing claims or information about Government Reimbursed Products and other
materials and information intended to be disseminated outside GSK have been reviewed

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by competent regulatory, medical, or, as appropriate, legal counsel in accordance with
applicable Policies and Procedures to ensure that legal, medical, and regulatory concerns
have been addressed by GSK and brought to the attention of the appropriate individuals
when required, and that the materials and information when finally approved are in
compliance with all applicable Federal health care program and FDA requirements. If the
applicable legal requirements have not changed, after the initial review of the documents
listed above, only material changes to the documents must be reviewed by competent
legal counsel. The certification shall include a description of the document(s) reviewed
and approximately when the review was completed. The documentation supporting this
certification shall be available to OIG, upon request;

               e. GSK’s Target Plans for Government Reimbursed Products were
reviewed at least once during the Reporting Period (consistent with Section III.B.3.j) and,
for each product the Target Plans were found to be consistent with GSK’s policy
objectives as referenced above in Section III.B.3.j; and

            f. GSK has maintained an employee and executive incentive compensation
and recoupment program in accordance with the terms set forth above in Section III.H
and Appendix E.

              3. Certification for the IRO Initial Report: In the IRO Initial Report, GSK
shall include an individual certification by the Compliance Officer that he or she has
reviewed the report and has made reasonable inquiry regarding its content and believes
the information in the report is accurate and truthful.

        E. Designation of Information. GSK shall clearly identify any portions of its
submissions that it believes are trade secrets, or information that is commercial or
financial and privileged or confidential, and therefore potentially exempt from disclosure
under the Freedom of Information Act (FOIA), 5 U.S.C. § 552. GSK shall refrain from
identifying any information as exempt from disclosure if that information does not meet
the criteria for exemption from disclosure under FOIA.




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VI.     NOTIFICATIONS AND SUBMISSION OF REPORTS

       Unless otherwise stated in writing after the Effective Date, all notifications and
reports required under this CIA shall be submitted to the following entities:

                OIG:            Administrative and Civil Remedies Branch
                                Office of Counsel to the Inspector General
                                Office of Inspector General
                                U.S. Department of Health and Human Services
                                Cohen Building, Room 5527
                                330 Independence Avenue, S.W.
                                Washington, DC 20201
                                Telephone: 202.619.2078
                                Facsimile: 202.205.0604

                GSK:            Michael L. Shaw
                                Vice President & Compliance Officer
                                 North America Pharmaceuticals
                                GlaxoSmithKline
                                Three Franklin Plaza
                                200 N. 16th Street
                                Philadelphia, PA 19102
                                Telephone: 215.751.7337
                                Facsimile: 215.751.7547

Unless otherwise specified, all notifications and reports required by this CIA may be
made by certified mail, overnight mail, hand delivery, or other means, provided that there
is proof that such notification was received. For purposes of this requirement, internal
facsimile confirmation sheets do not constitute proof of receipt. Upon request by OIG,
GSK may be required to provide OIG with an electronic copy of each notification or
report required by this CIA in searchable portable document format (pdf), either instead
of or in addition to, a paper copy.

VII.    OIG INSPECTION, AUDIT, AND REVIEW RIGHTS

       In addition to any other rights OIG may have by statute, regulation, or contract,
OIG or its duly authorized representative(s) may examine or request copies of GSK’s or
an applicable GSK Affiliate’s books, records, and other documents and supporting
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materials and/or conduct on-site reviews of any of GSK’s locations for the purpose of
verifying and evaluating: (a) GSK’s or an applicable GSK Affiliate’s compliance with
the terms of this CIA (including Appendix D); and (b) GSK’s or an applicable GSK
Affiliate’s compliance with the requirements of the Federal health care programs in which
it participates and with all applicable FDA requirements (including CGMP Activities).
The documentation described above shall be made available by GSK or the applicable
GSK Affiliate to OIG or its duly authorized representative(s) at all reasonable times for
inspection, audit, or reproduction. Furthermore, for purposes of this provision, OIG or its
duly authorized representative(s) may interview any of GSK’s or the applicable GSK
Affiliate’s employees, contractors, or agents who consent to be interviewed at the
individual’s place of business during normal business hours or at such other place and
time as may be mutually agreed upon between the individual and OIG. GSK or the
applicable GSK Affiliate shall assist OIG or its duly authorized representative(s) in
contacting and arranging interviews with such individuals upon OIG’s request. GSK’s or
the applicable GSK Affiliate’s employees may elect to be interviewed with or without a
representative of GSK or the applicable GSK Affiliate present.

VIII. DOCUMENT AND RECORD RETENTION

       GSK and its Affiliates shall maintain for inspection all documents and records
relating to reimbursement from the Federal health care programs and to compliance with
this CIA (including Appendix D) until the end of 2018 (or longer if otherwise required by
law) from the Effective Date.

IX.     DISCLOSURES

       Consistent with HHS’s FOIA procedures, set forth in 45 C.F.R. Part 5, OIG shall
make a reasonable effort to notify GSK prior to any release by OIG of information
submitted by GSK pursuant to its obligations under this CIA and identified upon
submission by GSK as trade secrets, or information that is commercial or financial and
privileged or confidential, under the FOIA rules. With respect to such releases, GSK
shall have the rights set forth at 45 C.F.R. § 5.65(d).

X.      BREACH AND DEFAULT PROVISIONS

        GSK is expected to fully and timely comply with all of the CIA obligations.



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       A. Stipulated Penalties for Failure to Comply with Certain Obligations. As a
contractual remedy, GSK and OIG hereby agree that failure to comply with certain
obligations as set forth in this CIA may lead to the imposition of the following monetary
penalties (hereinafter referred to as “Stipulated Penalties”) in accordance with the
following provisions.

               1. A Stipulated Penalty of $2,500 (which shall begin to accrue on the day
after the date the obligation became due) for each day GSK fails to establish and
implement any of the following obligations as described in Section III:

                         a. a Compliance Officer;

                         b. a Compliance Committee;

                         c. the Board compliance obligations, including the resolution from
                         the Board;

                         d. the management accountability and certification obligations;

                         e. a written Code of Conduct;

                         f. written Policies and Procedures;

                         g. the training of Covered Persons, Relevant Covered Persons,
                         Management, and Board Members;

                         h. a TRACER program;

                         i. a Disclosure Program;

                         j. Ineligible Persons screening and removal requirements;

                         k. an employee and executive incentive compensation and
                         recoupment program as required by Section III.H and Appendix E;

                         l. notification of Government investigations or legal proceedings as
                         required by Section III.I;


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                         m. reporting of Reportable Events as required in Section III.J;

                         n. notification of written communications with FDA as required by
                         Section III.K;

                         o. a program for FFMP as required by Section III.L;

                         p. a program for Non-Promotional Monitoring Program as required
                         by Section III.M;

                         q. notifications to HCPs, HCIs, and Payers as required by Section
                         III.N; and

                         r. posting of any Payments as required by Section III.O.

               2. A Stipulated Penalty of $2,500 (which shall begin to accrue on the day
after the date the obligation became due) for each day GSK fails to engage and use an
IRO as required in Section III.E and Appendices A-C.

               3. A Stipulated Penalty of $2,500 (which shall begin to accrue on the day
after the date the obligation became due) for each day GSK fails to submit the
Implementation Report or any Annual Report to OIG in accordance with the requirements
of Section V of the CIA or of Appendix D by the deadlines for submission.

               4. A Stipulated Penalty of $2,500 (which shall begin to accrue on the day
after the date the obligation became due) for each day GSK fails to submit any IRO
Review report (including the IRO Initial Report) in accordance with the requirements of
Sections III.E and III.V and Appendices A-C.

               5. A Stipulated Penalty of $2,500 (which shall begin to accrue on the day
after the date the obligation became due) for each day GSK fails to establish and
implement any of the following obligations as described in Section III of Appendix D:

                         a. a GMS Compliance Officer;

                         b. a GMS Compliance Committee;

                         c. the Board compliance obligations, including the resolution from
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                         the Board;

                         d. a written Code of Conduct;

                         e. written Policies and Procedures;

                         f. the training of Manufacturing Covered Persons;

                         g. cGMP Requirements;

                         h. reporting of Manufacturing Reportable Events; or

                         i. reporting of a recall under Section III.F of Appendix D.

                6. A Stipulated Penalty of $1,500 for each day GSK or a GSK Affiliate
fails to grant access as required in Section VII. (This Stipulated Penalty shall begin to
accrue on the date GSK or a GSK Affiliate fails to grant access.)

              7. A Stipulated Penalty of $5,000 for each false certification submitted by
or on behalf of GSK as part of its Implementation Report, the IRO Initial Report, or any
Annual Report, additional documentation to a report (as requested by the OIG), or
otherwise required by this CIA.

             8. A Stipulated Penalty of $10,000 for each day that GSK fails to timely
submit any report required under Section III.D.3.a or III.D.3.b of Appendix D.

              9. A Stipulated Penalty of $10,000 for each lot of each Covered Product for
each day that GSK fails to initiate a recall for specified lots under Section III.D of
Appendix D after receipt of a Final Determination.

              10. A Stipulated Penalty of $10,000 for each lot of each Covered Product
for each day that GSK fails to complete a recall within a deadline established in the Final
Determination for specified lots under Section III.D of Appendix D.

              11. A Stipulated Penalty of $1,000 for each day GSK or a GSK Affiliate
fails to comply fully and adequately with any obligation of this CIA. OIG shall provide
notice to GSK or a GSK Affiliate stating the specific grounds for its determination that
GSK or a GSK Affiliate has failed to comply fully and adequately with the CIA
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obligation(s) at issue and steps GSK or a GSK Affiliate shall take to comply with the
CIA. (This Stipulated Penalty shall begin to accrue 10 days after GSK or a GSK Affiliate
receives this notice from OIG of the failure to comply.) A Stipulated Penalty as described
in this Subsection shall not be demanded for any violation for which OIG has sought a
Stipulated Penalty under Subsections 1- 10 of this Section.

       B. Timely Written Requests for Extensions. GSK may, in advance of the due
date, submit a timely written request for an extension of time to perform any act or file
any notification or report required by this CIA. Notwithstanding any other provision in
this Section, if OIG grants the timely written request with respect to an act, notification,
or report, Stipulated Penalties for failure to perform the act or file the notification or
report shall not begin to accrue until one day after GSK fails to meet the revised deadline
set by OIG. Notwithstanding any other provision in this Section, if OIG denies such a
timely written request, Stipulated Penalties for failure to perform the act or file the
notification or report shall not begin to accrue until three business days after GSK
receives OIG’s written denial of such request or the original due date, whichever is later.
A “timely written request” is defined as a request in writing received by OIG at least five
business days prior to the date by which any act is due to be performed or any notification
or report is due to be filed.

        C. Payment of Stipulated Penalties.

               1. Demand Letter. Upon a finding that GSK has failed to comply with any
of the obligations described in Section X.A and after determining that Stipulated Penalties
are appropriate, OIG shall notify GSK of: (a) GSK’s failure to comply; and (b) OIG’s
exercise of its contractual right to demand payment of the Stipulated Penalties (this
notification is referred to as the “Demand Letter”).

               2. Response to Demand Letter. Within 10 days after the receipt of the
Demand Letter, GSK shall either: (a) cure the breach to OIG’s satisfaction and pay the
applicable Stipulated Penalties or (b) request a hearing before an HHS administrative law
judge (ALJ) to dispute OIG’s determination of noncompliance, pursuant to the agreed
upon provisions set forth below in Section X.E. In the event GSK elects to request an
ALJ hearing, the Stipulated Penalties shall continue to accrue until GSK cures, to OIG’s
satisfaction, the alleged breach in dispute. Failure to respond to the Demand Letter in one
of these two manners within the allowed time period shall be considered a material breach
of this CIA and shall be grounds for exclusion under Section X.D.


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              3. Form of Payment. Payment of the Stipulated Penalties shall be made by
electronic funds transfer to an account specified by OIG in the Demand Letter.

              4. Independence from Material Breach Determination. Except as set forth
in Section X.D.1.d, these provisions for payment of Stipulated Penalties shall not affect or
otherwise set a standard for OIG’s decision that GSK has materially breached this CIA,
which decision shall be made at OIG’s discretion and shall be governed by the provisions
in Section X.D, below.

        D. Exclusion for Material Breach of this CIA.

                1. Definition of Material Breach. A material breach of this CIA means:

                         a. a repeated or flagrant violation of the obligations under this CIA,
                         including, but not limited to, the obligations addressed in Section
                         X.A;

                         b. a failure by GSK to report a Reportable Event and take corrective
                         action as required in Section III.J of the CIA or Section III.E of
                         Appendix D;

                         c. a failure to engage and use an IRO in accordance with Section
                         III.E and Appendices A-C;

                         d. a failure to respond to a Demand Letter concerning the payment
                         of Stipulated Penalties in accordance with Section X.C;

                         e. a failure of the Board to issue a resolution in accordance with
                         Section III.A.3 of the CIA or Section III.A.3 of Appendix D.

                         f. a failure by GSK to timely initiate a recall of Covered Products
                         sold in the United States pursuant to a Final Determination made
                         under Section III.D of Appendix D after receipt of a Final
                         Determination; or

                         g. a failure by GSK to timely complete a recall of Covered Products
                         sold in the United States as required in the Final Determination after
                         receipt of the Final Determination under Appendix D.

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               2. Notice of Material Breach and Intent to Exclude. The parties agree that
a material breach of this CIA by GSK constitutes an independent basis for GSK’s
exclusion from participation in the Federal health care programs. Upon a determination
by OIG that GSK has materially breached this CIA and that exclusion is the appropriate
remedy, OIG shall notify GSK of: (a) GSK’s material breach; and (b) OIG’s intent to
exercise its contractual right to impose exclusion (this notification is hereinafter referred
to as the “Notice of Material Breach and Intent to Exclude”).

              3. Opportunity to Cure. GSK shall have 30 days from the date of receipt of
the Notice of Material Breach and Intent to Exclude to demonstrate to OIG’s satisfaction
that:

                         a. GSK is in compliance with the obligations of the CIA cited by
                         OIG as being the basis for the material breach;

                         b. the alleged material breach has been cured; or

                         c. the alleged material breach cannot be cured within the 30 day
                         period, but that: (i) GSK has begun to take action to cure the material
                         breach; (ii) GSK is pursuing such action with due diligence; and (iii)
                         GSK has provided to OIG a reasonable timetable for curing the
                         material breach.

               4. Exclusion Letter. If, at the conclusion of the 30 day period, GSK fails to
satisfy the requirements of Section X.D.3, OIG may exclude GSK from participation in
the Federal health care programs. OIG shall notify GSK in writing of its determination to
exclude GSK (this letter shall be referred to hereinafter as the “Exclusion Letter”).
Subject to the Dispute Resolution provisions in Section X.E, below, the exclusion shall go
into effect 30 days after the date of GSK’s receipt of the Exclusion Letter. The exclusion
shall have national effect and shall also apply to all other Federal procurement and
nonprocurement programs. Reinstatement to program participation is not automatic.
After the end of the period of exclusion, GSK may apply for reinstatement by submitting
a written request for reinstatement in accordance with the provisions at 42 C.F.R.
§§ 1001.3001-.3004.




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        E. Dispute Resolution

               1. Review Rights. Upon OIG’s delivery to GSK of its Demand Letter or of
its Exclusion Letter, and as an agreed-upon contractual remedy for the resolution of
disputes arising under this CIA, GSK shall be afforded certain review rights comparable
to the ones that are provided in 42 U.S.C. § 1320a-7(f) and 42 C.F.R. Part 1005 as if they
applied to the Stipulated Penalties or exclusion sought pursuant to this CIA. Specifically,
OIG’s determination to demand payment of Stipulated Penalties or to seek exclusion shall
be subject to review by an HHS ALJ and, in the event of an appeal, the HHS
Departmental Appeals Board (DAB), in a manner consistent with the provisions in 42
C.F.R. § 1005.2-1005.21. Notwithstanding the language in 42 C.F.R. § 1005.2(c), the
request for a hearing involving Stipulated Penalties shall be made within 10 days after
receipt of the Demand Letter and the request for a hearing involving exclusion shall be
made within 25 days after receipt of the Exclusion Letter.

              2. Stipulated Penalties Review. Notwithstanding any provision of Title 42
of the United States Code or Title 42 of the Code of Federal Regulations, the only issues
in a proceeding for Stipulated Penalties under this CIA shall be: (a) whether GSK was in
full and timely compliance with the obligations of this CIA for which OIG demands
payment; and (b) the period of noncompliance. GSK shall have the burden of proving its
full and timely compliance and the steps taken to cure the noncompliance, if any. OIG
shall not have the right to appeal to the DAB an adverse ALJ decision related to
Stipulated Penalties. If the ALJ agrees with OIG with regard to a finding of a breach of
this CIA and orders GSK to pay Stipulated Penalties, such Stipulated Penalties shall
become due and payable 20 days after the ALJ issues such a decision unless GSK
requests review of the ALJ decision by the DAB. If the ALJ decision is properly
appealed to the DAB and the DAB upholds the determination of OIG, the Stipulated
Penalties shall become due and payable 20 days after the DAB issues its decision.

              3. Exclusion Review. Notwithstanding any provision of Title 42 of the
United States Code or Title 42 of the Code of Federal Regulations, the only issues in a
proceeding for exclusion based on a material breach of this CIA shall be:

                         a. whether GSK was in material breach of this CIA;

                         b. whether such breach was continuing on the date of the Exclusion
                         Letter; and


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                         c. whether the alleged material breach could not have been cured
                         within the 30-day period, but that: (i) GSK had begun to take action
                         to cure the material breach within that period; (ii) GSK has pursued
                         and is pursuing such action with due diligence; and (iii) GSK
                         provided to OIG within that period a reasonable timetable for curing
                         the material breach and GSK has followed the timetable.

               For purposes of the exclusion herein, exclusion shall take effect only after
an ALJ decision favorable to OIG, or, if the ALJ rules for GSK, only after a DAB
decision in favor of OIG. GSK’s election of its contractual right to appeal to the DAB
shall not abrogate OIG’s authority to exclude GSK upon the issuance of an ALJ’s
decision in favor of OIG. If the ALJ sustains the determination of OIG and determines
that exclusion is authorized, such exclusion shall take effect 20 days after the ALJ issues
such a decision, notwithstanding that GSK may request review of the ALJ decision by the
DAB. If the DAB finds in favor of OIG after an ALJ decision adverse to OIG, the
exclusion shall take effect 20 days after the DAB decision. GSK shall waive its right to
any notice of such an exclusion if a decision upholding the exclusion is rendered by the
ALJ or DAB. If the DAB finds in favor of GSK, GSK shall be reinstated effective on the
date of the original exclusion.

              4. Finality of Decision. The review by an ALJ or DAB provided for above
shall not be considered to be an appeal right arising under any statutes or regulations.
Consequently, the parties to this CIA agree that the DAB’s decision (or the ALJ’s
decision if not appealed) shall be considered final for all purposes under this CIA.

XI.     EFFECTIVE AND BINDING AGREEMENT

        GSK and OIG agree as follows:

        A. This CIA shall be binding on the successors, assigns, and transferees of GSK;

       B. This CIA shall become final and binding on the date the final signature is
obtained on the CIA;

      C. This CIA constitutes the complete agreement between the parties and may not
be amended except by written consent of the parties to this CIA;



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       D. The undersigned GSK signatories represent and warrant that they are
authorized to execute this CIA. The undersigned OIG signatory represents that he is
signing this CIA in his official capacity and that he is authorized to execute this CIA.

       E. This CIA may be executed in counterparts, each of which constitutes an
original and all of which constitute one and the same CIA. Facsimiles of signatures shall
constitute acceptable, binding signatures for purposes of this CIA.




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                           ON BEHALF OF THE OFFICE OF INSPECTOR GENERAL

                       OF THE DEPARTMENT OF HEALTH AND HUMAN SERVICES




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                        Appendix A to CIA for GlaxoSmithKline LLC

                                Independent Review Organization

      This Appendix contains the requirements relating to the Independent Review
Organization (IRO) required by Section III.E of the CIA.

A.      IRO Engagement.

        GSK shall engage an IRO (or IRO(s)) that possesses the qualifications set forth in
Paragraph B, below, to perform the responsibilities in Paragraph C, below. The IRO
shall conduct the review in a professionally independent and objective fashion, as set
forth in Paragraph D. Within 30 days after OIG receives the information identified in
Section V.A.11 of the CIA or any additional information submitted by GSK in response
to a request by OIG, whichever is later, OIG will notify GSK if the IRO is unacceptable.
Absent notification from OIG that the IRO is unacceptable, GSK may continue to engage
the IRO.

       If GSK engages a new IRO during the term of the CIA, this IRO shall also meet
the requirements of this Appendix. If a new IRO is engaged, GSK shall submit the
information identified in Section V.A.11 of the CIA to OIG within 30 days of
engagement of the IRO. Within 30 days after OIG receives this information or any
additional information submitted by GSK at the request of OIG, whichever is later, OIG
will notify GSK if the IRO is unacceptable. Absent notification from OIG that the IRO is
unacceptable, GSK may continue to engage the IRO.

B.      IRO Qualifications.

The IRO shall:

        1. assign individuals to conduct the IRO Reviews who have expertise in the
pharmaceutical industry and have expertise in applicable Federal health care program and
FDA requirements that relate to the Covered IRO Functions, including expertise relating
to: i) marketing and promotional activities associated with pharmaceutical products; ii)
research regarding such products; and iii) publication, authorship, and disclosure
activities associated with such research). The assigned individuals shall also be
experienced in risk identification and mitigation in relation to pharmaceutical product
marketing and promotion. The assigned individuals also shall be knowledgeable about
the general requirements of the Federal health care programs under which GSK products
are reimbursed;



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      2. assign individuals to design and select the samples for the IRO Transactions
Reviews who are knowledgeable about appropriate statistical sampling techniques; and

       3. have sufficient staff and resources to conduct the reviews required by the CIA
on a timely basis.

C.      IRO Responsibilities.

The IRO shall:

       1. perform each component of each IRO Review in accordance with the specific
requirements of the CIA;

      2. follow all applicable Federal health care program and FDA requirements in
making assessments in each IRO Review;

      3. if in doubt of the application of a particular Federal health care program or
FDA requirement, request clarification from the appropriate authority (e.g., CMS or
FDA);

        4. respond to all OIG inquiries in a prompt, objective, and factual manner; and

       5. prepare timely, clear, well-written reports that include all the information
required by Appendices B and C to the CIA.

D.      Independence and Objectivity.

       The IRO must perform the IRO Reviews in a professionally independent and
objective fashion, as defined in the most recent Government Auditing Standards issued
by the United States Government Accountability Office.

E.      IRO Removal/Termination.

        1. GSK Termination of IRO. If GSK terminates its IRO or if the IRO withdraws
from the engagement during the term of the CIA, GSK must submit a notice explaining
its reasons for termination or the reason for withdrawal to OIG no later than 30 days after
termination or withdrawal. GSK must engage a new IRO in accordance with Paragraph
A of this Appendix and within 60 days of the termination or withdrawal of the IRO.

       2. OIG Removal of IRO. In the event OIG has reason to believe that the IRO does
not possess the qualifications described in Paragraph B, is not independent and/or
objective as set forth in Paragraph D, or has failed to carry out its responsibilities as
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described in Paragraph C, OIG may, at its sole discretion, require GSK to engage a new
IRO in accordance with Paragraph A of this Appendix. GSK must engage a new IRO
within 60 days of termination of the IRO.

        Prior to requiring GSK to engage a new IRO, OIG shall notify GSK of its intent to
do so and provide a written explanation of why OIG believes such a step is necessary. To
resolve any concerns raised by OIG, GSK may present additional information regarding
the IRO’s qualifications, independence or performance of its responsibilities. OIG will
attempt in good faith to resolve any differences regarding the IRO with GSK prior to
requiring GSK to terminate the IRO. However, the final determination as to whether or
not to require GSK to engage a new IRO shall be made at the sole discretion of OIG.




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                        Appendix B to CIA for GlaxoSmithKline LLC

                          Independent Review Organization Reviews


I.      Covered Functions Review, General Description

       As specified more fully below, GlaxoSmithKline (GSK) shall retain an
Independent Review Organization (IRO) (or IROs) to perform reviews (IRO Reviews) to
assist GSK in assessing and evaluating its systems, processes, policies, procedures, and
practices related to certain of GSK's Covered Functions (collectively, “IRO Covered
Functions”). The IRO Review shall consist of two components - a systems review
(Systems Review) and a transactions review (Transactions Review) as described more
fully below. GSK may engage, at its discretion, a single IRO to perform both
components of the IRO Review provided that the entity has the necessary expertise and
capabilities to perform both.

       If there are no material changes in GSK’s systems, processes, policies, and
procedures relating to the Covered IRO Functions, the IRO shall perform the Systems
Review for the second and fifth IRO Reporting Periods. If GSK materially changes its
systems, processes, policies, and procedures relating to the Covered IRO Functions, the
IRO shall perform a Systems Review for the IRO Reporting Period(s) in which such
changes were made in addition to conducting the Review for the second and fifth IRO
Reporting Periods. The additional Systems Review(s) shall consist of: 1) an identification
of the material changes; 2) an assessment of whether other systems, processes, policies,
and procedures previously reported did not materially change; and 3) a review of the
systems, processes, policies, and procedures that materially changed. The IRO shall
conduct the Transactions Review for each IRO Reporting Period of the CIA.

II.     IRO Systems Review

A.      Description of Reviewed Policies and Procedures

       The Covered IRO Functions Systems Review shall be a review of GSK’s systems,
processes, policies, and procedures (including the controls on those systems, processes,
policies, and procedures) relating to certain of the Covered Functions. Where practical,
GSK personnel may compile documentation, schedule and organize interviews, and
undertake other efforts to assist the IRO in performing the Systems Review. The IRO is
not required to undertake a de novo review of the information gathered or activities
undertaken by GSK in accordance with the preceding sentence.

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Specifically, the IRO shall review GSK’s systems, processes, policies, and procedures
associated with the following (hereafter “Reviewed Policies and Procedures”):

                1)     GSK’s systems, processes, policies, and procedures applicable to the
                manner in which GSK field personnel (including sales personnel, marketing
                personnel, MSLs, HOLs, and personnel from the PPV group) and personnel
                from the Medical Affairs department (including MISs) handle requests or
                inquiries relating to information about the uses of Government Reimbursed
                Products (including non-FDA-approved (i.e., off-label) uses of Government
                Reimbursed Products) and the dissemination of materials relating to the
                uses of these products. This review shall include:

                         a)     the manner in which GSK sales personnel and PPV personnel
                                handle requests for information about off-label uses of
                                Government Reimbursed Products (i.e., by referring all such
                                requests to Medical Affairs personnel at GSK);

                         b)     the manner in which Medical Affairs personnel, including
                                those at GSK’s headquarters, handle and respond to requests
                                for information about off-label uses of Government
                                Reimbursed Products (including tracking the requests and
                                using pre-approved materials for purposes of responding to
                                the request);

                         c)     the form and content of information and materials related to
                                Government Reimbursed Products disseminated to
                                physicians, pharmacists, or other health care professionals
                                (collectively “HCPs”), and health care institutions (HCIs),
                                Payers, and formulary decision-makers by GSK;

                         d)     GSK's systems, processes, policies, and procedures (including
                                the Inquiries Database) to track requests to Medical Affairs
                                for information about off-label uses of products and responses
                                to those requests;

                         e)     the manner in which GSK collects and supports information
                                reported in any systems used to track and respond to requests
                                to Medical Affairs for Government Reimbursed Product
                                information, including its Inquiries Database;

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                         f)     the processes and procedures by which Medical Affairs, the
                                Compliance Officer, or other appropriate individuals within
                                GSK identify situations in which it appears that off-label or
                                other improper promotion may have occurred; and

                         g)     GSK's processes and procedures for investigating,
                                documenting, resolving, and taking appropriate disciplinary
                                action for potential situations involving improper promotion;

                2)     GSK’s systems, processes, policies, and procedures applicable to the
                manner and circumstances under which its Medical Affairs personnel
                (including MSLs, HOLs, or analogous personnel) participate in meetings or
                events with HCPs or HCIs (either alone or with sales representatives)
                regarding Government Reimbursed Products and the role of the Medical
                Affairs personnel at such meetings or events;

                3)     GSK’s systems, processes, policies, and procedures relating to
                GSK's internal review of promotional materials related to Government
                Reimbursed Products disseminated to HCPs, HCIs and Payers and
                individuals or entities (e.g.¸ PBMs) acting on behalf of HCPs, HCIs or
                government payers;

                4)      GSK's systems, policies, processes and procedures (the “Patient First
                Program”) relating to incentive compensation for Relevant Covered
                Persons who are prescriber-facing sales personnel and their direct
                managers, with regard to whether the systems, policies, processes, and
                procedures are designed to ensure that financial incentives do not
                inappropriately motivate such individuals to engage in the improper
                promotion, sales, and marketing of Government Reimbursed Products.
                This shall include a review of the bases upon which compensation is
                determined and the extent to which compensation is based on product
                performance. To the extent that GSK establishes different methods of
                compensation for different Government Reimbursed Products, the IRO
                shall review each type of compensation arrangement separately;

                5)    GSK’s systems, policies, processes and procedures relating to the
                Executive Financial Recoupment Program described in Section III.H of the
                CIA and in Appendix E;


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                6)    GSK’s systems, processes, policies, and procedures relating to the
                development and review of Target Plans (as defined in Section III.B.3.j of
                the CIA) for Government Reimbursed Products. This shall include a
                review of the bases upon which HCPs and HCIs belonging to specified
                medical specialties are included in, or excluded from, the Target Plans
                based on expected utilization of Government Reimbursed Products for
                FDA-approved uses or non-FDA-approved uses;

                7)      GSK’s systems, processes, policies, and procedures relating to
                Sample Distribution Policies and Procedures (as defined in Section
                III.B.3.k of the CIA). This shall include a review of the bases upon, and
                circumstances under, which HCPs and HCIs belonging to specified medical
                specialties or types of clinical practice may receive samples from GSK
                (including, separately, from GSK sales representatives and other GSK
                personnel or components). It shall also include a review of whether
                samples of Government Reimbursed Products are distributed by GSK
                through sales representatives or are distributed from a central location and
                the rationale for the manner of distribution;

                8)     GSK’s systems (including any centralized electronic systems),
                processes, policies, and procedures relating to speaker programs, speaker
                training programs, and all events and expenses relating to such
                engagements or arrangements;

                9)     GSK’s systems, processes, policies, and procedures relating to
                engagement of “Consultants” (as defined in Section III.M.1 of the CIA) and
                all events and expenses associated with such activities;

                10) GSK’s systems, processes, policies, and procedures relating to
                GSK’s funding, directly or indirectly, of Third Party Educational Activities
                for HCPs (as defined in Section II.C.8 of the CIA) and all events and
                expenses relating to such activities;

                11) GSK’s systems, processes, policies, and procedures relating to the
                submission of information about any Government Reimbursed Product to
                any compendia such as Drugdex or other published source of information
                used in connection with the determination of coverage by a Federal health
                care program for the product (“Compendia”). This includes any initial
                submission of information to any Compendia and the submission of any


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                additional, updated, supplemental, or changed information, (e.g., any
                changes based on GSK's discovery of erroneous or scientifically unsound
                information or data associated with the information in the Compendia).
                The review shall also assess GSK's processes relating to its annual review
                of all arrangements, processing fees, or other payments or financial support
                (if any) provided to any Compendia;

                12) GSK's systems, processes, policies, and procedures
                relating to Research and Publication Practices (as defined in Section
                III.B.3.u of the CIA), including the decision to provide financial or other
                support for such Research; the manner in which Research support is
                provided; the publication of information about the Research, including the
                publication of information about the Research results and trial outcomes,
                and uses made of publications relating to such research;

                13) GSK's systems, processes, policies and procedures
                relating to authorship of any journal articles or other publications about
                GSK-Sponsored Research or about therapeutic areas or disease states that
                may be treated with Government Reimbursed Products, including, but not
                limited to, the disclosure of any and all financial relationships between the
                author and GSK, the identification of all authors or contributors (including
                professional writers, if any) associated with a given publication, and the
                scope and breadth of research results made available to each author or
                contributor;

                14) GSK’s systems, policies, processes, and procedures applicable to the
                manner and circumstances under which GSK personnel (including sales
                personnel (if any), personnel from the PPV Unit, MSLs, HOLs, or
                analogous personnel) participate in meetings with Payers (as defined in
                Section II.C.6 of the CIA) regarding Government Reimbursed Products and
                the role of the GSK personnel at such meetings; and

                15) the form and content of information and materials disseminated by
                GSK to Payers and GSK’s systems, policies, processes, and procedures
                relating to GSK's internal review and approval of information and materials
                related to Government Reimbursed Products disseminated to Payers by
                GSK.

B.      IRO Systems Review Report


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       The IRO shall prepare a report based upon each Systems Review. For each of the
Reviewed Policies and Procedures identified in Section II.A above, the report shall
include the following items:

                1)    a description of the documentation (including policies) reviewed and
                any personnel interviewed;

                2)     a detailed description of GSK’s systems, policies, processes, and
                procedures relating to the items identified in Sections II.A.1-15 above,
                including a general description of GSK’s control and accountability
                systems (e.g., documentation and approval requirements, and tracking
                mechanisms) and written policies regarding the Reviewed Policies and
                Procedures;

                3)     a description of the manner in which the control and accountability
                systems and the written policies relating to the items identified in Sections
                II.A.1-15 above are made known or disseminated within GSK;

                4)     a detailed description of any system(s) used to track and respond to
                requests for information about Government Reimbursed Products
                (including the Inquiries Database);

                5)    findings and supporting rationale regarding any weaknesses in
                GSK’s systems, processes, policies, and procedures relating to the
                Reviewed Policies and Procedures, if any; and

                6)     recommendations to improve any of the systems, policies, processes,
                or procedures relating to the Reviewed Policies and Procedures, if any.

III.    IRO Transactions Review

As described more fully below in Sections III.A-F, the Transactions Review for the
second through sixth IRO Reporting Periods shall include: (1) a review of a sample of
Inquiries reflected in the Inquiries Database; (2) a review of GSK’s Target Plans and
GSK’s Target Plan review process; (3) a review of Sampling Events as defined below in
Section III.C; (4) a review of records relating to a sample of the Payments that are
reported by GSK pursuant to Section III.O of the CIA; (5) a review of Research and
Publication Practices and Authorship-Related Practices; and (6) a review of up to three
additional items identified by the OIG in accordance with Section III.E.1.b of the CIA


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(hereafter “Additional Items”). The IRO shall report on all aspects of its reviews in the
Transactions Review Reports.

For purposes of the Transactions Review for the first IRO Reporting Period, the
Transactions Review shall include a review of Items 1-3 outlined in the preceding
paragraph. The Transaction Review Report for the first IRO Reporting Period shall
report on Items 1-3 in accordance with Section III.G below.

A.      Review of Inquiries and Inquiries Database

        1)      Description of Inquiries Database

                As set forth in Section III.B.3.g of the CIA, GSK shall establish a database
                to track information relating to requests for information received by GSK
                about its Government Reimbursed Products (hereafter “Inquiries”).
                Specifically, GSK shall document and record all Inquiries received from
                HCPs or HCIs regarding Government Reimbursed Products in a database(s)
                (the “Inquiries Database”). GSK shall record in the Inquiries Database the
                following information for each Inquiry received: 1) date of Inquiry; 2)
                form of Inquiry (e.g., fax, phone, medical information request form); 3)
                name of requesting HCP or HCI or other individual or entity; 4) nature and
                topic of request (including exact language of the Inquiry if made in
                writing); 5) an evaluation of whether the Inquiry relates to information
                about an off-label indication for the product; 6) nature/form of the response
                from GSK (including a record of any materials provided in response to the
                request); and 7) the name of the GSK representative who called upon or
                interacted with the HCP or HCI.

        2)      Internal Review of Inquiries Database

                On a semi-annual basis, the Compliance Officer or designee shall review
                the Inquiries Database and related information, as appropriate, and shall
                generate a report summarizing the items of information outlined in Section
                III.A.1 above for each Inquiry received during the preceding two quarters
                (“Inquiry Report”). The Compliance Officer or designee shall review the
                Inquiry Reports to assess whether the information contained in the report
                suggests that improper off-label promotion may have occurred in
                connection with any Inquiry(ies). If the Compliance Officer or designee, in
                consultation with other appropriate GSK personnel, suspects that improper
                off-label promotion may have occurred in connection with any Inquiry, the

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                Compliance Officer or designee shall undertake a follow-up review of the
                Inquiry (Off-Label Review), make specific findings based on his/her Off-
                Label Review, and take all appropriate responsive action (including
                disciplinary action of the Covered Person and reporting of the conduct,
                including disclosing Reportable Events pursuant to Section III.J of the CIA,
                if applicable).

        3)      IRO Review of Inquiries Reflected in Inquiries Database

                The IRO shall select and review a random sample of 50 Inquiries from
                among the Inquiries reflected in the Inquiries Database for each Reporting
                Period. Forty of the Inquiries reviewed by the IRO shall be Inquiries for
                which GSK conducted an Off-Label Review, and the other ten shall be
                Inquiries for which GSK did not conduct an Off-Label Review. For each
                Inquiry reviewed, the IRO shall determine:

                a) Whether each item of information listed above in Section III.A.1 is
                   reflected in the Inquiries Database for each reviewed Inquiry; and

                b) For each Inquiry for which the Compliance Officer conducted an Off-
                   Label Review, the basis for suspecting that improper off-label
                   promotion may have occurred; the steps undertaken as part of the Off-
                   Label Review; the findings of the Compliance Officer as a result of the
                   Off-Label Review; and any follow-up actions taken by GSK based on
                   the Off-Label Review findings.

B.      IRO Review of GSK’s Target Plans and Target Plan Review Process

        The IRO shall conduct a review and assessment of GSK’s review of its Target
Plans for Government Reimbursed Products as set forth in Section III.B.3.j of the CIA.
GSK shall provide the IRO with: i) a list of Government Reimbursed Products promoted
by GSK during the IRO Reporting Period; ii) information about the FDA-approved uses
for each such product; and iii) the Target Plans for each such product. GSK shall also
provide the IRO with information about the reviews of Target Plans that GSK conducted
during the relevant IRO Reporting Period and any modifications to the Target Plans made
as a result of GSK’s reviews.

       For each Target Plan, the IRO shall select a sample of 50 of the HCPs and HCIs
included on the Target Plan. For each Target Plan, the IRO shall compare the sampled
HCPs and HCIs against the criteria (e.g., medical specialty or practice area) used by GSK

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in conducting its review and/or modifying the Target Plan. The IRO shall seek to
determine whether GSK followed its criteria and Policies and Procedures in reviewing
and modifying the Target Plan.

       The IRO shall note any instances in which it appears that the sampled HCPs or
HCIs on a particular Target Plan are inconsistent with GSK’s criteria relating to the
Target Plan and/or GSK’s Policies and Procedures. The IRO shall also note any
instances in which it appears that GSK failed to follow its criteria or Policies and
Procedures.

C.      IRO Review of the Distribution of Samples of GSK Government Reimbursed
        Products

         The IRO shall conduct a review and assessment of the distribution of samples of
Government Reimbursed Products to HCPs and HCIs. GSK shall provide the IRO with:
i) a list of Government Reimbursed Products for which GSK distributed samples during
the IRO Reporting Period; ii) information about the FDA-approved uses for each such
product; and iii) information about GSK’s Sample Distribution Policies and Procedures,
including GSK’s exclusion lists showing which types of samples may not be distributed
by sales personnel or other GSK personnel to HCPs and HCIs of particular medical
specialties or types of clinical practices. GSK shall also provide the IRO with
information about the reviews of Sample Distribution Policies and Procedures that GSK
conducted during the IRO Reporting Period as set forth in Section III.B.3.k of the CIA
and any modifications to the Sample Distribution Policies and Procedures or exclusion
lists made as a result of GSK’s reviews.

       For each Government Reimbursed Product for which GSK distributed samples
during the IRO Reporting Period, the IRO shall randomly select a sample of 50 separate
instances in which GSK provided samples of the product to HCPs or HCIs. Each such
instance shall be known as a “Sampling Event.”

        For each Sampling Event, the IRO shall review all documents and information
relating to the distribution of the sample to the HCP or HCI. The reviewed materials
shall include materials about the following: 1) the quantity, dosage, and form of the GSK
product provided to the HCP or HCI; 2) the identity and type of medical specialty or
clinical practice of the HCP or HCI; 3) which individual GSK sales personnel or other
GSK personnel provided the sample to the HCP or HCI; and 4) the manner and
mechanism through which the sample was requested (e.g., sample request form, letter, or
call to GSK).


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        For each Sampling Event, the IRO shall evaluate whether the sample was provided
to an HCP or HCI whose medical specialty or clinical practice is consistent with the uses
of the Government Reimbursed Product approved by the FDA and whether the sample
was distributed by an GSK representative in a manner consistent with GSK’s sample
distribution policy for the product(s) provided during the Sampling Event. To the extent
that a sample was provided to an HCP or HCI by a GSK representative other than a sales
personnel, the IRO shall contact the HCP or HCI by letter. The letter shall request that
the HCP or HCI: 1) verify that he/she/it received the quantity and type of samples
identified by the IRO as the Sampling Event; 2) verify that he/she/it requested the
samples provided during the Sampling Event; 3) explain or confirm its type of medical
specialty or clinical practice; and 4) identify the basis for requesting the sample (e.g.,
conversations with a GSK sales representative, conversation with a GSK representative at
headquarters, independent research, or knowledge of the HCP or HCI).

        For each Sampling Event, the IRO shall compare the medical specialty and type of
clinical practice of the HCPs and HCIs that received the sample with uses of the
Government Reimbursed Product approved by the FDA. The IRO shall note any
instances in which it appears that the medical specialty or clinical practice of the HCPs or
HCIs that received a sample during a Sampling Event were not consistent with the uses
of the Government Reimbursed Product approved by the FDA. For each such situation,
the IRO shall note the process followed by GSK in determining that it was appropriate to
provide a sample to such HCP or HCI and the basis for such determination. The IRO
shall also note any instances in which it appears that GSK failed to follow its Sample
Distribution Policies and Procedures for the Government Reimbursed Product(s)
provided during the Sampling Event.

D.      IRO Review of Physician Payment Listings

        1.      Information Contained in Physician Payment Listings

        For purposes of the IRO review as set forth in this Section III.D, each annual
listing of physicians and Related Entities who received Payments (as defined in Section
III.O of the CIA) from GSK shall be referred to as the “Physician Payment Listing” or
“Listing.” For each physician and Related Entity, each Physician Payment Listing shall
include the following information: i) physician’s full name; ii) name of Related Entity (if
applicable); iii) city and state of the physician’s practice or the Related Entity; and (iv)
the aggregate value of the Payment(s) in the preceding year(s).

     For purposes of this IRO review, the term “Control Documents” shall include all
documents or electronic records associated with each Payment reflected in the Physician

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Payments Listing for a sampled physician and/or Related Entity. For example, the term
“Control Documents” includes, but is not limited to, documents relating to the nature,
purpose, and amount of all Payments reflected in the Listing; contracts relating to the
Payment(s) reflected in the Listing; documents relating to the occurrence of Payment(s)
reflected in the Listing; documents reflecting any work product generated in connection
with the Payment(s); documents submitted by field personnel or headquarters personnel
to request approval for the Payment(s); and business rationale or justification forms
relating to the Payment(s).

        2.      Selection of Sample for Review

       For each IRO Reporting Period, the OIG shall have the discretion to identify up to
50 physicians or Related Entities from the applicable Physician Payment Listing that will
be subject to the IRO review described below. If the OIG elects to exercise this
discretion, it shall notify the IRO at least 90 days prior to the end of the IRO Reporting
Period, of the physicians and/or Related Entities subject to the IRO review. If the OIG
elects not to exercise its discretion as described above, the IRO shall randomly select 50
physicians and/or Related Entities to be included in the review. For each selected
physician and/or Related Entity, the IRO shall review the entry in the Physician Payment
Listing and the Control Documents relating to Payments reflected in the Listing identified
by the IRO as necessary and sufficient to validate the Payment information in the Listing.

        3.     IRO Review of Control Documents for Selected Physicians and/or Related
        Entities

        For each physician and/or Related Entity selected as part of the sample, the IRO
shall review the Control Documents identified by the IRO as necessary and sufficient to
validate each Payment reflected in the Listing to evaluate the following:

                         a)     Whether Control Documents are available relating to each
                                Payment reflected in the Listing for the sampled physician
                                and/or Related Entity;

                         b)     Whether the Control Documents were completed and
                                archived in accordance with the requirements set forth in
                                GSK’s policies;

                         c)     Whether the aggregate value of the Payment(s) as reflected in
                                the Listing for the sampled Physician is consistent with the


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                                      value of the Payments(s) reflected in the Control Documents;
                                      and

                         d)       Whether the Control Documents reflect that GSK’s policies
                                  were followed in connection with Payment(s) reflected in the
                                  Listing (e.g., all required written approvals for the activity
                                  were obtained in accordance with GSK’s policies).

        4.      Identification of Material Errors and Additional Review

                A Material Error is defined as any of the following:

                         a)           A situation in which all required Control Documents relating
                                      to Payments reflected in the Listing for the sampled physician
                                      and/or Related Entity do not exist and:

                                 i.      no corrective action was initiated prior to the selection of
                                         the sampled physicians and/or Related Entities; or

                                ii.      the IRO cannot confirm that GSK otherwise followed its
                                         policies and procedures relating to the entry in the Listing
                                         for the sampled physician or Related Entity, including its
                                         policies and procedures relating to any Payment(s)
                                         reflected in the Listing; or

                         b)           Information or data is omitted from key fields in the Control
                                      Documents that prevents the IRO from assessing compliance
                                      with GSK’s policies and procedures, and the IRO cannot
                                      obtain this information or data from reviewing other Control
                                      Documents.

        If a Control Document does not exist, but GSK has initiated corrective action prior
to the selection of the sampled physicians and/or Related Entities, or if a Control
Document does not exist but the IRO can determine that GSK otherwise followed its
policies and procedures with regard to each entry in the Listing for a sampled physician
or Related Entity, the IRO shall consider such a situation to be an exception (rather than a
Material Error) and the IRO shall report the situation as such. Similarly, the IRO shall
note as exceptions any Control Documents for which non-material information or data is
omitted.


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      If the IRO identifies any Material Errors, the IRO shall conduct such Additional
Review of the underlying Payment associated with the erroneous Control Documents as
may be necessary to determine the root cause of the Material Errors. For example, the
IRO may need to review additional documentation and/or conduct interviews with
appropriate personnel to identify the root cause of the Material Error(s) discovered.

E.     IRO Review of Research and Publications Practices and Authorship-Related
Activities

       The IRO shall conduct a review and assessment of GSK’s Research and
Publications Practices and Authorship-Related Activities as described in Sections III.B.3.
u-v of the CIA.

Review of Research Activities: GSK shall provide the IRO with a list of all Research
activities (as defined in Section III.B.3.u of the CIA) that were “active” (as classified in
GSK’s tracking system) during the IRO Reporting Period, and the IRO shall select a
sample of 40 such activities, which sample shall include a review of each type of
Research (i.e., GSK-Sponsored post-marketing clinical trials, other GSK-Sponsored post-
marketing studies, and post-marketing investigator-sponsored studies (ISSs).) The IRO
shall review samples of each type of Research in proportion to the relative number of
each type of Research that occurred during the reporting period. GSK shall provide the
IRO with documents relating to the Research activities sufficient for the IRO to conduct
the reviews outlined below.

For each sampled Research activity, the IRO will review whether: (i) the activity was
approved consistent with GSK’s standards, policies, procedures and processes regarding
sponsorship or support of Research, including obtaining required approval for the
Research by GSK’s medical and/or research organizations and ensuring that the Research
was conducted for the purpose of fostering increased understanding of scientific, clinical
or medical issues; (ii) there is an executed written agreement with the Researcher that
meets the requirements of GSK’s standards, policies and procedures and, among other
things, requires the Researcher to disclose in any publication of Research, GSK’s support
and any financial interest the researcher may have in GSK; and (iii) GSK’s sales,
marketing, or other commercial personnel did not participate in the design, conduct, or
publication of the Research activity except as permitted under the limited exceptions in
GSK’s policies and procedures.

Review of Publication Activities:



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GSK shall provide the IRO with a list of publication activities (as defined in Section
III.M.3 of the CIA) that resulted in publication of data from GSK-Sponsored post-
marketing clinical trials or post-marketing studies of Government Reimbursed Products
that appeared during the IRO Reporting Period. The list will be broken down into two
categories: (i) GSK-Sponsored post-marketing clinical trials, and (ii) other GSK-
Sponsored post-marketing studies (e.g., observational studies, health outcomes studies,
epidemiology studies, and meta-analyses and pooled analyses.) The IRO shall select a
sample from each category for review, in proportion to the relative numbers in each
category (collectively, “Reviewed Publication Activities”). The IRO shall review a total
of 60 Reviewed Publication Activities. GSK shall provide the IRO with copies of the
publications and documents and information relating to each of the Reviewed Publication
Activities sufficient for the IRO to conduct the reviews outlined below.

The IRO will assess each of the Reviewed Publication Activities to test whether the
Reviewed Publication Activity was conducted in a manner consistent with GSK’s
standards, policies, procedures and processes, including those that require: i) posting of
summary results from all GSK-Sponsored post-marketing interventional research studies
of Government Reimbursed Products on GSK’s Clinical Study Register within a
specified periods of time; ii) posting of summaries of study protocols for such research
studies in the GSK Clinical Study Register; iii) registration of summary results from
applicable GSK-Sponsored clinical trials on the NIH sponsored website in compliance
with all Federal requirements; iv) publication (or attempted publication) of the results of
GSK-Sponsored post-marketing interventional Research studies in peer-reviewed
journals within specified periods of times; and v) compliance with GSK’s operating
practices regarding publications relating to GSK-Sponsored post-marketing
interventional research studies of Government Reimbursed Products (including standards
relating to appropriateness, accuracy, balance, and acknowledgement of GSK’s role as
the funding source for the Research).

Review of Authorship-Related Activities:

For each of the Reviewed Publication Activities, the IRO shall also assess the activity to
test whether the activity was conducted in a manner consistent with GSK’s standards,
policies, procedures and processes relating to authorship, including those that require: i)
authors of journal articles about GSK-Sponsored Research to adhere to ICMJE
authorship requirements (except in instances in which a particular journal requires an
alternative procedure); ii) authors of articles on GSK-Sponsored Research to disclose any
GSK financial support for the study and any financial relationship with GSK; iii) authors
of a GSK publication of GSK-Sponsored Research to make substantial contributions to
the study and give final approval to the version of the publication ultimately published;

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and iv) certifications from employees and medical writing contractors as to any GSK
publication of GSK-Sponsored Research on which the individual is listed as an author or
contributor.

F.      IRO Review of Additional Items

       As set forth in Section III.E.1.b of the CIA, for the second through sixth IRO
Reporting Periods, the OIG at its discretion may identify up to three additional items for
the IRO to review (hereafter “Additional Items”). No later than 150 days prior to the end
of the applicable IRO Reporting Period, the OIG shall notify GSK of the nature and
scope of the IRO review to be conducted for each of the Additional Items. Prior to
undertaking the review of the Additional Items, the IRO and/or GSK shall submit an
audit work plan to the OIG for approval and the IRO shall conduct the review of the
Additional Items based on a work plan approved by the OIG. The IRO shall include
information about its review of each Additional Item in the Transactions Review Report
(including a description of the review conducted for each Additional Item; the IRO’s
findings based on its review for each Additional Item; and the IRO’s recommendations
for any changes in GSK’s systems, processes, policies, and procedures based on its
review of each Additional Item).

       GSK may propose to the OIG that its internal audit(s) be substituted, subject to the
Verification Review requirements set forth below, for one or more of the Additional
Items that would otherwise be reviewed by the IRO for the applicable IRO Reporting
Period. The OIG retains sole discretion over whether, and in what manner, to allow
GSK’s internal audit work to be substituted for a portion of the Additional Items review
conducted by the IRO.

       In making its decision, the OIG agrees to consider, among other factors, the nature
and scope of GSK’s planned internal audit work, the results of the Transactions
Review(s) during prior IRO Reporting Period(s), and GSK’s demonstrated audit
capabilities to perform the proposed audit work internally. If the OIG denies GSK’s
request to permit its internal audit work to be substituted for a portion of the IRO’s
review of Additional Items in a given IRO Reporting Period, GSK shall engage the IRO
to perform the Review as outlined in this Section III.

       If the OIG agrees to permit certain of GSK’s internal audit work for a given IRO
Reporting Period to be substituted for a portion of Additional Items review, such internal
work would be subject to verification by the IRO (Verification Review). In such an
instance, the OIG would provide additional details about the scope of the Verification
Review to be conducted by the IRO. However, for purposes of any Verification Review,

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the IRO shall review at least 20% of the sampling units reviewed by GSK in its internal
audits.

G.      Transactions Review Report

      For each IRO Reporting Period, the IRO shall prepare a report based on its
Transactions Review. The report shall include the following:

        1)      General Elements to Be Included in Report

                         a)     Review Objectives: A clear statement of the objectives
                                intended to be achieved by each part of the review;

                         b)     Review Protocol: A detailed narrative description of the
                                procedures performed and a description of the sampling unit
                                and universe utilized in performing the procedures for each
                                sample reviewed; and

                         c)     Sources of Data: A full description of documentation and
                                other information, if applicable, relied upon by the IRO in
                                performing the Transactions Review.

        2)      Results to be Included in Report

                Consistent with the scope of items reviewed by the IRO for the applicable
                IRO Reporting Period, the following results shall be included in each
                Transaction Review Report:

                (Relating to the Review of Inquiries)

                a)       in connection with the review of Inquiries, a description of each type
                         of sample unit reviewed, including the number of each type of
                         sample units reviewed (e.g., the number of Inquiries) and an
                         identification of the types of documents and information reviewed
                         for the Inquiries;

                b)       for each Inquiry sample unit, the IRO shall summarize the
                         information about the Inquiry contained in the Inquiries Database;



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                c)       for each Inquiry sample unit, findings and supporting rationale as to
                         whether: (i) each item of information listed in Section III.A.1 is
                         reflected in the Inquiries Database; and (ii) for each Inquiry for
                         which an Off-Label Review was conducted, the basis for suspecting
                         that improper off-label promotion may have occurred; the steps
                         undertaken as part of the Off-Label Review; the findings of the
                         Compliance Officer as a result of the Off-Label Review; and any
                         follow-up actions taken by GSK as a result of the Compliance
                         Officer’s findings;

                d)       the findings and supporting rationale regarding any weaknesses in
                         GSK’s systems, processes, policies, procedures, and practices
                         relating to the Inquiries, and the Inquiries Database, if any;
                e)       recommendations for improvement in GSK’s systems, processes,
                         policies, procedures, and practices relating to the Inquiries and the
                         Inquiries Database, if any;

                (Relating to the Target Plan Reviews)

                f)       a list of the Government Reimbursed Products promoted by GSK
                         during the IRO Reporting Period and a summary of the FDA-
                         approved uses for such products;

                g)       for each Government Reimbursed Product which was promoted
                         during the IRO Reporting Period: i) a description of the criteria used
                         by GSK in developing or reviewing the Target Plans and for
                         including or excluding specified types of HCPs or HCIs from the
                         Target Plans; ii) a description of the review conducted by GSK of
                         the Target Plans and an indication of whether GSK reviewed the
                         Target Plans as required by Section III.B.3.j of the CIA; iii) a
                         description of all instances for each Target Plan in which it appears
                         that the HCPs and HCIs included on the Target Plan are inconsistent
                         with GSK’s criteria relating to the Target Plan and/or GSK’s
                         Policies and Procedures; and iv) a description of all instances in
                         which it appears that GSK failed to follow its criteria or Policies and
                         Procedures relating to Target Plans or the review of the Target Plans;

                h)       the findings and supporting rationale regarding any weaknesses in
                         GSK’s systems, processes, policies, procedures, and practices


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                         relating to GSK’s Target Plans or the review of the Target Plans, if
                         any;

                i)       recommendations, if any, for changes in GSK’s systems, processes,
                         policies, procedures, and practices that would correct or address any
                         weaknesses or deficiencies uncovered during the Transactions
                         Review with respect to Target Plans or the review of the Target
                         Plans;

                (Relating to the Sampling Event Reviews)

                j)       for each Government Reimbursed Product distributed during the
                         IRO Reporting Period: i) a description of Sample Distribution
                         Policies and Procedures (including whether sales representatives
                         may provide samples for the product and, if so, to HCPs or HCIs of
                         which medical specialty or type of clinical practice a sales
                         representative may provide samples); ii) a detailed description of any
                         instances in which it appears that the medical specialty or clinical
                         practice of the HCPs or HCIs that received a sample during a
                         Sampling Event was not consistent with the uses of the product
                         approved by the FDA. This description shall include a description of
                         the process followed by GSK in determining that it was appropriate
                         to provide a sample to such HCP or HCI and the basis for such
                         determination; and iii) a detailed description of any instances in
                         which it appears that GSK failed to follow its Sample Distribution
                         Policies and Procedures for the Government Reimbursed Product(s)
                         provided during the Sampling Event;

                k)       the findings and supporting rationale regarding any weaknesses in
                         GSK’s systems, processes, policies, procedures, and practices
                         relating to GSK’s distribution of samples of Government
                         Reimbursed Products, if any;

                l)       recommendations, if any, for changes in GSK’s systems, processes,
                         policies, procedures, and practices that would correct or address any
                         weaknesses or deficiencies uncovered during the Transactions
                         Review with respect to the distribution of samples;

                (Relating to the Physician Payment Listing Reviews)


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                m)       a description of the entries in the Physician Payment Listing for each
                         physician or Related Entity sampled and a description of Control
                         Documents reviewed in connection with each selected physician or
                         Related Entity;

                n)       for each sampled physician or Related Entity, findings and
                         supporting rationale as to whether: (i) all required Control
                         Documents exist; (ii) each Control Document was completed in
                         accordance with all of the requirements set forth in the applicable
                         GSK policy; (iii) the aggregate value of the Payment(s) as reflected
                         in the Listing for the sampled physician or entity is consistent with
                         the value of the Payment(s) reflected in the Control Documents; (iv)
                         each Control Document reflects that GSK’s policies were followed
                         in connection with the underlying activity reflected in the document
                         (e.g., all required approvals were obtained); and (v) disciplinary
                         action was undertaken in those instances in which GSK policies
                         were not followed;

                o)       for each sampled physician or Related Entity unit reviewed, an
                         identification and description of all exceptions discovered. The
                         report shall also describe those instances in which corrective action
                         was initiated prior to the selection of the sampled physicians or
                         Related Entities, including a description of the circumstances
                         requiring corrective action and the nature of the corrective action;

                p)       if any Material Errors are discovered in any sample unit reviewed, a
                         description of the error, the Additional Review procedures
                         performed and a statement of findings as to the root cause(s) of the
                         Material Error;

                (Relating to the Review of Research and Publication Practices and
                Authorship-Related Activities)

                q)       a description of each sampled Research activity reviewed, including
                         an identification of the types of documents and information reviewed
                         in connection with each sampled Research activity;

                r)       an assessment of whether, for each sampled Research activity: (i)
                         the activity was approved consistent with GSK’s standards, policies,
                         procedures and processes regarding sponsorship or support of
                         Research; (ii) there is an executed written agreement with the
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                         Researcher that meets the requirements of GSK’s standards, policies
                         and procedures; and (iii) GSK’s sales, marketing, or other
                         commercial personnel did not participate in the design, conduct, or
                         publication of the Research Activity except as permitted under
                         GSK’s policies and procedures. If a sampled Research activity
                         failed to meet GSK standards, policies, procedures and processes, an
                         explanation of the deficiency;

                s)       a description of each Reviewed Publication Activity assessed by the
                         IRO, including an identification of the types of documents and
                         information reviewed in connection with each Reviewed Publication
                         Activity;

                t)       an assessment of whether for each Reviewed Publication Activity; i)
                         authors of journal articles about GSK-Sponsored Research adhered
                         to ICMJE requirements; ii) authors of articles about GSK-Sponsored
                         Research disclosed any GSK financial support for the study and any
                         financial relationship with GSK; iii) authors of a GSK publication
                         about GSK-Sponsored Research made substantial contributions to
                         the study and gave final approval to the version of the publication
                         ultimately published; and iv) GSK obtained certifications from
                         employees, medical writing contractors, and outside authors as to
                         any GSK publication of GSK-Sponsored Research on which the
                         individual is listed as an author or contributor;

                u)       an assessment of whether for each Reviewed Publication Activity; i)
                         authors of journal articles about GSK-Sponsored Research adhered
                         to ICMJE requirements; ii) authors of articles on GSK-Sponsored
                         Research disclosed any GSK financial support for the study and any
                         financial relationship with GSK; iii) authors of a GSK publication of
                         GSK-Sponsored Research made substantial contributions to the
                         study and gave final approval to the version of the publication
                         ultimately published; and iv) GSK obtained certifications from
                         employees, medical writing contractors, and outside authors as to
                         any GSK publication of GSK-Sponsored Research on which the
                         individual is listed as an author or contributor;

                v)       if any Reviewed Publication Activity failed to meet GSK standards,
                         policies, procedures and processes, an explanation of the deficiency;


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                w)       the IRO’s findings and supporting rationale regarding any
                         weaknesses or deficiencies in GSK’s systems, processes, policies,
                         procedures, and practices relating to GSK’s Research and
                         Publications Practices and Authorship-Related Activities, if any;

                x)       recommendations, if any, for changes in GSK’s systems, processes,
                         policies, and procedures that would correct or address any
                         weaknesses or deficiencies uncovered during the Transactions
                         Review with respect to Research and Publications Practices and
                         Authorship-Related Activities;

                (Relating to the Review of Additional Items)

                y)       for each Additional Item reviewed, a description of the review
                         conducted;

                z)       for each Additional Item reviewed, the IRO’s findings based on its
                         review;

                aa)      for each Additional Item reviewed, the findings and supporting
                         rationale regarding any weaknesses in GSK’s systems, processes,
                         policies, procedures, and practices relating to the Additional Item, if
                         any;

                bb)      for each Additional Item reviewed, recommendations, if any, for
                         changes in GSK’s systems, processes, policies, and procedures that
                         would correct or address any weaknesses or deficiencies uncovered
                         during the review.




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                     IRO Reviews of GSK’s Targeted Risk Analysis and
                    Compliance Evaluation Review (TRACER) Program

I.      General Description of TRACER program

       GSK uses the Targeted Risk Analysis and Compliance Evaluation Review process
(TRACER) as a tool to evaluate and mitigate promotional risks (hereinafter, “risks”)
associated with all prescription Government Reimbursed Products that have field force
support in the United States (GSK Products).

                1. Risk Identification and Evaluation

       As part of TRACER, risk information will be solicited from four key sources:
(i) Copy Approval Teams; (ii) U.S. Pharma’s Monitoring Control Center of Excellence
(CCoE); (iii) Deputy Compliance Officers (DCOs); and (iv) Legal department personnel.

        Based on inputs from these sources, a relative risk ranking report will be produced
for all GSK Products (Risk Evaluation Report). The Risk Evaluation Report will be
presented to the leadership team of each U.S. Pharma commercial business unit
(Leadership Team) and the U.S. Pharma Commercial Leadership Team (CLT) along with
recommendations regarding which products may require enhanced risk mitigation plans.

       The Risk Evaluation Report will also be used by the CCoE to inform the risk-
based selection of products as required by the Field Force Monitoring Program described
in CIA Section III.L.

                2. Risk Mitigation Plans

       Risk Mitigation Plans (RMPs) will be completed annually for all GSK Products.
All RMPs will outline standard risk mitigation activities that will be performed and
tracked for each GSK Product, regardless of the product’s relative risk ranking (Standard
RMPs). Standard risk mitigation activities will consist of the monitoring activities to be
conducted for each GSK Product in the upcoming year, such as monitoring of speaker
programs, speaker training, advisory boards, sampling, verbatim reviews, medical
information requests and ride-alongs with sales personnel.

        Based on the Risk Evaluation Report, products may be selected for Enhanced
RMPs by either (or both) the Leadership Teams and the CLT. These RMPs will include
enhanced risk mitigation activities, in addition to the standard activities (Enhanced
RMPs). Enhanced RMPs will consist of activities tailored to the risks identified during
the risk ranking process. For example, such activities may include increased compliance

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messaging from Leadership Teams, modifications to or limitations of promotional
programs, or enhanced training requirements.

       All RMPs (whether Standard or Enhanced) will be developed by brand teams, in
consultation with their respective DCOs and the CCoE, on an annual basis. Each RMP
will specify the: (i) risk monitoring activities; (ii) metrics by which monitoring activities
and results will be evaluated and/or measured; (iii) risk mitigation action items, if
necessary; (iv) metrics by which risk mitigation activities and results will be evaluated
and/or measured; (v) responsible individual(s); and (vi) expected date(s) of monitoring
and/or action item completion. The RMPs will be reviewed and approved by the
respective business unit Leadership Teams.

                3.       Risk Mitigation Plan Tracking

RMP activities (including risk monitoring activities, risk mitigation activities, and risk
mitigation action items) will be tracked by the CCoE and reported using a Monitoring
Dashboard which will identify risk monitoring and mitigation activities and track their
progress on at least a quarterly basis. The status of the RMPs will be tracked and
reported to Leadership Teams and compliance personnel on at least a quarterly basis.

II.     TRACER Reviews, General Description

       A.      As specified more fully below, GSK shall retain an IRO to assist GSK in
assessing and evaluating its systems, processes, policies, procedures, and practices
relating to the TRACER program (TRACER Review). The TRACER Review shall
consist of two components - a systems review (TRACER Systems Review) and a
transactions review (TRACER Transactions Review) as described more fully below.
GSK may engage, at its discretion, a single IRO to perform both components of the
TRACER Review provided that the entity has the necessary expertise and capabilities to
perform both.

        B.     If there are no material changes in GSK’s systems, processes, policies, and
procedures relating to TRACER, the IRO shall perform the TRACER Systems review for
the second and fifth IRO Reporting Periods. If GSK materially changes its systems,
processes, policies, and procedures relating to TRACER, the IRO shall perform a
TRACER Systems Review for the IRO Reporting Period(s) in which such changes were
made in addition to conducting the Systems Review for the second and fifth IRO
Reporting Periods. The additional TRACER Systems Review(s) shall consist of: (1) an
identification of the material changes; (2) an assessment of whether other systems,
processes, policies, and procedures previously reported did not materially change; and (3)
a review of the systems, processes, policies, and procedures that materially changed. The
IRO shall conduct the TRACER Transactions Review for second through sixth IRO
Reporting Periods of the CIA.
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III.    TRACER Systems Review

        A.      The TRACER Systems review shall consist of the following:

                1. A review of the processes by which GSK develops and evaluates Risk
                   Evaluation Reports and develops Standard and Enhanced RMPs,
                   including the sources of information (e.g., the individual personnel,
                   departments or functional areas, and/or any systems involved) used to
                   compile the Reports and RMPs; the types of underlying data and
                   information that are considered or evaluated during the development of
                   the Risk Evaluation Reports and the RMPs; and the timing for
                   development of Risk Evaluation Reports and the RMPs (including
                   modifications to the Reports or RMPs in the event of significant new
                   developments);

                2. An assessment of whether, in developing the Risk Evaluation Reports
                   and the RMPs: i) additional or different sources of information; ii)
                   additional or different types of data or information; and iii) additional or
                   different timing cycles should be utilized;

                3. A review of the experience and background of the brand directors
                   responsible for development of the RMPs and an assessment of the
                   completeness and appropriateness of the training, policies, procedures,
                   standard operating procedures, and guidance such individuals receive
                   regarding the development of the RMPs;

                4. An assessment of whether the standard risk mitigation activities
                   (monitoring activities) included in RMPs are designed to: (i) adequately
                   monitor all relevant identified risks; (ii) identify any actual problems
                   that have occurred in connection with the identified potential risk;
                   and/or (iii) ensure that the activity associated with an identified risk
                   does not occur in the future;

                5. An assessment of whether standard risk mitigation activities
                   (monitoring activities) that may be included in RMPs should be: (i)
                   enhanced, revised, or refined; (ii) changed to include additional or
                   different mitigation/monitoring options to be considered based upon
                   specific identified risks; (iii) tracked and reviewed more frequently than
                   prescribed by current policies to ensure that the options address all
                   relevant risks for the specific products reviewed;

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                6. An assessment of whether enhanced risk mitigation activities and risk
                   mitigation action items (and options for such activities) included in
                   Enhanced RMPs are designed to: (i) adequately address all relevant
                   identified risks; (ii) identify any actual problems that have occurred in
                   connection with the identified potential risk; and/or (iii) ensure that the
                   activity associated with an identified risk does not occur in the future;

                7. An assessment of whether enhanced risk mitigation activities that may
                   be included in RMPs should be: (i) enhanced, revised, or refined; (ii)
                   changed to include additional or different mitigation/monitoring options
                   to be considered based upon specific identified risks; (iii) tracked and
                   reviewed more frequently than prescribed by current policies to ensure
                   that the options address all relevant risks for the specific products
                   reviewed; and

                8. A review of the systems, policies, procedures, and processes (including
                   the Monitoring Dashboard and any narrative supplements) by which
                   GSK tracks and manages RMP activities and an assessment of whether
                   the systems, policies, procedures and processes ensure that the RMPs
                   are appropriately implemented (including by identifying individuals
                   responsible for the follow-up or action items).

        B.      The IRO shall prepare a report based upon each Systems Review performed
(System Review Report). The Systems Review Report will include the IRO’s findings,
recommendations, observations, and comments on items 1-8 above and, to the extent not
otherwise addressed, an assessment of the following: (i) whether the Risk Evaluation
Reports and RMPs identify and prioritize relevant risks; (ii) whether the risk monitoring
activities, risk mitigation activities and any risk mitigation action items identified in
RMPs address identified risks; (iii) whether sufficient controls exist to ensure that all risk
mitigation steps (including monitoring activities and risk mitigation activities) are
completed in accordance with the RMPs; iv) whether the options for risk monitoring
activities and risk mitigation activities identified in the RMPs address and potentially
mitigate identified risks; and (iv) whether sufficient controls exist to ensure that all
agreed-upon risk monitoring activities and risk mitigation activities are completed in
accordance with the RMPs.

IV.     TRACER Transactions Review

      A.     At least thirty (30) days prior to the end of the second through sixth IRO
Reporting Periods, GSK shall submit to OIG a list of all GSK Products for which RMPs
were developed. GSK shall notify the OIG about which products had Standard RMPs
and which products had Enhanced RMPs. Prior to the end of the applicable IRO
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Reporting Period, OIG shall select 3 GSK Products (each a “Selected Product” and
together the “Selected Products”) to be reviewed in connection with the TRACER
Transactions Review.

       B.      For each IRO Reporting Period and for each Selected Product, the IRO
shall conduct a review of: i) the applicable Risk Evaluation Report entry and RMP; ii)
documents and materials related to the development of the RMP; and iii) documents and
materials relating to the implementation of the RMP (including the Monitoring
Dashboard and any supplements to the Scorecard). The IRO shall also interview the
brand team director responsible for the development of the RMP and the individual(s)
responsible for the implementation of the risk monitoring and risk mitigation activities
specified in the RMP.

The objective of the IRO shall be to: (i) understand the processes followed by GSK in
developing the RMP for each Selected Product, including the underlying bases for GSK’s
decision to develop either a Standard RMP or an Enhanced RMP for the Selected
Product; (ii) determine whether, based on the information contained in the Risk
Evaluation Report, an appropriate RMP (including as to the included risk monitoring
activities, risk mitigation activities, and risk mitigation action items) was developed for
the Selected Product; and (iii) assess GSK’s implementation and tracking of the
implementation of the RMP for the Selected Product.

       C.     The IRO will prepare a report based on each TRACER Transactions
Review performed (Transactions Review Report). The Transactions Review Report shall
include the following:

                1. an identification of the 3 Selected Products and a description of the
                   documents and information reviewed in connection with each Selected
                   Product, including a description of whether the RMP for each Selected
                   Product was a Standard RMP or an Enhanced RMP,

                2. for each Selected Product, a description of: i) the process followed in
                   developing the RMP; and ii) the types of identified risks associated with
                   the Selected Product;

                3. for each Selected Product, an assessment of whether it was appropriate
                   for GSK to develop, as applicable, an Enhanced or a Standard, RMP for
                   the product;

                4. for each Selected Product, an assessment of whether, based on the
                   information contained in the Risk Evaluation Report, an appropriate
                   RMP was developed for the Selected Product;
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                5. for each Selected Product, a description of the expertise and
                   backgrounds of the brand directors who were responsible for the
                   development of the RMP;

                6. for each Selected Product, a description of the following items set forth
                   in the RMP: (i) risk monitoring activities; (ii) metrics by which the risk
                   monitoring activities and results will be evaluated and/or measured; (iii)
                   risk mitigation activities, including any risk mitigation action items; (iv)
                   metrics by which the risk mitigation activities and results will be
                   evaluated and/or measured; (v) responsible individual(s); (vi) expected
                   date(s) of completion for each risk monitoring activity and risk
                   mitigation activity; and (vii) if the RMP did not specify each of the
                   items set forth above, a description of any deficiencies;

                7. for each Selected Product, a description of whether risk monitoring
                   activities specified in the RMP were implemented and tracked in
                   accordance with the RMP and GSK’s policies and procedures, and a
                   description of any deficiencies;

                8. for each Selected Product, a description of whether risk mitigation
                   activities (including any action items) specified in the RMP were
                   implemented and tracked in accordance with the RMP and GSK’s
                   policies and procedures, and a description of any deficiencies;

                9. for each Selected Product a description of: (i) any recommendations
                   made by the IRO regarding the RMP or any risk monitoring activities
                   and risk mitigation activities included in the RMP; (ii) whether, and in
                   what manner, GSK implemented the recommendations from the IRO;
                   and (iii) if GSK did not implement the IRO recommendations, a
                   description of the rationale for GSK’s decision not to implement the
                   recommendations; and

                10. the IRO’s findings and supporting rationale regarding any weaknesses
                   or deficiencies in GSK’s systems, processes, policies, procedures, and
                   practices relating to the TRACER program, if any; and
                   recommendations, if any, for changes in GSK’s systems, processes,
                   policies, procedures, and practices that would correct or address any
                   weaknesses or deficiencies uncovered during the Transactions Review
                   with respect to the TRACER program.



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                                Appendix D to CIA for GlaxoSmithKline LLC

                          Global Manufacturing and Supply-Related Provisions

I.        PREAMBLE

               Prior to the Effective Date of the CIA (as defined below), GSK and its
Affiliates established a voluntary compliance program applicable to the Global
Manufacturing and Supply business unit (GMS Compliance Program). GMS has
responsibility for the compliance function at the manufacturing facility located in
Zebulon, North Carolina (Zebulon) and at manufacturing facilities worldwide. GMS
employees at Zebulon are responsible for the release and post-release management of all
Covered Products (defined below in Section II.C.3) distributed in the United States that
are either manufactured at the Zebulon site or manufactured at other manufacturing
facilities operated by GMS and located outside of the United States.

              The GMS Compliance Program includes a GMS Compliance Officer and a
GMS Compliance Committee. The GMS Compliance Program also includes a Code of
Conduct (as described in Section III.B.1 of the CIA), written policies and procedures,
educational and training initiatives, a Disclosure Program that allows for the confidential
disclosure and investigation of potential compliance violations and disciplinary
procedures, screening measures for Ineligible Persons, and internal auditing procedures.
GSK shall continue the GMS Compliance Program throughout the term of this Appendix
and shall do so in accordance with the terms set forth below. GSK may modify its GMS
Compliance Program as appropriate, but, at a minimum, GSK shall ensure that during the
term of this Appendix, it shall comply with the obligations set forth in this Appendix.

II.       TERM AND SCOPE OF THIS APPENDIX

       A.    Unless otherwise specified, the period of the compliance obligations
assumed by GSK and its Affiliates under this Appendix D shall be five reporting periods,
as defined below. The “Effective Date” shall be the date on which the final signatory of
the CIA executes the CIA. The first Reporting Period shall be from the Effective Date
through December 31, 2013. The second and subsequent Reporting Periods shall be from
January 1 through December 31 of each of the subsequent four calendar years.

      B.     Sections III.D of this Appendix to the CIA and sections VII, X, and XI of
the CIA shall expire no later than 120 days after OIG’s receipt of: (1) GSK’s final Annual
Report with respect to this Appendix; or (2) any additional materials submitted by GSK
pursuant to OIG’s request, whichever is later.

          C.        The scope of this Appendix shall be governed by the following definitions:

                     1.         “Manufacturing Covered Persons” includes:
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                                a.   President, Global Manufacturing and Supply;
                                b.   All members of the GMS Executive Team;
                                c.   Senior Vice President of GMS Quality;
                                d.   All members of the Quality Executive Team (QET);
                                e.   All “above-site” employees with a direct reporting line into a
                                     QET member, and whose responsibilities include managing
                                     GMS employees that directly support cGMP Activities at the
                                     Covered Manufacturing Facility(ies);
                                f.   The Site Quality Director at the Covered Manufacturing
                                     Facility(ies);
                                g.   All GSK employees at the Covered Manufacturing
                                     Facility(ies) who are engaged in cGMP Activities;
                                h.   Senior Vice President of GMS Pharma Operations;
                                i.   All above-site employees with a direct reporting line to the
                                     Senior Vice President of Pharma Operations whose
                                     responsibilities include managing manufacturing operations at
                                     the Covered Manufacturing Facility(ies);
                                j.   With respect to GMS manufacturing facilities (other than a
                                     Covered Manufacturing Facility) located in the United States
                                     that manufacture and/or release drug products for distribution
                                     in the United States, the Site Director, the Site Quality
                                     Director, and any employee who is directly responsible for
                                     authorizing the release for distribution of drug products at
                                     such GMS manufacturing facilities;
                                k.   With respect to GSK vaccines manufacturing facilities (other
                                     than a Covered Manufacturing Facility) located in the United
                                     States that manufacture and/or release vaccines for
                                     distribution in the United States, the Site Director, the Site
                                     Quality Director and any employee who is directly
                                     responsible for authorizing the release for distribution of
                                     vaccines at such vaccines manufacturing facilities;
                                l.   Any GSK employee at a distribution center located in the
                                     United States that is operated by or on behalf of GSK who is
                                     directly responsible for authorizing the release for distribution
                                     of drug products or vaccines from such distribution center;
                                     and
                                m.   Any contractor, subcontractor, agent or other person whose
                                     normal place of work is a Covered Manufacturing
                                     Facility(ies) and whose day-to-day responsibilities directly
                                     relate to cGMP Activities.



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              Notwithstanding the above, this term does not include employees,
contractors, subcontractors, agents, and other persons who are not reasonably expected to
work more than 160 hours per calendar year, except that any such individuals shall
become “Manufacturing Covered Persons” at the point when they work more than 160
hours during the calendar year.

              2.     “cGMP Activities” means activities directly related to ensuring
compliance with current Good Manufacturing Practice (cGMP) requirements contained
in the Federal Food, Drug, and Cosmetic Act and applicable regulations (collectively
“cGMP Requirements”), to submitting cGMP-related reports and information to the
FDA, and/or responding to FDA inspectional observations or other correspondence,
including correspondence regarding cGMP Requirements.

               3.     “Covered Products” means prescription drug products sold by GSK
that are reimbursed by a Federal health care program and that are manufactured at a GSK
facility and released by a Covered Manufacturing Facility (as defined below in Section
II.C.4) or any other GSK facility for distribution into the United States. Vaccines are not
Covered Products.

              4.     “Covered Manufacturing Facility” means the GSK facility in
Zebulon, North Carolina, and subject to Section IV.A, any other GSK facility that after
the Effective Date of this CIA and Appendix, manufactures, or is responsible for the
release of Covered Products in the United States.

III.      CORPORATE INTEGRITY OBLIGATIONS

              To the extent not accomplished prior to the Effective Date, GSK shall
establish and maintain a GMS Compliance Program that includes the following elements:

          A.        Compliance Officer and GMS Compliance Committee

               1.     Compliance Officer. Prior to the Effective Date, GSK appointed an
individual to serve as a Compliance Officer for its GMS business unit (GMS Compliance
Officer) and GSK shall maintain a GMS Compliance Officer for the term of this
Appendix. The GMS Compliance Officer shall be responsible for overseeing the
development and implementation of policies, procedures, and practices designed to
ensure compliance with the requirements set forth in this Appendix relating to cGMP
Activities, with applicable Federal health care program requirements and applicable FDA
requirements. The GMS Compliance Officer shall be a member of senior management of
GMS, and shall report directly to the Senior Vice President for Governance, Ethics and
Assurance of GlaxoSmithKline PLC, who, in turn reports to the Chief Executive Officer
of GlaxoSmithKline PLC. The GMS Compliance Officer shall make periodic (at least
quarterly) reports regarding GMS compliance matters related to this Appendix to the
Board of Directors (or an authorized committee thereof) of GlaxoSmithKline PLC
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(hereinafter, “the Board”), and shall be authorized to report on such matters to the Board
at any time. The GMS Compliance Officer shall not be or be subordinate to the General
Counsel or Chief Financial Officer. The GMS Compliance Officer shall be responsible
for oversight of the day-to-day compliance activities engaged in by GMS as well as for
any reporting obligations created under this CIA. Any noncompliance job
responsibilities of the GMS Compliance Officer shall be limited and must not interfere
with the GMS Compliance Officer’s ability to perform the duties outlined in this CIA.

               GSK shall report to OIG, in writing, any changes in the identity of the GMS
Compliance Officer, or any actions or changes that would affect the GMS Compliance
Officer’s ability to perform the duties necessary to meet the obligations in this Appendix,
within 5 days after such a change.

               2.      GMS Compliance Committee. Prior to the Effective Date, GMS
established a GMS Compliance Committee. The GMS Compliance Committee includes
the GMS Compliance Officer and other members of GMS senior management necessary
to meet the requirements of this Appendix. The GMS Compliance Officer shall co-chair
the GMS Compliance Committee with the GMS President. The GMS Compliance
Committee shall support the GMS Compliance Officer in fulfilling his/her
responsibilities (e.g., shall assist in the analysis of the GMS’s cGMP risk areas and shall
oversee monitoring of internal and external audits and investigations related to cGMP
Requirements). The GMS Compliance Committee shall meet at least quarterly.

             GSK shall report to OIG, in writing, any changes in the composition of the
GMS Compliance Committee, or any actions or changes that would affect the GMS
Compliance Committee’s ability to perform the duties necessary to meet the obligations
in this Appendix, within 15 days after such a change.

              3.      Board of Directors Compliance Obligations. The Board shall be
responsible for the oversight of matters related to compliance with cGMP Activities,
applicable Federal health care program requirements, applicable FDA requirements, and
the obligations of this Appendix.

          The Board shall, at a minimum, be responsible for the following:

                                a.   meeting at least quarterly to review and oversee GMS’s
                                     Compliance Program, including but not limited to the
                                     performance of the GMS Compliance Officer and other GMS
                                     compliance personnel;

                                b.   for each Reporting Period of this Appendix, adopting a
                                     resolution, signed by each member of the Board summarizing
                                     its review and oversight of GMS’s compliance with cGMP
                                     Activities, applicable Federal health care program
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                                      requirements, applicable FDA requirements, and the
                                      obligations of this Appendix.

          At minimum, the resolution shall include the following language:

                                “The Board of Directors has made a reasonable inquiry into the
                                operations of the GMS Compliance Program for the time period
                                [insert time period], including the performance of the GMS
                                Compliance Officer. The Board has concluded that, to the best of its
                                knowledge, GSK has implemented an effective Compliance
                                Program, including a program that is effective to meet applicable
                                Federal health care program requirements, applicable FDA
                                requirements, and the obligations of this Appendix D to the CIA.”

              If the Board is unable to provide such a conclusion in the resolution, the
Board shall include in the resolution a written explanation of the reasons why it is unable
to provide the conclusion and the steps it is taking to implement an effective GMS
Compliance Program.

              GSK shall report to the OIG, in writing, any changes in the composition of
the Board, or any actions or changes that would affect the Board’s ability to perform the
duties necessary to meet the obligations in this Appendix, within 15 days after such
change.

          B.        Written Standards

             Code of Conduct. Prior to the Effective Date, GSK developed and adopted
a written Code of Conduct (as described in Section III.B.1 of the CIA).

              To the extent not already accomplished, within 120 days after the Effective
Date, GSK shall distribute the Code of Conduct to each Manufacturing Covered Person
who is a GSK employee and each Manufacturing Covered Person shall certify, in writing
or electronically, that he or she has received, read, understood, and shall abide by the
Code of Conduct. New Manufacturing Covered Persons shall receive the Code of
Conduct and shall complete the required certification within 30 days after becoming a
Manufacturing Covered Person or within 120 days after the Effective Date, whichever is
later.

              As provided in Section III.B of the CIA, GSK shall periodically review the
Code of Conduct to determine if revisions are appropriate and shall make any necessary
revisions based on such review. Any revised Code of Conduct shall be distributed to
Manufacturing Covered Persons within 30 days to after any revisions are finalized. Each
Manufacturing Covered Person shall certify, in writing or electronically, that he or she

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has received, read, understood, and shall abide by the revised Code of Conduct within 30
days after the distribution of the revised Code of Conduct.

              1.     Policies and Procedures. Prior to the execution of the CIA, GSK
implemented written Policies and Procedures regarding the operation of its GMS
Compliance Program. Within 120 days after the Effective Date, GMS shall implement
written procedures regarding any additional Compliance Program requirements outlined
in this Appendix D. To the extent not already accomplished, within 120 days after the
Effective Date, GMS shall ensure that the Policies and Procedures address or shall
continue to address:

                                a.   the subjects relating to the Code of Conduct identified in
                                     Section III.B.1 of the CIA; and

                                b.   disciplinary policies and procedures for violations of the
                                     Company’s Policies and Procedures, including policies
                                     relating to cGMP Activities and FDA requirements relating to
                                     cGMP Activities.

              To the extent not already accomplished, within 120 days after the Effective
Date, the Policies and Procedures shall be made available to all Manufacturing Covered
Persons. Appropriate and knowledgeable staff shall be available to explain the Policies
and Procedures.

              At least annually (and more frequently, if appropriate), GSK shall assess
and update the Policies and Procedures, as necessary. Within 30 days after the effective
date of any revisions, any such revised Policies and Procedures shall be made available to
all Manufacturing Covered Persons.

          C.        Training and Education

               GSK represents that it provides training on a regular basis concerning a
variety of topics directly related to cGMP Activities. The training required by this
Appendix need not be separate and distinct from the regular training provided by GSK to
Manufacturing Covered Persons. At GSK’s option, the training required by this
Appendix may be integrated into the regular training provided by GSK.

              1.      General Training. Within 120 days after the Effective Date, GMS
shall provide at least one hour of General Training to each Manufacturing Covered
Person. This training, at a minimum, shall explain:

                                a.   The requirements of this Appendix D to the CIA; and


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                                b.   GMS’s Compliance Program, including the Company’s Code
                                     of Conduct.

              New Manufacturing Covered Persons shall receive the General Training
described above within 30 days after becoming a Manufacturing Covered Person or
within 120 days after the Effective Date, whichever is later. After receiving the initial
General Training described above, each Manufacturing Covered Person shall receive at
least one hour of General Training during each subsequent Reporting Period.

       Board Member Training. The training required by Section III.C.4 of the CIA shall
include training on the obligations set forth in this Appendix.

                2.     Certification. Each individual who is required to receive training
shall certify, in writing, or in electronic form, if applicable, that he or she has received the
required training and the date upon which the training was completed. The GMS
Compliance Officer (or designee) shall retain the certifications, along with all course
materials.

            3.    Qualifications of Trainer. Persons providing the training shall be
knowledgeable about the subject area, including about FDA requirements relating to
cGMP Activities.

              4.    Update of Training. GMS shall review the content of each training
program required by this Appendix annually and update the content of each training
program, where appropriate, to reflect any material changes to cGMP requirements,
changes to applicable Federal health care program requirements, FDA requirements, and
any issues observed during internal audits.

               5.     Computer-based Training. GMS may provide the training required
under this Appendix through appropriate computer-based training approaches. If GMS
chooses to provide computer-based training, it shall make available appropriately
qualified and knowledgeable staff or trainers to answer questions or provide additional
information to the individuals receiving such training. All applicable requirements to
provide a number of “hours” of training as set forth in this Section III.C. may be met with
respect to computer-based training by providing the required number of “normative”
hours as that term is used in the computer-based training industry.

                     D.         cGMP Requirements

              1.     In addition to existing FDA authorities and remedies, GSK agrees to
certain obligations under this Appendix relating to cGMP Requirements for GSK drug
products and vaccines. These provisions are in addition to other remedies available to the
FDA.

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               2.    If the Director of Compliance at FDA’s Center for Drug Evaluation
and Research (CDER), or in the case of a vaccine, the Director of Compliance at FDA’s
Center for Biologics Evaluation and Research (CBER) determines that a GSK facility (or
facilities) manufacturing, processing, packing, or holding a GSK drug product or vaccine
is not compliant with cGMP Requirements, FDA may so notify the OIG and recommend
that OIG direct GSK to undertake a Specified Action as set forth below in section III.D.3
of this Appendix.

               3.    If, after reviewing FDA’s notification and recommendation, OIG
agrees that GSK should be directed to undertake a Specified Action as set forth in section
III.D.3 of this Appendix, OIG shall notify GSK in writing of its determination and direct
GSK to undertake one or more of the following actions (Specified Actions):

                                a.   Submit a report or information addressing the assertion of
                                     non-compliance to FDA and OIG within 10 days after the
                                     date of written notification from the OIG in accordance with
                                     the Notification provision in section III.D.4 below;

                                b.   In the event that OIG and/or FDA request additional or
                                     follow-up information, GSK shall submit revised, modified,
                                     or expanded report(s) or plan(s) to FDA and OIG in
                                     accordance with time frames established by the OIG and
                                     FDA; and/or

                                c.   Initiate a recall of the GSK drug product or vaccine in
                                     accordance with the instructions and time frames specified by
                                     OIG and FDA.

              4.     All notifications and reports required under this Section III.D shall
be submitted to the following:

                                     OIG

                                     Administrative and Civil Remedies Branch
                                     Office of Counsel to the Inspector General
                                     Office of Inspector General
                                     U.S. Department of Health and Human Services
                                     Cohen Building, Room 5527
                                     330 Independence Avenue, S.W.
                                     Washington, DC 20201




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                                     FDA

                                     Division of Manufacturing and Product Quality
                                     HFD-320
                                     Center for Drug Evaluation and Research
                                     10903 New Hampshire Avenue
                                     White Oak Bldg. 51
                                     Silver Spring, MD 20993

                                     GSK

                                     Guy Wingate
                                     Vice President - GMS Compliance Officer
                                     GlaxoSmithKline
                                     GSK House (Mailstop BNG-15)
                                     980 Great West Road
                                     Brentford
                                     Middlesex
                                     TW8 9GS
                                     United Kingdom

                                     Paul Noll
                                     Vice President - Associate General Counsel
                                        Legal Operations - Global Manufacturing and Supply
                                     GlaxoSmithKline
                                     Five Moore Drive
                                     Ruvane Building - Mailstop E.3334
                                     Research Triangle Park, NC 27709

             5.      Within 10 days after receiving notification from the OIG of a
Specified Action to be taken, GSK shall notify OIG and FDA in writing either:

                                a.   that GSK is undertaking or has undertaken the Specified
                                     Action, in which event GSK also shall describe the Specified
                                     Action taken or to be taken and the schedule for completing
                                     the action; or

                                b.   that GSK does not agree with the OIG’s determination that it
                                     failed to comply with cGMP Requirements and/or that the
                                     Specified Action is appropriate.



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              6.      If GSK notifies OIG and FDA that it does not agree with the
determination that it failed to comply with cGMP Requirements or that the Specified
Action is appropriate:

                                a.   GSK shall explain in writing the basis for its disagreement; in
                                     so doing, GSK also may propose specific alternative actions
                                     and specific time frames to be substituted for the Specified
                                     Action required under this Section III.D.

                                b.   FDA shall review GSK’s notification and thereafter, in
                                     writing, make a recommendation to OIG that OIG affirm,
                                     modify, or withdraw its proposed Specified Action.

              7.    Based on the advice of the FDA, OIG shall decide whether the
determination that GSK failed to comply with cGMP Requirements and/or the proposed
Specified Action shall be affirmed, modified, or withdrawn and shall provide written
notice (Final Determination) to GSK of the Specified Action to be taken or of the
withdrawal of the Specified Action. GSK shall, upon receipt of the notification of Final
Determination, immediately implement the Final Determination.

              8.     GSK’s failure to implement that Specified Action shall be the basis
for Stipulated Penalties and or Material Breach Penalties under Section X of the CIA.

          E.        Manufacturing Reportable Events

             1.    Definition of Manufacturing Reportable Event. For purposes of this
Appendix, a “Manufacturing Reportable Event” means conduct related to a Covered
Manufacturing Facility or Covered Product that involves:

                                a.   a matter that a reasonable person would consider a probable
                                     violation of criminal, civil, or administrative laws applicable
                                     to cGMP Activities; or

                                b.   the employment of or contracting with a Covered Person who
                                     is an Ineligible Person as defined by Section III.G.1.a of the
                                     CIA;

               A Manufacturing Reportable Event may be the result of an isolated event or
a series of occurrences. A Manufacturing Reportable Event does not include the
following:

                                a.   Field Alert Reports submitted to FDA and related
                                     correspondence;

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                                b.   Observations contained in FDA 483 Reports, GSK’s
                                     responses to those observations and any related
                                     correspondence;

                                c.   Drug Quality Reporting System (DQRS) reports submitted to
                                     FDA and any related correspondence;

                                d.   Reports submitted to FDA relating to suspected or known
                                     counterfeit products and any related correspondence; and

                                e.   GSK Annual Product Reports for marketed products
                                     submitted to FDA and any related correspondence.

               2.    Reporting of Manufacturing Reportable Events. If GSK determines
(after a reasonable opportunity to conduct an appropriate review or investigation) through
any means that there is a Manufacturing Reportable Event, GSK shall, notify OIG in
writing, within 30 days after making the determination that the Reportable Event exists.

            3.    Manufacturing Reportable Events under Section III.E.1.a-b. For
Manufacturing Reportable Events under Sections III.E.1.a-c, the report to OIG shall
include:

                                a.   a complete description of the Manufacturing Reportable
                                     Event, including the relevant facts and persons involved and
                                     the legal authorities implicated;

                                b.   a description of GSK’s actions taken to correct the
                                     Manufacturing Reportable Event; and

                                c.   any further steps GSK plans to take to address the
                                     Manufacturing Reportable Event and prevent it from
                                     recurring.

          F.        Reporting of Certain Events

If GSK voluntarily initiates a recall of a Covered Product manufactured at and/or released
by either a Covered Manufacturing Facility or other GSK manufacturing facility located
in the United States and that has been distributed in the United States, GSK shall notify
OIG in writing within 5 days after initiating the recall.

IV.       CHANGES TO BUSINESS UNITS OR LOCATIONS

               Change of Status of a Covered Manufacturing Facility. In the event that,
after the Effective Date, a new GSK facility located in the United States other than, or in
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addition to, the Zebulon, North Carolina facility, manufacturers and/or releases for
distribution in the United States Covered Products sold by GSK that are reimbursed by
Federal health care programs, such facility may become a Covered Manufacturing
Facility subject to the terms described below. As of the date that such new facility
commences manufacture and/or release of a Covered Product, the Site Director, the Site
Quality Director and all employees who are directly responsible for the release of
Covered Products for distribution in the United States shall become Manufacturing
Covered Persons. GSK shall have thirty (30) days to determine whether such new
facility will continue to release Covered Products for distribution in the United States
independently of the Zebulon, North Carolina facility. If, within the thirty (30) day
period, GSK decides that such new facility will continue to release Covered Products
independently of the Zebulon, North Carolina facility, then such facility shall become a
Covered Manufacturing Facility and employees listed in Section II.C.1 of this Appendix
shall be Manufacturing Covered Persons. If, within the thirty (30) day period, GSK
determines that Covered Products manufactured at the new facility will be released under
the supervision of the Zebulon, North Carolina facility, then such new facility shall not
become a Covered Manufacturing Facility. In such event, the Site Director, the Site
Quality Director and all employees at the facility who are directly responsible for
authorizing the release of Covered Products for distribution in the United States shall be
Manufacturing Covered Persons. GSK shall notify the OIG about the new Covered
Manufacturing Facility in accordance with the timeframes specified in Section IV of the
CIA.


V.        IMPLEMENTATION AND ANNUAL REPORTS

       A.   Appendix Implementation Report. Within 150 days after the Effective
Date, GSK shall submit a written report to OIG summarizing the status of its
implementation of the requirements of this Appendix (Appendix D Implementation
Report). The Appendix D Implementation Report shall, at a minimum, include:

            1.     the name, address, phone number, and position description of the
GMS Compliance Officer required by Section III.A of this Appendix, and a summary of
other noncompliance job responsibilities the GMS Compliance Officer may have;

            2.     the names and positions of the members of the GMS Compliance
Committee required by Section III.A.2 of this Appendix;

              3.      the names of the members of the Board of Directors referenced in
Section III.A.3 of this Appendix;

               4.     the number of individuals required to complete the Code of Conduct
certification required by Section III.B.1 of this Appendix, the percentage of individuals

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who have completed such certification, and an explanation of any exceptions (the
documentation supporting this information shall be available to OIG upon request);

             5.     a summary of all Policies and Procedures required by Section III.B
of this Appendix (copies of the Policies and Procedures shall be made available to OIG
upon request);

              6.      the following information regarding each type of training required
by Section III.C of this Appendix:

                                a.    a description of such training, including a summary of the
                                      topics covered, the length of sessions, and a schedule of
                                      training sessions; and

                                b.    the number of individuals required to be trained, percentage
                                      of individuals actually trained, and an explanation of any
                                      exceptions.

             A copy of all training materials and the documentation supporting this
information shall be made available to OIG upon request.

            7.     A description of GSK’s corporate structure as it relates to GMS and
cGMP Activities; and

                     8.         the certifications required by Section V.C of this Appendix.

       B.     Appendix Annual Reports. GSK shall submit to OIG annually a report with
respect to the status of, and findings regarding, GMS’s compliance activities for each of
the five Reporting Periods (Appendix Annual Report).

Each Appendix Annual Report shall include, at a minimum:

              1.    Any change in the identity, position description, or other
noncompliance job responsibilities of the GMS Compliance Officer, any changes in the
membership of the GMS Compliance Committee, and any changes in the membership of
the Board as described in Section III.A of this Appendix;

                     2.         The Board resolution required by Section III.A.3 of this Appendix;

             3.      The number of individuals required to complete the Code of
Conduct certification required by Section III.B.1 of this Appendix, the percentage of
individuals who have completed such certification, and an explanation of any exceptions
(the documentation supporting this information shall be made available to OIG upon
request);

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              4.    A summary of any significant changes or amendments to the
Policies and Procedures required by Section III.B of this Appendix and the reasons for
such changes.

              5.      The following information regarding each type of training required
by Section III.C of this Appendix:

                                a.    a description of the initial and annual training, including a
                                      summary of the topics covered, the length of sessions, and a
                                      schedule of training sessions; and

                                b.    the number of individuals required to complete the initial and
                                      annual training, the percentage of individuals who actually
                                      completed the initial and annual training, and an explanation
                                      of any exceptions.

A copy of all training materials and the documentation to support this information shall
be made available to OIG upon request.

              6.      A copy of any recall notices issued during the Reporting Period by
GSK for Covered Products sold in the United States, a description of GSK’s corrective
action(s) taken related to the recall, and any further steps GSK plans to take related to the
recall.

               7.     A summary of Manufacturing Reportable Events (as defined in
Section III.E) identified during the Reporting Period and the status of any corrective
action relating to each such Reportable Events;

             8.      A description of any changes to GSK’s corporate structure as
reported pursuant to Section V.A.7 of this Appendix D and an identification of any
Covered Manufacturing Facility, if any, in lieu of or in addition to the Zebulon facility;

                     9.         The certifications required by Section V.C.

        The first Appendix Annual Report shall be received by OIG no later than 60 days
after the end of the first Reporting Period. Subsequent Appendix Annual Reports shall be
received by OIG no later than the anniversary date of the due date of the first Appendix
Annual Report.

     C.    Certifications. The Appendix Implementation Report and each Appendix
Annual Report shall include a certification by the GMS Compliance Officer that:

               1.    to the best of his or her knowledge, except as otherwise described in
the report, GMS is in compliance in all material respects with cGMP Requirements and
all of the requirements of this CIA; and
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               2.    he or she has reviewed the report and has made reasonable inquiry
regarding its content and believes that the information in the report is accurate and
truthful.

        D.     Designation of Information. GSK shall clearly identify any portions of its
submissions that it believes are trade secrets, or information that is commercial or
financial and privileged or confidential, and therefore potentially exempt from disclosure
under the Freedom of Information Act (FOIA), 5 U.S.C. § 552. GSK shall refrain from
identifying any information as exempt from disclosure if that information does not meet
the criteria for exemption from disclosure under FOIA.

VI.       NOTIFICATIONS AND SUBMISSION OF REPORTS

       Unless otherwise stated in writing after the Effective Date, all notifications and
reports required under this Appendix D shall be submitted to the following entities:

                                OIG:
                                Administrative and Civil Remedies Branch
                                Office of Counsel to the Inspector General
                                Office of Inspector General
                                U.S. Department of Health and Human Services
                                Cohen Building, Room 5527
                                330 Independence Avenue, S.W.
                                Washington, DC 20201
                                Telephone: 202.619.2078
                                Facsimile: 202.205.0604

                                GSK:
                                Guy Wingate
                                Vice President - GMS Compliance Officer
                                GlaxoSmithKline
                                GSK House (Mailstop BNG-15)
                                980 Great West Road
                                Brentford
                                Middlesex
                                TW8 9GS
                                United Kingdom
                                Telephone: +44-1833-693330
                                Facsimile: +44-2080-476905




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                                Paul Noll
                                Vice President - Associate General Counsel
                                Legal Operations - Global Manufacturing and Supply
                                GlaxoSmithKline
                                Five Moore Drive
                                Ruvane Building - Mailstop E.3334
                                Research Triangle Park, NC 27709
                                Telephone: (919) 483-2444
                                Facsimile: (919) 483-2881

        Unless otherwise specified, all notifications and reports required by this Appendix
may be made by certified mail, overnight mail, hand delivery, or other means, provided
that there is proof that such notification was received. For purposes of this requirement,
internal facsimile confirmation sheets do not constitute proof of receipt. Upon request by
OIG, GSK may be required to provide OIG with an electronic copy of each notification
or report required by this Appendix to the CIA in searchable portable document format
(pdf), in addition to a paper copy.




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                        Appendix E to CIA for GlaxoSmithKline LLC
                           Executive Financial Recoupment Program

Executive Financial Recoupment Program. Through its Existing Commitments and
the New Commitments to be implemented, GSK shall establish and maintain throughout
the term of the CIA a financial recoupment program that puts at risk of forfeiture and
recoupment an amount equivalent to up to 3 years of annual performance pay (i.e., annual
bonus, plus long term incentives) for an executive who is discovered to have been
involved in any significant misconduct (Executive Financial Recoupment Program). This
financial recoupment program shall apply to Covered Executives, as defined below in
Paragraph B, who are either current GSK employees or who are former GSK employees
at the time of a Recoupment Determination.

       (A) Existing Commitments. The annual cash bonus for each GSK employee
based in the United States and the United Kingdom is at risk of forfeiture in the event of
employee misconduct that is discovered by GSK before the bonus is paid. In the event of
misconduct by any GSK employee worldwide, GSK also has reserved the right and full
discretion to void and forfeit any unvested share options and any unvested restricted
share grants under the GSK Share Option Plan, Share Value Plan and Performance Share
Plan (collectively, the “LTI Plans”). If GSK discovers any employee misconduct that
would implicate the forfeitures described in this paragraph, it shall evaluate the situation
and make a determination about whether any forfeiture, and the terms of such forfeiture,
shall be implemented.

       (B) New Commitments. In addition to the compensation forfeiture provisions
already in place with respect to annual bonuses and the LTI Plans, within 120 days after
the Effective Date of the CIA, GSK shall modify and supplement its annual bonus plan
and LTI Plan requirements (and any employment agreements, as appropriate) by
imposing the following eligibility and repayment conditions on future bonuses and LTI
Plan grants, as well as establishing the mandatory deferred annual bonus, tolling remedy,
and additional remedies discussed below (collectively, “New Commitments”) to all
members of GSK’s Corporate Executive Team (CET) and to any Vice Presidents and
Senior Vice Presidents in Grades 0, 1, and 2 who are based in the United States
(collectively “Covered Executives”). The New Commitments shall apply prospectively
to Covered Executives beginning with the 2013 bonus plan year and LTI Plan grants.

              (i)    Executive Bonus Eligibility and Repayment Conditions. GSK
shall implement an eligibility and repayment condition on annual bonuses designed to
survive both the payment of the bonus and the separation of a Covered Executive’s
employment. This will allow GSK, as a consequence of a Triggering Event as defined
below in Paragraph C, to pursue repayment from the Covered Executive of all or any
portion of the bonus monies paid to the Covered Executive. To the extent permitted by
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controlling law, these bonus eligibility and repayment conditions will survive the
payment of the Covered Executive’s bonus and the separation of the Covered Executive’s
employment for a period of 3 years from the payment of the bonus for the plan year.

Consistent with a Recoupment Determination, as defined below in Paragraph D, GSK
shall endeavor to collect repayment of any bonus from the Covered Executive through
reasonable and appropriate means according to the terms of its bonus plan (or executive
contract, as the case may be), and to the extent permitted by controlling law of the
relevant jurisdiction. If necessary to collect the repayment, GSK shall file suit against the
Covered Executive unless good cause exists not to do so. For purposes of the Executive
Financial Recoupment Program, good cause shall include, but not be limited to, a
financial inability on the part of the Covered Executive to repay any recoupment amount
or GSK’s inability to bring such a suit under the controlling law of the relevant
jurisdiction.

             (ii)   LTI Plans. Prior to the Effective Date, GSK implemented a
recoupment process for Covered Executives’ unvested LTI share grants as discussed in
Paragraph A (Existing Commitments) above. With respect to current GSK Covered
Executives, GSK shall maintain these Existing Commitments and follow the Recoupment
process and procedures established by the Recoupment Committee for the duration of the
CIA. GSK shall also implement an eligibility and repayment condition on share grants
made under LTI Plans designed to survive the separation of a Covered Executive’s
employment.

To the extent necessary, GSK shall implement an eligibility and repayment condition on
grants made under the LTI Plans in order to clarify that, as a consequence of a Triggering
Event, GSK may pursue repayment by a Covered Executive who is a former employee of
all or any portion of the last 3 years’ worth of share option and restricted share grants that
became vested and were paid during the Covered Executive’s last years of employment
and following termination of employment.

To the extent permitted by controlling law, these eligibility and repayment conditions
shall survive vesting and payment for a period of 3 years from the Covered Executive’s
employment termination date. In addition, GSK shall amend the vesting schedule in the
LTI Plans so that Covered Executives who are “good leavers” (e.g., terminating
employment due to retirement, death or disability) will no longer vest in, nor receive a
distribution of, any unvested share options or restricted shares immediately following
termination of employment; rather, these LTI Plan grants will only vest and be
distributable after the first anniversary of the Covered Executive’s termination of
employment. Consistent with a Recoupment Determination, GSK shall endeavor to
collect repayment of these LTI Plan awards from the Covered Executive through
reasonable and appropriate means and to the extent permitted by controlling law of the
jurisdiction in which the Covered Executive works. If necessary to collect the
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repayment, GSK shall file suit against the Covered Executive unless good cause exists
not to do so.

               (iii) Mandatory Deferred Annual Bonus. GSK shall establish a
deferred compensation plan that requires the deferral of ten (10%) percent of a Covered
Executive’s annual bonus (twenty-five (25%) percent, in the case of CET members) for a
3-year period that survives separation of the Covered Executive’s employment. Bonuses
deferred under the plan shall be matched on a dollar-for-dollar basis by GSK. Consistent
with a Recoupment Determination, all deferred bonuses, matching contributions and any
related gains thereon are subject to forfeiture and voidance as a consequence of a
Triggering Event.

               (iv) Tolling Remedy. To the extent permitting by controlling law, for the
3 years during which the bonus eligibility and repayment conditions exist, if GSK
reasonably anticipates that a Triggering Event has occurred pursuant to Paragraph C, and
GSK has recoupment rights remaining under Paragraphs B(i) and B(ii), GSK shall have
the right to notify the Covered Executive that those rights shall be tolled and thereby
extended for an additional 3 years or until the Recoupment Committee determines that a
Triggering Event has not occurred, whichever is earlier, to the extent permitted by
controlling law of the relevant jurisdiction.

              (v)    Additional Remedies. If, after expiration of the time period
specified in Paragraphs B(i)-(iii) above, the Recoupment Committee determines that a
Triggering Event occurred, GSK shall make a determination as to whether to pursue
available remedies (e.g., filing suit against the Covered Executive) existing under statute
or common law to the extent available.

       (C) Definition of Triggering Events. The eligibility and repayment conditions
described above shall be triggered upon a Recoupment Determination that finds:

(i) significant misconduct (e.g., violation of a significant GSK policy, or regulation, or
law) by the Covered Executive that, if discovered prior to payment, would have made the
Covered Executive ineligible for an annual bonus, bonus deferral or LTI Plan grant in
that plan year or subsequent plan years; or

(ii) significant misconduct by subordinate employees in the business unit over which the
Covered Executive had responsibility that does not constitute an isolated occurrence and
which the Covered Executive knew or should have known was occurring that, if
discovered prior to payment, would have made the Covered Executive and/or employees
in question ineligible for an annual bonus, bonus deferral or LTI Plan grant in that plan
year or subsequent plan years.


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       (D) Administration of Recoupment Program. GSK shall engage in a
standardized, formal process to determine, in its sole discretion, whether a Triggering
Event has occurred, and, if so, the extent of bonus monies, LTI Plan grants and deferred
compensation that will be subject to repayment or forfeiture by the Covered Executive,
and the most appropriate method for securing recoupment of relevant monies previously
paid to a Covered Executive. The findings and conclusions resulting from this process
shall be referred to as the “Recoupment Determination”.

                (i)     Initiation. GSK shall initiate the Recoupment Determination
                process upon: (1) discovery of potential significant misconduct that may
                rise to the level of a Triggering Event, or (2) written notification by a
                United States federal government agency to the Senior Vice President for
                Governance, Ethics, and Assurance of GlaxoSmithKline PLC of a situation
                that may rise to the level of a Triggering Event and either occurred in the
                United States or gives rise to liability relating to Federal healthcare
                programs. This written notification shall either identify the Covered
                Executive(s) potentially at issue or provide information (e.g., a description
                of the alleged misconduct and the applicable time period) to allow GSK to
                identify the Covered Executive.

                (ii)   Recoupment Committee. The Recoupment Determination shall be
                made by a committee of senior executives headed by the Senior Vice
                President for Governance, Ethics, and Assurance of GlaxoSmithKline PLC
                (Recoupment Committee). With respect to members of the CET, a
                Recoupment Determination shall be subject to ratification by the Board of
                Directors (or appropriate committee thereof) of GlaxoSmithKline PLC.

                (iii) Timeline for Recoupment Determination Process. GSK shall
                initiate the Recoupment Determination process within 30 days after
                discovery by GSK or notification, pursuant to Paragraph D(i), of a potential
                Triggering Event. Absent extraordinary reasons, GSK shall reach a
                Recoupment Determination within 90 days after initiation of the
                determination process.

In connection with making its Recoupment Determination, the Recoupment Committee
or appropriate Delegate pursuant to implementing policies and procedures shall: i)
undertake an appropriate and substantive review or investigation of the facts and
circumstances associated with the Triggering Event or any written notifications about
potential Triggering Events received pursuant to Paragraph D(i) above; ii) make written
findings regarding the facts and circumstances associated with the Triggering Event and
any written notifications about potential Triggering Events received pursuant to
Paragraph D(i) above; and iii) set forth in writing its determinations (and the rationale for
such determinations) about: 1) whether a Triggering Event occurred; 2) the extent of
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bonus monies, LTI Plan grants or deferred compensation that will be subject to forfeiture
and/or repayment by the Covered Executive; 3) the means that will be followed to
implement the forfeiture and/or secure the recoupment of performance pay from the
Covered Executive; and 4) the timetables under which GSK will implement the forfeiture
and/or attempt to recoup the performance pay. For purposes of this paragraph, a
“Delegate” shall refer to the GSK personnel to whom the Recoupment Committee has
delegated one or more of its required tasks in furtherance of the Executive Financial
Recoupment Program.

        (E) Reporting. The Recoupment Committee shall provide annual reports to
the Board of Directors (or an appropriate committee thereof) of GlaxoSmithKline PLC
about: i) the number and circumstances of any Triggering Events that occurred during the
preceding year and any written notifications about potential Triggering Events received
pursuant to Paragraph D(i) above; ii) a description of any Recoupment Determinations
made during the preceding year (including any decision to require or not require
forfeiture/recoupment from any Covered Executives, the amount and type of any
forfeiture/recoupment, the means for collecting any recoupment and the rationale for such
decisions); and iii) a description of the status of any forfeitures and/or recoupments
required under prior Recoupment Determinations that were not fully completed in prior
years.

The Recoupment Committee shall also provide annual reports to the OIG about: i) the
number and circumstances of any Triggering Events that occurred during the preceding
year and any written notifications about potential Triggering Events received pursuant to
Paragraph D(i) above; ii) a summary description of any Recoupment Determinations
made during the preceding year (including any decision to require or not require
forfeiture/recoupment from any Covered Executives, the amount and type of any
forfeiture/recoupment, the method for collecting any recoupment, and the rationale for
such decisions); and iii) a description of the status of any forfeitures and/or recoupments
required under prior Recoupment Determinations that were not fully completed in prior
years.

GSK commits to maintaining all of the forfeiture and recoupment commitments set forth
in Paragraphs A-E above for at least the duration of the CIA, absent agreement otherwise
with the OIG.




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  GSK China Investigation Outcome
  19 September 2014
  GlaxoSmithKline plc (GSK) today announced that the Changsha Intermediate People’s
  Court in Hunan Province, China ruled that GSK China Investment Co. Ltd (GSKCI) has,
  according to Chinese law, offered money or property to non­government personnel in
  order to obtain improper commercial gains, and been found guilty of bribing non­
  government personnel. The verdict follows investigations initiated by China’s Ministry of
  Public Security in June 2013.

  As a result of the Court’s verdict, GSKCI will pay a fine of £297 million (3 billion RMB at a
  currency exchage rate of 10.0980) to the Chinese government. This will be funded
  through existing cash resources. Associated costs and charges related to restructuring
  will be included in GSK’s third quarter update.

  The illegal activities of GSKCI are a clear breach of GSK’s governance and compliance
  procedures; and are wholly contrary to the values and standards expected from GSK
  employees. GSK has published a statement of apology to the Chinese government and its
  people on its website (www.gsk-china.com).

  GSK has co­operated fully with the authorities and has taken steps to comprehensively
  rectify the issues identified at the operations of GSKCI. This includes fundamentally
  changing the incentive program for its salesforces (decoupling sales targets from
  compensation); significantly reducing and changing engagement activities with healthcare
  professionals; and expanding processes for review and monitoring of invoicing and
  payments.

  GSK Chief Executive Officer, Sir Andrew Witty said: "Reaching a conclusion in the
  investigation of our Chinese business is important, but this has been a deeply
  disappointing matter for GSK. We have and will continue to learn from this. GSK has been
  in China for close to a hundred years and we remain fully committed to the country and its
  people. We will continue to expand access to innovative medicines and vaccines to
  improve their health and well­being. We will also continue to invest directly in the country
  to support the government's health care reform agenda and long­term plans for economic
  growth."                                                                              Exhibit


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  GSK – one of the world’s leading research­based pharmaceutical and healthcare
  companies – is committed to improving the quality of human life by enabling people to do
  more, feel better and live longer. For further information please visit www.gsk.com.




       Contact info

        Media enquiries contact information

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  Registered office: 980 Great West Road, Brentford, Middlesex, TW8 9GS, United Kingdom.




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ADMINISTRATIVE PROCEEDING
File No. 3-17606

GlaxoSmithKline Pays $20 Million Penalty to Settle FCPA Violations

September 30, 2016 – The Securities and Exchange Commission today announced that
GlaxoSmithKline plc (“GSK”) has agreed to pay $20 million to settle charges that it violated the
Foreign Corrupt Practices Act (FCPA) when its China-based subsidiaries engaged in pay-to-
prescribe schemes to increase sales.

An SEC investigation found that the schemes spanned a period of years and involved the transfer
of money, gifts, and other things of value to health care professionals, which led to millions of
dollars in increased sales of GSK pharmaceutical products to China’s state health institutions.
The participants included certain complicit sales and marketing managers within GSK’s China-
based subsidiaries. GSK failed to devise and maintain a sufficient system of internal accounting
controls and lacked an effective anti-corruption compliance program to detect and prevent these
schemes. As a result, the improper payments were not accurately reflected in GSK’s books and
records.

The SEC’s order finds that GSK violated the FCPA’s internal controls and books-and-records
provisions. GSK consented to the order without admitting or denying the findings, and agreed to
pay a $20 million civil penalty. GSK also agreed to provide status reports to the SEC for the
next two years on its remediation and implementation of anti-corruption compliance measures.

See also:     Order

                                             # # #




                                                                                                    Exhibit

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                           UNITED STATES OF AMERICA
                                    Before the
                      SECURITIES AND EXCHANGE COMMISSION

SECURITIES EXCHANGE ACT OF 1934
Release No. 79005 / September 30, 2016

ACCOUNTING AND AUDITING ENFORCEMENT
Release No. 3810 / September 30, 2016

ADMINISTRATIVE PROCEEDING
File No. 3-17606
                                                     ORDER INSTITUTING CEASE-AND-DESIST
In the Matter of                                     PROCEEDINGS, PURSUANT TO SECTION
                                                     21C OF THE SECURITIES EXCHANGE ACT
       GlaxoSmithKline plc,                          OF 1934, MAKING FINDINGS, AND
                                                     IMPOSING REMEDIAL SANCTIONS AND A
Respondent.                                          CEASE-AND-DESIST ORDER




                                                I.

       The Securities and Exchange Commission (“Commission”) deems it appropriate that cease-
and-desist proceedings be, and hereby are, instituted pursuant to Section 21C of the Securities
Exchange Act of 1934 (“Exchange Act”), against GlaxoSmithKline plc (“Respondent”).

                                               II.

        In anticipation of the institution of these proceedings, Respondent has submitted an Offer
of Settlement (the “Offer”) which the Commission has determined to accept. Solely for the
purpose of these proceedings and any other proceedings brought by or on behalf of the
Commission, or to which the Commission is a party, and without admitting or denying the findings
herein, except as to the Commission’s jurisdiction over it and the subject matter of these
proceedings, which are admitted, Respondent consents to the entry of this Order Instituting Cease-
and-Desist Proceedings, Pursuant to 21C of the Securities Exchange Act of 1934, Making
Findings, and Imposing Remedial Sanctions and a Cease-and-Desist Order (“Order”), as set forth
below.




                                                                                                     Exhibit

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                                                 III.

       On the basis of this Order and Respondent’s Offer, the Commission finds1 that

                                             Summary

       A.     These proceedings arise out of GSK’s violations of the internal controls and
recordkeeping provisions of the Foreign Corrupt Practices Act of 1977 (the “FCPA”) [15 U.S.C. §
78dd].

        B.      Between at least 2010 and June 2013, employees and agents of GSK’s China-based
subsidiary and a China-based joint-venture engaged in various transactions and schemes to provide
things of value to foreign officials, including healthcare professionals (“HCPs”), in order to
improperly influence them and increase sales of GSK products in China.

        C.       This misconduct was facilitated in part by the use of collusive third parties that
ostensibly provided legitimate travel and other services. The funds used for the improper
inducements were frequently obtained under the guise of, and falsely recorded in GSK’s books and
records as, legitimate travel and entertainment expense, marketing expense, speaker payments,
medical associations payments, and promotion expense. Throughout this period GSK failed to
devise and maintain a sufficient system of internal accounting controls and lacked an effective anti-
corruption compliance program.

        D.       The deficiencies in GSK’s internal accounting controls and compliance program
also led to instances of similar improper conduct in connection with sales in other countries in
which GSK operates.


                                          Respondent

       E.      GlaxoSmithKline plc is a corporation organized in the United Kingdom. Its
headquarters are located in Middlesex, United Kingdom. GSK’s common stock is registered with
the Commission under Section 12(b) of the Securities Exchange Act and trades on the New York
Stock Exchange under the symbol ‘GSK’.

        F.      GSK is a global provider of pharmaceutical and consumer health care products and
its products are sold in at least 150 countries.




1
       The findings herein are made pursuant to Respondent's Offer of Settlement and are not
       binding on any other person or entity in this or any other proceeding.

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                                   Other Relevant Entities

      G.      GlaxoSmithKline (China) Investment Co Ltd (“GSKCI”) is operated from
Shanghai, China. GSKCI operations include the sale and marketing of pharmaceutical products.
GSKCI is a wholly-owned indirect subsidiary of GSK.

        H.      Sino-American Tianjin Smith Kline & French Laboratories Ltd (“TSKF”) is a
public-private joint venture with Tianjin Zhong Xin Pharmaceutical Group Corporation Ltd and
Tianjin Pharmaceutical Group Co Ltd. GSK indirectly owns 55 percent of TSKF.

                                                 Facts

        I.      From at least 2010 to June 2013, employees and agents of GSKCI and TSKF
engaged in transactions and schemes to corruptly transfer things of value to foreign officials in
China to increase sales of pharmaceutical products. The payments were made to increase sales
through increased prescriptions by individual HCPs and purchases by hospital administrative staff
responsible for product selection or purchase. The conduct occurred across all geographic areas
within the sales and marketing functions and impacted all product lines.

         J.     The corrupt payments took varied forms, including gifts, improper travel and
entertainment with no or little educational purpose, shopping excursions, family and home visits,
and cash. The costs associated with these payments were recorded in GSK’s books and records
as legitimate expenses, such as medical association sponsorships, employee expenses, conferences,
speaker fees, and marketing costs.

        K.      These improper practices were pervasive among GSKCI’s and TSKF’s sales and
marketing representatives and were condoned by regional and district managers. For example, a
2013 work plan submitted by a sales representative to a regional sales manager described the intent
to pay, among other things, an HCP RMB 20/box of prescribed product every month, and deliver
appropriate gifts on each holiday in exchange for a guarantee of more than 40 boxes of prescribed
product every month.

        L.      Among the ways employees were able to fund payments to HCPs was the use of
collusive third party vendors, such as those used to perform planning and travel services for events
involving HCPs. Between 2010 and June 2013, GSKCI spent nearly RMB 1.4 billion (USD $225
million) on planning and travel services. Test sampling showed that approximately 44 percent of
the sampled invoices were inflated and approximately 12 percent were for events that did not
occur.

        M.      Controls weaknesses also permitted ostensibly legitimate speaker fees to be used to
improperly influence HCPs. While GSK’s policies as of 2010 placed limits on the amount of fees
paid to speakers per hour and by 2012 cumulatively per year, there was no effective system in
place to ensure the actual identity of a speaker. Of approximately RMB 106 million (USD $17
million) spent by GSKI in speaker fees, approximately RMB 14 million (USD $2.2 million) was
paid to persons whose qualification as an HCP could not be verified.

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         N.       Marketing programs were another mechanism used to improperly influence HCPs.
For example, in 2010, GSKCI engaged a local vendor to facilitate a national marketing program
called the Cold Chain Project. The project was intended to provide healthcare clinics with tools to
facilitate the storage and administration of vaccines that required refrigeration. However, the
project was instead used to provide HCPs with gifts such as laptops, tablets, and other electronic
devices. Over the life of the project, GSKCI paid out RMB 14.6 million (approximately USD $2.3
million). The project was created and administered by senior marketing and sales managers of
GSKCI. The clinics selected were based upon the potential to market additional pharmaceutical
products.

        O.     During this period, local internal audit and compliance reviews identified controls
deficiencies and evidence of some mechanisms that were used to fund the improper payments, but
they were treated as isolated instances rather than signs of a larger problem. For example, in 2013 a
Sales Rep Office Audit was conducted by internal audit with respect to the Guangzhou office.
Among the problems identified were:

                      Issues of falsified POS slips and fake bank statements
                      Issues of fake invoices claimed from hotels and restaurants for sales
                       meeting activities. These invoices came from a local preferred meeting
                       agency used by the Guangzhou office.
                      Compliance and New Employee training not timely completed
                      Sales employees’ salaries were significantly driven by commissions that
                       could lead to an incentive to improperly inflate sales. The audit sampled 20
                       percent of the sales team for the office and found that for 41 percent their
                       sales commission bonuses were greater than 50 percent of their income.

        P.       As early as 2010, internal audit identified problems related to sales and promotions
staff practices in China. Among other findings it noted:

                       [d]uring 2010, several new policies governing commercial
                       activities such as grants and donations and sponsorships
                       were introduced. The significant changes, combined with
                       the high staff turnover, contribute to an environment where
                       many commercial and medical staff do not understand how
                       to apply policies or the rationale behind them. This was
                       evidenced by approval of non-compliant activities, a lack of
                       clarity on which policy to apply for activities such as grants,
                       and weaknesses in documentation to support the legitimate
                       intent of activities such as advisory boards and sponsorships
                       of HCPs to attend meetings.

       Q.     As a result of the conduct described above, Respondent violated Sections
13(b)(2)(A) and 13(b)(2)(B) of the Securities Exchange Act of 1934 [15 U.S.C. §§ 78m(b)(2)(A)
and 78m(b)(2)(B)].
                                                  4


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                            GSK’s Remedial Efforts

R. In determining to accept the Offer, the Commission considered remedial acts
   promptly undertaken by Respondent and cooperation afforded the Commission staff.

       1. During the course of the investigation, Respondent provided prompt and
          regular briefings regarding its own internal investigation in China, and with
          respect to other countries. Respondent timely conveyed the facts it learned in
          the course of its own investigation, promptly responded to document requests
          by the Commission staff, and provided translations of documents as needed.

       2. Respondent also provided detailed and timely information regarding its
          remedial efforts, enhancements to its compliance program and implementation
          of key initiatives.

       3. Respondent made global changes to its business. This included the
          elimination of most payments to doctors, including fees to HCPs to speak
          about the Company’s prescription medicines, and altering the compensation
          structure for its sales force to eliminate incentive pay based on the number of
          prescriptions generated. Respondent enhanced its global risk assessment
          process, strengthened its monitoring and risk assessment tools, and increased
          its global compliance organization. Respondent also enhanced its third-party
          oversight program, including increasing the number and scope of third-party
          audits, and increased training and education of employees on anti-bribery
          issues.

                                  Undertakings

S.     Respondent has undertaken to:

       1. Report to the Commission staff periodically, at no less than nine-month intervals
          during a two-year term, the status of its remediation and implementation of
          compliance measures. During this two-year period, should Respondent discover
          credible evidence, not already reported to the Commission staff, that
          questionable or corrupt payments or questionable or corrupt transfers of value
          may have been offered, promised, paid, or authorized by Respondent, or any
          entity or person acting on behalf of Respondent, or that related false books and
          records have been maintained, Respondent shall promptly report such conduct to
          the Commission staff. During this two-year period, Respondent shall: (a)
          conduct an initial review and submit an initial report, and (b) conduct and
          prepare at least two follow-up reviews and reports, as described below:

                      i. Respondent shall submit to the Commission staff a written
                         report within 180 calendar days of the entry of this Order setting
                         forth a complete description of its Foreign Corrupt Practices Act
                         (“FCPA”) and anti-corruption related remediation efforts to
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                        date, its proposals reasonably designed to improve the policies
                        and procedures of Respondent for ensuring compliance with the
                        FCPA and other applicable anticorruption laws, and the
                        parameters of the subsequent reviews (the “Initial Report”). The
                        Initial Report shall be transmitted to Charles Cain, Deputy Unit
                        Chief, FCPA Unit, Division of Enforcement, United States
                        Securities and Exchange Commission, 100 F St NE,
                        Washington, DC 20549. Respondent may extend the time
                        period for issuance of the Initial Report with prior written
                        approval of the Commission staff.

                    ii. Respondent shall undertake at least two follow-up reviews,
                        incorporating any comments provided by the Commission staff
                        on the previous report, to further monitor and assess whether the
                        policies and procedures of Respondent are reasonably designed
                        to detect and prevent violations of the FCPA and other
                        applicable anti-corruption laws (the “Follow-up Reports”).

                   iii. The first Follow-up Report shall be completed by no later than
                        270 days after the Initial Report. The second Follow-up Report
                        shall be completed by no later than 450 days after the
                        completion of the Initial Report. Respondent may extend the
                        time period for issuance of the Follow-up Reports with prior
                        written approval of the Commission staff.

                   iv. The periodic reviews and reports submitted by Respondent will
                       likely include proprietary, financial, confidential, and
                       competitive business information. Public disclosure of the
                       reports could discourage cooperation, impede pending or
                       potential government investigations and thus undermine the
                       objectives of the reporting requirement. For these reasons,
                       among others, the reports and the contents thereof are intended
                       to remain and shall remain non-public, except (a) pursuant to
                       court order, (b) as agreed by the parties in writing, (c) to the
                       extent that the Commission staff determines in its sole discretion
                       that disclosure would be in furtherance of the Commission’s
                       discharge of its duties and responsibilities, or (d) is otherwise
                       required by law.

     2. Certify, in writing, compliance with the undertaking(s) set forth above. The
        certification shall identify the undertaking(s), provide written evidence of
        compliance in the form of a narrative, and be supported by exhibits sufficient to
        demonstrate compliance. The Commission staff may make reasonable requests
        for further evidence of compliance, and Respondent agrees to provide such
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                     evidence. The certification and supporting materials shall be submitted to
                     Charles Cain, Deputy Unit Chief, FCPA Unit, with a copy to the Office of the
                     Chief Counsel of the Enforcement Division, no later than sixty (60) days from
                     the date of the completion of the undertakings.

                                                IV.

        In view of the foregoing, the Commission deems it appropriate to impose the sanctions
agreed to in Respondent’s Offer. Accordingly, pursuant to Section 21C of the Exchange Act, it is
hereby ORDERED that:

        A.      Respondent cease and desist from committing or causing any violations and any
future violations of Sections 13(b)(2)(A) and 13(b)(2)(B) of the Securities Exchange Act of 1934
[15 U.S.C. §§ 78m(b)(2)(A) and 78m(b)(2)(B)].

        B.      Respondent shall, within 10 days of the entry of this Order, pay a civil money
penalty in the amount of $20,000,000 to the Securities and Exchange Commission for transfer to
the general fund of the United States Treasury, subject to Exchange Act Section 21F(g)(3). If
timely payment is not made, additional interest shall accrue pursuant to 31 U.S.C. §3717. Payment
must be made in one of the following ways:

               (1)      Respondent may transmit payment electronically to the Commission, which
                        will provide detailed ACH transfer/Fedwire instructions upon request;

               (2)      Respondent may make direct payment from a bank account via Pay.gov
                        through the SEC website at http://www.sec.gov/about/offices/ofm.htm; or

               (3)      Respondent may pay by certified check, bank cashier’s check, or United
                        States postal money order, made payable to the Securities and Exchange
                        Commission and hand-delivered or mailed to:

               Enterprise Services Center
               Accounts Receivable Branch
               HQ Bldg., Room 181, AMZ-341
               6500 South MacArthur Boulevard
               Oklahoma City, OK 73169

Payments by check or money order must be accompanied by a cover letter identifying GSK as a
Respondent in these proceedings, and the file number of these proceedings; a copy of the cover
letter and check or money order must be sent to Charles Cain, Division of Enforcement, Securities
and Exchange Commission, 100 F St., NE, Mailstop 5631, Washington, DC 20549.

        C.      Amounts ordered to be paid as civil money penalties pursuant to this Order shall be
treated as penalties paid to the government for all purposes, including all tax purposes. To
preserve the deterrent effect of the civil penalty, Respondent agrees that in any Related Investor

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Action, it shall not argue that it is entitled to, nor shall it benefit by, offset or reduction of any
award of compensatory damages by the amount of any part of Respondent’s payment of a civil
penalty in this action ("Penalty Offset"). If the court in any Related Investor Action grants such a
Penalty Offset, Respondent agrees that it shall, within 30 days after entry of a final order granting
the Penalty Offset, notify the Commission's counsel in this action and pay the amount of the
Penalty Offset to the Securities and Exchange Commission. Such a payment shall not be deemed
an additional civil penalty and shall not be deemed to change the amount of the civil penalty
imposed in this proceeding. For purposes of this paragraph, a "Related Investor Action" means a
private damages action brought against Respondent by or on behalf of one or more investors based
on substantially the same facts as alleged in the Order instituted by the Commission in this
proceeding.

       D.       Respondent shall comply with the undertakings enumerated in Section III above.


       By the Commission.



                                                       Brent J. Fields
                                                       Secretary




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                       Case 2:16-cv-05924-NIQA         Document    Business Risk Advisory
                                                                         19-15      FiledFirm with Eyes in China
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                   Peter is the founder of ChinaWhys, a risk management consultancy that provides
                   creative approaches to critical business problems in China. ChinaWhys offers discreet
                   risk mitigation solutions, consulting and commercial investigation services to corporate
                   clients in important and sensitive matters across the Greater China region and beyond.

                   Peter has spent 37 years involved with China and Eastern European countries. After two
                   decades as a foreign correspondent with Reuters in Asia, Eastern Europe and the
                   Balkans, he has spent the past 14 years as a risk management specialist and corporate
                   detective focused on white­collar crime prevention, fraud investigation and crisis
                   mitigation for multinationals in Asia.

                   Before founding ChinaWhys, Peter had served as China country manager for US risk
                   consultancy Kroll and head of China investigations at PwC as well as undertaking a
                   number of humanitarian assignments.

                   Peter has a thorough knowledge of the China operating environment and is an authority
                   on fraud and supply chain risks. He resolves critical problems for Fortune 500 companies
                   and works closely with leading international law firms. His successes include neutralizing
                   a counterfeit­and­fraud syndicate that hijacked the business of a global consumer goods
                   manufacturer, eliminating fraud from the buying operation of a leading megastore chain,
                   uncovering fraudulent JV deals for a global appliances manufacturer, and orchestrating
                   the recovery of a kidnapped child in China.

                   He holds an Honours degree in Oriental Studies from Durham University England and
                   was a fellow of Harvard University 1994­1996. He is fluent in spoken Mandarin and reads
                   and writes Chinese and other foreign languages. He is Founding President of the
                   Shanghai Chapter of the Association of Certified Fraud Examiners (ACFE) and a
                   member of the American Society for Industrial Security (ASIS). He is also active in
                   community service and charity work for underprivileged communities, and served as
                   President of the Rotary Club of Beijing in 2010­2011.


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                                                                                                                                  Exhibit


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http://chinawhys.com/peter.htm                                                                                                          1/1
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                  Yingzeng, ("Ying") is a founder and director of ChinaWhys, a risk management and
                  supply chain services consultancy that provides creative approaches to critical business
                  problems in China. ChinaWhys offers discreet risk mitigation solutions, internal process
                  audits, due diligence and commercial investigation services to corporate clients in
                  matters of great importance and sensitivity across the Greater China region and beyond.

                  Ying has been in business for more than 25 years during which time she has served as a
                  financial controller in the US and Hong Kong, and as a high­level advisory consultant in
                  China. She has performed extensive financial planning work, advised multinational
                  corporations setting up manufacturing operations in China and conducted financial
                  feasibility studies for foreign venture capital investments. Her industry experience covers
                  computer, telecom components, integrated circuits, PCB, optical system, special
                  materials, chemicals, medical products, food processing, beverages, auto components,
                  wholesale, retail and professional services. As a corporate strategy consultant, Ying has
                  also advised clients on competitive strategy and China market development.

                  Ying has hands­on experience in all aspects of operational process and is experienced in
                  operational/financial audit to identify management control weakness, FCPA­style bribery
                  concerns and fraud risks. She has worked on numerous pre­transactional due diligence
                  projects and on complex fraud investigations at multinational operations in China. Her
                  successes have included solving a supply chain fraud by establishing activity links to
                  capture criminal evidence for a U.S. food manufacturer, and pinpointing weak HR policies
                  as a threat to effective control for a European retailer. She also led a large-scale
                  investigation into bribery and kickbacks at one of the world's top PC manufacturers, in
                  which her evidence led to top­level dismissals and a thorough reorganisation.

                  Ying is a Certified Fraud Examiner (CFE) and holds an MBA from the John Anderson
                  Graduate School of Management of the University of California Los Angeles (UCLA) as
                  well as a Bachelor of Science from the School of Business of San Jose State University.
                  She has served as Chairperson of the Transportation and Logistics Forum of the
                  American Chamber of Commerce in China.

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  Conviction of private investigators in China further complicates anti-corruption
  compliance efforts
   Blog Government Enforcement Exposed


  Barnes & Thornburg LLP

  China, USA August 19 2014

  The recent convictions of Peter Humphrey and his wife and business partner Yu Yingzeng demonstrate the risks
  corporate investigation firms face in China when they obtain or pass on information on Chinese citizens. But perhaps
  even more alarming for U.S. companies is the effect of such prosecutions on their efforts to comply with the Foreign
  Corrupt Practices Act and other anti-corruption laws, as these types of convictions stand to have a chilling effect on
  both companies’ due diligence efforts and their internal investigations into allegations of bribery and fraud in China.

  Mr. Humphrey, a British citizen, and Ms. Yu, a Chinese citizen, were convicted of trafficking in personal information
  of Chinese citizens between 2009 and 2013 through their company ChinaWhys. ChinaWhys, which still operates an
  up-to-date website, markets itself as “an international business risk advisory firm with eyes in China.” It offers
  services from “due diligence and the discreet gathering of timely business intelligence, to the vetting of partners and
  the screening of employees.” It specifically references corruption investigations on its website. Mr. Humphrey,
  himself a Certified Fraud Examiner, has written extensively on the issues facing companies in China, including under
  the anti-corruption laws, and the ways forensic firms can assist companies to comply with their legal obligations.
  ChinaWhys is one of many firms in China that seeks to assist companies in conducting background checks and other
  due diligence, which can be more difficult in China than in other jurisdictions.

  Chinese officials claimed that Mr. Humphrey and Ms. Yu had, through ChinaWhys, illegally obtained the “personal
  household registrations” of Chinese citizens, or “hukous,” as well as other personal information, for a price of $130 to
  $163 for each item, which they packaged into reports they sold at great profit. While it was not discussed at trial,
  ChinaWhys boasted many large multinational corporations as clients and may have been assisting those clients in
  Foreign Corrupt Practices Act compliance or investigations work. Mr. Humphrey was sentenced to two and one half
  years in prison (including one year served while awaiting trial) and a fine of £20,000, while Ms. Yu was sentenced to
  two years in prison and a £15,000 fine.

  The convictions reflect the challenges companies can face in conducting and maintaining appropriate due diligence in
  China under the FCPA or other anti-corruption laws. Those laws require companies to investigate potential third-
  party consultants, agents and business partners to ensure, among other things, that they are not (and do not have
  improper relationships with) government officials. Companies are also encouraged to investigate allegations of anti-
  corruption violations swiftly and completely, and to self-report them to the authorities. The public prosecution of
                                                                                                                             Exhibit

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http://www.lexology.com/library/detail.aspx?g=dbb77b00-ce7f-4606-8b65-f0148297d6b6                               1/16/2017
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  individuals and companies in China for violating laws related to the collection of personal information is a deterrent to
  this type of diligence and reporting, because companies are now not only going to be hesitant to reach out to
  companies like ChinaWhys to assist in conducting due diligence, but they may also find that there are fewer
  companies out there in China that are willing to assist them. By enforcing laws against the collection and disclosure of
  personal information (allegedly often at the behest of Chinese individuals or companies that stand to lose from such a
  disclosure), China is imposing yet another roadblock for companies seeking to do business there. In this way,
  preventing access to background information may actually make it easier for individuals and entities get away with
  fraud, despite claims by Chinese authorities that the enforcement of privacy laws is meant to combat and root out
  corruption.


  Barnes & Thornburg LLP - Kathleen L. Matsoukas




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                IN THE UNITED STATES DISTRICT COURT
             FOR THE EASTERN DISTRICT OF PENNSYLVANIA

PETER HUMPHREY, YU YINGZENG, and         Civil Action No.: 2:16-CV-5924
CHINAWHYS COMPANY LTD,

             Plaintiffs,

     v.

GLAXOSMITHKLINE PLC and
GLAXOSMITHKLINE LLC,

             Defendants.




 PLAINTIFFS’ MEMORANDUM IN OPPOSITION TO DEFENDANTS’ MOTION TO
           COMPEL ARBITRATION, OR, IN THE ALTERNATIVE,
                   TO DISMISS THE COMPLAINT




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          Plaintiffs Peter Humphrey, Yu Yingzeng and ChinaWhys Company Ltd. respectfully

submit this Memorandum in Opposition to Defendants’ Motion to Compel Arbitration, or, in the

Alternative, to Dismiss the Complaint. For the reasons set for the herein, both motions should be

denied.1


                                     PRELIMINARY STATEMENT
          This case arises out of a massive scheme by GlaxoSmithKline plc (“GSK PLC”) and

GlaxoSmithKline LLC (“GSK LLC”) (together, “GSK” or “Defendants”) to increase sales of

drugs through, among other illicit practices, corrupt payments to doctors and other health care

providers around the world, including in China. Multiple criminal and regulatory investigations

in the United States and elsewhere have already led to billions of dollars in fines, criminal

convictions of multiple employees, and on-going probationary-style supervision by multiple

regulators, including the United States Department of Justice (the “DOJ”) and the United States

Securities and Exchange Commission (the “SEC”). As set forth in the Complaint, in an effort to

hide the extent of the corruption, top GSK executives launched a campaign to prevent

whistleblower complaints and evidence of bribery in China and other locations from seeing the

light of day.

          As part of that campaign, GSK lied to Plaintiffs, who became unwitting instruments of

GSK’s corrupt scheme to cover up the vast bribery it was engaged in in China. This occurred

when GSK retained Plaintiffs under false pretenses to investigate a whistleblower who

transmitted details about GSK’s China-based corruption to senior GSK management and

threatened to provide the information to the DOJ and other regulators. GSK told Plaintiffs, who

operated an investigations firm specializing in foreign corrupt practices investigations for U.S.-

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    Pursuant to Local Rule 7.1(f), Plaintiffs respectfully request oral argument on these motions.




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based companies, that the whistleblower’s allegations were false and that the whistleblower was

engaged in extortion. In fact, Defendants knew that the whistleblower’s allegations were accurate

and Defendants’ true motive for engaging Plaintiffs was to discredit the whistleblower and cover

up GSK’s illegal scheme. As a direct result of Defendants’ conduct, Plaintiffs Humphrey and

Yu were arrested, summarily convicted, and imprisoned for two years in China under harsh,

isolated conditions, unable to communicate with the outside world, during which time Humphrey

developed cancer and was prevented from obtaining medical treatment. Plaintiffs also lost their

valuable investigations business. Plaintiffs have asserted federal racketeering and conspiracy

claims under RICO, as well as state law claims for fraud, intentional infliction of emotional

distress, negligent infliction of emotional distress, and civil conspiracy.

       Defendants seek to avoid facing the merits of Plaintiffs’ claims with a pair of motions.

Both motions are meritless and should be denied. Defendants first make the staggeringly cynical

and legally baseless argument that Plaintiffs should go back to China to arbitrate these claims.

Defendants rely on an arbitration clause in an agreement between two parties neither of which is

a party to this lawsuit. They can point to no case in which a non-signatory to an arbitration

agreement (which Defendants are) was permitted to compel another non-signatory to the

arbitration agreement (which Plaintiffs are) to arbitrate its claims. That is reason enough to deny

Defendants’ motion. None of the bases offered by Defendants for compelling arbitration by a

non-signatory against a signatory, or a signatory against a non-signatory, would be applicable

here. Accordingly, under established precedents of this court and the Third Circuit, Defendants’

motion must be denied. Moreover, even if Defendants could assert a basis to compel arbitration

(and they cannot) Plaintiffs cannot be compelled to arbitrate in China, because Defendants’ own




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conduct has made it impossible for Plaintiffs Humphrey and Yu to enter China, and Plaintiffs

therefore cannot, as a practical matter, pursue their claims there.

       Defendants’ motion to dismiss the Complaint is equally meritless. Defendants first argue

that this Court cannot exercise personal jurisdiction over Defendant GSK PLC. That argument is

baseless. GSK PLC is part of the GSK Group, which GSK describes as an integrated “global

healthcare company.” It maintains one of its three “headquarters” here in Pennsylvania, runs its

legal department out of the United States, and conducts significant aspects of its global

compliance function in Pennsylvania. Indeed, Defendants’ centralized “drop box” for

whistleblower claims as part of its “global compliance program” is in Pennsylvania. It is plainly

“at home” here, and therefore subject to general personal jurisdiction. It is also subject to

specific jurisdiction based on the numerous “suit-related” activities conducted here. The direct

cause of Plaintiffs’ injury was the Defendants’ attempts to silence a whistleblower who directed

allegations to Defendants in the United States and threatened to present them to U.S. authorities.

Although the full picture will be revealed only through discovery, there can be no doubt that

Defendants’ efforts were directed in significant part from the United States.

       Defendants’ motion on the merits rests primarily on the argument that Plaintiffs “sued the

wrong entities.” This argument is based on a deliberate mischaracterization of the Complaint

and supported by declarations – impermissible on a Rule 12(b)(6) motion to dismiss – asserting

that the individuals who interacted directly with Plaintiffs are employed by legal entities other

than the Defendants. The declarations are not only entirely improper, but also irrelevant. The

allegations of the Complaint are that Defendants were engaged in a world-wide scheme to boost

drug sales through illegal payments to doctors and health care providers, and facing

investigations in the United States concerning conduct here and abroad, including in China.



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Defendants – at GSK’s highest levels – not GSK China, received whistleblower allegations

threatening to make this bribery scheme public and lied to Plaintiffs as part of an effort to cover

up the allegations and prevent their discovery by regulators in the United States, which would

have subjected (and ultimately did subject, when Defendants’ efforts failed) Defendants to

liability here. Even if Defendants’ declarations were permitted on a 12(b)(6) motion (and they

plainly are not) the fact (if true) that the individuals who interacted directly with the Plaintiffs in

China were technically employees of GSK China would be wholly irrelevant.

        Defendants also factually dispute the Complaint’s allegations that Plaintiffs Humphrey

and Yu were arrested as a result of and in connection with their work for GSK citing articles

from Chinese state media suggesting that Humphrey and Yu purportedly “confessed” to crimes

and somehow deserved to be prosecuted. But a Rule 12(b)(6) motion is not the time to dispute

the allegations of the Complaint, and certainly not by reference to Chinese state propaganda.

        On Plaintiffs’ RICO claims, GSK makes the argument – which the Court of Appeals

flatly rejected the last time GSK made it – that GSK is not liable for Plaintiffs’ damages because

an “intermediary” – this time the Chinese authorities – put Plaintiffs Humphrey and Yu in prison.

Equally baseless are Defendants’ arguments that the Complaint fails to allege a RICO pattern or

agreement, an argument Defendants are only able to make by willfully ignoring the allegations

of the Complaint. Similarly, Defendants rely on an inapplicable outlier case to claim that

Plaintiffs lack standing to bring their RICO claims, while ignoring authority from this Circuit

and other jurisdictions that undermine their argument.

        Defendants’ arguments on Plaintiffs’ state law claims fail for at least the following

reasons:




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       •   The Court of Appeals has squarely rejected Defendants’ attempt to dismiss the fraud
           claim based on a “you got the wrong defendant” argument that relies on declarations
           that factually dispute the defendants’ involvement.

       •   Contrary to Defendants’ assertion, a claim for civil conspiracy does not require a
           showing of malice where, as here, the alleged underlying conduct was itself unlawful.

       •   Under established precedent, a plaintiff may – contrary to Defendants’ argument –
           claim damages for emotional distress resulting from his imprisonment against a party
           whose negligence led to the imprisonment, even though others (i.e., the state)
           proximately caused the imprisonment.

       •   Defendants’ arguments based on the statute of limitations fail because they ignore (1)
           that the statute of limitations did not begin to run until Plaintiffs learned of the basis
           for their claims, (2) the parties’ tolling agreement and (3) that Plaintiffs’
           imprisonment by a totalitarian state prevented them from pursuing their claims while
           they were in prison.


       Finally, Defendants’ arguments under Federal Rule of Civil Procedure 19 fail because

GSK China is not a necessary party – but rather at most a potential joint tortfeasor – and in any

event dismissal would be inappropriate because Plaintiffs would otherwise have no remedy given

that they cannot pursue these claims in China as a direct result of Defendants’ wrongdoing.


                                  FACTUAL BACKGROUND2
       The Parties

       Plaintiffs Peter Humphrey and Yu Yingzeng are the founders of the investigations

company ChinaWhys Company Ltd. (“ChinaWhys”) and were both leading anti-fraud

professionals at the time of the events described in the Complaint. (Plaintiffs’ Complaint, filed

in this Court on November 15, 2016, (No. 16-cv-5924, D.E. 1) (hereinafter, “Compl.”) ¶¶ 6-7.)

ChinaWhys specialized in assisting U.S. and European law firms and businesses investigate and

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  Defendants have introduced hundreds of pages of factual material outside of the Complaint through the
Declaration of Jayne Anderson Risk, including three additional declarations. It is axiomatic that the
Court may not consider any of these materials on Defendants’ motion to dismiss under Federal Rule of
Civil Procedure 12(b)(6). See Federal Rule of Civil Procedure 12(d).


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address compliance issues pertaining to anti-bribery regulations, including those set forth in the

Foreign Corrupt Practices Act (“FCPA”). In particular, ChinaWhys assisted firms that were

being investigated by regulators in the United States, including the DOJ and SEC. (Id. at ¶ 6.)

At all times relevant to this matter, ChinaWhys had numerous pending engagements and

contracts with law firms and businesses in the United States. As a result of Defendants’ actions,

ChinaWhys lost significant revenue in the United States, and the ChinaWhys brand, goodwill

and other assets were destroyed. (Id. at ¶ 9.)

        Defendants are part of the GSK Group, which holds itself out as an integrated “global

healthcare company.” (See Declaration of John Zach (hereinafter “Zach Decl.”) Exs. C and D.)3

It has headquarters in Brentford, England; Philadelphia, Pennsylvania; and Durham, North

Carolina. (See Compl. ¶ 10; Zach Decl. Ex. B.)          The Group is managed as a single, integrated

company that issues an Annual Report on behalf of the Group. (Zach Decl. Ex. C.) “The

Directors of GlaxoSmithKline plc manage the risks of the Group at a group level, rather than at

an individual business unit level.” (Zach Decl. Ex. F.) “The Directors of the Group manage the

Group’s operations on a business sector basis.” (Id.) “The development, performance and

position of the Group are discussed in the Group’s 2015 Annual Report.” (Id.) GSK Group is

managed by a Group Board of Directors and Executive Team. (See Zach Decl. Ex. C.) GSK’s

General Counsel, Dan Troy is based in the United States. (Zach Decl. Ex A.)

        GSK’s “Global Compliance function is responsible for supporting the development and

implementation of practices that facilitate employees’ compliance with laws and Group policy.”

(Zach Decl. Ex. E.) Its “Global Compliance Investigations co-ordinates all compliance-related


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  The Declaration of John Zach is offered in opposition to Defendants’ motion to dismiss for lack of
personal jurisdiction, which (although Defendants nowhere cite the rule) is presumably made under
Federal Rule of Civil Procedure 12(b)(2).


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investigations, ensuring consistency and efficiency of investigations across geographies and

business units.” (Id.)

       GSK offers a “secure, offsite post office box” for any whistleblower submissions. (Zach

Decl. Ex. E.) That mailbox is located in Philadelphia, Pennsylvania. (Id.) GSK list seven

“Global Compliance Business Partners”, who, according to GSK, “are aligned to each business

unit.” (Id.) “Their role is to proactively partner with senior leaders to drive a values and

compliance-based culture and improve risk identification and management practices.” (Id.)

Two of GSK’s Global Compliance Business Partners are based in the United States, with “215”

area code telephone numbers. (Id.)

       GSK’s General Counsel, Dan Troy, is based in the United States and manages the

companies 400 lawyers based in Pennsylvania, New Jersey, North Carolina, Belgium and the

UK. (Zach Decl. Ex. A.) As discussed further below, Troy “played an active role” in forming

GSK’s response to the whistleblower’s revelations of corruption in China. (Id.)

       GSK’s Ongoing Worldwide Bribery and Promotion Scheme

       This case is set against the background of various investigations into GSK’s criminal and

illegal activities around the world by both criminal and civil regulatory authorities in the United

States and elsewhere. (Compl. ¶ 15.) These investigations have revealed that GSK has been

bribing doctors around the world by various means in order to increase the sale of their drugs.

(Id. at ¶¶ 37, 116, 123.) This criminal and otherwise illegal conduct was thrown into sharp focus

in 2012 when GSK entered into a settlement agreement with the DOJ. (Id. at ¶ 15.) As part of

that agreement, GSK LLC pled guilty to three misdemeanor charges under the Food, Drug and

Cosmetic Act, and agreed to pay $3 billion in penalties and damages and was essentially placed

on supervised release. (Id. at ¶¶ 15-17.) This was one of the largest health care fraud settlements



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in the history of the United States. (Id. at ¶ 15.) Significantly, even at the time it was reached,

the DOJ and other regulators were signaling that they believed this settlement was only the tip of

the iceberg and that GSK may well have been conducting similar bribery schemes around the

word. This is most clearly indicated in the plea agreement that GSK LLC signed with the DOJ,

which expressly carves out “any investigations of GSK that are or may be conducted in the

future by the Fraud Section of the Criminal Division regarding possible violations of the Foreign

Corrupt Practices Act and related offenses in connection with the sales and marketing of GSK’s

products to foreign customers.” (Id. at ¶ 21.) Among other things, by 2010 (years before GSK’s

criminal plea), the DOJ and the SEC had already initiated an FCPA investigation into GSK’s

pharmaceutical sales practices in China and other foreign nations, which were still ongoing. (Id.

at ¶ 22.)

        There is no doubt that GSK continued to operate an international bribery and promotion

scheme even as the ink was drying on its multi-billion dollar DOJ settlement. Among other

things, the SEC has since found that GSK’s China-based bribery and promotion activities

extended to at least June 2013. (Declaration of Jayne Anderson Risk in Support of Defendants’

Motion to Compel Arbitration, or, in the Alternative, to Dismiss the Complaint (hereinafter

“Risk Decl.”) Ex. 8 at 3.) In doing so, the SEC also found “deficiencies in GSK’s internal

accounting controls and compliance program also led to instances of similar improper conduct in

connection with sales in other countries in which GSK operates.” (Id. at 2.) Among other

things, during this time period GSK spent nearly RMB 1.4 billion (USD $225 million) on

planning and travel services, much of which was actually paid out bribes. In addition, in or

around this same time period, GSK set up a special “crisis management” team in order to bribe




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Chinese regulators with money and gifts. All of this, and other bribes, were approved by Mark

Reilly who headed up GSK’s Chinese operations. (Compl. ¶ 25.)

        Given the criminal and civil settlement that GSK reached with the DOJ in 2012, it was

under tremendous pressure to avoid future scandals. Any additional finding of corruption would

put GSK at risk of—among other things— harsher sanctions in the United States, further

reputational harm, and significant harm to GSK’s share price. Likewise, with U.S. regulators

vowing to hold senior company officials accountable for corporate fraud, GSK’s management

well understood that they faced potential personal sanctions should future GSK misconduct be

unearthed. (Id. at ¶ 26.)

        The China-based Whistleblower

        On January 16, 2013, approximately six months after GSK’s settlement with the DOJ, an

anonymous whistleblower sent an email entitled “Notification of Bribery by GSK in China” to

GSK’s Audit Committee, Board of Directors, Executive Management, including CEO Sir

Andrew Witty, assorted media relations employees, and independent auditors at PwC. (Compl. ¶

30.) The e-mail contained detailed corruption allegations relating to GSK’s business in China

that were strikingly similar to the conduct for which GSK had just paid penalties in the United

States. This was also the type of misconduct that GSK had claimed to the DOJ it now had the

controls in place to prevent. (Id. at ¶ 31.) In essence, the whistleblower asserted GSK “has

engaged in illegal marketing and large-scale bribery to sell its products to Chinese hospitals and

doctors.” (Id. at ¶ 32.)

        That email was followed on March 13, 2013 by another anonymous email (from a

different email address) sent to GSK senior management claiming that Mark Reilly, the general

manager of GSK China, received a bribe in the form of sexual relations in return for maximizing



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business for China Comfort Travel (“CCT”). (Compl. ¶ 45.) The email went on to explain that

CCT was an important part of the GSK bribery and promotion scheme because it facilitated a

money laundering scheme in connection with the bribing of hospitals and doctors who prescribe

GSK drugs to patients. (Id. at ¶ 46.) It further stated that CCT provided an assistant to Reilly for

sex in exchange for boosting GSK’s business with CCT. At the conclusion of the email, the

whistleblower threatened to provide this information to the DOJ. GSK’s top management

continued to receive information from the whistleblower, who repeated the company should

“make a full accounting to the Chinese regulatory authorities, the U.K.’s Serious Fraud Office,

and the SEC and DOJ.” (Id. at ¶ 47.)

       As has been publicly reported: “During the subsequent investigation, [GSK General

Counsel Dan] Troy played an active role in advising the company’s management team on how

best to engage with the authorities during this investigation. Alongside the official investigation,

Troy hired an external legal firm, Ropes and Gray, to conduct an independent investigation into

what had happened in China. ‘This was an attorney–client-privileged investigation reporting to

me, with my reporting to the Board and GSK's executive management team on their findings.’”

(Zach Decl. Ex. A.) As described above, Dan Troy is based in the United States and directs the

global legal function from here.

       In April 2013, Plaintiffs met with GSK for the first time. (Compl. ¶¶ 49-50.) At the

initial meeting, the GSK officials were led by a GSK lawyer, Brian Cahill. (Id. at ¶¶ 50-51.) The

GSK officials described to Humphrey and Yu the whistleblower allegations that were sent to

GSK global CEO Andrew Witty and other senior officials, including the global head of

compliance and General Counsel, alleging that GSK used its travel agent to channel kickbacks to

customers and doctors. (Id. at ¶ 54.) They also indicated that included with the email was a



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video that showed Reilly having sex with a Chinese woman, who Reilly claimed was his “regular

girlfriend.” (Id. at ¶ 55.) The GSK officials stated that they believed Vivian Shi, a former GSK

government affairs director, had orchestrated what the GSK officials described as a “smear

campaign” against GSK. (Id. at ¶ 51.) The “smear campaign” involved 23 emails sent to

Chinese governmental entities throughout China as well as a letter to top GSK management

alleging widespread corruption in GSK’s Chinese pharmaceutical and vaccine businesses, with

the direct approval of senior management. (Id.) The GSK officials claimed all of these

allegations had been investigated and were false. (Id. at ¶ 59.) They further claimed Shi was

disgruntled and trying to extort the company and using her deep connections with the Chinese

government to defame the company and stimulate unwarranted regulatory scrutiny. (Id. at ¶ 52.)

       During the April 15 meeting, Peter Humphrey asked GSK officials for copies of the

anonymous whistleblower allegations, but GSK refused to provide them. (Compl. ¶ 56.)

Instead, the GSK officials stressed that GSK had improved its compliance mechanisms following

earlier corruption and other illegal activities that led to the DOJ settlement. (Id. at ¶ 57.) In

particular, GSK referred to a whistleblowing system it established as a concrete step to show the

DOJ how seriously it was taking corruption. GSK officials also stressed the development of a

“compliance culture” to satisfy the DOJ and indicated that GSK had since “found more incidents

of theft from the company rather than violation of compliance.” This was, of course, false. GSK

knew full well at this time that the bribery scheme had occurred. (Id. at ¶ 58.) Nonetheless, the

GSK officials reiterated to Humphrey that, in terms of the whistleblower’s allegations, “there is

nothing there,” claiming they had uncovered only minor irregularities, like a license issue in

Beijing that resulted in a negligible fine. This statement was knowingly false. (Id. at ¶ 60.)




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       Plaintiffs accepted the GSK officials’ representations that they had thoroughly

investigated the whistleblower allegations and that there was “nothing there.” (Compl. ¶ 52.)

Under this assumption, Humphrey and Yu understood that undermining the purported “smear

campaigner’s” credibility and determining the extent of her connections and influence would be

essential to limiting the efficacy of her extortion. (Id. at ¶ 63.) Then, on June 12, 2013, The Wall

Street Journal published an article about the anonymous whistleblower’s allegations. (Id. at ¶

71.) The article included the following statement from a GSK spokesperson: “Over the last four

months we have used significant resources to thoroughly investigate each and every claim from

this single, anonymous source and have found no evidence of corruption or bribery in our China

business.” (Id. at ¶ 78.) This is, of course, exactly what the GSK officials told Plaintiffs. (Id. at ¶

52.)

        GSK senior legal counsel Jennifer Huang later asked ChinaWhys to investigate the

Public Security Bureau (PSB) and to “prepare an Organic analysis ASAP on the Chinese

political regime, particularly on Chinese Communist Party Regime, PSB, and state council with

official’s name identified.” (Compl. ¶ 82.) Humphrey and Huang had a phone call that same

day, while Humphrey and Yu were in the United States. Huang said she wanted to investigate the

PSB “to find out who’s who in the investigation.” (Id. at ¶ 83.) Humphrey became concerned

that GSK was seeking to obstruct the investigation by Chinese authorities and replied that he

could not do anything that could be deemed as violating state secrets and thus could only use

public information for his research. (Id.)

       On July 1, while Humphrey and Yu were still in the United States, GSK China’s head of

business development, Leslie Chang, asked Humphrey to investigate various government organs.

(Compl. ¶ 84.) Humphrey refused. (Id. at ¶ 85.)



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       On July 10, 2013, Shanghai police raided ChinaWhys’ Shanghai office and the home

Humphrey and Yu shared in Beijing. (Compl. ¶ 91.) Both Humphrey and Yu were detained.

(Id.) During their processing, a police officer told Humphrey: “This was ordered from above.

This is related to GSK.” (Id.) Around the same time, four senior GSK China executives were

also arrested. (Id. at ¶ 108.) In response, GSK’s global CEO, Sir Andrew Witty claimed, that

GSK’s head office in London lacked knowledge of the whistleblower’s allegations and “had no

sense of this issue.” (Id.) This was untrue. The previous month, GSK admitted that had “a

sense” of the issue, since it announced that its “four-month internal investigation into allegations

of bribery and corruption in China found ‘no evidence of corruption or bribery in our Chinese

business.’” (Id. at ¶ 109.)

       Approximately a year later, while Humphrey and Yu were detained and still awaiting

trial, GSK issued a “Statement in Response to Recent Media Coverage Related to Our China

Business.” (Id. at ¶ 112.) The statement claimed that GSK had investigated “allegations made in

early 2013 about GSK’s business in China . . . over several months with the support of external

legal and audit advice” and that, with the exception of minor expense claims fraud, “this

investigation did not find evidence to substantiate the specific allegations made in the

whistleblower emails.” (Id.) GSK further stated that its China business “hired ChinaWhys in

April 2013 to conduct an investigation following a serious breach of privacy and security,” that

was the Reilly sex tape, but that ChinaWhys was “not hired to investigate the substance of the

allegations of misconduct made by the whistleblower.” (Id. at ¶ 113.) This statement was

misleading at best since the “breach of privacy and security” was actually a whistleblower

reporting directly on the corruption allegations and Plaintiffs were dispatched to undermine her

credibility and determine the extent of her connections and influence would be essential to



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limiting the efficacy of her supposed extortion. (Id. at ¶¶ 63, 113.) This misleading statement by

GSK prolonged Humphrey and Yu’s incarceration, because British diplomats attempting to

intervene on Humphrey and Yu’s behalf did not have accurate information about what had led to

their arrest. (Id. at ¶ 114.) An article published in The Telegraph on July 6, 2014 quotes a

British official involved in efforts to intervene on behalf of Yu and Humphrey: “GSK refused to

reveal the reasons why they had originally employed [Humphrey’s] services and that this

impeded British attempts to intervene on his behalf.” He went on say “GSK were really cagey.

They just kept saying it was routine work and kept the information deliberately vague. When we

went to the Chinese we were arguing with one hand tied behind our backs.” (Id. at ¶ 115.)

       On September 19, 2014, GSK issued a Statement of Apology to the People of China in

which it announced that “GSK China Investment Co. Ltd (GSKCI) has been identified according

to Chinese law to have offered money or property to non-government personnel in order to

obtain improper commercial gains, and has been found guilty of bribing non-government

personnel.” GSK was fined $492 million for its bribery activities in China “in the biggest such

penalty ever imposed by a Chinese court.” (Compl. ¶ 116.) Mark Reilly, the CEO of GSK

China, was convicted for his part in the bribery scheme and sentenced to three years prison with

a four-year reprieve and ordered deported, meaning he will never serve his sentence. (Id. at ¶

117.) Four Chinese nationals were also given prison sentences along with reprieves, meaning

they would never actually serve time in jail. (Id. at ¶ 118.) GSK’s also apologized “for the harm

caused to individuals who were illegally investigated by GSKCI.” (Id. at ¶ 119.)

       On September 30, 2016, GSK PLC entered into a settlement agreement with the SEC

relating to its bribery scheme in China. (Compl. ¶ 120.) GSK PLC agreed to pay the SEC $20

million in addition to what it paid to the Chinese authorities. In connection with that SEC



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settlement, GSK PLC must also make regular reports to show it is overhauling its lax internal

controls and is instituting basic safeguards to prevent corruption going forward. (Id.)

         For their own part, as detailed in the Complaint, Plaintiffs Humphrey and Yu were

summarily convicted and imprisoned in China under harsh conditions for almost two years,

where they were denied fresh air and proper medical treatment, and were unable to see their

teenage son or communicate with the outside world. While in confinement, Humphrey developed

prostate cancer, for which he did not receive proper treatment and as a result the cancer became

life-threatening. (Compl. ¶¶ 95-105.) In addition, Plaintiffs lost the entire value of their

profitable investigations business. (Id. at ¶ 113.)

         Following their release from prison, Humphrey was deported from China and prohibited

from reentering the country for a period of ten years. (Declaration of Peter Humphrey, attached

to Zach Decl. as Exhibit D, (hereinafter “Humphrey Decl.”) ¶ 2.)4 Yu was not formally banned

from China, but would not be granted a visa to return given the foregoing events. (Id.)

                                           ARGUMENT
    I.      DEFENDANTS CANNOT COMPEL PLAINTIFFS TO ARBITRATE THEIR
            CLAIMS IN CHINA
         Defendants seek to compel Plaintiffs to arbitrate their claims in China based on an

arbitration agreement that was never signed by any of the parties to this dispute. (See Risk Decl.

Ex. 1.)5 As set forth below, Defendants fail to show they are entitled to invoke an arbitration

agreement in these circumstances, which the Third Circuit has referred to as “uncharted waters.”

Invista S.A.R.L. v. Rhodia, S.A., 625 F.3d 75, 85 (3d Cir. 2010). In addition, the Court should not


4
  The Declaration of Peter Humphrey is offered exclusively in opposition to Defendants’ motion to
compel arbitration.
5
  The Consultancy Agreement on which Defendants seek to rely was between ChinaWhys (Shanghai) Ltd.
and GSK China (Risk Decl. Ex. 1,) neither of which are parties to this lawsuit.


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compel Plaintiffs to arbitrate their claims in China because to do so would result in manifest

injustice, given that as a result of Defendants’ conduct Plaintiffs now cannot safely enter China

to arbitrate there.

        A. Defendants Fail to Establish They May Invoke An Arbitration Agreement to
           Which Neither Plaintiffs Nor Defendants Are Signatories
        In deciding whether to compel arbitration, “the party opposing arbitration is given the

benefit of all reasonable doubts and inferences that may arise.” Griswold v. Coventry First LLC,

762 F.3d 264, 270 (3d Cir. 2014) (citing Kaneff v. Del. Title Loans, 587 F.3d 616, 620 (3d Cir.

2009)). Moreover, although there is a presumption of arbitrability as to disputes between the

parties to a written agreement to arbitrate, “the presumption of arbitrability has never been

extended to claims by or against non-signatories.” Miron v. BDO Seidman, LLP, 342 F. Supp.

2d 324, 332 (E.D. Pa. 2004). Defendants are not signatories of the arbitration agreement they

present, a fact they finally acknowledge on page 19 of their brief. (Br. at 19.) Neither are any of

the Plaintiffs. (See Risk Decl. Ex. 1.) Accordingly, there is no presumption of arbitrability

applied to Plaintiffs’ claims, and Defendants cannot meet their burden to establish a basis to

compel arbitration.

        Defendants face two insurmountable hurdles in seeking to compel arbitration because

they must establish that they, as non-signatories to the arbitration agreement, can compel

arbitration, and that Plaintiffs, who are likewise non-signatories to the arbitration agreement can

be compelled to arbitrate their claims. Defendants cite no authority to support their “novel”

argument, and the Court should not venture into these “uncharted waters.” Invista S.A.R.L., 625

F.3d at 85 (“Not surprisingly, [defendant] offers no authority for its contention that a non-

signatory to an arbitration agreement can compel another non-signatory to arbitrate certain




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claims, and we have found none.”) This alone is reason to deny Defendants’ attempt to compel

Plaintiffs to arbitrate.

            1. Defendants, as Non-Signatories, Cannot Establish a Basis to Compel
               Plaintiffs to Arbitrate

        With respect to the first hurdle, i.e., that Defendants as non-signatories of the arbitration

agreement may enforce it against Plaintiffs, the only basis Defendants offer for their position is

equitable estoppel. (Br. at 19-20.) As the court explained in Bannett v. Hankin, 331 F. Supp. 2d

354, 359 (E.D. Pa. 2004), cited by Defendants (Br. at 20,) this estoppel theory, sometimes

referred to as “alternative estoppel” “applies when a signatory to the written agreement must rely

on the terms of the agreement to assert its claims against the nonsignatory such that the

signatory’s claims make reference to or presume the existence of the written agreement, or the

signatory’s claims arise out of and relate directly to the written agreement.” Id. at 359-360.

Applying that principle, the court held that the defendants had standing to invoke an arbitration

agreement against a signatory under an estoppel theory even though they were non-signatories to

the arbitration agreement because the compensatory damages sought by the plaintiff were

“allegedly due to him under” the terms of the contract containing the arbitration clause. Id. at

360.

        As the court held in Devon Robotics v. Deviedma, No. 09-cv-3552, 2009 WL 4362822, at

*4 (E.D. Pa. Nov. 30, 2009), the “essential question in situations such as these is whether

plaintiffs would have an independent right to recover against the non-signatory defendants even

if the contract containing the arbitration clause were void.” The “plaintiff's actual dependence

on the underlying contract in making out the claim against the nonsignatory defendant is

therefore always the sine qua non of an appropriate situation for applying equitable estoppel.”

Id. (emphasis added.) Here, Plaintiffs’ Complaint does not even mention the Consultancy


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Agreement that Defendants seek to enforce against Plaintiffs, much less rely on the terms of the

agreement to assert their claims. In contrast to Bannett, Plaintiffs do not seek payments due to

them under the Consultancy Agreement or otherwise assert any claim under the agreement. Nor

do their claims arise out of any obligations or duties of the Defendants under the contract.

Plaintiffs seek damages resulting from Defendants’ tortious conduct in seeking to fraudulently

cover up their own wrongdoing to avoid prosecution in the United States. Defendants are not

even mentioned in the contract. The estoppel theory on which Defendants rely therefore would

not apply here even if Plaintiffs were signatories, and they undisputedly are not. See Devon

Robotics, 2009 WL 4362822, at *4; see also White v. Sunoco Inc., 189 F. Supp. 3d 486, 495

(E.D. Pa. 2016) (refusing to apply estoppel to compel signatory plaintiff to arbitrate fraud claims

“not breach of contract (as might be expected if he were relying on the Agreement)” against non-

signatory where plaintiff alleged he was fraudulently induced by defendant to obtain a credit card

and signed a Cardholder Agreement containing a broad agreement to arbitrate); Just B. Method,

LLC v. BSCPR, LP, No. 14-1516, 2014 WL 5285634 at *9 (E.D. Pa. Oct. 14, 2014) (refusing to

compel signatory plaintiff to arbitrate claims against non-signatory defendants because the non-

signatory defendants “have no obligations and/or duties under the Agreement.”)

       Even if the claims were “intertwined” with the Consultancy Agreement, as Defendants

argue, that alone would not permit enforcement by Defendants. While a finding that a plaintiff’s

claims are “intertwined” with the contract is a necessary condition to apply equitable estoppel to

compel a signatory to arbitrate claims against a non-signatory, it is not a sufficient condition. For

estoppel to apply, the party seeking to compel arbitration must establish “a relationship among

the parties which either supported the conclusion that [the party opposing arbitration] had

consented to extend its agreement to arbitrate to [the non-signatory], or, otherwise put, made it



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inequitable for [the party opposing arbitration] to refuse to arbitrate on the ground that it had

made no agreement with [the non-signatory]”. Ross v. Am. Express Co., 547 F.3d 137 (2d. Cir.

2010) (quoting Sokol Holdings, Inc. v. BMB Munai, Inc., 542 F.3d 354, 359 (2d. Cir. 2008) and

overturning district court’s grant of defendant’s motion to compel arbitration based on equitable

estoppel) (internal quotation marks omitted, emphasis and alterations in original). Defendants

have not shown either that Plaintiffs claims are based on any agreement containing an arbitration

clause or that even if such an agreement existed, the relationship among the parties supports the

conclusion that Plaintiffs consented to extend that agreement to Defendants.

           2. Defendants Cannot Enforce the Arbitration Agreement Against Plaintiffs,
              Who Are Themselves Non-Signatories

       In light of the foregoing, Defendants cannot establish their right to enforce the agreement

against Plaintiffs. However, Defendants’ motion fails for the independent reason that

Defendants cannot establish their right to compel arbitration against Plaintiffs because Plaintiffs

also are not signatories to the arbitration agreement. In seeking to mount this second hurdle,

Defendants argue that the Plaintiffs may be compelled to arbitrate “due to their affiliation with

ChinaWhys (Shanghai), which is the signatory to the consultancy agreement.” (Br. at 20.)

Again, Defendants are in uncharted waters. Invista S.A.R.L., 625 F.3d at 85.

       Not only is there no authority supporting the “novel” proposition that non-signatories can

compel other non-signatories to arbitrate, id., Defendants seek to bind Plaintiffs Humphrey and

Yu based on theories of agency and estoppel that would not apply even if Defendants were

parties to the contract they seek to enforce. As a threshold matter, as noted supra, “[t]he

presumption in favor of arbitration does not extend . . . to non-signatories to an agreement.”

Griswold, 762 F.3d at 271; see also Devon Robotics, 2009 WL 4362822, at *4 (same); Miron,

342 F. Supp. 2d at 332 (“Because arbitration is a matter of contract, exceptional circumstances

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must apply before a court will impose a contractual agreement to arbitrate on a non-contracting

party.”).

        Defendants assert two theories for seeking to enforce the arbitration agreement against

Plaintiffs Humphrey and Yu—agency and estoppel. (Br. at 21.) With respect to Defendants’

agency argument, Defendants cite no case, and we are aware of no case, holding that non-

signatory plaintiffs may be compelled to arbitrate under an agency theory. Cf. Pritzker v.

Merrill Lynch, Pierce, Fenner & Smith, Inc., 7 F.3d 1110, 1121 (3d Cir. 1993) (cited in Br. at

21) (holding that claims by signatories against agents of party to arbitration agreement could be

compelled to arbitration). Indeed, the authority is directly to the contrary. Bel–Ray Co., Inc. v.

Chemrite (Pty) Ltd., 181 F.3d 435, 444-45 (3d Cir.1999) (distinguishing Pritzker and refusing to

compel non-signatory individuals to arbitrate claims under an agency theory). That is because

arbitration can only be compelled when a party has contractually agreed to arbitrate, and here

there is no evidence that Humphrey or Yu agreed to arbitrate anything. See id. (“Arbitration is

strictly a matter of contract. If a party has not agreed to arbitrate, the courts have no authority to

mandate that he do so.”).

        With regard to Defendants’ estoppel argument (Br. at 21-22), courts have permitted

signatories to compel arbitration against non-signatories when the non-signatories sought to

“reap the full benefits” of the contract – i.e., recover under the contract – containing the

arbitration clause. See Just B. Method, 2014 WL 5285634, at *9 (Plaintiff “cannot embrace

certain favorable provisions and ignore or denounce the arbitration clause”) (cited in Br. at 22.)

Here, Plaintiffs certainly have not reaped, and do not seek to reap any benefits from the contract.

To the contrary, they have suffered only harm. Accordingly, even if the Defendants were

signatories to the arbitration agreement they would not be justified in seeking to enforce the



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agreement against Plaintiffs Yu and Humphrey under estoppel principles because Plaintiffs are

not seeking recovery under the Consultancy Agreement.

       Defendants also argue that the arbitration agreement may be enforced against Plaintiff

ChinaWhys under principles of (1) alter ego, (2) agency and (3) assumption of contract rights.

(Br. at 22-23.) The only case Defendants cite for their alter ego theory, Aluminium Bahrain

B.S.C. v. Dahdaleh, F. Supp. 3d 461, 471 (W.D. Pa. 2014) refused to apply alter ego to require a

non-signatory to arbitrate, because “[a]lter ego liability attaches only where it can be

demonstrated that in all aspects of the business, the two corporations actually functioned as a

single entity and should have been treated as such” and in that case the pleadings “did not

address any of the alter ego factors.” Id. (quoting Pearson v. Component Tech. Corp., 247 F.3d

471, 484–85 (3d Cir.2001) (internal quotation marks omitted)). The same analysis applies here—

Plaintiffs’ Complaint does not establish the alter ego factors that would make the arbitration

agreement enforceable against ChinaWhys.

       In support of their agency theory, Defendants again cite Pritzker. (Br. at 23.) However,

as noted above, Pritzker does not support the application of agency theory against a non-

signatory plaintiff. (See Section A.2., supra.) Indeed, the law is clear that agency principles

cannot be used to require non-signatories to arbitrate. Bel–Ray Co., Inc., 181 F.3d at 444.

       Finally, Defendants assert that Plaintiff ChinaWhys can be bound to the arbitration

agreement because its personnel were involved in performing activities under the Consultancy

Agreement. (Br. at 23.) This argument misconstrues the law. The question is not whether

ChinaWhys was somehow involved in the contract, but whether it assumed the obligation to

arbitrate. See Thomson-CSF, S.A. v. Am. Arb Ass’n, 64 F.3d 773, 777 (2d Cir. 1995) (cited in

Br. at 23) (refusing to compel arbitration under assumption of obligation theory). Thus, for



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example, non-signatories have been compelled to arbitrate where they sent a representative to

participate in the arbitration process. See Gvozdenovic v. United Air Lines, Inc., 933 F.2d 1100,

1105 (2d Cir. 1991) (flight attendants manifested a clear intention to arbitrate by sending a

representative to act on their behalf in arbitration process). Here, there is nothing to suggest that

Plaintiff ChinaWhys ever manifested an intent to arbitrate, and it therefore cannot be compelled

to do so. See Bel–Ray Co., Inc., 181 F.3d at 444.

       Again, to be clear, the Court need not even address whether the arbitration clause can be

asserted against the Plaintiffs as non-signatories, because the Defendants have failed to establish

their right to assert the agreement at all given that they themselves are not signatories, as

established above. However, even if the Court considers whether Plaintiffs as non-signatories

can be compelled to arbitrate the answer is clearly that they cannot.

       B. The Court Should Not Compel Plaintiffs to Arbitrate In China
       Defendants also argue that Plaintiffs may be compelled to arbitrate in China despite the

fact that, as alleged in the Complaint, Humphrey and Yu were deported from China. (Br. at 23-

24.) In particular, Defendants argue that Humphrey and Yu’s deportation is no impediment to

arbitration because CIETAC rules allow a party to be represented by an authorized

representative. (Id.) This argument misses the point entirely. Humphrey and Yu are obviously

key witnesses in their own case. As a term of Humphrey’s deportation, he is banned from

entering China for a period of ten years. (Humphrey Decl. ¶ 2.) Although Yu was not

technically banned from entering China, it is almost certain that she would not be granted a visa

because of the sequence of events triggered by GSK’s conduct. (Humphrey Decl. ¶ 3.) GSK’s

Mark Reilly, another likely witness, was also banned from entering China for ten years as a term

of his deportation. Moreover, even if Humphrey and Yu were legally able to enter China, they

cannot do so safely. (Humphrey Decl. ¶ 4.)

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       Accordingly, as a practical matter, Plaintiffs simply cannot pursue their claims in China.

Under basic contract principles, a party cannot be compelled to perform an obligation that it has

become impractical as a result of circumstances that were not anticipated at the time of contract.

Restatement (Second) Contracts § 261 (1981) (“Where, after a contract is made, a party’s

performance is made impracticable without his fault by the occurrence of an event the non-

occurrence of which was a basic assumption on which the contract was made, his duty to render

that performance is discharged, unless the language or the circumstances indicate the contrary.”);

see also U.S. Claims, Inc. v. Yehuda Smolar, PC, 602 F. Supp. 2d 590, 600 (E.D. Pa. 2009)

(setting out the requirements of discharge by reason of impracticality). Here, there can be no

question that Plaintiffs did not anticipate and could not have anticipated that they would be

imprisoned and eventually deported from China. Nor can it be said that Plaintiffs somehow

agreed to be bound by the arbitration agreement even if they were deported. In addition, failure

to excuse performance would result in a grave injustice, because it would result in the effective

surrender of Plaintiffs’ claims.

       The injustice that would result is made all the more acute by the fact that, according to

the Complaint – the allegations of which must be accepted as true on Defendants’ motion to

compel arbitration, Just B. Method, 2014 WL 5285634 at *3, Plaintiff Humphrey and Yu’s

deportation was the result of Defendants’ own wrongful conduct. Basic principles of equity,

including the doctrine of unclean hands, preclude Defendants from enforcing the arbitration

agreement against Plaintiffs where Defendants own wrongful conduct brought about Plaintiffs’

inability to perform. See Mente Chevrolet Oldsmobile, Inc. v. GMAC, 451 Fed. App’x. 214, 217

(3d Cir. 2011) (upholding jury decision not to enforce forbearance agreement based on

defendant’s unclean hands).



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   II.      THE COURT HAS PERSONAL JURISDICTION OVER GSK PLC
         The Defendants’ argument that the Court does not have personal jurisdiction over GSK

PLC (Br. at 24-25) is wrong. For the reasons set forth below, this Court has both general and

specific jurisdiction over GSK PLC.

         A. The Court Has General Jurisdiction Over GSK PLC
         The Supreme Court has described the “paradigm forum for the exercise of general

jurisdiction” as “one in which the corporation is fairly regarded as at home.” Goodyear Dunlop

Tires Operations S.A. v. Brown, 564 U.S. 915, 924 (2011). In other words, “[a] court may assert

general jurisdiction over foreign (sister-state or foreign-country) corporations to hear any and all

claims against them when their affiliations with the State are so ‘continuous and systematic’ as to

render them essentially at home in the forum State.” Id. at 919. However, “Goodyear did not

hold that a corporation may be subject to general jurisdiction only in a forum where it is

incorporated or has its principal place of business; it simply typed those places paradigm all-

purpose forums.” Daimler AG v. Bauman, 134 S. Ct. 746, 760 (2014) (emphasis added).

         Here, GSK PLC openly acknowledges that it is “at home” in the present forum. For

example, GSK’s website states that “[o]ur global headquarters are in the UK but we also have a

significant presence in the USA.” (Zach Decl. Ex. B.) The website then goes on to list GSK’s

“headquarters,” as being in Middlesex, U.K., Philadelphia, PA and North Carolina. (Id.) In

contrast, GSK has well over two hundred subsidiaries throughout the world, with various

“regional headquarters,” (Id., Ex. B (noting “regional headquarters” in Singapore)), and none of

those are listed as one of GSK’s “headquarters”. (See Zach Decl. Ex. C, 2015 Annual Report at

205, 250-258.) That designation is reserved for the three locations described on the website.

         The fact that GSK PLC is “at home” in this forum is underscored by how its core

operations are spread among those three “headquarters.” For example (and of particular

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significance to this case), at GSK, “the Global Compliance function is responsible for supporting

the development and implementation of practices that facilitate employees’ compliance with

laws and Group policy.” (Zach Decl. Ex. E.) GSK’s “Global Compliance Investigations co-

ordinates all compliance-related investigations, ensuring consistency and efficiency of

investigations across geographies and business units.” These functions are managed by both the

U.K. and the Philadelphia headquarters. For example, GSK and its Global Compliance Function

offer a single “secure, offsite post office box” for any submissions that a potential whistleblower

wants to make. (Zach Decl. Ex. E.) That mailbox is located in Philadelphia, Pennsylvania.

Likewise, there are seven “Global Compliance Business Partners”, who, according to GSK, “are

aligned to each business unit. Their role is to proactively partner with senior leaders to drive a

values and compliance-based culture and improve risk identification and management practices.”

(Id.) Two of them are based in the U.S., with “215” area code (Philadelphia-area) telephone

numbers. (Id.)

        As another example, GSK PLC’s General Counsel, Dan Troy, a member of GSK PLC’s

Corporate Executive Team6, is based in the United States, from where he manages GSK’s legal

team both in the U.S. and abroad.7 (Zach Decl. Ex. A.) Maintenance by a corporate executive

even of a temporary office within the forum has been held to justify the exercise of general



6
  “Throughout the year, the General Counsel of the Group, as head of the Group’s legal function, and the
Senior Vice President and Head of Global Litigation for the Group, who is responsible for all litigation
and government investigations, routinely brief the Chief Executive Officer, the Chief Financial Officer
and the Board of Directors on the significant litigation pending against the Group and governmental
investigations of the Group.” (Zach Decl, Ex. C, 2015 Annual Report at 71.)
7
 As discussed further below, when a plaintiff asserts a federal claim, the relevant forum for the analysis
of personal jurisdiction is the United States as a whole. In re Automotive Refinishing Paint, 229 F.R.D.
482, 487 (E.D. Pa. 2005) (“[I]n a federal court action arising under federal law, the proper forum for
assessing minimum contacts is the United States as a whole.”).



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personal jurisdiction. See Perkins v. Benguet Consol. Min. Co., 342 U.S. 437, 447-448 (1952)

(Ohio court's exercise of general jurisdiction permissible where the president of the foreign

defendant temporarily “maintained an office,” “drew and distributed ... salary checks,” used “two

active bank accounts,” “supervised ... the rehabilitation of the corporation’s properties in the

Philippines,” and held “directors’ meetings,” in Ohio); see also Daimler AG, 134 S. Ct. 746

(describing Perkins as “the textbook case of general jurisdiction appropriately exercised over a

foreign corporation that has not consented to suit in the forum,”).8 A fortiori, the permanent

location of a corporate officer in the forum, particularly when many of those reporting to the

officer also live and work in the forum, justifies the exercise of personal jurisdiction.

           Accordingly, GSK PLC is “at home” in this forum and the Court has general jurisdiction

over it.

           B. The Court Has Specific Jurisdiction Over GSK PLC
           Even if GSK is not subject to general jurisdiction in this forum, the Court certainly has

specific jurisdiction over this matter. The Supreme Court has explained that, even where a

defendant is not subject to general jurisdiction, it can be subject to specific jurisdiction where

“the defendant’s suit-related conduct” creates “a substantial connection with the forum.” Walden

v. Fiore, 134 S. Ct. 1115, 1121 (2014). Where, as here, the plaintiff asserts federal claims9, the


8
  GSK PLC’s declaration proves both too much and not enough at the same time. For example, GSK
argues that GSK PLC does not conduct any operations in the United States (Br. at 24), but then also
asserts that it does not conduct any operations anywhere. (GSK PLC Declaration ¶ 5.) It further claims
that its principal place of business is in Middlesex, England (Id. at ¶ 3,) but then states that it does not
conduct any business at all and exists purely for the purpose of holding stock in its subsidiaries (which
presumably do conduct business). (Id. at ¶ 4.) On the other hand, it carefully states that it does not have
“operational” headquarters in either Philadelphia, Pennsylvania or Research Triangle Park, North
Carolina (id.at ¶ 10), which only begs the question as to what type of headquarters it does have in the
United States.
9
 The Court can exercise supplemental personal jurisdiction over Plaintiffs’ related state law claims. Am.
Trade Partners, L.P. v. A-1 Int’l Importing Enter., Ltd., 755 F. Supp. 1292, 1303 (E.D. Pa. 1990) (“Since


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relevant forum is the United States as a whole. In re Automotive Refinishing Paint, 229 F.R.D.

482, 492 (E.D. Pa. 2005) (finding personal jurisdiction over Belgian entity where “it would

appear that Plaintiffs’ antitrust claims arise, at least in part, out of [Belgian entity’s] contacts

with the United States.”) Furthermore, “[b]ecause an incorporated organization is a “legal

fiction,” the question of whether it has made [sufficient] contacts justifying the exercise of

personal jurisdiction is, in reality, a question of whether the contacts made by the agents and

employees of the corporation are sufficient to justify the exercise of jurisdiction.” Id. (internal

quotation marks and citations omitted). There are numerous such contacts in this case including

both conduct that occurred in the United States and communications directed to the United

States:

          •   This case broadly arises out of GSK’s bribery and promotion scheme and the
              attendant corruption investigation by the DOJ and the SEC in the United States.
              (Compl. ¶ 22, 31.)

          •   More specifically, the whistleblower emails that directly led to Plaintiffs’
              involvement threatened to disclose the bribery scheme in China to the DOJ and the
              SEC in the United States. Those emails were received in the United States. (Compl.
              ¶¶ 109-111.)

          •   Although discovery will reveal the full extent of the involvement of U.S.-based
              personnel in the cover-up in which Plaintiffs were ensnared10, it is clear that GSK’s
              General Counsel, who is based in the U.S., was substantially involved in directing
              GSK’s response to the whistleblower allegations from within the United States. (See
              Zach Decl. Ex. A.)


I found that this court has personal jurisdiction over Santangelo with respect to the federal statutory
claims and that the state claims are pendant in nature, i.e., that both state and federal claims arise from a
common nucleus of operative facts, it follows this court has pendent jurisdiction over those claims and
personal jurisdiction over Santangelo with respect to them.”).
10
   To the extent the Court finds that GSK PLC is not subject to general jurisdiction, and there is any doubt
about the extent to which GSK PLC acted within the United States with respect to the claims, Plaintiffs
are entitled to discovery to establish those minimum contacts. Metcalfe v. Renaissance Marine, Inc., 566
F.3d 324, 336 (3d Cir. 2009) (stating that if “the plaintiff's claim is not clearly frivolous [as to the basis
for personal jurisdiction], the district court should ordinarily allow discovery on jurisdiction in order to
aid the plaintiff in discharging that burden” “particularly . . . where the defendant is a corporation.”).


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       •   GSK employees directed communications to Humphrey while he was located in the
           United States. (Compl. ¶ 80.)

       •   Witty and others falsely claimed, and publicly broadcast so as to reach U.S.
           regulators, that GSK had conducted an internal four month internal-investigation into
           the matter and found nothing amiss, (Compl. ¶ 109.)

       •   Ultimately, GSK PLC was fined and sanctioned by regulators in the United States for
           its participation in the scheme that led to Plaintiffs’ injury. (Compl. ¶ 116.)

       These facts establish that this Court has personal jurisdiction over GSK PLC for the

claims asserted in the Complaint, which “arise out of” and/or “relate to” the foregoing contacts

of GSK PLC with the United States. See In re Automotive Refinishing Paint, 229 F.R.D. 482,

487 (E.D. Pa. 2005.) Moreover, as referenced above, GSK PLC has already acknowledged that it

is subject to personal jurisdiction in the United States in connection with the bribery scheme

alleged in the Complaint. On September 30, 2016, GSK PLC itself “agreed to pay $20 million to

settle charges [with the SEC] that it violated the Foreign Corrupt Practices Act (FCPA) when its

China-based subsidiaries engaged in pay-to-prescribe schemes to increase sales.” (Risk Decl.

Ex. 7.) In addition to paying the fine, GSK PLC also agreed to a remediation process whereby it

must report to the SEC over a two-year period on how it intends to implement improved anti-

corruption compliance measures. (Id.)

       This SEC enforcement proceeding, and the attendant Remedial Sanctions and Cease and

Desist Order (Risk Decl. Ex. 8), directly relate to the allegations in the Complaint. Among other

things, the factual findings that were made as part of the enforcement action by the SEC include:

           •   “Between at least 2010 and June 2013, employees and agents of GSK [PLC]’s
               China-based subsidiary and a China-based joint-venture engaged in various
               transactions and schemes to provide things of value to foreign officials, including
               healthcare professionals (“HCPs”), in order to improperly influence them and
               increase sales of GSK [PLC] products in China.” (Id. at 2);

           •    “The corrupt payments took varied forms, including gifts, improper travel and
               entertainment with no or little educational purpose, shopping excursions, family

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                 and home visits, and cash. The costs associated with these payments were
                 recorded in GSK [PLC]’s books and records as legitimate expenses, such as
                 medical association sponsorships, employee expenses, conferences, speaker fees,
                 and marketing costs.” (Id. at 3);

             •   “The funds used for the improper inducements were frequently obtained under the
                 guise of, and falsely recorded in GSK [PLC]’s books and records as, legitimate
                 travel and entertainment expense, marketing expense, speaker payments, medical
                 associations payments, and promotion expense. Throughout this period GSK
                 [PLC] failed to devise and maintain a sufficient system of internal accounting
                 controls and lacked an effective anticorruption compliance program.” (Id. at 2);
                 and

             •   The deficiencies in GSK [PLC]’s internal accounting controls and compliance
                 program also led to instances of similar improper conduct in connection with sales
                 in other countries in which GSK [PLC] operates. (Id.)

          Accordingly, GSK PLC is subject to general and specific jurisdiction.

   III.      EACH OF PLAINTIFFS’ CLAIMS IS ADEQUATELY PLEADED

          On a motion to dismiss, “the court is ‘required to accept as true all allegations in the

complaint and all reasonable inferences that can be drawn from them after construing them in the

light most favorable to the nonmovant.’” Hartig Drug Co. Inc. v. Senju Pharm. Co., 836 F.3d

261, 268 (3d Cir. 2016) (citation omitted). The standard “simply calls for [plaintiffs to allege]

enough facts to raise a reasonable expectation that discovery will reveal evidence of the

necessary elements of the claim.” Hollander v. Ranbaxy Labs. Inc., No. 10-793, 2011 WL

248449, at *2 (E.D. Pa. Jan. 24, 2011). Defendants bear the burden of demonstrating dismissal is

proper. Narducci v. Timoney, No. CIV A 99-CV-3933, 1999 WL 961221, at *5 (E.D. Pa. Oct.

15, 1999). “[D]ismissal is appropriate only if it appears beyond a doubt that the plaintiff can

prove no set of facts in support of his claim which would entitle him to relief.” Oatess v.

Sobolevitch, 914 F.2d 428, 431 n.8 (3d Cir. 1990); see also Johnson v. Hill, 910 F. Supp. 218,

220 (E.D. Pa. 1996) (“A complaint is properly dismissed only if it appears that the plaintiff

cannot prove any set of facts in support of its claim which would entitle it to relief.”)


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       A. The Complaint States a Claim for RICO and RICO Conspiracy
       In their motion, Defendants raise three arguments that the Complaint fails to state a claim

under the applicable RICO statutes. At the outset, it is important to keep in mind that the

Supreme Court has explained that “RICO is to be read broadly. This is the lesson not only of

Congress' self-consciously expansive language and overall approach, but also of its express

admonition that RICO is to ‘be liberally construed to effectuate its remedial purposes.’ The

statute’s ‘remedial purposes’ are nowhere more evident than in the provision of a private action

for those injured by racketeering activity.” Sedima, S.P.R.L. v. Imrex Co., Inc., 473 U.S. 479,

497-498 (1985) (internal citations omitted). For the reasons set forth below, each of those

arguments should be rejected.

           1. Plaintiffs Pled Facts Demonstrating Defendants’ Violations of Section 1962
              Caused Their Damages

       Defendants’ contention that they are not liable to Plaintiffs for violations of Section 1962

because the Chinese authorities, not Defendants, injured Plaintiffs is wrong. Hemi Group, LLC

v. City of New York, 559 U.S. 1 (2010), on which Defendants rely (Br. at 30), does not stand for

the proposition for which Defendants cite it and does not bar Plaintiffs’ claim. Hemi “is about

the RICO liability of a company for lost taxes it had no obligation to collect, remit, or pay, which

harmed a party to whom it owed no duty.” Id. at 17. In that case, the City of New York alleged

that Hemi, an online cigarette sales company, committed fraud by “selling cigarettes to city

residents and failing to submit the required customer information to the State [of New York].”

Id. at 2. However, “[n]either [New York] state nor city law require[d] Hemi to charge, collect or

remit tax.” Id. at 4. Rather, the tax payment requirement fell to the purchasers who, the Court

noted, “seldom pay it on their own.” Id. While there was a separate federal law that required

“out-of-state vendors such as Hemi to submit customer information to the States into which they

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ship cigarettes,” New York State was not obligated to share that information with New York

City. Id. The Court therefore found the City’s causation theory to be too indirect because it was

a situation in which the “defendant’s fraud on the third party (the State) has made it easier for a

fourth party (the taxpayer) to cause harm to the plaintiff (the City).” Id. at 11. The Court also

emphasized that the “the fourth-party taxpayers [] only caused harm to the City in the first place

if they decided not to pay taxes they were legally obligated to pay.” Id. This does not mean, as

Defendants contend, that the mere involvement of a third party will always preclude a RICO

claim. As the court in Hemi held, there must be “some direct relation between the injury asserted

and the injurious conduct alleged” that is neither “’too remote,’ ‘purely contingent,’ or

‘indirect.’” Id. at 9 (quoting Holmes v. Sec. Investor Protection Corp., 112 S. Ct. 1311 (1992))

(emphasis added).

       In sharp contrast to Hemi, in which the defendants did not direct any conduct toward the

plaintiff, here it is alleged that as part of its overarching scheme, Defendants lied directly to the

Plaintiffs. That deception directly caused the damages in this case.

       Notably, Defendants studiously avoid citing the leading Third Circuit case on this issue,

presumably because it directly rejects the “presence of intermediaries” argument Defendants

make here. In In re Avandia Marketing, Sales Practices & Product Liability Litigation, 804 F.3d

633 (3d Cir. 2015), the Third Circuit found that plaintiffs had sufficiently pled proximate

causation and other facts against GSK (who was the defendant in that case) and upheld the denial

of the district court’s motion to dismiss. In the Avandia case, like here, GSK argued “that the

presence of intermediaries . . . destroys proximate causation.” 803 F.3d at 645. But the court

rejected that argument and found, instead, that plaintiffs were “the ‘primary and intended victims




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of the scheme to defraud’ and their injury was a ‘foreseeable and natural consequence of [the]

scheme.’” (Id. (citing Bridge v. Phoenix Bond & Indemnity Co., 128 S. Ct. 2131 (2008)).

       As set forth above, there is no question that Plaintiffs were among the intended victims of

Defendants’ fraud and that the injury was a foreseeable and natural consequence of GSK’s

deception. GSK lied to Plaintiffs about the fact that they had previously investigated the

whistleblower’s allegations and determined that they were unfounded (GSK knew they were

true). (Compl. ¶¶ 52-53; 151-155.) Defendants further lied to Plaintiffs by claiming that GSK

was the victim of an extortion plot by the whistleblower that was exposing their business and

employees to criminal and regulatory sanction. (Id. ¶¶ 63; 152-153.)

       Avandia also distinguished the line of cases that GSK relies on in its papers: “The Court

in Holmes, Anza, and Hemi was concerned that the conduct causing plaintiffs’ injuries was

different than the conduct allegedly constituting a RICO violation. Each of those cases featured

plaintiffs alleging harm that was derivative of harm suffered by a more immediate victim of the

RICO activity.” 804 F.3d at 643-44. Here, like in Avandia, the harm claimed by Plaintiffs is not

derivative of harm suffered by anyone else.

           2. Plaintiffs Have Alleged a Pattern of RICO Activity

       Defendants make the conclusory argument that the racketeering conduct alleged in the

Complaint is “entirely unrelated” and “disjointed”. (Br. at 32.) The fact that Defendants do not

even attempt to seriously address the allegations and predicate acts alleged in the Complaint is

proof enough that this argument fails.

       As set forth above in the Factual Background, Plaintiffs’ pattern could not be more clear.

GSK operated a worldwide bribery and promotion scheme whereby it illegally made payments to

doctors, hospitals and others in an effort to wrongfully bolster the sales of its drugs, then, after a

settlement with the DOJ relating to part of this scheme (that carved out ongoing investigations as

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to conduct outside the United States), Defendants sought to suppress evidence of conduct in

China, and sought to make Plaintiffs unwitting participants in that effort. (See Factual

Background at 7-9). Defendants then settled with the SEC relating to the conduct in China the

evidence of which they had sought to suppress. (Id.). Defendants’ argument that what they call

the “three subsets of conduct within the purported enterprise,” (Br. at 32) are unrelated and

disjointed is therefore perplexing.

              3. Plaintiffs Have Sufficiently Pled an Agreement

         Defendants argue that Plaintiffs’ Second Cause of Action for RICO conspiracy should be

dismissed because the Complaint fails to plead an agreement. In particular, Defendants argue,

pointing to two paragraphs in the Complaint, that Plaintiffs offer only conclusory allegations

with respect to the Defendants’ participation in the whistleblower investigation. (Br. at 34.) The

argument is easily rejected because, as a matter of law, it misunderstands the nature of the

requisite agreement under Section 1962(d). To state a claim, a plaintiff must allege a knowing

agreement “to facilitate a scheme which includes the operation or management of a RICO

enterprise.” Smith v. Berg, 247 F.3d 532, 538 (3d Cir. 2001). However, the agreement need not

relate to participation in any particular predicate act or specific instance of conduct. Rather, “one

who opts into or participates in a conspiracy is liable for the acts of his co-conspirators which

violate section 1962(c) even if the defendant did not personally agree to do, or to conspire with

respect to, any particular element.” Id. at 573.11 The Complaint alleges numerous facts relating

to Defendants’ agreement to engage in the bribery and promotion scheme—that is, the RICO



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  As the Third Circuit further explained: “A conspirator must intend to further an endeavor which, if completed,
would satisfy all of the elements of a substantive criminal offense, but it suffices that he adopt the goal of furthering
or facilitating the criminal endeavor. He may do so in any number of ways short of agreeing to undertake all of the
acts necessary for the crime’s completion. One can be a conspirator by agreeing to facilitate only some of the acts
leading to the substantive offense. Id. at 537 n.9.


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enterprise—to meet that pleading burden. And, in any event, although they need not do so to

satisfy the “agreement” requirement, Plaintiffs do plead facts that demonstrate Defendants

actively participated in the suppression of the whistleblower’s allegations This includes the acts

of Defendants’ employees based in Asia as well as those based in the U.S. and U.K.12

             4. Plaintiffs Have Sufficiently Pled a Domestic Injury

        Defendants argue that Plaintiffs do not have standing to bring a RICO claim because the

Complaint does not plead a “domestic injury” pursuant to the Supreme Court’s recent decision in

RJR Nabisco, Inc. v. European Cmty, 136 S. Ct. 2090 (2016). That is wrong. As an initial

matter, the Supreme Court was clear in RJR Nabisco that what constitutes a “domestic injury” in

“any given case will not always be self-evident, as disputes may arise as to whether a particular

alleged injury is ‘foreign’ or ‘domestic.’” Id. at 2111. In that case, there was no “domestic

injury” because plaintiff’s case “rest[ed] entirely on injury suffered abroad” and the Court

declined to further define the meaning of “domestic injury,” leaving it to subsequent cases to

develop the test. Id. Since then, a few district courts throughout the country have interpreted

what “domestic injury” means and attempted to articulate guiding principles to address this fact

specific issue. As discussed below, Defendants cherry-pick among these decisions, relying on a

distinguishable outlier case, and failing to address the contrary authority. None of the cases

Defendants cite suggest that Plaintiffs have not alleged a domestic injury sufficient to give them

RICO standing on the facts pled in this case.

        As alleged in the Complaint, Plaintiffs operated an investigative services firm whose

primary function was to advise and consult with U.S. corporations and law firms on FCPA

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  In a footnote (Br. at 35 n.9), Defendants note that a number of courts in this circuit have held that corporations
cannot engage in a RICO conspiracy solely with its own subsidiaries and employees. Presumably Plaintiffs do not
advance this argument as a basis for dismissal because, among other reasons, the Complaint alleges numerous other,
non-GSK co-conspirators. (Compl. ¶ 123.)


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investigations and other U.S. regulatory matters. Most of the firm’s revenue was generated from

the United States in connection with the numerous ongoing engagements it has with American

law firms and businesses. All of that revenue was lost when the Defendants’ racketeering

conduct destroyed Plaintiffs’ business.

       Defendants rely principally on Bascuñan v. ELS, 2016 WL 5475998 (S.D.N.Y. Sept. 28,

2016). The holding of this case has been criticized or rejected by many of the other courts

analyzing these issues even within the same district. See, e.g., City of Almaty, Khazakhstan v.

Ablyazov, 15-CV-5345 (AJN), 2016 WL 7756629, at *8 (S.D.N.Y. Dec. 23, 2016) (noting that

“[t]he Bascuñan approach has garnered somewhat mixed reception among the few other courts

to address the domestic-injury issue” and declining “endorse an absolutist version of the rule”);

Tatung Co., Ltd. v. Shu Tze Hsu, SA CV 13-1743 (DOC), 2016 WL 6683201, at *6 (C.D. Cal.

Nov. 14 2016) (declaring “this Court declines to follow Bascuñan” and providing criticism of

the decision). Defendants ignore those decisions.

       Defendants also ignore Elsevier Inc. v. Grossmann, 12 Civ. 5121 (KPF), 2016 WL

7077109 (S.D.N.Y. Aug. 4, 2016), in which the court “conclude[d] that, in the RICO context,

courts should employ a more flexible inquiry to determine where an injury occurs . . . [and that]

[i]f the plaintiff has suffered an injury to his or her business, the court should ask where

substantial negative business consequences occurred.” Id. at *13 (emphasis added). The

Elsevier court found no “domestic injury” because the sales and customers of the plaintiff’s

business were all located abroad in Brazil. Id. By contrast, in this case, Plaintiffs’ investigative

services business lost its U.S.-based revenue, clients and ongoing and prospective contracts when

Defendants racketeering conduct destroyed the business. (Compl. ¶¶ 3, 5, 9.) It is also worth

noting that the work for which Defendants hired Plaintiffs, which caused Plaintiffs harm, was



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related directly to Defendants response to ongoing regulatory inquiries by the DOJ and SEC in

the United States. Moreover, those injuries to Plaintiffs business distinguish this case from

Bascuñan, which related to loss of property, namely being defrauded out of $64 million.

Bascuñan, 2016 WL 5475998, at *6; see Elsevier, 2016 WL 7077109 at *13 (comparing

business injuries to property injuries and noting that “[b]y contrast [to business injuries], if the

plaintiff has suffered an injury to his or her property, the court should ask where the plaintiff

parted with the property or where the property was damaged.”).

       Defendants also ignore Akishev v. Kapustin, No. 13-7152 (NLH), 2016 WL 7165714

(D.N.J. 2016), the only case to come out of this Circuit, in which the court implicitly rejected

Bascuñan, stating that the domestic injury requirement “‘does not mean that foreign plaintiffs

may not sue under RICO.’” Id. at *7 and n.9 (quoting RJR Nabisco, 136 S. Ct. at 2110 n.2).

Instead, the Akishev court looked to how the plaintiffs suffered their injury and concluded that

that United States-based schemes targeting foreign plaintiffs cause domestic injuries. Id. at *7-

*8. In particular, the court noted that “[a] person responsible for a United States-based

fraudulent scheme to defraud people overseas should not escape liability under a federal law that

permits private causes of action to redress that fraud simply because the scheme targets foreign

citizens over the internet.” The court went on to conclude that:

       In a fraudulent and criminal scheme that crosses borders, the extraterritoriality analysis
       should be a two-way street. The Plaintiffs here could have been anywhere in the world
       and actually came from several countries. Defendants, however, choose to operate their
       fraudulent scheme from New Jersey and Pennsylvania. The locus delecti of the crimes
       committed is the United States. Nothing in 18 U.S.C. § 1964(c) suggests Congress
       intended to exclude a scenario like this one from the reach of a private victim, even a
       foreign one.

Id. at *8. Other cases have found similar guiding principles in assessing what constitutes a

“domestic injury. See, e.g., Tatung Co. Ltd., 2016 WL 6683201, at *7 (adopting an approach



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similar to the Akishev court’s test and noting that “[i]t is ludicrous to think that a foreign

individual could not sue under civil RICO for financial injuries incurred while they are working,

traveling, or doing business in this country as the result of an American RICO operation. But,

this is the logical application of the Bascuñan rule.). Here again, Defendants coordinated and

operated their fraudulent scheme to evade U.S. regulatory sanctions from this forum and targeted

Plaintiffs as unwitting instruments to achieve that goal.

        Union Commercial Services Ltd. v. FCA Int’l Operations LLC, No. 16-cv-10925, 2016

WL 6650399 (E.D. Mich. Nov. 10, 2016), a case Defendants do cite, actually supports a finding

of domestic injury here. In that case the court adopted an antitrust-type approach to defining

“domestic injury.” Under that test, the court must determine whether there is a “domestic injury”

“by assessing whether a defendant’s conduct is intended to or has produced ‘substantial effects’

in the United States.” Id. at *4. The Union Commercial court found that plaintiff suffered no

domestic injury because the entirety of the specific injury alleged, “lost sales and lost profits,”

occurred outside of the United States. Id. at *5. In this case, Plaintiffs allege conduct that

demonstrates a domestic injury under the Union Commercial standard because Plaintiffs’ lost

revenue, clients, and ongoing and prospective engagements in the United States. Those injuries

and Defendants’ other conduct therefore suffice to establish a “domestic injury” under this test as

well.

        In sum, the Supreme Court left open the question of what constitutes a “domestic injury.”

But, as set forth above, district courts across the country have worked to formulate a test to fill

the gap. Plaintiffs, who operated a U.S. facing business and lost substantial U.S. revenue as a

result of Defendants’ conduct, have pleaded facts sufficient to meet the applicable standards that

have been articulated and demonstrated a “domestic injury” in this case.



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       B. Plaintiffs’ State Law Claims Are Adequately Pleaded
           1. The Court Has Diversity Jurisdiction, And In Any Event Can Exercise
              Supplemental Jurisdiction Over Plaintiffs’ State Law Claims

       As an initial matter, Defendants’ argument that the Court cannot exercise diversity

jurisdiction and that it therefore lacks subject matter jurisdiction over Plaintiffs’ state law claims

is both wrong and irrelevant. The basis of Defendants’ argument is the wholly unsupported

assertion that Plaintiff Yu is “not domiciled in the U.S.” (Br. at 26.) The Complaint alleges that

Yu is an American citizen (Compl. ¶ 7), and there is no basis for Defendants’ assertion that she is

not domiciled in the U.S. In any event, the Court has supplemental jurisdiction over Plaintiffs’

state law claims under 28 U.S.C. § 1367, which provides that where the district court has original

jurisdiction – which Defendants to not contest – it also has “supplemental jurisdiction over all

other claims that are so related to claims in the action within such original jurisdiction that they

form part of the same case or controversy under Article III of the United States Constitution.”

Defendants do not argue, nor could they, that Plaintiffs’ state law claims do not form part of the

same case and controversy as the Federal claims.

           2. Plaintiffs Have Adequately Stated A Claim for Fraud

       Defendants’ only argument is that the fraud claim fails because “the wrong defendants

once again were named,” citing Davis v. Wells Fargo U.S. Bank Nat’l Ass’n, No. 14-07014, 2015

WL 3555301, at *1 (E.D. Pa. June 8, 2015). (Br. at 35.) In that case, the district court granted

the insurance holding company defendant’s motion to dismiss a “forced insurance” claim under

Rule 12(b)(1) for lack of subject matter jurisdiction, relying on declarations by the defendants

that asserted, like Defendants here, that the defendant was merely a holding company with the

sole purpose of holding other companies and that it did not issue insurance. Davis, 2015 WL

35555301 at *1, 3-4; compare to “Declaration of GlaxoSmithKline PLC,” Exhibit 13 to Risk


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Declaration. What Defendants fail to note is that the holding of the district court in Davis on

which they rely was vacated by the Court of Appeals. Davis v. Wells Fargo, 824 F.3d 333, 346-

350 (3d Cir. 2016). The Court of Appeals held that the district court was wrong to treat the

defense – the same one asserted by Defendants here – “the wrong defendants were named” – as a

motion to dismiss under 12(b)(1) and, crucially, was wrong to allow the defendants to rely on

declarations, like those submitted here, disclaiming involvement. Id. As the Court of Appeals

reasoned, Defendants’ argument, if accepted, “would allow any litigant whose defense is ‘you’ve

got the wrong party’ to frame that lack-of-responsibility defense not as a merits challenge to be

tried or to be considered under Rule 12(b)(6) or the summary judgment provisions of Rule 56 but

as a Rule 12(b)(1) standing challenge, thereby empowering the defendant to buttress its legal

arguments with factual assertions that contradict those in the complaint.” Id. at 348. The Court

further held that, applying the proper standard on a motion to dismiss under Rule 12(b)(6), i.e.,

taking the allegations of the complaint as true, the plaintiff had stated a claim against the holding

company. In doing so, it expressly rejected the defendant’s argument that the plaintiff should

have named its subsidiary as a defendant, noting that the defendant and its subsidiary “are related

entities and the extent of their intertwined operations is a matter that has not yet been tested by

the adversary process.” Id. at 347.

        Here as in Davis, Defendants contend that Plaintiffs should have named another party and

that Defendants themselves did nothing wrong. But as the Court of Appeals held, defendant

        argues that [the plaintiff] has filed suit against the wrong party, that his claims against
        [defendant] are actually without merit because [defendant] has done nothing wrong. That
        may be true, and, if so, the ordinary course of litigation will root it out. But [defendant]
        may not short-circuit the usual process, flip the burden of persuasion, and permit itself to
        submit competing facts to support its argument.

Id. at 349.



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       The gravamen of the Complaint is that the Defendants, concerned about exposure to

liability outside of China, including in the United States for violations of the FCPA, sought to

cover up evidence of corruption in China and silence a whistleblower, and the Complaint

plausibly alleges that the Defendants engaged in the alleged fraudulent conduct through their

agents based in China (regardless of which entity technically employed those agents).

Defendants are free to try to establish at a subsequent phase of this litigation that the individuals

named in the Complaint who interacted with Plaintiffs, including Mark Reilly and Brian Cahill,

were operating entirely independently of Defendants, including managers in the U.S. and U.K. to

whom they presumably reported (as implausible as that sounds). However, at the pleading stage,

Defendants may not rely on declarations indicating that those individuals were not “employed by

GSK PLC during the relevant time period” (“Declaration of GlaxoSmithKline PLC,” Exhibit 13

to Risk Declaration). See Davis, 824 F.3d at 351 (holding the court “must ignore” defendant’s

declarations when ruling on the 12(b)(6) motion). Defendants offer no other basis for dismissal

of the fraud claim, and its motion to dismiss for failure to state a claim must therefore be denied.

           3. Plaintiffs Have Adequately Stated A Claim for Civil Conspiracy

       As Defendants acknowledge, the elements of civil conspiracy are (1) a combination of

two or more persons acting with a common purpose to do an unlawful act or to do a lawful act by

unlawful means or for an unlawful purpose; (2) an overt act done in pursuance of the common

purpose; and (3) actual legal damage. (Br. at 36, citing Morilus v. Countrywide Home Loans,

Inc., 651 F. Supp. 2d. 292, 312 (E.D. Pa. 2008). ) Defendants do not contest that Plaintiffs have

alleged those elements. Rather, they argue that the civil conspiracy claim fails because the

Complaint does not plausibly allege that Defendants acted with personal malice toward the

Plaintiffs. (Id.) That argument rests on a fundamental misreading of the law. As an initial



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matter, in the decision on which Defendants rely, the issue before the district court was not

whether a claim for civil conspiracy had been stated, but whether there was sufficient evidence

of civil conspiracy to commit fraud to survive summary judgment. To the extent the district

court’s decision implied that a plaintiff must allege an additional element to this state law claim –

i.e., actual malice toward the plaintiff – where the plaintiff alleges an unlawful act, like here, as

opposed a lawful act for an unlawful purpose, that implication is inconsistent with the law of

Pennsylvania. Pennsylvania courts have held that a defendant is not liable for civil conspiracy if

it engages in otherwise lawful conduct unless the defendant’s objective is to harm the plaintiff

rather than advance its own interests. See e.g. Thompson Coal Co. v. Pike Coal Co., 412 A.2d

466, 473 (Pa. 1979). That is simply another formulation of the second of the two predicates for a

civil conspiracy claim – i.e., “a lawful act by unlawful means or for an unlawful purpose.”

These decisions merely embody the uncontroversial concept that: “[t]he mere fact that two or

more persons, each with the right to do a thing, happen to do that thing at the same time is not by

itself an actionable conspiracy.” Thompson Coal Co. v. Pike Coal Co., 412 A.2d 466, 473 (Pa.

1979) (holding that defendant was not liable for civil conspiracy based on otherwise lawful

conduct absent a showing that the conduct was intended to harm the plaintiff) (emphasis added)

(quoting Fife v. Great Atl. and Pac. Tea Co., 52 A.2d 24, 39 (Pa.1947)). Here, by contrast, it is

alleged that Defendants acted with a common purpose to do an unlawful act, not to do a lawful

act by unlawful means or for an unlawful purpose. The question of intent to harm the plaintiff is

therefore irrelevant.

           4. Plaintiffs Adequately Alleged Severe Emotional Distress

       Only by willfully ignoring the Complaint are Defendants able to glibly assert, as they do,

that Plaintiffs’ claims of severe emotional distress are “threadbare legal conclusions.” (Br. at

37.) The Complaint sets out in sometimes painful detail the suffering, both emotional and

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physical, that Plaintiffs underwent during their nightmarish arrest, summary conviction, and

brutal imprisonment. These allegations more than satisfy any standard for a claim of severe

emotional distress.

        Nor is there any merit to Defendants’ argument that the causal link between Defendants’

conduct and Plaintiffs’ suffering is broken by the “independent” acts of the Chinese authorities.

(Br. at 37-38.) Numerous cases have held that a plaintiff may seek damages for emotional

distress against a defendant whose negligence resulted in plaintiff’s imprisonment, even though

the actions of others proximately brought about the imprisonment. See, e.g., Lawson v. Nugent,

702 F. Supp. 91 (D. N.J. 1988) (holding that client alleging legal malpractice could recover

damages for emotional distress attributable to extra 20 months of confinement in maximum

security penitentiary which were allegedly due to negligent representation); Bowman v. Doherty,

686 P.2d 112, 119 (Kan. 1984) (holding that “the act of the attorney which led to the injury

suffered by his client was the failure of the attorney to act, which caused the client to be placed

in jail and deprived of his freedom. One being negligently deprived of his freedom suffers an

injury which could cause mental distress.”); Wagenmann v. Adams, 829 F.2d 196, 222 (1st

Cir.1987) (holding that “an attorney who commits malpractice is liable to his client for any

reasonably foreseeable loss caused by his negligence including emotional distress resulting from

the loss of liberty.”).

            5. Plaintiffs’ State Law Claims Are Not Barred By the Statute of Limitations

        As an initial matter, Defendants are wrong when they assert that Plaintiffs’ claims

accrued between April and July 2013 when Defendants committed fraud. (Br. at 42.) It is

beyond question that a claim for fraud does not accrue, until, at the earliest, the plaintiff becomes

aware, or should have become aware through the exercise of ordinary diligence, that he was



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defrauded. Beauty Time, Inc. v. VU Skin Systems, Inc., 118 F.3d 140, 144 (3d Cir. 1997) (“It is

well-established that Pennsylvania law recognizes an exception to the statute of limitations

which ‘delays the running of the statute until the plaintiff knew, or through the exercise of

reasonable diligence should have known, of the injury and its cause.’”); see also Merck & Co.,

Inc. v. Reynolds, 559 U.S. 633 (2010) (explaining history and underpinnings of the “discovery

rule” applicable to fraud claims and holding “[t]his court long ago recognized that something

different was needed in the case of fraud, where a defendant’s deceptive conduct may prevent a

plaintiff from even knowing that he or she has been defrauded. Otherwise, ‘the law which was

designed to prevent fraud’ could become ‘the means by which it is made successful and

secure.’”). Moreover, because the question of when the plaintiff became or should have become

aware of the claim is highly fact-intensive, it is generally inappropriate for resolution on a

motion to dismiss. Schmidt v. Skolas, 770 F.3d 241, 251 (3d Cir. 2014) (“Only where the facts

are so clear that reasonable minds cannot differ may the commencement of the limitations period

be determined as a matter of law.”) (internal quotation marks and citations omitted). In addition,

because failure to timely file is an affirmative defense, the plaintiff need not plead compliance

with the statute of limitations. Id. Only where the complaint itself demonstrates unequivocally

that the claim is not timely can the issue be resolved on a motion to dismiss. Id.

       Here, the Complaint does not identify when Plaintiffs learned that they had been

defrauded, and the court therefore cannot grant Defendants’ motion based on the statute of

limitations. Id. If anything, the Complaint indicates that Plaintiffs’ fraud claim accrued, at the

earliest, on September 19, 2014, when Defendants admitted for the first time that they had

engaged in bribery, at which point Plaintiffs could have learned for the first time that they had

been lied to. (Compl.¶ 116.)



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       However, even taking the earliest date, GSK’s public admission of guilt on September

19, 2014, the Plaintiffs’ claims are timely. The parties entered into a 60-day tolling agreement

effective as of September 12, 2016. Accounting for the tolling agreement, Plaintiffs’ Complaint

was filed on November 15, 2016, one year, eleven months, and 26 days after Defendants’

admission of guilt. The statute of limitations for fraud in Pennsylvania is two years.

Accordingly, Plaintiffs’ fraud claim is timely even if it accrued on September 19, 2014.

       Defendants’ motion to dismiss Plaintiffs’ claims for intentional and negligent infliction of

emotional distress based on the statute of limitations fails for similar reasons. Although

Plaintiffs Humphrey and Yu began to suffer injury on July 10, 2013 when they were detained by

police in China, they did not have a basis to assert their claims, which require, respectively, a

showing of negligence and intent, until, at the earliest, when Defendants admitted their guilt on

September 19, 2014, and in reality much later in light of the fact that when Defendants admitted

their wrongdoing, Humphrey and Yu were already being held in a Chinese prison with no access

to information. In addition, Plaintiffs Humphrey and Yu’s claims of infliction of emotional

distress are based on their incarceration, which continued until at least June 9, 2015. Based on

that and the fact that they were unable to discover the basis for their claims until after they were

released, their claims for intentional and negligent infliction of emotional distress accrued on or

after June 9, 2015. However, as discussed above, under the applicable two-year statute of

limitations, Plaintiffs’ claims were timely even if they accrued on the earlier date of September

19, 2014, taking into account the 60-day tolling agreement between the parties. To the extent

there is any doubt about when Plaintiffs’ claims accrued, Defendants’ motion must be denied.

See Schmidt v, 770 F.3d 241.




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       Regardless of the calculations above, Plaintiffs’ state law claims are timely because,

pursuant to the doctrine of equitable tolling, the statute of limitations for their claims did not run

while Humphrey and Yu were imprisoned in China. Equitable tolling applies, among other

circumstances, “where the plaintiff in some extraordinary way has been prevented from asserting

his or her rights.” Oshiver v. Levin, Fishbein, Sedran & Berman, 38 F.3d 1380, 1387 (3d Cir.

1994.) The application of the doctrine is fact intensive an inappropriate for resolution on a

motion to dismiss under Rule 12(b)(6). Id. at 1389 (holding that the question of whether

equitable tolling applies required a factual inquiry into defendant’s conduct). Among other

things, it will need to be determined to what extent Plaintiffs Humphrey and Yu were able to

assert their claims while they were in prison, bearing in mind that this was not a prison in the

United States, where prisoners have rights, but a prison in one of the most repressive

dictatorships in the world, where prisoners have no rights.

       C. The Complaint Should Not Be Dismissed for Failure to Join An Indispensable
          Party
               1. GSK China is Not a Necessary Party Under Rule 19(a)

       GSK argues that GSK China is a necessary party under Federal Rule of Civil Procedure

19(a). Once again, GSK’s argument is based on a deliberate mischaracterization of the

allegations in the Complaint. The allegations of the Complaint are directed at the Defendants,

not GSK China. As alleged in the Complaint, GSK’s global senior executives received

whistleblower accusations of widespread corruption in China at a time when GSK was dealing

with investigations into its global practices by authorities in the United States and United

Kingdom. For example, the Complaint alleges that GSK’s global CEO Andrew Witty, its Global

Head of Compliance, and its Global General Counsel Dan Troy received an anonymous email,

attaching the Mark Reilly sex tape, that triggered Plaintiffs’ involvement. (Compl. ¶¶ 54-55.)


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The Complaint further alleges that “on January 16, 2013, approximately six months after GSK’s

settlement with the DOJ, an anonymous whistleblower sent an email entitled “Notification of

Bribery by GSK in China” to GSK’s Audit Committee, Board of Directors, Executive

Management, including CEO Sir Andrew Witty.” (Id. at 30.) The Complaint also alleges that

“on May 10, 2013, GSK Audit Chair Judy Lewent and other recipients received another email

from the same anonymous email address as the January 10 whistleblower email.” (Id. at ¶ 67.)

        The Complaint alleges that as a result of these whistleblower allegations – sent to

Defendants at the highest levels – Defendants, through their agents in China, induced Plaintiffs

to engage in a fraudulent investigation designed to silence a whistleblower and cover up a

bribery scheme that Defendants did not want to come to light given the ongoing investigations

by U.S. and U.K. authorities. (Id. at ¶¶ 49-63.) Again, Defendants remain free at a later stage to

try to prove that Mark Reilly, Brian Cahill and the other individuals who interacted directly with

Plaintiffs were acting completely independently of their superiors Andrew Witty, Dan Troy, and

others. But at the motion to dismiss phase, the allegations of the Complaint must be taken as

true.

        Accordingly, this is not a case where liability is asserted solely in a vicarious capacity

based on a parent company being vicariously liable for the acts of its subsidiary as was the case

in Carl Schroeter GmbH v. Crawford & Co., No. 09-946, 2009 WL 1408100 (E.D. Pa. May 19,

2009), cited by Defendants. (Br. at 40) (dismissing without prejudice and holding that subsidiary

would be a necessary party where there were no allegations concerning the corporate

grandparent defendant and the only basis for liability against the corporate grandparent was

vicarious liability for the conduct of the subsidiary, and allowing plaintiffs to replead to allege a




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factual basis for asserting liability over corporate grandparent). The alleged wrongdoing here

was by the Defendants.

        In all events, Defendants have failed to establish that GSK China is a necessary party

under Rule 19(a). Rule 19(a) provides:

        A person ... must be joined as a party in the action if (1) in the person’s absence complete
        relief cannot be accorded among those already parties; or (2) the person claims an interest
        relating to the subject of the action and is so situated that the disposition of the action in
        the person’s absence may (i) as a practical matter impair or impede the person’s ability to
        protect that interest; or (ii) leave any of the persons already parties subject to a substantial
        risk of incurring double, multiple, or otherwise inconsistent obligations by reason of the
        claimed interest.

        “A Rule 19(a)(1) inquiry is limited to whether the district court can grant complete relief

to the persons already parties to the action. The effect a decision may have on the absent party is

not material.” Janney Montgomery Scott, Inc. v. Shepard Niles, Inc., 11 F.3d 399, 405 (3d Cir.

1993.) Defendants do not even attempt to show that complete relief cannot be granted in GSK

China’s absence.

        GSK China has not asserted any interest such as would be required under Rule 19(a)(2).

See ConnTech Dev. Co. v. Univ. of Conn. Educ. Prop., Inc., 102 F.3d 677, 683 (2d Cir.1996)

(“[i]t is the absent party that must ‘claim an interest’ for Rule 19(a)(2) purposes. [A party’s]

self-serving attempts to assert interests on behalf of [a third party] fall outside the language of

Rule 19(a)(2).”) But even Defendants do not claim that GSK China has an interest in this action,

much less that that it cannot protect that interest, or that any of the parties are at risk of multiple

or inconsistent obligations based on such unidentified interest.

        GSK China is, at most, a potential joint-tortfeasor or agent of the Defendants. The law is

clear that joinder of such parties is permissive, not necessary under Rule 19(a). Temple v.

Synthes Corp., Ltd., 498 U.S. 5, 8 (1990) (holding surgeon and hospital as potential joint



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tortfeasors not necessary parties to case against manufacturer of device implanted in plaintiff’s

spine); Huber v. Taylor, 532 F.3d 237, 249-250 (3d Cir. 2008) (holding local counsel as potential

joint tortfeasor/agent not necessary party in legal malpractice case); Orengo v. Berkel &

Company Contractors, Inc., No. 16-4635, 2016 WL 7474476, at *3 (E.D. Pa. Dec. 29, 2016)

(holding employee driver not necessary party in negligent driving case against driver’s employer,

and collecting cases holding agents/principals not necessary parties). Defendants should not be

permitted to use Rule 19 to make an “attempted end-run on the general rule that the plaintiff gets

to decide who among alleged joint and several tortfeasors to sue.” Alpha Pro Tech, Inc. v. VWR

Int’l. LLC, 984 F. Supp. 2d 425, 459 (E.D. Pa. 2013).

       Because Defendants have failed to establish that GSK China is a necessary party under

Rule 19(a), the Court need not analyze whether dismissal is appropriate under Rule 19(b).

               2. Dismissal Is Not Warranted Under Rule 19(b)

       Even if GSK China were a necessary party (and it is not), dismissal would not be

appropriate under Rule 19(b). Under Rule 19(b), four factors, although not exhaustive, are “the

most important considerations” in determining whether a party is indispensable:

       first, to what extent a judgment rendered in the person’s absence might be prejudicial to
       the person or those already parties; second, the extent to which, by protective provisions
       in the judgment, by the shaping of relief, or other measures, the prejudice can be lessened
       or avoided; third, whether a judgment rendered in the person’s absence will be adequate;
       [and] fourth, whether the plaintiff will have an adequate remedy if the action is dismissed
       for nonjoinder.

General Refractories Co. v. First State Ins. Co., 500 F.3d 306, 319 (3d Cir. 2007) (quoting

Fed.R.Civ.P. 19(b) (internal quotation marks and citations omitted).

       Defendants make no attempt to show that a judgment rendered in GSK China’s absence

would be prejudicial to anyone. Nor do they explain why a judgment rendered in GSK’s absence

would be inadequate. Importantly, the question under this factor is whether the judgment will be


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adequate to the plaintiff. Id. Defendants have offered no reason to believe Plaintiffs would not

be able to recover fully from the Defendants. Defendants’ citation of the District of Delaware’s

opinion in Jurimex Kommerz Transit G.m.b.H. v Case Corp., 201 F.R.D. 337, 340-341 (D. Del.

2001) is misplaced. In that case, the plaintiff sought to hold the parent company liable for the

conduct of its subsidiaries. Here by contrast, as discussed above, the Complaint alleges that

Defendants, not GSK China, received the whistleblower allegations and orchestrated a cover-up

that led to the arrest and imprisonment of Plaintiffs in an attempt (futile, as it turned out) to avoid

liability themselves in the U.S. Moreover, the Court of Appeals in Jurimex reversed the District

of Delaware decision to the extent it failed to allow the plaintiff to amend its complaint to flesh

out its theory of liability over the parent company, stating:

       we can presume that the factual nature of the relationship alleged in the amended
       complaint would be better understood after discovery. For example, during its earlier
       request for discovery, Jurimex asked for all documents concerning the communications
       between Case and its subsidiaries specifically limited to the Golden Grain transaction.
       Evidence of control by Case over the actions of Case France, Paris, and Neustadt would
       likely be found in such documents and demonstrate agency.

Jurimex Kommerz Transit G.M.B.H. v. Case Corp., 65 Fed.App’x. 803 (3d Cir. 2003). Here, of

course, the Complaint already articulates the grounds for liability against Defendants. Similarly,

in the only other authority cited by Defendants, Carl Schroeter GmbH, 2009 WL 1408100 (E.D.

Pa. May 19, 2009) which is inapposite for the reasons discussed above, the court allowed

plaintiffs to replead to allege a factual basis for asserting liability over corporate grandparent. Id.

at *12 (“Plaintiffs should, however, be entitled to amend their complaint”).

       Perhaps most significantly, Defendants are wrong when they assert that Plaintiffs would

have an adequate remedy if the action is dismissed for non-joinder. As discussed above,

Plaintiffs cannot enter China and therefore cannot prosecute their claims there. Particularly




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where the other factors also do not support dismissal, the Court cannot, “in equity and good

conscience,” dismiss this action on grounds of non-joinder. Id. at *3.

                                          CONCLUSION
         For the reasons set forth above, Plaintiffs respectfully request that Defendants’ Motion to

Compel Arbitration, or, in the Alternative, to Dismiss the Complaint, be denied in its entirety.

Dated:          Philadelphia, Pennsylvania
                March 3, 2017

                                              Respectfully Submitted,

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                                CERTIFICATE OF SERVICE

       Pursuant to Fed. R. Civ. P. 5(b)(2)(D) and the Local Rules of this Court, I hereby certify

that the foregoing Memorandum in Opposition to Defendants’ Motion to Compel Arbitration, or,

in the Alternative, to Dismiss the Complaint was filed by ECF on March 3, 2017, is available for

viewing and downloading from the ECF system, and has been served on all parties of record by

ECF.

       Dated: March 3, 2017                                 __      /s/ John T. Zach
              New York, New York                                    John T. Zach




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                        UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA


PETER HUMPHREY, YU YINGZENG, and
CHINAWHYS COMPANY LTD.,

                Plaintiffs,
                                                    No. 16 Civ. 5924 (NIQA)
       v.

GLAXOSMITHKLINE PLC and
GLAXOSMITHKLINE LLC,

              Defendants.



   [PROPOSED] ORDER DENYING DEFENDANTS GLAXOSMITHKLINE PLC AND
   GLAXOSMITHKLINE LLC’S MOTION TO COMPEL ARBITRATION, OR, IN THE
           ALTERNATIVE, MOTION TO DISMISS THE COMPLAINT

       This Matter, having come before the Court on the Defendants’ motion to compel arbitration

and Defendants’ motion to dismiss the complaint, and it appearing, upon argument of counsel and

for good cause shown, that the Motion should be denied:

       IT IS HEREBY ORDERED that Defendants’ motion to compel arbitration and Defendants’

motion to dismiss the complaint is denied.


Dated: _________________                          By:     __________________________
                                                          Hon. Nitza I. Quiñones Alejandro
                                                          United States District Judge




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                                CERTIFICATE OF SERVICE

       Pursuant to Fed. R. Civ. P. 5(b)(2)(D) and the Local Rules of this Court, I hereby certify

that the foregoing Declaration of John T. Zach in Opposition to Defendants’ Motion to Compel

Arbitration, or, in the Alternative, to Dismiss the Complaint (with exhibits) was filed by ECF on

March 3, 2017, is available for viewing and downloading from the ECF system, and has been

served on all parties of record by ECF.

       Dated: March 3, 2017                                 __      /s/ John T. Zach
              New York, New York                                    John T. Zach




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                        Exhibit A




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         Overview                     Resources                  Benchmarking                 Why Join ACC?




        NOVEMBER 21, 2016
        “OUR MOST VALUABLE COMMODITY IS OUR TIME:” GSK’S DAN TROY ON RUNNING A GLOBAL LEGAL DEPARTMENT

                                        Dan Troy is senior vice president and general counsel of GSK, a science-led global healthcare company that researches and
                                        develops a broad range of innovative pharmaceuticals, vaccines and consumer healthcare products. The company employs
                                        100,000 people in 150 countries. Troy has been with the company since 2008. Prior to joining GSK, he was in private practice at
                                        the Washington, DC, firm of Sidley Austin. He has served as chief counsel for the U.S. Food & Drug Administration, where he
                                        served as a primary liaison to the White House and the U.S. Department of Health and Human Services.

                                  Troy heads up a global legal organization at GSK that aligns lawyers with lines of business and practice areas, locates them in or
                                  close to GSK's major operations in Philadelphia, Belgium, and New Jersey, in addition to the company's commercial
        headquarters in Research Triangle Park, North Carolina and at head office in London. The legal department numbers 630, of whom 400 are lawyers.
        There are general counsels for the Vaccine and Consumer Healthcare businesses, research and development (R&D), and manufacturing and supply; there
        are three regional general counsels for the pharmaceutical business given its scale. Then there are also centralized pools of lawyers who specialize in
        litigation, patent, trademark, and general commercial work, all vital to GSK's success.

        In order to work closely with his team and meet the needs of the business, Troy travels frequently, using his time in the air to work through his very large
        black bag of reading or occasionally enjoy an action movie. He says that communication, trust, and careful planning are key to making an organization of
        this scale work cohesively: "The most valuable commodity any of us have is our time. I try to be very thoughtful about how and where I spend my time. I
        know where I will be sleeping every night in 2017 to ensure the business runs smoothly."

        "I'm based in GSK's office in Washington, DC, which means I don't sit in the same place as any of my direct reports; the relationships require lots of trust.
        My team operates with an enormous degree of autonomy, so I have to know we have the best possible people at all levels in our business, all aligned to our
        overall goal," he says. While the legal team is fully embedded within GSK and aligned to the business, Troy notes it is vitally important the function also
        maintains a distance: "We are independent but aligned." Troy sees Legal's role as helping the business solve problems, achieve what it wants and needs to
        achieve, providing guidance on staying safely within the limits of the law while also operating within the guardrails of GSK policy. "The more we know the
        business and the more we know about the business, the more we can help," he says.

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        be a guardian, raising cautions about how society might react to various business decisions," while also clarifying what the law requires.

        During Troy's eight-year tenure at GSK, the external environment for the pharmaceutical sector has changed significantly. For example, product liability
        risk used to be one of the main issues requiring GSK legal time, for now represents a much smaller business risk. Troy says his team is also currently
        thinking through some of the opportunities and challenges presented by the FDA's – and the court's – increased focus on the implications of the First
        Amendment for pharmaceutical regulation.

        While the external environment has shifted during Troy's time at GSK, so too has the shape of the company itself. In March 2015, GSK completed an
        innovative three-part transaction with fellow pharmaceutical company Novartis, swapping GSK's marketed oncology portfolio for Novartis's vaccines
        business, with the two companies forming a joint venture in consumer healthcare. "Working on the Novartis transaction was an incredible opportunity to
        be involved in a transaction that would, could and did transform our company," Troy says. "To ensure confidentiality, we kept it very tight; not even ten
        lawyers in Legal knew about it, so senior people needed to roll up their sleeves and do some of the things that we hadn't done in years. It was very
        exciting."

        In 2013, China's Ministry of Public Security began an investigation into working practices at GSK in China. During the subsequent investigation, Troy
        played an active role in advising the company's management team on how best to engage with the authorities during this investigation. Alongside the
        official investigation, Troy hired an external legal firm, Ropes and Gray, to conduct an independent investigation into what had happened in China. "This
        was an attorney–client-privileged investigation reporting to me, with my reporting to the Board and GSK's executive management team on their
        findings."

        Since the conclusion of the investigation with the Chinese government, GSK has made significant changes to its business model globally, and was the first
        major pharmaceutical company to do so: GSK stopped paying sales representatives on the basis of prescription drug sales; and it stopped paying
        healthcare providers to speak on the company's behalf. "These not only reduced risk but were the right thing to do," Troy says. "The way the business
        embraced the business model changes helped the legal team persuade regulators that the business 'got it.'" While Legal played a valuable role, Troy notes
        these changes really came from within the business itself.

        During his time at GSK, Troy has identified some significant differences between private practice and in-house practice. "In private practice, you only
        know what the internal counsel tells you. As that internal counsel, you get to see the whole context of the business, beginning, middle, and end," he says.
        He finds in-house practice extremely rewarding. "We are part of an organization that has as its mission to help people 'do more, feel better, live longer.'
        Every day, we interact
                          This site with  people
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        A major innovation of which Troy—a sworn enemy of the billable hour—is proud is GSK's Outside Counsel Selection Initiative (OCSI). Having brought 50
        percent of GSK's external legal spend under alternative fee arrangements by the end of his first year at the company, he then rolled out OCSI, a reverse
        online auction in which firms bid their best price for matters or portfolios of work.

        "This work has been a major focus of my tenure. We use OCSI for every matter over $250,000, and we have used it outside the United States," he says.
        "OCSI enables us to hire lawyers on a fairer, more data-driven, more objective basis. We take diversity into consideration when we hire outside firms. We
        track their progress and performance. It enables us to bring a variety of metrics and measures to bear to ensure that we are making our hiring decisions as
        transparently as possible, with respect for people and with integrity." Troy notes the selected firm is not always the lowest bidder, and GSK does negotiate
        frequently to ensure incentives are aligned between the company and outside counsel. He also emphasizes that the platform is open-source, and he is
        happy to share.

        —Jennifer J. Salopek is a freelance writer based in McLean, Virginia. She can be reached at jjsalopek@outlook.com.




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                        Exhibit B




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                                                                            Menu




  Headquarters
  Our global headquarters are in the UK but we also have a
  significant presence in the USA.

  Integrity and compliance contact details
  GSK’s Speak Up Integrity Lines can be used worldwide to report cases
  of unethical and illegal conduct. Please see our global compliance
  page for more details.




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  Visit the GSK US website




  USA - Research Triangle Park
  Five Moore Drive
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           Registered office: 980 Great West Road, Brentford, Middlesex, TW8 9GS, United Kingdom.




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                         Exhibit C
       Relevant Excerpts from 2015 Annual Report of
    GlaxoSmithKline plc and its subsidiary undertakings




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Annual Report 2015
2015 saw substantial progress
to accelerate new product
sales growth and strengthen
our Pharmaceuticals, Vaccines
and Consumer Healthcare
businesses




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                            Our investor proposition
                            GSK is a science-led global healthcare company that aims to
Strategic report




                            deliver growth and improving returns to shareholders through
                            the development of innovative pharmaceutical, vaccine and
                            consumer healthcare products.




                                Three world-leading
                                businesses
Governance & remuneration




                                Each has a broad range
                                                              Pharmaceuticals                        Vaccines                      Consumer Healthcare
                                of growth drivers and the
                                global presence to access
                                increasing demand for
                                healthcare.
                                                              £14.2bn
                                                              2015 turnover
                                                                                                     £3.7bn
                                                                                                     2015 turnover
                                                                                                                                   £6.0bn
                                                                                                                                   2015 turnover

                                                              Leadership in key                      The most comprehensive        One of the world's
                                                              therapeutic areas                      vaccines portfolio in the     leading global Consumer
                                                              including Respiratory                  industry                      Healthcare companies
                                                              and HIV                                                              (by retail sales)




                                Strong R&D
Financial statements




                                innovation                                                                                       Around     40  new
                                                                                                                                 potential medicines and
                                R&D underpins all                                                                                vaccines in our pipeline
                                our businesses with           Vaccines               Respiratory            Rare diseases        proﬁled at R&D event b
                                                                                     diseases
                                research focused in
                                six core therapy areas.                                                                          80%
                                                                                                                                 of which we believe are
                                                                                                                                 potentially ﬁrst-in-class

                                                              Immuno-
                                                              inﬂammation
                                                                                     HIV/infectious
                                                                                     diseases
                                                                                                            Oncology             20
                                                                                                                                 Potential to ﬁle up
                                                                                                                                 to 20 assets by 2020
Investor information




                                                                                                                                 b GSK R&D event on 3 November 2015.



                                Efﬁcient global
                                operating model
                                                              £2.5bn                                                    £1bn
                                                              2015 adjusted free cash ﬂow excluding                     in incremental annual cost
                                We are focused on             costs funded by divestmentsc                              savings delivered in 2015 and
                                optimising our operations
                                through restructuring,
                                investments and
                                                              £6.7bn                                                    £3bn
                                                              net proceeds from disposals                               in annual cost savings
                                modernisation to              generated in 2015                                         expected by end of 2017d
                                improve proﬁtability
                                and eﬃciency.
                                                               £3.7bn
                                                              reduction in net debt in 2015
                                                              c Excluding legal payments and also non-core              d £1.6 billion annual savings
                                                                restructuring and integration costs and the initial
                                                                tax payments on the sale of the Oncology business.
                                                                                                                          achieved by 31 December 2015.
                                                                                                                                                            £
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                            Our Board
Strategic report




                                                        Sir Philip Hampton 62              Skills and experience
                                                        Non-Executive Chairman             Prior to joining GSK, Sir Philip chaired major FTSE 100 companies
                                                                                           including The Royal Bank of Scotland Group plc and J Sainsbury plc.
                                                        Nationality
                                                                                           He has also served as Group Finance Director at Lloyds TSB Group,
                                                        British
                                                                                           BT Group plc, BG Group plc, British Gas and British Steel plc.
                                                        Appointment date                   Sir Philip was previously appointed an Executive Director of Lazards
                                                        1 January 2015. Deputy             and a Non-Executive Director at RMC Group Plc and Belgacom SA.
                                                        Chairman from 1 April 2015         Until 2009, he was Chairman of UK Financial Investments Limited,
                                                        and Non-Executive Chairman         which manages the UK Government’s shareholdings in banks.
                                                        from 7 May 2015
                                                                                           External appointments
                                                        Committee membership               Sir Philip is currently the Senior Independent Director of Anglo
                                                        Nominations Committee              American Plc, Chairman of its Remuneration Committee and
                                                        Chairman, Finance                  member of its Audit Committee. Sir Philip is also Chair of the
                                                                                           Women on Board’s review; an independent review on increasing
                                                                                           representation of women in the executive level of FTSE 350
                                                                                           companies.
Governance & remuneration




                                                        Sir Andrew Witty 51                Skills and experience
                                                        Chief Executive Ofﬁcer             Sir Andrew joined GSK in 1985. He has worked in the UK, South
                                                                                           Africa, the US and Singapore in various senior roles. In 2003,
                                                        Nationality
                                                                                           he was appointed President of Europe and joined GSK’s Corporate
                                                        British
                                                                                           Executive Team. Andrew has served in numerous advisory roles to
                                                        Appointment date                   Governments around the world including South Africa, Singapore,
                                                        31 January 2008 and as             Guangzhou China and the UK, where he was a member of the
                                                        Chief Executive Ofﬁcer             Prime Minister’s Business Advisory Group from 2010-2015. He
                                                        on 21 May 2008                     was awarded a Knighthood for services to the economy and to the
                                                                                           UK pharmaceutical industry in the 2012 New Year Honours List.
                                                        Committee membership
                                                        Finance                            External appointments
                                                                                           Sir Andrew is appointed to the UK Business Ambassador Group, the
                                                                                           China-Britain Business Council Advisory Council and the School of
                                                                                           Economics & Management Advisory Board (SEM), Tsinghua University,
                                                                                           Beijing, China. Sir Andrew is Chancellor of the University of Nottingham.
Financial statements




                                                        Simon Dingemans 52                 Skills and experience
                                                        Chief Financial Ofﬁcer             Prior to joining GSK, Simon had over 25 years of experience in
                                                                                           investment banking at SG Warburg and Goldman Sachs. During this
                                                        Nationality
                                                                                           time, he advised a broad range of large corporates across a number of
                                                        British
                                                                                           industry sectors, including pharmaceuticals and consumer healthcare.
                                                        Appointment date                   Simon advised GSK for over a decade before his appointment and
                                                        4 January 2011 and as Chief        was closely involved in a number of GSK’s key strategic projects.
                                                        Financial Ofﬁcer on 1 April 2011
                                                                                           External appointments
                                                        Committee membership               Simon is Chairman of the 100 Group of Finance Directors.
                                                        Finance


                                                        Dr Moncef Slaoui 56                Skills and experience
                                                        Chairman, Global Vaccines          Moncef joined GSK Vaccines in 1988 where he engineered the
Investor information




                                                                                           development of a robust vaccines pipeline. He then led Worldwide
                                                        Nationality
                                                                                           Business Development for pharmaceutical products before his
                                                        Moroccan, Belgian & American
                                                                                           appointment to lead R&D in 2006. He was given overall responsibility
                                                        Appointment date                   for GSK’s Oncology Business in 2010; for GSK Vaccines in 2011;
                                                        17 May 2006                        and for all Global Franchises in 2012. Moncef has advised the US
                                                                                           President’s Council of Advisors on Science and Technology and he
                                                        Committee membership
                                                                                           was a member of the Board of the Agency for Science, Technology
                                                        Finance
                                                                                           & Research (A*STAR) until January 2011.
                                                                                           He has a PhD in Molecular Biology and Immunology from Université
                                                                                           Libre de Bruxelles and has published more than 100 scientiﬁc papers
                                                                                           and presentations. Prior to joining GSK, Moncef was Professor of
                                                                                           Immunology at the University of Mons, Belgium.
                                                                                           External appointments
                                                                                           Moncef is a member of the Biotechnology Industry Organization Board
                                                                                           in the US and a member of the Advisory Committee to the Director
                                                                                           of National Institutes of Health. He is also an adviser to the Qatar
                                                                                           Foundation, and a member of the Qatar Biomedical Research Institute
                                                                                           Scientiﬁc Advisory Committee. Moncef serves as a Non-Executive
                                                                                           Director for the International AIDS Vaccine Initiative (IAVI).


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                                                                                                                                    Strategic report
                        Sir Deryck Maughan 68           Skills and experience
                        Senior Independent              Sir Deryck has a wealth of international corporate and investment
                        Non-Executive Director          banking experience, having previously served as Chairman and
                                                        Chief Executive Ofﬁcer of Citigroup International and of Salomon
                        Nationality
                                                        Brothers Inc. He served as Vice Chairman of the New York Stock
                        British
                                                        Exchange from 1996 to 2000. Sir Deryck was a former Senior Adviser
                        Appointment date                to, and Partner of, Kohlberg Kravis Roberts & Co and previously served
                        1 June 2004 and as Senior       as a Non-Executive Director of Thomson Reuters.
                        Independent Non-Executive
                                                        External appointments
                        Director on 1 May 2013
                                                        Sir Deryck is a Non-Executive Director of BlackRock, Inc. and a
                        Committee membership            Trustee of the British Museum.
                        Audit & Risk, Nominations,
                        Remuneration and Finance


                        Professor Sir Roy Anderson 68   Skills and experience




                                                                                                                                    Governance & remuneration
                        Independent Non-Executive       Professor Sir Roy is a world-renowned medical scientist with advanced
                        Director & Scientiﬁc Expert     knowledge of infectious disease epidemiology, and is currently
                                                        Professor of Infectious Disease in the Faculty of Medicine, Imperial
                        Nationality
                                                        College, London. He is a fellow of the Royal Society, the Academy of
                        British
                                                        Medical Sciences and the Royal Statistical Society. He is an Honorary
                        Appointment date                Fellow of the Institute of Actuaries and a Foreign Associate Member
                        1 October 2007                  of the National Academy of Medicine at the US National Academy of
                                                        Sciences and the French Academy of Sciences. Professor Sir Roy
                        Committee membership
                                                        brings scientiﬁc expertise to the Board’s deliberations.
                        Nominations and Finance
                                                        External appointments
                                                        Professor Sir Roy is a member of the International Advisory Board of
                                                        Holdingham Group and Chairman of the Science Advisory Board of the
                                                        Natural History Museum, London. He is also a member of the Vaccine
                                                        International Advisory Board (VACCIAB) of AJ Pharma Holding Sdn.
                                                        Bhd in Malaysia.




                                                                                                                                    Financial statements
                        Manvinder Singh (Vindi)         Skills and experience
                        Banga 61                        Prior to joining GSK, Vindi spent 33 years at Unilever plc, where his
                        Independent Non-Executive       last role (amongst several senior positions) was President of the Global
                        Director                        Foods, Home and Personal Care businesses, and he was a member of
                                                        the Unilever Executive Board. Vindi sat on the Prime Minister of India’s
                        Nationality                     Council of Trade & Industry from 2004 to 2014, and was on the Board
                        Indian
                                                        of Governors of the Indian Institute of Management (IIM), Ahmedabad.
                        Appointment date                Vindi is also the recipient of the Padma Bhushan, one of India’s highest
                        1 September 2015                civilian honours.
                        Committee membership            External appointments
                        Audit & Risk, Nominations,      Vindi is a partner at private equity investment ﬁrm Clayton Dubilier &
                        Remuneration and Finance        Rice. He is also Chairman of the Supervisory Board of Mauser Group,
                                                        Senior Independent Director of Marks & Spencer Group plc, and a
                                                        member of its Nominations and Remuneration Committees. He is also
                                                        a Non-Executive Director of Thompson Reuters Corp and a member
                                                                                                                                    Investor information

                                                        of its HR Committee. Vindi is on the Governing Board of the Indian
                                                        School of Business (ISB), Hyderabad.


                        Dr Stephanie Burns 61           Skills and experience
                        Independent Non-Executive       Stephanie is a recognised global business leader, having served as
                        Director                        Chairman, President and CEO of Dow Corning Corporation until her
                                                        retirement at the end of 2011. She has a strong scientiﬁc background,
                        Nationality
                                                        with a PhD in organic chemistry with an organosilicon speciality, and
                        American
                                                        is an advocate for science education. Stephanie previously sat on the
                        Appointment date                US President’s Export Council and was an Ofﬁcer of the Society of
                        12 February 2007                Chemical Industry, American Section, as well as the past Honorary
                                                        President of the UK-based parent society. Stephanie was also an
                        Committee membership
                                                        Ofﬁcer and Chairman of the American Chemistry Council.
                        Corporate Responsibility,
                        Remuneration and Finance        External appointments
                                                        Stephanie is a Non-Executive Director of Corning Inc. and of
                                                        Kellogg Company, and was appointed to the Board of HP Inc.
                                                        in November 2015.




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                            Our Board
                            continued
Strategic report




                                                        Stacey Cartwright 52          Skills and experience
                                                        Independent Non-Executive     Stacey is a Chartered Accountant and has signiﬁcant experience of
                                                        Director                      global consumer businesses and of corporate ﬁnance. She served as
                                                                                      Executive Vice President, Chief Financial Ofﬁcer of Burberry Group plc
                                                        Nationality
                                                                                      until July 2013. Prior to joining Burberry Group plc in 2004, Stacey held
                                                        British
                                                                                      the role of Chief Financial Ofﬁcer at Egg plc between 1999 and 2003,
                                                        Appointment date              and from 1988 to 1999 she worked in various ﬁnance-related positions
                                                        1 April 2011                  at Granada Group plc.
                                                        Committee membership          The Board has determined that Stacey has recent and relevant ﬁnancial
                                                        Audit & Risk and Finance      experience, and agreed that she has the appropriate qualiﬁcations and
                                                                                      background to be an audit committee ﬁnancial expert.
                                                                                      External appointments
                                                                                      Stacey is Chief Executive Ofﬁcer of Harvey Nichols Group of Companies.


                                                        Lynn Elsenhans 59             Skills and experience
Governance & remuneration




                                                        Independent Non-Executive     Lynn has a wealth of experience of running a global business and
                                                        Director                      signiﬁcant knowledge of the global markets in which GSK operates.
                                                                                      She served as Chair, President and Chief Executive Ofﬁcer of Sunoco
                                                        Nationality
                                                                                      Inc. from 2009 to 2012. Prior to joining Sunoco in 2008 as President and
                                                        American
                                                                                      Chief Executive Ofﬁcer, Lynn worked for Royal Dutch Shell which she
                                                        Appointment date              joined in 1980 and where she held a number of senior roles, including
                                                        1 July 2012                   Executive Vice President, Global Manufacturing from 2005 to 2008.
                                                        Committee membership          External appointments
                                                        Corporate Responsibility      Lynn is a Non-Executive Director of Baker Hughes Inc. and
                                                        Committee Chairman,           Flowserve Corporation, a Director of the Texas Medical Center,
                                                        Audit & Risk, Nominations     and a Non-Executive Director of The First Tee of Greater Houston.
                                                        and Finance                   She is also a Trustee of the United Way of Greater Houston.


                                                        Dr Jesse Goodman 64           Skills and experience
                                                        Independent Non-Executive     Dr Goodman previously served in senior leadership positions at the US
                                                        Director & Scientiﬁc Expert   Food and Drug Administration (FDA), including most recently as FDA’s
Financial statements




                                                                                      Chief Scientist and previously as Deputy Commissioner for Science
                                                        Nationality
                                                                                      and Public Health and as Director of the Center for Biologics Evaluation
                                                        American
                                                                                      and Research (CBER).
                                                        Appointment date              Dr Goodman played a leadership role in developing FDA’s Regulatory
                                                        1 January 2016
                                                                                      Science and Medical Countermeasures Initiatives and has worked
                                                        Committee membership          collaboratively with industry, academia, government and global public
                                                        Finance                       health and regulatory partners to prepare for and respond to major
                                                                                      public health threats, including emerging infectious diseases, disasters
                                                                                      and terrorism. He led FDA’s response to West Nile Virus and to the
                                                                                      2009 H1N1 inﬂuenza pandemic and served on the Senior Leadership
                                                                                      Team for the 2010 White House Medical Countermeasure Review.
                                                                                      Dr Goodman brings scientiﬁc and public health expertise to the
                                                                                      Board’s deliberations.
                                                                                      External appointments
                                                                                      Dr Goodman, currently Professor of Medicine at Georgetown University,
                                                                                      directs the Georgetown University Center on Medical Product Access,
Investor information




                                                                                      Safety and Stewardship (COMPASS) and is an active clinician who serves
                                                                                      as Attending Physician in Infectious Diseases. He also serves as President
                                                                                      and Member of the Board of the United States Pharmacopeia (USP).


                                                        Judy Lewent 67                Skills and experience
                                                        Independent Non-Executive     Judy has extensive knowledge of the global pharmaceutical industry and
                                                        Director                      of corporate ﬁnance, having joined Merck & Co. in 1980 and then served
                                                                                      as Chief Financial Ofﬁcer from 1990 to 2007 when she retired. Judy
                                                        Nationality
                                                                                      was previously a Non-Executive Director of Purdue Pharma Inc, Napp
                                                        American
                                                                                      Pharmaceutical Holdings Limited and certain Mundipharma International
                                                        Appointment date              Limited companies until 31 December 2014. Judy previously served as
                                                        1 April 2011                  a Non-Executive Director of Dell Inc. and Quaker Oats Company.
                                                        Committee membership          The Board has determined that Judy has recent and relevant ﬁnancial
                                                        Audit & Risk Committee        experience, and agreed that she has the appropriate qualiﬁcations and
                                                        Chairman, Nominations,        background to be an audit committee ﬁnancial expert.
                                                        Remuneration and Finance
                                                                                      External appointments
                                                                                      Judy is a Non-Executive Director of Thermo Fisher Scientiﬁc Inc. and
                                                                                      Motorola Solutions Inc. She is also a Trustee of the Rockefeller Family Trust
                                                                                      and Chairperson of the Audit Committee of Rockefeller Financial Services,
                                                                                      a life member of the Massachusetts Institute of Technology Corporation
                                                                                      and a member of the American Academy of Arts and Sciences.     Case ID: 181003237
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                                                                                                                                    Strategic report
                        Dr Daniel Podolsky 62         Skills and experience
                        Independent Non-Executive     Daniel is a world-renowned researcher who has advanced knowledge
                        Director & Scientiﬁc Expert   of underlying mechanisms of disease and new therapies for
                                                      gastrointestinal disorders. He was formerly Mallinckrodt Professor
                        Nationality
                                                      of Medicine and Chief of Gastroenterology at Massachusetts General
                        American
                                                      Hospital and Harvard Medical School, and previously served as the
                        Appointment date              Chief Academic Ofﬁcer of Partners Healthcare System. Daniel’s
                        1 July 2006                   current responsibilities in leading a large academic medical centre
                                                      give him relevant insight into healthcare delivery. Daniel brings scientiﬁc
                        Committee membership
                                                      expertise to the Board and the Audit & Risk Committee’s deliberations.
                        Audit & Risk, Corporate
                        Responsibility and Finance    External appointments
                                                      Daniel is President of the University of Texas Southwestern
                                                      Medical Center and holds the Philip O’Bryan Montgomery, Jr., M.D.
                                                      Distinguished Presidential Chair in Academic Administration, and the
                                                      Doris and Bryan Wildenthal Distinguished Chair in Medical Science.
                                                      He is a member of the National Academy of Medicine at the US
                                                      National Academy of Sciences, member of the Board of the




                                                                                                                                    Governance & remuneration
                                                      Southwestern Medical Foundation and a Director of Antibe
                                                      Therapeutics, Inc.
                                                      He is also a member of the National Academies of Sciences Board
                                                      on Army Science and Technology.


                        Urs Rohner 56                 Skills and experience
                        Independent Non-Executive     Urs has a broad range of business and legal experience having served
                        Director                      as Chairman on a number of Boards, most recently for Credit Suisse,
                                                      a world leading ﬁnancial services company. Prior to joining Credit
                        Nationality
                                                      Suisse in 2004, Urs served as Chairman of the Executive Board and
                        Swiss
                                                      CEO of ProSieben and ProSiebenSat.1 Media AG. This followed a
                        Appointment date              number of years in private practice at major law ﬁrms in Switzerland
                        1 January 2015                and the US, having been admitted to the bars of the canton of Zurich in
                                                      1986 and the state of New York in 1990.
                        Committee membership




                                                                                                                                    Financial statements
                        Remuneration Committee        External appointments
                        Chairman and Finance          Urs is currently appointed Chairman of the Board of Credit Suisse
                                                      Group AG and of the Chairman’s and Governance Committee.
                                                      He is also appointed Chairman and member of the Board of Trustees
                                                      of Credit Suisse Research Institute and Credit Suisse Foundation.
                                                      Urs was appointed Vice-Chairman of the Governing Board of the
                                                      Swiss Bankers Association in 2015.




                        Hans Wijers 65                Skills and experience
                        Independent Non-Executive     Hans has a broad range of business, economic and political
                        Director                      experience, having served as Chief Executive Ofﬁcer and Chairman
                                                      at Akzo Nobel NV from 2002 to 2012. Hans had a long and
                        Nationality
                                                      distinguished career in academia, public service and strategy
                        Dutch
                                                      consulting. He served as Senior Partner of the Boston Consulting
                                                                                                                                    Investor information

                        Appointment date              Group from 1998 to 2002.
                        1 April 2013
                                                      External appointments
                        Committee membership          Hans is Chairman of the Supervisory Board of Heineken NV and also
                        Corporate Responsibility,     Deputy Chairman and Non-Executive Director of Royal Dutch Shell.
                        Remuneration and Finance      He is Chairman of the Supervisory Board of AFC Ajax and member
                                                      of the Supervisory Board of HAL Holding N.V.




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                            Our Corporate Executive Team

                            Our CEO, with the assistance of the Corporate Executive Team, is responsible for
Strategic report




                            the management of the business, developing the Group’s strategic direction for
                            consideration and approval by the Board and implementing the agreed strategy.
Governance & remuneration




                            Sir Andrew Witty                                 Simon Dingemans                                  Dr Moncef Slaoui
                            Chief Executive Ofﬁcer*                          Chief Financial Ofﬁcer*                          Chairman, Global Vaccines*

                            *For biographical details, see page 74.
Financial statements




                            Roger Connor                                     Nick Hirons                                      Abbas Hussain
                            President, Global Manufacturing & Supply         Senior Vice President, Global Ethics and         President, Global Pharmaceuticals
                                                                             Compliance
                            Roger joined CET in 2012 and was appointed                                                        Abbas joined CET in 2008 and was appointed
                                                                             Nick was appointed to CET in September           President, Global Pharmaceuticals in October
Investor information




                            as President, Global Manufacturing & Supply
                            (GMS) in 2013, after working for a year as       2014 as Senior Vice President, Global Ethics     2014, having joined the company as President,
                            President Designate, GMS.                        and Compliance and is responsible for            Emerging Markets & Asia Paciﬁc in June 2008.
                                                                             compliance, risk management and corporate        He joined the ViiV Healthcare Ltd. Board in
                            Roger joined GSK in 1998 from AstraZeneca
                                                                             security and investigations.                     October 2009.
                            and has worked in ﬁnance and manufacturing
                            strategy roles, including at GSK sites in Cork   Nick joined GSK in 1994 as an International      Previously, he spent 20 years at Eli Lilly where
                            in Ireland and Ware in the UK. Prior to his      Auditor in the UK. He was later Head of Audit    he held positions including President, Europe
                            position in GMS, Roger was Vice President,       & Assurance, where he combined ﬁve               and before that Vice President, Europe. He
                            Ofﬁce of the CEO and Corporate Strategy,         separate audit functions into an independent     also held positions with Eli Lilly in Australia,
                            from February 2010.                              team operating with a common risk-based          the US, India, Turkey and Germany in several
                                                                             methodology. In June 2013, Nick took up a        roles including business development, sales
                            He holds a degree in Mechanical and
                                                                             role in China, where he established a new        and marketing, and management.
                            Manufacturing Engineering from Queen’s
                                                                             governance model for our China business that
                            University Belfast and a Masters in                                                               He has a degree in Medicinal Chemistry &
                                                                             created a consistent approach to compliance.
                            Manufacturing Leadership from Cambridge                                                           Pharmacology from Loughborough University
                            University. He is also a Chartered Accountant.   Nick is a fellow of the Chartered Institute of   and was born in Madras, India.
                                                                             Management Accountants.




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                                                                                                                                                     Strategic report
David Redfern                                     Claire Thomas                                     Phil Thomson
Chief Strategy Ofﬁcer                             Senior Vice President, Human Resources            Senior Vice President, Communications and
                                                                                                    Government Affairs
David joined CET as Chief Strategy Ofﬁcer         Claire was appointed to CET as Senior Vice
in May 2008 and is responsible for corporate      President, Human Resources in May 2008.           Phil joined CET in 2011 and was appointed
development and strategic planning. In                                                              Senior Vice President, Communications
                                                  Claire joined the company in 1996 as Senior
addition, he was appointed Chairman of the                                                          and Government Affairs in 2014. He has




                                                                                                                                                     Governance & remuneration
                                                  Manager, Human Resources, Sales and
Board of ViiV Healthcare Ltd. in April 2011                                                         responsibility for Media Relations, Investor
                                                  Marketing Group, UK Pharmaceuticals before
and a Non-Executive Director of the Aspen                                                           Relations, Corporate Responsibility, Internal
                                                  becoming Director of Human Resources for
Pharmacare Ltd. Board in February 2015.                                                             Communications, Product Communications,
                                                  UK Pharmaceuticals in 1997. She was
                                                                                                    Government Affairs and GSK’s Global Brand.
Previously, he was Senior Vice President,         appointed Senior Vice President, Human
Northern Europe with responsibility for GSK’s     Resources, Pharmaceuticals Europe in 2001,        He joined Glaxo Wellcome as a trainee in 1996,
pharmaceutical businesses in that region and,     and Senior Vice President Human Resources         moving from pharmaceutical brand marketing to
prior to that, was Senior Vice President for      International in 2006.                            product communications. In 1999, he became
Central and Eastern Europe. David joined                                                            Director of Media Relations for Glaxo Wellcome
                                                  Prior to joining the company she worked
GSK in 1994 and was Finance Director of                                                             plc and was then Director, Investor Relations
                                                  for Ford Motor Company, holding various
the European business from 1999 to 2002.                                                            from 2001 to 2004, when he returned to
                                                  positions in Human Resources.
David has a Bachelor of Science degree from                                                         Corporate Media Relations as Vice President.
                                                  Claire has a Bachelor of Science degree           Phil has worked on numerous corporate,
Bristol University in the UK and is a Chartered
                                                  in Economics, Management and Industrial           product and reputational matters at GSK.
Accountant.
                                                  Relations from the University of Wales.
                                                                                                    Phil earned his degree in English and History
                                                                                                    from Durham University.




                                                                                                                                                     Financial statements
Dan Troy                                          Patrick Vallance                                  Emma Walmsley
Senior Vice President & General Counsel           President, Pharmaceuticals R&D                    CEO, GSK Consumer Healthcare
Dan joined GSK and the CET as Senior              Patrick joined CET in 2010 and was                Emma is CEO of GSK Consumer Healthcare,
                                                  appointed President, Pharmaceuticals R&D,         which includes the joint venture with Novartis
                                                                                                                                                     Investor information

Vice President & General Counsel in
September 2008.                                   in January 2012. Prior to this he was Senior      and the listed Consumer Healthcare
                                                  Vice President, Medicines Discovery and           businesses in India and Nigeria. The business
He was previously a Partner at the
                                                  Development.                                      is split almost equally between OTC
Washington law ﬁrm Sidley Austin LLP,
                                                                                                    medicines and fast moving consumer goods
where he represented mainly pharmaceutical        Patrick joined the company in 2006 as Head
                                                                                                    brands, across four categories of Wellness,
companies and trade associations on matters       of Drug Discovery. Prior to joining GSK
                                                                                                    Oral health, Nutrition and Skin health.
related to the US Food and Drug                   Patrick was a clinical academic and led the
Administration (FDA) and government               Division of Medicine at University College        Prior to this Emma was President of GSK
regulations. Dan was formerly Chief Counsel       London. He has over 20 years’ experience          Consumer Healthcare and has been a
for the FDA, where he served as a primary         of research clinical medicine, general internal   member of CET since 2011. She joined
liaison to the White House and the US             medicine, cardiovascular medicine and clinical    GSK in 2010.
Department of Health and Human Services.          pharmacology. He was elected to the
                                                                                                    Prior to this, Emma worked with L’Oreal for
                                                  Academy of Medical Sciences in 1999.
Dan is a graduate from Cornell University’s                                                         17 years. She has a degree in Classics and
School of Industrial and Labor Relations,         Patrick has been on the Board of the UK           Modern Languages from Oxford University.
and earned his law degree from Columbia           Ofﬁce for Strategic Co-ordination of Health
                                                                                                    Emma became a non-executive director of
University School of Law. Dan was named           Research (OSCHR) since 2009.
                                                                                                    Diageo plc with effect from 1 January 2016.
a ‘Legend in the Law’ at the Burton Awards.




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44 Principal Group companies




                                                                                                                                                    Strategic report
The following represent the principal subsidiaries and their countries of incorporation of the Group at 31 December 2015. The equity
share capital of these entities is wholly owned by the Group except where its percentage interest is shown otherwise. All companies are
incorporated in their principal country of operation except where stated.
England                                                              US
Glaxo Group Limited                                                  Block Drug Company, Inc.
Glaxo Operations UK Limited                                          Corixa Corporation
GlaxoSmithKline Capital plc                                          GlaxoSmithKline Capital Inc.
GlaxoSmithKline Consumer Healthcare Holdings Limited (63.5%)         GlaxoSmithKline Consumer Healthcare, L.P. (55.9%)
GlaxoSmithKline Consumer Healthcare (UK) Trading Limited (63.5%)     GlaxoSmithKline Holdings (Americas) Inc.
GlaxoSmithKline Export Limited                                       GlaxoSmithKline LLC
GlaxoSmithKline Finance plc                                          Human Genome Sciences, Inc.
GlaxoSmithKline Holdings Limited *                                   Novartis Consumer Health, Inc.
GlaxoSmithKline Research & Development Limited                       Stiefel Laboratories, Inc.
GlaxoSmithKline Services Unlimited *                                 ViiV Healthcare Company (78.3%)




                                                                                                                                                    Governance & remuneration
GlaxoSmithKline UK Limited
Setﬁrst Limited
SmithKline Beecham Limited
ViiV Healthcare Limited (78.3%)
ViiV Healthcare UK Limited (78.3%)

Europe                                                               Others
GlaxoSmithKline Biologicals S.A. (Belgium)                           GlaxoSmithKline Argentina S.A. (Argentina)
GlaxoSmithKline Pharmaceuticals S.A. (Belgium)                       GlaxoSmithKline Australia Pty Ltd. (Australia)
GlaxoSmithKline Biologicals S.A.S. (France)                          GlaxoSmithKline Brasil Limitada (Brazil)
Groupe GlaxoSmithKline S.A.S. (France)                               GlaxoSmithKline Inc. (Canada)
Laboratoire GlaxoSmithKline S.A.S. (France)                          ID Biomedical Corporation of Quebec (Canada)
ViiV Healthcare S.A.S. (France) (78.3%)                              GlaxoSmithKline (China) Investment Co. Ltd. (China)
GlaxoSmithKline Consumer Healthcare GmbH & Co. KG                    GlaxoSmithKline Limited (China)
 (Germany) (63.5%)                                                   GlaxoSmithKline Pharmaceuticals (Suzhou) Limited (China)




                                                                                                                                                    Financial statements
GlaxoSmithKline GmbH & Co. KG (Germany)                              Sino-American Tianjin Smith Kline & French Laboratories Ltd. (China) (34.9%)
Novartis Consumer Health GmbH (Germany) (63.5%)                      GlaxoSmithKline Consumer Healthcare Limited (India) (72.5%)
GlaxoSmithKline Consumer Healthcare S.p.A. (Italy) (63.5%)           GlaxoSmithKline Pharmaceuticals Limited (India) (75%)
GlaxoSmithKline S.p.A. (Italy)                                       GlaxoSmithKline Consumer Healthcare Japan K.K. (Japan)
GlaxoSmithKline B.V. (Netherlands)                                   GlaxoSmithKline K.K. (Japan)
GlaxoSmithKline Pharmaceuticals S.A. (Poland)                        GlaxoSmithKline Mexico S.A. de C.V. (Mexico)
GSK Services Sp.z.o.o. (Poland)                                      GlaxoSmithKline Pakistan Limited (Pakistan) (82.6%)
GlaxoSmithKline Trading Services Limited (Republic of Ireland) (i)   Glaxo Wellcome Manufacturing Pte Ltd. (Singapore)
GlaxoSmithKline S.A. (Spain)                                         GlaxoSmithKline Pte Ltd. (Singapore)
Novartis Consumer Health S.A. (Switzerland) (63.5%)                  GlaxoSmithKline Korea Limited (South Korea)
                                                                     GlaxoSmithKline llaclari Sanayi ve Ticaret A.S. (Turkey)



(i)    Exempt from the provisions of section 347 and 348 of the Companies Act 2014 (Ireland), in accordance with the exemptions noted
       in Section 357 of that Act. Further subsidiaries, as disclosed on pages 250 to 258, are exempt from these provisions as they are
                                                                                                                                                    Investor information


       also consolidated in the group ﬁnancial statements.
*      Directly held wholly owned subsidiary of GlaxoSmithKline plc.

The subsidiaries and associates listed above principally affect the ﬁgures in the Group’s ﬁnancial statements. Each of GlaxoSmithKline
Capital Inc. and GlaxoSmithKline Capital plc is a wholly-owned ﬁnance subsidiary of the company, and the company has fully and
unconditionally guaranteed the securities issued by each of GlaxoSmithKline Capital Inc. and GlaxoSmithKline Capital plc.
See pages 250 to 258 for a complete list of subsidiary undertakings, associates and joint ventures, which form part of these ﬁnancial
statements.




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                            In accordance with Section 409 of the Companies Act 2006 a full list of subsidiaries, associates, joint ventures and joint arrangements,
                            the country of incorporation and effective percentage of equity owned, as at 31 December 2015 are disclosed below. Unless otherwise
                            stated the share capital disclosed comprises ordinary shares which are indirectly held by GlaxoSmithKline plc. All subsidiary companies
                            are resident for tax purposes in their country of incorporation unless otherwise stated.

                                                                                         Country of         Effective %                                          % Held by
                            Name                                                         incorporation      Ownership     Security                           Class of Share

                            Wholly owned subsidiaries
                            1506369 Alberta ULC                                          Canada             100           Common                                      100
                            Action Potential Venture Capital Limited                     England & Wales    100           Ordinary                                    100
                            Adechsa GmbH                                                 Switzerland        100           Ordinary                                    100
                            Affymax Research Institute                                   United States      100           Common                                      100
                            Alenfarma – Especialidades Farmaceuticas, Limitada (iv)      Portugal           100           Ordinary Quota                              100
                            Allen & Hanburys Limited (iv)                                England & Wales    100           Ordinary                                    100
                            Allen & Hanburys Pharmaceutical Nigeria Limited              Nigeria            100           Ordinary                                    100
Governance & remuneration




                            Allen Farmaceutica, S.A.                                     Spain              100           Ordinary                                    100
                            Allen Pharmazeutika Gesellschaft m.b.H.                      Austria            100           Ordinary                                    100
                            Aners S.A (iv)                                               Argentina          100           Non-endorsable Nominative
                                                                                                                          Ordinary                                    100
                            Barrier Therapeutics, Inc.                                   United States      100           Common                                      100
                            Beecham Group p l c                                          England & Wales    100           20p Shares 'A'; 5p Shares B                 100
                            Beecham Pharmaceuticals (Pte) Limited                        Singapore          100           Ordinary                                    100
                            Beecham Pharmaceuticals S.A (iv) (vi)                        Ecuador            100           Nominative                                  100
                            Beecham Portuguesa-Produtos Farmaceuticos e Quimicos, Lda    Portugal           100           Ordinary Quota                              100
                            Beecham S.A. (iv)                                            Belgium            100           Ordinary                                    100
                            Biddle Sawyer Limited                                        India              100           Equity                                      100
                            Biovesta Ilaçlari Ltd. Sti.                                  Turkey             100           Nominative                                  100
                            Burroughs Wellcome & Co (Australia) Pty Limited (iv) (vi)    Australia          100           Ordinary                                    100
                            Burroughs Wellcome & Co (Bangladesh) Limited                 Bangladesh         100           Ordinary                                    100
                            Burroughs Wellcome International Limited                     England & Wales    100           Ordinary                                    100
                            Caribbean Chemical Company, Ltd.                             Cayman Islands     100           Ordinary                                    100
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                             (will be struck off on 31.03.16)
                            Cascan GmbH & Co. KG                                         Germany            100           Ordinary                                   100
                            Castleton Investment Ltd (vi)                                Mauritius          100           Ordinary                                   100
                            Cellzome GmbH                                                Germany            100           Ordinary                                   100
                            Cellzome Limited                                             England & Wales    100           Ordinary                                   100
                            Cellzome Therapeutics, Inc. (iv)                             United States      100           Ordinary                                   100
                            Cellzome, Inc.                                               United States      100           Ordinary                                   100
                                                                                                                          Series A Preferred                         100
                                                                                                                          Series B Preferred                         100
                                                                                                                          Series C-1 Convertible Preferred           100
                                                                                                                          Series C-3 Convertible Preferred           100
                            Charles Midgley Limited (iv)                                 England & Wales    100           Ordinary                                   100
                                                                                                                          Cumulative Preference                      100
                            Clarges Pharmaceuticals Limited                              England & Wales    100           Ordinary                                   100
                                                                                                                          Preference                                99.97
                            Colleen Corporation                                          United States      100           Shares – No Par Value (Common)             100
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                            Corixa Corporation                                           United States      100           Common                                     100
                            Coulter Pharmaceutical, Inc. (iv)                            United States      100           Common                                     100
                            Dealcyber Limited                                            England & Wales    100           Ordinary                                   100
                            Desarrollo Energia Solar Alternativa S.L.                    Spain              100           Ordinary                                   100
                            Domantis Limited                                             England & Wales    100           Ordinary                                   100
                            Duncan Flockhart Australia Pty Limited (iv) (vi)             Australia          100           Ordinary                                   100
                            Duncan Pharmaceuticals Philippines Inc.                      Philippines        100           Common                                     100
                            Edinburgh Pharmaceutical Industries Limited                  Scotland           100           Ordinary; Preference                       100
                            Eskaylab Limited                                             England & Wales    100           10p Ordinary                               100
                            Etex Farmaceutica Ltda                                       Chile              100           Social Capital                             100
                            Europharm Holding S.A.                                       Romania            100           Nominative                                 100
                            Europharm S.A.                                               Romania            100           Nominative                                 100
                            Fedialis Medica S.A.S.                                       France             100           Ordinary                                   100
                            Fipar (Thailand) Ltd (In liquidation)                        Thailand           100           Ordinary                                   100
                            Genelabs Technologies, Inc.                                  United States      100           Common                                     100
                            Glaxo AS (iv)                                                Norway             100           Ordinary                                   100
                            Glaxo Group Limited                                          England & Wales    100           Ordinary                                   100
                            Glaxo Kabushiki Kaisha (iv)                                  Japan              100           Ordinary                                   100




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                                                                  Country of        Effective %                                      % Held by
Name                                                              incorporation     Ownership     Security                       Class of Share

Wholly owned subsidiaries continued
Glaxo Laboratories (Nigeria) Limited (iv)                         Nigeria           100           Ordinary                                100
Glaxo Laboratories Limited (iv)                                   England & Wales   100           Ordinary                                100
Glaxo Operations UK Limited                                       England & Wales   100           Ordinary                                100
Glaxo Properties BV                                               Netherlands       100           Ordinary                                100
Glaxo Verwaltungs GmbH (vi)                                       Germany           100           Ordinary                                100
Glaxo Wellcome Australia Pty Ltd (iv) (vi)                        Australia         100           Ordinary                                100
Glaxo Wellcome Ceylon Limited                                     Sri Lanka         100           Ordinary                                100
                                                                                                  Ordinary B                              100
Glaxo Wellcome Farmaceutica, Limitada                             Portugal          100           Ordinary Quota                          100
Glaxo Wellcome Holdings Limited (In liquidation)                  England & Wales   100           Ordinary                                100
Glaxo Wellcome International B.V. (v)                             Netherlands       100           Ordinary                                100
Glaxo Wellcome Manufacturing Pte Ltd                              Singapore         100           Ordinary                                100




                                                                                                                                                  Governance & remuneration
Glaxo Wellcome Production S.A.S.                                  France            100           Ordinary                                100
Glaxo Wellcome PST Pty Ltd (iv) (vi)                              Australia         100           Ordinary                                100
Glaxo Wellcome UK Limited                                         England & Wales   100           Ordinary                                100
Glaxo Wellcome Vidhyasom Limited (iv)                             Thailand          100           Ordinary                                100
Glaxo Wellcome, S.A.                                              Spain             100           Ordinary                                100
Glaxo, S.A.                                                       Spain             100           Ordinary                                100
Glaxo-Allenburys (Nigeria) Limited (iv)                           Nigeria           100           Ordinary                                100
Glaxochem (UK) Unlimited                                          England & Wales   100           Ordinary                                100
                                                                                                  Ordinary B                              100
                                                                                                  Ordinary C                              100
Glaxochem Pte Ltd (v)                                             Singapore         100           Ordinary                                100
GlaxoSmithKline – Produtos Farmaceuticos, Limitada                Portugal          100           Ordinary Quota                          100
GlaxoSmithKline (Cambodia) Co., Ltd.                              Cambodia          100           Ordinary                                100
GlaxoSmithKline (China) Investment Co Ltd                         China             100           Ordinary                                100
GlaxoSmithKline (China) R&D Company Limited                       China             100           Equity                                  100
GlaxoSmithKline (Cyprus) Limited                                  Cyprus            100           Ordinary                                100




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GlaxoSmithKline (GSK) S.R.L.                                      Romania           100           Ordinary                                100
GlaxoSmithKline (Ireland) Limited (ii)                            Ireland           100           Ordinary                                100
GlaxoSmithKline (Israel) Ltd                                      Israel            100           Ordinary                                100
GlaxoSmithKline (Malta) Limited                                   Malta             100           Ordinary                                100
GlaxoSmithKline (Private) Limited (iv)                            Zimbabwe          100           Ordinary                                100
GlaxoSmithKline (Thailand) Limited                                Thailand          100           Ordinary                                100
GlaxoSmithKline A.E.B.E.                                          Greece            100           Ordinary                                100
GlaxoSmithKline AB                                                Sweden            100           Ordinary                                100
GlaxoSmithKline AG                                                Switzerland       100           Ordinary                                100
GlaxoSmithKline Algérie S.P.A.                                    Algeria           100           Ordinary                                100
GlaxoSmithKline Argentina S.A.                                    Argentina         100           Ordinary                                100
GlaxoSmithKline AS                                                Norway            100           Ordinary                                100
GlaxoSmithKline Asia Pvt. Limited                                 India             100           Equity                                  100
GlaxoSmithKline Australia Pty Ltd                                 Australia         100           Ordinary                                100
GlaxoSmithKline B.V.                                              Netherlands       100           Ordinary                                100
GlaxoSmithKline Beteiligungs GmbH                                 Germany           100           Ordinary                                100
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GlaxoSmithKline Biologicals (Shanghai) Ltd.                       China             100           Ordinary                                100
GlaxoSmithKline Biologicals (Shenzhen) Co., Ltd (iv)              China             100           Ordinary                                100
GlaxoSmithKline Biologicals Kft.                                  Hungary           100           Ordinary                                100
GlaxoSmithKline Biologicals S.A.S.                                France            100           Ordinary                                100
GlaxoSmithKline Biologicals SA                                    Belgium           100           Ordinary; Preference                    100
GlaxoSmithKline Brasil Limitada                                   Brazil            100           Ordinary                                100
GlaxoSmithKline Business Services S.A. (iv) (vi)                  Costa Rica        100           Ordinary                                100
GlaxoSmithKline Capital Inc.                                      United States     100           Ordinary                                100
GlaxoSmithKline Capital plc                                       England & Wales   100           Ordinary                                100
GlaxoSmithKline Caribbean Limited                                 England & Wales   100           Ordinary                                100
GlaxoSmithKline Chile Farmaceutica Limitada                       Chile             100           Social Capital                          100
GlaxoSmithKline Colombia S.A.                                     Colombia          100           Ordinary                                100
GlaxoSmithKline Consumer Healthcare Investments                   Ireland           100           Ordinary                                100
 (Ireland) Limited (ii) (v)
GlaxoSmithKline Consumer Healthcare Ireland IP Limited (ii) (v)   Ireland           100           Ordinary                                100
GlaxoSmithKline Consumer Healthcare Pakistan Limited              Pakistan          100           Ordinary                                100
GlaxoSmithKline Consumer Healthcare Sri Lanka                     England & Wales   100           Ordinary                                100
 Holdings Limited (iv)
GlaxoSmithKline Consumer Holding B.V.                             Netherlands       100           Ordinary                                100
GlaxoSmithKline d.o.o                                             Bosnia and        100           Euro Quota                              100
                                                                  Herzegovina

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                                                                                        Country of        Effective %                                 % Held by
                            Name                                                        incorporation     Ownership     Security                  Class of Share

                            Wholly owned subsidiaries continued
                            GlaxoSmithKline d.o.o.                                      Croatia           100           Equity                             100
                            GlaxoSmithKline doo Beograd                                 Serbia            100           Ordinary                           100
                            GlaxoSmithKline Ecuador S.A.                                Ecuador           100           Ordinary                           100
                            GlaxoSmithKline Eesti OU                                    Estonia           100           Ordinary                           100
                            GlaxoSmithKline ehf                                         Iceland           100           Ordinary                           100
                            GlaxoSmithKline El Salvador S.A. de C.V.                    El Salvador       100           Ordinary                           100
                            GlaxoSmithKline EOOD                                        Bulgaria          100           Ordinary                           100
                            GlaxoSmithKline Export Limited                              England & Wales   100           Ordinary                           100
                            GlaxoSmithKline Export Panama S.A.                          Panama            100           Ordinary                           100
                            GlaxoSmithKline Far East B.V.                               Netherlands       100           Ordinary                           100
                            GlaxoSmithKline Finance plc                                 England & Wales   100           Ordinary                           100
                            GlaxoSmithKline GmbH & Co. KG                               Germany           100           Partnership Capital                100
Governance & remuneration




                            GlaxoSmithKline Guatemala S.A.                              Guatemala         100           Ordinary                           100
                            GlaxoSmithKline Holding AS                                  Norway            100           Ordinary                           100
                            GlaxoSmithKline Holdings (Americas) Inc.                    United States     100           Common                             100
                            GlaxoSmithKline Holdings (Ireland) Limited                  England & Wales   100           Ordinary; Deferred                 100
                            GlaxoSmithKline Holdings (One) Limited (i)                  England & Wales   100           Ordinary                           100
                            GlaxoSmithKline Holdings Limited (i)                        England & Wales   100           Ordinary                           100
                            GlaxoSmithKline Holdings Pty Ltd                            Australia         100           Ordinary                           100
                            GlaxoSmithKline Honduras S.A.                               Honduras          100           Ordinary                           100
                            GlaxoSmithKline IHC Limited                                 England & Wales   100           Ordinary                           100
                            GlaxoSmithKline Ilaclari Sanayi ve Ticaret A.S.             Turkey            100           Nominative                         100
                            GlaxoSmithKline Inc.                                        Canada            100           Class A Common                     100
                                                                                                                        Class C Preference                 100
                            GlaxoSmithKline Insurance Ltd.                              Bermuda           100           Ordinary                           100
                            GlaxoSmithKline Intellectual Property (No.2) Limited        England & Wales   100           Ordinary                           100
                            GlaxoSmithKline Intellectual Property Development Limited   England & Wales   100           Ordinary                           100
                            GlaxoSmithKline Intellectual Property Holdings Limited      England & Wales   100           A Ordinary; B Ordinary             100
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                            GlaxoSmithKline Intellectual Property Limited               England & Wales   100           Ordinary; Deferred                 100
                            GlaxoSmithKline Intellectual Property Management Limited    England & Wales   100           Ordinary                           100
                            GlaxoSmithKline International Limited                       England & Wales   100           Ordinary                           100
                            GlaxoSmithKline Investigación y Desarrollo, S.L.            Spain             100           Ordinary                           100
                            GlaxoSmithKline Investment Holdings Limited                 England & Wales   100           Ordinary                           100
                            GlaxoSmithKline Investment Services Limited                 England & Wales   100           Ordinary                           100
                            GlaxoSmithKline Investments (Ireland) Limited (ii) (v)      Ireland           100           Ordinary                           100
                            GlaxoSmithKline Investments Pty Ltd                         Australia         100           Ordinary                           100
                            GlaxoSmithKline K.K.                                        Japan             100           Ordinary                           100
                            GlaxoSmithKline Korea Limited                               South Korea       100           Ordinary                           100
                            GlaxoSmithKline Latin America, S.A.                         Panama            100           Ordinary                           100
                            GlaxoSmithKline Latvia SIA                                  Latvia            100           Ordinary                           100
                            GlaxoSmithKline Lietuva UAB                                 Lithuania         100           Ordinary                           100
                            GlaxoSmithKline Limited                                     Hong Kong         100           Ordinary                           100
                            GlaxoSmithKline LLC                                         United States     100           LLC Interests                      100
                            GlaxoSmithKline Manufacturing SpA                           Italy             100           Ordinary                           100
Investor information




                            GlaxoSmithKline Maroc S.A.                                  Morocco           100           Ordinary                           100
                            GlaxoSmithKline Medical and Healthcare Products Limited     Hungary           100           Ordinary Quotas                    100
                            GlaxoSmithKline Mercury Limited (i)                         England & Wales   100           Ordinary                           100
                            GlaxoSmithKline Mexico S.A. de C.V.                         Mexico            100           Ordinary A; Ordinary B             100
                            GlaxoSmithKline NZ Limited                                  New Zealand       100           Ordinary                           100
                            GlaxoSmithKline Oy                                          Finland           100           Ordinary                           100
                            GlaxoSmithKline Peru S.A.                                   Peru              100           Ordinary                           100
                            GlaxoSmithKline Pharma A/S                                  Denmark           100           Class A                            100
                            GlaxoSmithKline Pharma GmbH                                 Austria           100           Ordinary                           100
                            GlaxoSmithKline Pharmaceutical Kenya Limited                Kenya             100           Ordinary                           100
                            GlaxoSmithKline Pharmaceutical Nigeria Limited              Nigeria           100           Ordinary                           100
                            GlaxoSmithKline Pharmaceutical Sdn Bhd                      Malaysia          100           Ordinary                           100
                            GlaxoSmithKline Pharmaceuticals (Pvt) Ltd (iv)              Sri Lanka         100           Ordinary                           100
                            GlaxoSmithKline Pharmaceuticals (Suzhou) Limited            China             100           Ordinary                           100
                            GlaxoSmithKline Pharmaceuticals Costa Rica S.A              Costa Rica        100           Ordinary                           100
                            GlaxoSmithKline Pharmaceuticals S.A.                        Poland            100           Ordinary A; Ordinary B;            100
                                                                                                                        Ordinary C; Ordinary D             100




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Name                                                       incorporation        Ownership     Security                      Class of Share

Wholly owned subsidiaries continued
GlaxoSmithKline Pharmaceuticals SA                         Belgium              100           Ordinary                               100
GlaxoSmithKline Pharmaceuticals Ukraine LLC                Ukraine              100           Chartered Capital                      100
GlaxoSmithKline Philippines Inc                            Philippines          100           Common                                 100
GlaxoSmithKline Pte Ltd                                    Singapore            100           Ordinary                               100
GlaxoSmithKline Puerto Rico Inc. (iv)                      Puerto Rico          100           Common                                 100
GlaxoSmithKline Republica Dominicana S.A.                  Dominican Republic   100           Ordinary                               100
GlaxoSmithKline Research & Development Limited             England & Wales      100           Ordinary                               100
GlaxoSmithKline S.A.                                       Spain                100           Ordinary                               100
GlaxoSmithKline S.p.A.                                     Italy                100           Ordinary                               100
GlaxoSmithKline s.r.o.                                     Czech Republic       100           Ordinary                               100
GlaxoSmithKline Services GmbH & Co. KG (vi)                Germany              100           Partnership Capital                    100
GlaxoSmithKline Services Inc. (iv)                         United States        100           Common                                 100




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GlaxoSmithKline Services Unlimited (i)                     England & Wales      100           Ordinary                               100
GlaxoSmithKline SL Holdings, LLC                           United States        100           LLC Interests                          100
GlaxoSmithKline SL LLC                                     United States        100           LLC Interests                          100
GlaxoSmithKline SL LP (iv)                                 England & Wales      100           Partnership                            100
GlaxoSmithKline Slovakia s.r.o.                            Slovakia             100           Ordinary                               100
GlaxoSmithKline South Africa (Pty) Limited                 South Africa         100           Ordinary                               100
GlaxoSmithKline Superannuation Company Pty Ltd (iv) (vi)   Australia            100           Ordinary                               100
GlaxoSmithKline Trading Services Limited (ii) (v)          Ireland              100           Ordinary                               100
GlaxoSmithKline Trading ZAO                                Russia               100           Ordinary                               100
GlaxoSmithKline Tunisia S.A.R.L.                           Tunisia              100           Ordinary                               100
GlaxoSmithKline UK Limited                                 England & Wales      100           Ordinary                               100
GlaxoSmithKline Uruguay S.A.                               Uruguay              100           Registered Shares Provisory
                                                                                              Stock                                  100
GlaxoSmithKline Venezuela C.A.                             Venezuela            100           Ordinary                               100
GlaxoSmithKline Vietnam Limited Liability Company (iv)     Vietnam              100           Equity Capital                         100
Glycovaxyn AG (iv) (vi)                                    Switzerland          100           Common; Preferred A,                   100




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                                                                                              Preferred B; Preferred C               100
Group Laboratories South Africa (Pty) Limited (iv) (vi)    South Africa         100           Ordinary                               100
Groupe GlaxoSmithKline S.A.S.                              France               100           Ordinary                               100
GSK Business Service Centre Sdn Bhd                        Malaysia             100           Ordinary                               100
GSK Commercial Sp. z o.o.                                  Poland               100           Ordinary                               100
GSK d.o.o., Ljubljana                                      Slovenia             100           Ordinary                               100
GSK Employee Share Plan Pty Ltd                            Australia            100           Ordinary                               100
GSK Kazakhstan LLP                                         Kazakhstan           100           Partnership Interest                   100
GSK Services Sp z o.o.                                     Poland               100           Ordinary                               100
GSK Vaccines GmbH                                          Germany              100           Ordinary                               100
GSK Vaccines Institute for Global Health S.r.l.            Italy                100           Quota                                  100
GSK Vaccines S.r.l.                                        Italy                100           Quota                                  100
GSK Vaccines Vertriebs GmbH                                Germany              100           Ordinary                               100
Herbridge (ii) (iv) (vi)                                   Ireland              100           Ordinary                               100
HGS France S.a.r.l.                                        France               100           Ordinary                               100
HGS Luxembourg LLC (iv) (vi)                               United States        100           Common Interests                       100
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Horlicks Limited                                           England & Wales      100           Ordinary                               100
Human Genome Sciences Paciﬁc Pty Ltd (vi)                  Australia            100           Ordinary                               100
Human Genome Sciences, Inc.                                United States        100           Common                                 100
ID Biomedical Corporation of Quebec                        Canada               100           Common                                 100
ID Biomedical Corporation of Washington (iv)               United States        100           Common                                 100
Instituto Luso Farmaco, Limitada (iv)                      Portugal             100           Ordinary Quota                         100
InterPharma Dienstleistungen GmbH                          Austria              100           Quota                                  100
J&J Technologies, LC (iv)                                  United States        100           Membership Interest                    100
Laboratoire GlaxoSmithKline                                France               100           Ordinary                               100
Laboratoire Pharmaceutique Algérien LPA Production SPA     Algeria              100           Ordinary                               100
Laboratoire Pharmaceutique Algérien SPA                    Algeria              100           Ordinary                               100
Laboratoires Paucourt (iv)                                 France               100           Ordinary                               100
Laboratoires Saint-Germain (iv)                            France               100           Ordinary                               100
Laboratorios Dermatologicos Darier, S.A de C.V.            Mexico               100           Ordinary A; Ordinary B                 100
Laboratorios Farmaceuticos Stiefel (Portugal) LTDA (iv)    Portugal             100           Ordinary Quota                         100
Laboratorios Phoenix Sociedad Anonima Industrial           Argentina            100           Non-endorsable Nominative
  Comercial Y Financiera                                                                      Ordinary Shares                        100
Laboratorios Stiefel de Chile & CIA LTDA                   Chile                100           Social Capital                         100
Laboratorios Stiefel de Venezuela SA                       Venezuela            100           Ordinary                               100



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                            Wholly owned subsidiaries continued
                            Laboratorios Stiefel Ltda.                                       Brazil               100           Ordinary                                100
                            Laboratorios Wellcome De Portugal Limitada (iv)                  Portugal             100           Ordinary Quota                          100
                            Laboratorios Wellcome S.A. (In liquidation)                      Uruguay              100           Ordinary                                100
                            Maxinutrition Limited (In liquidation)                           England & Wales      100           Ordinary                                100
                            Mixis Genetics Limited                                           England & Wales      100           Ordinary                                100
                                                                                                                                Ordinary Euro                           100
                            Montrose Fine Chemical Company Ltd                               Scotland             100           Ordinary                                100
                            Montrose Pharma Company Limited                                  Hungary              100           Ordinary Quota                          100
                            Montrose Pharma UAB (iv)                                         Lithuania            100           Ordinary                                100
                            Nanjing Meirui Pharma Co. Ltd                                    China                100           Ordinary                                100
                            Novartis Vaccines and Diagnostics AG (vi)                        Switzerland          100           Ordinary                                100
                            Novartis Vaccines and Diagnostics Pty Ltd                        Australia            100           Ordinary                                100
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                            Novartis Vaccines and Diagnostics S.L. (vi)                      Spain                100           Ordinary                                100
                            Okairos AG (iv) (vi)                                             Switzerland          100           Common; Preferred A;                    100
                                                                                                                                Preferred B                             100
                            Penn Labs Inc. (iv)                                              United States        100           Common                                  100
                            S.R. One International B.V.                                      Netherlands          100           Ordinary                                100
                            S.R. One, Limited                                                United States        100           Units (Common)                          100
                            Setﬁrst Limited                                                  England & Wales      100           Ordinary                                100
                            Smith Kline & French Laboratories Limited                        England & Wales      100           Ordinary                                100
                            Smith Kline & French Portuguesa-Produtos                         Portugal             100           Ordinary Quota                          100
                             Farmaceuticos, LDA (iv)
                            SmithKline Beecham (Australia) Pty Ltd (iv) (vi)                 Australia            100           Ordinary                                100
                            SmithKline Beecham (Bangladesh) Private Limited (iv)             Bangladesh           100           Ordinary                                100
                            SmithKline Beecham (Cork) Limited (ii)                           Ireland              100           Ordinary                                100
                            SmithKline Beecham (Export) Limited                              England & Wales      100           Ordinary                                100
                            SmithKline Beecham (H) Limited                                   England & Wales      100           Non-Cumulative
                                                                                                                                Non-Redeemable                          100
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                                                                                                                                Ordinary                                100
                            SmithKline Beecham (Investments) Limited                         England & Wales      100           Ordinary                                100
                            SmithKline Beecham (Manufacturing) Limited (ii)                  Ireland              100           Ordinary                                100
                            SmithKline Beecham (SWG) Limited                                 England & Wales      100           Ordinary                                100
                            SmithKline Beecham Animal Health Company                         Canada               100           Common                                  100
                            SmithKline Beecham Biologicals US Partnership                    United States        100           Partnership Interests                   100
                            SmithKline Beecham Egypt L.L.C.                                  Egypt                100           Quotas                                  100
                            SmithKline Beecham Farma, S.A.                                   Spain                100           Ordinary                                100
                            SmithKline Beecham Holdings (Australia) Pty. Limited (iv) (vi)   Australia            100           Ordinary A; Ordinary B                  100
                            SmithKline Beecham Inter-American Corporation (iv)               United States        100           Shares No par Value (Common)            100
                            SmithKline Beecham Limited                                       England & Wales      100           Ordinary 6.25p                          100
                            SmithKline Beecham Marketing and Technical Services Limited      England & Wales      100           Ordinary                                100
                            SmithKline Beecham Nominees Limited                              England & Wales      100           Ordinary                                100
                            SmithKline Beecham Overseas Limited                              England & Wales      100           Ordinary                                100
                            SmithKline Beecham Pension Plan Trustee Limited (iv)             England & Wales      100           Ordinary                                100
                            SmithKline Beecham Pension Trustees Limited (iv)                 England & Wales      100           Ordinary                                100
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                            SmithKline Beecham Pharma GmbH & Co KG                           Germany              100           Partnership Capital                     100
                            SmithKline Beecham Pharma Verwaltungs GmbH                       Germany              100           Ordinary                                100
                            SmithKline Beecham Pharmaceuticals (Pty) Limited (iv) (vi)       South Africa         100           Ordinary                                100
                            SmithKline Beecham Pharmaceuticals Co.                           United States        100           Shares No par Value (Common)            100
                            SmithKline Beecham Port Louis Limited (vi)                       Mauritius            100           Ordinary                                100
                            SmithKline Beecham Retirement Plan (Nominees)                    Australia            100           Ordinary                                100
                             Pty Limited (iv) (vi)
                            SmithKline Beecham Senior Executive Pension Plan                 England & Wales      100           Ordinary                                100
                             Trustee Limited (iv)
                            Stiefel Distributors (Ireland) Limited (ii) (iv)                 Ireland              100           Ordinary                                100
                            Stiefel Dominicana SRL (iv)                                      Dominican Republic   100           Ordinary Quotas                         100
                            Stiefel Farma, S.A                                               Spain                100           Ordinary                                100
                            Stiefel GmbH & Co. KG                                            Germany              100           Partnership Capital                     100
                            Stiefel India Private Limited                                    India                100           Equity                                  100
                            Stiefel Laboratories (Ireland) Limited (ii)                      Ireland              100           Ordinary                                100
                            Stiefel Laboratories (Maidenhead) Ltd                            England & Wales      100           Ordinary                                100
                            Stiefel Laboratories (Thailand) Ltd. (Liquidated 25 Jan 2016)    Thailand             100           Ordinary; Preference                    100
                            Stiefel Laboratories (U.K.) Ltd                                  England & Wales      100           Ordinary                                100
                            Stiefel Laboratories Limited (iv)                                England & Wales      100           Ordinary                                100



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Stiefel Laboratories Pte Limited                              Singapore         100           Ordinary                               100
Stiefel Laboratories Pty Ltd (iv) (vi)                        Australia         100           Ordinary                               100
Stiefel Laboratories SA (Pty) Ltd (iv) (vi)                   South Africa      100           Ordinary                               100
Stiefel Laboratories Taiwan Ltd (Liquidated 5 Jan 2016)       Taiwan            100           Ordinary                               100
Stiefel Laboratories, Inc.                                    United States     100           Common                                 100
Stiefel Maroc SARL                                            Morocco           100           Ordinary                               100
Stiefel Polska SP Z O.O. w likwidacji (In liquidation)        Poland            100           Ordinary                               100
Stiefel Research (Australia) Holdings Pty Ltd (iv)            Australia         100           Ordinary                               100
Stiefel Research Australia Pty Ltd                            Australia         100           Ordinary                               100
Stiefel Research Institute, Inc. (vi)                         United States     100           Common                                 100
Stiefel Sales, Inc. (iv) (vi)                                 United States     100           Common                                 100
Stiefel West Coast LLC                                        United States     100           LLC Interests                          100




                                                                                                                                             Governance & remuneration
Strebor Inc.                                                  United States     100           USD 1 par value (Common)               100
Tempero Pharmaceuticals, Inc.                                 United States     100           Series A Preference                    100
                                                                                              Series B Preference; Common            100
The Sydney Ross Co. (iv)                                      United States     100           Ordinary                               100
The Wellcome Foundation Limited                               England & Wales   100           Ordinary                               100
UCB Pharma (Thailand) Ltd (Liquidated 25 Jan 2016)            Thailand          100           Ordinary                               100
UCB Pharma Asia Paciﬁc Sdn Bhd (iv)                           Malaysia          100           Ordinary                               100
Webderm, Inc. (iv) (vi)                                       United States     100           Common                                 100
Wellcome Consumer Healthcare Limited (iv)                     England & Wales   100           Ordinary                               100
Wellcome Consumer Products Limited (iv)                       England & Wales   100           Ordinary                               100
Wellcome Developments Pty Ltd (iv) (vi)                       Australia         100           Ordinary                               100
Wellcome Limited                                              England & Wales   100           Ordinary                               100
Wellcome Operations Pty Ltd (iv) (vi)                         Australia         100           Ordinary                               100

Subsidiaries where the effective interest is less than 100%
Amoun Pharmaceutical Industries Co. S.A.E.                    Egypt             99.5          New Monetary Shares                   99.5




                                                                                                                                             Financial statements
Beecham Enterprises Inc. (iv)                                 United States     55.9          Common                                 100
Block Drug Company, Inc.                                      United States     63.5          Common                                 100
British Pharma Group Limited                                  England & Wales   50            Capital                                 50
Block Drug Corporation (iv)                                   United States     63.5          Common No Par Value                    100
de Miclén a.s.                                                Slovakia          63.5          Ordinary                               100
Duncan Consumer Healthcare Philippines Inc                    Philippines       63.5          Common                                 100
Ex-Lax, Inc.                                                  Puerto Rico       63.5          Common                                 100
Fondation Novartis Consumer Health Pour I'Avancement          Switzerland       63.5          Capital                               63.5
 Des Sciences Medicales, Biologiques Et Pharmaceutiques
Glaxo Saudi Arabia Limited                                    Saudi Arabia      49            Ordinary                                49
GlaxoSmithKline (Tianjin) Co. Ltd                             China             90            Ordinary                                90
GlaxoSmithKline Bangladesh Limited                            Bangladesh        82            Ordinary                                82
GlaxoSmithKline Brasil Produtos para Consumo e Saude Ltda     Brazil            63.5          Ordinary                               100
GlaxoSmithKline Consumer Healthcare (China) Co. Ltd           China             63.5          Ordinary                               100
GlaxoSmithKline Consumer Healthcare (Hong Kong) Limited       Hong Kong         63.5          Ordinary                               100
GlaxoSmithKline Consumer Healthcare (Ireland) Limited (ii)    Ireland           63.5          Ordinary                               100
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GlaxoSmithKline Consumer Healthcare (Overseas) Limited        England & Wales   63.5          Ordinary                               100
GlaxoSmithKline Consumer Healthcare (Thailand) Limited        Thailand          63.5          Ordinary                               100
GlaxoSmithKline Consumer Healthcare (UK) IP Limited           England & Wales   63.5          Ordinary                               100
GlaxoSmithKline Consumer Healthcare (UK) Trading Limited      England & Wales   63.5          Ordinary                               100
GlaxoSmithKline Consumer Healthcare (US) IP LLC               United States     63.5          LLC Interests                          100
GlaxoSmithKline Consumer Healthcare A/S                       Denmark           63.5          Ordinary                               100
GlaxoSmithKline Consumer Healthcare AB                        Sweden            63.5          Ordinary                               100
GlaxoSmithKline Consumer Healthcare AG                        Switzerland       63.5          Ordinary                               100
GlaxoSmithKline Consumer Healthcare Argentina S.A. (iv)       Argentina         63.5          Nominative non endorseable
                                                                                              Ordinary                               100
GlaxoSmithKline Consumer Healthcare Australia Pty ltd         Australia         63.5          Ordinary                               100
GlaxoSmithKline Consumer Healthcare B.V.                      Netherlands       63.5          Ordinary A                             100
GlaxoSmithKline Consumer Healthcare Canada Corp               Canada            63.5          Common                                 100
GlaxoSmithKline Consumer Healthcare Colombia SAS              Colombia          63.5          Ordinary                               100
GlaxoSmithKline Consumer Healthcare Czech Republic s.r.o.     Czech Republic    63.5          Ordinary                               100
GlaxoSmithKline Consumer Healthcare Finance Limited           England & Wales   63.5          Ordinary                               100
GlaxoSmithKline Consumer Healthcare Finland Oy                Finland           63.5          Ordinary                               100
GlaxoSmithKline Consumer Healthcare GmbH                      Austria           63.5          Ordinary                               100
GlaxoSmithKline Consumer Healthcare GmbH & Co. KG             Germany           63.5          Partnership Capital                    100



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                            Subsidiaries where the effective interest is less than 100% continued
                            GlaxoSmithKline Consumer Healthcare Greece Societe            Greece               63.5          Ordinary                          100
                             Anonyme
                            GlaxoSmithKline Consumer Healthcare Holdings (US) LLC         United States        63.5          LLC Interests                     100
                            GlaxoSmithKline Consumer Healthcare Holdings Limited          England & Wales      63.5          Ordinary A                        100
                                                                                                                             Ordinary B                          0
                            GlaxoSmithKline Consumer Healthcare Inc.                         Canada            63.5          Common                            100
                                                                                                                             Preferred                         100
                            GlaxoSmithKline Consumer Healthcare Investments                  Ireland           63.5          Ordinary                          100
                              (Ireland) (No 2) (ii) (v)
                            GlaxoSmithKline Consumer Healthcare Investments                  Ireland           63.5          Ordinary                          100
                              (Ireland) (No 3) Limited (ii) (v)
                            GlaxoSmithKline Consumer Healthcare Japan K.K.                   Japan             63.5          Ordinary                          100
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                            GlaxoSmithKline Consumer Healthcare Korea Co., Ltd.              Korea             63.5          Ordinary                          100
                            GlaxoSmithKline Consumer Healthcare L.L.C.                       United States     63.5          LLC Interests                     100
                            GlaxoSmithKline Consumer Healthcare Limited                      India             72.5          Equity                           72.5
                            GlaxoSmithKline Consumer Healthcare Mexico, S. De R.L. de C.V.   Mexico            63.5          Ordinary                          100
                            GlaxoSmithKline Consumer Healthcare New Zealand Limited          New Zealand       63.5          Ordinary                          100
                            GlaxoSmithKline Consumer Healthcare Norway AS                    Norway            63.5          Ordinary                          100
                            GlaxoSmithKline Consumer Healthcare Philippines Inc              Philippines       63.5          Common                            100
                            GlaxoSmithKline Consumer Healthcare Pte. Ltd.                    Singapore         63.5          Ordinary                          100
                            GlaxoSmithKline Consumer Healthcare S.A.                         Belgium           63.5          Ordinary                          100
                            GlaxoSmithKline Consumer Healthcare S.A.                         Spain             63.5          Ordinary                          100
                            GlaxoSmithKline Consumer Healthcare S.p.A.                       Italy             63.5          Ordinary                          100
                            GlaxoSmithKline Consumer Healthcare Sdn. Bhd.                    Malaysia          63.5          Ordinary                          100
                            GlaxoSmithKline Consumer Healthcare Slovakia s. r. o.            Slovakia          63.5          Ownership Interest                100
                            GlaxoSmithKline Consumer Healthcare South Africa Pty (Ltd)       South Africa      63.5          Ordinary                          100
                            GlaxoSmithKline Consumer Healthcare Sp.z.o.o.                    Poland            63.5          Common                            100
                            GlaxoSmithKline Consumer Healthcare SRL                          Romania           63.5          Ordinary                          100
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                            GlaxoSmithKline Consumer Healthcare, L.P.                        United States     55.9          Partnership Interest             55.9
                            GlaxoSmithKline Consumer Healthcare, Produtos para               Portugal          63.5          Ordinary Quota                    100
                              a Saude e Higiene, Lda
                            GlaxoSmithKline Consumer Nigeria plc (iii)                       Nigeria           46.4          Ordinary                         46.4
                            GlaxoSmithKline Consumer Private Limited                         India             63.5          Equity                            100
                            GlaxoSmithKline Consumer Trading Services Limited                England & Wales   63.5          Ordinary                          100
                            GlaxoSmithKline Costa Rica S.A.                                  Costa Rica        63.5          Ordinary                          100
                            GlaxoSmithKline Dungarvan Limited (ii)                           Ireland           63.5          Ordinary                          100
                            GlaxoSmithKline Healthcare AO                                    Russia            63.5          Ordinary                          100
                            GlaxoSmithKline Healthcare GmbH                                  Germany           63.5          Ordinary                          100
                            GlaxoSmithKline Healthcare Ukraine O.O.O.                        Ukraine           63.5          Ownership Interest                100
                            GlaxoSmithKline Landholding Company, Inc                         Philippines       39.9          Common                            100
                            GlaxoSmithKline Limited                                          Kenya             63.5          Ordinary                          100
                            GlaxoSmithKline OTC (PVT.) Limited                               Pakistan          63.5          Ordinary                          100
                            GlaxoSmithKline Pakistan Limited                                 Pakistan          82.6          Ordinary                         82.6
                            GlaxoSmithKline Panama S.A.                                      Panama            63.5          Ordinary                          100
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                            GlaxoSmithKline Paraguay S.A.                                    Paraguay          63.5          Ordinary                          100
                            GlaxoSmithKline Pharmaceuticals Limited                          India             75            Equity                             75
                            GlaxoSmithKline S.A.E.                                           Egypt             91.2          Ordinary                         91.2
                            GlaxoSmithKline Sante Grand Public SAS                           France            63.5          Ordinary                          100
                            GlaxoSmithKline Tuketici Sagligi Anonim Sirketi                  Turkey            63.5          Nominative                        100
                            GlaxoSmithKline-Consumer Hungary Limited Liability Company       Hungary           63.5          Membership                        100
                            GSK Consumer Healthcare Singapore Pte. Ltd                       Singapore         63.5          Ordinary                          100
                            Iodosan S.p.A.                                                   Italy             63.5          Ordinary                          100
                            Kuhs GmbH                                                        Germany           63.5          Equity                            100
                            Laboratorios ViiV Healthcare, S.L.                               Spain             78.3          Ordinary                          100
                            Modern Pharma Trading Company L.L.C.                             Egypt             98.2          Quotas                           98.2
                            Novartis Consumer Health Australasia Pty Ltd                     Australia         63.5          Ordinary                          100
                                                                                                                             Redeemable Preference             100
                            Novartis Consumer Health Canada Inc./Novartis Sante              Canada            63.5          Common                            100
                             Familiale Canada, Inc.
                            Novartis Consumer Health GmbH                                    Germany           38.1          Ordinary                          100
                            Novartis Consumer Health LLC                                     Russia            63.5          Participation Interest            100




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Subsidiaries where the effective interest is less than 100% continued
Novartis Consumer Health N.V.                                 Belgium           63.5          Ordinary                              100
Novartis Consumer Health S.A.                                 Spain             63.5          Ordinary                              100
Novartis Consumer Health S.A.                                 Switzerland       63.5          Ordinary                              100
Novartis Consumer Health Schweiz AG                           Switzerland       63.5          Ordinary                              100
Novartis Consumer Health Services S.A.                        Switzerland       63.5          Registered Shares                     100
Novartis Consumer Health UK Limited                           England & Wales   63.5          Ordinary                              100
Novartis Consumer Health, Inc.                                United States     63.5          Common                                100
Novartis Consumer Health-Gebro GmbH                           Austria           38.1          Ordinary                               60
Novartis Sante Familiale S.A.S. (In liquidation)              France            63.5          Ordinary                              100
P.T. SmithKline Beecham Pharmaceuticals                       Indonesia         99            A Shares                              100
                                                                                              B Shares                              100
P.T. Sterling Products Indonesia                              Indonesia         63.5          A Shares                              100




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                                                                                              B Shares                              100
Panadol GmbH                                                  Germany           63.5          Ordinary                              100
PHIVCO Jersey II Limited (iv) (v)                             Jersey            78.3          Ordinary                              100
PHIVCO Jersey Limited (iv) (v)                                Jersey            78.3          Ordinary                              100
PHIVCO UK II Limited                                          England & Wales   78.3          Ordinary                              100
PHIVCO UK Limited                                             England & Wales   78.3          Ordinary                              100
PHIVCO-1 LLC                                                  United States     78.3          LLC Interests                         100
PHIVCO-2 LLC                                                  United States     78.3          LLC Interests                         100
PT Glaxo Wellcome Indonesia                                   Indonesia         95            A Shares                              100
                                                                                              B Shares                              100
PT. Bina Dentalindo (In liquidation)                          Indonesia         63.5          Ordinary                              100
Shionogi-ViiV Healthcare LLC (iv)                             United States     78.3          Common Interests                      100
Sino-American Tianjin Smith Kline & French Laboratories Ltd   China             34.9          Ordinary                               55
SmithKline Beecham (Private) Limited                          Sri Lanka         99.6          Ordinary                             99.6
SmithKline Beecham Research Limited                           England & Wales   63.5          Ordinary                              100
SmithKline Beecham S.A.                                       Spain             63.5          Ordinary                              100




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SmithKline Beecham-Biomed O.O.O.                              Russia            97            Participation Interest                 97
Stafford-Miller (Ireland) Limited (ii)                        Ireland           63.5          Ordinary                              100
Stafford-Miller Limited                                       England & Wales   63.5          Ordinary                              100
                                                                                              Non-Cumulative Non
                                                                                              Redeemable Preference                 100
Sterling Drug (Malaya) Sdn Berhad                             Malaysia          63.5          Ordinary                              100
Sterling Products International, Incorporated (iv)            United States     63.5          Common                                100
Stiefel Consumer Healthcare (UK) Limited                      England & Wales   63.5          Ordinary                              100
Stiefel Egypt LLC (iv)                                        Egypt             99            Quota                                  99
Stiefel Manufacturing (Ireland) Limited (ii)                  Ireland           63.5          Ordinary                              100
ViiV Healthcare (South Africa) (Proprietary) Limited          South Africa      78.3          Ordinary                              100
ViiV Healthcare BV                                            Netherlands       78.3          Ordinary                              100
ViiV Healthcare Company                                       United States     78.3          Common                                100
ViiV Healthcare Finance 1 Limited (iv)                        England & Wales   78.3          Ordinary                              100
ViiV Healthcare Finance 2 Limited (iv)                        England & Wales   78.3          Ordinary                              100
ViiV Healthcare GmbH                                          Germany           78.3          Ordinary                              100
                                                                                                                                            Investor information

ViiV Healthcare GmbH                                          Switzerland       78.3          Ordinary                              100
ViiV Healthcare Kabushiki Kaisha                              Japan             78.3          Ordinary                              100
ViiV Healthcare Limited                                       England & Wales   78.3          Class A Shares                        100
                                                                                              Class B Shares                          0
                                                                                              Class C Shares                          0
                                                                                              Class D1 Preference                     0
                                                                                              Class D2 Ordinary                       0
ViiV Healthcare Overseas Limited                              England & Wales   78.3          Ordinary                              100
ViiV Healthcare Pty Ltd                                       Australia         78.3          Ordinary                              100
ViiV Healthcare Puerto Rico, LLC                              Puerto Rico       78.3          LLC Interests                         100
ViiV Healthcare S.r.l.                                        Italy             78.3          Quota                                 100
ViiV Healthcare SAS                                           France            78.3          Ordinary                              100
ViiV Healthcare sprl                                          Belgium           78.3          Ordinary                              100
ViiV Healthcare Trading LLC                                   Russia            78.3          Participation Interest                100
ViiV Healthcare Trading Services UK Limited                   England & Wales   78.3          Ordinary                              100
ViiV Healthcare UK (No.2) Limited (v)                         Jersey            78.3          Ordinary                              100
ViiV Healthcare UK (No.3) Limited                             England & Wales   78.3          Ordinary                              100
ViiV Healthcare UK (No.4) Limited (iv)                        England & Wales   78.3          Ordinary                              100
ViiV Healthcare UK Limited                                    England & Wales   78.3          Ordinary                              100



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                            Other statutory disclosures
                            continued
                            Group companies continued
Strategic report




                                                                                            Country of       Effective %                                       % Held by
                            Name                                                            incorporation    Ownership     Security                        Class of Share

                            Subsidiaries where the effective interest is less than 100% continued
                            ViiV Healthcare ULC                                           Canada             78.3          Common                                   100
                            ViiV Healthcare Venture LLC                                   United States      78.3          LLC Interests                            100
                            ViiV HIV Healthcare Unipessoal Lda                            Portugal           78.3          Quota                                    100
                            Winster Pharmaceuticals Limited                               Nigeria            46.4          Ordinary                                 100
                            Zhejiang Tianyuan Bio-Pharmaceutical Co. Ltd                  China              95            Ordinary                                  95

                            Associates
                            Calci Medica Inc.                                               United States    33.9          Series A and Junior Preferred           33.9
                            Index Ventures Life VI (Jersey) LP                              United States    25            Partnership Interest                     25
                            Theravance, Inc. (now Innoviva, Inc.)                           United States    27.8          Common                                  27.8
                            JCR Pharmaceuticals Co. Ltd                                     Japan            24.6          Common                                  24.6
                            Kurma Biofund II, FCPR                                          France           32            Partnership Interest                     32
Governance & remuneration




                            Longwood Founders Fund LP                                       United States    28            Partnership Interest                     28
                            River Vision Development Corp.                                  United States    33            Series A Preferred                       33

                            Joint Ventures
                            Chiron Panacea Vaccines Private Ltd (In liquidation)            India            50
                            Japan Vaccine Co., Ltd                                          Japan            50
                            Japan Vaccine Distribution Co., Ltd                             Japan            50
                            Qualivax Pte Limited                                            Singapore        50
                            Qura Therapeutics LLC                                           United States    50




                            Key
                            (i)     Directly owned by GlaxoSmithKline plc.
                            (ii)    Exempt from the provisions of section 347 and 348 of the Companies Act 2014 (Ireland), in accordance with the exemptions
Financial statements




                                    noted in Section 357 of that Act.
                            (iii)   Consolidated as a subsidiary in accordance with section 1162 (4)(a) of the Companies Act 2006 on the grounds of
                                    dominant inﬂuence.
                            (iv)    Dormant company.
                            (v)     Tax resident in the UK.
                            (vi)    Entity expected to be disposed of or removed in 2016.
Investor information




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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA

PETER HUMPHREY, YU YINGZENG, and                    Civil Action No.: 2:16-CV-5924
CHINAWHYS COMPANY LTD,

                   Plaintiffs,

       v.

GLAXOSMITHKLINE PLC and
GLAXOSMITHKLINE LLC,

                   Defendants.




                             DECLARATION OF PETER HUMPHREY


       I, Peter Humphrey, being over 18 years of age and competent to make this declaration,

hereby declare that:


       1.      I make this declaration in support of Plaintiffs’ Opposition to Defendants’ Motion

to Compel Arbitration.

       2.      Following our release from prison in June 2015, I was deported from China and

am banned from entering China for a period of ten years, and therefore will not be able to enter

China until at least 2025.

       3.      My wife Yu Yingzeng would almost certainly not be granted a visa to enter China

if she applied for one.

       4.      Even if we were legally able to enter China, we would not be able to do so

because of personal safety issues.




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Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury under the laws of the United

States of America that the foregoing is true and correct.


Dated: March 2, 2017




                                                     Peter Humphrey




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                         Exhibit E




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Global compliance | GSK
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  Global compliance
  The Global Compliance function is responsible for
  supporting the development and implementation of
  practices that facilitate employees’ compliance with laws
  and Group policy.




            Sitemap                         Terms of use                           Accessibility

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         Registered office: 980 Great West Road, Brentford, Middlesex, TW8 9GS, United Kingdom.




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       Search GSK

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  Overview

  The thrust of our compliance efforts is the promotion of ethical behaviour
  and corporate responsibility in accordance with our values and due
  diligence in preventing and detecting misconduct or non-compliance with
  laws or regulations, supported by effective compliance systems.

  Our employees are encouraged to seek help and to report concerns or
  suspected cases of misconduct without the fear of retaliation. Employees
  can do this through line management or confidentially through our Speak
  Up Integrity reporting channels. All concerns and allegations are fairly and
  independently investigated and disciplinary action, if applicable, is
  commensurate with the issues presented.

  The Global Compliance organisation comprises three groups:

     Global Compliance Business Partners, who are aligned to each
     business unit. Their role is to proactively partner with senior leaders to
     drive a values and compliance-based culture and improve risk
     identification and management practices;

     Global Compliance Operations centrally manages our compliance
     activities (e.g. analytics, reporting, communications, policy
     administration, project management and training), with a focus on
     efficiency, consistency and continuous improvement;


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     Global Compliance Investigations co-ordinates all compliance-related
     investigations, ensuring consistency and efficiency of investigations
     across geographies and business units.

                                                                               


                      Global Compliance contact information

     Global Compliance Business
                                                      Contact Details
     Partners


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                                               Email: Nick.J.Hirons@gsk.com
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                                                 Indonesia phone: + 62 21
                                                       2553 2350


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                                                          1724

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     Global Compliance Business
                                                      Contact Details
     Partners

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     Supply


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                                                         3330


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                                                         Email:
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                                                 Rob.R.MacRae@gsk.com
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                                               US Phone: + 1 215 7517375


     Michael Shaw – VP Compliance
                                                           Email:
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                                                 Michael.L.Shaw@gsk.com
     Pharmaceuticals


                                              US Phone: + 1-215-751-7337

                                                                              




  Speak Up Integrity lines

  Global Ethics & Compliance oversees the GSK Speak Up Integrity Lines
   through which alleged breaches of legal or regulatory obligations,
  financial fraud (including accounting internal controls and auditing), or any
  other alleged contravention of GSK's Code of Conduct (PDF) and
  company policies can be reported using different communication
  channels. Concerns may be reported anonymously if desired.


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  A secure, offsite post office box may also be used:

  Mailing Address:
  Box 58572
  Philadelphia
  Pennsylvania 19102
  USA

  Please do not use the Speak Up Integrity Lines or post office box above
  for product enquiries or to report adverse events. Visit the contact us
  page for instructions on where to submit questions on these matters.


  GSK's Code of Conduct

  GSK's Code of Conduct (PDF) is the foundation for all the company
  policies. It sets out the fundamental principles that the company values
  and that employees should apply in their daily work. Supporting the Code
  of Conduct policy is a range of corporate policies providing specific
  guidance in areas such as competition law, marketing practices, non-
  discrimination, share dealing, and conflicts of interest. GSK's employee
  guide to business conduct highlights the Code of Conduct, core
  compliance policies and provides guidance to employees. It is the
  responsibility of each employee to implement the code and follow the
  employee guide to sustain the trust and confidence of all GSK
  stakeholders.


  GSK Code of Conduct translations (PDFs)

  Arabic

  Brazilian-Portuguese


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  Chinese

  Czech

  French

  German

  Hindi

  Hungarian

  Indonesian

  Italian

  Japanese

  Korea

  Malay

  Polish

  Portugese-EU

  Romanian

  Russian

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  Traditional Chinese

  Turkish

  Urdu

  Vietnamese




  GSK’s Public Policy Statement on Working with Third
  Parties
  At GlaxoSmithKline (GSK), we are committed to operating to the highest
  ethical standards to help maximise the long term sustainability of our
  business and of the communities in which we operate. We aim to comply
  with all laws, rules and regulations governing our activities and, in addition,
  have developed a comprehensive framework of GSK policies, guidelines
  and standard operating procedures to help drive high ethical standards.

  We strive to conduct business with third parties including suppliers,
  distributors, equity stake holdings and other business partners
  (collectively, “Third Parties”) who share our commitment to high ethical
  standards and operate in a responsible way.

  As such, GSK’s public policy statement on working with third parties
  (PDF) sets out our expectation that Third Parties will:

     Share our commitment to high ethical standards

     Comply with all applicable laws and regulations and adopt, at a
     minimum, GSK’s Anti-Bribery & Corruption and Labour Rights
     Principles

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     Where relevant, comply with our standards on quality, patient safety,
     health and safety and the environment

     Create a culture which supports staff reporting of suspected violations
     of law, rules and regulations, as well as of unethical conduct, without
     fear of reprisal or retaliation.

  Third Parties should also reference our general terms and conditions on
  our procurement page.




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                         Exhibit F
       Relevant Excerpts from 2015 Annual Report of
                GlaxoSmithKline Capital plc




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GlaxoSmithKline Capital plc
(Registered number: 2258699)

Annual Report

for the year ended 31 December 2015




                                                                Registered office address:
                                                                980 Great West Road
                                                                Brentford
                                                                Middlesex
                                                                TW8 9GS




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GlaxoSmithKline Capital plc
Registered number: (2258699)

Strategic report for the year ended 31 December 2015

The Directors present their strategic report on GlaxoSmithKline Capital plc (the "Company") for the year
ended 31 December 2015.

Principal activities

The Company is a member of the GlaxoSmithKline Group of companies (the "Group") and issues notes
under the Group's European and US Medium Term Note programme and provides financing and financial
services to other Group entities.

The Directors do not envisage any change to the nature of the business in the foreseeable future.

Review of business

The Company made a profit for the financial year of £8,749k (2014: £6,734k), which will be transferred to
reserves.     The Directors are of the opinion that the current level of activity and the year end financial
position are satisfactory and will remain so in the foreseeable future.

At 31 December 2015, the Company had in issue £7,333,954k Euro Medium Term Notes and £2,708,365k
US Medium Term Notes (2014: £8,744,819k and £3,189,406k respectively) which mature at dates
between 2017 and 2045. All notes currently in issue pay interest on a fixed rate basis.

During the year, two bonds that were issued under the Group's European and US Medium Term Note
programmes matured during the year; they were the 3.875% €1.6 billion European Medium Term Note in
July 2015 and the 0.75% US$1 billion US Medium Term Note in May 2015.

Principal risks and uncertainties

The Directors of GlaxoSmithKline plc manage the risks of the Group at a group level, rather than at an
individual business unit level. For this reason, the Company's Directors believe that a discussion of the
Group's risks would not be appropriate for an understanding of the development, performance or position
of the Company's business. The principal risks and uncertainties of the Group, which include those of the
Company, are discussed in the Group's 2015 Annual Report which does not form part of this report.

Key Performance Indicators (KPIs)

The Directors of the Group manage the Group’s operations on a business sector basis. For this reason,
the Company’s directors believe that analysis using key performance indicators for the Company is not
necessary or appropriate for an understanding of the development, performance or position of the
Company's business. The development, performance and position of the Group are discussed in the
Group’s 2015 Annual Report which does not form part of this report.

First time adoption of FRS 101

In the current year, the company has adopted Financial Reporting Standard 100 "Application of Financial
Reporting Requirements" ("FRS 100") and Financial Reporting Standard 101 "Reduced Disclosure
Framework" ("FRS 101"). In previous years, the financial statements were prepared in accordance with
applicable UK accounting standards. This change in the basis of preparation has not materially altered
the recognition and measurement requirements previously applied in accordance with applicable
accounting standards.

On behalf of the Board

A Walker
For and on behalf of Glaxo Group Limited
Corporate Director
26 April 2016


                                                       1
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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

PETER HUMPHREY, YU YINGZENG, and                    Civil Action No.: 2:16-CV-5924
CHINAWHYS COMPANY LTD,

                  Plaintiffs,

       v.

GLAXOSMITHKLINE PLC and
GLAXOSMITHKLINE LLC,

                  Defendants.



               DEFENDANTS’ REPLY MEMORANDUM IN SUPPORT OF
              THEIR MOTION TO COMPEL ARBITRATION, OR, IN THE
              ALTERNATIVE, MOTION TO DISMISS THE COMPLAINT

       Defendants GlaxoSmithKline PLC (“GSK PLC”) and GlaxoSmithKline LLC

(“GSK LLC”) (collectively, “GSK Defendants”), through their counsel, submit the following

reply memorandum in further support of their motion to compel arbitration, or in the alternative,

motion to dismiss the complaint for lack of personal jurisdiction, failure to state a claim upon

which relief can be granted, failure to join an indispensable party, and failure to bring a timely

action under Pennsylvania law.




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                                    I.      INTRODUCTION

       It is not what Plaintiffs say in their Opposition Brief that tells the story in this case, it is

what they do not say. Despite expending pages and pages in an attempt to cast themselves as

victims of a global conspiracy, they fail to substantiate those conclusory statements with

plausible facts. Most importantly, they fail to dispute, indeed address, threshold issues that

resolve this matter by mandating its arbitration. Those include the following:

              Plaintiffs do not dispute that they negotiated, executed and implemented the
               Consultancy Agreement.

              Plaintiffs do not dispute the validity or enforceability of the Consultancy
               Agreement.

              Plaintiffs do not dispute the validity or enforceability of the arbitration provision,
               or that they agreed to arbitrate all disputes in China, pursuant to Chinese law and
               before CIETAC.

              Plaintiffs do not dispute that all conduct alleged in the Complaint as giving rise to
               their injuries occurred in connection with the Consultancy Agreement.

              Plaintiffs do not dispute that the Consultancy Agreement was executed by GSK
               China and Peter Humphrey on behalf of ChinaWhys.

              Plaintiffs do not dispute that they each (ChinaWhys, Humphrey and Yu) acted on
               and performed services in implementation of the Agreement.

       These undisputed facts should lead this Court to the undeniable conclusion that this

lawsuit is not properly before it. In addition, Plaintiffs have failed to join GSK China, the only

entity with which they interacted, and the only entity that could possibly have made the alleged

misrepresentations upon which Plaintiffs base their claims. To the extent Plaintiffs might have

any cognizable claim (which the GSK Defendants dispute), it would be against GSK China.

Plaintiffs do not claim that GSK China acted as the alter ego or agent of GSK PLC or GSK LLC,

and GSK China’s actions cannot be imputed to the GSK Defendants.




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       Even on the merits, Plaintiffs have failed to establish that GSK PLC maintains sufficient

contacts with the United States to give rise to jurisdiction, or to allege fundamental facts

necessary to support their RICO or state law claims. Despite their strictly conclusory claim of a

conspiratorial web, the Complaint does not allege a single fact showing that the conduct for

which Plaintiffs were prosecuted by Chinese authorities was directed by or performed at the

request of GSK PLC or GSK LLC—or even that those entities knew of Plaintiffs’ investigation.

Absent such allegations, Plaintiffs cannot state claims against the GSK Defendants that are

“plausible on [their] face.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2007); see also Bell Atl. Co. v.

Twombly, 550 U.S. 544, 556 (2007). The matter should be referred to arbitration, or, in the

alternative, their Complaint dismissed with prejudice.


                                      II.    ARGUMENT

       The Complaint provides the legal framework for Plaintiffs’ case. To the extent Plaintiffs

set forth additional facts in their Opposition Brief, the Court should disregard them for purposes

of the motion to compel arbitration and to dismiss under Federal Rule of Civil Procedure

12(b)(6). Pennsylvania ex rel. Zimmerman v. PepsiCo, 836 F.2d 173, 181 (3d Cir. 1988).

       A.      GSK PLC And GSK LLC Have A Right To Enforce The Arbitration
               Provisions Of The Consultancy Agreement, Which Is Binding On
               Humphrey, Yu, And ChinaWhys.

       “When parties agree to arbitrate, they agree to do so ‘through to completion’ ….’”

Adorra Servs. Inc. v. Venfleet, Ltd., 355 F. App’x 622, 625 (3d Cir. 2009) (quoting Dluhos v.

Strasberg, 321 F.3d 365, 369-70 (3d Cir. 2003)). Plaintiffs’ attempt to circumvent the arbitration

clause in the Agreement is a fruitless effort to undo their binding contractual promise to resolve

through arbitration “[a]ll disputes arising out of or in connection with th[e] Agreement.” (See

Ex. 1 to Mot. to Compel (Doc. 19-5) § 11.) Plaintiffs do not dispute that the Consultancy



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Agreement is a valid binding contract or that the arbitration clause is a valid enforceable

provision of that Agreement. They likewise do not dispute that the language of the arbitration

clause (i.e., to arbitrate all disputes “arising out of or in connection with” the Agreement, (Ex. 1

to Mot. to Compel (Doc. 19-5) § 11)), creates a presumption of arbitrability unless Plaintiffs

establish with “positive assurance” that the present dispute is not covered by the arbitration

clause, Moses H. Cone Mem. Hosp. v. Mercury Constr. Corp., 460 U.S. 1, 24 (1983). In fact,

they do not contest that (1) the present dispute is covered by the arbitration provision; (2) they

were carrying out ChinaWhys’ obligations in furtherance of that contract; (3) the Agreement is

the only connection whatsoever between them and any GSK entity; or (4) a connection exists

only between Plaintiffs and GSK China, not GSK PLC or GSK LLC.

        Indeed, the alleged misrepresentation that Plaintiffs claim (without basis in fact) they

received could only have originated with the GSK China employees who, according to the

Complaint, actually interacted with Plaintiffs. The Court should therefore reject Plaintiffs’

attempts to ascribe fraud to GSK PLC or GSK LLC, and should enforce their contractual bargain

with GSK China.

                1.      GSK PLC And GSK LLC May Invoke The Arbitration Provision Of The
                        Consultancy Agreement Because They Have A Corporate Relationship
                        With GSK China, The Contract Signatory, And The Dispute Is
                        Inextricably Intertwined With That Agreement.

        Plaintiffs implausibly suggest that GSK PLC and GSK LLC cannot invoke the arbitration

clause of the Agreement because they are not signatories to it. (See Opp’n Br. (Doc. 23), at 17-

19.)   That argument rests on legal misinterpretations, impermissible pleading practice, and

indifference to the facts of the case.

        Contrary to Plaintiffs’ claim that invocation of an arbitration clause by a non-signatory is

“novel,” (see id. at 16), courts have held that a non-signatory may enforce an arbitration clause



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when (1) “the claims were intimately founded in and intertwined with the underlying contract

obligations,” and (2) the non-signatory has a “close relationship” with a signatory.1 E.I. DuPont

de Nemours & Co. v. Rhone Poulenc Fiber & Resin Intermediaries, S.A.S., 269 F.3d 187, 199

(3d Cir. 2001); accord Bannet v. Hankin, 331 F. Supp. 2d 354, 359-60 (E.D. Pa. 2004) (allowing

non-signatory to enforce an arbitration clause because it was affiliated with the signatory entity,

and the plaintiff had chosen not to join the signatory entity in “an attempt to make an end-run

around the arbitration clause”). Both elements are met here.

         First, the present dispute was intimately founded in and is “intertwined with” the

Agreement because it arises out of services Plaintiffs provided to GSK China pursuant to the

Agreement. Id. Notably, all of Plaintiffs’ interactions with any GSK entity stem entirely and

solely from the Agreement, and the only communications that Plaintiffs described in the

Complaint were with GSK China or China-based personnel responsible for the Agreement. The

Complaint concedes these points:

            Plaintiffs were retained to conduct an investigation into a GSK China employee, to be
             conducted entirely in China, with reports made to GSK China personnel, (see Compl.
             (Doc. 1) ¶¶ 51, 70);

            The only individuals from any GSK entity with whom Plaintiffs ever allegedly met
             were “Mark Reilly, CEO of GSK (China) Investment Co., April Zhao, Legal Counsel
             of GSK China, and Brian Cahill, also legal counsel,” (id. ¶ 50), none of whom were
             (or are alleged to have been) employed by GSK PLC or GSK LLC;

            Reilly, Zhao, and Cahill are the only individuals whom the Complaint alleges made
             any representation to Plaintiffs that was purportedly false, (id. ¶ 53);

            All of Plaintiffs’ claims are predicated on alleged “false information supplied” by
             Reilly, Zhao, and Cahill, (id. ¶ 63; see also id. ¶ 59); and



1
  Plaintiffs’ argument that Invista S.A.R.L. v. Rhodia, S.A., 625 F.3d 75, 85 (3d Cir. 2010), compels a different result
is misplaced. In that case, the court did not rule on the question of whether the parties were bound by the arbitration
clause because the court found it lacked personal jurisdiction over the defendant and subject matter jurisdiction over
the appeal. Id. at 87-88. The court did not address enforcement of the arbitration clause against the non-signatories.



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            ChinaWhys submitted the scope of work attached to the Agreement to Mark Reilly as
             “Chairman” of “GlaxoSmithKline (China) Investment Co. Ltd.”2 (See Ex. 1 to Mot.
             to Compel (Doc. 19-5), at 14.)

         Nowhere in the Complaint do Plaintiffs allege interactions with individuals from GSK

PLC or GSK LLC. To the contrary, their Agreement with GSK China is the sine qua non

without which Plaintiffs’ alleged injuries would not exist, and the only purported

misrepresentations upon which their fraud claims could be based are those allegedly made by

GSK China personnel. Thus, the issues which non-signatories GSK PLC and GSK LLC want

“to resolve are intertwined with the agreement that the signatory signed.” Heller v. Deutsche

Bank AG, No. 04-3571, 2005 WL 665052, at *5 (E.D. Pa. Mar. 17, 2005).

         Second, GSK PLC and GSK LLC are entitled to invoke the arbitration clause of the

Agreement, because they are members of the same corporate family as GSK China. GSK PLC is

the indirect parent company of GSK China, and GSK LLC is a sister corporation within a

common ownership structure. This relationship among the GSK Defendants and GSK China, the

entity that executed the Agreement, supports enforcement of the Agreement’s arbitration clause.

See E.I. DuPont, 269 F.3d at 199 (allowing enforcement of arbitration clauses by non-signatories

based on a “close relationship” with the entity that signed the contract).




2
  Ordinarily, a motion to compel arbitration can be resolved on the face of the complaint, in which case the court
should apply a Rule 12(b)(6) standard of review. Guidotti v. Legal Helpers Debt Resolution LLC, 716 F.3d 764, 775
(3d Cir. 2013). When the motion cannot be resolved on the face of the complaint and the documents integral to it,
the court may allow the parties to submit evidence outside the complaint, and address the motion under the summary
judgment standard. Id. Here, the Court should apply the Rule 12(b)(6) standard, and rule on the motion based on
the face of the Complaint and the Consultancy Agreement. Although Plaintiffs did not attach that Agreement to
their pleading, they acknowledge that they were retained to provide investigation services in connection with this
case, and that retention occurred pursuant to the Agreement. (See, e.g. Compl. (Doc. 1) ¶¶ 61-63.) The Agreement,
as the operative contract of retention, is therefore “integral to” their Complaint, and the Court may consider it under
the Rule 12(b)(6) standard. U.S. Express Lines Ltd. v. Higgins, 281 F.3d 383, 388 (3d Cir. 2002), superseded on
other grounds as explained in Langman v. Keystone Nazareth Bank & Trust Co., 502 F. App’x 220, 225 n.3 (3d Cir.
2012).


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               2.      The Court Should Enforce The Arbitration Provision Of The Consultancy
                       Agreement Against Plaintiffs Because They Were Acting On ChinaWhys’
                       Behalf At All Times Relevant To The Complaint.

       Contrary to the plain language of the Agreement as well as their own Complaint,

Plaintiffs suggest that “there is no evidence that [they] agreed to arbitrate anything” and that they

never “manifested an intent to arbitrate,” (See Opp’n Br. (Doc. 23), at 20, 22.). That is pure

fiction. The Agreement did not spring out of the ether without the active knowledge and

participation of the Plaintiffs. All three plaintiffs—including Humphrey as the signatory to the

Agreement on behalf of ChinaWhys and Yu as an acknowledged full partner and participant in

the work executed under that agreement—intimately participated in its negotiation, execution,

and implementation. (See Compl. (Doc. 1) ¶¶ 49-63.)

       The Complaint alleges that Humphrey and Yu met with Reilly, Zhao, and Cahill on April

15, 2013 to discuss retention of ChinaWhys by GSK China to investigate a GSK China

employee. (See id. ¶¶ 49-52.) On April 21, 2013, Humphrey submitted a project proposal to

Reilly, which Humphrey stated was “further to the recent contacts between yourself and

ChinaWhys Co Ltd,” the plaintiff -entity named in this case. (See Ex. 1 to Mot. to Compel (Doc.

19-5), at 14.) Only five days later (on April 26, 2013), Humphrey executed the Agreement,

which incorporated his proposal as an integrated addendum to the contract. (Id.)

       The Complaint describes in detail Humphrey and Yu’s efforts to investigate a GSK China

employee—the same investigation described in Humphrey’s proposed scope of work, which was

incorporated into the Agreement. (Compare Compl. (Doc. 1) ¶¶ 63-70, with Ex. 1 to Mot. to

Compel (Doc. 19-5), at 16-18.) The Complaint also describes the services and work performed

by plaintiffs Humphrey, Yu, and ChinaWhys in furtherance of that Agreement, (see, e.g., Compl.

(Doc. 1) ¶¶ 63, 65, 128(c)), including an investigation and preparation of an “Investigation




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Report … on Shi,” (id. ¶ 70), which was produced by ChinaWhys Company Limited, the same

entity that is named as a Plaintiff in the Complaint.

                       i.      The Court Should Compel Plaintiff Chinawhys To Arbitrate Under
                               The Consultancy Agreement.

       Plaintiffs ignore entirely the relationship of the ChinaWhys entities as it relates to the

Consultancy Agreement. It is as if they ask the Court to believe that the Agreement was signed

by an entity to which they have no relationship. The allegations of their Complaint demonstrate

otherwise, and principles of alter ego, agency, and assumption of contract rights each

individually bind ChinaWhys to the Agreement. Plaintiffs claim that the “Complaint does not

establish … alter ego factors” as to ChinaWhys. (See Opp’n Br. (Doc. 23), at 21.) That

argument fails, as Plaintiffs’ own pleading and documents integral to and referenced in it

establish that, although ChinaWhys (Shanghai) Consulting Co. Ltd appears (via Humphreys

signature) as the signatory to the Agreement, ChinaWhys Company Ltd. (the named Plaintiff)

carried out its contractual obligations.       The project proposal referred to those entities

interchangeably, (see Ex. 1 to Mot. to Compel (Doc. 19-5), at 14). The Complaint attributes the

investigation of Shi to ChinaWhys Company Ltd (and to Humphrey and Yu acting on its behalf)

regardless of the name of the entity on whose behalf Humphreys signed the Agreement. (See

Compl. (Doc. 1) ¶¶ 63, 65, 128(c).)           As Plaintiffs allege, that investigation produced

ChinaWhys’ Investigation Report, (id. ¶ 70), in satisfaction of ChinaWhys (Shanghai)’s

contractual obligations. In short, the ChinaWhys entities “simply acted interchangeably and in

disregard of their corporate separateness,” and they thus constitute alter egos of one another for

purposes of enforcing the Agreement’s arbitration clause. Publicker Indus., Inc. v. Roman

Ceramics Corp., 603 F.2d 1065, 1070 (3d Cir. 1979).




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         ChinaWhys was also acting as ChinaWhys (Shanghai)’s agent to execute its contractual

obligations, a fact that Plaintiffs do not and cannot dispute. Instead, they suggest that “agency

principles cannot be used to require non-signatories to arbitrate.” That is a misstatement of law.

Contrary to Plaintiff’s arguments, the United States Court of Appeals for the Third Circuit has

held that “[a]gency logic has been applied to bind non-signatory business entities to arbitration

agreements.” Pritzker v. Merrill Lynch, Pierce, Fenner & Smith, 7 F.3d 1110, 1122 (3d Cir.

1993).

         As to assumption of contract, the pertinent point is not merely that ChinaWhys personnel

(Humphrey, Yu, and other employees) were involved in carrying out the Agreement, (see Opp’n

Br. (Doc. 23), at 21-22), but that, even absent an alter ego or agency relationship, they only did

so because ChinaWhys expressly or impliedly assented to and agreed to be bound by ChinaWhys

(Shanghai)’s contract. A contrary finding would implausibly mean that ChinaWhys provided its

personnel to ChinaWhys (Shanghai) on a completely gratuitous basis with no purpose or intent to

satisfy the requirements of the Agreement. ChinaWhys was not required to expressly assume the

arbitration clause before it could be bound, as Plaintiffs suggest. (Id.) Instead, it is sufficient

that ChinaWhys agreed to carry out ChinaWhys (Shanghai)’s contractual obligations, because

remedial provisions of a contract follow assumption of contract rights by operation of law. See

Trippe Mfg. Co. v. Niles Audio Corp., 401 F.3d 529, 533 (3d Cir. 2005) (applying New York law

to hold that an assumption of contract rights “‘cannot alter a contract’s bargained-for remedial

measures,’” including arbitration (quoting GMAC Commercial Credit, LLC v. Springs Indus.,

Inc., 171 F. Supp. 2d 209, 26 (S.D.N.Y. 2001)). The Court should not allow Plaintiffs to play a

shell game for the sole purpose of avoiding enforcement of the very Agreement that they




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negotiated, executed and implemented. This Court should enforce the arbitration clause of the

Agreement against ChinaWhys under principles of alter ego, agency, and assumption.

                       ii.     The Court Should Compel Plaintiffs Humphrey And Yu To
                               Arbitrate Under The Agreement.

       Similar principles apply to Humphrey and Yu. Plaintiffs claim that they “are aware of no

case[] holding that non-signatory plaintiffs may be compelled to arbitrate under an agency

theory.” (See Opp’n Br. (Doc. 23), at 20.) That is not true, as Plaintiffs themselves cited and

relied upon this Court’s decision in Just B Method, LLC v. BSCPR, LP, No. 14-1516, 2014 WL

5285634 (E.D. Pa. Oct. 14, 2014) (Quiñones Alejandro, J.), in which this Court compelled a non-

signatory plaintiff to proceed to arbitration based on an agency theory because, like Humphrey

and Yu, the plaintiff was a principal and founder of the signatory entity, exercised “guidance and

control” over its actions, and signed the relevant contract on the signatory’s behalf. Id. at *8.

       Nor can Plaintiffs credibly claim that “there is no evidence that Humphrey or Yu agreed

to arbitrate anything,” (id. at 20), when Humphrey’s signature appears on the Agreement and

when the Complaint describes an extensive investigation by ChinaWhys, Humphrey, and Yu to

execute on that very same Agreement. (See Compl. (Doc. 1) ¶¶ 49-63; Ex. 1 to Mot. to Compel.

(Doc. 19-5), at 11, 19; Br. in Supp. of Mot. to Compel (Doc. 19-1), at 21.) The Complaint

alleges that Humphrey and Yu are “co-founder[s]” and “employees” of ChinaWhys, (Compl.

(Doc. 1) ¶¶ 6, 128(c)) and that Humphrey signed the Agreement as the “managing director” of

ChinaWhys (Shanghai). (Ex. 1 to Mot. to Compel (Doc. 19-5), at 19.) Plaintiffs have not

contested the existence of an agency relationship; as a result, under Just B Method, arbitration is

proper as a matter of law.

       Plaintiffs concede that an estoppel theory can allow a court to enforce an arbitration

provision against a non-signatory who acts intending to benefit from the contract. (See Opp’n



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Br. (Doc. 23), at 20.) They claim, however, that estoppel theory does not apply here because

“they have suffered only harm” from the contract. (Id.) The relevant question, however, is

whether the non-signatory “sought to reap the full benefits of the Agreement”—i.e., whether it

acted intending to benefit from the Agreement. Just B Method, 2014 WL 5285634, at *9

(emphasis added). An actual benefit is not required. Were that not the case, an arbitration clause

could never be enforced against a non-signatory plaintiff under an estoppel theory because any

plaintiff filing a lawsuit would claim that he or she suffered harm rather than received a benefit

under a contract. By acknowledging that Plaintiffs Humphrey and Yu acted for the purpose of

discharging the obligations of the Agreement and obtaining payment for those services, (see

Opp’n Br. (Doc. 23), at 21-22), Plaintiffs have conceded the propriety of arbitration.

       That concession underscores a fundamental disconnect that runs throughout Plaintiffs’

arguments here. On the one hand, they suggest that they were victims of misrepresentations and

fraud perpetrated in the course of their retention by GSK China. On the other, they claim that

they are not signatories to the Consultancy Agreement, which is the sole source of that retention

and the reason for any such relationship. Again, this is little more than an artifice designed to

circumvent Plaintiffs’ agreed form of remedy. The Court should enforce the parties’ contractual

agreement and compel Plaintiffs to arbitrate this dispute.

               3.      CIETAC, The Forum Designated For Arbitration By The Agreement,
                       Provides An Adequate Forum For Plaintiffs’ Claims.

       “[A]rbitration is a matter of contract.” Rent-A-Center West, Inc. v. Jackson, 561 U.S. 63,

67 (2010). “In line with th[at] principle[], courts must place arbitration agreements on equal

footing with other contracts, and enforce them according to their terms.” AT&T Mobility LLC v.

Concepcion, 563 U.S. 333, 339 (2011). Plaintiffs’ request that this Court refuse to enforce the

arbitration clause is nothing more than a blatant attempt to circumvent an undisputedly valid



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contract simply because they no longer prefer one of its terms. The Court should not permit such

gamesmanship.

         In entering into the Agreement, Plaintiffs affirmatively chose CIETAC as the forum for

resolution of its disputes. They do not dispute that they understood CIETAC processes and

procedures, or that those processes and procedures are clearly established and publicly available.

Plaintiffs have full and complete access to CIETAC. If they cannot attend a CIETAC proceeding

in person, they may attend via a personal representative, (see Br. in Supp. of Mot. to Compel

(Doc. 19-1), at 23-24)—another point that Plaintiffs do not contest, (see Opp’n Br. (Doc. 23), at

22). CIETAC rules also allow parties to stipulate or request that the arbitration proceeding either

be resolved on the papers without an oral hearing, see CIETAC Arb. R. art. 35(2), or that an

online hearing be conducted so that one or more parties may attend via videoconference, see

CIETAC Online Arb. R. art. 33 (“Where an oral hearing is to be held, it shall be conducted by

means of online oral hearings such as video conferencing or other electronic or computer

communication forms.”). Such procedures allow Plaintiffs to participate meaningfully in the

form of dispute resolution to which they contractually agreed and establish that Plaintiffs’

performance of their arbitration obligations is not “impractical.” CIETAC procedures provide

ways in which Plaintiffs may participate other than by their in-person presence in China. While

that may entail a proceeding and forum that Plaintiffs no longer prefer, it is not a basis for the

Court to refuse to enforce a contract. Indeed, federal courts have granted motions to compel

arbitration before CIETAC and have enforced its arbitral awards.3



3
  The fact that multiple federal courts have granted motions to compel arbitration before CIETAC and have enforced
its arbitral awards reinforces the fairness and adequacy of that tribunal to hear Plaintiffs’ claims. See, e.g., Baoding
Tianwei Group Co. v. Pacificorp, No. 07-862, 2008 WL 4224828, at *10-11 (D. Or. Sept. 10, 2008) (enforcing
arbitration clause providing for arbitration before CIETAC); see also Calbex Mineral Ltd. v. ACC Res. Co., 90 F.
Supp. 3d 442, 465 (W.D. Pa. 2015) (confirming arbitration award rendered by CIETAC because, notwithstanding
allegation of error in the proceeding, the defendant failed to show the existence of any prejudice during the CIETAC


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         Plaintiffs likewise cannot circumvent their duty to arbitrate by claiming unclean hands by

Defendants. Were that permitted, every plaintiff who agreed to arbitrate could renege on that

promise simply by raising unproven allegations of misconduct against a defendant and arguing

that arbitration is now inappropriate because of the alleged wrongful conduct. Contracts cannot

be so lightly cast aside, and it would be inappropriate to do so here. As they themselves allege,

Humphrey and Yu were sophisticated, “specialized” investigators highly capable of operating in

China.    (Compl. (Doc. 1) ¶¶ 6-7.)        Humphrey is “a leading anti-fraud professional,” who

“assist[s] U.S. and European law firms and businesses [to] investigate and address compliance

issues pertaining to anti-bribery regulations.” (Id. ¶ 6.) Through ChinaWhys, Humphrey and Yu

built a career on “FCPA investigations and other internal investigations” in China, (id. ¶ 9), with

a focus on “exposure and prevention of corruption and fraud,” (id. ¶ 8.) Given their own

acknowledged sophistication in dealing with multinational companies and matters, there is

nothing inequitable in enforcing the arbitration agreement that Humphrey, Yu, and ChinaWhys

knowingly agreed to when they executed the Agreement with GSK China. The Court should

grant the GSK Defendants’ motion, enforce the valid arbitration provision, and compel Plaintiffs

to arbitrate.

         B.     The Complaint Does Not Allege Any Plausible Claims Against GSK PLC
                And GSK LLC.

                1.      The Entirety Of Plaintiffs’ Claims Concern Contacts With GSK China,
                        and Plaintiffs Have Not Alleged Any Basis To Impute GSK China’s
                        Contacts To Either GSK PLC Or GSK LLC.

         Plaintiffs do not even attempt to respond to Defendants’ statement that all of their claims

must be dismissed because they name the wrong corporate entities as defendants and fail to plead

any plausible basis on which GSK PLC or GSK LLC might be vicariously liable for the actions

proceeding); Animal Sci. Prods., Inc. v. China Minmetals Corp., 34 F. Supp. 3d 465, 519-20 (D.N.J. 2014)
(suggesting, without deciding, that CIETAC provides a fair and equitable forum for arbitration of claims).


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of GSK China employees.           Plaintiffs instead argue that the Court should not consider, in

connection with analysis of standing under Rule 12(b)(1), declarations submitted by Defendants

establishing that the employees who interacted with Plaintiffs did not work for GSK PLC and

GSK LLC.4

        Plaintiffs ignore, however, that their own Complaint establishes this fact, as it identifies,

among others, Reilly as the general manager and CEO of GSK China, (see Compl. (Doc. 1)

¶ 45), Zhao as a counsel employed by GSK China, (Id. ¶ 50), Joon Soon as an employee of GSK

Pte Ltd (a Singapore-based GSK subsidiary), (Id. ¶ 80), and Leslie Chang as GSK China’s head

of business development, (Id. ¶ 84). Critically, Plaintiffs fail to plead that they interacted with

any employees of GSK LLC or GSK PLC; they also fail to plead any basis on which GSK LLC

or GSK PLC might be held liable under an agency theory for the actions of the employees of

GSK China (and other Asian GSK entities) whom they identify in the Complaint.

        Plaintiffs claim in their Opposition that the Complaint plausibly alleges that “the

Defendants engaged in the fraudulent conduct through their agents based in China (regardless of

which entity technically employed those agents),” (see Opp’n Br. (Doc. 23), at 40), but they offer

no citation to the Complaint for this conclusory statement, and for good reason. The Complaint

contains no agency allegations at all, beyond the single assertion that GSK PLC “had the right to

and did exercise control over the actions of” GSK China—a statement that could be made of any

majority shareholder of a corporate entity. (See Compl. ¶ 10.) Mere right of control attributable

to stock ownership is insufficient as a matter of law to impute the actions of a subsidiary to its

parent. Thomas v. Siemens AG, Civ. No. 09-4414, 2010 WL 1711775, at *5 (E.D. Pa. Apr. 26,


4
  GSK’s counsel has contacted Westlaw to correct the appellate history for Davis v. Wells Fargo U.S. Bank Nat’l
Ass’n, No. 14-07014, 2015 WL 3555301 (E.D. Pa. June 8, 2015), which was previously incorrectly reported by
Westlaw, stating that the opinion was “affirmed.” Following that communication to Westlaw, the Westlaw history
tab now (correctly) indicates that the opinion was “vacated in part and affirmed in part.”


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2010) (denying request to amend complaint to assert agency liability against corporate parent:

“[Plaintiff] must present enough facts to link each defendant to the fraud. Mere factual and legal

relationships between defendants are not enough to impute knowledge of and actual participation

in the fraud to a defendant. Otherwise, a plaintiff could implicate a defendant by asserting mere

guilt by association.”). Plaintiffs allege no facts to link either GSK PLC or GSK LLC to GSK

China relating to the allegations of harm here.

       Nor have Plaintiffs pleaded allegations sufficient to establish any plausible basis for alter

ego liability against GSK PLC or GSK LLC. Global Fresh Produce, Inc. v. Epicure Trading,

Inc., No. 11-01270, 2012 WL 924326, at *5 (D.N.J. Mar. 16, 2012) (dismissing claims against

parent under Rule 12(b)(6), despite allegation of joint employment by parent and subsidiary of

officers and employees and sharing of office space, because the Complaint did not “allege that

the parent completely dominated the finances, policy, and business practice with respect to the

subject transaction to such a degree that the subsidiary has no separate mind, will or existence of

its own.” (internal quotation marks omitted)). Plaintiffs cannot simply pretend, through the

device of pleading as to one aggregated “GSK,” that the corporate forms of the distinct GSK

entities addressed in their Complaint do not exist. Indianapolis Live Ins. Co. v. Hentz, No 1:06-

CV-2152, 2008 WL 4453223, at *11 (M.D. Pa. Sept. 30, 2008) (dismissing fraud claims under

Rule 12(b)(6): “One serious deficiency with the Complaint is that after identifying AmerUs

Group, AmerUs Life, and Indianapolis Life as separate corporate entities, it goes on to group

them together as the ‘Insurance Company’ for all of the substantive allegations of the complaint.

. . . In a case involving multiple defendants, each defendant is entitled to be apprised of the roles

they each played in the alleged scheme, and absent a compelling reason, a plaintiff is not

normally entitled to treat multiple corporate defendants as one entity.”).




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        For the additional reasons set forth in GSK’s opening brief, (see Br. in Supp. of Mot. to

Compl. (Doc. 19-1), at 27-29)—to which Plaintiffs have not responded—in the absence of well-

pleaded alter ego or agency allegations against GSK PLC or GSK LLC, all claims against them

must be dismissed under Rule 12(b)(6) for failure to plausibly allege any basis for purported

liability.

                 2.       Plaintiffs Have Failed To Establish Jurisdiction Over GSK PLC.

                          i.       The Court Does Not Have General Jurisdiction Over GSK PLC.

        Plaintiffs do not contest that a corporation is only subject to general jurisdiction where its

“affiliations with the state are so continuous and systematic as to render [it] essentially at home

in the forum state.” Goodyear Dunlop Tire Operations S.A. v. Brown, 564 U.S. 915, 919 (2011)

(internal quotation marks omitted). GSK PLC is “at home” neither in Pennsylvania nor in the

United States, and thus is not subject to the Court’s general jurisdiction.5

        Plaintiffs’ argument to the contrary rests entirely on a mischaracterization of materials

from the GSK global website. As that website plainly states: GSK PLC’s “global headquarters

are in the UK.”         (See Zach Decl. (Doc. 24-2), Ex. B.)                 Further, both the Philadelphia,

Pennsylvania and Research Triangle Park, North Carolina locations listed on the very excerpt

submitted by Plaintiffs show links connecting to the website of “GSK USA”—not GSK PLC.

Nor is GSK PLC’s general counsel, Dan Troy, based in Philadelphia. As Plaintiffs’ own

submissions to this Court demonstrate, he is based in Washington, D.C.; his presence there




5
 If Plaintiffs’ RICO claims are dismissed, as they should be, the relevant forum for purposes of analysis of GSK
PLC’s minimum contacts is Pennsylvania, not the United States as a whole, for a nationwide contacts analysis only
applies to claims arising under federal law. BP Chemicals Ltd. v. Formosa Chemical & Fibre Corp., 229 F.3d 254,
258 (3d Cir. 2000) (“Rule 4(k)(2) thus sanctions personal jurisdiction over foreign defendants for claims arising
under federal law when the defendant has sufficient contacts with the nation as a whole to justify the imposition of
United States’ law but without sufficient contacts to satisfy the due process concerns of the long-arm statute of any
particular state.” (internal quotations omitted)).



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cannot be used to argue that somehow Philadelphia is GSK PLC’s headquarters. 6 (See Zach

Decl. (Doc. 24-1), Ex. A.)

        In essence, Plaintiffs’ entire argument that general jurisdiction exists rests on but two

bases: (1) GSK PLC’s global ethics and compliance group maintains reporting contacts and an

offsite mailbox in Philadelphia, and (2) only with respect to Plaintiffs’ RICO counts, GSK PLC’s

general counsel is based in Washington, D.C. This is nothing like the Perkins case, the only case

cited by Plaintiffs, in which the defendant company had transferred its entire headquarters to

Ohio during the Second World War, where it held board meetings, conducted banking activities,

and engaged in “continuous and systematic supervision of the necessarily limited wartime

activities of the company.” Perkins v. Benguet Consol. Mining Co., 342 U.S. 437, 448 (1952).

Perkins involved a foreign company’s temporary transfer of its corporate headquarters in toto to

the United States, not its location of a single corporate officer, or an isolated corporate function,

in the United States. Neither GSK PLC’s maintenance of a compliance reporting address in

Philadelphia, nor its basing of its general counsel in Washington D.C., are even remotely similar

to Perkins.      GSK PLC’s global headquarters is in the U.K. and it has never conducted

commercial operations in the United States. Plaintiffs have neither pleaded nor offered any basis

on which the Court could conclude that GSK PLC is “at home” either in Pennsylvania or the

United States. (See Ex. 13 to Mot. to Compel (Doc. 19-17) ¶¶ 9-16.)

                          ii.      The Court Does Not Have Specific Jurisdiction Over GSK PLC.

        Plaintiffs acknowledge in their Opposition Brief that specific jurisdiction over GSK PLC

can only arise if GSK PLC’s “suit-related conduct” creates “a substantial connection to the
6
  Along with their Opposition Brief, Plaintiffs have submitted additional evidence that does not appear in the
Complaint. Although the Court may consider those materials for purposes of GSK PLC’s jurisdictional challenge,
the extrinsic evidence may not be considered in connection with the GSK Defendants’ motions under Rules 12(b)(6)
and (7). See Pennsylvania ex rel. Zimmerman v. PepsiCo., 836 F.2d 173, 181 (3d Cir. 1988) (“‘[I]t is axiomatic that
the complaint may not be amended by the briefs in opposition to a motion to dismiss.’” (quoting Car Carriers, Inc.
v. Ford Motor Co., 745 F.2d 1101, 1107 (7th Cir. 1984))).


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forum.” Walden v. Fiore, 134 S. Ct. 1115, 1121 (2014). The actual contacts with the United

States alleged by Plaintiffs, (see Opp’n Br. (Doc. 23), at 27-28), come nowhere close to that

standard. Specifically:

            Plaintiffs nowhere allege that conduct by GSK PLC was the subject of the 2012
             settlement with U.S. regulators. In fact, plaintiffs allege only that GSK LLC was
             involved in that settlement.

            The fact that whistleblowers may have threatened GSK PLC with disclosure to the
             DOJ or the SEC, or that whistleblower emails may have been received by GSK PLC
             employees in the United States, is irrelevant to the specific jurisdiction analysis,
             which must focus on the actions of GSK PLC, not third parties. Walden, 134 S. Ct. at
             1122 (“[T]he relationship must arise out of contacts that the defendant himself creates
             with the forum State…. We have consistently rejected attempts to satisfy the
             defendant-focused minimum contacts inquiry by demonstrating contacts between the
             plaintiff (or third parties) and the forum State.”) (citations omitted).

            The Complaint nowhere alleges any conduct by GSK’s general counsel,7 and thus the
             Court should ignore Plaintiffs’ attempt to insert him into the specific jurisdiction
             analysis. (See Opp’n Br. (Doc. 23), at 27.) The article cited by Plaintiffs, (see Zach.
             Decl. (Doc. 24-1), Ex. A), states only that Mr. Troy was involved in managing an
             internal investigation subsequent to the disclosure of the investigation by China’s
             Ministry of Public Security, which occurred, according to the allegations in the
             Complaint, only after GSK China retained Plaintiffs. His alleged conduct thus would
             have no relevance to the jurisdictional inquiry in any event.

            Plaintiffs do not claim that Humphrey’s travel to the United States had any
             connection to the work he was engaged to perform by GSK China. Nor do Plaintiffs
             allege—because they cannot—that any employee of GSK PLC ever contacted
             Humphrey while he was in the United States or anywhere else.

            Plaintiffs do not allege that GSK PLC purposefully directed any public statements to
             the United States, nor do they plead that any public statements made by GSK PLC
             had any effect outside of China. The only statements cited by Plaintiffs were general
             press releases issued by GSK PLC from the U.K. in response to events in China.

            GSK PLC’s 2016 settlement with the SEC related only to the effectiveness of GSK
             PLC’s controls in China, not the United States. None of the factual findings recited
             by Plaintiffs in their Opposition relate to any activities of GSK PLC that were
             purposefully directed towards the United States – all of the underlying misconduct
             was performed by GSK China, in China. Nor can GSK PLC’s subsequent


7
 Plaintiffs reference ¶ 54 of the Complaint, but this refers only to the receipt by GSK’s general counsel of
whistleblower complaints. As discussed immediately above, this is irrelevant to the specific jurisdiction analysis.



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             remediation reporting to the SEC be construed as suit-related conduct that gives rise
             to Plaintiffs’ claims.

In short, Plaintiffs nowhere allege the sort of suit-related conduct creating a substantial

connection with either Pennsylvania or the United States that could establish specific jurisdiction

over GSK PLC.8

                 3.       The Court Should Dismiss Plaintiffs’ RICO Claims Under Federal Rule
                          Of Civil Procedure 12(B)(6) Because They Have Failed To Plead The
                          Elements Of Recovery Under The Statute.

                          i.       Plaintiffs Have Not Alleged A Domestic Injury.

        In their Opposition Brief, Plaintiffs do not cite a single case supporting the proposition

that a foreign corporation, like plaintiff ChinaWhys, can claim to have suffered a domestic injury

merely by alleging that it lost customers in the United States. Nor do they cite any cases

supporting the idea that an injury is “domestic” merely because it arises from a purported RICO

scheme allegedly intended to affect third parties in the United States, such as U.S. regulators or

U.S. physicians, who are unrelated to and never interacted with the plaintiffs or even knew of

their existence.

        In City of Almaty, Khazakhstan v. Ablyazov, the court dismissed RICO claims for failure

to allege a domestic injury, given that the plaintiffs “got poorer in Kazakhstan[,]” where their

assets were located, and failed to allege any work, travel or business in the United States that was

related to the misappropriations alleged by plaintiffs as the basis of their RICO claims. City of

Almaty, Khazakhstan v. Ablyazov, 15-CV-5345, 2016 WL 7756629, at *7-9 (S.D.N.Y. Dec. 23,

2016) (“[T]he appropriate subject of the inquiry required by RJR Nabisco is . . . the location

8
  In a footnote, Plaintiffs seek discovery concerning “the extent to which GSK PLC acted within the United States
with respect to the claims.” (See Opp’n Br. (Doc. 23), at 27 n.10). This request has no reasonable basis. A court
should not allow jurisdictional discovery to serve as “a fishing expedition based only upon bare allegations, under
the guise of jurisdictional discovery.” Eurofins Pharma U.S. Holdings v. BioAlliance Pharma SA, 623 F.3d 147,
157 (3d Cir. 2010). Given Plaintiffs’ failure to allege contacts between GSK PLC and the United States, this Court
should exercise its discretion to deny any such discovery.



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where the injury itself arose.”). In Elsevier v. Grossman, the court considered the defendant’s

below-market sales of academic journals in Brazil, concluded that any resulting market

distortions and accompanying RICO injuries occurred in Brazil, and dismissed the RICO claim

for failure to allege a domestic injury. Elsevier v. Grossman, 12 Civ. 5121, 2016 WL 7077109 at

*13-14 (S.D.N.Y. Aug. 4, 2016).

       Akishev v. Kapustin and Tatung Company, Ltd. v. Shu Tze Hsu, the only two cases cited

by Plaintiffs in which domestic injuries were actually found, both involved claims in which the

plaintiffs’ interactions with the defendants—and the foci of the underlying RICO schemes—

occurred in the United States. Akishev v. Kapustin, No. 13-7152, 2016 WL 7165714, at *7

(D.N.J. Dec. 8, 2016) (“The key to this case is that plaintiffs suffered their injuries the moment

they clicked the computer mouse – on a United States-based website – and ordered and paid for a

car whose condition was materially misrepresented or did not even exist at all.”); Tatung Co., v.

Shu Tze Hsu, SA CV 13-1743, 2016 WL 6683201, at *8 (C.D. Cal. Nov. 14, 2016)

(“[D]efendants specifically targeted their conduct at California with the aim of thwarting

[plaintiff’s] rights in California.”). That is not the case here. Plaintiffs do not allege that they

were engaged to perform any work in the United States, nor do they allege a connection between

their United States customers and the work in China that Plaintiffs actually performed.

       Further, Plaintiffs’ spurious allegation that GSK purportedly hoped to reap benefits in the

United States (by influencing U.S. regulators) is not sufficient to establish that Plaintiffs’ injury

was domestic, for the same allegation could be made in any RICO claim against any U.S.

defendant, and the RJR Nabisco inquiry necessarily focuses on the nature of the plaintiff’s injury.

RJR Nabisco v. European Cmty., 136 S. Ct. 2090, 2106 (2016) (“A private RICO plaintiff . . .

must allege and prove a domestic injury to its business or property.”). A number of cases have




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considered, and rejected, the argument that a defendant’s receipt of benefits in the United States

renders an injury domestic. For example, Plaintiffs offer no answer to Exceed Industries LLC v.

Younis, No. 15 Civ 14, 2016 WL 6599949 (N.D. Ill. Nov 8, 2016), in which the court considered

a RICO scheme allegedly involving kickbacks extracted by the defendants from the plaintiff’s

suppliers (including suppliers in the United States), whose proceeds were used to fund U.S. real

estate purchases. Following RJR Nabisco, the Exceed Industries court properly focused its

analysis on the location of the plaintiff’s injury and dismissed for failure to allege a domestic

injury. Id. at *3 (“[T]he fact that a large number of Plaintiff’s suppliers have offices in the

United States does not speak to where the injury was felt by the Plaintiffs themselves. . . .”). In

City of Almaty, the court similarly rejected the argument that the defendants’ investment of

RICO proceeds in the United States rendered the plaintiffs’ injuries “domestic.” City of Almaty,

2016 WL 7756629, at *9 (“The after-the-fact concealment in the U.S. of funds stolen entirely

abroad does not constitute a basis for concluding that the Kazakh entities have alleged injury

suffered in the U.S.”).

       Here, Plaintiffs claim that they were misled in China, for the purpose of inducing them to

perform work in China, under a contract executed in China and governed by Chinese law,

causing them to be arrested in China and to suffer the destruction of their business, a Chinese

consulting company. Plaintiffs have offered absolutely no support for their claim that their

injuries should be considered “domestic” simply because they claim to have U.S. customers who

were unrelated to the work they performed for GSK China. Under RJR Nabisco, their RICO

claims must be dismissed.




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                       ii.    Plaintiffs Fail To Allege That Their Injuries Were Proximately
                              Caused By Defendants.

       Plaintiffs do not contest that they must allege that their injuries were proximately caused

by Defendants. Their reliance on In re Avandia Marketing Sales Practices & Product Liability

Litigation, 804 F.3d 633 (3d Cir. 2015), cert. denied sub nom. GlaxoSmithKline LLC v. Allied

Servc. Div. Welfare Fund, 136 S. Ct. 2409 (2016), to argue that they have satisfied this pleading

burden is misplaced.

       In Avandia, the U.S. Court of Appeals for the Third Circuit noted that the Supreme

Court’s decision in Holmes v. Securities Investor Protection Corp., 503 U.S. 258 (1992),

outlined three distinct reasons for requiring a proximate relationship between injuries and alleged

conduct in RICO cases, the first of which it described as: “directness of injury: indirect injuries

make it difficult to ascertain the amount of a plaintiff’s damages attributable to the violation, as

distinct from other, independent factors.” Id. at 642. The Avandia court identified this as a

separate concern under Holmes from the “derivative injury” issue on which Plaintiffs focus in

their Opposition. Id. (identifying “likelihood of vindication” by “directly injured victims” as

third distinct justification for Holmes decision). Crucially, in Avandia, “[t]he conduct that

allegedly caused plaintiffs’ injuries [was] the same conduct forming the basis of the RICO

scheme alleged in the complaint—the misrepresentation of the heart-related risks of taking

Avandia[.]” Id. at 644. Accordingly, Avandia did not present the problem of untangling

multiple, independent causes of the plaintiffs’ damages.

       Notably, Plaintiffs nowhere allege in their Complaint that anyone from any GSK entity

ever asked them to violate Chinese privacy (or other) laws. In fact, the Agreement required

Plaintiffs’ “compliance with the highest ethical standards and all anti-corruption laws applicable

in the countries in which GSK … conducts business,” (See Ex. 1 to Mot. to Compel (Doc. 19-5),



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at 12), and Plaintiffs do not contest the validity of that provision.         China’s subsequent

punishment of Plaintiffs for their violations of Chinese law thus cannot be considered the

proximate result of Plaintiffs’ engagement by GSK China to investigate the GSK China

employee, even accepting Plaintiffs’ allegation (which is disputed) that the ultimate objective of

that investigation was improper. Here, the direct cause of Plaintiffs’ injuries was the conduct of

the Chinese government, an independent actor in this case, over whom GSK had (and has) no

control, not the conduct of the GSK Defendants alleged in the Complaint.

       In short, Plaintiffs’ claim falls squarely within one of the fundamental concerns identified

by the United States Supreme Court in Holmes, as it is impossible to determine what injuries, if

any, are attributable to GSK, as opposed to independent factors traceable to the Chinese

government’s subsequent punishment of Plaintiffs for their own violations of Chinese law. For

this reason alone, Plaintiffs’ RICO claim must be dismissed.

                      iii.    Plaintiffs Fail To Allege A RICO Pattern.

       Plaintiffs have alleged as a basis for their RICO claim the existence of: (1) a 2012

settlement agreement between GSK LLC and the United States Department of Justice, (2) a 2014

GSK China settlement with Chinese authorities, and (3) a 2016 GSK PLC settlement with the

United States Securities and Exchange Commission. Plaintiffs’ only claim in their Complaint,

however, is to have been involved in and injured by conduct that occurred in China. They offer

nothing more than a conclusory allegation that their injury was part of a larger pattern, despite

the fact that the alleged conduct involving Plaintiff was separated in time, place, participants,

subject matter and alleged methods of commission from the other elements of their alleged RICO

scheme. This is insufficient and does not raise a “reasonable inference that the defendant is

liable for the misconduct alleged.” Iqbal, 556 U.S. at 678.




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       Plaintiffs’ opposition makes no effort to address law cited by Defendants in the Motion

reflecting that: (1) an allegation that one scheme was intended to cover up another scheme is not

“sufficient to make two conspiracies part of the same pattern of racketeering,” The Knit With v.

Knitting Fever, Inc., 625 F. App’x 27, 38 (3d Cir. 2015); and (2) an alleged common corporate

purpose, such as maximizing sales, “is not an allegation of a common plan,” Bonavitacola Elec.

Contractor, Inc. v. Boro Developers, Inc., 87 F. App’x 227, 232 (3d Cir. 2003).

       In addition, Plaintiffs make neither an allegation of any threat of an ongoing, open-ended

RICO scheme associated with the historical U.S. and Chinese settlements cited by Plaintiffs nor

any claims concerning their own involvement beyond a three month period in 2013.               As

explained in Defendants’ opening brief, (see Br. in Supp. of Mot. to Compel (Doc. 19-1), at 34),

Plaintiffs’ claims thus separately fail RICO’s continuity requirement. H.J. Inc. v. Northwestern

Bell Tel. Co., 492 U.S. 229, 240 (1989) (predicate acts alleged only over a short period of time

and not threatening future criminal conduct do not satisfy RICO’s continuity requirement).

                      iv.     Plaintiffs Have Not Alleged An Agreement By GSK LLC Or GSK
                              PLC.

       Without citation to or evidence in the Complaint, Plaintiffs claim that “the Complaint

alleges numerous facts relating to Defendants’ agreement to engage in the bribery and promotion

scheme” and that “Defendants actively participated in the suppression of the whistleblower’s

allegations.” (See Opp’n Br. (Doc. 23), at 34 & n.12.) In addition to the baseless nature of these

statements, the Complaint does not contain alter ego or agency allegations against either GSK

defendant. See supra Part II.B.1. The Complaint’s bare assertion that “the corporate defendants

conspired with, inter alia, Mark Reilly and others to promote the red herring investigation of

Vivian Shi,” (see Compl. (Doc. 1) ¶ 140), is insufficient. The Knit With, 625 F. App’x at 35-36

(“Plaintiff must allege facts to show that each Defendant objectively manifested an agreement to



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participate, directly or indirectly, in the affairs of a RICO enterprise through the commission of

two or more predicate acts. Bare allegations of conspiracy described in general terms may be

dismissed.”), cert. denied, 136 S. Ct. 1662 (2016). Again, that is insufficient under Twombly and

Iqbal.

                4.       The Court Should Dismiss Plaintiffs’ State Law Claims Both For Lack Of
                         Subject Matter Jurisdiction Under Federal Rule Of Civil Procedure
                         12(B)(1) And For Failure To State A Claim Under Federal Rule Of Civil
                         Procedure 12(B)(6).

                         i.     Once The RICO Claims Are Dismissed, Plaintiffs Cannot Establish
                                Diversity Jurisdiction Over Their State Law Claims.

         With regard to the GSK Defendants’ jurisdictional argument, Plaintiffs not only fail to

plead Yu’s domicile, they do not even attempt to argue in their Opposition Brief that she is

domiciled in the United States. It is the Plaintiffs’ burden to plead the basis for diversity

jurisdiction. Having failed to do so, they cannot ask this Court to exercise such jurisdiction. See

Pa. House, Inc. v. Barrett, 760 F. Supp. 439, 449 (M.D. Pa. 1991) (dismissing under Rule

12(b)(1) for failure to allege diversity of citizenship: “The plaintiff bears the burden of proving

that diversity of citizenship exists on the date that the complaint is filed . . . .        Because

Pennsylvania House fails to allege [defendant] Cruikshank’s domicile, its complaint fails to

establish diversity.”)

         Further, if Plaintiffs’ RICO claims are dismissed, as they should be, this Court will have

no basis on which to exercise supplemental jurisdiction, and Plaintiffs’ remaining claims must

then be dismissed in their entirety for lack of subject matter jurisdiction.




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                      ii.     Plaintiffs Have Failed To Plead Claims For Civil Fraud, Civil
                              Conspiracy, And Intentional And Negligent Infliction Of Emotional
                              Dismiss Against The GSK Defendants.

                              (1)    Plaintiffs’ Fraud Claim Fails For Lack Of Any
                                     Misrepresentation By GSK PLC Or GSK LLC.

       Plaintiffs’ argument that, because they may commence suit against whomever they

please, it is no defense to suggest that the “wrong defendants once again were named,” (see

Opp’n Br. (Doc. 23), at 38), ignores that the naming of a wrong party is a fundamental and fatal

defect in their Complaint. To be sure, Plaintiffs have sued the wrong defendants. (See Br. in

Supp. of Mot. to Compel (Doc. 19-1), at 35.) Their pleading fails because they have not—and

cannot—identify any representation made by GSK PLC and GSK LLC through which they were

defrauded. See Kuehner v. Parsons, 527 A.2d 627, 629 (Pa. Commw. Ct. 1987) (holding that

fraud requires reliance on “a misrepresentation of material fact” made by the defendant).

       Plaintiffs’ fraud claim is governed by Federal Rule of Civil Procedure 9(b), which

requires them to identify, at a minimum, the content and “the speaker of allegedly fraudulent

statements.” Klein v. Gen. Nutrition Cos., 186 F.3d 338, 345 (3d Cir. 1999). The Complaint

contains no specific fraudulent representation, nor does it identify the content or speaker of any

alleged fraudulent representation by either of the GSK Defendants. Moreover, Plaintiffs have

made no attempt to impute the alleged conduct by GSK China personnel to either of the GSK

Defendants. See Frank Sexton Enters. v. Societe de Diffusion Internationale Argo-Alimentaire

(Sodiaal), No. 97-7104, 1999 WL 636668, at *3 (E.D. Pa. Aug. 20,1999) (holding that one

corporation’s activities may be imputed to another only if the plaintiff establishes an agency or

alter ego relationship between the two).




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                               (2)     Plaintiffs Have Failed To Plead The Malice Element Of
                                       Their Civil Conspiracy Claim.

       Plaintiffs suggestion that Defendants’ motion “rests on a fundamental misreading of the

law” in stating that malice (i.e., the desire or intent to injury) must be pled and proven in addition

to the other elements of a civil conspiracy tort, (see Opp’n Br. (Doc. 23), at 40), has no basis. As

the Pennsylvania Supreme Court has explained: “Proof of malice, i.e., an intent to injure, is

essential in proof of a conspiracy.” Skipworth ex rel. Williams v. Lead Indus. Ass’n, 690 A.2d

169, 174 (Pa. 1997) (emphasis added). Pleading malice requires the plaintiff to allege that “the

conspirators act[ed] with the sole purpose of injuring the plaintiff.” Sarpolis v. Tereshko, 625 F.

App’x 594, 601 (3d Cir. 2016) (citing Thompson Coal Co. v. Pike Coal Co., 412 A.2d 466, 472

(Pa. 1979)). No such allegation appears in the Complaint. Plaintiffs claim to have satisfied that

obligation by suggesting simply that the GSK Defendants committed an unlawful act, (see Opp’n

Br. (Doc. 23), at 41), but they cannot circumvent the clear requirement to plead malice (i.e., the

specific desire to injure the plaintiff) separately from the other elements of a conspiracy claim.

Further, absent alter ego or agency allegations, they cannot impute any alleged misconduct by

GSK China to the GSK Defendants. See Watson v. Sec’y Pa. Dep’t of Corr, 436 F. App’x 131,

137 (3d Cir. 2011) (affirming dismissal of a civil conspiracy claim because the plaintiff alleged

the existence of a conspiracy in a conclusory manner but failed to identify any actual agreement

among the defendants).

                       iii.    Plaintiffs Have Not Pled That They Suffered Any Emotional
                               Distress At The Hands Of The GSK Defendants.

       Plaintiffs mischaracterize the GSK Defendants’ statement that the acts of Chinese

authorities break a “causal link between Defendants’ conduct and Plaintiffs’ suffering.” (See

Opp’n Br. (Doc. 23), at 42.) The pertinent question is not whether the acts of Chinese authorities

constitute a superseding cause, but whether Plaintiffs’ harm was attributable in the first place to


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any conduct by GSK LLC or GSK PLC. See Salerno v. Phila. Newspapers, Inc., 546 A.2d 1168,

1173 (Pa. Super. Ct. 1988) (stating that a plaintiff must plead that the defendant’s conduct had a

“direct emotional impact upon the plaintiff”). There is no such link here. If the Complaint

alleges any link between the Plaintiffs’ injuries and a GSK entity (and the GSK Defendants

dispute that it does), it ties Plaintiffs to the GSK China officials with whom Plaintiffs interacted.

Those actions cannot be imputed to GSK PLC or GSK LLC on Plaintiffs’ say-so alone. See

Frank Sexton Enters., 1999 WL 636668, at *3 (noting that an alter ego or agency relationship is

required to impute corporate contacts).

               5.      Plaintiffs’ State Law Claims Fail For The Additional Reason That They
                       Are Barred By Pennsylvania’s Two-Year Statute Of Limitations.

       Plaintiffs acknowledge that their state tort claims are governed by Pennsylvania’s two-

year statute of limitations, see 42 Pa. C.S.C. § 5524, but they suggest that, because “the

Complaint does not identify when Plaintiffs learned that they had been defrauded,” the Court

cannot apply the limitations period as a defense at the pleading stage. (See Opp’n Br. (Doc. 23),

at 43.) The Court should reject their effort, however artful, to plead around a limitations defense.

       Although Plaintiffs dispute the choice of the applicable date, they purposefully refuse to

commit to any particular date as the applicable limitations trigger date. They claim that they

could not have known of the GSK Defendants’ alleged misrepresentations until September 19,

2014, the date of issuance of a public statement by GSK regarding alleged bribery conduct by

GSK China, such that the discovery rule rendered their claims timely if filed within two years

following that date. (See Opp’n Br. (Doc. 23), at 43-44.)

       Plaintiff’s own allegations in their Complaint, however, demonstrate that they knew of

the alleged misrepresentations well before they sustained any injury. Specifically, Plaintiffs

allege that by June 2013, Humphrey became “concerned that GSK was seeking to obstruct …



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investigation by Chinese authorities.” (See Compl. (Doc. 1) ¶ 83.) Plaintiffs also allege that,

when Chinese police raided ChinaWhys’s Shanghai office on July 10, 2013, they informed

Humphrey that “[t]his is related to GSK.” (Id. ¶ 91.) Plaintiffs have thus alleged that by July 10,

2013, they had not only become “concerned” about GSK’s conduct, but had suffered injuries

they were informed “related to GSK.” Therefore, Plaintiffs’ claims accrued at the latest on July

10, 2013. See Oshiver v. Levin, Fishbein, Sedran & Berman, 38 F.3d 1380, 1384 n.1 (3d Cir.

1994) (holding that a claim accrues when the plaintiff becomes aware of the injury). Plaintiffs

cannot now claim that they did not know of the existence of their tort claims prior to the public

apology on September 19, 2014. See Bohus v. Beloff, 950 F.2d 919, 926 (3d Cir. 1991) (holding

that, under Pennsylvania law, the discovery rule only tolls the limitations period until the

plaintiff “knew or should have known” of the existence of their claims).

       Applying Pennsylvania’s two-year limitations period applicable to fraud claims yields a

filing deadline of July 10, 2015 for their state law claims. They did not commence this litigation

until November 15, 2016, making their action time-barred.

       Humphrey and Yu claim that the limitations period should have been tolled during their

trial and incarceration. (See Opp’n Br. (Doc. 23), at 45.) However, the U.S. Court of Appeals

for the Third Circuit has recognized that equitable tolling should not apply if the plaintiff, “acting

with reasonable diligence, could have filed on time notwithstanding the extraordinary

circumstances.” Brown v. Shannon, 322 F.3d 768, 773 (3d Cir. 2003) (quoting Valverde v.

Stinson, 224 F.3d 129, 134 (2d Cir. 2000). Plaintiffs allege that they were released on June 9,

2015, (see Compl. (Doc. 1) ¶ 105), well in advance of the July 10, 2015 deadline by which they

should have filed their state law claims, and the Complaint contains no facts alleging that they

were precluded from making a timely filing following their release. Accordingly, on the face of




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the Complaint, Plaintiffs’ claims are time-barred. See Oshiver, 38 F.3d at 1384 n.1 (holding that

a court may dismiss a complaint as time-barred when “the complaint facially shows

noncompliance with the limitations period and the affirmative defense clearly appears on the

face of the pleading”).

       C.      GSK China Is An Indispensable Party, And The Complaint Should Be
               Dismissed Under Federal Rule Of Civil Procedure 12(B)(7) For Failure To
               Join GSK China As A Party.

       Plaintiffs’ argument that GSK China is not an indispensable party turns on their assertion

(Opp’n Br. (Doc. 23), at 46) that the Complaint plausibly alleges that the Defendants, GSK PLC

and GSK LLC, acted “through their agents in China.” As discussed above, however, the

Complaint contains no allegations of agency liability on the part of GSK PLC or GSK LLC. Nor

does the Complaint allege that Plaintiffs interacted with any employees of GSK PLC or GSK

LLC; instead Plaintiffs allege only interactions with GSK China.

       Given this backdrop, the conclusion that GSK PLC and GSK LLC are being sued here

solely in connection with the conduct of GSK China is inescapable. GSK China was the only

point of contact with Plaintiffs, and GSK China was the only GSK entity to enter into the

Agreement with Plaintiffs that defined the work they now claim gave rise to their injuries. GSK

China has a compelling interest in the adjudication of any claims arising out of the relationship

with Plaintiffs arising from that contract, and Plaintiffs have offered no response to the well-

established case law which holds that “when a defendant is sued solely in connection with its

subsidiary’s conduct, the subsidiary is a necessary and indispensable party.” Carl Schroeter v.

Crawford & Co., No. 09-946, 2009 WL 1408100, at *4 (E.D. Pa. May 19, 2009) (collecting

cases). None of the authorities cited by Plaintiffs address the parent-subsidiary issues that are

presented here.




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        Nor do Plaintiffs have any response to the opinion of the U.S. Court of Appeals for the

Third Circuit in Jurimex, affirming the district court’s dismissal for failure to join an

indispensable party and rejection of an argument strikingly similar to the one offered by

Plaintiffs here:

                   [Defendant parent] Case filed a motion to dismiss pursuant to
                   12(b)(1) and 12(b)(7), arguing that its foreign subsidiaries were
                   necessary and indispensable parties under Rule 19 and addition of
                   those parties would destroy diversity jurisdiction. The District
                   Court agreed and granted the motion. [Plaintiff] Jurimex argued
                   that it was trying to hold Case liable, not as merely the parent of
                   the subsidiaries, but rather because the subsidiaries were acting as
                   agents of Case. However, this theory could not be found anywhere
                   in the original complaint (indeed, there was no mention of a
                   subsidiary). The District Court properly applied a Rule 19 analysis
                   and dismissed the complaint. The District Court also properly
                   denied discovery on the agency theory at that time because there
                   was nothing in the complaint to which the theory could relate.

Jurimex Kommerz Transit GMBH v. Case Corp., 65 F. App’x 803, 804 (3d Cir. 2003). Like the

Jurimex plaintiffs, Plaintiffs cannot try to evade the fact that GSK China is indispensable through

the artificial device of excising it from their Complaint.

                                        III.    CONCLUSION

        Plaintiffs agreed to arbitration. They negotiated and executed the Consultancy Agreement

and have not challenged its validity. They allege harm related to services they performed

pursuant to the same Agreement. The Court should therefore compel arbitration before CIETAC

and stay this matter pending conclusion of arbitration proceedings.

        Absent such an order, the Court should dismiss Plaintiffs’ claims against GSK PLC for

lack of jurisdiction, as that entity does not have sufficient contacts to support the exercise of

either general or specific jurisdiction under either Goodyear Dunlop Tire Operations S.A. v.

Brown, 564 U.S. 915 (2011), or Walden v. Fiore, 134 S. Ct. 1115 (2014). The claims against

both GSK PLC and GSK LLC should additionally be dismissed for failure to state any plausible


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claim for relief and for failure to join the only party with whom Plaintiffs actually interacted:

GSK China. Accordingly, the GSK Defendants request that, if the Court denies the motion to

compel arbitration, it simultaneously dismiss the entirety of Plaintiffs’ Complaint with prejudice.



                                                     Respectfully submitted,
Dated: March 31, 2017
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                               CERTIFICATE OF SERVICE

       I certify that on March 31, 2017, I caused a copy of the foregoing Motion to Compel

Arbitration or, in the Alterative, Motion to Dismiss the Complaint, along with the accompanying

Memorandum of Law and exhibits thereto, to be served on the following individuals via the

means specified below:

       Via the Court’s CM/ECF System:

       Joan D. Gallagher
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                                                   By:    /s/ Jayne A. Risk
                                                         Jayne A. Risk




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